Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55     Desc Main
                                  Document    Page 1 of 446



                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI

 In re:                                                 )
                                                        )    Case No. 24-40236-can11
 CORENERGY INFRUSTRUCTURE TRUST, INC.,                  )    Chapter 11
                                                        )
                                       Debtor.          )

 DISCLOSURE STATEMENT FOR THE CHAPTER 11 PLAN OF REORGANIZATION DATED
        FEBRUARY 25, 2024, OF CORENERGY INFRASTRUCTURE TRUST, INC.


 HUSCH BLACKWELL LLP
 Mark T. Benedict, Esq.
 John J. Cruciani, Esq.
 4801 Main Street, Suite 1000
 Kansas City, MO 64112
 Telephone       (816) 983-8000
 Facsimile       (816) 983-8080
 Email:          mark.benedict@huschblackwell.com
                 john.cruciani@huschblackwell.com


 Proposed Counsel for Debtor and Debtor in Possession


 Dated: February 25, 2024




                                                 1
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                                    Document    Page 2 of 446




    THIS IS A SOLICITATION OF VOTES TO ACCEPT OR REJECT THE PLAN IN
    ACCORDANCE WITH BANKRUPTCY CODE SECTION 1125 AND WITHIN THE
    MEANING OF BANKRUPTCY CODE SECTION 1126. ON ____________ ______, 2024, THE
    BANKRUPTCY COURT ENTERED AN ORDER CONDITIONALLY APPROVING THIS
    DISCLOSURE STATEMENT. ASSUMING THE REQUISITE ACCEPTANCES OF THE
    PLAN ARE OBTAINED, THE DEBTOR INTENDS TO SEEK THE BANKRUPTCY
    COURT’S FINAL APPROVAL OF THE DISCLOSURE STATEMENT AT THE COMBINED
    HEARING. THE INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT TO
    CHANGE AND SUBJECT TO THE RESTRUCTURING SUPPORT AGREEMENT. THIS
    DISCLOSURE STATEMENT IS NOT AN OFFER TO SELL ANY SECURITIES AND IS NOT
    SOLICITING AN OFFER TO BUY ANY SECURITIES.

    IMPORTANT INFORMATION REGARDING THIS DISCLOSURE STATEMENT FOR
   SOLICITATION OF VOTES ON THE CHAPTER 11 PLAN OF REORGANIZATION OF
 CORENERGY INFRASTRUCTURE TRUST, INC. FROM THE HOLDERS OF OUTSTANDING
            CLAIMS AND INTERESTS IN THE FOLLOWING CLASSES:

                  VOTING CLASS                     NAME OF CLASS UNDER THE PLAN

                         CLASS 4                      GRIER MEMBERS CLAIM

                         CLASS 5                           SENIOR NOTES

                         CLASS 6                         PREFERRED STOCK

 IF YOU ARE IN CLASS 4, 5, OR 6, YOU ARE RECEIVING THIS DOCUMENT AND THE
 ACCOMPANYING MATERIALS BECAUSE YOU ARE ENTITLED TO VOTE ON THE PLAN

 THE PLAN PROVIDES THAT ALL HOLDERS OF CLAIMS AND INTERESTS THAT (I) VOTE
 TO ACCEPT THE PLAN, (II) ARE DEEMED TO ACCEPT THE PLAN AND DO NOT
 AFFIRMATIVELY OBJECT TO THE PLAN AND THE RELEASES PROVIDED IN THE PLAN,
 (III) ABSTAIN FROM VOTING ON THE PLAN AND DO NOT AFFIRMATIVELY OBJECT TO
 THE PLAN AND THE RELEASES PROVIDED IN THE PLAN, (IV) VOTE TO REJECT THE
 PLAN OR ARE DEEMED TO REJECT THE PLAN AND DO NOT AFFIRMATIVELY OBJECT
 TO THE PLAN AND THE RELEASES PROVIDED IN THE PLAN, OR (V) ARE GIVEN NOTICE
 OF THE OPPORTUNITY TO OBJECT TO THE GRANTING OF SUCH RELEASES PROVIDED
 IN THE PLAN BUT DO NOT OBJECT TO PLAN AND THE RELEASES PROVIDED IN THE
 PLAN ARE DEEMED TO HAVE GRANTED THE RELEASES THEREIN.




                                               2
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                                    Document    Page 3 of 446




                                      DELIVERY OF BALLOTS
  IF YOU ARE IN CLASS 4, 5, OR 6 YOU MAY SUBMIT YOUR VOTE VIA:
       1.   THE ENCLOSED PRE-PAID, PRE-ADDRESSED RETURN ENVELOPE
       2.   FIRST-CLASS MAIL, OVERNIGHT COURIER, OR HAND DELIVERY TO

                                  CORENERGY BALLOT PROCESSING
                                            C/O STRETTO
                                     410 EXCHANGE, SUITE 100,
                                          IRVINE, CA 92602

       3.   THE NOTICE AND CLAIMS AGENT’S SUBMISSION PORTAL AT:
            [______________________________________________________]

  PLEASE CHOOSE ONLY ONE METHOD TO RETURN YOUR BALLOT.




                   THE VOTING DEADLINE IS 4:00 P.M. PREVAILING CENTRAL TIME
                               ON ____________________ _______, 2024
                         (UNLESS THE DEBTOR EXTENDS THE VOTING DEADLINE)
  TO BE COUNTED AS A VOTE TO ACCEPT OR REJECT THE PLAN, THE NOTICE AND CLAIMS
  AGENT MUST ACTUALLY RECEIVE YOUR BALLOTS ON OR BEFORE THE VOTING DEADLINE.
  IF YOU HAVE ANY QUESTIONS ON THE VOTING PROCEDURES, PLEASE CONTACT THE
  NOTICE AND CLAIMS AGENT AT:
                                   CorEnergyInquiries@stretto.com

                                WITHA REFERENCE TO “CORENERGY
                                  INFRASTRUCTURE TRUST, INC.” In
                                       THE SUBJECT LINE OR
                                       (833) 345-0351 (Toll-Free)
                                     (949) 340-5692 (International)

 BENEFICIAL HOLDERS THAT HOLD THEIR CLAIMS THROUGH VOTING NOMINEES
 MUST RETURN SUCH BENEFICIAL HOLDER BALLOTS TO THEIR RESPECTIVE VOTING
 NOMINEES AS SOON AS POSSIBLE TO ALLOW SUFFICIENT TIME FOR VOTING
 NOMINEES TO VALIDATE AND INCLUDE THEIR VOTES ON A MASTER BALLOT AND
 RETURN SUCH MASTER BALLOTS TO THE NOTICE AND CLAIMS AGENT ON OR
 BEFORE THE VOTING DEADLINE.

 FOR YOUR VOTE TO BE COUNTED, THE MASTER BALLOT SUBMITTED ON YOUR
 BEHALF MUST BE ACTUALLY RECEIVED BY THE NOTICE AND CLAIMS AGENT ON OR
 BEFORE THE VOTING DEADLINE.


 IF YOU HOLD YOUR CLAIMS DIRECTLY, YOU MUST RETURN YOUR COMPLETED

                                                   3
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                          Desc Main
                                     Document    Page 4 of 446



 BALLOT TO THE NOTICE AND CLAIMS AGENT ON OR BEFORE THE VOTING DEADLINE.

          This disclosure statement (as may be amended, supplemented, or otherwise modified from
 time to time, in accordance with the terms of the Restructuring Support Agreement, this “Disclosure
 Statement”) provides information regarding the Chapter 11 Plan of Reorganization of CorEnergy
 Infrastructure Trust, Inc. (as may be amended, supplemented, or otherwise modified from time to
 time, in accordance with the terms of the Restructuring Support Agreement, the “Plan”), 1 which
 CorEnergy Infrastructure Trust, Inc. (the “Debtor” or “CorEnergy”) is seeking to have confirmed by
 the Bankruptcy Court. A copy of the Plan is attached hereto as Exhibit A. The Debtor is providing
 the information in this Disclosure Statement to certain Holders of Claims and Interests for purposes
 of soliciting votes to accept or reject the Plan.

        Pursuant to the Restructuring Support Agreement, the Plan is currently supported by the
 Debtor, Grier Members and Holders of approximately 90% of the principal amount of the Senior
 Note Claims.

         The consummation and effectiveness of the Plan are subject to certain conditions precedent
 set forth in Article IX of the Plan. There is no assurance that the Bankruptcy Court will confirm the
 Plan or that, if the Bankruptcy Court does confirm the Plan, the conditions necessary for the Plan to
 become effective will be satisfied or, in the alternative, waived.

        You are encouraged to read this Disclosure Statement (including “Certain Factors to Be
 Considered”) and the Plan in their entirety before submitting your Ballot to vote on the Plan.

        The Debtor urges each Holder of a Claim or Interest to consult with its own advisors with
 respect to any legal, financial, securities, tax, or business advice in reviewing this Disclosure
 Statement, the Plan, and each transaction contemplated by the Plan.

         The Debtor strongly encourages Holders of Claims in Class 4, 5, and 6 to read this Disclosure
 Statement and the Plan in their entirety before voting to accept or reject the Plan. Assuming the
 requisite acceptances to the Plan are obtained, the Debtor will seek the Bankruptcy Court’s approval
 of the Plan at the Combined Hearing.




 1
   Capitalized terms used but not otherwise defined in this Disclosure Statement have the meanings ascribed to such
 terms in the Plan.
                                                          4
     HB: 4863-9936-1961.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                   Document    Page 5 of 446



                               RECOMMENDATION BY THE DEBTOR

     THE DEBTOR’S BOARD HAS APPROVED THE TRANSACTIONS CONTEMPLATED BY THE
         PLAN AND DESCRIBED IN THIS DISCLOSURE STATEMENT, AND THE DEBTOR
     RECOMMENDS THAT ALL HOLDERS OF CLAIMS AND INTERESTS WHOSE VOTES ARE
      BEING SOLICITED SUBMIT BALLOTS TO ACCEPT THE PLAN BY RETURNING THEIR
     BALLOTS SO AS TO BE ACTUALLY RECEIVED BY THE NOTICE AND CLAIMS AGENT NO
    LATER THAN _________________ _____, 2024, AT 4:00 P.M. (PREVAILING CENTRAL TIME)
        PURSUANT TO THE INSTRUCTIONS SET FORTH HEREIN AND IN THE BALLOTS.

   As of the date hereof, the Grier Members and Holders of approximately 90% of the Senior Note Claims
   have already agreed, subject to the terms of the Restructuring Support Agreement (as defined herein) to
                                           vote in favor of the Plan.

          SPECIAL NOTICE REGARDING FEDERAL AND STATE SECURITIES LAWS

         The Bankruptcy Court has granted only conditional approval to this Disclosure Statement
 and has not reviewed the Plan. The Securities to be issued on or after the Effective Date will not have
 been the subject of a registration statement filed with the United States Securities and Exchange
 Commission (the “SEC”) under the United States Securities Act of 1933 (as amended, the “Securities
 Act”) or any securities regulatory authority of any state under any state securities law (“Blue Sky
 Laws”). The Plan has not been approved or disapproved by the SEC or any state regulatory
 authority, and neither the SEC nor any state regulatory authority has passed upon the accuracy or
 adequacy of the information contained in this Disclosure Statement or the Plan. Any representation
 to the contrary is a criminal offense.

          After the Petition Date, certain of the Securities described in this Disclosure Statement will
 be offered, issued, and distributed without registration under the Securities Act, or similar federal,
 state, local, or foreign laws, in reliance on the exemption set forth in Section 1145 of title 11 of the
 United States Code, 11 U.S.C. §§ 101-1532 (as may be amended from time to time, the “Bankruptcy
 Code”), Section 4(a)(2) of the Securities Act, and/or other exemptions under the Securities Act to
 exempt from registration under the Securities Act and Blue Sky Laws. To the extent that exemptions
 from registration under Section 1145 of the Bankruptcy Code or applicable federal securities law do
 not apply, the Securities may not be offered or sold except pursuant to a valid exemption or upon
 registration under the Securities Act. Neither the solicitation nor this Disclosure Statement shall
 constitute an offer to sell or the solicitation of an offer to buy Securities in any state or jurisdiction in
 which such offer or solicitation is not authorized.

         This Disclosure Statement has been prepared pursuant to Section 1125 of the Bankruptcy
 Code and Bankruptcy Rule 3016 and is not necessarily in accordance with federal or state securities
 laws or other similar laws.

         The Debtor recommends that potential recipients of any new securities pursuant to the Plan
 consult with their own legal counsel concerning the securities laws governing the transferability of
 such securities.




                                                      5
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                    Document    Page 6 of 446



                                                DISCLAIMER

          This Disclosure Statement contains summaries of certain provisions of the Plan and certain other
 documents and financial information. The information included in this Disclosure Statement is provided
 solely for the purpose of soliciting acceptances of the Plan and should not be relied upon for any purpose
 other than to determine whether and how to vote on the Plan. All Holders of Claims and Interests entitled
 to vote are advised and encouraged to read this Disclosure Statement and the Plan in their entirety before
 voting. The Debtor believes that these summaries are fair and accurate. The summaries of the financial
 information and the documents that are attached to, or incorporated by reference in, this Disclosure
 Statement are qualified in their entirety by reference to such information and documents. In the event of
 any inconsistency or discrepancy between a description in this Disclosure Statement, on the one hand, and
 the terms and provisions of the Plan or the financial information and documents incorporated in this
 Disclosure Statement by reference, on the other hand, the Plan or the financial information and documents,
 as applicable, shall govern for all purposes.

          Except as otherwise provided in the Plan or in accordance with applicable law, the Debtor is under
 no duty to update or supplement this Disclosure Statement. The Bankruptcy Court’s approval of this
 Disclosure Statement does not constitute a guarantee of the accuracy or completeness of the information
 contained herein or the Bankruptcy Court’s endorsement of the merits of the Plan. The statements and
 financial information contained in this Disclosure Statement have been made as of the date hereof unless
 otherwise specified. Holders of Claims and Interests reviewing the Disclosure Statement should not assume
 at the time of such review that there have been no changes in the facts set forth in this Disclosure Statement
 since the date of this Disclosure Statement. No Holder of a Claim or Interest should rely on any information,
 representations, or inducements that are not contained in or are inconsistent with the information contained
 in this Disclosure Statement, the documents attached to this Disclosure Statement, and the Plan. This
 Disclosure Statement does not constitute legal, business, financial, or tax advice. Any Person or Entity
 desiring any such advice should consult with its own advisors. Additionally, the Bankruptcy Court has
 approved this Disclosure Statement on a conditional basis, but neither the SEC nor any securities regulatory
 authority of any state under Blue Sky Laws has approved or disapproved this Disclosure Statement.

          The financial information contained in or incorporated by reference into this Disclosure Statement
 has not been audited, except as specifically indicated otherwise. The Debtor’s management, in consultation
 with its advisors, has prepared the Financial Projections (as defined below) attached hereto as Exhibit E
 and described in this Disclosure Statement. The Financial Projections, while presented with numerical
 specificity, necessarily were based on a variety of estimates and assumptions that are inherently uncertain
 and may be beyond the control of the Debtor’s management. Important factors that may affect actual results
 and cause the management forecasts not to be achieved include, but are not limited to, risks and
 uncertainties relating to the Debtor’s business (including their ability to achieve strategic goals, objectives,
 and targets over applicable periods), industry performance, the regulatory environment, general business
 and economic conditions, and other factors. The Debtor cautions that no representations can be made as to
 the accuracy of these projections or to their ultimate performance compared to the information contained
 in the forecasts or that the forecasted results will be achieved. Therefore, the Financial Projections may not
 be relied upon as a guarantee or other assurance that the actual results will occur.

          None of this Disclosure Statement, the Plan, the Confirmation Order, or the Plan Supplement
 waives any rights of the Debtor with respect to the Holders of Claims or Interests prior to the Effective
 Date. Regarding contested matters, adversary proceedings, and other pending, threatened, or potential
 litigation or other actions, this Disclosure Statement does not constitute, and may not be construed as, an
 admission of fact, liability, stipulation, or waiver by the Debtor or any other party, but rather as a statement
 made in the context of settlement negotiations in accordance with Rule 408 of the Federal Rules of Evidence
 and any analogous state or foreign laws or rules. As such, this Disclosure Statement shall not be admissible
                                                        6
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                    Document    Page 7 of 446



 in any non-bankruptcy proceeding involving the Debtor or any other party in interest, nor shall it be
 construed to be conclusive advice on the tax, securities, financial or other effects of the Plan to Holders of
 Claims against, or Interests in, the Debtor or any other party in interest. Please refer to Article VII of this
 Disclosure Statement, titled “Certain Factors to Be Considered” for a discussion of certain risk factors that
 Holders of Claims voting on the Plan should consider.

          Except as otherwise expressly set forth herein, all information, representations, or statements
 contained herein have been provided by the Debtor. No person is authorized by the Debtor in connection
 with this Disclosure Statement, the Plan, or the Solicitation to give any information or to make any
 representation or statement regarding this Disclosure Statement, the Plan, or the Solicitation, in each case,
 other than as contained in this Disclosure Statement and the Exhibits attached hereto or as otherwise
 incorporated herein by reference or referred to herein. If any such information, representation, or statement
 is given or made, it may not be relied upon as having been authorized by the Debtor.

          This Disclosure Statement contains certain forward-looking statements, all of which are based on
 various estimates and assumptions. Such forward-looking statements are subject to inherent uncertainties
 and to a wide variety of significant business, economic, and competitive risks including, but not limited to,
 those summarized herein. When used in this Disclosure Statement, the words “anticipate,” “believe,”
 “estimate,” “will,” “may,” “intend,” and “expect” and similar expressions generally identify forward-
 looking statements. Although the Debtor believes that its plans, intentions, and expectations reflected in the
 forward-looking statements are reasonable, the Debtor cannot be sure that such plans, intentions, and
 expectations will be achieved. These statements are only predictions and are not guarantees of future
 performance or results. Forward-looking statements are subject to risks and uncertainties that could cause
 actual results to differ materially from those contemplated by a forward-looking statement. All forward-
 looking statements attributable to the Debtor or Persons or Entities acting on the Debtor’s behalf are
 expressly qualified in their entirety by the cautionary statements set forth in this Disclosure Statement.
 Forward-looking statements speak only as of the date on which they are made. Except as required by law,
 the Debtor expressly disclaims any obligation to update any forward-looking statement, whether as a result
 of new information, future events, or otherwise.

          No legal or tax advice is provided to you by this Disclosure Statement. The Debtor urges each
 Holder of a Claim or Interest to consult with its own advisors with respect to any legal, financial, securities,
 tax, or business advice in reviewing this Disclosure Statement, the Plan, and each of the proposed
 transactions contemplated thereby. Further, the Bankruptcy Court’s approval of the adequacy of disclosures
 contained in this Disclosure Statement does not constitute the Bankruptcy Court’s approval of the merits of
 the Plan or a guarantee by the Bankruptcy Court of the accuracy or completeness of the information
 contained herein.




                                                        7
  HB: 4863-9936-1961.1
Case 24-40236-can11                           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                             Desc Main
                                                    Document    Page 8 of 446



                                                                TABLE OF CONTENTS

 Article I The Plan ......................................................................................................................................................20
 Article II Voting Procedures and Requirements ....................................................................................................26
       2.1 Classes Entitled to Vote on the Plan .........................................................................................................26
       2.2 Votes Required for Acceptance by a Class ..............................................................................................26
       2.3 Certain Factors to Be Considered Prior to Voting..................................................................................26
       2.4 Classes of Claims and Interest Holders Not Entitled to Vote on the Plan ............................................27
       2.5 Solicitation Procedures ..............................................................................................................................27
              (a) Notice and Claims Agent .....................................................................................................................27
              (b) Solicitation Package .............................................................................................................................27
              (c) Distribution of the Solicitation Package .............................................................................................28
       2.6 Voting Procedures......................................................................................................................................28
 Article III Business Descriptions ..............................................................................................................................29
       3.1 The Debtor’s Corporate Structure ...........................................................................................................29
       3.2 CorEnergy’s Business Operations ............................................................................................................30
              (a) Overview ...............................................................................................................................................30
              (b) History of CorEnergy ..........................................................................................................................31
              (c) CorEnergy’s Current Operations .......................................................................................................32
              (d) CorEnergy’s Employees ......................................................................................................................32
              (e) The Debtor’s Prepetition Capital Structure ......................................................................................33
 Article IV Events Leading to the Chapter 11 Case .................................................................................................33
       4.1 Market Conditions .....................................................................................................................................33
       4.2 Maturity of Wells Fargo Credit Facility ..................................................................................................35
       4.3 Delisting Event ...........................................................................................................................................36
       4.4 Prepetition Restructuring Efforts and the Restructuring Support Agreement....................................36
       4.5 SALE OF MISSOURI OPERATIONS ....................................................................................................38
 Article V Summary of the Plan ...............................................................................................................................38
       5.1 Administrative and Priority Claims .........................................................................................................38
              (a) Administrative Claims Bar Date .........................................................................................................39
              (b) Professional Fee Claims .......................................................................................................................39
              (c) Restructuring Fees and Expenses .......................................................................................................40
              (d) Priority Tax Claims..............................................................................................................................40
              (e) Statutory Fees .......................................................................................................................................40
       5.2 Classification, Treatment, and Voting of Claims and Interests .............................................................40
              (a) Classification of Claims and Interests ................................................................................................40
              (b) Treatment of Classes of Claims and Interests ...................................................................................41

                                                                                     8
   HB: 4863-9936-1961.1
Case 24-40236-can11                       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                                Desc Main
                                                Document    Page 9 of 446



          (c) Class 1—Secured Claims .....................................................................................................................41
          (d) Class 2—Other Priority Claims ..........................................................................................................42
          (e) Class 3—General Unsecured Claims ..................................................................................................42
          (f) Class 4—Grier Member Claims ..........................................................................................................42
          (g) Class 5—Senior Notes ..........................................................................................................................44
          (h) Class 6—Preferred Stock.....................................................................................................................44
          (i) Class 7—Common Stock .....................................................................................................................45
          (j) Special Provisions Governing Unimpaired Claims ...........................................................................46
          (k) Controversy Concerning Impairment ................................................................................................46
          (l) Elimination of Vacant Classes .............................................................................................................46
          (m) Voting Classes; Presumed Acceptance by Non-Voting Classes ........................................................46
          (n) Acceptance by Impaired Classes .........................................................................................................46
          (o) Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code..................46
     5.3 Provisions for Implementation of the Plan ..............................................................................................47
          (a) General Settlement of Claims and Interests ......................................................................................47
          (b) Restructuring Transactions .................................................................................................................47
          (c) Corporate Action ..................................................................................................................................48
          (d) Takeback Debt......................................................................................................................................48
          (e) The Revolving Credit Facility .............................................................................................................49
          (f) Management Incentive Plan ................................................................................................................49
          (g) Employee Obligations ..........................................................................................................................49
          (h) Deregistration of Existing Common Stock and Preferred Stock and Issuance of New Common
              Stock ......................................................................................................................................................49
          (i) Exemption from Registration Requirements .....................................................................................50
          (j) Subordination .......................................................................................................................................50
          (k) Vesting of Assets in the Reorganized Debtor .....................................................................................51
          (l) Cancellation of Instruments, Certificates, and Other Documents ...................................................51
          (m) Sources for Plan Distributions ............................................................................................................52
          (n) Corporate Existence .............................................................................................................................52
          (o) New Governance Documents...............................................................................................................52
          (p) Indemnification Provisions in Organizational Documents ...............................................................52
          (q) Effectuating Documents; Further Transactions ................................................................................53
          (r) Management of the Reorganized Debtor ...........................................................................................53
          (s) Section 1146(a) Exemption ..................................................................................................................53
          (t) Preservation of Causes of Action ........................................................................................................54
     5.4 Treatment of Executory Contracts and Unexpired Leases ....................................................................54
          (a) Assumption and Rejection of Executory Contracts and Unexpired Leases ....................................54

                                                                                   9
  HB: 4863-9936-1961.1
Case 24-40236-can11                       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                                 Desc Main
                                               Document    Page 10 of 446



          (b) Cure and Defaults for Assumed Executory Contracts and Unexpired Leases ...............................55
          (c) Rejection Damages Claims ..................................................................................................................56
          (d) Insurance Policies .................................................................................................................................57
          (e) Contracts and Leases After the Petition Date ....................................................................................57
          (f) Reservation of Rights ...........................................................................................................................57
          (g) Nonoccurrence of Effective Date.........................................................................................................58
     5.5 Provisions Governing Distributions .........................................................................................................58
          (a) Distributions on Account of Claims or Interests Allowed as of Effective Date ...............................58
          (b) Expenses Incurred On or After the Effective Date ...........................................................................58
          (c) Special Rules for Distributions to Holders of Disputed Claims .......................................................59
          (d) Delivery of Distributions......................................................................................................................59
          (e) Claims Paid or Payable by Third Parties ...........................................................................................62
          (f) No Postpetition or Default Interest on Claims ...................................................................................62
          (g) Setoffs ....................................................................................................................................................63
          (h) Allocation Between Principal and Accrued Interest .........................................................................63
          (i) Delivery of New Common Stock .........................................................................................................63
     5.6 Procedures for Resolving Contingent, Unliquidated, and Disputed Claims and Interests..................63
          (a) Allowance of Claims .............................................................................................................................64
          (b) Objections to Claims ............................................................................................................................64
          (c) Estimation of Claims ............................................................................................................................64
          (d) No Distribution Pending Allowance ...................................................................................................64
          (e) Distribution After Allowance ..............................................................................................................64
          (f) No Interest ............................................................................................................................................65
          (g) Adjustment to Claims Without Objection .........................................................................................65
          (h) Disallowance of Claims ........................................................................................................................65
     5.7 Effect of Confirmation of the Plan ...........................................................................................................65
          (a) Discharge of Claims and Termination of Interests; Compromise and Settlement of Claims,
              Interests, and Controversies ................................................................................................................66
          (b) Release by the Debtor ..........................................................................................................................66
          (c) Releases by Holders of Claims and Interests .....................................................................................68
          (d) Exculpation ...........................................................................................................................................69
          (e) Injunction ..............................................................................................................................................70
          (f) Protection Against Discriminatory Treatment ..................................................................................72
          (g) Release of Liens ....................................................................................................................................72
          (h) Reimbursement of Contribution .........................................................................................................72
          (i) Recoupment ..........................................................................................................................................73
     5.8 Conditions Precedent to the Effective Date .............................................................................................73

                                                                                  10
  HB: 4863-9936-1961.1
Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                                 Desc Main
                                                 Document    Page 11 of 446



            (a) Conditions Precedent to the Effective Date........................................................................................73
            (b) Waiver of Conditions Precedent .........................................................................................................74
            (c) Effect of Non-Occurrence of Conditions to Consummation .............................................................74
            (d) Substantial Consummation .................................................................................................................74
      5.9 Modification, Revocation, or Withdrawal of the Plan ............................................................................74
            (a) Modification of Plan .............................................................................................................................74
            (b) Effect of Confirmation on Modifications ...........................................................................................75
            (c) Revocation or Withdrawal of Plan .....................................................................................................75
      5.10 Retention of Jurisdiction ...........................................................................................................................75
      5.11 Miscellaneous Provisions ...........................................................................................................................77
            (a) Immediate Binding Effect ....................................................................................................................77
            (b) Additional Documents .........................................................................................................................77
            (c) Reservation of Rights ...........................................................................................................................77
            (d) Successor and Assigns ..........................................................................................................................77
            (e) Service of Documents ...........................................................................................................................77
            (f) Term of Injunction or Stays ................................................................................................................78
            (g) Entire Agreement .................................................................................................................................78
            (h) Plan Supplement...................................................................................................................................78
            (i) Non-Severability ...................................................................................................................................79
            (j) Votes Solicited in Good Faith ..............................................................................................................79
            (k) Dissolution of Statutory Committees and Cessation of Fee and Expense Payment .......................79
            (l) Closing of Chapter 11 Case .................................................................................................................79
            (m) Waiver or Estoppel ..............................................................................................................................79
 Article VI Events During the Chapter 11 case ........................................................................................................80
      6.1 Commencement of the Chapter 11 Case and Filing of First Day Motions ...........................................80
            (a) Cash Management System...................................................................................................................80
            (b) Employee Wages and Benefits ............................................................................................................80
            (c) Utilities ..................................................................................................................................................80
            (d) Taxes......................................................................................................................................................81
      6.2 Combined Hearing, Solicitation Procedures, and Proposed Confirmation Schedule ..........................81
      6.3 Other Procedural Motions ........................................................................................................................81
            (a) Ordinary Course Professionals ...........................................................................................................81
      6.4 Retention and Compensation of Professionals ........................................................................................81
            (a) Restructuring Expenses .......................................................................................................................81
 Article VII Certain Factors to be Considered .........................................................................................................82
      7.1 General........................................................................................................................................................82
      7.2 Risks Relating to the Plan and Other Bankruptcy Law Considerations...............................................83
                                                                                    11
  HB: 4863-9936-1961.1
Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                                   Desc Main
                                                Document    Page 12 of 446



          (a) The Debtor Cannot Predict the Amount of Time Spent in Bankruptcy for the Purpose of
              Implementing the Plan, and a Lengthy Bankruptcy Proceeding Could Disrupt the Debtor’s
              Business, as Well as Impair the Prospect for Reorganization on the Terms Contained in the Plan
              ................................................................................................................................................................83
          (b) Risk of Non-Occurrence of the Effective Date ...................................................................................83
          (c) If the Debtor Does Not Complete the Restructuring Transactions, it May Seek Restructuring
              Alternatives That Result in Less Value to Holders of Claims and Interests Than They Would
              Receive Pursuant to the Plan...............................................................................................................84
          (d) The Bankruptcy Court May Dismiss the Chapter 11 Case ..............................................................84
          (e) A Holder of a Claim or Interest May Object to, and the Bankruptcy Court May Disagree with, the
              Debtor’s Classification of Claims and Interests ................................................................................84
          (f) The Debtor May Not Be Able to Satisfy the Voting Requirements for Confirmation of the Plan 84
          (g) The Support of the Ad Hoc Noteholder Group is Subject to the Terms of the Restructuring
              Support Agreement Which is Subject to Termination in Certain Circumstances, and the
              Termination of the Restructuring Support Agreement Could Adversely Affect the Chapter 11
              Case .......................................................................................................................................................85
          (h) The Debtor May Not be Able to Obtain Confirmation of the Plan..................................................85
          (i) The Debtor May Object to the Amount or Classification of a Claim ..............................................86
          (j) Contingencies Could Affect Votes of Impaired Classes to Accept or Reject the Plan....................86
          (k) Nonconsensual Confirmation ..............................................................................................................86
          (l) Continued Risk Upon Confirmation...................................................................................................87
          (m) Contingencies May Affect Distributions to Holders of Allowed Claims..........................................87
          (n) Even if the Debtor Receives All Necessary Acceptances for the Plan to Become Effective, the
              Debtor May Fail to Meet All Conditions Precedent to Effectiveness of the Plan ...........................87
          (o) Parties May Object to the Plan on Account of the Debtor Releases, Third-Party Releases,
              Exculpations, or Injunction Provisions ..............................................................................................87
          (p) The Debtor May Seek to Amend, Waive, Modify, or Withdraw the Plan at Any Time Prior to
              Confirmation ........................................................................................................................................88
          (q) The Plan May Have Material Adverse Effects on the Debtor’s Operations ...................................88
          (r) Other Parties in Interest Might Be Permitted to Propose Alternative Plans of Reorganization That
              May Be Less Favorable to Certain of the Debtor’s Constituencies Than the Plan ........................88
          (s) The Debtor’s Business May Be Negatively Affected if the Debtor Is Unable to Assume its Executory
              Contracts ...............................................................................................................................................89
          (t) Material Transactions Could Be Set Aside as Fraudulent Conveyances or Preferential Transfers
              ................................................................................................................................................................89
          (u) Certain Tax Implications of the Plan .................................................................................................89
     7.3 Risk Related to the Takeback Debt and Revolving Credit Facility .......................................................89
          (a) Insufficient Cash Flow to Meet Debt Obligations..............................................................................90
          (b) Defects in Collateral .............................................................................................................................90
          (c) Failure to Perfect Security Interests in Collateral.............................................................................90
          (d) Any Future Pledge of Collateral Might Be Avoidable in a Subsequent Bankruptcy by the
              Reorganized Debtor .............................................................................................................................90

                                                                                   12
  HB: 4863-9936-1961.1
Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                           Desc Main
                                                Document    Page 13 of 446



      7.4 Risks Relating to the New Common Stock ..............................................................................................91
            (a) The Reorganized Debtor May Not Be Able to Achieve its Projected Financial Results ................91
            (b) The Plan Exchanges Senior Indebtedness for Securities ..................................................................91
            (c) The Implied Valuation of the New Common Stock is Not Intended to Represent Trading Value of
                the New Common Stock.......................................................................................................................91
            (d) Trading Market for the New Common Stock ....................................................................................91
            (e) Certain Holders of New Common Stock May Be Restricted in Their Ability to Transfer or Sell
                Their Securities.....................................................................................................................................92
            (f) Certain Significant Holders of New Common Stock May Have Substantial Influence Over the
                Reorganized Debtor Following the Effective Date ............................................................................93
            (g) The New Common Stock is Subject to Dilution .................................................................................93
            (h) The Debtor’s Financial Projections are Subject to Inherent Uncertainty Due to the Numerous
                Assumptions Which They Are Based .................................................................................................93
      7.5 Risks Relating to the Business of the Debtor and the Reorganized Debtor ..........................................94
            (a) The Reorganized Debtor May Not Be Able to Repay or Refinance All of its Post-Effective Date
                Indebtedness, if Any .............................................................................................................................94
            (b) Operating in Bankruptcy for a Long Period of Time May Harm the Debtor’s or the Reorganized
                Debtor’s Business .................................................................................................................................94
            (c) Financial Results May Be Volatile and May Not Reflect Historical Trends ...................................95
            (d) The Loss of Key Personnel Could Adversely Affect the Debtor’s Operations ................................95
            (e) The Reorganized Debtor May Be Adversely Affected by Potential Litigation, Including Litigation
                Arising Out of the Chapter 11 Case....................................................................................................95
            (f) Certain Claims May Not Be Discharged and Could Have a Material Adverse Effect on the Debtor’s
                or the Reorganized Debtor’s Financial Condition and Results of Operations................................96
            (g) The Reorganized Debtor May Not Be Able to Accurately Report Its Financial Results ...............96
            (h) The Reorganized Debtor May Not Continue to Be Treated as a REIT ...........................................96
            (i) Other Risks Associated with the Debtor's Business and Industry ...................................................97
      7.6 Disclosure Statement Disclaimer ..............................................................................................................98
            (a) Information Contained Herein Is Solely for Soliciting Votes ...........................................................98
            (b) Disclosure Statement May Contain Forward-Looking Statements .................................................99
            (c) This Disclosure Statement Has Not Been Approved by the SEC ...................................................100
            (d) No Legal, Business, or Tax Advice Is Provided to You by This Disclosure Statement ................100
            (e) No Admissions Made..........................................................................................................................100
            (f) Failure to Identify Litigation Claims or Projected Objections ......................................................100
            (g) No Waiver of Right to Object or Right to Recover Transfers and Assets .....................................100
            (h) Information Was Provided by the Debtor and Was Relied Upon by the Debtor’s Advisors ......101
            (i) The Potential Exists for Inaccuracies and the Debtor Has No Duty to Update ............................101
            (j) No Representation Outside of the Disclosure Statement Are Authorized .....................................101
 Article VIII Confirmation Procedures ..................................................................................................................101


                                                                                 13
  HB: 4863-9936-1961.1
Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                             Desc Main
                                                 Document    Page 14 of 446



      8.1 The Combined Hearing ...........................................................................................................................101
      8.2 Confirmation Standards..........................................................................................................................102
      8.3 Best Interests Test / Liquidation Analysis .............................................................................................103
      8.4 Feasibility..................................................................................................................................................103
      8.5 Confirmation Without Acceptance by All Impaired Classes ...............................................................104
            (a) No Unfair Discrimination ..................................................................................................................104
            (b) Fair and Equitable Test .....................................................................................................................104
      8.6 Alternative to Confirmation and Consummation of the Plan ..............................................................105
 Article IX Important Securities Law Disclosures .................................................................................................105
      9.1 Issuance of Securities under the Plan .....................................................................................................105
      9.2 Subsequent Transfers ..............................................................................................................................106
      9.3 The Agreement .........................................................................................................................................108
 Article X Certain Tax Consequences of the Plan ..................................................................................................108
      10.1 Certain U.S. Federal Income Tax Consequences of the Plan ...............................................................108
            (a) Certain REIT Considerations ...........................................................................................................110
            (b) Consequences to the Debtor and the Reorganized Debtor .............................................................111
            (c) Consequences to Holders of Certain Claims and Interests .............................................................114
            (d) Tax Consequences of Owning and Disposing of New Common Stock...........................................118
            (e) U.S. Federal Income Tax Consequences to Non-U.S. Holders of Certain Claims ........................120
            (f) Additional Withholding Tax on Payments Made to Foreign Accounts .........................................124
            (g) Information Reporting and Withholding .........................................................................................124
 Article XI Conclusion and Recommendation ........................................................................................................125




                                                                                  14
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                   Document    Page 15 of 446



 EXHIBITS

 Exhibit A         Plan of Reorganization

 Exhibit B         Restructuring Support Agreement (and exhibits and attachments thereto)

 Exhibit C         Historical Financial Information

 Exhibit D         Liquidation Analysis

 Exhibit E         Estimated Total Enterprise Value and Implied Equity Value

 Exhibit F         Financial Projections

 Exhibit G         Organizational Chart




                                                      15
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                   Desc Main
                                     Document    Page 16 of 446



                                          EXECUTIVE SUMMARY

        The Plan implements a prenegotiated restructuring agreed by and among the Debtor and certain of
 the Debtor’s major stakeholders, including certain Holders representing approximately 90% in principal
 amount of the Senior Notes, which will result in a significant reduction in the Debtor’s total indebtedness.

         The Plan contemplates several Restructuring Transactions (as defined below). The anticipated
 benefits of the Plan include, without limitation, the following:

                   •     Reduction of the Senior Notes to approximately 38% of the current indebtedness;

                   •     the Pro Rata distribution of a cash pool of $23.6 million to Holders of Senior Note
                         Claims, plus a full recovery to Holders of General Unsecured Claims;

                   •     conversion of the remaining amount of indebtedness into approximately 86.41% -
                         88.96% of the equity in the Reorganized Debtor;

                   •     the Pro Rata Distribution of 8.25% - 10.15% of the equity in the Reorganized Debtor
                         to the Holders of Preferred Stock; and

                   •     reserving the remaining equity in the Reorganized Debtor (2.79% - 3.44%) for
                         allocation to the Grier Members consistent with Crimson LLC Operating Agreements;

                   •     the assumption of the RSA, employment agreements, among other agreements,
                         through the Plan as of the Effective Date; and

                   •     prompt emergence from Chapter 11.

         The Plan provides for a comprehensive restructuring of the Debtor’s prepetition obligations,
 preserves the going-concern value of the Debtor’s business and maximizes stakeholder recoveries. To
 evidence their support of the Debtor’s restructuring, Holders of approximately 90% in principal amount of
 Senior Notes executed the Restructuring Support Agreement, a copy of which is attached hereto as
 Exhibit B.

          The purpose of this Disclosure Statement is to provide Holders of Claims and Interests entitled to
 vote to accept or reject the Plan with adequate information about (a) the Debtor’s business and certain
 historical events, (b) the Chapter 11 Case, (c) the rights of Holders of Claims and Interests under the Plan,
 and (d) other information necessary to enable each Holder of a Claim or Interest to make an informed
 judgment as to whether to vote to accept or reject the Plan.

                                               INTRODUCTION

          Formed under the laws of the State of Maryland and headquartered in Kansas City, Missouri,
 CorEnergy operates for tax purposes as a real estate investment trust (“REIT”). Its stock is widely held and
 it operates under the oversight of a board of directors that meets the independence standards of the New
 York Stock Exchange (“NYSE”). Since its founding, CorEnergy has focused on owning and leasing energy
 midstream infrastructure assets, or operating energy midstream companies. Between February 2021 and
 January 2024, CorEnergy’s business consisted principally of owning businesses that own and operate (1) a
 natural gas pipeline and related assets in Missouri and (2) crude oil pipelines in California.

          In anticipation of the need to reduce the Company’s debt, in early 2023, the Board of Directors
                                                       16
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 17 of 446



 initiated a process to sell CorEnergy’s Missouri assets. This sale was completed in early 2024, and the
 proceeds were used to retire all $109 million, including accrued interest and expenses, of the Company’s
 secured bank debt, leaving the Company with approximately $65 million in cash and the California crude
 oil pipelines as its principal assets.

          CorEnergy has approximately $118 million in principal amount of Senior Notes as its only debt
 (other than trade accounts payable that are current).

         CorEnergy has operated in industries severely impacted by the COVID-19 pandemic, the war in
 Ukraine’s impact on global crude supply, and changing regulations that have simultaneously reduced the
 demand for its services and raised operating costs. These challenges led to a significant decline in the
 Company’s prospects and cash flows and in early 2023, the Board of Directors halted dividends on the
 Company’s common and Preferred Stock. Because the Preferred Stock dividend is cumulative, meaning
 that undeclared dividends must be paid before any distribution can be made on the common stock, the
 prospects for resuming the common stock dividend became increasingly doubtful. As a result, CorEnergy’s
 common stock traded down below thresholds required to maintain its listing on the NYSE.

          The Bond Indenture for the Senior Notes provides that if CorEnergy’s Common Stock ceases to be
 listed or quoted on the NYSE, then CorEnergy must initiate certain procedures which would offer to
 repurchase the Senior Notes at par value. In the second half of 2023, it became apparent that the Common
 Stock would be delisted from the NYSE. Because CorEnergy does not have the ability to repay the Senior
 Notes, it became apparent that CorEnergy would default on the Senior Notes.

          In light of the foregoing, since the end of 2023, CorEnergy has actively engaged with an ad hoc
 group of noteholders (the “Ad Hoc Noteholder Group”) who collectively hold approximately 90% of the
 Senior Notes and their advisors regarding its support for a potential restructuring of CorEnergy’s balance
 sheet. This engagement process involved substantial diligence, discussion, and interaction among the
 parties.

         On the Petition Date (immediately prior to the filing of the voluntary petition), following extensive,
 good-faith negotiations, CorEnergy and the Ad Hoc Noteholder Group entered into the Restructuring
 Support Agreement attached hereto as Exhibit B. The transactions contemplated by the Restructuring
 Support Agreement, which will be implemented through the Plan, include a balance sheet restructuring that
 will reduce the Debtor’s debt obligations and minimize the time and expense associated with the Chapter
 11 Case.

          If confirmed and consummated, the Plan should: (a) reduce debt from approximately $118 million
 to $45 million; (b) provide sufficient liquidity for the Company to wait out the results of its applications to
 the California Public Utilities Commission (“CPUC”) to substantially increase its pipeline tariffs; (c)
 distribute New Common Stock to the Holders of the Senior Note Claims, which will provide the Holders
 of the Senior Note Claims with approximately 87-89% of the equity in the Reorganized Debtor, subject to
 dilution on account of the Management Incentive Plan; (d) allow Holders of Administrative Claims, Other
 Priority Claims, Priority Tax Claims, Secured Claims, and General Unsecured Claims to remain
 Unimpaired; and (e) maintain critical business relationships with customers, vendors, and employees.

          CorEnergy strongly believes that the Plan and the Restructuring Transactions are in the best
 interests of its Estate and represents the best available alternative for all of its stakeholders. CorEnergy is
 confident that it can implement its restructuring pursuant to the terms of the Plan for the benefit of all of its
 stakeholders.

          WHERE TO FIND ADDITIONAL INFORMATION: CorEnergy currently files quarterly and
                                                        17
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                     Document    Page 18 of 446



 annual reports with, and furnishes other information to, the SEC. Copies of any document filed with the
 SEC may be obtained by visiting the SEC website at http://www.sec.gov and performing a search under the
 “Company Filings” link. Each of the following filings is incorporated as if fully set forth herein and is a
 part of this Disclosure Statement. Reports filed with the SEC on or after the date of this Disclosure
 Statement are also incorporated by reference herein.

                   •     Annual Report on Form 10-K for the fiscal year ended December 31, 2022;

                   •     The information specifically incorporated by reference into the Company's Annual
                         Report on Form 10-K for the year ended December 31, 2022 from its definitive proxy
                         statement on Schedule 14A filed with the SEC on April 18, 2023;

                   •     Quarterly Reports on Form 10-Q for the periods ending March 31, June 30 and
                         September 30, 2023; and

                   •     Current Reports on Form 8-K filed with the SEC on January 17, 2023, January 26,
                         2023, February 16, 2023, March 6, 2023, March 7, 2023, March 9, 2023, March 24,
                         2023, May 24, 2023, May 25, 2023, September 13, 2023, December 4, 2023, January
                         25, 2024, and February 16, 2024.




                                                       18
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                     Document    Page 19 of 446



      PLEASE TAKE NOTE OF THE FOLLOWING KEY DATES AND DEADLINES FOR THE
     CHAPTER 11 CASE AS SET FORTH HEREIN AND IN THE RESTRUCTURING SUPPORT
                                  AGREEMENT. 2

     Voting Record Date                                         _________________ _____, 2024



     Deadline for entry of an order approving the               April 25, 2024 (60 calendar days after
     Disclosure Statement:                                      the Petition Date)


     Deadline to object to entry of (i) an order approving the 4:00 p.m. (Prevailing Central Time) on
     Disclosure Statement on a final basis and (ii) the _________________ _____, 2024
     Confirmation Order:
     Voting Deadline for Holders of Secured Debt Claims 4:00 p.m. (Prevailing Central Time) on
     and General Unsecured Claims to vote to accept or reject _________________ _____, 2024
     the Plan:
     Deadline for entry of the Confirmation Order:              June 10, 2024 (105 calendar days after
                                                                the Petition Date)


     Deadline for the occurrence of the Effective Date:         30 calendar days after the date of entry of
                                                                the Confirmation Order




 2
  The foregoing dates and deadlines may be modified or amended in accordance with the terms of the Restructuring
 Support Agreement.
                                                          19
     HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                      Document    Page 20 of 446



                                                      ARTICLE I
                                                      THE PLAN

 1.1       Treatment of Claims and Interests

          The Plan establishes a comprehensive classification of Claims and Interests. The table below
 summarizes each Claim’s and Interest’s classification, treatment, and voting rights under the Plan. Except
 to the extent that the Debtor and a Holder of an Allowed Claim or Allowed Interest agree to less favorable
 treatment, each Holder will receive under the Plan the treatment described below in full and final
 satisfaction, settlement, release, and discharge of and in exchange for such Holder’s Allowed Claim or
 Allowed Interest. Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as
 applicable, will receive the following treatment on the Effective Date, or as soon as reasonably practicable
 thereafter. The following table is qualified in its entirety by reference to the full text of the Plan. A more
 detailed summary of the terms and provisions of the Plan is provided in the summary of the Plan set forth
 in Article IV of this Disclosure Statement. The analysis underlying the estimated recoveries, including the
 assumptions underlying such analysis, is provided in the Valuation Analysis set forth in Article 1. and
 Exhibit E hereof.

                                                                                         Projected
                                                                                                      Projected
  Class      Description                           Treatment                            Amount of
                                                                                                      Recovery
                                                                                          Claims
                           On the Effective Date, or as soon as reasonably             N/A           N/A
                           practicable thereafter, in full and final satisfaction,
                           compromise, settlement, release, and discharge of, and
                           in exchange for, such Allowed Secured Claim, each
                           Holder thereof shall receive, at the election of the
                           Debtor or Reorganized Debtor, as applicable: (a)
            Secured        payment in full in Cash; (b) the collateral securing its
 Class 1
            Claims         Allowed Secured Claim; (c) Reinstatement of its
                           Allowed Secured Claim; or (d) such other treatment
                           rendering its Allowed Secured Claim Unimpaired in
                           accordance with Section 1124 of the Bankruptcy Code.

                           Not Entitled to Vote (Deemed to Accept)
                           On the Effective Date, or as soon as reasonably             N/A           100%
                           practicable thereafter, in full and final satisfaction,
                           compromise, settlement, release, and discharge of, and
                           in exchange for, such Allowed Other Priority Claim,
                           each Holder thereof shall receive, at the election of the
                           Debtor or Reorganized Debtor, as applicable, payment
            Other          in full in Cash or otherwise receive treatment consistent
 Class 2    Priority       with the provisions of Section 1129(a)(9) of the
            Claims         Bankruptcy Code, either (a) on the Effective Date or (b)
                           on the date due in the ordinary course of business in
                           accordance with the terms and conditions of the
                           particular transaction giving rise to such Allowed Other
                           Priority Claim.

                           Not Entitled to Vote (Deemed to Accept)




                                                            20
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                    Document    Page 21 of 446



                         In full and final satisfaction, compromise, settlement,      Undetermined   100%
                         release, and discharge of, and in exchange for, such
                         Allowed General Unsecured Claim, each Holder thereof
                         shall receive, at the election of the Debtor or
                         Reorganized Debtor, as applicable, Payment in full in
           General
                         Cash on account of such Claim either (i) on the
 Class 3   Unsecured
                         Effective Date or (ii) on the date due in the ordinary
           Claims
                         course of business in accordance with the terms and
                         conditions of the particular transaction giving rise to
                         such Allowed General Unsecured Claim.

                         Not Entitled to Vote (Deemed to Accept)
                         Each Grier Member Claim shall be deemed Allowed in Undetermined             Undetermined
                         the amount of $1.00 for purposes of voting and
                         confirmation, representing any Claim of the Grier
                         Members against the Debtor, including but not limited to
                         any Claims or rights arising under the Crimson LLC
                         Agreement. The Grier Member Claim constitutes legal,
                         valid, and binding obligation of the Debtor, and no
                         offsets, defenses, or counterclaims to, or claims or causes
                         of action that could reduce the amount or ranking of, the
                         Grier Member Claims exists. No portion of the Grier
                         Member Claims is subject to set-off, avoidance,
                         impairment, disallowance, recharacterization, reduction,
                         subordination (whether equitable, contractual, or
                         otherwise), counterclaims, recoupment, cross-claims,
                         defenses, or any other challenges under or pursuant to the
                         Bankruptcy Code or any other applicable domestic or
                         foreign law or regulation by any person or entity.

                         Because the equity units of the Grier Members in
                         Crimson (the Class A-1 Crimson Units, the Class A-2
           Grier         Crimson Units, and the Class A-3 Crimson Units) track
 Class 4   Member        the dividend and liquidation rights of the Preferred Stock
           Claims        and the Common Stock, the Grier Member Claims will
                         be treated as follows:

                         With respect to the Class A-1 Crimson Units, the Grier
                         Members’ right to exchange their Class A-1 Crimson
                         Units with Preferred Stock will be substituted with the
                         Grier Member’s right to exchange their Class A-1
                         Crimson Units with 2.79% of the New Common Stock,
                         subject to dilution by the Management Incentive Plan
                         and any tracking dividend or liquidation distribution
                         rights that tracked to the Preferred Stock shall be
                         exchanged for tracking to the 2.79% of the New
                         Common Stock; provided, however, that if the Senior
                         Notes receive Excess Effective Date Cash, then the
                         percentage shall increase based on a ratio of 7.59 basis
                         points to every $1 million in Excess Effective Date
                         Cash (for the avoidance of doubt the incremental
                         increase to the percentage described herein when
                         combined with the incremental increase to the holders
                         of Preferred Stock shall total in the aggregate 30 basis
                         points for every $1 million in Excess Effective Date

                                                          21
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                    Document    Page 22 of 446



                         Cash); and

                         With respect to the Class A-2 and Class A-3 Crimson
                         Units, the Grier Member’s right to exchange their Class
                         A-2 and A-3 Crimson Units with Common Stock will
                         be cancelled because the Common Stock is being
                         cancelled pursuant to Article 4.12 of the Plan; provided,
                         however, that for the avoidance of doubt the Class A-2
                         and A-3 Crimson Units shall not be cancelled, but the
                         Grier Members shall no longer receive any tracking
                         dividend or liquidation distribution on account of the
                         Class A-2 and A-3 Crimson Units and shall not be
                         entitled to exchange the Class A-2 and Class A-3
                         Crimson Units.

                         Notwithstanding any provision of the Plan to the
                         contrary, the Crimson LLC Agreement shall be assumed
                         as of the Effective Date.

                         Entitled to Vote
                         Senior Notes shall be deemed Allowed in the                 $118,242,651   89.6 – 95.1%
                         aggregate amount of $118,242,651, representing the
                         principal amount outstanding under the Bond
                         Indenture, accrued and unpaid interest, and make
                         whole premiums, plus all other accrued and unpaid
                         fees and other expenses payable under the Bond
                         Indenture. The Senior Notes constitute legal, valid, and
                         binding obligations of the Debtor, and no offsets,
                         defenses, or counterclaims to, or claims or causes of
                         action that could reduce the amount or ranking of, the
                         Senior Notes exist. No portion of the Senior Notes is
                         subject to set-off, avoidance, impairment,
                         disallowance, recharacterization, reduction,
                         subordination (whether equitable, contractual, or
                         otherwise), counterclaims, recoupment, cross-claims,
                         defenses, or any other challenges under or pursuant to
                         the Bankruptcy Code or any other applicable domestic
           Senior        or foreign law or regulation by any person or entity.
 Class 5
           Notes
                         Each Senior Noteholder (inclusive of accrued and
                         unpaid interest, accrued and unpaid fees and other
                         expenses payable under the Notes), on the Effective
                         Date, or as soon as reasonably practicable thereafter, in
                         full and final satisfaction, compromise, settlement,
                         release, and discharge of, and in exchange for their
                         respective Senior Note, shall receive:

                         Its Pro Rata share of the Senior Note Payment;

                         Its Pro Rata share of the Takeback Debt Principal
                         Amount;

                         Its Pro Rata share of 88.96% of New Common Stock,
                         subject to dilution by the Management Incentive Plan;
                         provided, however, that if the Senior Notes receive

                                                          22
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                          Desc Main
                                    Document    Page 23 of 446



                         Excess Effective Date Cash, then the percentage shall
                         decrease based on a ratio of 30.0 basis points to every
                         $1 million in Excess Effective Date Cash; and

                         Its Pro Rata share of the Excess Effective Date Cash, if
                         any.

                         Entitled to Vote
                         On the Effective Date, or as soon as reasonably               $141,356,524   2.3-2.8%
                         practicable thereafter, in full and final satisfaction,
                         compromise, settlement, release, and discharge of, and
                         in exchange for, such share of Preferred Stock, each
                         Holder of a Preferred Stock shall receive either:

                         If Class 6 votes in favor of the Plan, such Holder’s Pro
                         Rata share of 8.25% of New Common Stock, subject to
                         dilution by the Management Incentive Plan; provided,
                         however, that if the Senior Notes receive Excess
                         Effective Date Cash, then the percentage shall increase
                         based on a ratio of 22.41 basis points to every $1 million
                         in Excess Effective Date Cash (for the avoidance of
                         doubt the incremental increase to the percentage
                         described herein when combined with the incremental
                         increase to the holders of Grier Member Claims shall
                         total in the aggregate 30 basis points for every $1 million
                         in Excess Effective Date Cash); or
           Preferred
 Class 6                 If Class 6 rejects the Plan, on the Effective Date, or as
           Stock
                         soon as reasonably practicable thereafter, in full and
                         final satisfaction, compromise, settlement, release, and
                         discharge of, and in exchange for, such Allowed
                         Preferred Stock, each Holder thereof shall receive Cash
                         in the amount its Pro Rata share of the liquidation value
                         of the Debtor as set forth on Exhibit D to the Disclosure
                         Statement, which amount is estimated to be $0.00 and
                         the Preferred Stock will be cancelled.

                         If Class 6 rejects the Plan, then the percentage of New
                         Common Stock that would have been allocated to
                         Preferred Stock will be split pro rata between Class 4
                         and Class 5. For the avoidance of doubt, with respect to
                         Class 4, this allocation will only serve to increase the
                         percentage allocation in the Class 4 treatment, it will not
                         result in the issuance of any New Common Stock except
                         to the extent provided in the Crimson LLC Agreement.

                         Entitled to Vote
                         On the Effective Date, or as soon as reasonably               N/A            0%
                         practicable thereafter, in full and final satisfaction,
                         compromise, settlement, release, and discharge of, and
           Common        in exchange for, such Allowed Common Stock or
 Class 7
           Stock         Allowed Crimson Employee Claims, each Holder
                         thereof shall receive Cash in the amount its Pro Rata
                         share of the liquidation value of the Debtor as set forth
                         on Exhibit D to the Disclosure Statement, which

                                                           23
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                    Document    Page 24 of 446



                         amount is estimated to be $0.00 and the Common Stock
                         shall be cancelled.

                         Not Entitled to Vote (Deemed to Reject)

          As described below, you are receiving this Disclosure Statement because you are a Holder of a
 Claim or Interest entitled to vote to accept or reject the Plan. Prior to voting on the Plan, you are encouraged
 to read this Disclosure Statement and all documents attached to this Disclosure Statement in their entirety.
 As reflected in this Disclosure Statement, there are risks, uncertainties, and other important factors that
 could cause the Debtor’s actual performance or achievements to be materially different from those they
 may project, and the Debtor undertakes no obligation to update any such statement. Certain of these risks,
 uncertainties, and factors are described in Article VII of this Disclosure Statement, titled “Certain Factors
 to be Considered.”

 1.2      New Capital Structure

         On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will effectuate the
 Restructuring Transactions which require (a) issuing the Takeback Debt in the amount of $45 million; (b)
 issuing to Holders of Senior Note Claims a number of shares of New Common Stock that will represent
 approximately 86.41% - 88.96% of the Reorganized Debtor (subject to dilution by the Management
 Incentive Plan); and (c) issuing to Holders of Preferred Stock a number of shares New Common Stock that
 will represent approximately 8.25% - 10.15% of the Reorganized Debtor (subject to dilution by the
 Management Incentive Plan). The New Board will adopt the Management Incentive Plan, which plan will
 reserve for the management of the of Reorganized Debtor shares of New Common Stock on a fully diluted
 and as-converted/exchanged basis with structure and grants to be determined by pursuant to the
 Management Incentive Plan.

         All documents in connection with the above-listed transactions will become effective in accordance
 with their terms and the Plan, and will be filed with the Plan Supplement as applicable.

 1.3      Liquidation Analysis

         The Debtor believes that the Plan provides Holders of Allowed Claims and Allowed Interests the
 same or greater recovery as would be achieved if the Debtor were to liquidate under Chapter 7 of the
 Bankruptcy Code. This belief is based on a number of considerations, including that: (a) the Debtor’s
 primary assets would likely need to be sold on a piecemeal basis in a Chapter 7 liquidation; (b) the additional
 Administrative Claims that would be incurred associated with the appointment of a trustee and the trustee’s
 retention of professionals if the case was converted to a Chapter 7 along with the other costs associated
 therewith; and (c) the loss in value of the Debtor’s assets attributable to an expeditious liquidation.

         The Debtor, with the assistance off its restructuring advisor, Teneo Capital LLC, prepared an
 unaudited liquidation analysis, which is attached hereto as Exhibit D (the “Liquidation Analysis”), to assist
 Holders of Claims and Interests in evaluating the Plan. Teneo Capital LLC prepared the Liquidation
 Analysis based on a forced-liquidation valuation of the assets prepared by KPMG LLP. The Liquidation
 Analysis compares the projected recoveries that would result from the liquidation of the Debtor in a
 hypothetical case under Chapter 7 of the Bankruptcy Code with the estimated distributions to Holders of
 Allowed Claims and Allowed Interests under the Plan. The Liquidation Analysis is based on the value of
 the Debtor’s assets and liabilities as of a certain date and incorporates various estimates and assumptions,
 including a hypothetical conversion to a Chapter 7 liquidation as of a certain date. Further, the Liquidation
 Analysis is subject to potentially material changes, including with respect to economic and business
 conditions as well as legal rulings. Therefore, the actual liquidation value of the Debtor could vary

                                                         24
  HB: 4863-9936-1961.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                  Document    Page 25 of 446



 materially from the estimate provided in the Liquidation Analysis.

 1.4      Valuation Analysis

         The Plan provides for the distribution of the New Common Stock to Holders of Senior Notes and
 Preferred Stock upon consummation of the Plan. Accordingly, the Debtor estimated the total enterprise
 value and implied equity value of the Debtor on a going-concern basis as of February 20, 2024 (the
 “Valuation Analysis”). Based on the Valuation Analysis, which is attached hereto as Exhibit E, the Debtor
 estimates that the Reorganized Debtor will have a total enterprise value of $70 million at the midpoint and
 an implied equity value at emergence of approximately $36 million at the midpoint.

          The Valuation Analysis, including the procedures followed, assumptions made, qualifications, and
 limitations on review undertaken, should be read in conjunction with Article VII of this Disclosure
 Statement titled “Certain Factors to be Considered.” The Valuation Analysis is based on data and
 information available as of February 20, 2024. The Debtor makes no representations as to changes to such
 data and information that may have occurred since the date of the Valuation Analysis.

       THE VALUATION ANALYSIS REPRESENTS A HYPOTHETICAL VALUATION OF THE
 REORGANIZED DEBTOR AND ITS ASSETS AND BUSINESS, WHICH ASSUMES THAT THE
 REORGANIZED DEBTOR CONTINUES AS AN OPERATING BUSINESS IN SUBSTANTIALLY
 THE SAME CORPORATE STRUCTURE. THE ESTIMATED VALUE SET FORTH IN THE
 VALUATION ANALYSIS DOES NOT PURPORT TO CONSTITUTE AN APPRAISAL OR REFLECT
 THE ACTUAL MARKET VALUE THAT MIGHT BE REALIZED THROUGH A SALE OR
 LIQUIDATION OF THE REORGANIZED DEBTOR, ITS SECURITIES OR ITS ASSETS, WHICH
 MAY BE MATERIALLY DIFFERENT THAN THE ESTIMATES SET FORTH IN THE VALUATION
 ANALYSIS. ACCORDINGLY, SUCH ESTIMATED VALUE IS NOT INDICATIVE OF THE PRICES
 AT WHICH ANY SECURITIES OF THE REORGANIZED DEBTOR MAY TRADE AFTER GIVING
 EFFECT TO THE RESTRUCTURING TRANSACTIONS SET FORTH IN THE PLAN. ANY SUCH
 PRICES MAY BE MATERIALLY DIFFERENT THAN INDICATED BY THE VALUATION
 ANALYSIS.

 1.5      Financial Information and Projections

          In connection with developing the Plan, the Debtor, with the assistance of its advisors, prepared
 projections for fiscal years 2024 through 2028, which are attached hereto as Exhibit F (the “Financial
 Projections”), including management’s assumptions related thereto. For purposes of the Financial
 Projections, the Debtor has assumed an Effective Date of June 30, 2024. The Financial Projections assume
 that the Plan will be implemented in accordance with its stated terms, except as otherwise disclosed in the
 Financial Projections as Exhibit F. The Debtor is unaware of any circumstances as of the date of this
 Disclosure Statement that would require the re-forecasting of the Financial Projections due to a material
 change in the Debtor’s prospects.

         The Financial Projections are based on forecasts of key economic variables and may be
 significantly impacted by, among other factors, changes in the competitive environment, regulatory
 changes, and/or a variety of other factors, including the factors listed in this Disclosure Statement.
 Accordingly, the estimates and assumptions underlying the Financial Projections are inherently
 uncertain and are subject to significant business, economic, and competitive uncertainties. Therefore,
 such projections, estimates, and assumptions are not necessarily indicative of current values or future
 performance, which may be significantly less or more favorable than set forth herein. The Financial
 Projections should be read in conjunction with the assumptions, qualifications, and explanations set
 forth in this Disclosure Statement.
                                                     25
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 26 of 446



                                          ARTICLE II
                             VOTING PROCEDURES AND REQUIREMENTS

          The procedures and instructions for voting and/or making elections and related deadlines are set
 forth in the order approving the Disclosure Statement on a conditional basis (the “Disclosure Statement
 Order”). The Disclosure Statement Order is incorporated herein by reference and should be read in
 conjunction with this Disclosure Statement.

       THE DISCUSSION OF THE SOLICITATION AND VOTING PROCESS SET FORTH IN THIS
 DISCLOSURE STATEMENT IS ONLY A SUMMARY. PLEASE REFER TO THE DISCLOSURE
 STATEMENT ORDER FOR A MORE COMPREHENSIVE DESCRIPTION OF THE PROCEDURES
 GOVERNING THE SOLICITATION, VOTING, AND TABULATION PROCESS. TO THE EXTENT
 OF ANY INCONSISTENCY BETWEEN THIS DISCLOSURE STATEMENT AND THE DISCLOSURE
 STATEMENT ORDER, THE DISCLOSURE STATEMENT ORDER GOVERNS.

 2.1      Classes Entitled to Vote on the Plan

          Eligible Holders within the following Classes are entitled to vote to accept or reject the Plan
 (collectively, the “Voting Classes”):

                  VOTING CLASS                              NAME OF CLASS UNDER THE PLAN

                         CLASS 4                                 GRIER MEMBERS CLAIM

                         CLASS 5                                        SENIOR NOTES

                         CLASS 6                                     PREFERRED STOCK
          If you are not an eligible Holder of a Claim or Interest in one of the Voting Classes, you are not
 entitled to vote and you will not receive a Solicitation Package (as defined below) containing the Solicitation
 Materials. If you are an eligible Holder of a Claim or Interest in one or more of the Voting Classes, you
 should read your Ballot(s) and carefully follow the instructions included in the Ballot(s). Please use only
 the Ballot(s) that accompany the applicable Solicitation Package, if any, or the Ballot(s) that the Debtor, or
 the Notice and Claims Agent on behalf of the Debtor, otherwise provided to you. If you are an eligible
 Holder of a Claim or Interest in more than one of the Voting Classes, you will receive a Ballot for each
 such Claim.

         All Holders of Claims in Class 4 – Grier Members Claim, Class 5 – Senior Notes, and Class 6 –
 Preferred Stock are eligible to vote on the Plan.

 2.2      Votes Required for Acceptance by a Class

         Under the Bankruptcy Code, whether a plan of reorganization has been accepted requires the
 amount and number of Claims that voted to accept the plan to be calculated. A class of claims is determined
 to have accepted a plan if creditors voting on the plan that hold at least two-thirds in amount and a majority
 in number of the allowed claims in the class vote in favor of the plan.

 2.3      Certain Factors to Be Considered Prior to Voting

         There are a variety of factors that all Holders of Claims and Interests entitled to vote on the Plan
 should consider prior to voting to accept or reject the Plan. These factors may impact recoveries under the

                                                       26
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                     Document    Page 27 of 446



 Plan and include, among other things:

                   •     unless otherwise specifically indicated, the financial information contained in the
                         Disclosure Statement has not been audited and is based on an analysis of data available
                         at the time of the preparation of the Plan and the Disclosure Statement;

                   •     although the Debtor believes that the Plan complies with all applicable provisions of
                         the Bankruptcy Code, the Debtor can neither assure such compliance nor that the
                         Bankruptcy Court will confirm the Plan;

                   •     the Debtor may request Confirmation without the acceptance of the Plan by all
                         Impaired Classes in accordance with Section 1129(b) of the Bankruptcy Code; and

                   •     any delays of either Confirmation or Consummation could result in, among other
                         things, increased Administrative Claims and Professional Fee Claims.

         While these factors could affect distributions available to Holders of Allowed Claims and Interests
 under the Plan, the occurrence or impact of such factors may not necessarily affect the validity of the vote
 of the Voting Classes or necessarily require a re-solicitation of the votes of Holders of Claims and Interests
 in the Voting Classes pursuant to Section 1127 of the Bankruptcy Code.

          For a further discussion of risk factors, please refer to “Certain Factors to Be Considered” described
 in Article VII of this Disclosure Statement.

 2.4      Classes of Claims and Interest Holders Not Entitled to Vote on the Plan

         Under the Bankruptcy Code, holders of Claims and Interests are not entitled to vote if their
 contractual rights are Unimpaired by the proposed plan or if they will receive no recovery under the plan.
 Accordingly, the following Classes of Claims against and Interests in the Debtor are not entitled to vote to
 accept or reject the Plan:

       Class      Claims and Interests                Status               Voting Rights
       Class 1    Secured Claims                      Unimpaired           No (deemed to accept)

       Class 2    Other Priority Claims               Unimpaired           No (deemed to accept)

       Class 3    General Unsecured Claims            Unimpaired           No (deemed to accept)

       Class 7    Common Stock                        Impaired             No (deemed to reject)


         Holders that are not entitled to vote on the Plan (the “Non-Voting Holders”) will receive notices of
 non-voting status.

 2.5      Solicitation Procedures

          (a)      Notice and Claims Agent

         The Debtor has retained Stretto, Inc. to act as, among other things, the Notice and Claims Agent in
 connection with the solicitation of votes to accept or reject the Plan.

          (b)      Solicitation Package
                                                        27
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                     Document    Page 28 of 446



          Only record Holders of Claims and Interests in the Voting Classes as of _________________
 _____, 2024 (the “Voting Record Date”) are entitled to vote on the Plan. The Voting Classes will receive a
 solicitation package consisting of the following materials (the “Solicitation Package”):

                   •     this Disclosure Statement;

                   •     the exhibits to the Disclosure Statement, which include (i) the Plan, (ii) the
                         Restructuring Support Agreement and the exhibits thereto, (iii) historical financial
                         information; (iv) the Liquidation Analysis, (v) the Valuation Analysis, and (v) the
                         Financial Projections; provided, that the Plan Supplement documents shall not be part
                         of the Solicitation Package;

                   •     the Disclosure Statement Order (without any exhibits);

                   •     a Ballot and applicable voting instructions, together with a pre-paid, pre-addressed
                         return envelope;

                   •     the notice of the Combined Hearing; and

                   •     the Debtor’s cover letter in support of the Plan.

          (c)      Distribution of the Solicitation Package

          The Debtor will cause the Notice and Claims Agent to distribute the Solicitation Package to eligible
 Holders of Claims and Interests in the Voting Classes on ______________ ______, 2024 (or as soon as
 reasonably practicable thereafter), which is at least 28 days before the Voting Deadline (i.e., 4:00 p.m.
 (prevailing Central Time) on ____________________ ____, 2024).

          The Solicitation Package (except the Ballots) may also be obtained from the Notice and Claims
 Agent by: (a) calling the Notice and Claims Agent at (833) 345-0351 (Toll-Free) and (949) 340-5692
 (International), (b) emailing CorEnergyInquiries@stretto.com and referencing “CorEnergy Infrastructure
 Trust, Inc.” in the subject line, (c) visiting the Notice and Claims Agent’s website at
 https://cases.stretto.com/corenergy, and/or (d) writing to the Notice and Claims Agent at CorEnergy Ballot
 Processing, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602. You may also obtain copies of the
 Plan, the Disclosure Statement, and any pleadings filed with the Bankruptcy Court for a fee via PACER at
 https://www.pacer.gov/.

 2.6      Voting Procedures

         The Voting Record Date is the date that was used for determining which Holders of eligible Claims
 and Interests are entitled to vote to accept or reject the Plan and receive the Solicitation Package in
 accordance with the solicitation procedures. Except as otherwise set forth herein, the Voting Record Date
 and all of the Debtor’s solicitation and voting procedures will apply to all of the Debtor’s creditors,
 shareholders, and other parties in interest.

         For the Holder of a Claim or Interest in the Voting Classes to have its Ballot counted as a vote to
 accept or reject the Plan, such Holder’s Ballot must be properly completed, executed, and delivered by (a)
 using the enclosed pre-paid, pre-addressed return envelope, (b) via first class mail, overnight courier, or
 hand delivery to CorEnergy Ballot Processing, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA
 92602, or (c) uploading the Ballot to the Notice and Claims Agent’s submission portal, so that such
 Holder’s Ballot is actually received by the Notice and Claims Agent on or before the Voting Deadline.
                                                         28
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 29 of 446



 Nominees may return master ballots via electronic mail to the Notice and Claims Agent at
 PublicSecurities@stretto.com (with “CorEnergy Master Ballot Submission” in the subject line).

          If you hold a Claim or Interest in more than one Voting Class under the Plan, you should receive a
 separate Ballot for each Class, coded by Class number, and a set of Solicitation Materials. You may also
 receive more than one Ballot if you hold Claims or Interests through one or more affiliated funds, in which
 case the vote cast by each such affiliated fund will be counted separately. Separate Claims or Interests held
 by affiliates in a particular Class will not be aggregated, and the vote of each such affiliate will be treated
 as a separate vote to accept or reject the Plan, as applicable. If you hold any portion of a single Claim or
 Interest, you and all other Holders of any portion of such Claim or Interest will be (a) treated as a single
 Holder for voting purposes and (b) required to vote every portion of such Claim or Interest collectively to
 either accept or reject the Plan.

      IF A BALLOT IS RECEIVED AFTER THE VOTING DEADLINE, IT WILL NOT BE
 COUNTED UNLESS THE DEBTOR DETERMINES OTHERWISE OR AS ORDERED BY THE
 BANKRUPTCY COURT.

       ANY BALLOT THAT IS PROPERLY EXECUTED BUT THAT DOES NOT CLEARLY
 INDICATE AN ACCEPTANCE OR REJECTION OF THE PLAN OR ANY BALLOT THAT
 INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE
 COUNTED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

       EACH HOLDER OF A CLAIM OR INTEREST MUST VOTE ALL OF ITS CLAIMS OR
 INTERESTS WITHIN A PARTICULAR CLASS EITHER TO ACCEPT OR REJECT THE PLAN AND
 MAY NOT SPLIT SUCH VOTES.

       BY SIGNING AND RETURNING A BALLOT, EACH ELIGIBLE HOLDER OF A CLASS 4 –
 GRIER MEMBER CLAIMS, CLASS 5 – SENIOR NOTES, AND CLASS 6 – PREFERRED STOCK
 WILL CERTIFY TO THE BANKRUPTCY COURT AND THE DEBTOR THAT NO OTHER BALLOTS
 WITH RESPECT TO SUCH CLAIM OR INTEREST HAVE BEEN CAST OR, IF ANY OTHER
 BALLOTS HAVE BEEN CAST WITH RESPECT TO SUCH CLASS OF CLAIMS OR INTERESTS,
 SUCH OTHER BALLOTS INDICATED THE SAME VOTE TO ACCEPT OR REJECT THE PLAN. IF
 A HOLDER CASTS MULTIPLE BALLOTS WITH RESPECT TO THE SAME CLAIM OR INTEREST
 AND THOSE BALLOTS ARE IN CONFLICT WITH EACH OTHER, SUCH BALLOTS WILL NOT BE
 COUNTED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

       IT IS IMPORTANT THAT THE HOLDER OF A CLAIM OR INTEREST ELIGIBLE TO VOTE
 IN THE VOTING CLASSES FOLLOW THE SPECIFIC INSTRUCTIONS PROVIDED ON SUCH
 HOLDER’S BALLOT AND THE ACCOMPANYING INSTRUCTIONS. SUBJECT TO THE TERMS
 OF THE PLAN AND/OR THE RESTRUCTURING SUPPORT AGREEMENT, NO BALLOT MAY BE
 WITHDRAWN OR MODIFIED AFTER THE VOTING DEADLINE WITHOUT THE DEBTOR’S
 PRIOR CONSENT OR PERMISSION OF THE BANKRUPTCY COURT.

                                             ARTICLE III
                                        BUSINESS DESCRIPTIONS

 3.1      The Debtor’s Corporate Structure

         CorEnergy has issued and outstanding 15,817,532 shares of common stock (the “Common Stock”)
 and 51,810 shares of Series A Cumulative Redeemable Preferred Stock 7.375% with a liquidation
 preference of $2,500 per share (the “Preferred Stock”). There is a cumulative aggregate dividend arrearage

                                                       29
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                   Document    Page 30 of 446



 of approximately $11.8 million applicable to the Preferred Stock. This means that the Preferred Stock in
 the aggregate is entitled to (51,810 * $2,500) plus + $11.8 million, or approximately $141 million before
 the Common Stock receives a distribution.

         Prior to the Petition Date, CorEnergy had issued and outstanding 683,761 shares of Class B
 Common Stock (the “Class B Stock”). There were seven stockholders of record of the Class B Stock. The
 Class B Stock was subordinated to the Common Stock with respect to dividends and liquidation
 preferences. CorEnergy did not list the Class B Stock on any exchange. On February 12, 2024, in
 accordance with the terms of the Class B stock, it was converted into common stock at a ratio of .68 shares
 of Common Stock for each share of Class B Stock, resulting in the cancellation of all of the Class B Stock
 and issuance of 464,958 new shares of Common Stock.

          Although not direct securities of the Debtor, limited liability company interests in an affiliated
 entity, Crimson Midstream Holdings, LLC (“Crimson”), are linked to the Common Stock and Preferred
 Stock. Specifically, the Class A-1 units of Crimson are entitled to received distributions from Crimson that
 are equivalent to distributions received by shares of Preferred Stock and the Class A-2 and A-3 units of
 Crimson are entitled to receive distributions that are equal to distributions received by shares of Common
 Stock. Under certain circumstances, the Crimson A-1 units can be converted into Preferred Stock and the
 Crimson A-2 and A-3 units can be converted into Common Stock.

         As of the Petition Date, CorEnergy owns 49.5% of the voting interest and all of the Class B-1 equity
 ownership interests of Crimson. The Grier Members holding the remaining 50.50% voting interests. The
 Class B-1 equity interests entitle CorEnergy to all distribution rights in excess of amounts paid to the Class
 A-1, A-2 and A-3 of Crimson.

          Following, the Restructuring Transactions, the ownership of the Class A and Class B units in
 Crimson will not change, but the link between the Crimson Class A units and the stock of CorEnergy will
 change. With respect to the Class A-1 Crimson Units, the Grier Members’ right to exchange their Class A-
 1 Crimson Units with Preferred Stock will be substituted with the Grier Member’s right to exchange their
 Class A-1 Crimson Units with approximately 2.79-3.34% of the New Common Stock, subject to dilution
 by the Management Incentive Plan. With respect to the Class A-2 and Class A-3 Crimson Units, the Grier
 Member’s right to exchange their Class A-2 and A-3 Crimson Units with Common Stock will be cancelled
 because the Common Stock is being cancelled pursuant to Article 4.12 of the Plan. The Class A-2 and A-3
 Crimson Units shall not be cancelled, but the Grier Members shall no longer receive any tracking dividend
 or liquidation distribution on account of the Class A-2 and A-3 Crimson Units and shall not be entitled to
 exchange the Class A-2 and Class A-3 Crimson Units into New Common Stock.

 3.2      CorEnergy’s Business Operations

          (a)      Overview

         CorEnergy is a Maryland corporation formed in 2005 as a Business Development Company under
 the Investment Company Act of 1940, but since 2012 has operated for tax purposes as a REIT. Its stock is
 widely held, and it operates under the oversight of a board of directors that meets the independence
 standards of the NYSE. Since its conversion to a REIT in 2012, CorEnergy has focused on owning and
 leasing energy midstream infrastructure and operating energy midstream companies. Between February
 2021 and January 2024 CorEnergy’s business consisted principally of owning businesses that own and
 operate (1) a natural gas pipeline and related assets in Missouri (the “MoGas Operations” and the “Omega
 Operations,” collectively, the “Missouri Operations”) and (2) crude oil pipelines in California (the
 “Crimson Operations”).


                                                      30
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                     Document    Page 31 of 446



          As a REIT, CorEnergy must, among other things, generally distribute at least 90% of its REIT
 taxable income (determined without regard to the dividends paid deduction and by excluding any net capital
 gain) and satisfy certain other requirements to avoid liability for federal corporate income taxes.

        Prior to the Petition Date, CorEnergy owned directly or indirectly, the entities comprising the
 Missouri Operations. As discussed below, the entities comprising the Missouri Operations were sold.

         Crimson owns various entities that that comprise the Crimson Operations (hereinafter Crimson,
 with such entities is referred to as the “Crimson Entities”). An organization chart is attached hereto as
 Exhibit G.

       Only CorEnergy filed for bankruptcy. None of its subsidiaries or affiliated companies have
 commenced bankruptcy actions and do not currently intend to do so.

          (b)      History of CorEnergy

          CorEnergy was founded in 2005. It originally started as Tortoise Capital Resources Corporation
 and was created to invest primarily in privately held and micro-cap public companies in the U.S. energy
 infrastructure sector. Tortoise Capital Resources acquired Omega Pipeline among other business interests,
 and shortly after becoming a REIT, acquired MoGas which was connected to Omega Pipeline. The MoGas
 Operations include an approximately 263-mile interstate natural gas pipeline regulated by the Federal
 Energy Regulatory Commission, which provides natural gas to markets in Missouri and Illinois from
 numerous natural gas supply basins across the U.S. The Omega Operations include an approximately 75-
 mile natural gas distribution system, connected to the MoGas Operations in south-central Missouri and
 primarily serves the U.S. Department of Defense and Fort Leonard Wood. On January 19, 2024, wholly
 owned subsidiaries of CorEnergy completed the sale of the Missouri Operations and related assets for $175
 million – a gain of $68 million (the “Missouri Sale”).

         Between December 2012 and June 2015, CorEnergy executed two sale-leaseback transactions, in
 which CorEnergy, through subsidiaries, purchased petroleum infrastructure assets and then leased these
 properties back to the sellers under long duration operating leases:

                   •     December 2012 – Pinedale Liquids Gathering System (LGS), with Ultra Petroleum as
                         the tenant

                   •     June 2015 – Grand Isle Petroleum Gathering System (GIGS), with Energy XXI as the
                         tenant

          In 2016, the operators of both assets filed for bankruptcy reorganization, and each agreed to
 continue to pay rent in full under the terms of their leases. In 2020, during the global pandemic, Ultra
 Petroleum again filed bankruptcy reorganization but rejected the lease and as a result CorEnergy sold the
 assets and recognized a loss on the value of the LGS and a loss of significant revenue. Also during the
 pandemic, Energy XXI stopped paying rent and CorEnergy sought collection of rents. Energy XXI was not
 in compliance with payment and other lease terms, while halting payments to other vendors. CorEnergy
 transferred GIGS to Crescent Midstream Holdings, LLC as partial consideration for the acquisition of
 49.5% of Crimson in 2021, recognizing a loss on the value of GIGS and a loss of significant revenue.
 Energy XXI subsequently (again) filed for bankruptcy protection.

          From the date of acquisition of Crimson through 2022, the earnings from Crimson, MoGas and
 Omega were sufficient to enable CorEnergy to continue servicing its debt and paying dividends to holders
 of its preferred and common stock at the level reflecting the loss of revenue from the sales of the LGS and
                                                      31
  HB: 4863-9936-1961.1
Case 24-40236-can11                 Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                         Document    Page 32 of 446



 GIGS at a loss.

          (c)      CorEnergy’s Current Operations

                             (i)       Crimson

         In February 2021, CorEnergy acquired an equity interest in Crimson, an approximately 2,000-mile
 crude oil transportation pipeline system, including approximately 1,100 active miles, with associated
 storage facilities located in southern California and the San Joaquin Valley. The Crimson Pipeline System
 includes four pipeline systems that provide a critical link between California crude oil production and
 California refineries. The vast majority of Crimson’s customers are these oil refineries. The CPUC regulates
 the rates and administration of the transportation tariffs, which comprise the majority of our revenue
 generating activities.

      Asset                         Location
 Sol Cal
                                                     ~760 miles of pipe; 8 tanks and 6 pump stations
 Pipeline                Southern California

                                                     ~620 miles of pipe; 5 tanks and 7 pump stations.
                         San Joaquin Valley to       Transports crude oil from San Joaquin Valley to Bay Area
 KLM Pipeline            Northern California         refineries.

                                                     ~540 miles of heated pipe from San Joaquin Valley to
 San Pablo Bay           San Joaquin Valley to       Northern California; ~2.3 Mbbls tank capacity. Transports
 Pipeline                Northern California         crude oil from San Joaquin Valley to Bay Area refineries.

 Proprietary
                                                     ~100 miles of pipe. Connects Crimson system to rail
 Pipeline                South of Bakersfield

         The CPUC establishes rates for common carriers like Crimson such that these public utilities are
 allowed to recover their prudently incurred operating costs and earn a rate of return on invested capital. The
 crude oil pipeline rates established by the CPUC have traditionally been, and currently are, a fixed price
 per barrel of oil delivered. The rate per barrel assumes a certain level of costs will be incurred and that
 volumes will be a certain level. Thus, the combination of the rate per barrel times the volume of oil delivered
 should be sufficient for Crimson to recover its costs and earn a profit.

                             (ii)      Historical Operations

          Historically, CorEnergy had other operations. As a result, CorEnergy currently has an ownership
 interest in various subsidiaries and affiliates that are dormant. These dormant entities may have an
 ownership interest in another entity (which is also dormant), but otherwise have no assets.

          (d)      CorEnergy’s Employees

        CorEnergy has eleven (11) employees, located in Colorado, Missouri and Texas. These employees
 perform leadership, accounting, business development, finance and legal functions.

        On February 7, 2024, CorEnergy paid bonuses to its employees for 2023 performance in
 accordance with the terms of annual incentive program established by the independent Compensation
 Committee of the Debtor’s Board of Directors (“Compensation Committee”). The aggregate amount paid
                                                         32
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 33 of 446



 by the Debtor to the principal executive officer, principal financial officer, or a named executive officer
 was approximately $550,000. In addition, the Debtor’s non-principal level executives and employees
 received payments pursuant to the terms of the terms of annual and long-term incentive programs. In
 addition, certain employees were entitled to and received transactions bonuses in connection with the
 Missouri Sale. The amount paid to the Debtor’s principal executive officer, principal financial officer, or a
 named executive officer was approximately $170,000, and additonal amounts were paid to the Debtor’s
 non-principal level executives and employees.

        CorEnergy is a party to Employment Agreements with all eleven (11) of the employees. The
 employees covered by the Employment Agreements provide accounting, finance, legal and leadership roles.
 Pursuant to the Plan, the Reorganized Debtor will assume all eleven of the Employment Agreements.

          The Employment Agreements establish the compensation and benefits to be paid to the employees
 and provide severance benefits in the event of actual or constructive termination without cause. The
 compensation and severance amounts were established by the Compensation Committee in consultation
 with the Compensation Committee’s compensation consultant, Compensation Advisory Partners, LLC. It
 is expected that the new board of directors of CorEnergy will determine whether to retain or terminate some
 or all of the CorEnergy employees following its emergence from bankruptcy.

         Due to the Company’s thin staffing, complex history, challenges and status as an SEC reporting
 company, the employees were sorely needed and would have been very difficult and costly to replace or
 outsource. These employees fulfilled critical roles in the past year, which were critical to successful closing
 of the Missouri Sale, the successful negotiations with the Ad Hoc Noteholder Group culminating in the
 Restructuring Support Agreement, and the implementation of the Restructuring Transactions.

          (e)      The Debtor’s Prepetition Capital Structure

          CorEnergy has issued and outstanding $118,050,000 of unsecured convertible senior notes bearing
 interest at a rate of 5.875% (the “Senior Notes”). Interest on the Secured Notes accrues at a rate of 5.875%
 per annum and is payable semi-annually in arrears on February 15 and August 15 of each year. The maturity
 date of the Senior Notes is August 15, 2025.

          The proceeds from the Missouri Sale were used to repay $109 million of bank debt of the Crimson
 Entities that was secured by the Missouri pipeline and other assets of affiliates of the Debtor.

          Except for the Senior Notes, there is no other debt of the Debtor or any of its subsidiaries or
 affiliates, their trade credit is current, and they presently have sufficient liquidity to continue to operate in
 the ordinary course.

         The Crimson Entities owe approximately $140 million in intercompany loans to CorEnergy and its
 subsidiaries for the retirement of the $109 million secured bank debt and to fund temporary operating losses
 and cash flows at the Crimson Entities due to certain regulatory requirements. Several of the operating
 Crimson Entities do not file consolidated tax returns with CorEnergy.

                                        ARTICLE IV
                           EVENTS LEADING TO THE CHAPTER 11 CASE

 4.1      Market Conditions

         Following worldwide lockdowns from the Covid-19 pandemic going into effect in April 2020,
 crude oil prices fell briefly into negative territory for the first time in history pushing both the Pinedale and

                                                        33
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                    Document    Page 34 of 446



 GIGS systems into dire financial situations. Petroleum production serving GIGS shut down and lease
 payments to CorEnergy ceased in April 2020, never to resume. Ultra Petroleum re-entered bankruptcy and
 rejected CorEnergy’s lease, resulting in the system being sold for $18 million in June 2020. CorEnergy’s
 potential claim for significant damages against Ultra Petroleum was unsecured and there was no material
 recovery possible beyond the sale value. These two transactions left CorEnergy with a significant amount
 of debt and lost revenue. CorEnergy’s stock price dropped over 90% and never recovered.

          Following the acquisition of the Crimson Operations in February of 2021, several unforeseeable
 headwinds developed within the first 24 months after the acquisition. The primary headwinds were 1)
 increased oversight of oil production and transportation in the state of California; 2) reduction in crude-oil
 drilling permits in California, 3) increased integrity management expenses due to California State Fire
 Marshal (“Fire Marshal”) compliance orders, 4) significant increase in interest rates and 5) shift in the
 crude-oil supply chain for California refineries.

         Recently state and local governments in California increased their oversight of oil production and
 transportation in the state, such as by restricting the issuance of new drilling permits. Well permitting was
 reduced by over 90% since 2019 which has resulted in significantly fewer new wells, and resulting crude-
 oil production coming online to help partially offset natural decline. As a result, crude-oil volumes have
 declined significantly faster than the historical 30-year average of 3-4% per year. As oil and gas producers
 have sought other ways to reduce decline, the state regulators and third parties have blocked those activities.
 For example, Kern County, California, the source of the majority of California’s crude oil production,
 attempted to increase issuance of drilling permits but has been blocked by the state regulators and through
 the courts. The high crude-oil decline rates have placed significant pressure on Crimson’s profitability. It
 is unclear if permitting activity will ever return to sufficient levels to decrease current natural decline rates.

          Crimson has been working closely with the Fire Marshal on several areas integrity management of
 the Crimson Operations. While Crimson is supportive of all the integrity management focus areas discussed
 with the Fire Marshal, it has resulted in significant increases in integrity management expenses. The 2023
 integrity management expenditures were $24 million compared to $14 million in 2022, an increase of
 approximately 70%. Crimson expects these expenditures to remain at elevated levels for the foreseeable
 future. In addition to maintenance and inspection costs, other soft costs of regulatory compliance, including
 annual fees to the California State Fire Marshall have risen. The double impact of declining revenues and
 rising costs eliminated Crimson’s profitability and cash flows.

          The interest rate of the Crimson credit facility, which was repaid in January 2024, was not fixed
 but rather determined based on a spread over the Secured Overnight Financing Rate (“SOFR”), which is
 correlated to the Federal Funds Target Rate (“FFTR”). In an effort to battle raising inflation, the FFTR
 has increased from 0-0.25 percent in March 2020 to 5.25-5.50 percent as of November 2023, the highest
 target rate since 2000. The interest rate on the Crimson credit facility increased from 5.7 percent in 2022
 to 10.2 percent as of the fourth quarter 2023, a 79 percent increase. The resulting cash interest expense
 was $5.4 million in 2022 and the fourth quarter 2023 run-rate at an annualized $10.6 million, a 96 percent
 increase.

          Additionally, global events have led to unexpected shifts in volumes demanded by historic shippers.
 These actions substantially reduced the amount of oil being transported on the Crimson crude oil pipelines,
 while at the same time dramatically increasing the costs of maintaining the system while increasing the cost
 of transportation in order to assure flow rates at lower volumes. The process for increasing the rates Crimson
 charges for transporting crude oil involves filing an application with the CPUC to demonstrate that the
 current rate per barrel is too low in light of the lower volumes and higher costs. Although Crimson currently
 has applications pending with the CPUC to substantially increase its rates, the CPUC process is adversarial
 and lengthy, taking up to two years and has taken longer in some cases to resolve a case. While the CPUC
                                                        34
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                   Document    Page 35 of 446



 rules allow for a recovery of newly approved rates back to the application date, the extended delay has
 turned Crimson cash flow negative and it has had to rely on loans from CorEnergy to funds its operations.

          The biggest event, which by itself placed CorEnergy in significant financial distress, was the shift
 in the crude-oil supply chain for California refineries. Crimson lost approximately 25,000 barrels per day
 on the San Pablo Bay (“SPB”) pipeline primarily during Q2 2022. The SPB pipeline represents the majority
 of Crimson’s operating cash flow and the volume lost between Q4 2021 and Q2 2022 represents an
 approximate 30% decrease in SPB pipeline volumes and revenue. Given the vast majority of expenses on
 a pipeline are fixed, this also represented a significant reduction in operating cash flow. The loss of volume
 is thought to primarily be due to the Ukraine war and the resulting changes in crude oil supply chains in
 California since California imports more than 75% of its crude oil from around the world. It is unknown
 when or if the shift in the crude-oil supply chain in California might revert back to pre-2021 behaviors but
 has not as of February 2024.

         Crimson would have been in significant financial distress in Q3 2022 but for a competing pipeline
 being temporarily shut down due to mechanical issues. As a result, Crimson received temporary relief in
 Q3 and Q4 of 2022 from the Q2 2022 SPB pipeline volume decline. However, in January 2023 the pipeline
 was repaired and SPB pipeline volumes returned to the Q2 2022 levels starting February 2023 and once
 again placed Crimson in significant financial distress. The return to lower volumes on the SPB pipeline
 resulted in Crimson revenue not even covering cash expenses throughout most of 2023 and is expected to
 continue through much of 2024.

           While all the negative circumstances mentioned above were out of Crimson’s control, as a regulated
 utility, Crimson should be able to adjust its tariffs to offset decrease in volume and escalating of expenses.
 On August 26, 2022, Crimson filed for a 35% rate increase on its southern California pipeline system. On
 January 27, 2023, Crimson filed for a 36% tariff increase on the SPB pipeline which filing was made as
 soon as the additional temporary volumes discussed above were lost and SPB volumes returned to Q2 2022
 levels. On March 3, 2023, Crimson filed for total combined 127% tariff increase on the KLM pipeline
 system which is physically integrated with the SPB pipeline system. While Crimson responded quickly to
 the unprecedented revenue and expenses challenges, the process at the CPUC to receive rate relief takes
 approximately two years and has taken longer in some cases. Given the significant financial distress
 Crimson found itself under, Crimson made an emergency rate relief application with the CPUC on
 November 7, 2023 requesting immediate increases on SPB and KLM pipelines to at least allow Crimson to
 cover cash costs. This application was quickly denied on December 4, 2023 which meant Crimson would
 need to fund negative operating cash flows for at least the first half of 2024.

          For calendar year-end 2022, the Debtor posted gross revenues of approximately $133,647,607.00
 million, compared to $128,133,796.00 million for 2021 and $11,338,071.00 million for 2020.

         On February 6, 2023, CorEnergy announced that due to the significant decline in the Crimson
 business, the Board of Directors suspended dividends on the Company’s common and Preferred Stock.
 Because the Preferred Stock dividend is cumulative, meaning that undeclared dividends must be paid before
 any distribution can be made on the Common Stock, the prospects for resuming the Common Stock
 dividend became increasingly doubtful. The growing burden of the cumulative Preferred Stock dividend
 was a significant contributing factor in the precipitous decline of CorEnergy common stock price in 2023.

 4.2      Maturity of Wells Fargo Credit Facility

          The other challenge Crimson and CorEnergy faced in early 2023 was the maturity of the Crimson
 credit facility led by Wells Fargo. The credit facility matured February 3, 2024, and needed to be refinanced
 early 2023 to avoid the credit facility from becoming a current liability which would have likely resulted
                                                      35
  HB: 4863-9936-1961.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                  Document    Page 36 of 446



 in a going-concern audit opinion at CorEnergy. A going-concern audit opinion was an event of default
 under the credit agreement. However, given the significant financial distress of the company due to low
 volumes, escalating expenses and elongated CPUC process to adjust rates, the credit facility could not be
 refinanced given the uncertainty in the business. CorEnergy was able to get the bank group to extend the
 maturity of the credit facility to May 3, 2024, which allowed the CorEnergy audit to be finalized without a
 going concern qualification. The covenants were also adjusted to account for the deterioration of the
 business. In order to amend the credit facility, CorEnergy agreed to sell the Missouri Operations to fully
 repay the facility.

          In early 2023, the Board of Directors initiated the process to sell Missouri Operations to repay the
 Crimson credit facility and use excess cash to begin to address the Senior Notes which are due August 15,
 2025, and have a principal amount of approximately $118 million. The Senior Notes are the only debt at
 CorEnergy (other than trade accounts payable that are current). The sale was announced in May 2024 and
 expected to close in early July 2023. However, the Federal Trade Commission (“FTC”) submitted a second
 request which delayed the closing until January 19, 2024. The proceeds were used to retire all $109 million
 of the Company’s secured bank debt, resulting in estimated gain on sale in the approximate amount of $68
 million.

          While the sale of the CorEnergy Missouri Operations allowed Crimson to avoid bankruptcy and
 fully repay the facility, the combination of negative cash flow at Crimson, the regulatory lag of the CPUC
 rate making process, the delay in the closing of the Missouri Sale and the growing cumulative Preferred
 Stock dividend has resulted in the CorEnergy stock declining approximately 90% over the last 12 months.
 As CorEnergy discussed below on December 4, 2023, CorEnergy was notified by the NYSE that its
 Common Stock would be delisted from the NYSE since it no longer meets the listing requirements due to
 the company’s market capitalization being too small.

 4.3      Delisting Event

           Until recently, the Common Stock and Preferred Stock traded on the NYSE, however, trading and
 quoting was suspended on December 1, 2023, due to the failure of CorEnergy to continue to meet the NYSE
 listing standards related to the Common Stock minimum price, including its market capitalization declining
 below $15 million over a consecutive 30 trading day period. CorEnergy appealed, but expects to withdraw
 its appeal to maintain its NYSE listing following the filing of its bankruptcy petition and that the Common
 Stock will thereafter be formally delisted by the NYSE.

         As a result of the delisting event, the securities were transferred to the “OTC Pink Market” and,
 consequently, the Common Stock and Preferred Stock are trading under the symbols CORR and CORRL,
 respectively.

          While the maturity date of the Senior Notes is 2025, the indenture for the Senior Notes provides
 that if the Common Stock ceases to be listed or quoted from the NYSE, the Debtor must initiate certain
 procedures provided on the Senior Notes instrument to offer to repurchase the Senior Notes at par value. If
 a majority of the Senior Notes were to accept this offer, the Debtor would not have sufficient funds to
 repurchase the Senior Notes. The Debtor is not able to refinance the Senior Notes or otherwise raise capital
 to repurchase them. Because of the low interest rate and because the notes have traded at a substantial
 discount to par value, it is expected that all or a substantial majority of the Senior Notes would accept any
 repurchase offer. This would result in a default on the Senior Notes and accelerate their maturity. For this
 reason, CorEnergy elected to engage in negotiations with the Ad Hoc Noteholder Group, resulting in the
 Restructuring Support Agreement.

 4.4      Prepetition Restructuring Efforts and the Restructuring Support Agreement
                                                      36
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                    Document    Page 37 of 446



          In light of the foregoing challenges, CorEnergy engaged in extensive, ongoing restructuring efforts
 since late 2022. To that end, CorEnergy began working with Evercore Partners to pursue and evaluate
 options to address strategic alternatives focused on the sale of all or a portion of the Missouri Operations
 and Crimson Operations. This process culminated in the Company entering into a definitive agreement to
 sell the Missouri Operations in May 2023 subject to anti-trust clearance from the FTC. The efforts did not
 produce any material interest with respect to the Crimson Operations for several key reasons, including the
 unique regulatory headwinds in California and Crimson’s historic volatility.

         Miller Buckfire was retained on June 15, 2023, as a co-advisor with Evercore to pursue financing
 and exchange alternatives to improve the company’s capital structure following a successful sale of the
 Missouri Operations. As a result of the delay in the sale of the Missouri Operations due to pending FTC
 approval coupled with poor financial performance, declining market capitalization and potential delisting
 event, Miller Buckfire engagement was amended to include the evaluation of all strategic alternatives on
 October 31, 2023. Given the uncertainty of the sale of the Missouri Operations, potential delisting event,
 poor financial performance and tightening liquidity, Miller Buckfire began discussions with the
 Noteholders and their advisors regarding a potential transaction in October 2023.

          Concurrent with the restructuring efforts, Miller Buckfire and management also pursued a targeted
 process to evaluate a sale of the Crimson Operations as well as other alternative transactions. Six parties
 were contacted and four executed NDAs. Ultimately, none of those parties proposed an alternative
 transaction or submitted a term sheet for the purchase of the Crimson Operations.

         As discussed above, in December 2023, the Company received notice that the NYSE commenced
 proceedings to delist shares of its Common and Preferred Stock, and a delisting of CorEnergy’s Common
 Stock from the NYSE would trigger a requirement to repurchase the Senior Notes at par value.

          Given the foregoing issues, after considering in- and out-of-court proposals, the Debtor determined
 that a restructuring effectuated through a Chapter 11 plan of reorganization was optimal, as it maintains the
 maximum achievable creditor support, is fair to all creditors and other stakeholders, and best positions the
 Debtor for success upon emergence. The extensive restructuring efforts initiated in October 2023 with the
 Noteholders and their advisors culminated in the RSA being executed on February 25, 2024, a copy of
 which is attached hereto as Exhibit B. The RSA is supported by approximately 90% of Noteholders.

          The Restructuring Transactions are set forth in the Restructuring Support Agreement and the Plan
 annexed thereto. Pursuant to the Restructuring Support Agreement and subject to the conditions specified
 therein, the Ad Hoc Noteholder Group has agreed, among other things, to support the Restructuring
 Transactions and vote in favor of the Plan.

         The Restructuring Support Agreement contains several milestones (the “Milestones”) including the
 following:

                          Milestone                                          Date

                         Petition Date                                February 25, 2024

           File Disclosure Statement, Disclosure
                                                               On or before February 26, 2024
            Motion, and Solicitation Materials

           Entry of Disclosure Statement Order                   On or before April 25, 2024



                                                      37
  HB: 4863-9936-1961.1
 Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                     Document    Page 38 of 446



              Entry of the Confirmation Order                     On or before June 10, 2024

                  Effective Date of the Plan          Within 30 days after the entry of the Confirmation
                                                        Order, which would be July 10, 2024, if the
                                                      Confirmation Order was entered on the date above

  Failure to meet such Milestones may give rise to certain termination rights in favor of the Ad Hoc
  Noteholder Group under the Restructuring Support Agreement.

          Given the substantial benefits of the Restructuring Transactions, the proposed Restructuring
  Transactions currently represent the best available path forward to right-size the Debtor’s balance sheet and
  position CorEnergy for future success following this Chapter 11 Case. Reaching consensus on the
  Restructuring Transactions prior to commencing this Chapter 11 Case was critical to ensuring a smooth
  landing in chapter 11 and providing CorEnergy with a plan on which to build additional stakeholder support
  for the Debtor’s restructuring, which will maximize the value of the CorEnergy’s estate and its going-
  concern business resulting ultimately in a successful emergence.

  4.5      SALE OF MISSOURI OPERATIONS

           In early 2023, the CorEnergy Board of Directors initiated a process to sell the Missouri Operations.
  The investment banking firm of Evercore Partners conducted a competitive process that included contacting
  seventy-one potential counterparties, signing nineteen non-disclosure agreements, receiving eight first
  round proposals and three final round proposals. The Board of Directors elected to accept the highest bid
  and following a lengthy regulatory review, the transaction was completed on January 19, 2024, for cash
  consideration of $175 million, resulting in an estimated gain on sale in the approximate amount of $68
  million.

                                             ARTICLE V
                                         SUMMARY OF THE PLAN

THE FOLLOWING SUMMARIZES CERTAIN OF THE SIGNIFICANT ELEMENTS OF THE PLAN. THIS
DISCLOSURE STATEMENT IS QUALIFIED IN ITS ENTIRETY BY REFERENCE TO THE MORE DETAILED
INFORMATION SET FORTH IN THE PLAN. IN THE CASE OF ANY INCONSISTENCY BETWEEN THIS
DISCLOSURE STATEMENT AND THE PLAN, THE PLAN SHALL GOVERN IN ALL RESPECTS.


  5.1      Administrative and Priority Claims

          In accordance with Section 1123(a)(1) of the Bankruptcy Code, Administrative Claims (including
  Professional Fee Claims) and Priority Tax Claims have not been classified and thus are excluded from the
  Classes of Claims and Interests set forth in Article III of the Plan.

                           A.       Administrative Claims

          Except to the extent that a Holder of an Allowed Administrative Claim agrees to a less favorable
  treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for each
  Allowed Administrative Claim, each Holder of an Allowed Administrative Claim will receive an amount of
  Cash equal to the amount of such Allowed Administrative Claim in accordance with the following: (a) if an
  Administrative Claim is Allowed on or prior to the Effective Date, on the Effective Date or as soon as
  reasonably practicable thereafter (or, if not then due, when such Allowed Administrative Claim is due or
  as soon as reasonably practicable thereafter); (b) if such Administrative Claim is not Allowed as of the

                                                       38
   HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                    Document    Page 39 of 446



 Effective Date, no later than 30 days after the date on which an order Allowing such Administrative Claim
 becomes a Final Order, or as soon as reasonably practicable thereafter; (c) if such Allowed Administrative
 Claim is based on liabilities incurred by the Debtor in the ordinary course of its business after the Petition
 Date in accordance with the terms and conditions of the particular transaction giving rise to such Allowed
 Administrative Claim without any further action by the Holders of such Allowed Administrative Claim; (d)
 at such time and upon such terms as may be agreed upon by such Holder and the Debtor or the Reorganized
 Debtor, as applicable; or (e) at such time and upon such terms as set forth in a Final Order of the Bankruptcy
 Court.

          (a)      Administrative Claims Bar Date

          All requests for payment of an Administrative Claim (other than Professional Fee Claims) that
 accrued on or before the Effective Date that were not otherwise accrued in the ordinary course of business
 must be filed with the Bankruptcy Court or Notice and Claims Agent, as applicable, and served on the
 Debtor and the Ad Hoc Noteholder Group no later than the Administrative Claims Bar Date. Holders of
 Administrative Claims (other than Professional Fee Claims) that are required to, but do not, file and serve
 a request for payment of such Administrative Claims by the Administrative Claims Bar Date shall be forever
 barred, estopped, and enjoined from asserting such Administrative Claims against the Debtor or its property
 and such Administrative Claims shall be deemed discharged as of the Effective Date.

         The Reorganized Debtor, in its sole and absolute discretion, may settle Administrative Claims in
 the ordinary course of business without further Bankruptcy Court approval. The Reorganized Debtor may
 also choose to object to any Administrative Claim no later than 90 days after the Administrative Claims
 Bar Date, except as otherwise ordered by the Court, subject to extensions by the Bankruptcy Court upon
 motion of the Debtor or Reorganized Debtor, as applicable, or agreement in writing of the parties. Unless
 the Debtor or the Reorganized Debtor object to a timely filed and properly served Administrative Claim,
 such Administrative Claim will be deemed Allowed in the amount requested. In the event that the Debtor
 or the Reorganized Debtor object to an Administrative Claim, the parties may confer to try to reach a
 settlement and, failing that, the Bankruptcy Court will determine whether such Administrative Claim should
 be Allowed and, if so, in what amount.

          (b)      Professional Fee Claims

                          A.      Final Fee Applications

          All final requests for Professional Fee Claims incurred during the period from the Petition Date
 through the Confirmation Date shall be Filed no later than forty-five (45) calendar days after the Effective
 Date. After notice and the opportunity for a hearing in accordance with the procedures established by the
 Bankruptcy Code and prior Bankruptcy Court orders, the Allowed amounts of such Professional Fee Claims
 shall be determined by the Bankruptcy Court and paid in Cash in full. For the avoidance of doubt, the
 Restructuring Fees and Expenses shall not be considered Professional Fee Claims, and any such amounts
 shall be paid in accordance with Article 2.03 of the Plan, the Restructuring Support Agreement, and the
 Plan, as applicable.

                          B.      Post-Confirmation Date Fees and Expenses

         Except as otherwise specifically provided in the Plan or the Confirmation Order, from on and after
 the Confirmation Date, the Reorganized Debtor shall pay in Cash the reasonable and documented legal fees
 and expenses incurred by the Debtor or the Reorganized Debtor in the ordinary course of business and
 without any further notice to or action, order or approval of the Bankruptcy Court. Upon the Confirmation
 Date, any requirement that Retained Professionals comply with Sections 327 through 331 and 1103 of the
                                                      39
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                    Document    Page 40 of 446



 Bankruptcy Code in seeking retention or compensation for services rendered after such date shall terminate,
 and the Reorganized Debtor may employ and pay any Retained Professional in the ordinary course of
 business without any further notice to or action, order, or approval of the Bankruptcy Court.

                          C.        Substantial Contribution Compensation and Expenses

         Except as otherwise specifically provided in the Plan, any Entity that requests compensation or
 expense reimbursement for making a substantial contribution in the Chapter 11 Case pursuant to Sections
 503(b)(3), (4), and (5) of the Bankruptcy Code must file an application and serve such application on
 counsel for the Debtor or Reorganized Debtor, as applicable, the Ad Hoc Noteholder Group, and as
 otherwise required by the Bankruptcy Court, the Bankruptcy Code, and the Bankruptcy Rules on or before
 the Administrative Claims Bar Date.

          (c)      Restructuring Fees and Expenses

         The reasonable Restructuring Fees and Expenses incurred, or estimated to be incurred, up to and
 including the Effective Date shall be paid in full in Cash on the Effective Date (to the extent not previously
 paid during the course of the Chapter 11 Case on the dates on which such amounts would be required to be
 paid under the Restructuring Support Agreement) without the requirement to file a fee application with the
 Bankruptcy Court, without the need for time detail, and without any requirement for review or approval by
 the Bankruptcy Court. All Restructuring Fees and Expenses to be paid on the Effective Date shall be
 estimated prior to and as of the Effective Date and such estimates shall be delivered to the Debtor at least
 two (2) Business Days before the anticipated Effective Date; provided, that, such estimates shall not be
 considered to be admissions or limitations with respect to such Restructuring Fees and Expenses.

          (d)      Priority Tax Claims

          Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable
 treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for each
 Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in
 accordance with the terms set forth in Section 1129(a)(9)(C) of the Bankruptcy Code and, for the
 avoidance of doubt, Holders of Allowed Priority Tax Claims will receive interest on such Allowed Priority
 Tax Claims after the Effective Date in accordance with Sections 511 and 1129(a)(9)(C) of the Bankruptcy
 Code. To the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim
 shall be paid in accordance with the terms of any agreement between the Reorganized Debtor and the Holder
 of such Claim, or as may be due and payable under applicable non-bankruptcy law, or in the ordinary course
 of business.

          (e)      Statutory Fees

          All fees due and payable pursuant to section 1930 of title 28 of the U.S. Code prior to the Effective
 Date shall be paid by the Debtor in full on the Effective Date. After the Effective Date, the Reorganized
 Debtor shall pay any and all such fees when due and payable, and shall File with the Bankruptcy Court
 quarterly reports in a form reasonably acceptable to the U.S. Trustee. The Debtor shall remain obligated to
 file post-confirmation quarterly reports and pay quarterly fees to the U.S. Trustee until the earliest date upon
 which the Chapter 11 Case is closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy
 Code.

 5.2      Classification, Treatment, and Voting of Claims and Interests

          (a)      Classification of Claims and Interests
                                                       40
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 41 of 446



         The Plan is being proposed by the Debtor within the meaning of Section 1121 of the Bankruptcy
 Code. Except for the Claims addressed in Article II of the Plan, all Claims and Interests are classified in the
 Classes set forth below in accordance with Section 1122 of the Bankruptcy Code. In accordance with
 Section 1123(a)(1) of the Bankruptcy Code, the Debtor has not classified Administrative Claims,
 Professional Fee Claims, and Priority Tax Claims, as described in Article II of the Plan.

          A Claim or an Interest is classified in a particular Class only to the extent that the Claim or Interest
 qualifies within the description of that Class and is classified in other Classes to the extent that any portion
 of the Claim or Interest qualifies within the description of such other Classes. A Claim or Interest also is
 classified in a particular Class for the purpose of receiving distributions under the Plan only to the extent
 that such Claim or Interest is an Allowed Claim or Interest in that Class and has not been paid, released, or
 otherwise satisfied or disallowed by Final Order prior to the Effective Date. Any Class that does not contain
 any Allowed Claims or Allowed Interests with respect to the Debtor will be treated in accordance with
 Article 3.05 of the Plan.

          Below is a chart assigning each Class a number for purposes of identifying each separate Class:

                     Summary of Classification and Treatment of Claims and Interests

   Class Description                                         Status                   Entitled to Vote

     1     Secured Claims                                    Unimpaired               No (deemed to accept)

     2     Other Priority Claims                             Unimpaired               No (deemed to accept)

     3     General Unsecured Claims                          Unimpaired               No (deemed to accept)

     4     Grier Member Claims                               Impaired                 Yes

     5     Senior Notes                                      Impaired                 Yes

     6     Preferred Stock                                   Impaired                 Yes

     7     Common Stock                                      Impaired                 No (deemed to reject)

          (b)      Treatment of Classes of Claims and Interests

          Except to the extent that the Debtor and a Holder of an Allowed Claim or Interest agrees to less
 favorable treatment, such Holder shall receive under the Plan the treatment described below in full and final
 satisfaction, compromise, settlement, release, and discharge of, and in exchange for, such Holder’s Allowed
 Claim or Interest. Unless otherwise indicated, the Holder of an Allowed Claim or Interest, as applicable,
 shall receive such treatment on the Effective Date or as soon as reasonably practicable thereafter.

          (c)      Class 1—Secured Claims

                   (i)     Classification: Class 1 consists of Secured Claims.

                   (ii)    Treatment: On the Effective Date, or as soon as reasonably practicable thereafter,
                           in full and final satisfaction, compromise, settlement, release, and discharge of,
                           and in exchange for, such Allowed Secured Claim, each Holder thereof shall
                                                        41
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                   Document    Page 42 of 446



                           receive, at the election of the Debtor or Reorganized Debtor, as applicable: (a)
                           payment in full in Cash; (b) the collateral securing its Allowed Secured Claim; (c)
                           Reinstatement of its Allowed Secured Claim; or (d) such other treatment rendering
                           its Allowed Secured Claim Unimpaired in accordance with Section 1124 of the
                           Bankruptcy Code.

                   (iii)   Impairment and Voting: Class 1 is Unimpaired. Holders of Claims in Class 1 are
                           conclusively presumed to have accepted the Plan pursuant to Section 1126(f) of
                           the Bankruptcy Code, and accordingly, are not entitled to vote to accept or reject
                           the Plan.

          (d)      Class 2—Other Priority Claims

                   (i)     Classification: Class 2 consists of Other Priority Claims.

                   (ii)    Treatment: On the Effective Date, or as soon as reasonably practicable thereafter,
                           in full and final satisfaction, compromise, settlement, release, and discharge of,
                           and in exchange for, such Allowed Other Priority Claim, each Holder thereof shall
                           receive, at the election of the Debtor or Reorganized Debtor, as applicable,
                           payment in full in Cash or otherwise receive treatment consistent with the
                           provisions of Section 1129(a)(9) of the Bankruptcy Code, either (a) on the
                           Effective Date or (b) on the date due in the ordinary course of business in
                           accordance with the terms and conditions of the particular transaction giving rise
                           to such Allowed Other Priority Claim.

                   (iii)   Impairment and Voting: Class 2 is Unimpaired. Holders of Claims in Class 2 are
                           conclusively presumed to have accepted the Plan pursuant to Section 1126(f) of
                           the Bankruptcy Code, and accordingly, are not entitled to vote to accept or reject
                           the Plan.

          (e)      Class 3—General Unsecured Claims

                   (i)     Classification: Class 3 consists of General Unsecured Claims.

                   (ii)    Treatment: In full and final satisfaction, compromise, settlement, release, and
                           discharge of, and in exchange for, such Allowed General Unsecured Claim, each
                           Holder thereof shall receive, at the election of the Debtor or Reorganized Debtor,
                           as applicable, Payment in full in Cash on account of such Allowed General
                           Unsecured Claim either (a) on the Effective Date or (b) on the date due in the
                           ordinary course of business in accordance with the terms and conditions of the
                           particular transaction giving rise to such Allowed General Unsecured Claim.

                   (iii)   Impairment and Voting: Class 3 is Unimpaired. Holders of Claims in Class 3 are
                           conclusively presumed to have accepted the Plan pursuant to Section 1126(f) of
                           the Bankruptcy Code, and accordingly, are not entitled to vote to accept or reject
                           the Plan.

          (f)      Class 4—Grier Member Claims

                   (i)     Classification: Class 4 consists of the Grier Member Claims.

                                                       42
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                   Document    Page 43 of 446



                   (ii)    Allowance: Each Grier Member Claim shall be deemed Allowed in the amount of
                           $1.00 for purposes of voting and confirmation, representing any Claim of the Grier
                           Members against the Debtor, including but not limited to any Claims or rights
                           arising under the Crimson LLC Agreement. The Grier Member Claims constitutes
                           legal, valid, and binding obligation of the Debtor, and no offsets, defenses, or
                           counterclaims to, or claims or causes of action that could reduce the amount or
                           ranking of, the Grier Member Claims exists. No portion of the Grier Member
                           Claims is subject to set-off, avoidance, impairment, disallowance,
                           recharacterization, reduction, subordination (whether equitable, contractual, or
                           otherwise), counterclaims, recoupment, cross-claims, defenses, or any other
                           challenges under or pursuant to the Bankruptcy Code or any other applicable
                           domestic or foreign law or regulation by any person or entity.

                   (iii)   Treatment: Because the equity units of the Grier Members in Crimson (the Class
                           A-1 Crimson Units, the Class A-2 Crimson Units, and the Class A-3 Crimson
                           Units) track the dividend and liquidation rights of the Preferred Stock and the
                           Common Stock, the Grier Member Claims will be treated as follows:

                                   (1)     With respect to the Class A-1 Crimson Units, the Grier Members’
                                           right to exchange their Class A-1 Crimson Units with Preferred
                                           Stock will be substituted with the Grier Member’s right to
                                           exchange their Class A-1 Crimson Units with 2.79% of the New
                                           Common Stock, subject to dilution by the Management Incentive
                                           Plan and any tracking dividend or liquidation distribution rights
                                           that tracked to the Preferred Stock shall be exchanged for tracking
                                           to the 2.79% of the New Common Stock; provided, however, that
                                           if the Senior Notes receive Excess Effective Date Cash, then the
                                           percentage shall increase based on a ratio of 7.59 basis points to
                                           every $1 million in Excess Effective Date Cash (for the avoidance
                                           of doubt the incremental increase to the percentage described
                                           herein when combined with the incremental increase to the
                                           holders of Preferred Stock shall total in the aggregate 30 basis
                                           points for every $1 million in Excess Effective Date Cash); and

                                   (2)     With respect to the Class A-2 and Class A-3 Crimson Units, the
                                           Grier Member’s right to exchange their Class A-2 and A-3
                                           Crimson Units with Common Stock will be cancelled because the
                                           Common Stock is being cancelled pursuant to Article 4.12 of the
                                           Plan. The Class A-2 and A-3 Crimson Units shall not be cancelled,
                                           but the Grier Members shall no longer receive any tracking
                                           dividend or liquidation distribution on account of the Class A-2
                                           and A-3 Crimson Units and shall not be entitled to exchange the
                                           Class A-2 and Class A-3 Crimson Units into New Common Stock.

                                   (3)     Notwithstanding any provision of the Plan to the contrary, the
                                           Crimson LLC Agreement shall be assumed as of the Effective
                                           Date.

                   (iv)    Impairment and Voting: Class 4 is Impaired. Holders of Claims in Class 4 are
                           entitled to vote to accept or reject the Plan. Pursuant to the Restructuring Support

                                                       43
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 44 of 446



                           Agreement, the Grier Members have agreed to support the Plan, subject to the
                           fiduciaries duty of John Grier, as a member of the Board of Directors of the Debtor,
                           to withdraw his support for the Plan in certain circumstances.

          (g)      Class 5—Senior Notes

                   (i)     Classification: Class 5 consists of Senior Notes.

                   (ii)    Allowance: Senior Notes shall be deemed Allowed in the aggregate amount of
                           $118,242,651, representing the principal amount outstanding under the Bond
                           Indenture, accrued and unpaid interest, and make whole premiums, plus all other
                           accrued and unpaid fees and other expenses payable under the Bond Indenture.
                           The Senior Notes constitute legal, valid, and binding obligations of the Debtor, and
                           no offsets, defenses, or counterclaims to, or claims or causes of action that could
                           reduce the amount or ranking of, the Senior Notes exist. No portion of the Senior
                           Notes is subject to set-off, avoidance, impairment, disallowance,
                           recharacterization, reduction, subordination (whether equitable, contractual, or
                           otherwise), counterclaims, recoupment, cross-claims, defenses, or any other
                           challenges under or pursuant to the Bankruptcy Code or any other applicable
                           domestic or foreign law or regulation by any person or entity.

                   (iii)   Treatment: Each Senior Noteholder (inclusive of accrued and unpaid interest,
                           accrued and unpaid fees and other expenses payable under the Notes), on the
                           Effective Date, or as soon as reasonably practicable thereafter, in full and final
                           satisfaction, compromise, settlement, release, and discharge of, and in exchange
                           for their respective Senior Note, shall receive:

                                   (1)      Its Pro Rata share of the Senior Note Payment;

                                   (2)      Its Pro Rata share of the Takeback Debt Principal Amount;

                                   (3)      Its Pro Rata share of 88.96% of New Common Stock, subject to
                                            dilution by the Management Incentive Plan; provided, however,
                                            that if the Senior Notes receive Excess Effective Date Cash, then
                                            the percentage shall decrease based on a ratio of 30.0 basis points
                                            to every $1 million in Excess Effective Date Cash; and

                                   (4)      Its Pro Rata share of the Excess Effective Date Cash, if any.

                   (iv)    Impairment and Voting: Class 5 is Impaired. Holders of Senior Notes in Class 5
                           are entitled to vote to accept or reject the Plan. If Class 5 votes to reject the Plan,
                           the Plan will be cancelled. Pursuant to the Restructuring Support Agreement,
                           Holders of 90% of the principal amount of the Senior Notes have committed to
                           support the Plan.

          (h)      Class 6—Preferred Stock

                   (i)     Classification: Class 6 consists of Preferred Stock.

                   (ii)    Treatment: On the Effective Date, or as soon as reasonably practicable thereafter,
                           in full and final satisfaction, compromise, settlement, release, and discharge of,
                                                        44
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                   Document    Page 45 of 446



                           and in exchange for, such share of Preferred Stock, each Holder of a Preferred
                           Stock shall receive either:

                                  (1)     If Class 6 votes in favor of the Plan, such Holder’s Pro Rata share
                                          of 8.25% of New Common Stock, subject to dilution by the
                                          Management Incentive Plan; provided, however, that if the Senior
                                          Notes receive Excess Effective Date Cash, then the percentage
                                          shall increase based on a ratio of 22.41 basis points to every $1
                                          million in Excess Effective Date Cash (for the avoidance of doubt
                                          the incremental increase to the percentage described herein when
                                          combined with the incremental increase to the holders of Grier
                                          Member Claims shall total in the aggregate 30 basis points for
                                          every $1 million in Excess Effective Date Cash); or

                                  (2)     If Class 6 rejects the Plan, on the Effective Date, or as soon as
                                          reasonably practicable thereafter, in full and final satisfaction,
                                          compromise, settlement, release, and discharge of, and in
                                          exchange for, such Allowed Preferred Stock, each Holder thereof
                                          shall receive Cash in the amount its Pro Rata share of the
                                          liquidation value of the Debtor as set forth on Exhibit D to the
                                          Disclosure Statement, which amount is estimated to be $0.00 and
                                          the Preferred Stock will be cancelled.

                                  (3)     If Class 6 rejects the Plan, then the percentage of New Common
                                          Stock that would have been allocated to Preferred Stock will be
                                          split pro rata between Class 4 and Class 5. For the avoidance of
                                          doubt, with respect to Class 4, this allocation will only serve to
                                          increase the percentage allocation in the Class 4 treatment, it will
                                          not result in the issuance of any New Common Stock except to the
                                          extent provided in the Crimson LLC Agreement.

                   (iii)   Impairment and Voting: Class 6 is Impaired. Holders of Interests in Class 6 are
                           entitled to vote to accept or reject the Plan.

          (i)      Class 7—Common Stock

                                  (1)     Classification: Class 7 consists of Common Stock and, pursuant
                                          to § 510(b) of the Bankruptcy Code, the Certain Crimson
                                          Employee Claims.

                                  (2)     Treatment: On the Effective Date, or as soon as reasonably
                                          practicable thereafter, in full and final satisfaction, compromise,
                                          settlement, release, and discharge of, and in exchange for, such
                                          Allowed Common Stock or Allowed Crimson Employee Claims,
                                          each Holder thereof shall receive Cash in the amount its Pro Rata
                                          share of the liquidation value of the Debtor as set forth on Exhibit
                                          D to the Disclosure Statement, which amount is estimated to be
                                          $0.00 and the Common Stock shall be cancelled.

                                  (3)     Impairment and Voting: Class 7 is Impaired. Holders of Interests
                                          in Class 7 are conclusively presumed to have rejected the Plan
                                                     45
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 46 of 446



                                           pursuant to Section 1126(g) of the Bankruptcy Code, and
                                           accordingly, are not entitled to vote to accept or reject the Plan.

          (j)      Special Provisions Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtor’s or the
 Reorganized Debtor’s rights regarding any Unimpaired Claim, including all rights regarding legal and
 equitable defenses to, or setoffs or recoupments against, any such Claim.

          (k)      Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class thereof, is Impaired, the
 Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
 Confirmation Date.

          (l)      Elimination of Vacant Classes

          Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed
 Interest, or a Claim or Interest temporarily Allowed by the Bankruptcy Court in an amount greater than
 zero as of the date of the Combined Hearing, shall be considered vacant and deemed eliminated from the
 Plan for purposes of voting to accept or reject the Plan and for purposes of determining acceptance or
 rejection of the Plan by such Class pursuant to Section 1129(a)(8) of the Bankruptcy Code.

          (m)      Voting Classes; Presumed Acceptance by Non-Voting Classes

          If a Class contains Claims or Interests eligible to vote and no Holder of Claims or Interests eligible
 to vote in such Class votes to accept or reject the Plan, the Plan shall be presumed accepted by the Holders
 of such Claims or Interests in such Class.

          (n)      Acceptance by Impaired Classes

         An Impaired Class of Claims shall have accepted the Plan if, not counting the vote of any Holder
 designated under Section 1126(e) of the Bankruptcy Code or any insider under Section 101(31) of the
 Bankruptcy Code, (a) the Holders of at least two-thirds in amount of the Allowed Claims actually voting in
 the Class have voted to accept the Plan, and (b) the Holders of more than one-half in number of the Allowed
 Claims actually voting in the Class have voted to accept the Plan.

         An Impaired Class of Interests shall have accepted the Plan if, not counting the vote of any Holder
 designated under Section 1126(e) of the Bankruptcy Code or any insider under Section 101(31) of the
 Bankruptcy Code, (a) the Holders of at least two-thirds in amount of the Allowed Interests actually voting
 in the Class have voted to accept the Plan.

          (o)      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
 acceptance of the Plan by an Impaired Class. The Debtor shall seek Confirmation of the Plan pursuant to
 Section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The
 Debtor reserves the right to modify the Plan in accordance with Article X of the Plan (subject to the terms
 of the Restructuring Support Agreement) to the extent that Confirmation pursuant to Section 1129(b) of the
 Bankruptcy Code requires modification, including by (a) modifying the treatment applicable to a Class of
 Claims or Interests to render such Class of Claims or Interests Unimpaired, Impaired or otherwise to the

                                                       46
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                    Document    Page 47 of 446



 extent permitted by the Bankruptcy Code and the Bankruptcy Rules and (b) withdrawing the Plan at any
 time before the Confirmation Date.

 5.3      Provisions for Implementation of the Plan

          (a)      General Settlement of Claims and Interests

          Pursuant to Sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
 consideration for the classification, distributions, releases, and other benefits provided under the Plan and
 Confirmation Order, upon the Effective Date, the provisions of the Plan and Confirmation Order shall
 constitute an integrated and global good faith compromise and settlement of all Claims and Interests and
 controversies resolved pursuant to the Plan relating to the contractual, legal, and subordination rights of
 Holders with respect to such Allowed Claims and Interests or any distribution to be made on account of
 such Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s
 integrated and global approval of the compromise or settlement of all such Claims, Interests, and
 controversies, as well as a finding by the Bankruptcy Court that such compromise, settlement, and
 transactions are in the best interests of the Debtor, its Estate, and Holders of Claims and Interests and is fair,
 equitable, and is within the range of reasonableness. Subject to Article IV of the Plan, all distributions made
 to Holders of Allowed Claims and Allowed Interests in any Class are intended to be and shall be final.

          (b)      Restructuring Transactions

          On or about the Effective Date, the Debtor and/or the Reorganized Debtor, as the case may be, shall
 take all actions necessary or appropriate to effectuate the transactions described in, approved by,
 contemplated by, or necessary and/or appropriate to effectuate the Restructuring Support Agreement and
 the Plan (collectively, the “Restructuring Transactions”), including, but not limited to: (a) the execution and
 delivery of any appropriate agreements or other documents of merger, amalgamation, consolidation,
 restructuring, conversion, disposition, transfer, formation, organization, dissolution, or liquidation
 containing terms that are consistent with the terms of the Plan, and that satisfy the requirements of applicable
 law and any other terms to which the applicable Entities may agree, including the documents comprising the
 Plan Supplement; (b) the execution and delivery of appropriate instruments of transfer, assignment,
 assumption, contribution, or delegation of any asset, property, right, liability, debt, or obligation on terms
 consistent with the terms of the Plan and having other terms for which the applicable Entities agree,
 including the documents comprising the Plan Supplement; (c) the filing of appropriate certificates or articles
 of incorporation, reincorporation, merger, amalgamation, consolidation, conversion, or dissolution pursuant
 to applicable law; (d) such other transactions that are required to effectuate the Restructuring Transactions
 in a tax efficient manner for the Debtor, including any mergers, consolidations, restructurings, conversions,
 dispositions, transfers, formations, organizations, dissolutions, or liquidations; and (e) all other actions that
 the applicable Entities determine to be necessary or appropriate, including making filings or recordings that
 may be required by applicable law and that are consistent with the Plan and the Restructuring Support
 Agreement.

         The Confirmation Order shall and shall be deemed to, pursuant to Sections 363 and 1123 of the
 Bankruptcy Code, authorize the Restructuring Transactions, which shall and shall be deemed to occur in
 the sequence set forth therein.

        The Confirmation Order shall and shall be deemed to, pursuant to both Sections 363 and 1123 of
 the Bankruptcy Code, authorize, among other things, all actions consistent with the Restructuring Support
 Agreement as may be necessary or appropriate to effect any transaction described in, approved by,
 contemplated by, or necessary to effectuate the Plan.


                                                        47
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 48 of 446



          (c)      Corporate Action

          Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized,
 approved, and, to the extent taken prior to the Effective Date, ratified without any requirement for further
 action by Holders of Claims or Interests, directors, managers, or officers of the Debtor, the Reorganized
 Debtor, or any other Entity, including: (a) rejection or assumption, as applicable, of Executory Contracts
 and Unexpired Leases; (b) the appointment of the New Board; (c) the adoption and/or filing of any other
 amended organizational documents required to implement the Restructuring Transactions; (d) the issuance
 and distribution, or other transfer, of the New Common Stock as provided herein; (e) the implementation
 of the Restructuring Transactions; (f) the Debtor’s entry into, delivery, and performance of the Takeback
 Debt Documents and Revolving Credit Facility Documents; and (g) all other acts or actions contemplated,
 or reasonably necessary or appropriate to promptly consummate the transactions contemplated by the Plan
 (whether proposed to occur before, on, or after the Effective Date). All matters provided for in the Plan
 involving corporate action required by the Debtor, shall be deemed to have occurred on, and shall be in
 effect as of, the Effective Date, without any requirement of further action by the security Holders, directors,
 managers, authorized persons, or officers of the Debtor. On or (as applicable) before the Effective Date, the
 appropriate officers of the Debtor or the Reorganized Debtor, as applicable, shall be authorized and (as
 applicable) directed to issue, execute, and deliver the agreements, documents, securities, and instruments
 contemplated by the Plan (or necessary or desirable to effectuate the Restructuring Transactions consistent
 with the Plan and the Restructuring Support Agreement) in the name of and on behalf of the Debtor or the
 Reorganized Debtor, as applicable, including any and all other agreements, documents, Securities, and
 instruments relating to the foregoing, to the extent not previously authorized by the Bankruptcy Court. The
 authorizations and approvals contemplated by Article 4.03 of the Plan shall be effective notwithstanding
 any requirements under non-bankruptcy law.

          (d)      Takeback Debt

          On the Effective Date, the Reorganized Debtor shall issue the Takeback Debt in the amount of the
 Takeback Debt Principal Amount (in which, subject to the occurrence of the Effective Date, interest shall
 accrue as of April 4, 2024, regardless of the day on which the Takeback Debt becomes fully operative) to
 the Holders of the Senior Notes consistent with the terms as Exhibit A to the Plan, as may be supplemented
 through a Plan Supplement.. For the avoidance of doubt, if the Effective Date does not occur, no interest
 shall be due under the Takeback Debt.

         All terms of the Takeback Debt, including without limitation, covenants and governance, shall be
 reasonably acceptable to the Debtor and the Ad Hoc Noteholder Group and otherwise consistent with the
 Restructuring Support Agreement. Any terms of the Takeback Debt may be modified subject to the consent
 of the Debtor and the Ad Hoc Noteholder Group.

         On the Effective Date, the Debtor shall execute and deliver the Takeback Debt Documents and
 such documents shall become effective in accordance with their terms. On and after the Effective Date, the
 Takeback Debt Documents shall constitute legal, valid, and binding obligations of the Debtor and shall be
 enforceable in accordance with their respective terms. The terms and conditions of the Takeback Debt
 Documents shall bind the Debtor and each other Entity that enters into such Takeback Debt Documents.
 Any Entity’s acceptance of Takeback Debt shall be deemed as its agreement to the terms of the Takeback
 Debt Documents, as amended, amended and restated, supplemented, or otherwise modified from time to
 time following the Effective Date in accordance with their terms.

         Confirmation of the Plan shall be deemed, without further notice to or order of the Bankruptcy
 Court, approval of the Takeback Debt and the Takeback Debt Documents and all transactions contemplated
 thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred by the
                                                       48
  HB: 4863-9936-1961.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                  Document    Page 49 of 446



 Reorganized Debtor in connection therewith, including the payment of all fees, indemnities, expenses, and
 other payments provided for therein and authorization of the Reorganized Debtor to issue the Takeback
 Debt and such other documents as may be required to effectuate the treatment afforded by the Takeback
 Debt.

          (e)      The Revolving Credit Facility

         On the Effective Date, the Reorganized Debtor shall enter into the Revolving Credit Facility
 Documents with the holders of the Senior Notes who are subject to the terms of the Restructuring Support
 Agreement at the discretion of such eligible holders. Confirmation of the Plan shall be deemed approval of
 the Revolving Credit Facility and authorization for the Debtor and Reorganized Debtor, as applicable, to
 take any and all actions necessary or appropriate to consummate the Revolving Credit Facility, including
 executing and delivering the Revolving Credit Facility Documents without any further notice to or order of
 the Bankruptcy Court.

          The proceeds of the Revolving Credit Facility will be used exclusively for emergency purposes
 only, in accordance with the Revolving Credit Facility Documents.

          (f)      Management Incentive Plan

          On the Effective Date, the Reorganized Debtor shall enter into the Management Incentive Plan. All
 grants under the Management Incentive Plan shall ratably dilute all New Common Stock issued pursuant
 to the Plan.

         The Management Incentive Plan will reserve exclusively for participants a pool of stock-based
 awards in the Reorganized Debtor in the form of (a) warrants for 5.0% of New Common Stock and (b)
 5.0% of the New Common Stock, both determined on a fully diluted and fully distributed basis (the “MIP
 Pool”), which shall be reserved for distribution in accordance with the Management Incentive Plan.

          On the Effective Date, the Reorganized Debtor shall allocate 25.0% of the MIP Pool to the current
 management. No later 90 days following the Effective Date, the Reorganized Debtor shall allocate 25.0%
 of the MIP Pool to management employees of the Reorganized Debtor as determined at the discretion of
 the New Board. The remaining 50.0% of the MIP Pool shall be allocated to management employees at the
 discretion of the New Board.

          Confirmation of the Plan shall be deemed, without further notice to or order of the Bankruptcy
 Court, approval of the Management Incentive Plan and all transactions contemplated thereby, and all actions
 to be taken, undertakings to be made, and obligations to be incurred by the Reorganized Debtor in
 connection therewith, including the payment of all fees, indemnities, expenses, and other payments provided
 for therein and authorization of the Reorganized Debtor to enter into and execute the Management Incentive
 Plan and such other documents as may be required to effectuate the treatment afforded by the Management
 Incentive Plan.

          (g)      Employee Obligations

        CorEnergy is a party to Employment Agreements with all eleven (11) of its employees. The
 employees covered by the Employment Agreements provide accounting, finance, legal and leadership roles.
 Pursuant to the Plan, the Reorganized Debtor will assume all eleven of the Employment Agreements.

          (h)      Deregistration of Existing Common Stock and Preferred Stock and Issuance of New
                   Common Stock

                                                     49
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 50 of 446



         Prior to or as soon as reasonably practicable following the Effective Date, in accordance with all
 applicable federal and state rules and regulations, including the Securities Exchange Act of 1934, as
 amended (the “Exchange Act”), the Debtor or the Reorganized Debtor, as applicable, intend to take steps
 to de-register the existing Common Stock and Preferred Stock and to terminate and/or suspend its reporting
 obligations under the Exchange Act, including filing a Form 15 with the SEC to deregister its existing
 Common Stock and Preferred Stock.

         The Confirmation Order shall authorize the issuance of New Common Stock in one or more
 issuances without the need for any further corporate action, and the Debtor or Reorganized Debtor, as
 applicable, is authorized to take any action necessary or appropriate in furtherance thereof. On or about the
 Effective Date or as soon as reasonably practicable thereafter, applicable Holders of Senior Notes and
 Preferred Stock shall receive shares of New Common Stock pursuant to Articles 3.02(e) and (f) of the Plan.

          All of the shares of the New Common Stock issued pursuant to the Plan shall be duly authorized,
 validly issued, fully paid, and non-assessed. Each distribution and issuance of the New Common Stock
 under the Plan shall be governed by the terms and conditions set forth in the Plan applicable to such
 distribution or issuance and the terms and conditions of the instruments evidencing or relating to such
 distribution or issuance.

          The Reorganized Debtor does not intend to obtain a stock exchange listing for the New Common
 Stock, and the Reorganized Debtor does not intend to be subject to any reporting requirements promulgated
 by the SEC following the de-registration actions described above. The Reorganized Debtor intends to apply
 for the New Common Stock to be quoted on the OTC market and to make available to stockholders financial
 and other information concerning the Reorganized Debtor in accordance with applicable OTC rules.

          (i)      Exemption from Registration Requirements

          The offering, issuance, and distribution of the New Common Stock pursuant to the Plan (other than
 Securities issuable under the Management Incentive Plan) will be exempt from the registration requirements
 of Section 5 of the Securities Act or any similar federal, state, or local law in reliance on Section 1145 of
 the Bankruptcy Code. Pursuant to Section 1145 of the Bankruptcy Code, such New Common Stock will
 be freely tradable in the United States without registration under the Securities Act by the recipients thereof,
 subject to the provisions of (1) Section 1145(b)(1) of the Bankruptcy Code relating to the definition of an
 underwriter in Section 2(a)(11) of the Securities Act and compliance with any applicable state or foreign
 securities laws, if any, and the rules and regulations of the SEC, if any, applicable at the time of any future
 transfer of such Securities or instruments, (2) any other applicable regulatory approvals, and (3) any
 restrictions in the New Governance Documents.

          All Persons shall be required to accept and conclusively rely upon the Plan and the Confirmation
 Order in lieu of a legal opinion whether the New Common Stock or other Securities issued under or
 otherwise acquired pursuant to the Plan are exempt from registration and/or eligible for DTC book-entry
 delivery, settlement and depository services. Notwithstanding anything to the contrary in the Plan or
 otherwise, no Person (including, for the avoidance of doubt, DTC) may require a legal opinion regarding
 the validity of any transaction contemplated by the Plan, including, for the avoidance of doubt, whether
 such New Common Stock or other Securities are validly issued, fully paid and non-assessable, exempt from
 registration and/or eligible for DTC book-entry delivery, settlement and depository services.

          (j)      Subordination

         The allowance, classification, and treatment of satisfying all Claims and Interests proposed under
 the Plan takes into consideration any and all subordination rights, whether arising by contract or under
                                                       50
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 51 of 446



 general principles of equitable subordination, Sections 510(b) or 510(c) of the Bankruptcy Code, or
 otherwise. Except as provided in the Plan, on the Effective Date, any and all subordination rights or
 obligations that a Holder of a Claim or Interest may have with respect to any distribution to be made under
 the Plan will be discharged and terminated, and all actions related to the enforcement of such subordination
 rights will be enjoined permanently. Accordingly, distributions under the Plan to Holders of Allowed
 Claims and Allowed Interests will not be subject to turnover or payment to a beneficiary of such terminated
 subordination rights, or to levy, garnishment, attachment or other legal process by a beneficiary of such
 terminated subordination rights; provided, that, any such subordination rights shall be preserved in the event
 the Confirmation Order is vacated, the Effective Date does not occur in accordance with the terms
 hereunder, or the Plan is revoked or withdrawn.

          (k)      Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided herein, or in any agreement, instrument, or other document
 incorporated in the Plan or the Plan Supplement, on the Effective Date, pursuant to Sections 1141(b) and
 (c) of the Bankruptcy Code, all property in the Debtor’s Estate, all Causes of Action, and any property
 acquired by the Debtor under the Plan shall vest in the Reorganized Debtor, free and clear of all Liens,
 Claims, charges, or other encumbrances. On and after the Effective Date, except as otherwise provided
 herein, the Reorganized Debtor may operate its business and may use, acquire, or dispose of property and
 pursue, compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by
 the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

          (l)      Cancellation of Instruments, Certificates, and Other Documents

          On the Effective Date, except as otherwise specifically provided in the Plan, the Confirmation
 Order, the New Common Stock, the Plan Supplement, or any agreement instrument, or other document
 entered into in connection with our pursuant to the Plan or the Restructuring Transactions, the obligations
 of the Debtor under the Bond Indenture, and any certificate, share, note, bond, indenture, purchase right,
 option, warrant, or other instrument or document, directly or indirectly, evidencing or creating any
 indebtedness or obligation of, or ownership interest in, the Debtor giving rise to any Claim or Interest shall
 be cancelled, without any need for a Holder to take further action with respect thereto, and the Debtor and
 the Reorganized Debtor shall not have any continuing obligations thereunder; provided, that,
 notwithstanding Confirmation or the occurrence of the Effective Date, any such agreement that governs the
 rights of the Holder of an Allowed Claim or Interest shall continue in effect solely for (a) purposes of
 enabling such Holder to receive distributions under the Plan on account of such Allowed Claim or Interest
 as provided herein, and (b) permit the Trustee to make or assist in making, as applicable, distributions
 pursuant to the Plan and deduct therefrom such reasonable compensation, fees, and expenses (i) due to the
 Trustee, or (ii) incurred by the Trustee in making such distributions, to the extent not otherwise satisfied by
 the Debtor. Except as provided in the Plan, on the Effective Date, the Trustee and its respective agents,
 successors and assigns shall be automatically and fully discharged of all duties and obligations associated
 with the Bond Indenture; provided, further, that the preceding proviso shall not affect the discharge of
 Claims or Interests pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan or result in any
 expense or liability to the Reorganized Debtor, except to the extent set forth in or provided for under the
 Plan. The commitments and obligations of the lenders or Holders under the Bond Indenture to extend any
 further or future credit or financial accommodations to the Debtor, its subsidiaries or any successors or
 assigns under the Bond Indenture, to the extent there were any remaining commitments or obligations, shall
 fully terminate and be of no further force or effect on the Effective Date.

         Notwithstanding Confirmation, the occurrence of the Effective Date or anything to the contrary
 herein, only such matters that, by their express terms, survive the termination of the Bond Indenture shall
 survive the occurrence of the Effective Date, including the rights of the Trustee, as applicable, to expense
                                                       51
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 52 of 446



 reimbursement, indemnification, and similar amounts.

          (m)      Sources for Plan Distributions

          The Debtor shall fund distributions under the Plan with Cash on hand, including Cash from
 operations. The Reorganized Debtor will pay or cause to be paid the Cash payments to be made pursuant
 to the Plan.

          From and after the Effective Date, the Reorganized Debtor, subject to any applicable limitations
 set forth in any post-Effective Date agreement, shall have the right and authority without further order of
 the Bankruptcy Court to raise additional capital and obtain additional financing as the Reorganized Debtor
 deems appropriate.

          (n)      Corporate Existence

         Except as otherwise provided in the Plan or any agreement, instrument, or other document
 incorporated in the Plan or the Plan Supplement (including, but not limited to the Restructuring
 Transactions), on the Effective Date, the Debtor shall continue to exist after the Effective Date as a separate
 corporation with all the powers of a corporation pursuant to applicable Law, except to the extent such
 formation documents are amended and restated, converted or otherwise modified by the Plan, the Plan
 Supplement, or otherwise, and to the extent any such document is amended, such document is deemed to
 be amended pursuant to the Plan and requires no further action or approval (other than any requisite filings
 required under applicable state or federal law).

          (o)      New Governance Documents

          On the Effective Date, or as soon thereafter as is reasonably practicable, the New Governance
 Documents, consistent with the terms attached hereto as Exhibit B, as may be supplemented through a Plan
 Supplement, shall be adopted and amended or amended and restated, as applicable, as may be required to
 be consistent with the provisions of the Plan, the New Governance Documents, and the Restructuring
 Support Agreement, as applicable, and the Bankruptcy Code. To the extent required under the Plan or
 applicable non-bankruptcy law, the Reorganized Debtor will file its Agreement or applicable New
 Governance Documents with the applicable Secretary of State and/or other applicable authorities in its state
 of formation in accordance with the applicable laws thereof. The New Governance Documents shall, among
 other things: (a) authorize the issuance of the New Common Stock and (b) pursuant to and only to the extent
 required by Section 1123(a)(6) of the Bankruptcy Code, include a provision prohibiting the issuance of
 non-voting equity Securities. Subject to Article 4.15 of the Plan, the Reorganized Debtor may amend and
 restate its formation and constituent documents as permitted by applicable law and the terms of the New
 Governance Documents, the Restructuring Support Agreement, and the Plan.

         Certain Holders of the New Common Stock may enter into and be subject to the terms of a
 shareholder agreement (the “Shareholder Agreement”), which may restrict such Holder of New Common
 Stock for the purposes of preserving net operating losses. It is the intent that any restrictions on trading in
 any Shareholder Agreement will not apply to small holders holding less than 5% of the New Common
 Stock who are not qualified institutional buyers as defined in Rule 144A of the Securities Act. The
 Reorganized Debtor intends to apply for the New Common Stock to be quoted in the OTC markets and to
 make available to stockholders financial and other information concerning the Reorganized Debtor in
 accordance with OTC rules.

          (p)      Indemnification Provisions in Organizational Documents


                                                       52
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 53 of 446



          As of the Effective Date and consistent with applicable law, the Reorganized Debtor’s formation
 documents shall, to the fullest extent permitted by applicable law, provide for the indemnification, defense,
 reimbursement, exculpation, and/or limitation of liability of, and advancement of fees and expenses to,
 current directors, officers, equity Holders, managers, members, employees, accountants, investment
 bankers, attorneys, other professionals, agents of the Debtor or Reorganized Debtor, and such current
 directors’, officers’, and managers’ respective Affiliates (each of the foregoing solely in their capacity as
 such) at least to the same extent as set forth in the Indemnification Provisions, against any claims or Causes
 of Action whether direct or derivative, liquidated or unliquidated, fixed, or contingent, disputed or
 undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted. The
 Reorganized Debtor shall not amend and/or restate its organizational documents after the Effective Date to
 terminate or materially adversely affect (a) any Indemnification Provision or (b) the rights of such directors,
 officers, equity Holders, managers, members, employees, accountants, investment bankers, attorneys, other
 professionals, agents of the Debtor, and such current directors’, officers’, and managers’ respective
 Affiliates (each of the foregoing solely in their capacity as such) referred to in the immediately preceding
 sentence. For the avoidance of doubt, as used in Article 4.16 of the Plan, “current” refers to covered Entities
 that serve as of the Petition Date, regardless of whether such Entities cease serving in such capacities
 thereafter.

          (q)      Effectuating Documents; Further Transactions

          On and after the Effective Date, the Reorganized Debtor, and the officers, manager, and members
 of the board of managers (or other governing body) thereof, shall be authorized to and may issue, execute,
 deliver, file, or record such contracts, Securities, instruments, releases, and other agreements or documents
 and take such actions as may be necessary or appropriate to effectuate, implement, and further evidence the
 terms and conditions of the Plan, and the Restructuring Transactions, as applicable, and the Securities issued
 pursuant to the Plan in the name of and on behalf of the Reorganized Debtor, without the need for any
 approvals, authorizations, or consents except for those expressly required under the Plan.

          (r)      Management of the Reorganized Debtor

          On the Effective Date, the board of directors at CorEnergy shall be replaced with the New Board.
 The New Board shall initially include five (5) members appointed by the new equity holders, on
 arrangements to be agreed to by, and in the sole discretion of, the Ad Hoc Noteholder Group and as set
 forth in the Shareholder Agreement.

          Provisions regarding the removal, appointment, and replacement of members of the New Board
 will be set forth in the New Governance Documents or Shareholder Agreement.

          (s)      Section 1146(a) Exemption

          To the fullest extent permitted by Section 1146(a) of the Bankruptcy Code, any transfers (whether
 from the Debtor to the Reorganized Debtor or to any other Person) of property under the Plan (including
 the Restructuring Transactions) or pursuant to: (a) the issuance, distribution, transfer, or exchange of any
 debt, equity security, or other interest in the Debtor or the Reorganized Debtor; (b) the creation,
 modification, consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or
 other security interest, or the securing of additional indebtedness by such or other means; (c) the making,
 assignment, or recording of any lease or sublease; (d) the grant of collateral as security for any or all of the
 Takeback Debt or the Revolving Credit Facility, as applicable; or (e) the making, delivery, or recording of
 any deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan, including
 any deeds, bills of sale, assignments, or other instrument of transfer executed in connection with any
 transaction arising out of, contemplated by, or in any way related to the Plan (including the Restructuring
                                                       53
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 54 of 446



 Transactions), shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
 similar tax, mortgage tax, real estate transfer tax, personal property transfer tax, mortgage recording tax,
 Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, sales or use tax, or
 other similar tax or governmental assessment. All appropriate state or local governmental officials, agents,
 or filing or recording officers (or any other Person with authority over any of the foregoing), wherever located
 and by whomever appointed, shall comply with the requirements of Section 1146(a) of the Bankruptcy
 Code, shall forego the collection of any such tax or governmental assessment, and shall accept for filing and
 recordation any of the foregoing instruments or other documents without the payment of any such tax,
 recordation fee, or governmental assessment.

          (t)      Preservation of Causes of Action

          Unless any Causes of Action against an Entity are expressly waived, relinquished, exculpated,
 released, compromised, or settled in the Plan, including pursuant to Article VIII of the Plan or a Final Order,
 in accordance with Section 1123(b) of the Bankruptcy Code, the Reorganized Debtor shall retain and may
 enforce all rights to commence and pursue any and all Causes of Action, whether arising before or after the
 Petition Date, including any actions specifically enumerated in the Plan Supplement, and the Reorganized
 Debtor’s rights to commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding
 the occurrence of the Effective Date. No Entity may rely on the absence of a specific reference in the Plan,
 the Plan Supplement, or the Disclosure Statement to any Cause of Action, including Avoidance Actions,
 against them as any indication that the Debtor or the Reorganized Debtor will not pursue any and all
 available Causes of Action against them. The Debtor and the Reorganized Debtor expressly reserve all
 rights to commence, pursue, and prosecute any and all Causes of Action against any Entity, including
 Avoidance Actions, except as otherwise expressly provided herein. Unless any Causes of Action against an
 Entity are expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan,
 including pursuant to Article VIII of the Plan or a Final Order, the Reorganized Debtor expressly reserve
 all Causes of Action, for later adjudication, and, therefore, no preclusion doctrine, including the doctrines
 of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or
 otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of the
 Confirmation or Consummation. For the avoidance of doubt, in no instance will any Cause of Action
 preserved pursuant to Article 4.20 of the Plan include any claim or Cause of Action with respect to, or
 against, a Released Party.

          In accordance with Section 1123(b)(3) of the Bankruptcy Code, any Causes of Action preserved
 pursuant to the first paragraph of Article 4.20 of the Plan that the Debtor may hold against any Entity shall
 vest in the Reorganized Debtor. The Reorganized Debtor, through its authorized agents or representatives,
 shall retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtor shall
 have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce,
 abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action, or to
 decline to do any of the foregoing, without the consent or approval of any third party or any further notice
 to or action, order, or approval of the Bankruptcy Court.

 5.4      Treatment of Executory Contracts and Unexpired Leases

          (a)      Assumption and Rejection of Executory Contracts and Unexpired Leases

         Except as otherwise provided herein, each Executory Contract and Unexpired Lease shall be
 deemed assumed, including without the need for any further notice to or action, order, or approval of the
 Bankruptcy Court, as of the Effective Date, pursuant to Section 365 of the Bankruptcy Code, unless such
 Executory Contract or Unexpired Lease (a) was previously assumed or rejected; (b) was previously expired
 or terminated pursuant to its own terms; (c) is the subject of a motion to assume or assume and assign Filed
                                                       54
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 55 of 446



 on or before the Confirmation Date; or (d) is designated specifically, or by category, as an Executory
 Contract or Unexpired Lease on the Schedule of Rejected Executory Contracts and Unexpired Leases. The
 assumption of Executory Contracts and Unexpired Leases hereunder may include the assignment of certain
 of such contracts or leases to Affiliates. The Confirmation Order will constitute an order of the Bankruptcy
 Court approving the above-described assumptions and assignments, all pursuant to Sections 365(a) and
 1123 of the Bankruptcy Code and effective on the occurrence of the Effective Date.

          Except as otherwise provided herein or agreed to by the Debtor and the applicable counterparty,
 each assumed Executory Contract or Unexpired Lease shall include all modifications, amendments,
 supplements, restatements, or other agreements related thereto, and all rights related thereto, if any,
 including all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and
 any other interests. To the maximum extent permitted by law, to the extent any provision in any Executory
 Contract or Unexpired Lease assumed pursuant to the Plan restricts or prevents, or purports to restrict or
 prevent, or is breached or deemed breached by, the assumption of such Executory Contract or Unexpired
 Lease (including any “change of control” provision), then such provision shall be deemed modified such
 that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate
 such Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect
 thereto. Notwithstanding anything to the contrary in the Plan, the Debtor or Reorganized Debtor, as
 applicable, reserves the right to alter, amend, modify, or supplement the Schedule of Rejected Executory
 Contracts and Unexpired Leases at any time through and including 45 days after the Effective Date.
 Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
 Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall not be deemed
 to alter the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority, or
 amount of any Claims that may arise in connection therewith.

          (b)      Cure and Defaults for Assumed Executory Contracts and Unexpired Leases

          The Debtor or the Reorganized Debtor, as applicable, shall pay undisputed Cure Claims, if any, on
 (a) the Effective Date or as soon as reasonably practicable thereafter as dictated by the Debtor’s ordinary
 course of business, for Executory Contracts and Unexpired Leases assumed as of the Effective Date or (b)
 the assumption effective date, if different than the Effective Date. Any Cure Claim shall be deemed fully
 satisfied, released, and discharged upon payment by the Debtor or the Reorganized Debtor of the Cure
 Claim; provided, that nothing herein shall prevent the Reorganized Debtor from paying any Cure Claim
 despite the failure of the relevant counterparty to File such request for payment of such Cure Claim. The
 Reorganized Debtor also may settle any Cure Claim without any further notice to or action, order, or
 approval of the Bankruptcy Court. Any monetary defaults under each Executory Contract and Unexpired
 Lease to be assumed pursuant to the Plan shall be satisfied, pursuant to Section 365(b)(1) of the Bankruptcy
 Code, by payment of the Cure Claim amount in Cash on the Effective Date, subject to the limitation
 described below, or on such other terms as the parties to such Executory Contracts or Unexpired Leases
 may otherwise agree. In the event of a dispute regarding (a) the amount of any payments to cure such a
 default, (b) the ability of the Reorganized Debtor or any assignee to provide “adequate assurance of future
 performance” (within the meaning of Section 365 of the Bankruptcy Code) under the Executory Contract
 or Unexpired Lease to be assumed, or (c) any other matter pertaining to assumption, the Cure Claim
 payments required by Section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a
 Final Order or orders resolving the dispute and approving the assumption; provided, that, the Reorganized
 Debtor may settle any such dispute without any further notice to, or action, order, or approval of the
 Bankruptcy Court or any other Entity.

         At least fourteen (14) days prior to the Combined Hearing, the Debtor shall provide for notices of
 proposed assumption or assumption and assignment and proposed Cure Claim amounts to be sent to
 applicable third parties (with such Cure Claim being $0.00 if no amount is listed in the notice), which
                                                        55
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                   Document    Page 56 of 446



 notices will include procedures for objecting thereto and resolution of disputes by the Bankruptcy Court.
 Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or
 assumption and assignment on any grounds or related amount of the Cure Claim must be Filed, served, and
 actually received by the Debtor no later than the date specified in the notice (which specified date shall be
 at least fourteen (14) days following service of the notice). Any counterparty to an Executory Contract or
 Unexpired Lease that failed to timely object to the proposed assumption will be deemed to have assented
 to such assumption or assumption and assignment and any objection shall be Disallowed and forever barred,
 estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor,
 without the need for any objection by the Reorganized Debtor or any other party in interest or any further
 notice to or action, Order, or approval of the Bankruptcy Court. The Debtor or Reorganized Debtor, as
 applicable, reserves the right to reject any Executory Contract or Unexpired Lease in resolution of any cure
 disputes. Notwithstanding anything to the contrary herein, if at any time the Bankruptcy Court determines
 that the Allowed Cure Claim with respect to any Executory Contract or Unexpired Lease is greater than the
 amount set forth in the applicable Cure Notice, the Debtor or Reorganized Debtor, as applicable, shall have
 the right, at such time, to add such Executory Contract or Unexpired Lease to the Schedule of Rejected
 Executory Contracts and Unexpired Leases, in which case such Executory Contract or Unexpired Lease
 shall be deemed rejected as the Effective Date. In the event of a timely Filed objection regarding (a) the
 amount of any Cure Claim; (b) the ability of the Reorganized Debtor or any assignee to provide “adequate
 assurance of future performance” (within the meaning of Section 365 of the Bankruptcy Code) under the
 Executory Contract or Unexpired Lease to be assumed; or (c) any other matter pertaining to assumption or
 the cure payments required by Section 365(b)(1) of the Bankruptcy Code, such dispute shall be resolved by
 a Final Order of the Bankruptcy Court (which may be the Confirmation Order) or as may be agreed upon
 by the Debtor or the Reorganized Debtor, as applicable, and the counterparty to the Executory Contract or
 Unexpired Lease.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and
 full payment of any applicable Cure pursuant to Article 5.02 of the Plan, in the amount and at the time
 dictated by the Debtor’s ordinary course of business, shall result in the full release and satisfaction of any
 Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of provisions restricting
 the change in control or ownership interest composition or other bankruptcy-related defaults, arising under
 any assumed Executory Contract or Unexpired Lease at any time prior to the effective date of assumption.
 Any and all Proofs of Claim based upon Executory Contracts or Unexpired Leases that have been assumed
 in the Chapter 11 Case, including pursuant to the Confirmation Order, and for which any Cure has been
 fully paid pursuant to Article 5.02 of the Plan, in the amount and at the time dictated by the Debtor ordinary
 course of business, shall be deemed disallowed and expunged as of the Effective Date without the need for
 any objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

        The Confirmation Order will constitute an order of the Bankruptcy Court approving each proposed
 assumption, or proposed assumption and assignment, of Executory Contracts and Unexpired Leases
 pursuant to Sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

          (c)      Rejection Damages Claims

          In the event that the rejection of an Executory Contract or Unexpired Lease by the Debtor results
 in damages to the other party or parties to such contract or lease, a Claim for such damages shall be forever
 barred and shall not be enforceable against the Debtor or the Reorganized Debtor or their respective
 properties or interests in property as agents, successors, or assigns, unless a Proof of Claim is Filed with
 the Notices and Claims Agent and served upon counsel for the Debtor, the Reorganized Debtor, and counsel
 for the Ad Hoc Noteholder Group no later than fifteen (15) days after the date of entry of a Final Order of
 the Bankruptcy Court (including the Confirmation Order) approving such rejection of such Executory
 Contract or Unexpired Lease. Any such Claims, to the extent Allowed, shall be classified as General
                                                      56
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 57 of 446



 Unsecured Claims and shall be treated in accordance with Article III of the Plan.

          (d)      Insurance Policies

          To the extent the Debtor is a party thereto or a named insured, any D&O Liability Insurance Policy
 (including, without limitation, any “tail policy” and all agreements, documents, or instruments related
 thereto) shall be deemed assumed, without the need for any further notice to or action, order, or approval
 of the Bankruptcy Court, as of the Effective Date, pursuant to Section 365 of the Bankruptcy Code.

          To the extent applicable, the Debtor or the Reorganized Debtor, as applicable, shall not terminate
 or otherwise reduce the coverage under any D&O Liability Insurance Policy (including, without limitation,
 any “tail policy” and all agreements, documents, or instruments related thereto) in effect as of the Petition
 Date. Any current and former directors, officers, managers, and employees of the Debtor who served in
 such capacity at any time before or after the Effective Date shall be entitled to the full benefits of any such
 policy for the full term of such policy regardless of whether such directors, officers, managers, and
 employees remain in such positions after the Effective Date subject to the terms of such policy.
 Notwithstanding anything to the contrary in the Plan, the Debtor or the Reorganized Debtor shall retain the
 ability to supplement (but not reduce) such D&O Liability Insurance Policy as the Debtor or Reorganized
 Debtor may deem necessary.

         The Debtor shall continue to satisfy any applicable insurance policies in full and continue such
 programs in the ordinary course of business. Each of the Debtor’s insurance policies, and any agreements,
 documents, or instruments relating thereto shall be treated as Executory Contracts under the Plan. Unless
 otherwise provided in the Plan, on the Effective Date, with respect to any policies where the Debtor is a
 named insured or a counterparty: (a) the Debtor shall be deemed to have assumed all such insurance policies
 and any agreements, documents, and instruments relating to coverage of all insured Claims; and (b) such
 insurance policies and any agreements, documents, or instruments relating thereto shall revest in the
 Reorganized Debtor.

         Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of the
 Reorganized Debtor’s assumption of all such insurance policies. Notwithstanding anything to the contrary
 contained in the Plan, Confirmation of the Plan shall not discharge, impair, or otherwise modify any
 indemnity obligations assumed by the foregoing assumption of insurance policies and each such indemnity
 obligation will be deemed and treated as an Executory Contract that has been assumed by the Reorganized
 Debtor under the Plan as to which no Proof of Claim need be filed, and shall survive the Effective Date.

          (e)      Contracts and Leases After the Petition Date

          Contracts and leases entered into after the Petition Date by the Debtor, including any Executory
 Contracts and Unexpired Leases assumed under Section 365 of the Bankruptcy Code, will be performed by
 the Debtor or Reorganized Debtor in the ordinary course of its business. Such contracts and leases that are
 not rejected under the Plan shall survive and remain unaffected by entry of the Confirmation Order.

          (f)      Reservation of Rights

          Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtor
 or any other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any
 Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease
 is or was executory or unexpired at the time of assumption, the Debtor or the Reorganized Debtor, as
 applicable, shall have forty-five (45) days following entry of a Final Order resolving such dispute to alter
 its treatment of such contract or lease.
                                                       57
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                    Document    Page 58 of 446



          (g)      Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
 with respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
 Section 365(d)(4) of the Bankruptcy Code, unless such deadline(s) have expired.

 5.5      Provisions Governing Distributions

          (a)      Distributions on Account of Claims or Interests Allowed as of Effective Date

          Except as otherwise provided herein, a Final Order, or as otherwise agreed to by the Debtor or the
 Reorganized Debtor, as the case may be, and the Holder of the applicable Claim or Interest, on the first
 Distribution Date, which shall be the same day as of the Effective Date, the distribution agent (the
 “Distribution Agent”) shall make initial distributions under the Plan on account of Claims or Interests
 Allowed on or before the Effective Date or as soon as reasonably practical thereafter; provided, however,
 that (1) Allowed Administrative Claims with respect to liabilities incurred by the Debtor in the ordinary
 course of business shall be paid or performed in the ordinary course of business in accordance with the
 terms and conditions of any controlling agreements, course of dealing, course of business, or industry
 practice, and (2) Allowed Priority Tax Claims shall be paid in accordance with Article 2.04 hereof. To the
 extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim shall be
 paid in full in Cash in accordance with the terms of any agreement between the Debtor and the Holder of
 such Claim or as may be due and payable under applicable non-bankruptcy law or in the ordinary course
 of business.

         The Debtor and the Reorganized Debtor, as applicable, shall take such reasonable actions as may
 be required to cause the distributions to Holders of the Preferred Stock in accordance with and as
 contemplated under the Plan. Notwithstanding anything in the Plan to the contrary, to the extent a holder
 of Preferred Stock holds such interests through DTC, distributions attributable to such Holders shall be
 effectuated through the facilities of DTC, to the extent practicable. The distributions to Holders of Preferred
 Stock shall be deemed issued on the Effective Date regardless of when the distribution actually occurs.

                          A.       Powers of Distribution Agent

          The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements,
 instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
 contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d)
 exercise such other powers as may be vested in the Distribution Agent by order of the Bankruptcy Court,
 pursuant to the Plan, or as deemed by the Distribution Agent to be necessary and proper to implement the
 provisions of the Plan, provided, however, that such Distribution Agent shall waive any right or ability to
 setoff, deduct from or assert any lien or encumbrance against the distributions required under the Plan to
 be distributed by such Distribution Agent.

         Notwithstanding any provision in the Plan to the contrary, distributions to the Senior Noteholders
 may be made to or at the direction of the Trustee, who may act as Distribution Agent (or direct the
 Distribution Agent) for distributions to Senior Noteholders, in accordance with the Plan and the Bond
 Indenture. As applicable, the Trustee may transfer or direct the transfer of such distributions directly
 through the facilities of DTC (whether by means of book-entry exchange, free delivery, or otherwise) and
 will be entitled to recognize and deal for all purposes under the Plan with the respective Holders of such
 Claims to the extent consistent with customary practices of DTC.

          (b)      Expenses Incurred On or After the Effective Date
                                                       58
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                      Document    Page 59 of 446



         The Debtor or the Reorganized Debtor, as applicable, shall pay to the Distribution Agent all
 reasonable and documented fees and expenses of such Distribution Agent without the need for any
 approvals, authorizations, actions, or consents, except as otherwise ordered by the Bankruptcy Court. The
 Distribution Agent shall submit invoices to the Debtor or the Reorganized Debtor, as applicable, for all fees
 and expenses for which the Distribution Agent seeks reimbursement, and the Debtor or the Reorganized
 Debtor, as applicable, shall pay those amounts that either deem reasonable, and shall object in writing to
 those fees and expenses, if any, that the Debtor or the Reorganized Debtor, as applicable, deem to be
 unreasonable. In the event that the Debtor or the Reorganized Debtor, as applicable, object to all or any
 portion of the amounts requested to be reimbursed in a Distribution Agent’s invoice, the Debtor or the
 Reorganized Debtor, as applicable, and such Distribution Agent shall endeavor, in good faith, to reach
 mutual agreement on the amount of the appropriate payment of such disputed fees and/or expenses. In the
 event that the Debtor or the Reorganized Debtor, as applicable, and a Distribution Agent are unable to
 resolve any differences regarding disputed fees or expenses, either party shall be authorized to move to
 have such dispute heard by the Bankruptcy Court.

          (c)      Special Rules for Distributions to Holders of Disputed Claims

           Notwithstanding any provision otherwise in the Plan and except as otherwise agreed by the relevant
 parties, (a) no partial payments and no partial distributions shall be made with respect to a Disputed Claim
 until all such disputes in connection with such Disputed Claim have been resolved by settlement or Final
 Order; and (b) any Entity that holds both an Allowed Claim and a Disputed Claim shall not receive any
 distribution on the Allowed Claim unless and until all objections to the Disputed Claim have been resolved
 by settlement or Final Order or the Claims have been Allowed or expunged.

          (d)      Delivery of Distributions

                          (i)       Record Date for Distributions

          As of the Distribution Record Date, the various transfer registers for each Class of Claims or
 Interests entitled to distributions under the Plan as maintained by the Debtor or its respective agents shall
 be deemed closed as of the close of business on the Distribution Record Date, and there shall be no further
 changes in the record Holders of any Claims or Interests. The Distribution Agent shall have no obligation
 to recognize any transfer of Claims or Interests occurring on or after the Distribution Record Date. In
 addition, with respect to payment of any Cure amounts or disputes over any Cure amounts, neither the
 Debtor nor the Distribution Agent shall have any obligation to recognize or deal with any party other than
 the non-Debtor party to the applicable Executory Contract or Unexpired Lease as of the Effective Date,
 even if such non-Debtor party has sold, assigned, or otherwise transferred its Claim for a Cure amount. For
 the avoidance of doubt, the Distribution Record Date shall not apply to the Debtor’s publicly traded
 Preferred Stock or Common Stock, the distributions to which will be conducted in accordance with the
 DTC’s standard procedures and customary practices.

                          (ii)      Distribution Process

          Except as otherwise provided in the Plan, the Distribution Agent shall make distributions to Holders
 of Allowed Claims or Interests at the address for each such Holder as indicated on the applicable register
 or in the Debtor’s records as of the date of any such distribution (as applicable), including the address set
 forth in any Proof of Claim filed by that Holder; provided, that, the manner of such distributions shall be
 determined at the discretion of the Reorganized Debtor.

                          (iii)     Compliance Matters

                                                      59
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                     Document    Page 60 of 446



          In connection with the Plan, to the extent applicable, the Reorganized Debtor and the Distribution
 Agent shall comply with all applicable withholding and reporting requirements imposed on them by any
 Governmental Unit, and all distributions pursuant to the Plan and all related agreements shall be subject to
 any such withholding or reporting requirements. Notwithstanding the foregoing, each Holder of an Allowed
 Claim or Interest or any other Person that receives a distribution pursuant to the Plan shall have
 responsibility for any taxes imposed by any Governmental Unit, including, without limitation, income,
 withholding, and other taxes, on account of such distribution. Notwithstanding any provision in the Plan,
 any document included in the Plan Supplement, or any other Definitive Document to the contrary, the
 Reorganized Debtor and the Distribution Agent shall have the right, but not the obligation, to take all actions
 necessary or appropriate to comply with such withholding and reporting requirements, including (a)
 withholding distributions pending receipt of information necessary to facilitate such distributions and (b)
 in the case of a non-Cash distribution that is subject to withholding, withhold an appropriate portion of such
 property and either liquidate such withheld property to generate sufficient funds to pay applicable
 withholding taxes (or reimburse the distributing party for any advance payment of the withholding tax) or
 pay the withholding tax using its own funds and retain such withheld property. The Reorganized Debtor
 reserves the right to allocate all distributions made under the Plan in compliance with all applicable wage
 garnishments, alimony, child support, and other spousal awards, liens, and encumbrances. Any amounts
 withheld or reallocated pursuant to Article 6.03(c) of the Plan shall be treated as if distributed to the Holder
 of the Allowed Claim or Allowed Interest.

          Any party entitled to receive any property as an issuance or distribution under the Plan shall, upon
 request, deliver to the Reorganized Debtor and the Distribution Agent, or such other Person designated by
 the Reorganized Debtor or the Distribution Agent, IRS Form W-9 or, if the payee is a foreign Person, an
 applicable IRS Form W-8, or any other forms or documents reasonably requested by the Reorganized
 Debtor or the Distribution Agent to reduce or eliminate any withholding required by Governmental Unit.
 If such request is made by the Reorganized Debtor or the Distribution Agent, or such other Person
 designated by the Reorganized Debtor or the Distribution Agent, and the Holder fails to comply within
 ninety (90) days after not less than two (2) requests have been made, the amount of such distribution shall
 irrevocably revert to the applicable Reorganized Debtor as applicable, and any Claim or Interest in respect
 of such distribution shall be forever barred from assertion against any Debtor, the Reorganized Debtor and
 their respective property.

                          (iv)     Foreign Currency Exchange Rate

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim
 asserted in currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S.
 dollar value using the exchange rate for the applicable currency as published in The Wall Street Journal,
 National Edition, on the Effective Date.

                          (v)      Fractional, Undeliverable, and Unclaimed Distributions

                                   (1)      Fractional Distributions. No fractional New Common Stock shall
                                            be distributed. Whenever any distribution of fractional units of
                                            New Common Stock would otherwise be required pursuant to the
                                            Plan, the actual distribution shall reflect a rounding down of such
                                            fraction to the nearest unit of New Common Stock. Any Cash
                                            distributions shall reflect a rounding down of such Cash to the
                                            nearest penny. No consideration shall be provided in lieu of
                                            fractional shares or Cash amounts that are rounded down. None of
                                            the Reorganized Debtor or the Distribution Agent shall have any
                                            obligation to make a distribution that is less than one (1) share of
                                                       60
  HB: 4863-9936-1961.1
Case 24-40236-can11      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                              Document    Page 61 of 446



                                  New Common Stock. DTC shall be considered a single holder for
                                  distribution purposes.

                            (2)   Undeliverable Distributions. If any distribution to a Holder is
                                  returned as undeliverable, no further distributions shall be made
                                  to such Holder unless and until the Distribution Agent is notified
                                  in writing of such Holder’s then-current address or other necessary
                                  information for delivery, at which time all currently due missed
                                  distributions shall be made to such Holder within thirty (30) days
                                  of receipt of the Holder’s then current address or other necessary
                                  information. Undeliverable distributions shall remain in the
                                  possession of the Reorganized Debtor as applicable, for one (1)
                                  year after the Effective Date at which time such distribution
                                  reverts to the Reorganized Debtor as applicable, or is cancelled
                                  pursuant to Article 6.03(e)(4) of the Plan, and shall not be
                                  supplemented with any interest, dividends, or other accruals of
                                  any kind.

                            (3)   Failure to Present Checks. Checks issued by the Reorganized
                                  Debtor (or its Distribution Agent) on account of Allowed Claims
                                  shall be null and void if not negotiated within ninety (90) days
                                  after the issuance of such check. Requests for reissuance of any
                                  check shall be made directly to the Distribution Agent by the
                                  Holder of the relevant Allowed Claim with respect to which such
                                  check originally was issued.

                                  Any Holder of an Allowed Claim holding an un-negotiated check
                                  that does not request reissuance of such un-negotiated check
                                  within 180 days of the Effective Date shall have its Claim for such
                                  un-negotiated check discharged and be discharged and forever
                                  barred, estopped, and enjoined from asserting any such Claim
                                  against the Reorganized Debtor or its property.

                                  Within ninety (90) days after the mailing or other delivery of any
                                  such distribution checks, notwithstanding applicable escheatment
                                  laws, all such distributions shall revert to the Reorganized Debtor.
                                  Nothing contained herein shall require the Reorganized Debtor to
                                  attempt to locate any Holder of an Allowed Claim.

                            (4)   Reversion. Any distribution under the Plan that is an Unclaimed
                                  Distribution for a period of one (1) year after the Effective Date
                                  shall be deemed unclaimed property under Section 347(b) of the
                                  Bankruptcy Code, and such Unclaimed Distribution shall revest
                                  in the Reorganized Debtor and, to the extent such Unclaimed
                                  Distribution is New Common Stock shall be deemed cancelled.
                                  Upon such revesting, the Claim of the Holder or its successors
                                  with respect to such property shall be cancelled, discharged, and
                                  forever barred notwithstanding any applicable federal or state
                                  escheat, abandoned, or unclaimed property laws, or any
                                  provisions in any document governing the distribution that is an
                                  Unclaimed Distribution, to the contrary.
                                             61
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                      Document    Page 62 of 446



                          (vi)      Surrender of Cancelled Instruments or Securities

          On the Effective Date, each Holder of a certificate or instrument evidencing a Claim or Interest that
 has been cancelled shall be deemed to have surrendered such certificate or interest to the Debtor or a
 Servicer (to the extent the relevant Claim is governed by an agreement and administered by a Servicer).
 Such certificate or instrument shall be cancelled solely with respect to the Debtor, and such cancellation
 shall not alter the obligations or rights of any non-Debtor third parties vis-à-vis one another with respect to
 such certificate or instrument including with respect to any indenture or agreement that governs the rights
 of the Holder of a Claim or Interest, which shall continue in effect for purposes of allowing Holders to
 receive distributions under the Plan, charging liens, priority of payment, and indemnification rights.
 Notwithstanding the foregoing paragraph, Article 6.03(f) of the Plan shall not apply to any Claims and
 Interests Reinstated pursuant to the terms of the Plan.

          (e)      Claims Paid or Payable by Third Parties

                          (i)       Claims Paid by Third Parties

          A Claim shall be correspondingly reduced, and the applicable portion of such Claim shall be
 disallowed without an objection to such Claim having to be Filed and without any further notice to or action,
 order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives a payment
 on account of such Claim from a party that is not the Debtor or the Reorganized Debtor. To the extent a
 Holder of a Claim receives a distribution on account of such Claim and receives payment from a party that
 is not the Debtor or the Reorganized Debtor on account of such Claim, such Holder shall, within fourteen
 (14) days of receipt thereof, repay or return the distribution to the Reorganized Debtor to the extent the
 Holder’s total recovery on account of such Claim from the third party and under the Plan exceeds the
 amount of such Claim as of the date of any such distribution under the Plan. The failure of such Holder to
 timely repay or return such distribution shall result in the Holder owing the Reorganized Debtor annualized
 interest at the Federal Judgment Rate on such amount owed for each Business Day after the fourteen-day
 grace period specified above until the amount is repaid.

                          (ii)      Claims Payable by Insurance Carriers

          No distributions under the Plan shall be made on account of an Allowed Claim that is payable
 pursuant to one of the Debtor’s insurance policies until the Holder of such Allowed Claim has exhausted
 all remedies with respect to such insurance policy. To the extent that one or more of the Debtor’s insurers
 agrees to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent
 jurisdiction), then immediately upon such insurers’ agreement, the applicable portion of such Claim may
 be expunged without a Claim objection having to be Filed and without any further notice to or action, order,
 or approval of the Bankruptcy Court.

                          (iii)     Applicability of Insurance Policies

          Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in
 accordance with the provisions of any applicable insurance policy. Notwithstanding anything to the
 contrary herein (including Article VIII), nothing contained in the Plan shall constitute or be deemed a
 release, settlement, satisfaction, compromise, or waiver of any Cause of Action that the Debtor or any other
 Entity may hold against any other Entity, including insurers, under any policies of insurance or applicable
 indemnity, nor shall anything contained herein constitute or be deemed a waiver by such insurers of any
 defenses, including coverage defenses, held by such insurers.

          (f)      No Postpetition or Default Interest on Claims
                                                       62
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                          Desc Main
                                    Document    Page 63 of 446



          Unless otherwise specifically provided for in the Plan or the Confirmation Order, and
 notwithstanding any documents that govern the Debtor’s prepetition funded indebtedness to the contrary,
 (a) postpetition and/or default interest shall not accrue or be paid on any Claims and (b) no Holder of a
 Claim shall be entitled to: (i) interest accruing on or after the Petition Date on any such Claim; or (ii) interest
 at the contract default rate, as applicable.

          (g)      Setoffs

          Except as otherwise expressly provided for herein and with respect to the Allowed Claim of the
 holders of the Senior Notes and/or the Trustee, the Reorganized Debtor, pursuant to the Bankruptcy Code
 (including Section 553 of the Bankruptcy Code), applicable non-bankruptcy law, or as may be agreed to by
 the Holder of a Claim, may set off against any Allowed Claim and the distributions to be made pursuant to
 the Plan on account of such Allowed Claim (before any distribution is made on account of such Allowed
 Claim), any claims, rights, and Causes of Action of any nature that the Debtor or the Reorganized Debtor,
 as applicable, may hold against the Holder of such Allowed Claim, to the extent such Claims, rights, or
 Causes of Action against such Holder have not been otherwise compromised or settled on or prior to the
 Effective Date (whether pursuant to the Plan or otherwise); provided, however, that neither the failure to
 effect such a setoff nor the allowance of any Claim pursuant to the Plan shall constitute a waiver or release
 by the Reorganized Debtor of any such Claims, rights, and Causes of Action that the Reorganized Debtor
 may possess against such Holder. In no event shall any Holder of a Claim be entitled to set off any such
 Claim against any Claim, right, or Cause of Action of the Debtor or the Reorganized Debtor (as applicable),
 unless such Holder has filed a motion with the Bankruptcy Court requesting the authority to perform such
 setoff on or before the Confirmation Date, and notwithstanding any indication in any Proof of Claim or
 otherwise that such Holder asserts, has, or intends to preserve any right of setoff pursuant to Section 553 of
 the Bankruptcy Code or otherwise.

          (h)      Allocation Between Principal and Accrued Interest

          Except as otherwise provided herein or as otherwise required by law (as reasonably determined by
 the Reorganized Debtor), the aggregate consideration paid to Holders with respect to their Allowed Claims
 shall be treated pursuant to the Plan as allocated first to the principal amount of such Allowed Claims (to
 the extent thereof as determined for federal income tax purposes) and, thereafter, to interest, if any, on such
 Allowed Claim accrued through the Effective Date.

          (i)      Delivery of New Common Stock

          On the Effective Date, the Reorganized Debtor is authorized to issue or cause to be issued and shall
 issue the New Common Stock for distribution in accordance with the terms of the Plan without the need
 for any further board, shareholder or other corporate action. All of the New Common Stock issuable under
 the Plan, when so issued, shall be duly authorized, validly issued, fully paid, and non-assessable. Each
 holder of New Common Stock shall be deemed, without further notice or action, to have agreed to be bound
 by the New Governance Documents, as the same may be amended from time to time following the Effective
 Date in accordance with their terms. The New Governance Documents shall be binding on all Entities
 receiving New Common Stock (and their respective successors and assigns), whether received pursuant to
 the Plan or otherwise and regardless of whether such Entity executes or delivers a signature page to the
 New Governance Document. Notwithstanding the foregoing, the Reorganized Debtor, may condition the
 distribution of any New Common Stock issued pursuant to the Plan upon the recipient thereof duly
 executing and delivering to the Debtor or the Reorganized Debtor, as applicable, counter-signatures to one
 or more New Governance Documents.

 5.6      Procedures for Resolving Contingent, Unliquidated, and Disputed Claims and Interests
                                                         63
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 64 of 446



          (a)      Allowance of Claims

          Except as expressly provided in the Plan or in any Order entered in the Chapter 11 Case before the
 Effective Date (including the Confirmation Order), no Claim shall become an Allowed Claim unless and
 until such Claim is deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has
 entered a Final Order, including the Confirmation Order (when it becomes a Final Order), in the Chapter
 11 Case allowing such Claim. The Debtor or Reorganized Debtor may affirmatively determine to deem
 Unimpaired Claims Allowed to the same extent such Claims would be allowed under applicable non-
 bankruptcy law.

          (b)      Objections to Claims

          Except as otherwise specifically provided in the Plan or the Confirmation Order, the Debtor, and
 after the Effective Date, the Reorganized Debtor, shall have the sole authority to: (a) File, withdraw, or
 litigate to judgment objections to Claims or Interests; (b) settle or compromise any Disputed Claim or
 Interest without any further notice to or action, Order, or approval by the Bankruptcy Court; and (c)
 administer and adjust the Debtor’s Claims register to reflect any such settlements or compromises without
 any further notice to or action, Order, or approval by the Bankruptcy Court. For the avoidance of doubt,
 except as otherwise provided herein, from and after the Effective Date, the Reorganized Debtor shall have
 and retain any and all rights and defenses the Debtor had immediately prior to the Effective Date with
 respect to any Disputed Claim or Disputed Interest, including the Causes of Action retained pursuant to
 Article 4.20 of the Plan. A motion to extend the Claims Objection Deadline shall automatically extend the
 deadline until the Court enters an order on such motion.

          (c)      Estimation of Claims

          Before or after the Effective Date, the Debtor or Reorganized Debtor, as applicable, may (but are
 not required to) at any time request that the Bankruptcy Court estimate any Disputed Claim that is
 contingent or unliquidated pursuant to Section 502(c) of the Bankruptcy Code for any reason, regardless of
 whether any party previously has objected to such Claim or whether the Bankruptcy Court has ruled on any
 such objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim, including
 during the litigation of any objection to any Claim or during the appeal relating to such objection. In the
 event that the Bankruptcy Court estimates any contingent, unliquidated or Disputed Claim, the amount so
 estimated shall constitute either the Allowed amount of such Claim or a maximum limitation on such Claim,
 as determined by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the
 amount of such Claim, the Debtor or the Reorganized Debtor may pursue supplementary proceedings to
 object to the allowance of such Claim. Notwithstanding Section 502(j) of the Bankruptcy Code, in no event
 shall any Holder of a Claim that has been estimated pursuant to Section 502(c) of the Bankruptcy Code or
 otherwise be entitled to seek reconsideration of such estimation unless such Holder has filed a motion
 requesting the right to seek such reconsideration on or before twenty-one (21) days after the date on which
 such Claim is estimated.

          (d)      No Distribution Pending Allowance

          If an objection, motion to estimate, or other challenge to a Claim is Filed, no payment or distribution
 provided under the Plan shall be made on account of such Claim unless and until (and only to the extent
 that) such Claim becomes an Allowed Claim.

          (e)      Distribution After Allowance

          To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
                                                       64
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 65 of 446



 shall be made to the Holder of such Allowed Claim in accordance with the provisions of the Plan. As soon
 as practicable after the date that the order or judgment of the Bankruptcy Court allowing any Disputed
 Claim becomes a Final Order, the Distribution Agent shall provide to the Holder of such Claim the
 distribution (if any) to which such Holder is entitled under the Plan as of the Effective Date, without any
 interest to be paid on account of such Claim unless required under applicable bankruptcy law.

          (f)      No Interest

          Unless otherwise specifically provided for herein or by order of the Bankruptcy Court, postpetition
 interest shall not accrue or be paid on Claims, and no Holder of a Claim shall be entitled to interest accruing
 on or after the Petition Date on any Claim or right. Additionally, and without limiting the foregoing, interest
 shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective Date to the
 date a final distribution is made on account of such Disputed Claim, if and when such Disputed Claim
 becomes an Allowed Claim.

          (g)      Adjustment to Claims Without Objection

          Any duplicate Claim or Interest, any Claim or Interest that has been paid or satisfied, or any Claim
 or Interest that has been amended or superseded, cancelled or otherwise expunged (including pursuant to
 the Plan or the Confirmation Order), may be adjusted or expunged (including on the Claims register, to the
 extent applicable) by the Reorganized Debtor without having to File an application, motion, complaint,
 objection, or any other legal proceeding seeking to object to such Claim or Interest and without any further
 notice to or action, Order, or approval of the Bankruptcy Court.

          (h)      Disallowance of Claims

          All Claims of any Entity from which property is sought by the Debtor under Sections 542, 543,
 550, or 553 of the Bankruptcy Code or that the Debtor or the Reorganized Debtor allege is a transferee of
 a transfer that is avoidable under Sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the
 Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the Debtor or the Reorganized
 Debtor, as applicable, on the other hand, agree or the Bankruptcy Court has determined by Final Order that
 such Entity or transferee is liable to turn over any property or monies under any of the aforementioned
 Sections of the Bankruptcy Code; and (b) such Entity or transferee has failed to turn over such property by
 the date set forth in such agreement or Final Order. All Claims filed on account of an indemnification
 obligation to a director, officer, or employee shall be deemed satisfied and expunged from the Claims
 register as of the Effective Date to the extent such indemnification obligation is assumed (or honored or
 reaffirmed, as the case may be) pursuant to the Plan, without any further notice to or action, order or
 approval of the Bankruptcy Court. All Claims filed on account of an employee benefit shall be deemed
 satisfied and expunged from the Claims register as of the Effective Date to the extent the Reorganized
 Debtor elects to honor such employee benefit, without any further notice to or action, order or approval of
 the Bankruptcy Court.

         Except as provided herein or otherwise agreed to by the Debtor or the Reorganized Debtor,
 as applicable, any and all Proofs of Claim filed after the Claims Bar Date shall be deemed Disallowed
 and expunged as of the Effective Date without any further notice to or action, Order, or approval of
 the Bankruptcy Court, and Holders of such Claims may not receive any distributions on account of
 such Claims, unless on or before the Combined Hearing such late Filed Claim has been deemed timely
 Filed by a Final Order.

 5.7      Effect of Confirmation of the Plan


                                                       65
  HB: 4863-9936-1961.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                   Desc Main
                                  Document    Page 66 of 446



          (a)      Discharge of Claims and Termination of Interests; Compromise and Settlement of
                   Claims, Interests, and Controversies

          Except as otherwise specifically provided in the Plan or in any contract, instrument, or other
 agreement or document created pursuant to the Plan (including the Takeback Debt and the
 Revolving Credit Facility): (a) the distributions, rights, and treatment that are provided in the Plan
 shall be in complete satisfaction, discharge, and release, effective as of the Effective Date, of any and
 all Claims and Interests after the Effective Date by the Reorganized Debtor, and Causes of Action
 against the Debtor of any nature whatsoever including demands, liabilities, and Causes of Action that
 arose before the Effective Date, any liability (including withdrawal liability) to the extent such
 liability relates to services performed by employees of the Debtor prior to the Effective Date and that
 arises from a termination of employment, any contingent or non-contingent liability on account of
 representations or warranties issued on or before the Effective Date, all debts of the kind specified in
 Sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, any interest accrued on Claims or Interests
 from and after the Petition Date, and all other liabilities against, liens on, obligations of, rights
 against, and Interests in, the Debtor or any of its assets or properties; (b) the Plan shall bind all
 Holders of Claims and Interests; (c) all Claims and Interests shall be satisfied, discharged, and
 released in full, and the Debtor’s liability with respect thereto shall be extinguished completely,
 including any liability of the kind specified under Section 502(g) of the Bankruptcy Code; and (d) all
 Entities shall be precluded from asserting against the Debtor, the Debtor’s Estate, the Reorganized
 Debtor, its successors and assigns, and its assets and properties any other Claims or Interests based
 upon any documents, instruments, or any act or omission, transaction, or other activity of any kind
 or nature that occurred prior to the Effective Date, in each case regardless of whether or not: (i) a
 Proof of Claim based upon such debt or right is filed or deemed filed pursuant to Section 501 of the
 Bankruptcy Code; (ii) a Claim or Interest based upon such debt, right, or Interest is Allowed
 pursuant to Section 502 of the Bankruptcy Code; (iii) the Holder of such a Claim or Interest has
 accepted, rejected or failed to vote to accept or reject the Plan; or (iv) any property shall have been
 distributed or retained pursuant to the Plan on account of such Claims and Interests. The
 Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests
 subject to the occurrence of the Effective Date.

         Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other
 benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good faith
 compromise of all Claims, Interests, and controversies relating to the contractual, legal, and
 subordination rights that a Holder of a Claim or Interest may have with respect to any Allowed Claim
 or Allowed Interest, or any distribution to be made on account of such Allowed Claim or Allowed
 Interest. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
 the compromise or settlement of all such Claims, Interests, and controversies, as well as a finding by
 the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtor, its
 Estate, and Holders of Claims and Interests and is fair, equitable, and reasonable. In accordance with
 the provisions of the Plan, pursuant to Bankruptcy Rule 9019, without any further notice to or action,
 order, or approval of the Bankruptcy Court, after the Effective Date, the Reorganized Debtor may
 compromise and settle Claims against the Debtor and its Estate and Causes of Action against other
 Entities.

          (b)      Release by the Debtor

      NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE CONTRARY,
 PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, FOR GOOD AND
 VALUABLE CONSIDERATION, ON AND AFTER THE EFFECTIVE DATE, EACH RELEASED
 PARTY IS DEEMED RELEASED AND DISCHARGED BY THE DEBTOR, THE
                                                    66
  HB: 4863-9936-1961.1
Case 24-40236-can11      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                              Document    Page 67 of 446



 REORGANIZED DEBTOR, AND ITS ESTATE FROM ANY AND ALL CLAIMS AND CAUSES
 OF ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY DERIVATIVE CLAIMS
 ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTOR OR ITS ESTATE, THAT THE
 DEBTOR, THE REORGANIZED DEBTOR, OR ITS ESTATE WOULD HAVE BEEN LEGALLY
 ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR
 COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM AGAINST, OR
 INTEREST IN, THE DEBTOR OR OTHER ENTITY, BASED ON OR RELATING TO, OR IN
 ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTOR (INCLUDING THE
 MANAGEMENT, OWNERSHIP, OR OPERATION THEREOF), ANY SECURITIES ISSUED BY
 THE DEBTOR AND THE OWNERSHIP THEREOF, THE DEBTOR’S IN- OR OUT-OF-COURT
 RESTRUCTURING EFFORTS, ANY AVOIDANCE ACTIONS (BUT EXCLUDING AVOIDANCE
 ACTIONS BROUGHT AS COUNTERCLAIMS OR DEFENSES TO CLAIMS ASSERTED
 AGAINST THE DEBTOR), ANY INTERCOMPANY TRANSACTIONS, THE BOND
 INDENTURE, THE CHAPTER 11 CASE, THE FORMULATION, PREPARATION,
 DISSEMINATION, NEGOTIATION, EXECUTION, OR FILING OF THE RESTRUCTURING
 SUPPORT AGREEMENT, THE DISCLOSURE STATEMENT, THE PLAN, THE PLAN
 SUPPLEMENTS, OR ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT,
 RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN
 CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE TAKEBACK
 DEBT, THE REVOLVING CREDIT FACILITY, SOLICITATION OF VOTES ON THE PLAN,
 THE PREPETITION NEGOTIATION AND SETTLEMENT OF CLAIMS, THE PURSUIT OF
 CONFIRMATION OF THE PLAN, THE PURSUIT OF CONSUMMATION OF THE PLAN, THE
 ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE
 OR DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW COMMON
 STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION THEREWITH) PURSUANT
 TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
 RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR OMISSION,
 TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING PLACE ON
 OR BEFORE THE EFFECTIVE DATE. NOTWITHSTANDING ANYTHING TO THE
 CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE
 (A) ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE
 RESTRUCTURING SUPPORT AGREEMENT, THE PLAN, ANY DEFINITIVE DOCUMENT
 EXECUTED IN CONNECTION WITH THE RESTRUCTURING TRANSACTIONS, OR ANY
 OTHER DOCUMENT, INSTRUMENT, OR AGREEMENT EXECUTED TO IMPLEMENT THE
 PLAN, (B) THE DEBTOR’S OR THE REORGANIZED DEBTOR’S ASSUMED
 INDEMNIFICATION PROVISIONS AS SET FORTH IN THE PLAN, OR (C) CLAIMS RELATED
 TO ANY ACT OR OMISSION THAT IS DETERMINED IN A FINAL ORDER BY A COURT OF
 COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD, WILLFUL
 MISCONDUCT, OR GROSS NEGLIGENCE.

        ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE
 DEBTOR RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED
 PROVISIONS AND DEFINITIONS CONTAINED IN THE PLAN, AND FURTHER, SHALL
 CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT THE DEBTOR RELEASE IS:
 (A) IN EXCHANGE FOR THE GOOD AND VALUABLE CONSIDERATION PROVIDED BY
 THE RELEASED PARTIES, INCLUDING, WITHOUT LIMITATION, THE RELEASED
 PARTIES’ CONTRIBUTIONS TO FACILITATING THE RESTRUCTURING AND
 IMPLEMENTING THE PLAN; (B) A GOOD FAITH SETTLEMENT AND COMPROMISE OF

                                          67
  HB: 4863-9936-1961.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                                  Document    Page 68 of 446



 THE CLAIMS RELEASED BY THE DEBTOR RELEASE; (C) IN THE BEST INTERESTS OF
 THE DEBTOR AND ALL HOLDERS OF CLAIMS AND INTERESTS; (D) FAIR, EQUITABLE,
 AND REASONABLE; (E) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY FOR
 HEARING; AND (F) A BAR TO ANY OF THE DEBTOR, THE REORGANIZED DEBTOR, OR
 THE DEBTOR’S ESTATE ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED
 PURSUANT TO THE DEBTOR RELEASE.

          (c)      Releases by Holders of Claims and Interests

        NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE CONTRARY,
 AS OF THE EFFECTIVE DATE, AND TO THE FULLEST EXTENT ALLOWED BY
 APPLICABLE LAW, EACH RELEASING PARTY IS DEEMED TO HAVE RELEASED AND
 DISCHARGED THE DEBTOR, REORGANIZED DEBTOR, AND THE RELEASED PARTIES
 FROM ANY AND ALL CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN OR
 UNKNOWN, INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON
 BEHALF OF THE DEBTOR OR ITS ESTATE, THAT SUCH ENTITY WOULD HAVE BEEN
 LEGALLY ENTITLED TO ASSERT (WHETHER INDIVIDUALLY OR COLLECTIVELY),
 BASED ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN
 PART, THE DEBTOR (INCLUDING THE MANAGEMENT, OWNERSHIP, OR OPERATION
 THEREOF), ANY SECURITIES ISSUED BY THE DEBTOR AND THE OWNERSHIP
 THEREOF, THE DEBTOR’S IN- OR OUT-OF-COURT RESTRUCTURING EFFORTS, ANY
 AVOIDANCE ACTIONS (BUT EXCLUDING AVOIDANCE ACTIONS BROUGHT AS
 COUNTERCLAIMS OR DEFENSES TO CLAIMS ASSERTED AGAINST THE DEBTOR), ANY
 INTERCOMPANY TRANSACTIONS, THE BOND INDENTURE, THE CHAPTER 11 CASE,
 THE FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, EXECUTION,
 OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT, THE DISCLOSURE
 STATEMENT, THE PLAN, THE PLAN SUPPLEMENTS, OR ANY RESTRUCTURING
 TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR
 DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE
 RESTRUCTURING SUPPORT AGREEMENT, THE TAKEBACK DEBT, THE REVOLVING
 CREDIT FACILITY, SOLICITATION OF VOTES ON THE PLAN, THE PREPETITION
 NEGOTIATION AND SETTLEMENT OF CLAIMS, THE PURSUIT OF CONFIRMATION OF
 THE PLAN, THE PURSUIT OF CONSUMMATION OF THE PLAN, THE ADMINISTRATION
 AND IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR DISTRIBUTION
 OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE REVOLVING CREDIT
 FACILITY) AND/OR SECURITIES (INCLUDING THE NEW COMMON STOCK OR EQUITY
 OF CORENERGY ISSUED IN CONNECTION THEREWITH) PURSUANT TO THE PLAN, OR
 THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER RELATED
 AGREEMENT, OR UPON ANY OTHER RELATED ACT OR OMISSION, TRANSACTION,
 AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
 EFFECTIVE DATE. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
 FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE (A) ANY POST-
 EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE
 RESTRUCTURING SUPPORT AGREEMENT, THE PLAN, THE TAKEBACK DEBT OR THE
 REVOLVING CREDIT FACLIITY, ANY DEFINITIVE DOCUMENT EXECUTED IN
 CONNECTION WITH THE RESTRUCTURING TRANSACTIONS, OR ANY OTHER
 DOCUMENT, INSTRUMENT, OR AGREEMENT EXECUTED TO IMPLEMENT THE PLAN,
 (B) SHALL NOT RESULT IN A RELEASE, WAIVER, OR DISCHARGE OF THE DEBTOR’S OR
 THE REORGANIZED DEBTOR’S ASSUMED INDEMNIFICATION PROVISIONS AS SET
 FORTH IN THE PLAN, (C) OBLIGATIONS UNDER THE BOND INDENTURE, THAT, BY
 THEIR EXPRESS TERMS, SURVIVE THE TERMINATION THEREOF, INCLUDING THE
                                                   68
  HB: 4863-9936-1961.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                                  Document    Page 69 of 446



 RIGHTS OF THE TRUSTEE TO EXPENSE REIMBURSEMENT, INDEMNIFICATION AND
 SIMILAR AMOUNTS, OR (IV) CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS
 DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT JURISDICTION TO
 HAVE CONSTITUTED ACTUAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
 NEGLIGENCE.

        ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF THE
 THIRD-PARTY RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE RELATED
 PROVISIONS AND DEFINITIONS CONTAINED IN THE PLAN, AND, FURTHER, SHALL
 CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT THE THIRD-PARTY
 RELEASE IS: (A) CONSENSUAL; (B) ESSENTIAL TO THE CONFIRMATION OF THE PLAN;
 (C) GIVEN IN EXCHANGE FOR THE GOOD AND VALUABLE CONSIDERATION PROVIDED
 BY THE RELEASED PARTIES, INCLUDING, WITHOUT LIMITATION, THE RELEASED
 PARTIES’ CONTRIBUTIONS TO FACILITATING THE RESTRUCTURING AND
 IMPLEMENTING THE PLAN; (D) A GOOD FAITH SETTLEMENT AND COMPROMISE OF
 THE CLAIMS RELEASED BY THE THIRD-PARTY RELEASE; (E) IN THE BEST INTERESTS
 OF THE DEBTOR AND ITS ESTATE; (F) FAIR, EQUITABLE, AND REASONABLE; (G) GIVEN
 AND MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING; AND (H) A BAR TO
 ANY OF THE RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION
 RELEASED PURSUANT TO THE THIRD-PARTY RELEASE.

          (d)      Exculpation

       NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE CONTRARY
 AND TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, NO EXCULPATED
 PARTY SHALL HAVE OR INCUR LIABILITY FOR, AND EACH EXCULPATED PARTY IS
 RELEASED AND EXCULPATED FROM, ANY CAUSE OF ACTION FOR ANY CLAIM
 RELATED TO ANY ACT OR OMISSION IN CONNECTION WITH, RELATING TO, OR
 ARISING OUT OF, THE DEBTOR (INCLUDING THE MANAGEMENT, OWNERSHIP, OR
 OPERATION THEREOF), ANY SECURITIES ISSUED BY THE DEBTOR AND THE
 OWNERSHIP THEREOF, THE DEBTOR’S IN- OR OUT-OF-COURT RESTRUCTURING
 EFFORTS, ANY AVOIDANCE ACTIONS (BUT EXCLUDING AVOIDANCE ACTIONS
 BROUGHT AS COUNTERCLAIMS OR DEFENSES TO CLAIMS ASSERTED AGAINST THE
 DEBTOR), ANY INTERCOMPANY TRANSACTIONS, THE BOND INDENTURE, THE
 CHAPTER 11 CASE, THE FORMULATION, PREPARATION, DISSEMINATION,
 NEGOTIATION, EXECUTION OR FILING OF THE RESTRUCTURING SUPPORT
 AGREEMENT, THE DISCLOSURE STATEMENT, THE PLAN, THE PLAN SUPPLEMENTS,
 OR ANY RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
 OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN CONNECTION
 WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE TAKEBACK DEBT, THE
 REVOLVING CREDIT FACILITY, SOLICITATION OF VOTES ON THE PLAN, THE
 PREPETITION NEGOTIATION AND SETTLEMENT OF CLAIMS, THE PURSUIT OF
 CONFIRMATION OF THE PLAN, THE PURSUIT OF CONSUMMATION OF THE PLAN, THE
 ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE
 OR DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW COMMON
 STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION THEREWITH) PURSUANT
 TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
 RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR OMISSION,
 TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING PLACE ON
                                              69
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                                     Document    Page 70 of 446



 OR BEFORE THE EFFECTIVE DATE, EXCEPT FOR CLAIMS RELATED TO ANY ACT OR
 OMISSION THAT IS DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT
 JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD, WILLFUL MISCONDUCT, OR
 GROSS NEGLIGENCE, BUT IN ALL RESPECTS SUCH ENTITIES SHALL BE ENTITLED TO
 REASONABLY RELY UPON THE ADVICE OF COUNSEL WITH RESPECT TO THEIR
 DUTIES AND RESPONSIBILITIES PURSUANT TO THE PLAN.

       THE EXCULPATED PARTIES HAVE, AND UPON CONFIRMATION OF THE PLAN
 SHALL BE DEEMED TO HAVE, PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE
 WITH THE APPLICABLE LAWS WITH REGARD TO THE SOLICITATION OF VOTES ON,
 AND DISTRIBUTION OF CONSIDERATION PURSUANT TO, THE PLAN AND, THEREFORE,
 ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS SHALL NOT BE, LIABLE AT ANY
 TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION
 GOVERNING THE SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THE PLAN OR
 SUCH DISTRIBUTIONS MADE PURSUANT TO THE PLAN. NOTWITHSTANDING
 ANYTHING TO THE CONTRARY IN THE FOREGOING, THE EXCULPATION SET FORTH
 ABOVE DOES NOT RELEASE OR EXCULPATE ANY CLAIM RELATING TO ANY POST-
 EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE
 RESTRUCTURING SUPPORT AGREEMENT, THE PLAN, ANY RESTRUCTURING
 TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT (INCLUDING ANY
 DOCUMENTS RELATED TO THE TAKEBACK DEBT, THE REVOLVING CREDIT
 FACILITY, AND OTHER DOCUMENTS, INSTRUMENTS AND AGREEMENTS SET FORTH
 IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN.

          (e)      Injunction

       UPON ENTRY OF THE CONFIRMATION ORDER, ALL HOLDERS OF CLAIMS AND
 INTERESTS AND OTHER PARTIES IN INTEREST, ALONG WITH THEIR RESPECTIVE
 PRESENT OR FORMER EMPLOYEES, AGENTS, OFFICERS, DIRECTORS, PRINCIPALS,
 AND AFFILIATES, AND EACH OF THEIR SUCCESSORS AND ASSIGNS, SHALL BE
 ENJOINED FROM TAKING ANY ACTIONS TO INTERFERE WITH THE IMPLEMENTATION
 OR CONSUMMATION OF THE PLAN IN RELATION TO ANY CLAIM OR INTEREST THAT
 IS EXTINGUISHED, DISCHARGED, OR RELEASED PURSUANT TO THE PLAN.

       EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR THE CONFIRMATION
 ORDER, ALL ENTITIES WHO HAVE HELD, HOLD, OR MAY HOLD CLAIMS, INTERESTS,
 CAUSES OF ACTION, OR LIABILITIES THAT: (A) ARE SUBJECT TO COMPROMISE AND
 SETTLEMENT PURSUANT TO THE TERMS OF THE PLAN; (B) HAVE BEEN RELEASED
 PURSUANT TO ARTICLE 8.02 OF THE PLAN; (C) HAVE BEEN RELEASED PURSUANT TO
 ARTICLE 8.03 OF THE PLAN, (D) ARE SUBJECT TO EXCULPATION PURSUANT TO
 ARTICLE 8.04 OF THE PLAN, OR (E) ARE OTHERWISE DISCHARGED, SATISFIED,
 STAYED OR TERMINATED PURSUANT TO THE TERMS OF THE PLAN, ARE
 PERMANENTLY ENJOINED AND PRECLUDED, FROM AND AFTER THE EFFECTIVE
 DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE,
 THE DEBTOR, THE REORGANIZED DEBTOR, THE RELEASED PARTIES, AND/OR THE
 EXCULPATED PARTIES: (1) COMMENCING OR CONTINUING IN ANY MANNER ANY
 ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION
 WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (2) ENFORCING,
 ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY
 JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF
 OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS;
                                                 70
  HB: 4863-9936-1961.1
Case 24-40236-can11      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                              Document    Page 71 of 446



 (3) CREATING, PERFECTING, OR ENFORCING ANY ENCUMBRANCE OF ANY KIND
 AGAINST SUCH ENTITIES OR THE PROPERTY OR ESTATES OF SUCH ENTITIES ON
 ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
 INTERESTS; (4) ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR RECOUPMENT
 OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH ENTITIES OR AGAINST THE
 PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
 RESPECT TO ANY SUCH CLAIMS OR INTERESTS UNLESS SUCH ENTITY HAS TIMELY
 ASSERTED SUCH SETOFF RIGHT IN A DOCUMENT FILED WITH THE BANKRUPTCY
 COURT EXPLICITLY PRESERVING SUCH SETOFF, AND NOTWITHSTANDING AN
 INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT SUCH ENTITY ASSERTS,
 HAS, OR INTENDS TO PRESERVE ANY RIGHT OF SETOFF PURSUANT TO APPLICABLE
 LAW OR OTHERWISE; AND (5) COMMENCING OR CONTINUING IN ANY MANNER ANY
 ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION
 WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS DISCHARGED,
 RELEASED, EXCULPATED, SETTLED AND/OR TREATED, ENTITLED TO A
 DISTRIBUTION, OR CANCELLED PURSUANT TO THE PLAN.

       NO PERSON OR ENTITY MAY COMMENCE OR PURSUE A CLAIM OR CAUSE OF
 ACTION OF ANY KIND AGAINST THE DEBTOR, THE REORGANIZED DEBTOR, THE
 EXCULPATED PARTIES, OR THE RELEASED PARTIES THAT RELATES TO OR IS
 REASONABLY LIKELY TO RELATE TO ANY ACT OR OMISSION IN CONNECTION WITH,
 RELATING TO, OR ARISING OUT OF A CLAIM OR CAUSE OF ACTION RELATED TO THE
 CHAPTER 11 CASE, THE FORMULATION, PREPARATION, DISSEMINATION,
 NEGOTIATION, OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT AND
 RELATED PREPETITION TRANSACTIONS, THE DISCLOSURE STATEMENT, THE PLAN,
 THE PLAN SUPPLEMENT, OR ANY RESTRUCTURING TRANSACTION, CONTRACT,
 INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR
 ENTERED INTO IN CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT,
 THE PREPETITON DOCUMENTS, THE DISCLOSURE STATEMENT, THE PLAN, THE PLAN
 SUPPLEMENT, THE CHAPTER 11 CASE, THE FILING OF THE CHAPTER 11 CASE, THE
 TAKEBACK DEBT, THE REVOLVING CREDIT FACILITY, ANY DOCUMENTS RELATED
 TO THE TAKEBACK DEBT, SOLICITATION OF VOTES ON THE PLAN, THE PREPETITION
 NEGOTIATION AND SETTLEMENT OF CLAIMS, THE PURSUIT OF CONFIRMATION OF
 THE PLAN, THE PURSUIT OF CONSUMMATION OF THE PLAN, THE ADMINISTRATION
 AND IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR DISTRIBUTION
 OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE REVOLVING CREDIT
 FACILITY) AND/OR SECURITIES (INCLUDING THE NEW COMMON STOCK OR EQUITY
 OF CORENERGY ISSUED IN CONNECTION THEREWITH) PURSUANT TO THE PLAN, OR
 THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER RELATED
 AGREEMENT, OR UPON ANY OTHER RELATED ACT OR OMISSION, TRANSACTION,
 AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
 EFFECTIVE DATE RELATED OR RELATING TO ANY OF THE FOREGOING, WITHOUT
 REGARD TO WHETHER SUCH PERSON OR ENTITY IS A RELEASING PARTY, WITHOUT
 THE BANKRUPTCY COURT (1) FIRST DETERMINING, AFTER NOTICE AND A HEARING,
 THAT SUCH CLAIM OR CAUSE OF ACTION REPRESENTS A COLORABLE CLAIM OF ANY
 KIND AND (2) SPECIFICALLY AUTHORIZING SUCH PERSON OR ENTITY TO BRING SUCH
 CLAIM OR CAUSE OF ACTION AGAINST THE DEBTOR, REORGANIZED DEBTOR, OR
 ANY SUCH EXCULPATED PARTY OR RELEASED PARTY.

      THE BANKRUPTCY COURT WILL HAVE SOLE AND EXCLUSIVE JURISDICTION
 TO ADJUDICATE THE UNDERLYING COLORABLE CLAIM OR CAUSES OF ACTION.
                                          71
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 72 of 446



      NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
 INJUNCTION DOES NOT ENJOIN ANY PARTY UNDER THE PLAN, THE CONFIRMATION
 ORDER OR UNDER ANY OTHER DEFINITIVE DOCUMENT OR OTHER DOCUMENT,
 INSTRUMENT, OR AGREEMENT (INCLUDING THOSE ATTACHED TO THE DISCLOSURE
 STATEMENT OR INCLUDED IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT
 THE PLAN AND THE CONFIRMATION ORDER FROM BRINGING AN ACTION TO
 ENFORCE THE TERMS OF THE PLAN, THE CONFIRMATION ORDER OR SUCH
 DOCUMENT, INSTRUMENT, OR AGREEMENT (INCLUDING THOSE ATTACHED TO THE
 DISCLOSURE STATEMENT OR INCLUDED IN THE PLAN SUPPLEMENT) EXECUTED TO
 IMPLEMENT THE PLAN AND THE CONFIRMATION ORDER. THE INJUNCTION IN THE
 PLAN SHALL EXTEND TO ANY SUCCESSORS AND ASSIGNS OF THE DEBTOR AND THE
 REORGANIZED DEBTOR AND ITS RESPECTIVE PROPERTY AND INTERESTS IN
 PROPERTY.

          (f)      Protection Against Discriminatory Treatment

         In accordance with Section 525 of the Bankruptcy Code, and consistent with paragraph 2 of Article
 VI of the United States Constitution, no Governmental Unit shall discriminate against any Reorganized
 Debtor, or any Entity with which the Reorganized Debtor has been or is associated, solely because the
 Reorganized Debtor was a debtor under chapter 11, may have been insolvent before the commencement of
 the Chapter 11 Case (or during the Chapter 11 Case, but before the Debtor was granted or denied a
 discharge), or has not paid a debt that is dischargeable in the Chapter 11 Case.

          (g)      Release of Liens

          Except as otherwise specifically provided in the Plan, the Takeback Debt, the Revolving Credit
 Facility (including in connection with any express written amendment of any mortgage, deed of trust, Lien,
 pledge, or other security interest related to the Takeback Debt and/or the Revolving Credit Facility), or in
 any contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
 Effective Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case
 of a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective
 Date, all mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the
 Estate shall be fully released and discharged, and all of the right, title, and interest of any Holder of such
 mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the Reorganized Debtor
 and its successors and assigns, in each case, without any further approval or order of the Bankruptcy Court
 and without any action or Filing being required to be made by the Debtor, the Trustee or any other Holder
 of a Secured Claim. In addition, at the sole expense of the Debtor or the Reorganized Debtor, the Trustee
 shall execute and deliver all documents reasonably requested by the Debtor, Reorganized Debtor or
 administrative agent(s) for the Takeback Debt and/or the Revolving Credit Facility to evidence the release
 of such mortgages, deeds of trust, Liens, pledges, and other security interests and shall authorize the
 Reorganized Debtor and its designees to file UCC-3 termination statements and other release
 documentation (to the extent applicable) with respect thereto.

          (h)      Reimbursement of Contribution

         If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant
 to Section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the
 Effective Date, such Claim shall be forever disallowed notwithstanding Section 502(j) of the Bankruptcy
 Code, unless prior to the Effective Date (a) such Claim has been adjudicated as noncontingent, or (b) the
 relevant Holder of a Claim has filed a noncontingent Proof of Claim on account of such Claim and a Final
 Order has been entered determining such Claim as no longer contingent.
                                                       72
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                    Document    Page 73 of 446



          (i)      Recoupment

          In no event shall any Holder of a Claim be entitled to recoup such Claim against any Claim, right,
 or Cause of Action of the Debtor or the Reorganized Debtor, as applicable, unless such Holder actually has
 performed such recoupment and provided notice thereof in writing to the Debtor on or before the
 Confirmation Date, notwithstanding any indication in any Proof of Claim or otherwise that such Holder
 asserts, has, or intends to preserve any right of recoupment.

 5.8      Conditions Precedent to the Effective Date

          (a)      Conditions Precedent to the Effective Date

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied
 or waived pursuant to Article 9.02 of the Plan:

          (a)      The Bankruptcy Court shall have entered the Confirmation Order, which shall be a Final
                   Order;

          (b)      The Restructuring Support Agreement shall remain in full force and effect and shall not
                   have been terminated and all conditions shall have been satisfied thereunder, and there shall
                   be no breach that would give rise to a right to terminate the Restructuring Support
                   Agreement by the Debtor or the Ad Hoc Noteholder Group for which notice has been given
                   in accordance with the terms thereof (including by the requisite parties thereunder), or such
                   notice could have been given to the extent such notice is not permitted due to the
                   commencement of the Chapter 11 Case and the related automatic stay;

          (c)      The Grier Members’ consent to the Restructuring Support Agreement shall remain in full
                   force and effect;

          (d)      The Plan, any other Definitive Documents, and all documents contained in the Plan
                   Supplement, including any exhibits, schedules, annexes, amendments, modifications, or
                   supplements thereto shall have been executed and/or filed with the Bankruptcy Court and
                   shall be consistent in all respects with the Restructuring Support Agreement;

          (e)      No court of competent jurisdiction or other competent governmental or regulatory authority
                   shall have issued an order making illegal or otherwise restricting, preventing or prohibiting,
                   in a material respect, the consummation of the Plan, the Restructuring Transactions, the
                   Restructuring Support Agreement or any of the Definitive Documents contemplated
                   thereby;

          (f)      The conditions precedent to the effectiveness of the Takeback Debt, if any, (as determined
                   in any Takeback Debt documentation) shall have been satisfied or duly waived in writing
                   and any documents or instruments related to the Takeback Debt shall have closed or will
                   close simultaneously with the effectiveness of the Plan;

          (g)      The conditions precedent to the effectiveness of the Revolving Credit Facility, if any, (as
                   determined in the Revolving Credit Facility Documents) shall have been satisfied or duly
                   waived in writing and any documents or instruments related to the Revolving Credit
                   Facility shall have closed or will close simultaneously with the effectiveness of the Plan;

          (h)      The Debtor shall have obtained any and all requisite regulatory approvals, and any other

                                                        73
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 74 of 446



                   authorizations, consents, rulings, or documents required to implement and effectuate the
                   Plan and the Restructuring Transactions;

          (i)      The Debtor shall have implemented the Restructuring Transactions in a manner consistent
                   in all respects with the Restructuring Support Agreement;

          (j)      All conditions precedent (other than any conditions related to the occurrence of the
                   Effective Date) to the consummation of the New Governance Documents shall have been
                   waived or satisfied in accordance with the terms thereof;

          (k)      To the extent required under applicable non-bankruptcy law, any amendments to the
                   Debtor’s governance and organizational documents, shall have been duly filed with the
                   applicable authorities in the relevant jurisdictions; and

          (l)      All Restructuring Fees and Expenses for which an invoice has been received by the Debtor
                   on or before two (2) Business Days before the expected Effective Date and professional
                   fees and expenses of Retained Professionals approved by the Bankruptcy Court shall have
                   been paid in full.

          (b)      Waiver of Conditions Precedent

         The Debtor (with the express consent of the Ad Hoc Noteholder Group pursuant to the same
 percentages as required in the Restructuring Support Agreement, in writing), may waive any of the
 conditions to the Effective Date set forth in Article 9.01 of the Plan at any time, without any notice to any
 other parties in interest and without any further notice to or action, order, or approval of the Bankruptcy
 Court, and without any formal action other than a proceeding to confirm the Plan or consummate the Plan.
 The failure of the Debtor to exercise any of the foregoing rights shall not be deemed a waiver of such rights
 or any other rights, and each such right shall be deemed an ongoing right, which may be asserted at any
 time (subject to the consent of the Ad Hoc Noteholder Group).

          (c)      Effect of Non-Occurrence of Conditions to Consummation

          If the Effective Date does not occur on or before the termination of the Restructuring Support
 Agreement, or if, prior to the Effective Date, the Confirmation Order is vacated pursuant to a Final Order,
 then (except as provided in any such Final Order): (a) the Plan shall be null and void in all respects; (b) any
 settlement or compromise embodied in the Plan, assumption or rejection of Executory Contracts or
 Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the Plan,
 shall be deemed null and void; and (c) nothing contained in the Plan, the Confirmation Order, the Disclosure
 Statement, or the Restructuring Support Agreement shall: (i) constitute a waiver or release of any Claims,
 Interests, or Causes of Action; (ii) prejudice in any manner the rights of the Debtor or any other Entity; or
 (iii) constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtor or any other
 Entity.

          (d)      Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to
 occur on the Effective Date.

 5.9      Modification, Revocation, or Withdrawal of the Plan

          (a)      Modification of Plan

                                                       74
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 75 of 446



         Effective as of the date hereof: (a) the Debtor reserves the right (subject to the terms of the
 Restructuring Support Agreement and the consents required therein) in accordance with the Bankruptcy
 Code and the Bankruptcy Rules, to amend or modify the Plan before the entry of the Confirmation Order
 consistent with the terms set forth herein; and (b) after the entry of the Confirmation Order, the Debtor
 (subject to the terms of the Restructuring Support Agreement and the consents required therein) or the
 Reorganized Debtor, as applicable, may, upon order of the Bankruptcy Court, amend or modify the Plan,
 in accordance with Section 1127(b) of the Bankruptcy Code, remedy any defect or omission, or reconcile
 any inconsistency in the Plan in such manner as may be necessary to carry out the purpose and intent of the
 Plan consistent with the terms set forth herein. Notwithstanding anything to the contrary herein, the Debtor
 or the Reorganized Debtor, as applicable, shall not amend or modify the Plan in a manner inconsistent with
 the Restructuring Support Agreement.

          (b)      Effect of Confirmation on Modifications

          Entry of the Confirmation Order shall constitute (a) approval of all modifications to the Plan
 occurring after the solicitation of votes thereon pursuant to Section 1127(a) of the Bankruptcy Code; and
 (b) a finding that such modifications to the Plan do not require additional disclosure or re-solicitation under
 Bankruptcy Rule 3019.

          (c)      Revocation or Withdrawal of Plan

         The Debtor reserves the right (subject to the terms of the Restructuring Support Agreement and the
 consents required therein) to revoke or withdraw the Plan before the Confirmation Date and to file
 subsequent chapter 11 plans. If the Debtor revokes or withdraws the Plan, or if Confirmation or the Effective
 Date does not occur, then: (a) the Plan will be null and void in all respects; (b) the Restructuring Support
 Agreement will be null and void in all respects; (c) any settlement or compromise embodied in the Plan,
 assumption or rejection of Executory Contracts or Unexpired Leases effectuated by the Plan, and any
 document or agreement executed pursuant hereto will be null and void in all respects; and (d) nothing
 contained in the Plan shall (i) constitute a waiver or release of any Claims, Interests, or Causes of Action
 by any Entity, (ii) prejudice in any manner the rights of the Debtor or any other Entity, or (iii) constitute an
 admission, acknowledgement, offer, or undertaking of any sort by the Debtor or any other Entity.

 5.10     Retention of Jurisdiction

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, the
 Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related to, the Chapter
 11 Case and the Plan pursuant to Sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction
 to:

         1.      allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
 or unsecured status, or amount of any Claim against the Debtor, including the resolution of any request for
 payment of any Claim and the resolution of any and all objections to the secured or unsecured status, priority,
 amount, or allowance of Claims;

         2.      decide and resolve all matters related to the granting and denying, in whole or in part, any
 applications for allowance of compensation or reimbursement of expenses to Retained Professionals
 authorized pursuant to the Bankruptcy Code or the Plan;

         3.       resolve any matters related to Executory Contracts or Unexpired Leases, including: (a) the
 assumption or assumption and assignment of any Executory Contract or Unexpired Lease to which the
 Debtor is party or with respect to which the Debtor may be liable and to hear, determine, and, if necessary,
                                                       75
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                   Document    Page 76 of 446



 liquidate, any Cure or Claims arising therefrom, including pursuant to Section 365 of the Bankruptcy Code;
 (b) any potential contractual obligation under any Executory Contract or Unexpired Lease that is assumed;
 and (c) any dispute regarding whether a contract or lease is or was executory or expired;

         4.       ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the
 provisions of the Plan and adjudicate any and all disputes arising from or relating to distributions under the
 Plan;

         5.       adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated
 matters, and any other matters, and grant or deny any applications involving the Debtor that may be pending
 on the Effective Date;

         6.       enter and implement such orders as may be necessary or appropriate to execute, implement,
 or consummate the provisions of (a) contracts, instruments, releases, indentures, and other agreements or
 documents approved by Final Order in the Chapter 11 Case and (b) the Plan, the Confirmation Order,
 contracts, instruments, releases, indentures, and other agreements or documents created in connection with
 the Plan;

        7.     enforce any order for the sale of property pursuant to Sections 363, 1123, or 1146(a) of the
 Bankruptcy Code;

         8.      grant any consensual request to extend the deadline for assuming or rejecting Unexpired
 Leases pursuant to Section 365(d)(4) of the Bankruptcy Code;

         9.      issue injunctions, enter and implement other orders, or take such other actions as may be
 necessary or appropriate to restrain interference by any Entity with Consummation or enforcement of the
 Plan;

         10.      hear, determine, and resolve any cases, matters, controversies, suits, disputes, or Causes of
 Action in connection with or in any way related to the Chapter 11 Case, including: (a) with respect to the
 repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim
 for amounts not timely repaid pursuant to Article 6.03 of the Plan; (b) with respect to the releases,
 injunctions, and other provisions contained in Article VIII of the Plan, including entry of such orders as may
 be necessary or appropriate to implement such releases, injunctions, and other provisions; (c) that may
 arise in connection with the Consummation, interpretation, implementation, or enforcement of the Plan,
 the Confirmation Order, contracts, instruments, releases, and other agreements or documents created in
 connection with the Plan; or (d) related to Section 1141 of the Bankruptcy Code;

          11.     enter and implement such orders as are necessary or appropriate if the Confirmation Order
 is for any reason modified, stayed, reversed, revoked, or vacated;

         12.     consider any modifications of the Plan, to cure any defect or omission, or to reconcile
 any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         13.     hear and determine matters concerning state, local, and federal taxes in accordance
 with Sections 346, 505, and 1146 of the Bankruptcy Code;

          14.      enter an order or Final Decree concluding or closing the Chapter 11 Case;

          15.      enforce all orders previously entered by the Bankruptcy Court; and


                                                      76
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                    Document    Page 77 of 446



          16.      hear any other matter not inconsistent with the Bankruptcy Code;

 provided that, on and after the Effective Date and after the consummation of the following agreements or
 documents, the Bankruptcy Court shall not retain jurisdiction over matters arising out of or related to the
 Takeback Debt, Revolving Credit Facility, and the New Governance Documents. The Takeback Debt,
 Revolving Credit Facility, and the New Governance Documents shall be governed by the respective
 jurisdictional provisions therein.

 5.11     Miscellaneous Provisions

          (a)      Immediate Binding Effect

         Subject to Article 9.01 of the Plan, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or
 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan and the Plan Supplement
 shall be immediately effective and enforceable and deemed binding upon the Debtor, the Reorganized
 Debtor, and any and all Holders of Claims or Interests (irrespective of whether such Claims or Interests are
 deemed to have accepted the Plan), all Entities that are parties to or are subject to the settlements,
 compromises, releases, discharges, and injunctions described in the Plan, each Entity acquiring property
 under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases with the
 Debtor.

          (b)      Additional Documents

          On or before the Effective Date, the Debtor may file with the Bankruptcy Court such agreements
 and other documents as may be necessary or appropriate to effectuate and further evidence the terms and
 conditions of the Plan. The Debtor or the Reorganized Debtor, as applicable, and all Holders of Claims or
 Interests receiving distributions pursuant to the Plan and all other parties in interest shall, from time to time,
 prepare, execute, and deliver any agreements or documents and take any other actions as may be necessary
 or advisable to effectuate the provisions and intent of the Plan Reservation of Rights.

          (c)      Reservation of Rights

         The Plan shall have no force or effect unless the Bankruptcy Court shall enter the Confirmation
 Order. None of the filing of the Plan, any statement or provision contained in the Plan, or the taking of any
 action by the Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or
 shall be deemed to be an admission or waiver of any rights of the Debtor with respect to the Holders of
 Claims or Interests prior to the Effective Date.

          (d)      Successor and Assigns

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding
 on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
 director, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

          (e)      Service of Documents

         After the Effective Date, any pleading, notice, or other document required by the Plan to be served
 on or delivered to the Reorganized Debtor shall be served on:

                            Debtor                                             Counsel to the Debtor


                                                        77
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                   Document    Page 78 of 446



   CorEnergy Infrastructure Trust, Inc.                   Husch Blackwell LLP
   Attn: Chris Reitz                                      4801 Main Street, Suite 1000
   1100 Walnut St., Kansas City, MO 64106                 Kansas City, MO 64112-2551
   E-mail: creitz@corenergy.reit                          Attn:
                                                          Mark T. Benedict and
                                                          John J. Cruciani
                                                          Email:
                                                          mark.benedict@huschblackwell.com
                                                          john.cruciani@huschblackwell.com




                Office of United States Trustee                  Counsel to the Ad Hoc Noteholder Group
   Office of United States Trustee for Region 13          Faegre Drinker Biddle & Reath LLP
                                                          1177 Avenue of the Americas, 41st              Floor
                                                          New York, New York 10036, USA
                                                          Attn:
                                                          James H. Millar and
                                                          Laura E. Appleby
                                                          Email:
                                                          james.millar@faegredrinker.com
                                                          laura.appleby@faegredrinker.com

        After the Effective Date, the Reorganized Debtor has authority to send a notice to Entities informing
 them that, in order to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a
 renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the
 Reorganized Debtor is authorized to limit the list of Entities receiving documents pursuant to Bankruptcy
 Rule 2002 to those Entities who have filed such renewed requests.

          (f)      Term of Injunction or Stays

         Unless otherwise provided herein, in the Confirmation Order, all injunctions or stays in effect
 in the Chapter 11 Case (pursuant to Sections 105 or 362 of the Bankruptcy Code or any order of the
 Bankruptcy Court) and existing on the Confirmation Date (excluding any injunctions or stays
 contained in the Plan, the Confirmation Order) shall remain in full force and effect until the Effective
 Date. All injunctions or stays contained in the Plan, the Confirmation Order shall remain in full force
 and effect in accordance with their terms.

          (g)      Entire Agreement

         Except as otherwise indicated or as set forth in the Restructuring Support Agreement, the Plan
 supersedes all previous and contemporaneous negotiations, promises, covenants, agreements,
 understandings, and representations on such subjects, all of which have become merged and integrated into
 the Plan.

          (h)      Plan Supplement

         All exhibits and documents included in the Plan Supplement are incorporated into and are a part of
 the Plan as if set forth in full in the Plan. Except as otherwise provided in the Plan, such exhibits and
 documents included in the Plan Supplement shall be filed with the Bankruptcy Court on or before the Plan
 Supplement Filing Date, consistent with the Restructuring Support Agreement. After the exhibits and

                                                     78
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 79 of 446



 documents are filed, copies of such exhibits and documents shall have been available upon written request
 to the Debtor’s counsel at the address above or by downloading such exhibits and documents from the
 Notice and Claims Agent’s website at https://cases.stretto.com/corenergy or the Bankruptcy Court’s
 website at www.mow.uscourts.gov/bankruptcy.

          (i)      Non-Severability

           If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be
 invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
 or provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
 purpose of the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
 then be applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation,
 the remainder of the terms and provisions of the Plan will remain in full force and effect and will in no way
 be affected, impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order
 shall constitute a judicial determination and shall provide that each term and provision of the Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is: (a) valid and enforceable pursuant
 to its terms; (b) integral to the Plan and consistent with the terms set forth herein; and (c) nonseverable and
 mutually dependent.

          (j)      Votes Solicited in Good Faith

         Upon entry of the Confirmation Order, the Debtor will be deemed to have solicited votes on the
 Plan in good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to section
 1125(e) of the Bankruptcy Code, the Debtor, and its respective Affiliates, agents, representatives, members,
 principals, shareholders, officers, trustees, directors, employees, advisors, and attorneys will be deemed to
 have participated in good faith and in compliance with the Bankruptcy Code in the offer, issuance, sale,
 and purchase of Securities offered and sold under the Plan and any previous plan, and, therefore, neither
 any of such parties or individuals or the Reorganized Debtor will have any liability for the violation of any
 applicable law, rule, or regulation governing the solicitation of votes on the Plan or the offer, issuance, sale,
 or purchase of the Securities offered and sold under the Plan and any previous plan.

          (k)      Dissolution of Statutory Committees and Cessation of Fee and Expense Payment

         On the Effective Date, any Statutory Committee appointed in the Chapter 11 Case shall dissolve
 automatically and the members thereof shall be released and discharged from all rights and duties arising
 from, or related to, the Chapter 11 Case, except with respect to final fee applications of the Retained
 Professionals and any consent or consultation rights of the Statutory Committee that remain applicable after
 the Effective Date. The Reorganized Debtor shall not be responsible for paying any fees or expenses
 incurred by the members or Retained Professionals of any Statutory Committee or any other statutory
 committee appointed in the Chapter 11 Case after the Effective Date except with respect to any consent or
 consultation rights of any Statutory Committee that remain applicable after the Effective Date.

          (l)      Closing of Chapter 11 Case

         The Reorganized Debtor shall, promptly after the full administration of the Chapter 11 Case, File
 with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of
 the Bankruptcy Court to close the Chapter 11 Case.

          (m)      Waiver or Estoppel

          Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any

                                                        79
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                    Document    Page 80 of 446



 argument, including the right to argue that its Claim or Interest should be Allowed in a certain amount, in
 a certain priority, secured or not subordinated by virtue of an agreement made with the Debtor or its counsel,
 or any other Entity, if such agreement was not disclosed in the Plan, the Disclosure Statement, the
 Restructuring Support Agreement, or papers.

                                          ARTICLE VI
                               EVENTS DURING THE CHAPTER 11 CASE

 6.1      Commencement of the Chapter 11 Case and Filing of First Day Motions

          In accordance with the Restructuring Support Agreement, CorEnergy filed a voluntary petition for
 relief under Chapter 11 of the Bankruptcy Code on February 25, 2024 (the “Petition Date”). The filing of
 the petition commenced the Chapter 11 Case, at which time the Debtor was afforded the benefits, and
 became subject to the limitations, of the Bankruptcy Code. The Debtor intends to continue to operate its
 business in the ordinary course consistent with past practices and subject to and in accordance with the terms
 and conditions of the Restructuring Support Agreement during the pendency of the Chapter 11 Case as it
 had prior to the Petition Date.

         To allow for a smooth transition into Chapter 11, the Debtor filed, on the Petition Date, various
 motions (the “First Day Motions”) seeking relief from the Bankruptcy Court. The First Day Motions will
 ensure a seamless transition between the Debtor’s prepetition and postpetition business operations, facilitate
 a smooth reorganization through the Chapter 11 Case, and minimize any disruptions to the Debtor’s
 operations. The First Day Motions, and all orders for relief entered in the Chapter 11 Case will be available
 upon the filing, and can be viewed free of charge at https://cases.stretto.com/corenergy.

         The following is a brief overview of the relief sought in the First Day Motions to enable the Debtor
 to maintain its operations in the ordinary course.

          (a)      Cash Management System

         The Debtor maintains a cash management system designed to receive and distribute cash. On the
 Petition Date, the Debtor sought authority from the Bankruptcy Court to continue the use of its existing
 cash management system, bank accounts, and related business forms to avoid a disruption in the Debtor’s
 operations and facilitate the efficient administration of the Chapter 11 Case.

          (b)      Employee Wages and Benefits

          The Debtor’s business relies upon various employees. To minimize the uncertainty and potential
 distractions associated with the Chapter 11 Case and the potential disruption of the Debtor’s operations
 resulting therefrom, the Debtor filed, on the Petition Date, a motion seeking authority from the Bankruptcy
 Court to continue to honor its obligations to its workforce in the ordinary course of business, including: (i)
 the payment of pre- and postpetition wages, salaries, and reimbursable employee expenses, if any; (ii) the
 payment of pre- and postpetition accrued and unpaid employee benefits; and (iii) the continuation of certain
 of the Debtor’s benefit and incentive programs and policies and other workforce programs.

          (c)      Utilities

          In connection with the operation of its business, CorEnergy uses certain utilities. Most, but not all
 the utilities are provided as part of the lease, and CorEnergy has no contract with the utility providers.
 CorEnergy separately uses telephone and internet, but CorEnergy does not directly contract with the
 relevant utility providers. CorEnergy is a party to an administrative services agreement with a subsidiary,

                                                      80
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 81 of 446



 Corridor Infratrust Management, LLC, pursuant to which the subsidiary entered into the necessary contracts
 with utility providers. Historically, the subsidiary paid such service providers and was then paid by
 CorEnergy. However, for the last several years, CorEnergy has paid all such providers directly, although
 the contract remains with the subsidiary. Thus, CorEnergy has not filed and does not anticipate needing to
 file a motion with respect to utility service providers.

          (d)      Taxes

         Because of its status as a REIT and because of its organizational structure, CorEnergy does not
 regularly pay taxes, fees, or similar charges and assessments to taxing, regulatory, or other governmental
 authority in the ordinary. Accordingly, CorEnergy has not filed and does not anticipate needing to file a
 motion with respect to the payment of pre-petition taxes.

 6.2      Combined Hearing, Solicitation Procedures, and Proposed Confirmation Schedule

          The Debtor anticipates filing, in the near term, a motion (the “Disclosure Statement Motion”)
 requesting that the Bankruptcy Court, among other things, (a) schedule a hearing to consider the adequacy
 of the Disclosure Statement on a final basis and confirmation of the Plan, (b) approve the Debtor’s proposed
 solicitation procedures with respect to the Plan and this Disclosure Statement, (c) approve the form and
 manner of notices, and (d) conditionally approve the Disclosure Statement. The Debtor anticipates that
 notice of the Combined Hearing will be published and mailed to all known Holders of Claims and Interests
 at least 28 days before the date by which objections to Confirmation must be filed with the Bankruptcy
 Court.

         The Restructuring Support Agreement requires that the Debtor proceed in accordance with the
 Milestones, including securing confirmation of the Plan by no later than 11:59 p.m. (EST) on June 10, 2024.
 Although the Debtor will request that the Bankruptcy Court approve the timetable set forth in the
 Restructuring Support Agreement, there can be no assurance that the Bankruptcy Court will grant such
 relief. Achieving the various Milestones under the Restructuring Support Agreement is crucial to
 maintaining the support of the Ad Hoc Noteholder Group and reorganizing the Debtor successfully.

 6.3      Other Procedural Motions

          (a)      Ordinary Course Professionals

         As of the Petition Date, the Debtor employed various professionals in the ordinary course of
 business, consisting of various law firms, attorneys, auditors, tax professionals, and other non-attorney
 professionals. The Debtor anticipates filing, in the near term, a motion to authorize the retention of those
 professionals in the ordinary course.

 6.4      Retention and Compensation of Professionals

          To assist the Debtor in carrying out its duties as debtor in possession and to otherwise represent the
 Debtor’s interests in this Chapter 11 Case, the Debtor has filed or will file applications to retain and employ
 the following advisors: (a) Husch Blackwell LLP and Stinson LLP, as counsel to the Debtor; (b) Miller
 Buckfire, Teneo Capital LLC, and KPMG as financial advisors; and (c) Ernst & Young LLP, as accountant
 to the Debtor.

          (a)      Restructuring Expenses

          Most of the Professionals will seek compensation for the time based on the time spent in connection

                                                       81
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                   Desc Main
                                   Document    Page 82 of 446



 with the Chapter 11 Case. Certain Professionals, however, are entitled to certain fees in connection with
 the consummation of the Restructuring Transactions. The chart below summarizes the types of
 compensation each Professional may be entitled to, including success fees, and, where able, provides the
 estimated amount of such compensation:

               Professional               Hourly          Monthly Flat      Transaction        Financing
                                        Compensation         Fee            Success Fee           Fee

  Estate’s Professionals

  Husch Blackwell LLP                         Yes               No               No               No

  Stinson LLP                                 Yes               No               No               No

  Miller Buckfire                              No              Yes              Yes              Yes
                                                             $100,000        $2,900,000        $100,000
  Teneo Capital LLC                           Yes               No               No               No

  KPMG LLP                                    Yes               No               No               No

  Ernst & Young LLP                           Yes               No               No               No

  Creditor’s Professionals

  Faegre Drinker Biddle & Reath LLP           Yes               No               No               No

  Spencer Fane LLP                            Yes               No               No               No

  Perella Weinberg Partners LP                 No              Yes              Yes               Yes
                                                             $125,000        $2,125,000           $0

                                         ARTICLE VII
                              CERTAIN FACTORS TO BE CONSIDERED

      PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN, ALL HOLDERS OF
 CLAIMS AND INTERESTS THAT ARE ENTITLED TO VOTE ON THE PLAN SHOULD READ
 AND CAREFULLY CONSIDER THE FACTORS SET FORTH HEREIN, AS WELL AS ALL
 OTHER INFORMATION SET FORTH OR OTHERWISE REFERENCED IN THIS
 DISCLOSURE STATEMENT.

      ALTHOUGH THESE RISK FACTORS ARE MANY, THESE FACTORS SHOULD NOT
 BE REGARDED AS CONSTITUTING THE ONLY RISKS PRESENT IN CONNECTION WITH
 THE DEBTOR’S BUSINESS OR THE PLAN AND ITS IMPLEMENTATION.

 7.1      General

          The following provides a summary of various important considerations and risk factors associated
 with the Plan; however, it is not exhaustive. In considering whether to vote to accept or reject the Plan,
 Holders of Claims and Interests should read and carefully consider the factors set forth below, as well as
 all other information (in the factors) set forth or otherwise incorporated by reference in this Disclosure
 Statement, including in documents filed with the SEC by CorEnergy.


                                                    82
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                     Document    Page 83 of 446



 7.2      Risks Relating to the Plan and Other Bankruptcy Law Considerations

          (a)      The Debtor Cannot Predict the Amount of Time Spent in Bankruptcy for the Purpose
                   of Implementing the Plan, and a Lengthy Bankruptcy Proceeding Could Disrupt the
                   Debtor’s Business, as Well as Impair the Prospect for Reorganization on the Terms
                   Contained in the Plan

          The Debtor estimates that the process of obtaining Confirmation of the Plan by the Bankruptcy
 Court will last approximately 105 days from the Petition Date and that Consummation will occur between
 15 and 30 days thereafter, but it could last considerably longer if, for example, Confirmation is contested
 or the conditions to Confirmation or Consummation are not satisfied or waived.

         Although the Plan is designed to minimize the length of the Chapter 11 Case, it is impossible to
 predict with certainty the amount of time that the Debtor may spend in bankruptcy, and the Debtor cannot
 be certain that the Plan will be confirmed. Even if confirmed on a timely basis, the pendency of the
 bankruptcy proceeding could itself have an adverse effect on the Debtor’s business. There is a risk, due to
 uncertainty about the Debtor’s future that, among other things:

                   •     employees could be distracted from performance of their duties or more easily attracted
                         to other career opportunities; and

                   •     suppliers, vendors, customers, or other business partners could attempt to terminate
                         their relationship with the Debtor or demand financial assurances or enhanced
                         performance, any of which could impair the Debtor’s prospects.

        A lengthy bankruptcy proceeding also would involve additional expenses and divert the attention
 of management from the operation of the Debtor’s business.

         Also, the Debtor will need the prior approval of the Bankruptcy Court for transactions outside the
 ordinary course of business, which may limit the Debtor’s ability to respond timely to certain events or take
 advantage of certain opportunities. Because of the risks and uncertainties associated with the Chapter 11
 Case, the Debtor cannot accurately predict or quantify the ultimate impact of events that occur during the
 Chapter 11 Case that may be inconsistent with the Debtor’s plans.

         The disruption that the bankruptcy process would have on the Debtor’s business could increase
 with the length of time it takes to complete the Chapter 11 Case. If the Debtor is unable to obtain
 Confirmation of the Plan on a timely basis, because of a challenge to the Plan or otherwise, the Debtor may
 be forced to operate in bankruptcy for an extended period of time while it tries to develop a different plan
 of reorganization that can be confirmed. A protracted bankruptcy case could increase both the probability
 and the magnitude of the adverse effects described above.

          (b)      Risk of Non-Occurrence of the Effective Date

          There can be no assurance as to the timing for achieving the Effective Date or even as to whether the
 Effective Date will, in fact, occur. As more fully set forth in Article IX of the Plan, the occurrence of the
 Effective Date of the Plan is subject to a number of conditions precedent. If such conditions precedent are
 not waived or met, the Effective Date will not occur and the Plan will not be Consummated, and then any
 order entered by the Bankruptcy Court confirming the Plan may be vacated—in which event, no
 distributions would be made under the Plan, the Debtor and all holders of Claims and Interests would be
 restored to the status quo ante as of the day immediately preceding the Confirmation Date, and the Debtor’s
 obligations with respect to claims and interests would remain unchanged.
                                                        83
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                    Document    Page 84 of 446



          (c)      If the Debtor Does Not Complete the Restructuring Transactions, it May Seek
                   Restructuring Alternatives That Result in Less Value to Holders of Claims and
                   Interests Than They Would Receive Pursuant to the Plan

          If the Debtor does not consummate the Restructuring Transactions, it may pursue an alternative
 plan or plans of reorganization. There can be no assurance that the Debtor would be able to effect any such
 alternative plan of reorganization or that any such alternative plan of reorganization would be on terms as
 favorable to the Holders of Claims and Interests as the terms of the restructuring pursuant to the Plan. In
 addition, the Debtor’s creditors may take certain legal actions against the Debtor, which could include
 foreclosure or liquidation of the Debtor’s assets. If a liquidation or protracted reorganization of the Debtor
 were to occur, there is a substantial risk that the value of the Debtor’s assets (and ultimately the value of
 the Debtor) would be eroded to the detriment of all stakeholders.

          (d)      The Bankruptcy Court May Dismiss the Chapter 11 Case

         Certain parties in interest may contest the Debtor’s authority to commence and/or prosecute the
 Chapter 11 Case. If, pursuant to any such proceeding, the Bankruptcy Court finds that the Debtor could not
 commence the Chapter 11 Case for any reason, the Debtor may be unable to Consummate the transactions
 contemplated by the Restructuring Support Agreement and the Plan. If the Chapter 11 Case is dismissed,
 the Debtor may be forced to cease operations due to insufficient funding and/or liquidate its business in
 another forum to the detriment of all parties in interest.

          (e)      A Holder of a Claim or Interest May Object to, and the Bankruptcy Court May
                   Disagree with, the Debtor’s Classification of Claims and Interests

          Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity interest
 in a particular class only if such claim or equity interest is substantially similar to the other claims or equity
 interests in such class. The Debtor believes that the classification of Claims and Interests under the Plan
 complies with the requirements set forth in the Bankruptcy Code because the Classes of Claims and Interests
 are substantially similar to the other Claims and Interests in each such Class. A Holder of a Claim or Interest
 could, however, challenge the Debtor’s classification. In such an event, the cost of the Chapter 11 Case and
 the time needed to confirm the Plan may increase, and there can be no assurance that the Bankruptcy Court
 will agree with the Debtor’s classification. If the Bankruptcy Court concludes that the classification of
 Claims and Interests under the Plan does not comply with the requirements of the Bankruptcy Code, the
 Debtor may need to modify the Plan (subject to the terms of the Restructuring Support Agreement). Such
 modification could require re-solicitation of votes on the Plan. The Plan may not be confirmed if the
 Bankruptcy Court determines that the Debtor’s classification of Claims and Interests is not appropriate.

          (f)      The Debtor May Not Be Able to Satisfy the Voting Requirements for Confirmation
                   of the Plan

           If votes are received in number and amount sufficient to enable the Bankruptcy Court to confirm
 the Plan, the Debtor may seek Confirmation as promptly as practicable thereafter. If the Plan does not
 receive the required support from Class 4 or Class 5, the Debtor may elect to, among other things, amend
 the Plan, seek an alternative restructuring transaction under Chapter 11 of the Bankruptcy Code, or seek to
 sell its assets pursuant to Section 363 of the Bankruptcy Code. There can be no assurance that the terms of
 any such alternative Chapter 11 plan or sale pursuant to Section 363 of the Bankruptcy Code would be
 similar or as favorable to the Holders of Allowed Claims and Allowed Interests as the Restructuring
 Transactions contemplated by the Plan.



                                                        84
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 85 of 446



          (g)      The Support of the Ad Hoc Noteholder Group is Subject to the Terms of the
                   Restructuring Support Agreement Which is Subject to Termination in Certain
                   Circumstances, and the Termination of the Restructuring Support Agreement Could
                   Adversely Affect the Chapter 11 Case

         Pursuant to the Restructuring Support Agreement, the Ad Hoc Noteholder Group has agreed to
 support the Restructuring Transactions set forth in the Plan. The Restructuring Support Agreement contains
 provisions that give the Debtor and the Ad Hoc Noteholder Group the ability to terminate the Restructuring
 Support Agreement if certain conditions are not satisfied or waived, including the failure to achieve certain
 milestones. Accordingly, the Restructuring Support Agreement may be terminated after the date of this
 Disclosure Statement, and such a termination would present a material risk to Confirmation and/or
 Consummation of the Plan because the Plan may no longer have the support of creditors holding Claims in
 number and amount sufficient to obtain Confirmation the Plan. Termination of the Restructuring Support
 Agreement could result in a protracted Chapter 11 Case, which could significantly and detrimentally impact
 the Debtor and its relationships with vendors, employees, customers, and other business partners or
 potentially the conversion of the Chapter 11 Case into a case under Chapter 7 of the Bankruptcy Code.

          (h)      The Debtor May Not be Able to Obtain Confirmation of the Plan

           The Debtor cannot assure you that the Plan will be confirmed by the Bankruptcy Court. Section
 1129 of the Bankruptcy Code, which sets forth the requirements for confirmation of a plan of
 reorganization, requires, among other things, a finding by the Bankruptcy Court that the plan of
 reorganization is “feasible,” that all claims and interests have been classified in compliance with the
 provisions of Section 1122 of the Bankruptcy Code, and that, under the plan of reorganization, each holder
 of a claim or interest within each impaired class either accepts the plan of reorganization or receives or
 retains cash or property of a value, as of the date the plan of reorganization becomes effective, that is not
 less than the value such holder would receive or retain if the debtor were liquidated under Chapter 7 of the
 Bankruptcy Code. Although the Debtor has entered into the Restructuring Support Agreement with certain
 of its creditors, including in the aggregate, more than 90% in principal amount of Senior Notes, to support
 the Plan, the Debtor may not receive the requisite acceptances of constituencies in the Chapter 11 Case to
 confirm the Plan. Even if all voting classes vote in favor of the Plan or the Bankruptcy Code requirements
 for “cramdown” are met with respect to any class that voted to reject or was deemed to reject the Plan, the
 Bankruptcy Court, which may exercise its substantial discretion as a court of equity, may choose not to
 confirm the Plan. The precise requirements and evidentiary showing for confirming a plan, notwithstanding
 its rejection by one or more impaired classes of claims or equity interests, depends upon a number of factors
 including, without limitation, the status and seniority of the claims or equity interests in the rejecting class
 (i.e., secured claims or unsecured claims or subordinated or senior claims). With respect to impaired classes
 of claims or interests that do not accept a plan of reorganization, Section 1129(b) of the Bankruptcy Code
 requires such plan be fair and equitable (including, without limitation, compliance with the “absolute
 priority rule”) and not discriminate unfairly with respect to such classes. There can be no assurance that the
 Bankruptcy Court will conclude that the feasibility test and other requirements of Section 1129 of the
 Bankruptcy Code (including, without limitation, finding that the Plan satisfies the “new value” exception
 to the absolute priority rule, if applicable) have been met with respect to the Plan. If and when the Plan is
 filed with the Bankruptcy Court, there can be no assurance that modifications to the Plan would not be
 required in order to obtain Confirmation, or that such modifications would not require a re-solicitation of
 votes on the Plan.

         The Bankruptcy Court could also fail to approve this Disclosure Statement, which would extend
 the timeline for confirming the Plan and emerging from Chapter 11.

          If the Plan is not confirmed, the Chapter 11 Case may be converted into a case under Chapter 7 of
                                                       85
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                     Document    Page 86 of 446



 the Bankruptcy Code, pursuant to which a trustee would be appointed or elected to liquidate the Debtor’s
 assets for distribution in accordance with the priorities established by the Bankruptcy Code. A discussion
 of the effects that a Chapter 7 liquidation would have on the recoveries of Holders of Claims and Interests
 and the Debtor’s analysis thereof are set forth in the unaudited Liquidation Analysis, attached hereto as
 Exhibit D. The Debtor believes that liquidation under Chapter 7 of the Bankruptcy Code would result in,
 among other things, smaller distributions being made to Holders of Claims and Interests than those provided
 for in the Plan because of:

                   •     the potential absence of a market for the Debtor’s assets on a going concern basis;

                   •     additional administrative expenses involved in the appointment of a Chapter 7 trustee;
                         and

                   •     additional expenses and Claims, some of which would be entitled to priority, that
                         would be generated during the liquidation and from the rejection of Unexpired Leases
                         and other Executory Contracts in connection with a cessation of the Debtor’s
                         operations.

          If the Plan is not confirmed by the Bankruptcy Court, it is unclear whether the Debtor would be
 able to reorganize its business and what, if anything, Holders of Claims against the Debtor would ultimately
 receive with respect to their Claims under a subsequent plan of reorganization (or liquidation).

          Even if the Plan is confirmed by the Bankruptcy Court, it may not become effective because it is
 subject to the satisfaction of certain conditions precedent (some of which are beyond the Debtor’s control)
 and, thus, the satisfaction of these conditions cannot be assured. If one or more conditions is not satisfied,
 emergence from the Chapter 11 Case could be (a) delayed or (b) compromised altogether. If emergence is
 delayed, the Debtor may not have sufficient cash available to operate its business. In that case, the Debtor
 may need new or additional post-petition financing, and there is no certainty that such financing will be
 obtainable. If, alternatively, the failure to satisfy one or more of these conditions renders the Debtor unable
 to successfully reorganize, it may not be able to continue its operations.

          (i)      The Debtor May Object to the Amount or Classification of a Claim

           Except as otherwise provided in the Plan, the Debtor reserves the right to object to the amount or
 classification of any Claim under the Plan. The estimates set forth in this Disclosure Statement cannot be
 relied upon by any Holder of a Claim where such Claim is subject to an objection. Any Holder of a Claim
 that is subject to an objection thus may not receive its expected share of the estimated distributions described
 in this Disclosure Statement.

          (j)      Contingencies Could Affect Votes of Impaired Classes to Accept or Reject the Plan

          The distributions available to Holders of Allowed Claims under the Plan can be affected by a variety
 of contingencies, including, without limitation, whether the Bankruptcy Court orders certain Allowed
 Claims to be subordinated to other Allowed Claims and Allowed Interests. The occurrence of any and all
 such contingencies, which could affect distributions available to Holders of Allowed Claims and Allowed
 Interests under the Plan, will not affect the validity of the vote taken by the Impaired Classes to accept or
 reject the Plan or require any sort of revote by the Impaired Classes.

          (k)      Nonconsensual Confirmation

          In the event that any impaired class of claims or interests does not accept a Chapter 11 plan, a
                                                        86
  HB: 4863-9936-1961.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                  Document    Page 87 of 446



 bankruptcy court may nevertheless confirm a plan at the proponents’ request if at least one impaired class
 (as defined under Section 1124 of the Bankruptcy Code) has accepted the plan (with such acceptance being
 determined without including the vote of any “insider” in such class), and, as to each impaired class that
 has not accepted the plan, the Bankruptcy Court determines that the plan “does not discriminate unfairly”
 and is “fair and equitable” with respect to the dissenting impaired class(es). The Debtor believes that the
 Plan satisfies these requirements, and the Debtor may request such nonconsensual Confirmation in
 accordance with Subsection 1129(b) of the Bankruptcy Code. Nevertheless, there can be no assurance that
 the Bankruptcy Court will reach this conclusion. In addition, the pursuit of nonconsensual Confirmation or
 Consummation of the Plan may result in, among other things, increased expenses relating to professional
 compensation.

          (l)      Continued Risk Upon Confirmation

         Even if the Plan is consummated, the Debtor will continue to face a number of risks, including
 certain risks that are beyond its control, such as further deterioration or other changes in economic
 conditions, further disruptions to the industry and the global economy, changes in the industry, potential
 revaluing of its assets due to the Chapter 11 Case, and increasing expenses.

          (m)      Contingencies May Affect Distributions to Holders of Allowed Claims

          The distributions available to Holders of Allowed Claims under the Plan can be affected by a variety
 of contingencies, including, without limitation, whether the Bankruptcy Court orders certain Allowed
 Claims to be subordinated to other Allowed Claims. The occurrence of any and all such contingencies,
 which could affect distributions available to Holders of Allowed Claims under the Plan, will not affect the
 validity of the vote taken by the Impaired Classes to accept or reject the Plan or require any sort of revote
 by the Impaired Classes.

          (n)      Even if the Debtor Receives All Necessary Acceptances for the Plan to Become
                   Effective, the Debtor May Fail to Meet All Conditions Precedent to Effectiveness of
                   the Plan

         Although the Debtor believes that the Effective Date would occur shortly after the Confirmation
 Date, there can be no assurance as to such timing. The Confirmation process could be subject to numerous,
 unanticipated potential delays, including a delay in the Bankruptcy Court’s commencement of the
 Combined Hearing regarding the Plan.

         The Confirmation and Consummation of the Plan are subject to certain conditions that may or may
 not be satisfied. The Debtor cannot assure you that all requirements for Confirmation and effectiveness
 required under the Plan will be satisfied. If each condition precedent to Confirmation is not met or waived,
 the Plan will not be confirmed, and if each condition precedent to consummation is not met or waived, the
 Effective Date will not occur. In the event that the Plan is not confirmed or is not consummated, the Debtor
 may seek Confirmation of an alternative plan of reorganization.

          (o)      Parties May Object to the Plan on Account of the Debtor Releases, Third-Party
                   Releases, Exculpations, or Injunction Provisions

         Article VIII of the Plan provides for certain releases, injunctions, and exculpations, including a
 release of liens and third-party releases that may otherwise be asserted against the Debtor, Reorganized
 Debtor, or Released Parties, as applicable. The releases, injunctions, and exculpations provided in the Plan
 are subject to objection by parties in interest and may not be approved. If the releases are not approved,
 certain Released Parties may withdraw their support for the Plan.
                                                      87
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                   Document    Page 88 of 446



         The releases provided to the Released Parties and the exculpation provided to the Exculpated
 Parties is necessary to the success of the Debtor’s reorganization because the Released Parties and
 Exculpated Parties have made significant contributions to the Debtor’s reorganizational efforts that are
 important to the success of the Plan and have agreed to make further contributions. The Plan’s release and
 exculpation provisions are an inextricable component of the Restructuring Support Agreement and Plan
 and the significant deleveraging and financial benefits that they embody.

         Any party in interest could object to the releases set forth in the Plan. Although the Debtor would
 oppose any such objection, in response to such an objection, the Bankruptcy Court could determine that
 these provisions are not valid under the Bankruptcy Code. If the Bankruptcy Court makes such a
 determination, the Plan could not be confirmed without modifying the Plan to alter or remove the applicable
 provision, with the consent of the parties to the Restructuring Support Agreement in accordance with the
 Restructuring Support Agreement. This determination could result in substantial delay in Confirmation of
 the Plan, the Plan not being confirmed at all, the loss of support for the Plan from the parties to the
 Restructuring Support Agreement, or certain Released Parties may withdraw their support for the Plan.

          (p)      The Debtor May Seek to Amend, Waive, Modify, or Withdraw the Plan at Any Time
                   Prior to Confirmation

          The Debtor reserves the right, in accordance with the Bankruptcy Code, the Bankruptcy Rules, and
 the Restructuring Support Agreement, and consistent with the terms of the Plan, to amend the terms of the
 Plan or waive any conditions thereto if and to the extent such amendments or waivers are consistent with
 the terms of the Restructuring Support Agreement necessary or desirable to consummate the Plan. The
 potential impact of any such amendment or waiver on the Holders of Claims and Interests cannot presently
 be foreseen but may include a change in the economic impact of the Plan on some or all of the proposed
 Classes or a change in the relative rights of such Classes. All Holders of Claims and Interests will receive
 notice of such amendments or waivers required by applicable law and the Bankruptcy Court. If, after
 receiving sufficient acceptances, but prior to Confirmation of the Plan, the Debtor seeks to modify the Plan,
 the previously solicited acceptances will be valid only if (1) all classes of adversely affected creditors and
 interest Holders accept the modification in writing, or (2) the Bankruptcy Court determines, after notice to
 designated parties, that such modification was de minimis or purely technical or otherwise did not adversely
 change the treatment of Holders of accepting Claims and Interests or is otherwise permitted by the
 Bankruptcy Code.

          (q)      The Plan May Have Material Adverse Effects on the Debtor’s Operations

         The solicitation of acceptances of the Plan and commencement of the Chapter 11 Case could
 adversely affect the relationships between the Debtor and its respective customers, employees, partners,
 and other parties. Such adverse effects could materially impair the Debtor’s operations.

          (r)      Other Parties in Interest Might Be Permitted to Propose Alternative Plans of
                   Reorganization That May Be Less Favorable to Certain of the Debtor’s
                   Constituencies Than the Plan

         Other parties in interest could seek authority from the Bankruptcy Court to propose an alternative
 plan of reorganization to the Plan. Under the Bankruptcy Code, a debtor in possession initially has the
 exclusive right to propose and solicit acceptances of a plan of reorganization for a period of one hundred
 twenty (120) days from the Petition Date. However, such exclusivity period can be reduced or terminated
 upon order of the Bankruptcy Court. If such an order were entered, parties in interest other than the Debtor
 would then have the opportunity to propose alternative plans of reorganization.


                                                      88
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 89 of 446



         If another party in interest proposed an alternative plan of reorganization following expiration or
 termination of the Debtor’s exclusivity period, such a plan may be less favorable to existing Holders of
 Claims and Interests and may seek to exclude such Holders from retaining any equity under their proposed
 plan.

          The Debtor considers maintaining relationships with its stakeholders, customers, and other partners
 as critical to maintaining the value of its enterprise following the Effective Date and has sought to treat
 those constituencies accordingly. However, proponents of alternative plans of reorganization may not share
 the Debtor’s assessments and may seek to impair the Claims or Interests of such constituencies to a greater
 degree. If there were competing plans of reorganization, the Chapter 11 Case likely would become longer,
 more complicated, more litigious, and much more expensive. If this were to occur, or if the Debtor’s
 stakeholders or other constituencies important to the Debtor’s business were to react adversely to an
 alternative plan of reorganization, the adverse consequences discussed in the foregoing Sections also could
 occur.

          (s)      The Debtor’s Business May Be Negatively Affected if the Debtor Is Unable to Assume
                   its Executory Contracts

         An executory contract is a contract as to which performance remains due to some extent by both
 contract parties. The Plan provides for the assumption of all Executory Contracts and Unexpired Leases as
 of the Effective Date, subject to certain exceptions, as set forth in Article 5.01 of the Plan. The Debtor
 intends to preserve as much of the benefit of its existing Executory Contracts and Unexpired Leases as
 possible. However, if the Debtor is unable for any reason to assume its Executory Contracts and Unexpired
 Leases as of the Effective Date, then it would be required to either forego the benefits offered by such
 contracts or to find alternative arrangements to replace them.

          (t)      Material Transactions Could Be Set Aside as Fraudulent Conveyances or Preferential
                   Transfers

          Certain payments received by stakeholders prior to the bankruptcy filing could be challenged under
 applicable debtor/creditor or bankruptcy laws as either a “fraudulent conveyance” or a “preferential
 transfer.” A fraudulent conveyance occurs when a transfer of a debtor’s assets is made with the intent to
 defraud creditors or in exchange for consideration that does not represent reasonably equivalent value to
 the property transferred. A preferential transfer occurs upon a transfer of property of the debtor while the
 debtor is insolvent for the benefit of a creditor on account of an antecedent debt owed by the debtor that
 was made on or within ninety (90) days before the petition date or one year before the petition date, if the
 creditor, at the time of such transfer, was an insider. If any transfer were challenged in the Bankruptcy Court
 and found to have occurred with regard to any of the Debtor’s material transactions, the Bankruptcy Court
 could order the recovery of all amounts received by the recipient of the transfer. Notwithstanding the above,
 the Debtor does not believe it has made any transactions that constitute a fraudulent conveyance, preference,
 or would otherwise be subject to avoidance under the Bankruptcy Code.

          (u)      Certain Tax Implications of the Plan

         Holders of Allowed Claims should carefully review Article X of this Disclosure Statement titled
 “CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN” to determine how the
 tax implications of the Plan and the Chapter 11 Case may affect the Debtor, the Reorganized Debtor, and
 Holders of Claims, as well as certain tax implications of owning and disposing of the consideration to be
 received pursuant to the Plan.

 7.3      Risk Related to the Takeback Debt and Revolving Credit Facility
                                                       89
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 90 of 446



          (a)      Insufficient Cash Flow to Meet Debt Obligations

         The Reorganized Debtor’s ability to make scheduled payments on, or refinance its debt obligations,
 depends on the Reorganized Debtor’s financial condition and operating performance, which are subject to
 prevailing economic, industry, and competitive conditions and to certain financial, business, legislative,
 regulatory, and other factors beyond the Reorganized Debtor’s control. The Reorganized Debtor may be
 unable to maintain a level of cash flow sufficient to permit the Reorganized Debtor to pay the principal,
 premium, if any, and interest on their indebtedness, including, without limitation, borrowings under the
 Takeback Debt and the Revolving Credit Facility.

          (b)      Defects in Collateral

          The indebtedness under the Takeback Debt and the Revolving Credit Facility will be secured,
 subject to certain exceptions and permitted liens, on a first-priority basis by direct or indirect security
 interests in certain of the Reorganized Debtor’s assets, which may be subject to exceptions, defects,
 encumbrances, liens, and other imperfections. It cannot be assured that the remaining proceeds from a sale
 of such collateral would be sufficient to repay holders of the debt under the Takeback Debt and the
 Revolving Credit Facility all amounts owed to them. The fair market value of the such collateral is subject
 to fluctuations based on factors that include, among others, the ability to sell such collateral in an orderly
 manner, general economic conditions, the availability of buyers, the Reorganized Debtor’s failure or
 success to implement their business strategy, and similar factors. The amount received upon a sale would
 be dependent on numerous factors, including the actual fair market value of such collateral at such time,
 and the timing and manner of the sale. By its nature, portions of the collateral may be illiquid and may have
 no readily ascertainable market value. In the event of a subsequent foreclosure, liquidation, bankruptcy, or
 similar proceeding, it cannot be assured that the proceeds from any sale or liquidation of the collateral will
 be sufficient to pay the Reorganized Debtor’s obligations under the Takeback Debt and the Revolving
 Credit Facility, in full or at all. There can also be no assurance that the collateral will be saleable and, even
 if saleable, the timing of its liquidation would be uncertain. Accordingly, there may not be sufficient
 collateral to pay all or any of the amounts due on the Takeback Debt and the Revolving Credit Facility.

          (c)      Failure to Perfect Security Interests in Collateral

          The failure to properly perfect liens on the collateral securing the Takeback Debt and the Revolving
 Credit Facility could adversely affect ability to enforce the respective lender’s rights with respect to the
 Takeback Debt and the Revolving Credit Facility and the collateral under the same. In addition, applicable
 law requires that certain property and rights acquired after the grant of a general security interest or lien can
 only be perfected at the time such property and rights are acquired and identified. There can be no assurance
 that appropriate actions will be taken to perfect a security interest in such future acquired property and
 rights. Such failure may result in the loss of the practical benefits of the liens thereon or of the priority of
 the liens securing the notes against third parties.

          (d)      Any Future Pledge of Collateral Might Be Avoidable in a Subsequent Bankruptcy by
                   the Reorganized Debtor

          Any future pledge of collateral in connection with the Takeback Debt and the Revolving Credit
 Facility, might be avoidable by the pledgor (as a subsequent debtor in possession) or by its trustee in
 bankruptcy if certain events or circumstances exist or occur, including, among others, if the pledgor is
 insolvent at the time of the pledge, the pledge permits the holders of the securities under the Takeback Debt
 and the Revolving Credit Facility to receive a greater recovery than if the pledge had not been given, or a
 bankruptcy proceeding in respect of the pledgor is commenced within 90 days following the pledge, or, in
 certain circumstances, a longer period.
                                                        90
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 91 of 446



 7.4      Risks Relating to the New Common Stock

          (a)      The Reorganized Debtor May Not Be Able to Achieve its Projected Financial Results

          The Reorganized Debtor may not be able to achieve its projected financial results. The Financial
 Projections set forth in this Disclosure Statement represent the Debtor’s management team’s best estimate
 of the Reorganized Debtor’s future financial performance, which is necessarily based on certain
 assumptions regarding the anticipated future performance of the Reorganized Debtor’s operations, as well
 as the United States and world economies in general, and the industry segments in which the Debtor
 operates in particular. While the Debtor believes that the Financial Projections contained in this Disclosure
 Statement are reasonable, there can be no assurance that they will be realized. If the Reorganized Debtor
 does not achieve its projected financial results, the value of the New Common Stock may be negatively
 affected and the Reorganized Debtor may lack sufficient liquidity to continue operating as planned after
 the Effective Date. Moreover, the financial condition and results of operations of the Reorganized Debtor
 from and after the Effective Date may not be comparable to the financial condition or results of operations
 reflected in the Debtor’s historical financial statements.

          (b)      The Plan Exchanges Senior Indebtedness for Securities

          If the Plan is confirmed and consummated, certain Holders of Senior Notes will receive New
 Common Stock, subject to the conditions contained in the Plan. Thus, in agreeing to the Plan, certain of
 such Holders will be consenting to the exchange of their interests in senior debt, which has, among other
 things, a stated interest rate, a maturity date, and a liquidation preference over equity securities, for the New
 Common Stock, which will be subordinate to all future creditor claims.

          (c)      The Implied Valuation of the New Common Stock is Not Intended to Represent
                   Trading Value of the New Common Stock

           The Reorganized Debtor’s valuation is not intended to represent the trading value of the New
 Common Stock in public or private markets and is subject to additional uncertainties and contingencies, all
 of which are difficult to predict. While it is not anticipated that there will be an active trading market for
 the New Common Stock, if a market were to develop, actual market prices of such securities at issuance
 will depend on the following considerations, among other things: (a) prevailing interest rates; (b) conditions
 in the financial markets; (c) the anticipated initial securities holdings of prepetition creditors, some of whom
 may prefer to liquidate their investment rather than hold it on a long-term basis; and (d) other factors that
 generally influence the prices of securities. The actual market price of the New Common Stock may be
 volatile. Many factors, including factors unrelated to the Reorganized Debtor’s actual operating
 performance and other factors not possible to predict, could cause the market price of the New Common
 Stock to rise and fall. Accordingly, the implied value, stated herein and in the Plan, of the securities to be
 issued under the Plan does not reflect, and should not be construed as reflecting, values that will be attained
 for the New Common Stock in the public or private markets.

          (d)      Trading Market for the New Common Stock

         While the Reorganized Debtor intends to apply for the New Common Stock to be quoted on the
 OTC market and to make available to stockholders financial and other information concerning the
 Reorganized Debtor in accordance with applicable OTC rules, there can be no assurance as to the
 development or liquidity of any market for the New Common Stock. The Reorganized Debtor will be under
 no obligation to list the New Common Stock on any national securities exchange. Accordingly, there can
 be no assurance that any market will develop or as to the liquidity of any market that may develop for any
 such securities. If an active trading market for the New Common Stock does not develop or is not
                                                        91
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 92 of 446



 maintained, the market price and the liquidity of these securities will be adversely affected and such Holders
 may not be able to sell their securities at desired times or prices, or at all. In addition, on the date of
 emergence, it is expected that the Reorganized Debtor will not be required under United States securities
 laws to file any reports with the SEC following de-registration of the Common Stock and Preferred Stock
 which may further impair liquidity. Accordingly, holders of the New Common Stock may bear certain risks
 associated with holding securities for an indefinite period of time.

          (e)      Certain Holders of New Common Stock May Be Restricted in Their Ability to
                   Transfer or Sell Their Securities

          The New Common Stock will not be registered under the Securities Act or any state securities laws
 and, subject to the discussion below and in Article IX to this Disclosure Statement entitled “Important
 Securities Law Disclosure,” unless so registered, may not be reoffered or resold except pursuant to an
 exemption from the registration requirements of the Securities Act and applicable state securities laws. The
 Debtor does not intend to register the New Common Stock under the Securities Act or to offer to exchange
 the New Common Stock in an exchange offer registered under the Securities Act. As a result, the New
 Common Stock may be transferred or resold only in transactions exempt from the securities registration
 requirements of federal and applicable state laws. The New Common Stock (other than Securities issuable
 under the Management Incentive Plan) may be resold without registration under the Securities Act or other
 federal or state securities laws pursuant to the exemption provided by Section 4(a)(1) of the Securities Act,
 unless the Holder is an “underwriter” with respect to such securities as discussed further below.

          The New Common Stock issued under the Plan (other than Securities issuable under the
 Management Incentive Plan) may be resold by the Holders thereof without registration under the Securities
 Act unless the Holder is an “underwriter,” as defined in Section 1145(b) of the Bankruptcy Code with
 respect to such securities; provided, however, such securities will not be freely tradeable if, at the time of
 transfer, the Holder is an “Affiliate” of the Reorganized Debtor as defined in Rule 144(a)(1) under the
 Securities Act or had been such an “Affiliate” within 90 days of such transfer. Such Affiliate Holders would
 only be permitted to sell such securities without registration if they are able to comply with an applicable
 exemption from registration, including Rule 144 under the Securities Act. Resales by Holders of Claims
 who receive New Common Stock pursuant to the Plan that are deemed to be “underwriters” would not be
 exempted by Section 1145 of the Bankruptcy Code from registration under the Securities Act or applicable
 law. Such Holders would only be permitted to sell such securities without registration if they are able to
 comply with an applicable exemption from registration, including Rule 144 under the Securities Act. In
 addition, such Holders would need to comply with any transfer requirements set forth in the Governance
 Documents and Shareholder Agreement.

          The Securities issuable under the Management Incentive Plan will be offered, issued, and
 distributed in reliance upon Section 4(a)(2) of the Securities Act or other available exemptions from
 registration under the Securities Act. To the extent that securities issued pursuant to the Plan are not covered
 by Section 1145(a) of the Bankruptcy Code, such securities will be issued pursuant to Section 4(a)(2) under
 the Securities Act and will be deemed “restricted securities” that may not be sold, exchanged, assigned, or
 otherwise transferred unless they are registered, or an exemption from registration applies, under the
 Securities Act. Holders of such restricted securities may not be entitled to have their restricted securities
 registered and will be required to agree not to resell them except in accordance with an available exemption
 from registration under the Securities Act. Under Rule 144 of the Securities Act, the public resale of
 restricted securities is permitted if certain conditions are met, and these conditions vary depending on
 whether the holder of the restricted securities is an “Affiliate” of the issuer, as defined in Rule 144. A non-
 Affiliate who has not been an Affiliate of the issuer during the preceding three months may resell restricted
 securities after a six-month holding period unless certain current public information regarding the issuer is
 not available at the time of sale, in which case the non-Affiliate may resell after a one-year holding period.
                                                       92
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 93 of 446



 An Affiliate may resell restricted securities after a six-month holding period but only if certain current
 public information regarding the issuer is available at the time of the sale and only if the Affiliate also
 complies with the volume, manner of sale, and notice requirements of Rule 144.

          The New Common Stock will not initially be registered under the Securities Act or any state
 securities laws. The Debtor makes no representation regarding the right of any Holder of New Common
 Stock to freely resell the New Common Stock. The Debtor intends to apply for the New Common Stock to
 be quoted on the OTC market and to make available to stockholders financial and other information
 concerning the Reorganized Debtor in accordance with applicable OTC rules. However, there can be no
 assurance that the Debtor will be able to make publicly available the requisite information regarding the
 Debtor required under Rule 144, and, as a result, after the requisite holding period, Rule 144 may not be
 available for resales of the New Common Stock by Persons deemed to be underwriters or affiliates. In
 addition to the transfer restrictions discussed above, such Holders would need to comply with any transfer
 requirements set forth in the New Governance Documents and Shareholder Agreement. See Article IX to
 this Disclosure Statement, titled “Important Securities Law Disclosure.”

          (f)      Certain Significant Holders of New Common Stock May Have Substantial Influence
                   Over the Reorganized Debtor Following the Effective Date

          Assuming that the Effective Date occurs, Holders of Claims who receive distributions representing
 a substantial percentage of the outstanding New Common Stock may be in a position to influence matters
 requiring approval by the Holders of New Common Stock, including, among other things, the approval of
 a change of control of the Reorganized Debtor. If the Plan is confirmed and consummated, Holders of
 Allowed Senior Note Claims will own approximately 86.8-89% of the New Common Stock, subject to
 dilution as set forth in the Plan. The Holders may have interests that differ from those of the other Holders
 of New Common Stock and may vote in a manner adverse to the interests of other Holders of New Common
 Stock. This concentration of ownership may facilitate or may delay, prevent, or deter a change of control
 of the Reorganized Debtor and consequently impact the value of the New Common Stock and the tax
 attributes of the Reorganized Debtor. In addition, a Holder of a significant number of New Common Stock
 may sell all or a large portion of its securities within a short period of time, which sale may adversely affect
 the trading price of the New Common Stock. A Holder of a significant number of New Common Stock
 may, on its own account, pursue acquisition opportunities that may be complementary to the Reorganized
 Debtor’s business, and as a result, such acquisition opportunities may be unavailable to the Reorganized
 Debtor. Such actions by Holders of a significant number of New Common Stock may have a material
 adverse impact on the Reorganized Debtor’s business, financial condition, and operating results.

          (g)      The New Common Stock is Subject to Dilution

          The ownership percentage represented by the New Common Stock distributed on the Effective
 Date under the Plan will be subject to dilution from the issuance of equity under the Management Incentive
 Plan, issuances made by the Reorganized Debtor after the Effective Date and the conversion of any options,
 warrants, convertible securities, exercisable securities or other securities that may be issued post-
 emergence. In the future, similar to all companies, additional equity financings or other share issuances by
 the Reorganized Debtor could adversely affect the value of the New Common Stock. The amount and
 dilutive effect of any of the foregoing could be material.

          (h)      The Debtor’s Financial Projections are Subject to Inherent Uncertainty Due to the
                   Numerous Assumptions Which They Are Based

        The Debtor’s Financial Projections are based on numerous assumptions including: timely
 Confirmation and Consummation pursuant to the terms of the Plan; the anticipated future performance of
                                                       93
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 94 of 446



 the Reorganized Debtor; industry performance; general business and economic conditions; and other
 matters, many of which are beyond the control of the Debtor and some or all of which may not materialize.
 In addition, unanticipated events and circumstances occurring subsequent to the date of this Disclosure
 Statement or subsequent to the date that the Disclosure Statement is approved by the Bankruptcy Court may
 affect the actual financial results of the Debtor’s operations. These variations may be material and may
 adversely affect the ability of the Debtor to make payments with respect to indebtedness following
 Consummation. Because the actual results achieved throughout the periods covered by the projections may
 vary from the projected results, the projections should not be relied upon as an assurance of the actual
 results that will occur. Except with respect to the projections and except as otherwise specifically and
 expressly stated, the Disclosure Statement does not reflect any events that may occur subsequent to the date
 of the Disclosure Statement. Such events may have a material impact on the information contained in the
 Disclosure Statement. The Debtor does not intend to update the projections and therefore the projections
 will not reflect the impact of any subsequent events not already accounted for in the assumptions underlying
 the projections.

 7.5      Risks Relating to the Business of the Debtor and the Reorganized Debtor

          (a)      The Reorganized Debtor May Not Be Able to Repay or Refinance All of its Post-
                   Effective Date Indebtedness, if Any

         The Reorganized Debtor’s ability to repay or refinance its post-Effective Date debt obligations, if
 any, depends on the Reorganized Debtor’s financial condition and operating performance, which are subject
 to prevailing economic, industry, and competitive conditions and to certain financial, business, legislative,
 regulatory, and other factors beyond the Reorganized Debtor’s control. The Reorganized Debtor may be
 unable to maintain a level of Cash flow from sufficient to permit the Reorganized Debtor to repay or
 refinance its post-Effective Date indebtedness.

          (b)      Operating in Bankruptcy for a Long Period of Time May Harm the Debtor’s or the
                   Reorganized Debtor’s Business

          The Debtor’s and the Reorganized Debtor’s future results will be dependent upon the successful
 confirmation and implementation of the Plan. A long period of operations under Bankruptcy Court
 protection could have a material adverse effect on the Debtor’s and the Reorganized Debtor’s business,
 financial condition, results of operations, and liquidity. So long as the proceedings related to the Chapter
 11 Case continue, senior management will be required to spend a significant amount of time and effort
 dealing with the reorganization instead of focusing exclusively on business operations. A prolonged period
 of operating under Bankruptcy Court protection also may make it more difficult to retain management and
 other key personnel necessary to the success and growth of the Debtor’s and the Reorganized Debtor’s
 business. In addition, the longer the proceedings related to the Chapter 11 Case continue, the more likely it
 is that customers and suppliers will lose confidence in the Debtor’s ability to reorganize its business
 successfully and will seek to establish alternative commercial relationships.

          So long as the proceedings related to the Chapter 11 Case continue, the Debtor may be required to
 incur substantial costs for professional fees and other expenses associated with the administration of the
 Chapter 11 Case. If the Chapter 11 Case lasts longer than anticipated, the Debtor may require debtor-in-
 possession financing to fund the Debtor’s operations. If the Debtor is unable to obtain such financing should
 those circumstances arise, the chances of successfully reorganizing the Debtor’s business may be seriously
 jeopardized, the likelihood that the Debtor will instead be required to liquidate or sell its assets may be
 increased, and, as a result, creditor recoveries may be significantly impaired.

          Furthermore, the Debtor cannot predict the ultimate amount of all settlement terms for the liabilities
                                                       94
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 95 of 446



 that will be subject to a plan of reorganization. Even after a plan of reorganization is approved and
 implemented, the Reorganized Debtor’s operating results may be adversely affected by the possible
 reluctance of prospective lenders and other counterparties to do business with a company that recently
 emerged from bankruptcy protection.

          (c)      Financial Results May Be Volatile and May Not Reflect Historical Trends

          During the Chapter 11 Case, the Debtor expects that its financial results will continue to be volatile
 as restructuring activities and expenses, contract terminations and rejections, and/or claims assessments
 significantly impact the Debtor’s consolidated financial statements. As a result, the Debtor’s historical
 financial performance likely will not be indicative of its financial performance after the Petition Date.

           In addition, if the Debtor emerges from Chapter 11, the amounts reported in subsequent
 consolidated financial statements may materially change relative to historical consolidated financial
 statements, including as a result of revisions to the Debtor’s operating plans pursuant to a plan of
 reorganization. The Debtor also may be required to adopt “fresh start” accounting in accordance with
 Accounting Standards Codification 852, in which case its assets and liabilities will be recorded at fair value
 as of the fresh start reporting date, which may differ materially from the recorded values of assets and
 liabilities on the Debtor’s consolidated balance sheets. The Debtor’s financial results after the application
 of fresh start accounting also may be different from historical trends. The Financial Projections contained
 in Exhibit F attached hereto do not currently reflect the impact of fresh start accounting, which may have a
 material impact on the Financial Projections.

          (d)      The Loss of Key Personnel Could Adversely Affect the Debtor’s Operations

          As a result of the Chapter 11 Case, the Debtor or the Reorganized Debtor may experience increased
 levels of employee attrition, since the Debtor’s and the Reorganized Debtor’s employees may face
 considerable distraction and uncertainty. The Debtor’s or the Reorganized Debtor’s future operational
 performance depends to a significant degree upon the continued service of key members of their
 management as well as marketing, sales and operations personnel. A loss of one or more of the Debtor’s or
 the Reorganized Debtor’s key personnel or material erosion of employee morale could have a material
 adverse effect on their businesses and results of operations. The uncertainty caused by the Chapter 11 Case
 could also cause the Debtor and the Reorganized Debtor to be a less desirable employer and make it more
 difficult to identify and recruit replacement employees as needed. This could impair ability to execute the
 Debtor’s business strategies and implement operational initiatives, which would be likely to have a material
 adverse effect on its business, financial condition and results of operations as well. The Debtor and the
 Reorganized Debtor believe their future success will also depend in large part upon their ability to attract,
 retain and further motivate highly skilled management, marketing, sales and operations personnel. The
 Debtor or the Reorganized Debtor may experience intense competition for personnel, and they may not be
 able to retain key employees or be successful in attracting, assimilating and retaining personnel in the future.

         In addition, the Debtor’s or the Reorganized Debtor’s ability to attract, recruit and retain key
 personnel may be negatively impacted by the Debtor’s emergence from the Chapter 11 Case and the
 uncertainties currently facing the industry in which it operates. Accordingly, the Debtor’s and Reorganized
 Debtor’s employee recruitment, retention, and motivation efforts are critical to the success of the Chapter
 11 Case and the Debtor’s and the Reorganized Debtor’s ability to operate on a go-forward basis.

          (e)      The Reorganized Debtor May Be Adversely Affected by Potential Litigation,
                   Including Litigation Arising Out of the Chapter 11 Case

          While prepetition litigation claims will be treated and discharged in accordance with the terms of
                                                       95
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 96 of 446



 the Plan, the Reorganized Debtor may become parties to litigation in the future. In general, litigation can
 be expensive and time consuming to bring or defend against. Such litigation could result in settlements or
 damages that could significantly affect the Reorganized Debtor’s financial results. It is also possible that
 certain parties will commence litigation with respect to the treatment of their Claims under the Plan. It is
 not possible to completely predict the potential litigation that the Reorganized Debtor may become party to
 nor the final resolution of such litigation. The impact of any such litigation on the Reorganized Debtor’s
 business and financial stability, however, could be material.

          (f)      Certain Claims May Not Be Discharged and Could Have a Material Adverse Effect
                   on the Debtor’s or the Reorganized Debtor’s Financial Condition and Results of
                   Operations

          The Bankruptcy Code provides that the confirmation of a plan of reorganization discharges a debtor
 from substantially all debts arising prior to confirmation. With few exceptions, all claims that arise prior to
 a debtor’s filing of its Chapter 11 petition or before confirmation of the plan of reorganization (a) would be
 subject to compromise and/or treatment under the plan of reorganization and/or (b) would be discharged in
 accordance with the terms of the plan of reorganization. Any claims not ultimately discharged through a
 plan of reorganization could be asserted against the reorganized entity and may have an adverse effect on
 the reorganized debtor’s financial condition and results of operations on a post-reorganization basis.

          (g)      The Reorganized Debtor May Not Be Able to Accurately Report Its Financial Results

          The Debtor has established internal controls over financial reporting. However, internal controls
 over financial reporting may not prevent or detect misstatements or omissions in the Debtor’s financial
 statements because of their inherent limitations, including the possibility of human error, and the
 circumvention or overriding of controls or fraud. Therefore, even effective internal controls can provide
 only reasonable assurance with respect to the preparation and fair presentation of financial statements. If
 the Debtor fails to maintain the adequacy of its internal controls, the Debtor may be unable to provide
 financial information in a timely and reliable manner within the time periods required for the Debtor’s
 financial reporting under any applicable OTC or SEC rules and regulations or the terms of the agreements
 governing the Debtor’s indebtedness. Any such difficulties or failure could materially adversely affect the
 Debtor’s business, results of operations, and financial condition. Further, the Debtor may discover other
 internal control deficiencies in the future and/or fail to adequately correct previously identified control
 deficiencies, which could materially adversely affect the Debtor’s business, results of operations, and
 financial condition.

          (h)      The Reorganized Debtor May Not Continue to Be Treated as a REIT

          The Reorganized Debtor may not intend to continue to be treated as a REIT for U.S. federal income
 tax purposes following the Effective Date. Even if the Reorganized Debtor intends to continue to be treated
 as a REIT after the Effective Date, the Reorganized Debtor may not meet the conditions for qualification
 as a REIT or compliance with the REIT requirements may hinder the Reorganized Debtor’s ability to grow,
 which could adversely affect the value of the Reorganized Debtor and its stock, or cause holders of the
 stock to incur tax liabilities in excess of cash distributions.

         If, with respect to any particular taxable year, the Reorganized Debtor fails to maintain its
 qualification as a REIT, the Reorganized Debtor would not be allowed to deduct distributions to
 shareholders in computing its taxable income and federal income tax. The corporate level income tax would
 apply to the Reorganized Debtor’s taxable income at regular corporate rates. As a result, the amount
 available for distribution to holders of the Reorganized Debtor’s equity that would otherwise receive
 dividends would be reduced for the taxable year(s) involved, and the Reorganized Debtor would not be
                                                       96
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                     Document    Page 97 of 446



 required to make distributions to shareholders. In addition, unless entitled to relief under the relevant
 statutory provisions, the Reorganized Debtor would be disqualified from treatment as a REIT for four
 subsequent taxable years.

          (i)      Other Risks Associated with the Debtor's Business and Industry

         The risks associated with the Debtor’s business and industry are more fully described in the
 Debtor’s SEC filings, including its most recent Annual Report on Form 10-K. The risks associated with the
 Debtor’s business and industry described in the Debtor’s SEC filings include, but are not limited to, the
 following:

                   •     the impact of regulatory actions in California to curtail oil production;

                   •     changes in economic and business conditions in the energy infrastructure sector where
                         the Debtor’s investments are concentrated, including the financial condition of its
                         customers or borrowers and general economic conditions in the U.S. and in the
                         particular sectors of the energy industry served by each of its infrastructure assets,
                         including inflationary and recessionary risks;

                   •     systemic pressures in the banking system, including potential disruptions in credit
                         markets;

                   •     competitive and regulatory pressures on the revenues of the Debtor’s California
                         intrastate crude oil transportation business and its interstate natural gas transmission
                         business;

                   •     risks associated with the receipt of CPUC approval for the Debtor to obtain operational
                         control over Crimson’s CPUC-regulated pipeline assets;

                   •     the impact of environmental, pipeline safety and other laws and governmental
                         regulations applicable to certain of the Debtor's infrastructure assets, including
                         additional costs imposed on its business or other adverse impacts as a result of any
                         unfavorable changes in such laws or regulations;

                   •     the Debtor's ability to comply with covenants in instruments governing its
                         indebtedness;

                   •     the potential impact of greenhouse gas regulation and climate change on the Debtor or
                         its customers’ business, financial condition and results of operations;

                   •     risks associated with security breaches through cyber-attacks or acts of cyber terrorism
                         or other cyber intrusions, or any other significant disruptions of the Debtor's
                         information technology (IT) networks and related systems;

                   •     risks associated with the age of Crimson’s assets, which were constructed over many
                         decades, and which may increase future inspection, maintenance or repair costs, or
                         result in downtime that could have a material adverse effect on the Debtor's business
                         and results of operations;

                   •     the loss of any member of the Debtor’s management team;

                                                         97
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                          Desc Main
                                      Document    Page 98 of 446



                   •     changes in interest rates under the Debtor’s debt arrangements that it may enter into in
                         the future;

                   •     the Debtor’s dependence on key customers for significant revenues, and the risk of
                         defaults by any such customers;

                   •     the ability of the Debtor’s customers to secure adequate insurance and risk of potential
                         uninsured losses, including from natural disasters;

                   •     the continued availability of third-party pipelines or other facilities interconnected with
                         certain of the Debtor’s infrastructure assets;

                   •     risks associated with owning, operating or financing properties for which the Debtor’s
                         or its customers’ operations may be impacted by extreme weather patterns and other
                         natural phenomena;

                   •     market conditions and related price volatility affecting the Debtor's securities;

                   •     changes in federal or state tax rules or regulations that could have adverse tax
                         consequences;

                   •     the Debtor’s ability to maintain internal controls and processes to ensure that all
                         transactions are properly accounted for, that all relevant disclosures and filings are
                         timely made in accordance with all rules and regulations, and that any potential fraud
                         or embezzlement is thwarted or detected;

                   •     changes in federal income tax regulations (and applicable interpretations thereof), or
                         in the composition or performance of our assets, that could impact the Debtor's ability
                         to continue to qualify as a REIT for federal income tax purposes;

                   •     conflicts of interest that some of the Debtor’s directors and officers may have with
                         respect to certain other business interests related to the Crimson Transaction;

                   •     risks related to potential terrorist attacks, acts of cyber-terrorism, or similar disruptions
                         that could disrupt access to the Debtor’s information technology systems or result in
                         other significant damage to its business and properties, some of which may not be
                         covered by insurance;

                   •     the loss of crude oil volumes on pipelines indirectly owned by Crimson due to lower
                         than expected oil production in California or changes in customer shipping practices;
                         and

                   •     other risks referenced from time to time in filings with the SEC and those factors listed
                         or incorporated by reference into this Disclosure Statement.

 7.6      Disclosure Statement Disclaimer

          (a)      Information Contained Herein Is Solely for Soliciting Votes

          The information contained in this Disclosure Statement is for the purpose of soliciting acceptances

                                                           98
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                      Document    Page 99 of 446



 of the Plan and may not be relied upon for any other purpose. Specifically, this Disclosure Statement is not
 legal advice to any Person or Entity. The contents of this Disclosure Statement should not be construed as
 legal, business, or tax advice. Each reader should consult its own legal counsel and accountant with regard
 to any legal, tax, and other matters concerning its Claim. This Disclosure Statement may not be relied upon
 for any purpose other than to determine how to vote to accept or reject the Plan and whether to object to
 Confirmation.

          (b)      Disclosure Statement May Contain Forward-Looking Statements

         This Disclosure Statement may contain “forward-looking statements” within the meaning of the
 Private Securities Litigation Reform Act of 1995, as amended. Such statements consist of any statement
 other than a recitation of historical fact and can be identified by the use of forward-looking terminology
 such as “may,” “expect,” “anticipate,” “estimate,” or “continue,” the negative thereof, or other variations
 thereon or comparable terminology.

         The Debtor considers all statements regarding anticipated or future matters, including the
 following, to be forward-looking statements:

                   •     business strategy;

                   •     financial condition, revenues, cash flows and expenses;

                   •     levels of indebtedness, liquidity and compliance with debt covenants;

                   •     financial strategy, budget, projections and operating results;

                   •     the amount, nature and timing of capital expenditures;

                   •     availability and terms of capital;

                   •     costs of conducting the Debtor’s operations;

                   •     general economic and business conditions;

                   •     counterparty credit risk;

                   •     uncertainty regarding the Debtor’s future operating results;

                   •     plans, objectives and expectations;

                   •     adequacy of the Debtor’s capital resources and liquidity;

                   •     the Debtor’s ability to satisfy future cash obligations;

                   •     potential financing sources;

                   •     the bankruptcy process;




                                                          99
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                     Document    Page 100 of 446



                   •     the Debtor’s ability to obtain approval from the Bankruptcy Court with respect to
                         motions or other requests made to the Bankruptcy Court throughout the course of the
                         Chapter 11 case;

                   •     the effects of Chapter 11 on the interests of various constituents; and

                   •     the ability to confirm and consummate the Plan.

         Statements concerning these and other matters are not guarantees of the Debtor’s future
 performance. The reader is cautioned that all forward-looking statements are necessarily speculative. The
 Valuation Analysis, the Liquidation Analysis, the Financial Projections, and other information contained
 herein and attached hereto are estimates only, and the timing and amount of actual distributions to Holders
 of Allowed Claims may be affected by many factors that cannot be predicted. Forward-looking statements
 represent the Debtor’s estimates and assumptions only as of the date such statements were made. There are
 risks, uncertainties, and other important factors that could cause the Debtor’s actual performance or
 achievements to be materially different from those they may project, and the Debtor undertakes no
 obligation to update any such statement.

          (c)      This Disclosure Statement Has Not Been Approved by the SEC

          This Disclosure Statement has not and will not be filed with the SEC or any state regulatory authority.
 Neither the SEC nor any state regulatory authority has approved or disapproved of the Securities described
 in this Disclosure Statement or has passed upon the accuracy or adequacy of this Disclosure Statement, or
 the exhibits or the statements contained in this Disclosure Statement.

          (d)      No Legal, Business, or Tax Advice Is Provided to You by This Disclosure Statement

         THIS DISCLOSURE STATEMENT IS NOT LEGAL, BUSINESS, OR TAX ADVICE TO
 YOU. The contents of this Disclosure Statement should not be construed as legal, business, or tax advice.
 Each Holder of a Claim should consult his or her own legal counsel and accountant with regard to any legal,
 tax, and other matters concerning his or her Claim. This Disclosure Statement may not be relied upon for
 any purpose other than to determine how to vote on the Plan or object to Confirmation.

          (e)      No Admissions Made

         The information and statements contained in this Disclosure Statement will neither (1) constitute
 an admission of any fact or liability by any entity (including, without limitation, the Debtor) nor (2) be
 deemed evidence of the tax or other legal effects of the Plan on the Debtor, Holders of Allowed Claims, or
 any other parties-in-interest.

          (f)      Failure to Identify Litigation Claims or Projected Objections

          No reliance should be placed on the fact that a particular litigation Claim or projected objection to
 a particular Claim is, or is not, identified in this Disclosure Statement. All Parties, including the Debtor,
 reserve the right to continue to investigate Claims and file and prosecute objections to Claims.

          (g)      No Waiver of Right to Object or Right to Recover Transfers and Assets

         The vote by a Holder of an Allowed Claim for or against the Plan does not constitute a waiver or
 release of any Claims or rights of the Debtor to object to that Holder’s Allowed Claim, or to bring Causes
 of Action or recover any preferential, fraudulent, or other voidable transfer of assets, regardless of whether

                                                        100
  HB: 4863-9936-1961.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                  Document    Page 101 of 446



 any Claims or Causes of Action of the Debtor or its Estate are specifically or generally identified herein.

          (h)      Information Was Provided by the Debtor and Was Relied Upon by the Debtor’s
                   Advisors

         Counsel to and other Advisors retained by the Debtor have relied upon information provided by
 the Debtor in connection with the preparation of this Disclosure Statement. Although counsel to and other
 Advisors retained by the Debtor have performed certain limited due diligence in connection with the
 preparation of this Disclosure Statement, they have not independently verified the information contained
 herein.

          (i)      The Potential Exists for Inaccuracies and the Debtor Has No Duty to Update

          The Debtor makes the statements contained in this Disclosure Statement as of the date hereof,
 unless otherwise specified herein, and the delivery of this Disclosure Statement after that date does not
 imply that there has not been a change in the information set forth herein since such date. Although the
 Debtor has used its reasonable business judgment to ensure the accuracy of all of the information provided
 in this Disclosure Statement and in the Plan, the Debtor nonetheless cannot, and does not, confirm the
 current accuracy of all statements appearing in this Disclosure Statement. Further, although the Debtor may
 subsequently update the information in this Disclosure Statement, the Debtor has no affirmative duty to do
 so unless ordered by the Bankruptcy Court.

          (j)      No Representation Outside of the Disclosure Statement Are Authorized

          No representations concerning or relating to the Debtor, the Chapter 11 Case, or the Plan are
 authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure
 Statement. In deciding whether to vote to accept or reject the Plan, you should not rely upon any
 representations or inducements made to secure your acceptance or rejection of the Plan that are other than
 as contained in, or included with, this Disclosure Statement, unless otherwise indicated herein. You should
 promptly report unauthorized representations or inducements to the counsel to the Debtor and the U.S.
 Trustee.

                                         ARTICLE VIII
                                   CONFIRMATION PROCEDURES

         The following is a brief summary of the Confirmation process. Holders of Claims and Interests are
 encouraged to review the relevant provisions of the Bankruptcy Code and to consult with their own
 advisors.

 8.1      The Combined Hearing

          Under Section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, may hold a
 hearing to confirm a plan of reorganization. The Debtor will request, through the Disclosure Statement
 Motion, that the Bankruptcy Court approve the Plan and Disclosure Statement. The Combined Hearing
 may, however, be continued from time to time without further notice other than an adjournment announced
 in open court or a notice of adjournment filed with the Bankruptcy Court and served in accordance with the
 Bankruptcy Rules, without further notice to parties in interest. The Bankruptcy Court, in its discretion and
 prior to the Combined Hearing, may put in place additional procedures governing the Combined Hearing.
 Subject to Section 1127 of the Bankruptcy Code and the Restructuring Support Agreement, the Plan may
 be modified, if necessary, prior to, during, or as a result of the Combined Hearing, without further notice
 to parties in interest.

                                                     101
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                      Document    Page 102 of 446



         Additionally, Section 1128(b) of the Bankruptcy Code provides that a party in interest may object
 to Confirmation. The Debtor, in the Disclosure Statement Motion, will request that the Bankruptcy Court
 set a date and time for parties in interest to file objections to Confirmation of the Plan. An objection to
 Confirmation of the Plan must be filed with the Bankruptcy Court and served on the Debtor and certain
 other parties in interest in accordance with the applicable order of the Bankruptcy Court so that it is actually
 received on or before the deadline to file such objections as set forth therein.

 8.2      Confirmation Standards

         Among the requirements for Confirmation are that the Plan (a) is accepted by all Impaired Classes
 of Claims and Interests or, if rejected by an Impaired Class, that the Plan “does not discriminate unfairly”
 and is “fair and equitable” as to such Class; (b) is feasible; and (c) is in the “best interests” of Holders of
 Claims and Interests that are Impaired under the Plan.

         The following requirements must be satisfied pursuant to Section 1129(a) of the Bankruptcy Code
 before a bankruptcy court may confirm a plan of reorganization. The Debtor believes that the Plan fully
 complies with all the applicable requirements of Section 1129 of the Bankruptcy Code set forth below, other
 than those pertaining to voting, which has not yet taken place.

                   •     The Plan complies with the applicable provisions of the Bankruptcy Code.

                   •     The Debtor (or any other proponent of the Plan) has complied with the applicable
                         provisions of the Bankruptcy Code.

                   •     The Plan has been proposed in good faith and not by any means forbidden by law.

                   •     Any payment made or to be made by the Debtor (or any other proponent of the Plan)
                         or by a Person issuing Securities or acquiring property under the Plan, for services or
                         for costs and expenses in or in connection with the Chapter 11 Case, in connection with
                         the Plan and incident to the Chapter 11 Case is subject to the approval of the Bankruptcy
                         Court as reasonable.

                   •     The Debtor (or any other proponent of the Plan) has disclosed or will disclose the identity
                         and affiliations of any individual proposed to serve, after Confirmation, as a director
                         or officer, of the Reorganized Debtor, any Affiliate of the Debtor reorganized under the
                         Plan, or any successor to the Debtor under the Plan. The appointment to, or continuance
                         in, such office of such individual is consistent with the interests of creditors and equity
                         security holders and with public policy.

                   •     The Debtor (or any other proponent of the Plan) has disclosed or will disclose the
                         identity of any insider that will be employed or retained by the Reorganized Debtor
                         and the nature of any compensation for such insider.

                   •     With respect to each Holder within an Impaired Class of Claims or Interests, as
                         applicable, each such Holder (a) has accepted the Plan or (b) will receive or retain under
                         the Plan on account of such Claim or Interest property of a value, as of the Effective
                         Date, that is not less than the amount that such Holder would so receive or retain if the
                         Debtor were liquidated under Chapter 7 of the Bankruptcy Code on such date.




                                                         102
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                     Document    Page 103 of 446



                   •     With respect to each Class of Claims or Interests, such Class (a) has accepted the Plan
                         or (b) is Unimpaired under the Plan (subject to the “cram-down” provisions discussed
                         below); see Section 9.5 of the Plan (“Confirmation Without Acceptance by All
                         Impaired Classes”).

                   •     The Plan provides for treatment of Claims, as applicable, in accordance with the
                         provisions of Section 507(a) of the Bankruptcy Code.

                   •     If a Class of Claims is Impaired under the Plan, at least one Class of Claims that is
                         Impaired under the Plan has accepted the Plan, determined without including any
                         acceptance of the Plan by any insider.

                   •     Confirmation is not likely to be followed by the liquidation, or the need for further
                         financial reorganization, of the Reorganized Debtor, or any successor to the Debtor
                         under the Plan, unless such liquidation or reorganization is proposed in the Plan.

                   •     All fees payable under 28 U.S.C. § 1930 have been paid or the Plan provides for the
                         payment of all such fees on the Effective Date.

          The Plan provides for the continuation after its Effective Date of payment of all retiree benefits, if
 any, as that term is defined in Section 1114 of the Bankruptcy Code, at the level established pursuant
 to Subsection (e)(1)(B) or (g) of Section 1114 of the Bankruptcy Code, at any time prior to Confirmation,
 for the duration of the period the applicable Debtor has obligated itself to provide such benefits.

 8.3      Best Interests Test / Liquidation Analysis

          As described above, Section 1129(a)(7) of the Bankruptcy Code requires that each Holder of an
 Impaired Claim or Interest either (a) accept the Plan or (b) receive or retain under the Plan property of a
 value, as of the Effective Date, that is not less than the value such Holder would receive if the Debtor were
 liquidated under Chapter 7 of the Bankruptcy Code. Based on the unaudited Liquidation Analysis attached
 hereto as Exhibit D, the Debtor believes that, if the Chapter 11 Case were converted to a case under Chapter
 7 of the Bankruptcy Code, the value of any distributions would be no greater than the value of distributions
 under the Plan. As a result, the Debtor believes Holders of Claims and Interests in all Impaired Classes will
 recover at least as much as a result of Confirmation of the Plan as they would recover through a hypothetical
 Chapter 7 liquidation.

 THE LIQUIDATION ANALYSIS HAS BEEN PREPARED SOLELY FOR USE IN THIS DISCLOSURE
 STATEMENT AND DOES NOT REPRESENT VALUES THAT ARE APPROPRIATE FOR ANY
 OTHER PURPOSE. NOTHING CONTAINED IN THE LIQUIDATION ANALYSIS IS INTENDED TO
 BE OR CONSTITUTES A CONCESSION BY OR ADMISSION OF THE DEBTOR FOR ANY
 PURPOSE.

 8.4      Feasibility

         Section 1129(a)(11) of the Bankruptcy Code requires that the Bankruptcy Court find that
 Confirmation is not likely to be followed by the liquidation of the Reorganized Debtor or the need for further
 financial reorganization, unless the Plan contemplates such liquidation or reorganization. For purposes of
 determining whether the Plan meets this requirement, the Debtor analyzed its ability to meet its obligations
 under the Plan. As part of this analysis, the Debtor prepared the Financial Projections, which, together with
 the assumptions on which they are based, are attached hereto as Exhibit F. Based on these Financial
 Projections, the Debtor believes the deleveraging contemplated by the Plan meets the financial feasibility
                                                        103
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                            Desc Main
                                      Document    Page 104 of 446



 requirement. Moreover, the Debtor believes that sufficient funds will exist to make all payments required
 by the Plan. Accordingly, the Debtor believes that the Plan satisfies the feasibility requirement of Section
 1129(a)(11) of the Bankruptcy Code.

 8.5      Confirmation Without Acceptance by All Impaired Classes

          The Bankruptcy Code permits confirmation of a plan even if it is not accepted by all impaired
 classes, as long as (a) the plan otherwise satisfies the requirements for confirmation, (b) at least one impaired
 class of claims has accepted the plan without taking into consideration the votes of any insiders in such class
 and (c) the plan is “fair and equitable” and does not “discriminate unfairly” as to any impaired class that
 has not accepted the plan. These so- called “cram down” provisions are set forth in Section 1129(b) of the
 Bankruptcy Code.

          (a)      No Unfair Discrimination

          The no “unfair discrimination” test applies to Classes of Claims and Interests that are of equal
 priority and are receiving different treatment under the Plan. The test does not require that the treatment be
 the same or equivalent, but that such treatment be “fair.” The Debtor does not believe the Plan discriminates
 unfairly against any Impaired Class of Claims or Interests. The Debtor believes the Plan and the treatment
 of all Classes of Claims and Interests under the Plan satisfy the foregoing requirements for nonconsensual
 confirmation.

          (b)      Fair and Equitable Test

           This test applies to classes of different priority and status (e.g., secured versus unsecured) and
 includes the general requirement that no class of Claims or Interests receive more than 100 percent of the
 amount of the Allowed Claims or Allowed Interests in such class. As to a dissenting class, the test sets
 different standards depending on the type of Claims or Interests in such class. To demonstrate that a plan
 is fair and equitable with respect to a dissenting class, the plan proponent must demonstrate the following:

                   •     Secured Creditors: Each holder of a secured claim (a) retains its liens on the property,
                         to the extent of the allowed amount of its secured claim, and receives deferred cash
                         payments having a value, as of the effective date of the plan, of at least the allowed
                         amount of such claim, (b) has the right to credit bid the amount of its claim if its
                         property is sold and retains its liens on the proceeds of the sale (or if sold, on the
                         proceeds thereof), or (c) receives the “indubitable equivalent” of its allowed secured
                         claim.

                   •     Unsecured Creditors: Either (a) each holder of an impaired unsecured claim receives
                         or retains under the plan property of a value equal to the amount of its allowed claim
                         or (b) the holders of claims and interests that are junior to the claims of the non-
                         accepting class will not receive any property under the plan.

                   •     Holders of Interests: Either (a) each holder of an impaired interest will receive or retain
                         under the plan property of a value equal to the greatest of the fixed liquidation
                         preference to which such holder is entitled, the fixed redemption price to which such
                         holder is entitled, or the value of the interest or (b) the holders of interests that are junior
                         to the non-accepting class will not receive or retain any property under the plan.

          The Debtor believes that the Plan and treatment of all Classes of Claims and Interests therein
 satisfies the “fair and equitable” requirement, notwithstanding the fact that certain Classes are deemed to
                                                           104
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 105 of 446



 reject the Plan.

 8.6      Alternative to Confirmation and Consummation of the Plan

          If the Plan cannot be confirmed, subject to the requirements of the Restructuring Support
 Agreement, the Debtor may seek to (a) prepare and present to the Bankruptcy Court an alternative plan for
 confirmation, (b) effect a merger or sale transaction, including, potentially, a sale of all or substantially all
 of the Debtor’s assets pursuant to Section 363 of the Bankruptcy Code, or (c) liquidate its assets and business
 under Chapter 7 of the Bankruptcy Code. If the Debtor were to pursue a liquidation of its assets and business
 in Chapter 7, the Debtor would convert the Chapter 11 Case to a case under Chapter 7 of the Bankruptcy
 Code, and a trustee would be appointed to liquidate the assets of the Debtor for distribution in accordance
 with the priorities established by the Bankruptcy Code. A discussion of the effects that a Chapter 7
 liquidation would have on creditors’ recoveries and the Debtor is described in the unaudited Liquidation
 Analysis attached hereto as Exhibit D.

                                        ARTICLE IX
                           IMPORTANT SECURITIES LAW DISCLOSURES

          The Debtor believes that the New Common Stock and the Securities to be issued pursuant to the
 Management Incentive Plan will be “securities,” as defined in Section 2(a)(1) of the Securities Act, Section
 101 of the Bankruptcy Code and any applicable Blue Sky Laws. No registration statement will be filed
 under the Securities Act, or pursuant to any Blue Sky Law with respect to the offer and distribution of
 securities under the Plan.

 9.1      Issuance of Securities under the Plan

          The offering, issuance and distribution of all of the New Common Stock pursuant to the Plan (other
 than Securities issuable to the participants in the Management Incentive Plan) will be exempt from the
 registration requirements of Section 5 of the Securities Act or any similar federal, state, or local law in
 reliance on Section 1145 of the Bankruptcy Code as described in more detail below. The Securities issuable
 under the Management Incentive Plan will be offered, issued, and distributed in reliance upon Section
 4(a)(2) of the Securities Act and/or another exemption from registration under the Securities Act and other
 applicable law.

          Section 1145 of the Bankruptcy Code provides that Section 5 of the Securities Act and any state
 law requirements for the offer and sale of a security do not apply to the offer or sale of stock, options,
 warrants or other securities by a debtor if (a) the offer or sale occurs under a plan of reorganization, (b) the
 recipients of the securities hold a claim against, an interest in, or claim for administrative expense against,
 the debtor, and (c) the securities are issued in exchange for a claim against or interest in a debtor or are
 issued principally in such exchange or partly for cash and property. The Debtor believes that the offer and
 sale of the New Common Stock in exchange for the Claims satisfy the requirements of Section 1145(a) of
 the Bankruptcy Code. Accordingly, no registration statement will be filed under the Securities Act or any
 similar federal, state, or local law.

          The Securities issuable under the Management Incentive Plan will be offered, issued, and
 distributed in reliance upon Section 4(a)(2) of the Securities Act and/or another exemption from registration
 under the Securities Act and other applicable law. As a result, these Securities will be considered “restricted
 securities” subject to resale restrictions and may be resold, exchanged, assigned or otherwise transferred
 only pursuant to registration, or an applicable exemption from registration, under the Securities Act and
 applicable state securities laws.


                                                       105
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 106 of 446



         Recipients of the New Common Stock are advised to consult with their own legal advisors as to
 the availability of any exemption from registration under the Securities Act and any applicable Blue Sky
 Laws. As discussed below, the exemptions provided for in Section 1145(a) do not apply to an entity that is
 deemed an “underwriter” as such term is defined in Section 1145(b) of the Bankruptcy Code.

 9.2      Subsequent Transfers

          The New Common Stock issuable in exchange for the Claims (but excluding Securities issuable
 under the Management Incentive Plan) may be freely transferred by most recipients following the initial
 issuance under the Plan, and all resales and subsequent transfers of such Securities are exempt from
 registration under the Securities Act and state securities laws, unless the holder is (1) an “underwriter” with
 respect to such Securities, (2) an “affiliate” of the Debtor as defined in Rule 144(a)(1) of the Securities Act,
 (3) has been such an “affiliate” within 90 days of such transfer or (4) has acquired such Securities from an
 “affiliate” within one year of such transfer. Section 1145(b)(1) of the Bankruptcy Code defines an
 “underwriter” as one who, except with respect to “ordinary trading transactions” of an entity that is not an
 “issuer”: (a) purchases a claim against, interest in, or claim for an administrative expense in the case
 concerning, the debtor, if such purchase is with a view to distribution of any security received or to be
 received in exchange for such claim or interest; (b) offers to sell securities offered or sold under a plan for
 the Holders of such securities; (c) offers to buy securities offered or sold under a plan from the Holders of
 such securities, if such offer to buy is (1) with a view to distribution of such securities and (2) under an
 agreement made in connection with the plan, with the consummation of the plan, or with the offer or sale
 of securities under the plan; or (d) is an issuer of the securities within the meaning of Section 2(a)(11) of
 the Securities Act. In addition, a person who receives a fee in exchange for purchasing an issuer’s securities
 could also be considered an underwriter within the meaning of Section 2(a)(11) of the Securities Act.

         The definition of an “issuer” for purposes of whether a person is an underwriter under Section
 1145(b)(1)(D) of the Bankruptcy Code, by reference to Section 2(a)(11) of the Securities Act, includes as
 “statutory underwriters” all “affiliates,” which are all persons who, directly or indirectly, through one or
 more intermediaries, control, are controlled by, or are under common control with, an issuer of securities.
 The reference to “issuer,” as used in the definition of “underwriter” contained in Section 2(a)(11) of the
 Securities Act, is intended to cover “controlling persons” of the issuer of the securities. “Control,” as
 defined in Rule 405 of the Securities Act, means the possession, directly or indirectly, of the power to direct
 or cause to direct management and policies of a Person, whether through owning voting securities, contract,
 or otherwise. Accordingly, an officer or director of a reorganized debtor or its successor may be deemed to
 be a “controlling person” of the debtor or successor under a plan of reorganization, particularly if the
 management position or directorship is coupled with ownership of a significant percentage of the
 reorganized debtor’s or its successor’s voting securities. In addition, the legislative history of Section 1145
 of the Bankruptcy Code may suggest that a creditor who owns 10% or more of a call of voting securities of
 a reorganized debtor may be presumed to be a "controlling person" and, therefore, an underwriter.

         Resales of the New Common Stock offered, issued, and distributed pursuant to the Plan in reliance
 on Section 1145 of the Bankruptcy Code by entities deemed to be “underwriters” are not exempted by
 Section 1145 of the Bankruptcy Code from registration under the Securities Act or other applicable law.

          Under certain circumstances, Holders of shares of New Common Stock offered, issued, and
 distributed pursuant to the Plan in reliance on Section 1145 of the Bankruptcy Code who are deemed to be
 “underwriters” may be entitled to resell shares of such New Common Stock pursuant to the limited safe
 harbor resale provisions of Rule 144 of the Securities Act or another exemption under the Securities Act.
 Generally, Rule 144 of the Securities Act would permit the public sale of securities received by such Person
 if the required holding period has been met and, under certain circumstances, current information regarding
 the issuer is publicly available and volume limitations, manner of sale requirements and certain other
                                                      106
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                          Desc Main
                                    Document    Page 107 of 446



 conditions are met. Whether any particular Person would be deemed to be an “underwriter” (including
 whether the Person is a “controlling person”) with respect to the New Common Stock would depend upon
 various facts and circumstances applicable to that Person. Accordingly, the Debtor expresses no view as to
 whether any Person would be deemed an “underwriter” with respect to such New Common Stock and, in
 turn, whether any Person may freely resell such New Common Stock. The Debtor intends to apply for the
 New Common Stock to be quoted on the OTC market and to make available to stockholders financial and
 other information concerning the Reorganized Debtor in accordance with applicable OTC rules. However,
 there can be no assurance that the Debtor will be able to make publicly available the requisite information
 regarding the Debtor, and, as a result, after the holding period, Rule 144 may not be available for resales of
 the New Common Stock by Persons deemed to be underwriters or otherwise at such time.

         Unlike the Securities that will be issued pursuant to Section 1145 of the Bankruptcy Code, any
 Securities issued under the Management Incentive Plan in reliance on Section 4(a)(2) of the Securities Act
 and/or another exemption from registration under the Securities Act will be deemed “restricted securities”
 that may not be offered, sold, exchanged, assigned, or otherwise transferred unless they are registered under
 the Securities Act or an exemption from registration under the Securities Act is available, including under
 Rule 144 or Rule 144A promulgated under the Securities Act, and otherwise in compliance with any
 applicable state or foreign securities laws.

          Rule 144 provides an exemption for the public resale of “restricted securities” if certain conditions
 are met. These conditions vary depending on whether the holder of the restricted securities is an affiliate of
 the issuer. An affiliate is defined as “a person that directly, or indirectly through one or more intermediaries,
 controls, or is controlled by, or is under common control with, the issuer.”

          A non-affiliate who has not been an affiliate of the issuer during the preceding three months may
 resell restricted securities after a six-month holding period if at the time of the sale there is available certain
 public information regarding the issuer and may sell the securities after a one-year holding period whether
 or not there is current public information regarding the issuer. Adequate current public information is
 available for a reporting issuer if the issuer has filed all periodic reports required under Section 13 or 15(d)
 of the Securities Exchange Act of 1934, as amended, during the twelve months preceding the sale of the
 restricted securities. If the issuer is a non-reporting issuer, adequate current public information is available
 if certain information about the issuer is made publicly available.

          An affiliate may resell restricted securities after the six-month holding period described above if at
 the time of the sale certain current public information regarding the issuer is available. The Debtor intends
 to apply for the New Common Stock to be quoted on the OTC market and to make available to stockholders
 financial and other information concerning the Reorganized Debtor in accordance with applicable OTC
 rules. However, there can be no assurance that the Debtor will be able to make publicly available the
 requisite information regarding the Debtor, and, as a result, after the holding period, Rule 144 may not be
 available for resales of the New Common Stock by affiliates. The affiliate must also comply with the
 volume, manner of sale and notice requirements of Rule 144. First, the rule limits the number of restricted
 securities (plus any unrestricted securities) sold for the account of an affiliate (and related persons) in any
 three-month period to the grater of one percent of the outstanding securities of the same class being sold
 and, if the class is listed on a stock exchange or automated quotation system, the average weekly reported
 volume of trading in such securities during the four weeks preceding the filing of a notice of proposed sale
 on Form 144. Second, the manner of sale requirement provides that the restricted securities must be sold in
 a broker's transaction, which generally means they must be sold through a broker and handled as a routine
 trading transaction. The broker must receive no more than the usual commission and cannot solicit orders
 for the sale of the restricted securities except in certain situations. Third, if the sale exceeds 5,000 restricted
 securities or has an aggregate sale price greater than $50,000, an affiliate must electronically file with the
 SEC a notice of proposed sale on Form 144. The sale must occur within three months of filing the notice
                                                        107
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 108 of 446



 unless an amended notice is filed.

          Resales or transfers of New Common Stock may be further limited due to: (i) required compliance
 with any rules and regulations of the SEC, if any, applicable at the time of any future transfer of such
 securities or instruments; (ii) restrictions, if any, on the transferability of such securities and instruments,
 including any restrictions on the transferability under the terms of the New Governance Documents or
 Shareholder Agreement; and (iii) applicable regulatory approvals.

          Because of the complex subjective nature of the question of whether a particular Person may
 be an underwriter or an affiliate and the highly fact-specific nature of the availability of an exemption
 from registration under the Securities Act, including the exemptions available under Section 1145 of
 the Bankruptcy Code and Rule 144 under the Securities Act, the Debtor makes no representation
 concerning the ability of a person to dispose of the Securities to be issued under or otherwise acquired
 pursuant to the Plan. Accordingly, the Debtor recommends that potential recipients of the Securities
 to be issued under or otherwise acquired pursuant to the Plan consult their own counsel concerning
 their ability to freely trade such Securities without compliance with the federal law and any
 applicable Blue Sky Laws. In addition, the New Common Stock will not be registered under the
 Exchange Act or listed on any national securities exchange.

          All Persons shall be required to accept and conclusively rely upon the Plan and Confirmation
 Order in lieu of a legal opinion regarding whether the issuances of New Common Stock or other
 Securities issued under or otherwise acquired pursuant to the Plan are exempt from registration
 and/or eligible for DTC book-entry delivery, settlement and depository services. Notwithstanding
 anything to the contrary in the Plan or otherwise, no Person (including, for the avoidance of doubt,
 DTC) may require a legal opinion regarding the validity of any transaction contemplated by the Plan,
 including, for the avoidance of doubt, whether such New Common Stock or other Securities are
 validly issued, fully paid and non-assessable, exempt from registration and/or eligible for DTC book-
 entry delivery, settlement and depository services.

 9.3      The Agreement

       Holders of the New Common Stock may enter into and be subject to the terms of a Shareholder
 Agreement, which will contain terms customary for this type of instrument and may restrict such Holder of
 New Common Stock for the purposes of preserving net operating losses.

                                         ARTICLE X
                           CERTAIN TAX CONSEQUENCES OF THE PLAN

 10.1     Certain U.S. Federal Income Tax Consequences of the Plan

         The following discussion is a summary of certain U.S. federal income tax consequences of the
 implementation of the Plan to the Debtor, the Reorganized Debtor, and to certain Holders (which, solely
 for purposes of this discussion, means the beneficial owners for U.S. federal income tax purposes) of
 Claims. This summary does not discuss differences in tax consequences to Holders of Claims that act or
 receive consideration in a capacity other than any other Holder of a Claim of the same Class or Classes,
 and the tax consequences for such Holders may differ materially from that described below. The following
 summary does not address the U.S. federal income tax consequences to Holders of Claims who are
 unimpaired, deemed to accept or reject the Plan or otherwise entitled to payment in full in cash under the
 Plan.

          The discussion of U.S. federal income tax consequences below is based on the Internal Revenue

                                                       108
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 109 of 446



 Code of 1986, as amended (the “Tax Code”), regulations promulgated by the United States Department of
 the Treasury under the Tax Code (the “Treasury Regulations”), judicial authorities, published rules,
 positions, and pronouncements of the Internal Revenue Service (“IRS”), and other applicable authorities,
 all as in effect on the date of this Disclosure Statement, and all of which are subject to change or differing
 interpretations (possibly with retroactive effect). The U.S. federal income tax consequences of the
 contemplated transactions are complex and subject to significant uncertainties. The Debtor has not
 requested an opinion of counsel or a ruling from the IRS with respect to any of the tax aspects of the
 contemplated transactions, and the discussion below is not binding upon the IRS or the courts. Accordingly,
 there can be no assurance that the IRS would not take a contrary position as to the U.S. federal income tax
 consequences described herein.

          This summary does not address non-U.S., state, local, gift, or estate tax consequences of the Plan,
 nor does it purport to address all aspects of U.S. federal income taxation that may be relevant to a Holder
 in light of its individual circumstances, or to a Holder that may be subject to special tax rules (such as
 persons who are related to the Debtor within the meaning of one of various provisions of the Tax Code,
 broker-dealers, banks, mutual funds, insurance companies, financial institutions, small business investment
 companies, real estate investment trusts, regulated investment companies, tax-exempt organizations, trusts,
 governmental authorities or agencies, dealers and traders in securities, retirement plans, individual
 retirement and other tax-deferred accounts, Holders that are, or hold Claims through, S corporations,
 partnerships or other pass-through entities for U.S. federal income tax purposes, persons whose functional
 currency is not the U.S. dollar, dealers in foreign currency, Holders who hold Claims as part of a straddle,
 hedge, conversion transaction or other integrated investment, Holders using a mark-to-market method of
 accounting, Holders of Claims who are themselves in bankruptcy, Holders subject to the alternative
 minimum tax or the “Medicare” tax on net investment income and Holders who are accrual method
 taxpayers that report income on an “applicable financial statement” (as defined in section 451 of the Tax
 Code)). In addition, this discussion does not address U.S. federal taxes other than income taxes.

          Additionally, this discussion assumes that (i) the various debt and other arrangements to which the
 Debtor is a party will be respected for U.S. federal income tax purposes in accordance with their form and
 (ii) except where otherwise indicated, the Claims are held as “capital assets” (generally, property held for
 investment) within the meaning of section 1221 of the Tax Code.

          For purposes of this discussion, a “U.S. Holder” is a Holder of a Claim that for U.S. federal income
 tax purposes is: (1) an individual citizen or resident of the United States; (2) a corporation created or
 organized under the laws of the United States, any state thereof or the District of Columbia; (3) an estate
 the income of which is subject to U.S. federal income taxation regardless of the source of such income; or
 (4) a trust (a) if a court within the United States is able to exercise primary jurisdiction over the trust’s
 administration and one or more “United States persons” (within the meaning of section 7701(a)(30) of the
 Tax Code) has authority to control all substantial decisions of the trust or (b) that has a valid election in
 effect under applicable Treasury Regulations to be treated as a “United States person” (within the meaning
 of section 7701(a)(30) of the Tax Code). For purposes of this discussion, a “Non-U.S. Holder” is any Holder
 of a Claim that is not a U.S. Holder other than any partnership (or other entity treated as a partnership or
 other pass-through entity for U.S. federal income tax purposes).

         If a partnership (or other entity treated as a partnership or other pass-through entity for U.S. federal
 income tax purposes) is a Holder of a Claim, the tax treatment of a partner (or other beneficial owner)
 generally will depend upon the status of the partner (or other beneficial owner) and the activities of the
 partner (or other beneficial owner) and the partnership (or other pass-through entity). Partners (or other
 beneficial owners) of partnerships (or other pass-through entities) that are Holders of Claims are urged to
 consult their respective tax advisors regarding the U.S. federal income tax consequences of the Plan.

                                                       109
  HB: 4863-9936-1961.1
Case 24-40236-can11               Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                       Document    Page 110 of 446



       THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL INCOME TAX
 CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE
 FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON YOUR INDIVIDUAL
 CIRCUMSTANCES. ALL HOLDERS OF CLAIMS ARE URGED TO CONSULT THEIR OWN TAX
 ADVISORS FOR THE U.S. FEDERAL, STATE, LOCAL AND OTHER TAX CONSEQUENCES
 APPLICABLE UNDER THE PLAN.

          (a)      Certain REIT Considerations

                   (i)        Failure to Qualify as a REIT Would Have Serious Adverse Consequences

          CorEnergy has elected tax treatment as a REIT beginning with its tax year beginning January 1,
 2013. CorEnergy has continued to report as a REIT on its annual federal income tax returns and other tax
 filings up to the date hereof and believes it has qualified as a REIT for U.S. federal income tax purposes
 under the Tax Code and intends to continue to do so through the time of consummation of the Plan.
 CorEnergy intends to continue operating in such a manner as to continue to qualify as a REIT following
 the consummation of the Plan. However, qualification as a REIT involves the application of highly technical
 and complex Tax Code provisions for which there are only limited judicial and administrative
 interpretations. For example, to qualify as a REIT, CorEnergy must derive at least 75% and 95% of its gross
 income in any year from certain qualifying sources. In addition, as described in further detail below,
 CorEnergy generally (i) must pay dividends to its stockholders aggregating annually at least 90% of its
 REIT taxable income (determined without regard to the dividends paid deduction and by excluding any net
 capital gain), (ii) must satisfy specified asset tests on a quarterly basis and (iii) must satisfy certain
 ownership tests. The determination of various factual matters and circumstances not entirely within
 CorEnergy’s control may affect its ability to qualify as a REIT.

         If CorEnergy loses its REIT status, it will face several adverse tax consequences that would
 substantially reduce its cash available for distribution, including cash available to pay Holders, because:

                   •      it would be subject to U.S. federal income tax on its net income at the regular corporate
                          rate for the years it did not qualify for taxation as a REIT (and, for such years, would
                          not be allowed a deduction for dividends paid to stockholders in computing its taxable
                          income);

                   •      unless it is entitled to relief under applicable statutory provisions, neither it nor any
                          “successor” company could elect to be taxed as a REIT until the fifth taxable year
                          following the year during which it was disqualified; and

                   •      for five years following re-election of REIT status, upon a taxable disposition of certain
                          assets owned as of such re-election, it could be subject to corporate level tax with
                          respect to any built-in gain inherent in such assets at the time of re-election and would
                          have to distribute all of its non-REIT earnings and profits in taxable dividends before
                          the end of its first taxable year.

          As a result of all these factors, CorEnergy’s failure to qualify as a REIT could materially adversely
 affect certain Holders.

                   (ii)       In Certain Circumstances, Even if the Reorganized Debtor Qualifies as a REIT, It
                              and its Subsidiaries May be Subject to Certain U.S. Federal, State, and Other Taxes

          To qualify as a REIT, CorEnergy generally will be required each year to distribute to stockholders
                                                          110
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                     Document    Page 111 of 446



 at least 90% of its REIT taxable income (determined without regard to the dividends paid deduction and by
 excluding any net capital gain), which REIT taxable income may be reduced by any net operating loss
 carryovers to such year allowed pursuant to section 172 of the Tax Code, which, for tax years beginning
 after 2017, generally provides that up to 80% of the REIT taxable income in a given year can be offset by
 such net operating loss carryovers. In addition, it will be subject to a 4% nondeductible excise tax on the
 amount, if any, by which certain distributions made by it with respect to the calendar year are less than the
 sum of (i) 85% of its ordinary income, (ii) 95% of its capital gain net income for that year, and (iii) any
 undistributed taxable income from prior periods. CorEnergy intends to make distributions to its
 stockholders to comply with the 90% distribution requirement and to avoid the nondeductible excise tax.
 However, differences in timing between taxable income and cash available for distribution could require it
 to borrow funds or to issue additional equity to enable it to meet the 90% distribution requirement (and
 therefore to maintain its REIT status) and to avoid the nondeductible excise tax. There can be no assurance
 that any of these sources of funds, if available at all, would be available to meet CorEnergy’s distribution
 and tax obligations, and CorEnergy may at times incur the excise tax.

          (b)      Consequences to the Debtor and the Reorganized Debtor

                          (i)      Cancellation of Debt Income

          In general, absent an exception, a debtor will realize and recognize cancellation of debt (“COD”)
 income for U.S. federal income tax purposes if its outstanding indebtedness is satisfied for total
 consideration less than the amount of such indebtedness. In general, the amount of COD income is the
 excess of (a) the adjusted issue price of the satisfied indebtedness over (b) the sum of (i) the amount of cash
 paid, (ii) the issue price of any new indebtedness of the debtor issued, and (iii) the fair market value of any
 other new consideration (including stock of the debtor or a party related to the debtor), in each case, given
 in satisfaction of such indebtedness at the time of the exchange.

          However, COD income is excluded from income to the extent that a corporate borrower is a debtor
 in a bankruptcy case and the discharge occurs pursuant to a court order or a plan approved by the court.
 Generally, under the Tax Code, any COD income excluded from income of a taxpayer in bankruptcy under
 this exception must be applied against and reduce certain tax attributes of the taxpayer. Unless the taxpayer
 elects to have such reduction apply first against the basis of its depreciable property, such reduction is first
 applied against the taxpayer’s net operating losses (or “NOLs”) (including NOLs from the taxable year of
 discharge and any NOL carryover to such taxable year), and then to certain tax credits, capital loss and
 capital loss carryovers, and tax basis of property. A debtor with COD income may elect to first reduce the
 basis of its depreciable assets pursuant to section 108(b)(5) of the Tax Code prior to effecting any other
 reductions in tax attributes set forth above. Even though COD income does not result in taxable income
 when it is discharged as part of the bankruptcy case, the COD income will result in adjustments to the
 taxpayer's tax attributes after bankruptcy and can impact whether debt issued in the bankruptcy will be
 treated as having original issue discount, as discussed further below.

          CorEnergy, is classified for U.S. federal income tax purposes as a REIT. As discussed above,
 qualification as a REIT requires satisfaction of numerous requirements, including the 75% and 95%
 incomes tests, which respectfully provide that the REIT must derive at least 75% and 95% of its gross
 income in any year from certain qualifying sources. In addition, a REIT must pay dividends to its
 stockholders aggregating annually at least 90% of the REIT’s taxable income (determined without regard
 to the dividends paid deduction and by excluding capital gains) and must satisfy specified asset tests on a
 quarterly basis. COD income is excluded from gross income for purposes of both the 75% and 95% gross
 income tests, but is generally subject to the REIT distribution requirement, subject to certain rules that apply
 to excess non-cash income, or a REIT would incur corporate income tax and a 4% nondeductible excise tax
 with respect to any COD income.
                                                       111
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                      Document    Page 112 of 446



          The Debtor could realize COD income upon implementation of the Plan, depending on the amount
 of cash, the fair market value of the New Common Stock and the issue price of the Takeback Debt, among
 other things, exchanged for the Senior Notes. Under the Tax Code, the Debtor generally will recognize
 COD income to the extent that the principal amount due on the Senior Notes exceeds the sum of the cash
 paid, the fair market value of the New Common Stock and the issue price of the Takeback Debt. The issue
 price of the Takeback Debt is computed under different rules, depending upon whether the Senior Notes or
 the Takeback Debt are treated as publicly traded under the Treasury Regulations. If neither the Senior Notes
 nor the Takeback Debt are treated as publicly traded, the issue price of the Takeback Debt should be the
 stated principal amount of the Takeback Debt. If either the Senior Notes or the Takeback Debt are publicly
 traded, the issue price of the Takeback Debt generally will be determined based on the fair market value of
 the debt that is publicly traded. If the issue price of the Takeback Debt is less than the face amount of the
 portion of the Senior Notes exchanged therefor, the Debtor generally should recognize COD income equal
 to such difference.

         In general, a debt instrument will be treated as publicly traded if (a) a “sales price” for an executed
 purchase of the debt instrument appears on a medium that is made available to issuers of debt instruments,
 persons that regularly purchase or sell debt instruments, or persons that broker purchases or sales of debt
 instruments; (b) a “firm” price quote for the debt instrument is available from at least one broker, dealer, or
 pricing service for property and the quoted price is substantially the same as the price for which the person
 receiving the quoted price could purchase or sell the property; or (c) there are one or more “indicative”
 quotes available from at least one broker, dealer, or pricing service for property.

          The Debtor does not believe that the Takeback Debt is publicly traded under the small issue
 exception under the original issue discount (“OID”) Treasury Regulations, although the Senior Notes may
 be considered publicly traded, depending upon the facts and circumstances. Thus, if the Senior Notes are
 determined to be publicly traded, to the extent that face amount of the portion of the Senior Notes exchanged
 for the Takeback Debt exceeds the fair market value of such portion of the exchanged Senior Notes, COD
 income could be realized. Under such circumstances, the Debtor cannot determine at this time the amount,
 if any, of COD income that could be realized in that such determination is dependent upon the fair market
 value of the Senior Notes at the time of the exchange. If the Senior Notes are not determined to be publicly
 traded, the Debtor believes that it would not realize any COD income.

                          (ii)      Utilization of Net Operating Loss Carryovers

          After giving effect to the reduction in tax attributes, if any, resulting from excluded COD income,
 the Reorganized Debtor’s ability to use any remaining tax attributes post-emergence will be subject to
 certain limitations under sections 382 and 383 of the Tax Code.

         In general, when there is a fifty percent (50%) ownership change of a corporation during a three-
 year period, the ownership change rules in section 382 of the Tax Code limit the utility of NOLs, tax credit
 carryforwards, net unrealized built-in losses, and possibly certain other attributes on an annual basis to the
 product of the fair market value of the corporate equity immediately before the ownership change,
 multiplied by a hypothetical interest rate published monthly by the IRS called the “long-term tax-exempt
 rate” (which is the highest of the adjusted federal long-term rates in effect for any month in the 3-calendar-
 month period ending with the calendar month in which the “ownership change” occurs) (the “Section 382
 Limitation”). In any given year, this limitation may be increased by certain built-in gains realized after, but
 accruing economically before, the ownership change and the carryover of unused Section 382 Limitation
 from prior years. On the other hand, if at the date of an ownership change, the adjusted basis for federal
 income tax purposes of a debtor’s assets exceeds the fair market value of such assets by prescribed amounts
 (a “net unrealized built-in loss”) then, upon the realization of such net unrealized built-in losses during a
 five-year period beginning on the date of the ownership change, such losses are treated as if they were part
                                                      112
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                   Document    Page 113 of 446



 of the NOL, rather than the current deduction, and are also subject to the Section 382 Limitation.

         An exception to the foregoing annual limitation rules generally applies when existing shareholders
 and “qualified creditors” of a debtor corporation under the jurisdiction of a court in a title 11 case receive,
 in respect of their claims or interests, at least 50% of the vote and value of the stock of the reorganized
 debtor (or a controlling corporation if also in bankruptcy under title 11) under a confirmed plan (the
 “Section 382(l)(5) Exception”). Under the Section 382(l)(5) Exception, a debtor’s pre-change losses are not
 limited on an annual basis, but instead NOL carryforwards will be reduced by the amount of any interest
 deductions claimed during the three taxable years preceding the effective date of the plan of reorganization,
 and during the part of the taxable year prior to and including the effective date of the plan of reorganization,
 in respect of all debt converted into stock in the reorganization. If the Section 382(l)(5) Exception applies
 and a debtor undergoes another ownership change within two years after the effective date of the plan of
 reorganization, then the debtor’s pre-change losses effectively are eliminated in their entirety. For purposes
 of the Section 382(l)(5) Exception, a “qualified creditor” generally consists of certain long-term creditors
 (who held the claims continuously for at least 18 months prior to the filing of the bankruptcy petition) or
 ordinary course creditors (e.g., trade creditors). If a debtor qualifies for the Section 382(l)(5) Exception, the
 exception applies unless the debtor affirmatively elects for it not to apply.

           Where the Section 382(l)(5) Exception is not applicable to a corporation in bankruptcy (either
 because the debtor does not qualify for it or the debtor otherwise elects not to utilize the Section 382(l)(5)
 Exception), a second special rule will generally apply (the “Section 382(l)(6) Exception”). Under the
 Section 382(l)(6) Exception, the annual limitation generally will be calculated by reference to the lesser of
 the value of the debtor corporation’s new stock (with certain adjustments) immediately after the ownership
 change or the value of such debtor corporation’s assets (determined without regard to liabilities)
 immediately before the ownership change. This differs from the ordinary rule that requires the fair market
 value of a debtor corporation that undergoes an ownership change to be determined before the events giving
 rise to the change. The Section 382(l)(6) Exception also differs from the Section 382(l)(5) Exception in that
 the debtor corporation is not required to reduce its NOL carryforwards by the amount of interest deductions
 claimed within the prior three-year period, and the debtor could undergo a change of ownership within two
 years of the Effective Date without triggering the complete elimination of its pre-change losses.

           As discussed in Section 10.1(b)(i), “Cancellation of Debt Income” above, CorEnergy cannot
 determine the amount of COD income, if any, as it likely is dependent on a determination of the fair market
 value of the Senior Notes at the time of the exchange, assuming that the Senior Notes are determined to be
 publicly traded. If such fair market value of the Senior Notes closely approximates the sum of the cash, the
 anticipated fair market value of the New Common Stock and the face amount of the Takeback Debt,
 CorEnergy generally should not realize any substantial amount of COD income upon the implementation
 of the Plan. In that case, CorEnergy would not be required to materially reduce any tax attributes, including
 NOLs. The implementation of the Plan is expected to give rise to an ownership change for purposes of
 section 382 of the Tax Code. As a result, any NOLs and certain other tax attributes of the Reorganized
 Debtor will be subject to the Section 382 Limitation unless the Reorganized Debtor is eligible for, and does
 not elect out of, the Section 382(l)(5) Exception. Because the Debtor is under the jurisdiction of a court in
 a title 11 case and the Debtor believes existing shareholders and qualifying creditors will own at least 50%
 of the stock in the Reorganized Debtor, the Debtor anticipates being eligible for the Section 382(l)(5)
 Exception and does not expect to elect out of such exception. To avoid another ownership change within
 two years of the Effective Date of the Plan, which would eliminate certain NOLs and tax attributes, the
 Debtor expects that any Holder of New Common who owns 5% or greater of the total New Common Stock
 issued pursuant to the Plan will enter into a shareholders agreement restricting their ability to transfer any
 the New Common Stock for a period of two years. The Debtor does not expect any substantial reduction in
 its NOLs from the disallowance of interest deductions on Senior Notes converted to New Common Stock
 in the bankruptcy reorganization.
                                                       113
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                     Document    Page 114 of 446



          CorEnergy estimates that, as of December 31, 2022 (the amount as of December 31, 2023 has not
 yet been determined), it had approximately $321 million in federal net operating loss (“NOL”)
 carryforwards and may have other favorable tax benefits (including asset tax basis of the Debtor in excess
 of value, a so-called “built-in loss”) as of December 31, 2023 in amounts that have not yet been determined,
 (collectively, the “Tax Attributes”). The amount of any such NOLs and other Tax Attributes remains subject
 to further analysis of CorEnergy and adjustment by the IRS.

          (c)      Consequences to Holders of Certain Claims and Interests

         In general, the U.S. federal income tax treatment of U.S. Holders of Claims will depend, in part,
 on whether the receipt of such consideration under the Plan qualifies as an exchange of stock or securities
 pursuant to a tax-free reorganization or if, instead, the consideration under the Plan is treated as having
 been received in a fully taxable disposition. Whether the receipt of New Common Stock or Takeback Debt
 under the Plan qualifies for tax-free reorganization treatment will depend on, among other things, whether
 the Claim being exchanged and the consideration being received constitute “securities” and the manner in
 which the Plan is implemented.

          Neither the Tax Code nor the Treasury Regulations promulgated thereunder defines the term
 “security.” Whether a debt instrument constitutes a “security” for U.S. federal income tax purposes is
 determined based on all the relevant facts and circumstances, but most authorities have held that the length
 of the term of a debt instrument is an important factor in determining whether such instrument is a security
 for U.S. federal income tax purposes. These authorities have indicated that a term of less than five years is
 evidence that the instrument is not a security, whereas a term of ten years or more is evidence that it is a
 security. There are numerous other factors that could be taken into account in determining whether a debt
 instrument is a security, including the security for payment, the creditworthiness of the obligor, the
 subordination or lack thereof to other creditors, the right to vote or otherwise participate in the management
 of the obligor, convertibility of the instrument into an equity interest of the obligor, whether payments of
 interest are fixed, variable, or contingent, and whether such payments are made on a current basis or
 accrued.

          Each U.S. Holder of a Claim should consult its own tax advisor regarding the U.S. federal income
 tax consequences to it of the treatment of the implementation of the Plan as a taxable transaction or a tax-
 free reorganization.

         Under section 368(a)(1)(E) of the Tax Code, a recapitalization is a tax-free reorganization, which
 generally involves the exchange of stock or securities in a corporation for stock or securities in the same
 corporation pursuant to a plan of reorganization. If the shareholder or creditor receives money or other
 property in addition to stock or securities of the corporation, the recipient of such “boot” must recognize its
 gain on the exchange, if any, to the extent of the boot received. Boot includes the fair market value of the
 excess of the principal amount of securities received over the principal amount of securities surrendered.
 The basis of the property received by the shareholder or creditor in the tax-free exchange is the basis of the
 property surrendered, but adjusted for any boot received, dividends deemed distributed and gain or loss
 recognized by the shareholder or creditor on the exchange.

                          (i)      Preferred Stock Interests

          The Debtor believes that the satisfaction of Preferred Stock Interest with New Common Stock may
 constitute a tax-free recapitalization under Tax Code section 368(a)(1)(E) since it involves the exchange of
 stock for new stock in a single corporation, the Debtor. If true, the Holder of such Interest should not
 recognize gain or loss on the exchange and will take a tax basis in the New Common Stock received equal
 to their basis in the Preferred Stock surrendered in the exchange. If the Preferred Stock is held as a capital
                                                      114
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                      Document    Page 115 of 446



 asset, the Preferred Stock Holder should receive a carryover holding period. Because such stock is not
 subject to the transfer lock-up provisions to protect the section 382 Limitation, such Holder could sell such
 New Common Stock and would recognize any gain or loss on the sale.

                          (ii)      Senior Note Claims

          The Debtor believes that the satisfaction of Senior Note Claims with cash, Takeback Debt and the
 New Common Stock may also constitute a tax-free recapitalization, based upon its conclusion the Senior
 Notes constitute securities for U.S. federal income tax purposes. If true, the Senior Note Holders generally
 will recognize gain on the exchange, to the extent of the lesser of the gain realized or the boot received. An
 exchanging Senior Note Holder cannot recognize a loss on a tax-free reorganization exchange. Thus, if the
 only boot received is the cash, the Senior Note Holders generally will recognize gain on the exchange, to
 the extent of the lesser of the cash received or the gain realized. Such gain may be treated as capital gain,
 except to the extent that such gain is attributable to accreted market discount, in which case the gain may
 be treated as ordinary income.

          The Debtor believes that the Takeback Debt may constitute a security for Federal income tax
 purposes based upon the term of such debt and the facts and circumstances regarding such debt. If true, the
 receipt of the Takeback Debt should be treated as a tax-free recapitalization. The Holder’s basis in the
 Senior Notes exchanged, after taking into account the basis, if any, taken into account with respect to the
 boot received, is then allocated between the New Common Stock and the Takeback Debt, based upon their
 relative aggregate fair market values. The holding period should include the holding period of the Senior
 Notes exchanged.

          If, however, the Senior Note Claims are not securities for U.S. federal income tax purposes, and
 the exchange constitutes a taxable transaction, the Senior Note Holders will recognize gain or loss on the
 exchange in an amount equal to the difference between the fair market value of the consideration received
 in the exchange and the basis of the Senior Notes. Installment sale reporting would be available for the
 portion of the gain attributable to the Takeback Debt only if the Senior Notes are not traded on an
 established securities market and the Takeback Debt is not readily tradeable, both within the meaning of
 section 453 of the Tax Code and the Treasury Regulations promulgated thereunder. Because the Debtor
 believes that the Senior Notes likely constitute securities for U.S. federal income tax purposes, the Debtor
 has not discussed in detail the potential ramifications of such a characterization.

         If the Senior Notes are treated as a security, but the Takeback Debt fails to constitute a security, the
 Takeback Debt will constitute boot, along with the cash, and the Holders of the Senior Notes generally
 would recognize gain on the exchange to the extent of the lesser of the gain realized or the sum of the cash
 received and the fair market value of the Takeback Debt. Such gain may be treated as capital gain, except
 to the extent that such gain is attributable to accreted market discount, in which case such portion of the
 gain will likely be treated as ordinary income.

          To the extent a U.S. Holder of a Claim receives consideration that is attributable to unpaid accrued
 interest on the Claim, the U.S. Holder will be required to treat such consideration as a payment of interest
 (except to the extent of unpaid accrued interest previously included in gross income by the U.S. Holder).
 In this regard, the Plan provides that distributions in full or partial satisfaction of Allowed Claims shall be
 allocated first to the principal amount (as determined for U.S. federal income tax purposes) of Allowed
 Claims, with any excess allocated to unpaid interest that accrued on such Claims. Notwithstanding this
 provision in the Plan, there is general uncertainty regarding the extent to which the receipt of cash or other
 property should be treated as attributable to unpaid accrued interest. Certain legislative history indicates
 that an allocation of consideration as between principal and interest provided in a chapter 11 plan of
 reorganization is binding for U.S. federal income tax purposes, while certain Treasury Regulations treat
                                                      115
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                   Document    Page 116 of 446



 payments as allocated first to any accrued but untaxed interest. A U.S. Holder’s tax basis in property
 received pursuant to the Plan that is considered attributable to unpaid accrued interest should be equal to
 the amount of interest income treated as satisfied by the receipt of the property, and its holding period in
 the property should begin on the day after the Effective Date. A U.S. Holder generally will be entitled to
 recognize a loss to the extent any accrued interest previously included in its gross income is not paid in full.
 Although not entirely clear, such a loss may be treated as an ordinary loss rather than a capital loss.

      U.S. HOLDERS SHOULD CONSULT THEIR TAX ADVISORS REGARDING THE
 EXTENT TO WHICH CONSIDERATION RECEIVED UNDER THE PLAN SHOULD BE
 TREATED AS ATTRIBUTABLE TO UNPAID ACCRUED INTEREST.

                          (iii)    Grier Member Claims

          Under the Plan, the Grier Member Claims are addressed through effective amendments to the Third
 and Fourth Amended and Restated Limited Liability Company Agreements of Crimson Midstream
 Holdings, LLC, pursuant to which the Grier Members lose the right to certain operational and liquidation
 distributions from Crimson, based upon the treatment of the CorEnergy stock that relates to the Crimson
 Units. The Debtor believes, such changes likely would not result in a taxable sale, exchange or disposition
 of Crimson Units. The shifting of these rights and obligations may result in the reallocation of Crimson
 debt among its members, which may result in either deemed cash contributions or deemed cash distributions
 by the Grier Members. Generally, a member, treated as a partner of a partnership for U.S. federal income
 tax purposes, does not recognize any gain or loss with respect to a contribution or a distribution, other than
 a distribution of cash (or deemed distribution of cash), but only to the extent that the cash distribution was
 in excess of the member's basis in the partnership.

                          (iv)     Market Discount

         A U.S. Holder that purchased its Senior Note from a prior Holder at a market discount may be
 subject to the market discount rules of the Tax Code. In general, a debt instrument is considered to have
 been acquired with market discount if it is acquired other than on original issue and if the U.S. Holder’s
 adjusted tax basis in such instrument is less than (i) the stated redemption price at maturity or (ii) in the
 case of a debt instrument issued with OID, its adjusted issue price, in each case, by at least a de minimis
 amount (equal to the product of 0.25% of the stated redemption price at maturity multiplied by the number
 of remaining whole years to maturity).

          Under the market discount rules, assuming that the U.S. Holder has made no election to amortize
 the market discount into income on a current basis with respect to any market discount instrument, any gain
 recognized on the exchange of such Senior Note (subject to a de minimis rule) generally would be
 characterized as ordinary income to the extent of the accrued market discount on such Senior Note as of the
 date of the exchange.

         Any market discount will be considered to accrue on a straight-line basis during the period from
 the date of acquisition of such Senior Note to their maturity date, unless the holder irrevocably elected to
 compute the accrual on a constant yield basis.

           To the extent that an exchange of a Senior Note subject to the market discount rules for cash,
 Takeback Debt and the New Common Stock constitutes a tax-free recapitalization, although not entirely
 clear, it appears that accrued market discount with respect to the Senior Note would be recognized to the
 extent of any gain on the boot received in the recapitalization. In addition, the Takeback Debt will be
 attributed the portion of market discount attributable to the Senior Notes exchanged for the Takeback Debt.

                                                       116
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                      Document    Page 117 of 446



                           (v)      Limitation on Use of Capital Losses

         A U.S. Holder of an Allowed Claim or Interest who recognizes capital losses as a result of the
 implementation of the Plan will be subject to limits on the use of such capital losses. For a noncorporate
 holder, capital losses generally may be used to offset any capital gains (without regard to holding periods),
 and also ordinary income to the extent of the lesser of (1) $3,000 ($1,500 for married individuals filing
 separate returns) or (2) the excess of the capital losses over the capital gains. A noncorporate Holder may
 carry over unused capital losses and apply them against future capital gains and a similar portion of their
 ordinary income for an unlimited number of years. For corporate Holders, capital losses may only be used
 to offset capital gains. A corporate Holder that has more capital losses than may be used in a tax year
 generally may carry back unused capital losses to the three years preceding the capital loss year and may
 carry over unused capital losses for only the five years following the capital loss year.

                           (vi)     Certain Considerations Regarding the Takeback Debt

          As discussed in Section 10.1(b)(i), “Cancellation of Debt Income”, above, the “issue price” of the
 Takeback Debt generally depends on whether either the Senior Notes or the Takeback Debt is publicly
 traded. If neither are publicly traded, the issue price of the Takeback Debt generally would be its stated
 principal amount (because the interest rate on the Takeback Debt is expected to exceed the applicable
 federal rate published by the IRS). If the Takeback Debt is publicly traded, the issue price of the Takeback
 Debt will be the fair market value of such debt instrument on the issue date as determined by such trading.
 If the Senior Notes are publicly traded and the Takeback Debt is not, the issue price of the Takeback Debt
 will be the fair market value of the portion of the Senior Notes exchanged for the Takeback Debt upon the
 exchange. To the extent that the issue price is below the face amount of the Takeback Debt, such amount
 may be treated as OID.

          In addition to any potential OID described in the preceding paragraph, the Takeback Debt may be
 treated as issued with OID, since the stated interest payable on the Takeback Debt likely does not constitute
 qualified stated interest due to the Debtor's ability to issue a note for the first year's interest payment. A
 debt instrument generally has OID if its “stated redemption price at maturity” exceeds its “issue price” (as
 described above) by more than a de minimis amount. The “stated redemption price at maturity” of the
 Takeback Debt for this purpose would include all principal and interest payable over the term of such debt
 instrument, other than “qualified stated interest,” (i.e., stated interest that is unconditionally payable at least
 annually at a constant rate in cash or property (other than debt of the issuer)).

         If the Takeback Debt is issued with OID, a U.S. Holder of such Takeback Debt generally will be
 required to include OID in gross income as it accrues over the term of the debt in accordance with a constant
 yield-to-maturity method, regardless of whether the U.S. Holder is a cash or accrual method taxpayer, and
 regardless of whether and when the U.S. Holder receives cash payments of interest on the obligation.

          Accordingly, a U.S. Holder could be treated as receiving interest income in advance of a
 corresponding receipt of cash. Any OID that a U.S. Holder includes in income will increase the holder’s
 adjusted tax basis in the Takeback Debt. A U.S. Holder generally will not be required to include separately
 in income cash payments (other than in respect of qualified stated interest) received on the Takeback Debt;
 instead, such payments will reduce the U.S. Holder’s adjusted tax basis in the Takeback Debt by the amount
 of the payment.

          The amount of OID includible in income for a taxable year by a U.S. Holder generally equals the
 sum of the daily portions of OID that accrue on the Takeback Debt for each day during the taxable year on
 which such Holder holds the Takeback Debt, whether reporting on the cash or accrual basis of accounting
 for U.S. federal income tax purposes. The daily portion is determined by allocating to each day of an accrual
                                                        117
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                      Document    Page 118 of 446



 period (generally, the period between interest payments or compounding dates) a pro rata portion of the
 OID allocable to such accrual period. The amount of OID that will accrue during an accrual period is the
 product of the “adjusted issue price” of the Takeback Debt at the beginning of the accrual period multiplied
 by the yield to maturity of the Takeback Debt, less the amount of any qualified stated interest allocable to
 such accrual period. The “adjusted issue price” of the Takeback Debt at the beginning of an accrual period
 will equal its issue price, increased by the aggregate amount of OID that has accrued on the Takeback Debt
 in all prior accrual periods, and decreased by any payments made during all prior accrual periods on the
 Takeback Debt, other than qualified stated interest. If the periodic interest on the Takeback Debt is not
 qualified stated interest, the interest would have to be reported on the accrual basis. If there is no additional
 OID due to the computation of the Takeback Debt issue price on the exchange for a portion of the Senior
 Notes, the accrued OID income may be comparable to the periodic interest payments made.

         The rules regarding the determination of issue price and OID are complex, and the OID rules
 described above may not apply in all cases. Accordingly, each holder of the Takeback Debt is urged
 to consult its tax advisor regarding the possible application of the OID rules to the Takeback Debt.

           Unless a non-recognition provision applies, a U.S. Holder of the Takeback Debt generally will
 recognize capital gain or loss upon the sale, redemption, or other disposition of the Takeback Debt, subject
 to potential application of the market discount rules. Such capital gain or loss will be long-term capital gain
 or loss if at the time of the sale, exchange, retirement, or other taxable disposition, the U.S. Holder’s holding
 period in the Takeback Debt is more than one year. Long-term capital gain of an individual taxpayer
 generally is taxed at preferential rates. The deductibility of capital loss is subject to significant limitations.

          (d)      Tax Consequences of Owning and Disposing of New Common Stock

        The following is a summary of certain material U.S. federal income tax consequences of the
 ownership and disposition of the New Common Stock applicable to taxable U.S. Holders.

          For any taxable year for which the Reorganized Debtor qualifies for taxation as REIT, amounts
 distributed to taxable U.S. Holders will be taxed as follows.

                           (i)      Distributions Generally

          Distributions to U.S. Holders, other than capital gain dividends discussed below, will constitute
 dividends to those holders up to the amount of the Reorganized Debtor’s current or accumulated earnings
 and profits and are taxable to the stockholders as ordinary income. These distributions are not eligible for
 the dividends-received deduction for corporations. To the extent that the Reorganized Debtor makes
 distributions in excess of its current or accumulated earnings and profits, the distributions will first be
 treated as a tax free return of capital, reducing the tax basis in the U.S. Holder's shares, and distributions in
 excess of the U.S. Holder's tax basis in its shares are taxable as gain realized from the sale of the shares.
 Dividends declared by the Reorganized Debtor in October, November or December of any year payable to
 a U.S. Holder of record on a specified date in any of these months will be treated as both paid by the
 Reorganized Debtor and received by the U.S. Holder on December 31 of the year, provided that the
 Reorganized Debtor actually pays the dividend during January of the following calendar year. U.S. Holders
 may not include on their own income tax returns any of the Reorganized Debtor’s tax losses.

         In general, dividends paid by REITs are not eligible for the reduced tax rates on “qualified dividend
 income” and, as a result, the Reorganized Debtor’s ordinary REIT dividends will continue to be taxed at
 the higher ordinary income tax rate. However, dividends received by a noncorporate stockholder could be
 treated as “qualified dividend income” to the extent the Reorganized Debtor has dividend income from
 taxable corporations (such as a taxable REIT subsidiary) and to the extent the Reorganized Debtor’s
                                                       118
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                      Document    Page 119 of 446



 dividends are attributable to income that is subject to tax at the Reorganized Debtor level (for example, if
 the Reorganized Debtor distributed less than 100% of its taxable income). In general, to qualify for the
 reduced tax rate on qualified dividend income, a stockholder must hold the Reorganized Debtor’s stock for
 more than 60 days during the 121 -day period beginning on the date that is 60 days before the date on which
 the New Common Stock becomes ex-dividend. Pursuant to section 857(g) of the Tax Code, the aggregate
 amount of dividends designated by the Reorganized Debtor as qualified dividend income or capital gain
 dividends (discussed below) with respect to any taxable year is limited to the amount of dividends paid by
 the Reorganized Debtor with respect to such year. For these purposes, dividends paid after the close of the
 taxable year pursuant to section 858 of the Tax Code shall be treated as paid with respect to such year. The
 Reorganized Debtor will be treated as having sufficient earnings and profits to treat as a dividend any
 distribution it makes up to the amount required to be distributed in order to avoid imposition of the 4%
 excise tax under section 4981 of the Tax Code. As a result, the Reorganized Debtor’s stockholders may be
 required to treat certain distributions that would otherwise result in a tax-free return of capital as taxable
 dividends. Moreover, any deficiency dividend will be treated as a dividend—an ordinary dividend or a
 capital gain dividend, as the case may be—regardless of the Reorganized Debtor’s earnings and profits.

          Under the Tax Cuts and Jobs Act of 2017, for tax years beginning after December 31, 2017 and
 prior to January 1, 2026, noncorporate stockholders are generally eligible to deduct up to 20% of the amount
 of ordinary REIT dividends that are not designated as capital gain dividends or qualified dividend income,
 subject to certain limitations.

                          (ii)      Dividends Paid Through a Combination of Cash and Issuance of
                                    Additional Shares of Stock

          To maintain the Reorganized Debtor’s qualification as a REIT, the Reorganized Debtor generally
 is required each year to distribute to stockholders at least 90% of its net taxable income after certain
 adjustments. The Reorganized Debtor reserves the right to pay any or all of its quarterly New Common
 Stock dividends in a combination of shares of New Common Stock and cash in accordance with any
 applicable IRS guidance. As a result of such a distribution, a U.S. Holder generally must include the sum
 of the value of the New Common Stock and the amount of cash received in its gross income as dividend
 income to the extent that such holder's share of such a distribution is made out of its share of the portion of
 the Reorganized Debtor’s current and accumulated earnings and profits allocable to such distribution. The
 value of any New Common Stock received as part of a distribution generally is equal to the amount of cash
 that could have been received instead of the New Common Stock. Depending on the circumstances of the
 holder, the tax on the distribution may exceed the amount of the distribution received in cash, in which case
 such U.S. Holder would have to pay the tax using cash from other sources. If a U.S. Holder sells the stock
 it receives as a dividend to pay this tax and the sales proceeds are less than the amount required to be
 included in income with respect to the dividend, such holder could have a capital loss with respect to the
 stock sale that could not be used to offset such dividend income. (Furthermore, with respect to Non-U.S.
 Holders, the Reorganized Debtor may be required to withhold U.S. tax with respect to such dividend,
 including the portion that is payable in stock. For additional information, see “—U.S. Federal Income Tax
 Consequences to Non-U.S. Holders of Certain Claims” below.) A holder that receives New Common Stock
 pursuant to a distribution generally has a tax basis in such New Common Stock equal to the amount of cash
 that could have been received instead of such common stock, and a holding period in such New Common
 Stock that begins on the payment date for the distribution.

         Future dividends are determined in the discretion of the Reorganized Debtor’s board of directors
 and depend on actual and projected cash flow, financial condition, funds from operations, earnings, capital
 requirements, the annual REIT distribution requirements, contractual prohibitions or other restrictions,
 applicable law and such other factors as the Reorganized Debtor’s board of directors deems relevant.

                                                      119
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                      Document    Page 120 of 446



                           (iii)    Capital Gain Dividends

         Dividends to U.S. Holders that the Reorganized Debtor properly designates as capital gain
 dividends will be treated as long-term capital gain, to the extent they do not exceed the Reorganized
 Debtor’s actual net capital gain and to the extent they do not exceed the limitation under section 857(g) of
 the Tax Code discussed above, for the taxable year without regard to the period for which the stockholder
 has held its stock. Capital gain dividends are not eligible for the dividends-received deduction for
 corporations, and, corporate stockholders may be required to treat up to 20% of certain capital gain
 dividends as ordinary income.

           Noncorporate taxpayers are generally taxable at a current maximum tax rate of 20% for long-term
 capital gain, but such capital gains also will be subject to the 3.8% Medicare tax on certain U.S. Holders.
 A portion of any capital gain dividends received by noncorporate taxpayers might be subject to tax at a 25%
 rate to the extent attributable to gains realized on the sale of real property that correspond to the Reorganized
 Debtor’s “unrecaptured section 1250 gain.”

          If the Reorganized Debtor elects to retain capital gains rather than distribute them, a U.S. Holder
 will be deemed to receive a capital gain dividend equal to the amount of its proportionate share of the
 retained capital gains. In this case, a U.S. Holder will receive certain tax credits and basis adjustments
 reflecting the deemed distribution and deemed payment of taxes by the U.S. Holder.

                           (iv)     Sale or Other Taxable Disposition

          A U.S. Holder of New Common Stock will recognize gain or loss upon the sale or other taxable
 disposition of New Common Stock equal to the difference between the amount realized upon the disposition
 and the U.S. Holder’s adjusted tax basis in the New Common Stock. Subject to the recapture rules under
 section 108(e)(7) of the Tax Code, any such gain or loss generally will be capital gain or loss, provided the
 New Common Stock is held as a capital asset, and will be long-term capital gain or loss if the U.S. Holder
 has held the New Common Stock for more than one year as of the date of disposition. U.S. Holders should
 consult their tax advisors regarding the applicable tax rates and netting rules for capital gains and losses.
 There are limitations on the deduction of capital losses by both corporate and non-corporate taxpayers.

          (e)      U.S. Federal Income Tax Consequences to Non-U.S. Holders of Certain Claims

         The rules governing U.S. federal income taxation of a Non-U.S. Holder are complex. The following
 discussion includes only certain U.S. federal income tax consequences of the Plan to Non-U.S. Holders.
 The discussion does not include any non-U.S. tax considerations. Non-U.S. Holders should consult with
 their own tax advisors to determine the effect of U.S. federal, state, and local tax laws, as well as any other
 applicable non-U.S. tax laws and/or treaties, with regard to their participation in the transactions
 contemplated by the Plan, their ownership of Allowed Claims and the ownership, exercise and disposition
 of New Common Stock.

                           (i)      Distributions in Discharge of Claims

         Whether a Non-U.S. Holder will recognize gain or loss in connection with the receipt of cash,
 Takeback Debt, or New Common Stock in satisfaction of their Claims pursuant to the Plan, will be
 determined as described above under the discussion applicable to U.S. Holders. If a Non-U.S. Holder
 recognizes gain on such exchange, subject to the discussions below regarding FATCA (as defined below)
 and backup withholding, any such gain recognized by a Non-U.S. Holder on the exchanges generally will
 not be subject to U.S. federal income taxation unless (a) the Non-U.S. Holder is an individual who was
 present in the United States for 183 days or more during the taxable year in which the relevant sale,
                                                       120
  HB: 4863-9936-1961.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                     Desc Main
                                      Document    Page 121 of 446



 exchange or other taxable disposition occurs and certain other conditions are met, or (b) such gain is
 effectively connected with the conduct by such Non-U.S. Holder of a trade or business in the United States
 (and if required by an applicable income tax treaty, such gain is attributable to a permanent establishment
 maintained by such Non-U.S. Holder in the United States).

         If the first exception applies, to the extent that any gain is recognized, the Non-U.S. Holder
 generally will be subject to U.S. federal income tax at a rate of 30% (or at a reduced rate or exemption from
 tax under an applicable income tax treaty) on the amount by which such Non-U.S. Holder’s capital gains
 allocable to U.S. sources exceed its capital losses allocable to U.S. sources during the taxable year of the
 exchange.

          If the second exception applies, the Non-U.S. Holder generally will be subject to U.S. federal
 income tax with respect to any gain recognized in the same manner as a U.S. Holder. Such gain generally
 will not be subject to withholding tax, provided the Non-U.S. Holder provides a properly executed IRS
 Form W-8ECI (or a successor form). In addition, if such Non-U.S. Holder is a corporation for U.S. federal
 income tax purposes, it may be subject to a branch profits tax equal to 30% (or such lower rate provided by
 an applicable income tax treaty) of its effectively connected earnings and profits for the taxable year, subject
 to certain adjustments.

          Payments made to a Non-U.S. Holder that are attributable to either (a) interest on (or OID accruals
 with respect to) debt received under the Plan, or (b) to accrued but untaxed interest generally will not be
 subject to U.S. federal income or withholding tax, provided that (i) such Non-U.S. Holder is not a bank, (ii)
 such Non-U.S. Holder does not actually or constructively own 10% or more of the total capital or profits
 interests in the Company and (iii) the withholding agent has received or receives, prior to payment,
 appropriate documentation (generally, IRS Form W- 8BEN or W-8BEN-E) establishing that the Non-U.S.
 Holder is not a U.S. person, unless such interest is effectively connected with the conduct by the Non-U.S.
 Holder of a trade or business within the United States (in which case, provided the Non-U.S. Holder
 provides a properly executed IRS Form W-8ECI (or successor form) to the withholding agent, the Non-
 U.S. Holder (x) generally will not be subject to withholding tax, but (y) will be subject to U.S. federal
 income tax in the same manner as a U.S. Holder (unless an applicable income tax treaty provides otherwise),
 and a Non-U.S. Holder that is a corporation for U.S. federal income tax purposes may also be subject to a
 branch profits tax with respect to such Non-U.S. Holder’s effectively connected earnings and profits that
 are attributable to the accrued but untaxed interest at a rate of 30% (or at a reduced rate or exemption from
 tax under an applicable income tax treaty)). A Non-U.S. Holder that does not qualify for exemption from
 withholding tax with respect to accrued but untaxed interest that is not effectively connected income
 generally will be subject to withholding of U.S. federal income tax at a 30% rate (or at a reduced rate or
 exemption from tax under an applicable income tax treaty) on payments that are attributable to accrued but
 untaxed interest. For purposes of providing a properly executed IRS Form W-8BEN or W-8BEN-E, special
 procedures are provided under applicable Treasury Regulations for payments through qualified foreign
 intermediaries or certain financial institutions that hold customers’ securities in the ordinary course of their
 trade or business.

                          (ii)      FIRPTA

          Under the Foreign Investment in Real Property Tax Act (“FIRPTA”), gain on the disposition of
 certain investments in U.S. real property, including interests in corporations (including REITs) the assets
 of which predominantly consist of interests in U.S. real property (in each case other than an interest solely
 as a creditor) (“USRPIs”) is generally subject to U.S. federal income tax in the hands of Non-U.S. Holders
 and treated as effectively connected income (“ECI”) that is subject to U.S. federal net income tax even if a
 Non-U.S. Holder is not otherwise engaged in a U.S. trade or business. It is expected that shares of New
 Common Stock will be considered USRPIs, subject to the availability of any applicable exception
                                                       121
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 122 of 446



 (discussed below).

          Under the domestically controlled REIT exception, if Non-U.S. Holders own less than 50% (by
 value) of the stock of a REIT at all times during a specific period, the interests in such REIT will not be
 treated as a USRPI and, as a result, a Non-U.S. Holder would not be subject to substantive taxation under
 FIRPTA or FIRPTA withholding upon a disposition of its shares in any such REIT. No assurance can be
 given that the Debtor will be a domestically controlled REIT at emergence or thereafter.

        Non-U.S. Holders of an Allowed Claim should consult with their own tax advisors regarding the
 complex tax rules that govern the disposition of a USRPI.

                          (iii)    Distributions on New Common Stock

          Any distributions made with respect to New Common Stock, including distributions treated as
 made as described above under the discussion applicable to U.S. Holders, will constitute dividends for U.S.
 federal income tax purposes to the extent such distributions are paid out of the Reorganized Debtor’s current
 or accumulated earnings and profits as determined for U.S. federal income tax purposes. Except as
 described below, dividends paid with respect to New Common Stock held by a Non-U.S. Holder that are
 not effectively connected with such Non-U.S. Holder’s conduct of a trade or business in the United States
 (and if an income tax treaty applies, are not attributable to a permanent establishment maintained by such
 Non-U.S. Holder in the United States) will be subject to U.S. federal withholding tax at a rate of 30% (or
 at a reduced rate or exemption from tax under an applicable income tax treaty). A Non-U.S. Holder
 generally will be required to satisfy certain IRS certification requirements in order to claim a reduction of
 or exemption from withholding under a tax treaty by filing IRS Form W-8BEN or W-8BEN-E, as applicable
 (or a successor form), or other applicable IRS Form W-8, upon which the Non-U.S. Holder certifies, under
 penalties of perjury, its status as a non-U.S. person and its entitlement to the lower treaty rate or exemption
 from tax with respect to such payments. Dividends paid with respect to New Common Stock held by a Non-
 U.S. Holder that are effectively connected with a Non-U.S. Holder’s conduct of a trade or business in the
 United States (and if required by an applicable income tax treaty, such gain is attributable to a permanent
 establishment maintained by such Non-U.S. Holder in the United States) generally will not be subject to
 withholding tax, provided the Non-U.S. Holder provides a properly executed IRS Form W-8ECI (or a
 successor form). However, such dividends generally will be subject to U.S. federal income tax in the same
 manner as a U.S. Holder, and a Non-U.S. Holder that is a corporation for U.S. federal income tax purposes
 may also be subject to a branch profits tax equal to 30% (or such lower rate provided by an applicable
 income tax treaty) of its effectively connected earnings and profits for the taxable year, subject to certain
 adjustments.

          Unless the Reorganized Debtor’s stock constitutes a USRPI, distributions by the Reorganized
 Debtor which are not paid out of its current and accumulated earnings and profits will not be subject to U.S.
 income or withholding tax. If it cannot be determined at the time a distribution is made whether or not such
 distribution will be in excess of the Reorganized Debtor’s current and accumulated earnings and profits,
 the distribution will be subject to withholding at the rate applicable to dividends. However, the Non-U.S.
 Holder may seek a refund of such amounts from the IRS if it is subsequently determined that such
 distribution was, in fact, in excess of the Reorganized Debtor’s current and accumulated earnings and
 profits. If the Reorganized Debtor’s New Common Stock constitutes a USRPI, a distribution in excess of
 current and accumulated earnings and profits will be subject to a 15% withholding tax and may be subject
 to additional taxation under FIRPTA. However, the 15% withholding tax will not apply to distributions
 already subject to the 30% dividend withholding.

        A Non-U.S. Holder generally should expect the Reorganized Debtor to withhold U.S. federal
 income tax at the rate of 30% on the gross amount of any distributions of ordinary income made to a Non-
                                                      122
  HB: 4863-9936-1961.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                     Document    Page 123 of 446



 U.S. Holder unless (1) a lower treaty rate applies and proper certification is provided or (2) the Non-U.S.
 Holder files an IRS Form W- 8ECI with the Reorganized Debtor claiming that the distribution is effectively
 connected with the Non-U.S. Holder's conduct of a U.S. trade or business (or, if an income tax treaty applies,
 is attributable to a U.S. permanent establishment of the Non-U.S. Holder). However, the Non-U.S. Holder
 may seek a refund of such amounts from the IRS if it is subsequently determined that such distribution was,
 in fact, in excess of the Reorganized Debtor’s current and accumulated earnings and profits.

                          (iv)     Capital Gains Dividends

          Under FIRPTA, a distribution made by the Reorganized Debtor to a Non-U.S. Holder, to the extent
 attributable to gains (“USRPI Capital Gains”) from dispositions of USRPIs, will be considered effectively
 connected with a U.S. trade or business of the Non-U.S. Holder and therefore will be subject to U.S. income
 tax at the rates applicable to U.S. Holders, without regard to whether such distribution is designated as a
 capital gain dividend. The properties owned by Crimson generally are USRPIs. Distributions subject to
 FIRPTA may also be subject to a 30% branch profits tax in the hands of a corporate Non-U.S. Holder that
 is not entitled to treaty exemption.

          Distributions attributable to the Reorganized Debtor’s capital gains which are not USRPI Capital
 Gains generally will not be subject to income taxation, unless (1) investment in the shares is effectively
 connected with the Non-U.S. Holder's U.S. trade or business (or, if an income tax treaty applies, is
 attributable to a U.S. permanent establishment of the Non-U.S. Holder), in which case the Non-U.S. Holder
 will be subject to the same treatment as U.S. Holders with respect to such gain (except that a corporate
 Non-U.S. Holder may also be subject to the 30% branch profits tax) or (2) the Non-U.S. Holder is a non-
 resident alien individual who is present in the United States for 183 days or more during the taxable year
 and certain other conditions are present, in which case the nonresident alien individual will be subject to a
 30% tax on the individual’s capital gains.

          The Reorganized Debtor generally will be required to withhold and remit to the IRS 21% (or 20%
 to the extent provided in Treasury Regulations) of any distributions to Non-U.S. Holders that are designated
 as capital gain dividends, or, if greater, 21% of a distribution that could have been designated as a capital
 gain dividend. Distributions can be designated as capital gains to the extent of the Reorganized Debtor’s
 net capital gain for the taxable year of the distribution. The amount withheld is creditable against the Non-
 U.S. Holder’s U.S. federal income tax liability. This withholding will not apply to any amounts paid to a
 holder of not more than 10% of the Reorganized Debtor’s common shares while such shares are regularly
 traded on an established securities market. Instead, those amounts will be treated as described above under
 “— Distributions on New Common Stock.” The Reorganized Debtor does not currently expect the New
 Common Stock to be regularly traded on an established securities market.

                          (v)      Gain Recognition from the Sale, Redemption or Repurchase of New
                                   Common Stock or Takeback Debt

         Unless New Common Stock constitutes a USRPI, gain realized on a sale of New Common Stock
 or a sale of Takeback Debt by a Non-U.S. Holder generally will not be subject to U.S. federal income
 taxation unless (1) such gain is effectively connected with the Non-U.S. Holder’s U.S. trade or business, in
 which case, as discussed above, the Non-U.S. Holder would be subject to the same treatment as U.S.
 Holders on the gain, (2) such gain is attributable to a permanent establishment that the Non-U.S. Holder
 maintains in the United States if that is required by an applicable income tax treaty as a condition for
 subjecting the Non-U.S. Holder to U.S. taxation on a net income basis, in which case the same treatment
 would apply to the Non-U.S. Holder as to U.S. Holders with respect to the gain or (3) the Non-U.S. Holder
 is a nonresident alien individual who was present in the United States for 183 days or more during the
 taxable year and who has a tax home in the United States, in which case the nonresident alien individual
                                                      123
  HB: 4863-9936-1961.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                    Document    Page 124 of 446



 will be subject to a 30% tax on the individual's capital gain.

           The New Common Stock will constitute a USRPI unless the Reorganized Debtor is a domestically
 controlled REIT at all times during a specified period. A domestically controlled REIT is a REIT in which
 at all times during a specified testing period less than 50% in value of its shares is held directly or indirectly
 by Non-U.S. Holders. No assurance can be given that the Reorganized Debtor will be a domestically
 controlled REIT at emergence or thereafter.

         If the New Common Stock constitutes a USRPI the gain on the sale of New Common Stock will
 be subject to taxation under FIRPTA, and a Non-U.S. Holder will be subject to U.S. income tax (including
 any alternative minimum tax) on any gain and withholding on proceeds. Non-U.S. Holders are urged to
 consult their tax advisors regarding the U.S. federal, state, local and foreign income and other tax
 consequences of owning New Common Stock.

          (f)      Additional Withholding Tax on Payments Made to Foreign Accounts

          Pursuant to the Foreign Account Tax Compliance Act (“FATCA”), withholding at a rate of 30%
 generally will be required on certain U.S.-source payments such as dividends or interest held by or through
 (i) a foreign financial institution (including investment funds) that does not qualify under certain
 exemptions, unless such institution enters into, and complies with, an agreement with the United States
 government to collect and provide to the United States tax authorities (or, pursuant to an applicable
 intergovernmental agreement, such institution provides the required information to the tax authority of such
 institution’s jurisdiction of tax residence) substantial information regarding United States account holders
 of such institution (which would include certain equity and debt holders of such institution, as well as
 certain account holders that are foreign entities with United States owners) and agrees to withhold on certain
 payments or (ii) a foreign entity that is not a financial institution that does not qualify under certain
 exemptions, unless such entity certifies to the applicable withholding agent that such entity does not have
 “substantial United States owners” (as defined in the Tax Code) (which generally includes any United States
 person who directly or indirectly owns more than 10% of the entity) or provides the applicable withholding
 agent with information regarding the entity’s substantial United States owners, which the withholding agent
 will in turn provide to the United States government. Accordingly, the entity through which the Claim is
 held will affect the determination of whether such withholding is required. Foreign financial institutions
 and foreign entities that are not financial institutions may be subject to the provisions of an
 intergovernmental agreement between the United States and the jurisdiction in which such financial
 institution or foreign entity is located that may modify these requirements. A holder of consideration
 received pursuant to the Plan should consult its own tax advisors regarding these rules and whether they
 may be relevant to the ownership and disposition of the consideration received pursuant to the Plan.
 Proposed Treasury Regulations, upon which taxpayers are permitted to rely, currently suspend indefinitely
 the application of withholding under FATCA to gross proceeds from the disposition of assets that can
 produce certain U.S. source payments including dividends and interest.

         Both U.S. Holders and Non-U.S. Holders should consult their tax advisors regarding the possible
 impact of these rules on such holders’ exchange of any of its Claims pursuant to the Plan.

          (g)      Information Reporting and Withholding

         The Debtor, the Reorganized Debtor, Disbursing Agent and applicable withholding agents will be
 required to withhold all amounts required by law to be withheld from payments of interest and dividends,
 whether in connection with distributions under the Plan or in connection with payments made on account
 of consideration received pursuant to the Plan, and will comply with all applicable information reporting
 requirements. The IRS may make the information returns reporting such interest and dividends and
                                                       124
  HB: 4863-9936-1961.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                                   Document    Page 125 of 446



 withholding available to the tax authorities in the country in which a Non-U.S. Holder is resident. In general,
 information reporting requirements may apply to distributions or payments under the Plan. Additionally,
 under the backup withholding rules, a holder of a Claim may be subject to backup withholding (at the then-
 current rate) with respect to distributions or payments made pursuant to the Plan or in connection with
 payments made on account of consideration received pursuant to the Plan unless that Holder: (a) comes
 within certain exempt categories (which generally include corporations) and, when required, demonstrates
 that fact; or (b) timely provides a correct taxpayer identification number and certifies under penalty of
 perjury that the taxpayer identification number is correct and that the holder is not subject to backup
 withholding (generally in the form of a properly executed IRS Form W-9 for a U.S. Holder, and, for a Non-
 U.S. Holder, in the form of a properly executed applicable IRS Form W-8 (or otherwise establishes such
 Non-U.S. Holder’s eligibility for an exemption)). Backup withholding is not an additional tax but is,
 instead, an advance payment that may be refunded to the extent it results in an overpayment of tax; provided
 that the required information is timely provided to the IRS.

         In addition, Treasury Regulations generally require disclosure by a taxpayer on its U.S. federal
 income tax return of certain types of transactions in which the taxpayer participated, including, among other
 types of transactions, certain transactions that result in the taxpayer claiming a loss in excess of specified
 thresholds. Holders of Claims subject to the Plan are urged to consult their tax advisors regarding these
 regulations and whether the transactions contemplated by the Plan would be subject to these regulations
 and require disclosure on the holders’ tax returns.

      THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX. THE
 FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF FEDERAL INCOME
 TAXATION THAT MAY BE RELEVANT TO A PARTICULAR HOLDER IN LIGHT OF SUCH
 HOLDER’S CIRCUMSTANCES AND INCOME TAX SITUATION. ALL HOLDERS OF CLAIMS
 ARE URGED TO CONSULT WITH THEIR TAX ADVISORS AS TO THE PARTICULAR TAX
 CONSEQUENCES TO THEM OF THE TRANSACTIONS CONTEMPLATED BY THE PLAN,
 INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL OR NON-U.S.
 TAX LAWS, AND OF ANY CHANGE IN APPLICABLE TAX LAWS.

                                        ARTICLE XI
                              CONCLUSION AND RECOMMENDATION

          The Debtor believes that Confirmation and Consummation of the Plan is preferable to all other
 alternatives. Consequently, the Debtor urges all Holders of Claims and Interests entitled to vote to accept
 the Plan and to evidence such acceptance by returning their Ballots so they will be received by the Notice
 and Claims Agent no later than 4:00 p.m. (prevailing Central Time) on _______________ ____, 2024.

 Dated: February 25, 2024                           CORENERGY INFRASTRUCTURE TRUST, INC.

                                                    By: /s/ Mark T. Benedict                      .
                                                    Mark T. Benedict, Esq.
                                                    John J. Cruciani, Esq.
                                                    4801 Main Street, Suite 1000
                                                    Kansas City, MO 64112
                                                    Telephone       (816) 983-8000
                                                    Facsimile       (816) 983-8080
                                                    Email:          Mark.Benedict@huschblackwell.com
                                                                    John.Cruciani@huschblackwell.com



                                                      125
  HB: 4863-9936-1961.1
Case 24-40236-can11      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55           Desc Main
                              Document    Page 126 of 446



                                        Proposed Counsel for Debtor and Debtor in Possession




                                          126
  HB: 4863-9936-1961.1
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                           Document    Page 127 of 446


                                   Exhibit A

                             Plan of Reorganization
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55            Desc Main
                               Document    Page 128 of 446



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI

     In re:                                                )     Case No. 24-40236-can11
                                                           )
     CORENERGY INFRASTRUCTURE TRUST, INC., 1               )     Chapter 11
                                                           )
     Debtor.                                               )

                            PLAN OF REORGANIZATION OF
                      CORENERGY INFRASTRUCTURE TRUST, INC.
                  PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

 HUSCH BLACKWELL LLP
 Mark T. Benedict, Esq.
 John J. Cruciani, Esq.
 4801 Main Street, Suite 1000
 Kansas City, MO 64112
 Telephone      (816) 983-8000
 Facsimile      (816) 983-8080
 Email:         mark.benedict@huschblackwell.com
                john.cruciani@huschblackwell.com

 Proposed Counsel for Debtor and Debtor in Possession




 1
  The Debtor’s address is 1100 Walnut, Ste. 3350 Kansas City, MO 64106. The last four digits of
 the Debtor’s taxpayer identification number are 1375.
                                                 i
 HB: 4866-7395-7801.1
Case 24-40236-can11                   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                            Desc Main
                                           Document    Page 129 of 446



                                                          Table of Contents


 Article I DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME,
 GOVERNING LAW, AND OTHER REFERENCES.................................................................... 4
    1.01         Defined Terms .............................................................................................................. 4
    1.02         Rules of Interpretation ................................................................................................ 16
    1.03         Computation of Time.................................................................................................. 17
    1.04         Governing Law ........................................................................................................... 17
    1.05         Reference to Monetary Figures .................................................................................. 17
    1.06         Reference to the Debtor or the Reorganized Debtor .................................................. 17
    1.07         Controlling Document ................................................................................................ 17
    1.08         Consent Rights............................................................................................................ 18
 Article II ADMINISTRATIVE AND PRIORITY CLAIMS ....................................................... 18
    2.01         Administrative and Priority Claims ............................................................................ 18
    2.02         Professional Fee Claims ............................................................................................. 19
    2.03         Restructuring Fees and Expenses ............................................................................... 20
    2.04         Priority Tax Claims .................................................................................................... 20
    2.05         Statutory Fees ............................................................................................................. 20
 Article III CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND
 INTERESTS ................................................................................................................................. 21
    3.01         Classification of Claims and Interests ........................................................................ 21
    3.02         Treatment of Classes of Claims and Interests ............................................................ 21
    3.03         Special Provisions Governing Unimpaired Claims .................................................... 26
    3.04         Controversy Concerning Impairment ......................................................................... 26
    3.05         Elimination of Vacant Classes.................................................................................... 26
    3.06         Voting Classes; Presumed Acceptance by Non-Voting Classes ................................ 27
    3.07         Acceptance by Impaired Classes ................................................................................ 27
    3.08         Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code
                 27
 Article IV PROVISIONS FOR IMPLEMENTATION OF THE PLAN ...................................... 27
    4.01         General Settlement of Claims and Interests ............................................................... 27
    4.02         Restructuring Transactions ......................................................................................... 28
    4.03         Corporate Action ........................................................................................................ 28
    4.04         Takeback Debt ............................................................................................................ 29
    4.05         The Revolving Credit Facility .................................................................................... 30

                                                                       ii
 HB: 4866-7395-7801.1
Case 24-40236-can11                  Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                Desc Main
                                          Document    Page 130 of 446



    4.06        Management Incentive Plan ....................................................................................... 30
    4.07        Employee Obligations ................................................................................................ 30
    4.08  Deregistration of Existing Common Stock and Preferred Stock and Issuance of New
    Common Stock.......................................................................................................................... 31
    4.09        Exemption from Registration Requirements .............................................................. 31
    4.10        Subordination.............................................................................................................. 32
    4.11        Vesting of Assets in the Reorganized Debtor............................................................. 32
    4.12        Cancellation of Instruments, Certificates, and Other Documents .............................. 32
    4.13        Sources for Plan Distributions .................................................................................... 33
    4.14        Corporate Existence.................................................................................................... 33
    4.15        New Governance Documents ..................................................................................... 33
    4.16        Indemnification Provisions in Organizational Documents......................................... 34
    4.17        Effectuating Documents; Further Transactions .......................................................... 34
    4.18        Management of the Reorganized Debtor .................................................................... 35
    4.19        Section 1146(a) Exemption ........................................................................................ 35
    4.20        Preservation of Causes of Action ............................................................................... 35
 Article V TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES ..... 36
    5.01        Assumption and Rejection of Executory Contracts and Unexpired Leases ............... 36
    5.02        Cure and Defaults for Assumed Executory Contracts and Unexpired Leases ........... 37
    5.03        Rejection Damages Claims......................................................................................... 38
    5.04        Insurance Policies ....................................................................................................... 39
    5.05        Contracts and Leases After the Petition Date ............................................................. 39
    5.06        Reservation of Rights ................................................................................................. 40
    5.07        Nonoccurrence of Effective Date ............................................................................... 40
 Article VI PROVISIONS GOVERNING DISTRIBUTIONS ...................................................... 40
    6.01        Distributions on Account of Claims or Interests Allowed as of Effective Date......... 40
    6.02        Special Rules for Distributions to Holders of Disputed Claims ................................. 41
    6.03        Delivery of Distributions ............................................................................................ 42
    6.04        Claims Paid or Payable by Third Parties .................................................................... 44
    6.05        No Postpetition or Default Interest on Claims............................................................ 45
    6.06        Setoffs ......................................................................................................................... 45
    6.07        Allocation Between Principal and Accrued Interest................................................... 46
    6.08        Delivery of New Common Stock ............................................................................... 46
 Article VII PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
 DISPUTED CLAIMS AND INTERESTS ................................................................................... 46

                                                                       iii
 HB: 4866-7395-7801.1
Case 24-40236-can11                  Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                              Desc Main
                                          Document    Page 131 of 446



    7.01        Allowance of Claims .................................................................................................. 46
    7.02        Objections to Claims .................................................................................................. 47
    7.03        Estimation of Claims .................................................................................................. 47
    7.04        No Distribution Pending Allowance........................................................................... 47
    7.05        Distribution After Allowance ..................................................................................... 47
    7.06        No Interest .................................................................................................................. 48
    7.07        Adjustment to Claims Without Objection .................................................................. 48
    7.08        Disallowance of Claims .............................................................................................. 48
 Article VIII EFFECT OF CONFIRMATION OF THE PLAN .................................................... 49
    8.01     Discharge of Claims and Termination of Interests; Compromise and Settlement of
    Claims, Interests, and Controversies......................................................................................... 49
    8.02        Release by the Debtor ................................................................................................. 50
    8.03        Releases by Holders of Claims and Interests.............................................................. 51
    8.04        Exculpation ................................................................................................................. 53
    8.05        Injunction .................................................................................................................... 54
    8.06        Protection Against Discriminatory Treatment ............................................................ 56
    8.07        Release of Liens.......................................................................................................... 56
    8.08        Reimbursement of Contribution ................................................................................. 57
    8.09        Recoupment ................................................................................................................ 57
 Article IX CONDITIONS PRECEDENT TO THE EFFECTIVE DATE .................................... 57
    9.01        Conditions Precedent to the Effective Date ................................................................ 57
    9.02        Waiver of Conditions Precedent ................................................................................. 58
    9.03        Effect of Non-Occurrence of Conditions to Consummation ...................................... 59
    9.04        Substantial Consummation ......................................................................................... 59
 Article X MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN ....................... 59
    10.01       Modification of Plan ................................................................................................... 59
    10.02       Effect of Confirmation on Modifications ................................................................... 59
    10.03       Revocation or Withdrawal of Plan ............................................................................. 59
 Article XI RETENTION OF JURISDICTION............................................................................. 60
 Article XII MISCELLANEOUS PROVISIONS .......................................................................... 61
    12.01       Immediate Binding Effect .......................................................................................... 61
    12.02       Additional Documents ................................................................................................ 62
    12.03       Reservation of Rights ................................................................................................. 62
    12.04       Successor and Assigns ................................................................................................ 62
    12.05       Service of Documents................................................................................................. 62

                                                                      iv
 HB: 4866-7395-7801.1
Case 24-40236-can11                Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                          Desc Main
                                        Document    Page 132 of 446



    12.06      Term of Injunction or Stays ........................................................................................ 63
    12.07      Entire Agreement........................................................................................................ 63
    12.08      Plan Supplement ......................................................................................................... 64
    12.09      Non-Severability......................................................................................................... 64
    12.10      Votes Solicited in Good Faith .................................................................................... 64
    12.11      Dissolution of Statutory Committees and Cessation of Fee and Expense Payment... 64
    12.12      Closing of Chapter 11 Case ........................................................................................ 65
    12.13      Waiver or Estoppel ..................................................................................................... 65




                                                                   v
 HB: 4866-7395-7801.1
Case 24-40236-can11      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                              Document    Page 133 of 446



 Exhibits

 Exhibit A - Exit Facility Term Sheet

 Exhibit B – Corporate Governance Term Sheet




                                               vi
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                                   Document    Page 134 of 446



                                              Introduction

         CorEnergy Infrastructure Trust, Inc., as debtor and debtor-in-possession in the above-
 captioned Chapter 11 Case, proposes this Plan (as defined below) pursuant to Section 1121(a) of
 the Bankruptcy Code for the resolution of outstanding Claims (as defined below) against, and
 Interests (as defined below) in, the Debtor. The Debtor is the proponent of the Plan within the
 meaning of Section 1129 of the Bankruptcy Code. Reference is made to the accompanying
 Disclosure Statement (as defined below) for a discussion of the Debtor’s history, businesses,
 properties, operations, projections, risk factors, a summary and analysis of the Plan and the
 transactions contemplated herein, and certain other related matters.

       The Plan contemplates certain transactions and differing treatment for different Classes of
 Claims and Interests, including, without limitation, the following treatment of these Holders of
 Claims and Interests (described in greater detail in Article III herein and in the Disclosure
 Statement):

          (a)       Secured Claims: On the Effective Date, or as soon as reasonably practicable
                    thereafter, in full and final satisfaction, compromise, settlement, release, and
                    discharge of, and in exchange for, such Allowed Secured Claim, each Holder
                    thereof shall receive, at the election of the Debtor or Reorganized Debtor, as
                    applicable: (a) payment in full in Cash; (b) the collateral securing its Allowed
                    Secured Claim; (c) Reinstatement of its Allowed Secured Claim; or (d) such other
                    treatment rendering its Allowed Secured Claim Unimpaired in accordance with
                    Section 1124 of the Bankruptcy Code.

          (b)       Other Priority Claims: On the Effective Date, or as soon as reasonably practicable
                    thereafter, in full and final satisfaction, compromise, settlement, release, and
                    discharge of, and in exchange for, such Allowed Other Priority Claim, each Holder
                    thereof shall receive, at the election of the Debtor or Reorganized Debtor, as
                    applicable, payment in full in Cash or otherwise receive treatment consistent with
                    the provisions of Section 1129(a)(9) of the Bankruptcy Code, either (a) on the
                    Effective Date or (b) on the date due in the ordinary course of business in
                    accordance with the terms and conditions of the particular transaction giving rise
                    to such Allowed Other Priority Claim.

          (c)       Grier Member Claims: Each Grier Member Claim shall be deemed Allowed in the
                    amount of $1.00 for purposes of voting and confirmation, representing any Claim
                    of the Grier Members against the Debtor, including but not limited to any Claims
                    or rights arising under the Crimson LLC Agreement. The Grier Member Claim
                    constitutes legal, valid, and binding obligation of the Debtor, and no offsets,
                    defenses, or counterclaims to, or claims or causes of action that could reduce the
                    amount or ranking of, the Grier Member Claims exists. No portion of the Grier
                    Member Claims is subject to set-off, avoidance, impairment, disallowance,
                    recharacterization, reduction, subordination (whether equitable, contractual, or
                    otherwise), counterclaims, recoupment, cross-claims, defenses, or any other
                    challenges under or pursuant to the Bankruptcy Code or any other applicable
                    domestic or foreign law or regulation by any person or entity.

                                                    1
 HB: 4866-7395-7801.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                    Document    Page 135 of 446



                    Because the equity units of the Grier Members in Crimson (the Class A-1 Crimson
                    Units, the Class A-2 Crimson Units, and the Class A-3 Crimson Units) track the
                    dividend and liquidation rights of the Preferred Stock and the Common Stock, the
                    Grier Member Claims will be treated as follows:

                           With respect to the Class A-1 Crimson Units, the Grier Members’ right to
                           exchange their Class A-1 Crimson Units with Preferred Stock will be
                           substituted with the Grier Member’s right to exchange their Class A-1
                           Crimson Units with 2.79% of the New Common Stock, subject to dilution
                           by the Management Incentive Plan and any tracking dividend or liquidation
                           distribution rights that tracked to the Preferred Stock shall be exchanged for
                           tracking to the 2.79% of the New Common Stock; provided, however, that
                           if the Senior Notes receive Excess Effective Date Cash, then the percentage
                           shall increase based on a ratio of 7.59 basis points to every $1 million in
                           Excess Effective Date Cash (for the avoidance of doubt the incremental
                           increase to the percentage described herein when combined with the
                           incremental increase to the holders of Preferred Stock shall total in the
                           aggregate 30 basis points for every $1 million in Excess Effective Date
                           Cash); and

                           With respect to the Class A-2 and Class A-3 Crimson Units, the Grier
                           Member’s right to exchange their Class A-2 and A-3 Crimson Units with
                           Common Stock will be cancelled because the Common Stock is being
                           cancelled pursuant to Article 4.12 of the Plan; provided, however, that for
                           the avoidance of doubt the Class A-2 and A-3 Crimson Units shall not be
                           cancelled, but the Grier Members shall no longer receive any tracking
                           dividend or liquidation distribution on account of the Class A-2 and A-3
                           Crimson Units and shall not be entitled to exchange the Class A-2 and Class
                           A-3 Crimson Units.

                           Notwithstanding any provision of the Plan to the contrary, the Crimson LLC
                           Agreement shall be assumed as of the Effective Date.

          (d)       General Unsecured Claims: In full and final satisfaction, compromise, settlement,
                    release, and discharge of, and in exchange for, such Allowed General Unsecured
                    Claim, each Holder thereof shall receive, at the election of the Debtor or
                    Reorganized Debtor, as applicable, Payment in full in Cash on account of such
                    Claim either (a) on the Effective Date or (b) on the date due in the ordinary course
                    of business in accordance with the terms and conditions of the particular transaction
                    giving rise to such Allowed General Unsecured Claim.

          (e)       Senior Notes: Senior Notes shall be deemed Allowed in the aggregate amount of
                    $118,242,651, representing the principal amount outstanding under the Bond
                    Indenture, accrued and unpaid interest, and make whole premiums, plus all other
                    accrued and unpaid fees and other expenses payable under the Bond Indenture
                    (including those costs and expenses to which the indenture trustee pursuant to the
                    Bond Indenture is contractually entitled). The Senior Notes constitute legal, valid,
                    and binding obligations of the Debtor, and no offsets, defenses, or counterclaims
                                                      2
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                   Document    Page 136 of 446



                    to, or claims or causes of action that could reduce the amount or ranking of, the
                    Senior Notes exist. No portion of the Senior Notes is subject to set-off, avoidance,
                    impairment, disallowance, recharacterization, reduction, subordination (whether
                    equitable, contractual, or otherwise), counterclaims, recoupment, cross-claims,
                    defenses, or any other challenges under or pursuant to the Bankruptcy Code or any
                    other applicable domestic or foreign law or regulation by any person or entity.

                    Each Senior Noteholder (inclusive of accrued and unpaid interest, accrued and
                    unpaid fees and other expenses payable under the Notes), on the Effective Date, or
                    as soon as reasonably practicable thereafter, in full and final satisfaction,
                    compromise, settlement, release, and discharge of, and in exchange for their
                    respective Senior Note, shall receive:

                           Its Pro Rata share of the Senior Note Payment;

                           Its Pro Rata share of the Takeback Debt Principal Amount; and

                           Its Pro Rata share of 88.96% of New Common Stock, subject to dilution by
                           the Management Incentive Plan; provided, however, that if the Senior Notes
                           receive Excess Effective Date Cash, then the percentage shall decrease
                           based on a ratio of 30.0 basis points to every $1 million in Excess Effective
                           Date Cash; and

                           Its Pro Rata share of the Excess Effective Date Cash, if any.

          (f)       Preferred Stock: On the Effective Date, or as soon as reasonably practicable
                    thereafter, in full and final satisfaction, compromise, settlement, release, and
                    discharge of, and in exchange for, such Preferred Stock, each Holder of a Preferred
                    Stock shall receive either:

                           If Class 6 votes in favor of the Plan, such Holder’s Pro Rata share of 8.25%
                           of New Common Stock, subject to dilution by the Management Incentive
                           Plan and; provided, however, that if the Senior Notes receive Excess
                           Effective Date Cash, then the percentage shall increase based on a ratio of
                           22.41 basis points to every $1 million in Excess Effective Date Cash (for
                           the avoidance of doubt the incremental increase to the percentage described
                           herein when combined with the incremental increase to the holders of Grier
                           Member Claims shall total in the aggregate 30 basis points for every $1
                           million in Excess Effective Date Cash); or

                           If Class 6 rejects the Plan, on the Effective Date, or as soon as reasonably
                           practicable thereafter, in full and final satisfaction, compromise, settlement,
                           release, and discharge of, and in exchange for, such Allowed Preferred
                           Stock, each Holder thereof shall receive Cash in the amount its Pro Rata
                           share of the liquidation value of the Debtor as set forth on Exhibit D to the
                           Disclosure Statement, which amount is estimated to be $0.00 and the
                           Preferred Stock will be cancelled.


                                                     3
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                   Document    Page 137 of 446



                           If Class 6 rejects the Plan, then the percentage of New Common Stock that
                           would have been allocated to Preferred Stock will be split pro rata between
                           Class 4 and Class 5. For the avoidance of doubt, with respect to Class 4, this
                           allocation will only serve to increase the percentage allocation in the Class
                           4 treatment, it will not result in the issuance of any New Common Stock
                           except to the extent provided in the Crimson LLC Agreement.

          (g)       Common Stock: On the Effective Date, or as soon as reasonably practicable
                    thereafter, in full and final satisfaction, compromise, settlement, release, and
                    discharge of, and in exchange for, such Allowed Common Stock, each Holder
                    thereof shall receive Cash in the amount its Pro Rata share of the liquidation value
                    of the Debtor as set forth on Exhibit D to the Disclosure Statement, which amount
                    is estimated to be $0.00 and the Common Stock will be cancelled.

 ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN ARE
 ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN
 THEIR ENTIRETY.

                                ARTICLE I
                DEFINED TERMS, RULES OF INTERPRETATION,
        COMPUTATION OF TIME, GOVERNING LAW, AND OTHER REFERENCES

 1.01     Defined Terms

         1.      “Ad Hoc Noteholder Group” means that certain ad hoc group comprising certain
 Senior Noteholders listed on the signature pages to the Restructuring Support Agreement, and any
 other future holders (if any) of Senior Notes that becomes bound to that Restructuring Support
 Agreement by means of a signature of that certain Joinder provided therein; provided, however,
 that whenever the reference refers to the consent rights of or with respect to the Ad Hoc Noteholder
 Group, it shall mean the consent of the percent or members of the Ad Hoc Noteholder Group as
 required by the Restructuring Support Agreement.

         2.     “Administrative Claim” means a Claim incurred by the Debtor on or after the
 Petition Date and before the Effective Date for a cost or expense of administration of the Chapter
 11 Case entitled to priority under Sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the
 Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred on or after
 the Petition Date until and including the Effective Date of preserving the Estate and operating the
 Debtor’s businesses; (b) Allowed Professional Fee Claims; and (c) all fees and charges assessed
 against the Estate pursuant to Section 1930 of Chapter 123 of title 28 of the United States Code.

        3.       “Administrative Claims Bar Date” means the deadline for Filing requests for
 payment of Administrative Claims (other than requests for payment of Professional Fee Claims and
 Administrative Claims arising under Section 503(b)(9) of the Bankruptcy Code), which shall be
 30 days after the Effective Date.

          4.        “Affiliate” has the meaning set forth in Section 101(2) of the Bankruptcy Code.



                                                     4
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                Document    Page 138 of 446



          5.     “Allowed” means, with respect to any Claim or Interest: (a) a Claim or Interest as
 to which no objection has been filed by the Claim Objection Deadline and that is evidenced by a
 Proof of Claim or Interest, as applicable, timely filed by the applicable Claims Bar Date, if any, or
 that is not required to be evidenced by a filed Proof of Claim or Interest, as applicable, under the
 Plan, the Bankruptcy Code, or a Final Order; (b) a Claim or Interest that is scheduled by the Debtor
 as neither disputed, contingent, nor unliquidated, and as for which no Proof of Claim or Interest,
 as applicable, has been timely filed; or (c) a Claim or Interest that is Allowed (i) pursuant to the
 Plan, (ii) in any stipulation that is approved, or Final Order that has been entered, by the
 Bankruptcy Court, or (iii) pursuant to any contract, instrument, indenture, or other agreement
 entered into or assumed in connection herewith. Notwithstanding the foregoing, (x) unless
 expressly waived by the Plan, the Allowed amount of Claims or Interest shall be subject to and
 shall not exceed the limitations under or maximum amounts permitted by the Bankruptcy Code,
 including Sections 502 or 503 of the Bankruptcy Code, to the extent applicable, and (y) the
 Reorganized Debtor shall retain all claims and defenses with respect to Allowed Claims that are
 Reinstated or otherwise Unimpaired pursuant to the Plan. Except as otherwise specified in the Plan
 or any Final Order, the amount of an Allowed Claim shall not include interest or other charges on
 such Claim from and after the Petition Date. No Claim of any Entity subject to Section 502(d) of
 the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the amount
 that it owes the Debtor or Reorganized Debtor, as applicable.

         6.     “Avoidance Actions” means any and all avoidance, recovery, subordination, or
 other Claims, actions, or remedies that may be brought by or on behalf of the Debtor or its Estate
 or other authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy
 law, including actions or remedies under Sections 502, 510, 542, 544, 545, 547 through and
 including 553, and 724(a) of the Bankruptcy Code or under similar or related state or federal
 statutes and common law, including fraudulent transfer laws.

         7.      “Ballot” means the ballots accompanying the Disclosure Statement upon which
 certain Holders of Impaired Claims entitled to vote shall, among other things, indicate their
 acceptance or rejection of the Plan in accordance with the Plan and the procedures governing the
 solicitation process.

        8.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-
 1532, as amended from time to time.

         9.     “Bankruptcy Court” means the United States Bankruptcy Court for the Western
 District of Missouri and, to the extent of the withdrawal of the reference under 28 U.S.C. § 157,
 the United States District Court for the Western District of Missouri.

         10.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
 promulgated by the United States Supreme Court under Section 2075 of title 28 of the United States
 Code, 28 U.S.C. § 2075, as applicable to the Chapter 11 Case and the general, local, and chambers
 rules of the Bankruptcy Court.

       11.    “Bond Indenture” means that certain Indenture, dated August 12, 2019, between
 the Company and U.S. Bank National Association, as Trustee for the Senior Notes.



                                                  5
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 139 of 446



       12.     “Business Day” means any day, other than a Saturday, Sunday, or a legal holiday
 in New York, as defined in Bankruptcy Rule 9006(a).

        13.     “Cash” or “$” means the legal tender of the United States of America or the
 equivalent thereof, including bank deposits, money market funds and other cash equivalents.

         14.     “Causes of Action” means any claims, interests, damages, remedies, causes of
 action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers,
 privileges, licenses, liens, indemnities, guaranties, contribution, and franchises of any kind or
 character whatsoever, whether known or unknown, choate or inchoate, foreseen or unforeseen,
 existing or hereinafter arising, contingent or non-contingent, liquidated or unliquidated, secured or
 unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected,
 in contract, tort, law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff,
 counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by law;
 (b) any claim based on or relating to, or in any manner arising from, in whole or in part, breach of
 fiduciary duty, violation of local, state, federal, or foreign law, or breach of any duty imposed by
 law or in equity, including securities laws, negligence, and gross negligence; (c) the right to object
 to or otherwise contest Claims or Interests; (d) claims pursuant to Sections 362, 510, 542, 543, 544
 through 550, or 553 of the Bankruptcy Code; and (e) such claims and defenses as fraud, mistake,
 duress, and usury, and any other defenses set forth in Section 558 of the Bankruptcy Code.

        15.    “Certain Crimson Employee Claims” means any and all Claims by Larry
 Alexander, Valerie Jackson, and Nester Taura against CorEnergy, including but not limited to the
 Claims asserted in the letter dated October 23, 2023 from Brook Barnes related to equity awards.

          16.       “Certificate” means any instrument evidencing a Claim or an Interest.

       17.    “Chapter 11 Case” means the case pending for the Debtor under chapter 11 of the
 Bankruptcy Code in the Bankruptcy Court.

         18.    “Claim” means any claim, as defined in Section 101(5) of the Bankruptcy Code,
 against the Debtor.

        19.      “Claims Bar Date” means the applicable deadline set by the Bankruptcy Court
 pursuant to the Plan, Claims Bar Date order, or other Final Order for filing Proofs of Claim in this
 Chapter 11 Case.

         20.    “Claim Objection Deadline” means the deadline for objecting to a Claim asserted
 against the Debtor, which shall be with respect to all Claims (other than Administrative Claims and
 Professional Fee Claims), the later of (a) the first Business Day that is at least 180 days after the
 Effective Date and (b) such other period of limitation as may be specifically fixed by the Debtor
 or the Reorganized Debtor, as applicable, or by an Order of the Bankruptcy Court for objecting to
 such Claims.

         21.     “Class” means a category of Holders of Claims or Interests classified as set forth in
 Article III hereof pursuant to Sections 1122(a) and 1123(a)(1) of the Bankruptcy Code.



                                                    6
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55          Desc Main
                                   Document    Page 140 of 446



        22.  “Class A-1 Crimson Units” means the Class A-1 Units (as such term is defined in
 the Crimson LLC Agreement) issued by Crimson in accordance with the Crimson LLC
 Agreement.

        23.  “Class A-2 Crimson Units” means the Class A-2 Units (as such term is defined in
 the Crimson LLC Agreement) issued by Crimson in accordance with the Crimson LLC
 Agreement.

        24.  “Class A-3 Crimson Units” means the Class A-3 Units (as such term is defined in
 the Crimson LLC Agreement) issued by Crimson in accordance with the Crimson LLC
 Agreement.

        25.    “Combined Hearing” means the hearing(s) before the Bankruptcy Court under
 Section 1128 of the Bankruptcy Code to consider confirmation of the Plan and final approval of
 the Disclosure Statement pursuant to Sections 1125 and 1129 of the Bankruptcy Code, as such
 hearing may be adjourned or continued from time to time.

          26.       “Common Stock” means the common stock of CorEnergy.

        27.     “Confirmation” means the entry of the Confirmation Order by the Bankruptcy
 Court on the docket of the Chapter 11 Case.

        28.    “Confirmation Date” means the date upon which the Bankruptcy Court enters the
 Confirmation Order on the docket of the Chapter 11 Case, within the meaning of Bankruptcy Rules
 5003 and 9021.

        29.     “Confirmation Order” means an order of the Bankruptcy Court confirming the Plan
 pursuant to Section 1129 of the Bankruptcy Code and approving the adequacy of the Disclosure
 Statement on a final basis, subject to the consent rights set forth in Article 1.8 hereof.

          30.       “Consummation” means the occurrence of the Effective Date.

         31.    “Creditors’ Professionals” means (a) Faegre Drinker Biddle & Reath LLP and
 Spencer Fane LLP as counsel to the Ad Hoc Noteholder Group and (b) Perella Weinberg Partners
 LP, as financial advisor to the Ad Hoc Noteholder Group, and (c) such other legal, consulting,
 financial, and/or other professional advisors as may be retained or may have been retained from
 time to time by the Ad Hoc Noteholder Group or any Statutory Committee.

       32.          “Crimson” means Crimson Midstream Holdings, LLC, a Delaware limited liability
 company.

        33.    “Crimson LLC Agreement” means that certain Revised Third Amended and
 Restated Limited Liability Company Agreement dated as of June 30, 2021, by and among the
 Debtor, Crimson, and the Grier Members.

         34.      “Cure” or “Cure Claim” means a Claim (unless waived or modified by the
 applicable counterparty) based upon the Debtor’s defaults under an Executory Contract or an
 Unexpired Lease assumed by the Debtor under Section 365 of the Bankruptcy Code, other than a
 default that is not required to be cured pursuant to Section 365(b)(2) of the Bankruptcy Code.
                                                   7
 HB: 4866-7395-7801.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                    Document    Page 141 of 446



         35.      “D&O Liability Insurance Policy” means all unexpired directors’, managers’, and
 officers’ liability insurance policy (including any “tail policy” and all agreements, documents, or
 instruments related thereto) that have been issued or provide coverage to current and former
 directors, managers, officers, and employees of the Debtor.

          36.       “Debtor” or “CorEnergy” means CorEnergy Infrastructure Trust, Inc.

          37.       “Debtor Release” means the releases set forth in Article 8.02 of the Plan.

       38.          “Definitive Documents” has the meaning set forth in the Restructuring Support
 Agreement.

         39.    “Disclosure Statement” means the Disclosure Statement for the Plan of
 Reorganization of CorEnergy Infrastructure Trust, Inc. Pursuant to Chapter 11 of the Bankruptcy
 Code, as the same may be amended, modified, or supplemented from time to time, including all
 exhibits, schedules, appendices, supplements, and related documents, and in each case, subject to
 the consent rights set forth in the Restructuring Support Agreement.

          40.    “Disputed” means, with respect to a Claim or Interest, any Claim or Interest that
 (a) is neither Allowed nor Disallowed under the Plan or a Final Order, nor deemed Allowed under
 Sections 502, 503, or 1111 of the Bankruptcy Code; (b) is listed in the Schedules, if any are filed,
 as unliquidated, contingent or disputed, and as to which no request for payment or Proof of Claim
 has been filed; (c) is otherwise disputed by either the Debtor or the Reorganized Debtor in
 accordance with applicable law or contract, which dispute has not been withdrawn, resolved or
 overruled by a Final Order; or (d) the Debtor or any party in interest has interposed a timely
 objection or request for estimation, and such objection or request for estimation has not been
 withdrawn or determined by a Final Order. If the Debtor disputes only a portion of a Claim, such
 Claim shall be deemed Allowed in any amount the Debtor does not dispute, and Disputed as to the
 balance of such Claim.

         41.    “Distribution Agent” means, as applicable, the Reorganized Debtor or any other
 Entity the Reorganized Debtor selects to make or to facilitate distributions in accordance with the
 Plan.

         42.    “Distribution Date” means, except as otherwise set forth herein, the date or dates
 determined by the Debtor or the Reorganized Debtor consistent with this Plan, on or after the
 Effective Date, upon which the Distribution Agent shall make distributions to Holders of Allowed
 Claims entitled to receive distributions under the Plan.

         43.    “Distribution Record Date” means the Effective Date of the Plan or such other time
 as agreed upon between the Debtor and the Ad Hoc Noteholder Group. For the avoidance of doubt,
 no distribution record date shall apply to the holders of public Securities, including the existing
 Preferred Stock, the Holders of which shall receive a distribution in accordance with Article III of
 this Plan.

          44.       “DTC” means Depository Trust Company.



                                                     8
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                                   Document    Page 142 of 446



        45.     “Effective Date” means the date that is the first Business Day after the Confirmation
 Date on which all conditions precedent to the occurrence of the Effective Date set forth in Article
 9.01 of the Plan have been (a) satisfied or (b) waived in accordance with Article 9.02 of the Plan,
 and on which the Restructuring Transactions become effective or are consummated. Any action to
 be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

        46.     “Effective Date Cash” means the amount of Cash of the Debtor and its Subsidiaries
 on the Effective Date as set forth in the Plan Supplement.

       47.    “Employment Agreements” means the employment agreements entered into
 between CorEnergy and its employees.

          48.       “Entity” means an entity as defined in Section 101(15) of the Bankruptcy Code.

       49.     “Estate” means the estate of the Debtor created under Section 541 of the Bankruptcy
 Code upon the commencement of the Debtor’s Chapter 11 Case.

         50.     “Estate’s Professionals” means (a) Husch Blackwell LLP and Stinson LLP, as
 counsel to the Debtor; (b) Stifel, Nicolaus & Co, Inc. 2, Teneo Capital LLC, and KPMG LLP as
 financial advisors; and (c) Ernst & Young LLP, as accountant to the Debtor; and (d) such other
 legal, consulting, financial, and/or other professional advisors as may be retained or may have been
 retained from time to time by the Debtor.

        51.    “Excess Effective Date Cash” means the amount equal to the positive difference, if
 any, between Effective Date Cash less $12 million, not to exceed $8.5 million.

          52.       “Exchange Act” means the Securities Exchange Act of 1934, as amended

        53.     “Exculpated Party” means each of the following, solely in its capacity as such: (a)
 the Debtor; (b) the Ad Hoc Noteholder Group and its members, (c) any Statutory Committee and
 its members; and the (d) Professionals; and (e) each Related Party of each Entity in clause (a)
 through (d).

         54.     “Executory Contract” means a contract or lease to which the Debtor is a party that
 is subject to assumption or rejection under Section 365 of the Bankruptcy Code.

        55.    “Federal Judgment Rate” means the federal judgment rate in effect pursuant to 28
 U.S.C. § 1961 as of the Petition Date, compounded annually.

        56.    “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Case with
 the Bankruptcy Court or, with respect to the filing of a Proof of Claim, the Notice and Claims
 Agent.



 2
  Stifel, Nicolaus & Co, Inc., is the primary investment banking and broker-deal subsidiary of
 Stifel Financaili Corp, which uses the trade name “Miller Buckfire for its restructuring-focused
 investment bankruptcy practice. References to “Miller Buckfire” are to the legal entity Stifel,
 Nicholaus & Co., Inc.
                                                  9
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                   Document    Page 143 of 446



          57.       “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

         58.     “Final Order” means an order or judgment of the Bankruptcy Court (or any other
 court of competent jurisdiction) entered by the Clerk of the Bankruptcy Court (or such other court)
 on the docket in the Chapter 11 Case (or the docket of such other court), which has not been
 modified, amended, reversed, vacated or stayed and as to which (a) the time to appeal, petition for
 certiorari, or move for a new trial, stay, reargument or rehearing has expired and as to which no
 appeal, petition for certiorari or motion for new trial, stay, reargument or rehearing shall then be
 pending or (b) if an appeal, writ of certiorari, new trial, stay, reargument or rehearing thereof has
 been sought, such order or judgment of the Bankruptcy Court (or other court of competent
 jurisdiction) shall have been affirmed by the highest court to which such order was appealed, or
 certiorari shall have been denied, or a new trial, stay, reargument or rehearing shall have been
 denied or resulted in no modification of such order, and the time to take any further appeal, petition
 for certiorari or move for a new trial, stay, reargument or rehearing shall have expired, as a result
 of which such order shall have become final in accordance with Rule 8002 of the Bankruptcy
 Rules; provided, that, the possibility that a motion under Rule 60 of the Federal Rules of Civil
 Procedure, or any analogous rule under the Bankruptcy Rules, may be filed relating to such order,
 shall not cause an order not to be a Final Order.

        59.    “General Unsecured Claim” means any Claim other than an Administrative Claim,
 a Secured Claim, a Priority Tax Claim, an Other Priority Claim, a Senior Note Claim, or a Section
 510(b) Claim against the Debtor.

       60.    “Governmental Unit” has the meaning set forth in Section 101(27) of the
 Bankruptcy Code.

        61.      “Grier Members” means John D. Grier and M. Bridget Grier, individually, and John
 D. Grier, as Trustee of the Bridget Grier Spousal Support Trust dated December 18, 2012; Robert
 G. Lewis, as Trustee of the Hugh David Grier Trust dated October 15, 2012; and Robert G. Lewis,
 as Trustee of the Samuel Joseph Grier Trust dated October 15, 2012.

        62.    “Grier Member Claims” means any Claim of the Grier Members against the
 Debtor, including but not limited to any Claims or rights arising under the Crimson LLC
 Agreement.

        63.     “Holder” means an Entity holding a Claim against or an Interest in the Debtor; for
 the avoidance of doubt when the term “Holder” is used with respect to an Interest in Debtor, it
 shall mean the record holder and not any potential beneficial holders.

        64.     “Impaired” means, with respect to any Class of Claims or Interests, a Class of
 Claims or Interests that is impaired within the meaning of Section 1124 of the Bankruptcy Code.

         65.      “Indemnification Provision” means the Debtor’s existing and future
 indemnification obligations pursuant to the Debtor’s bylaws, operating agreement, other formation
 documents, board resolutions, management or indemnification agreements, employment contracts,
 or otherwise providing a basis for any obligation of the Debtor to indemnify, defend, reimburse, or
 limit the liability of, or to advances fees and expenses to, any of the Debtor’s current directors,
 officers, equity holders, managers, members, employees, accountants, investment bankers,

                                                  10
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55             Desc Main
                                   Document    Page 144 of 446



 attorneys, other professionals, and professionals of the Debtor, and such current directors’,
 officers’, and managers’ respective Affiliates, each of the foregoing solely in their capacity as
 such. For the avoidance of doubt, “current” refers to covered Entities that serve as of the Petition
 Date, regardless of whether such Entities cease serving in such capacities thereafter.

         66.     “Interest” means any equity security as such term is defined in Section 101(16) of
 the Bankruptcy Code, including all issued, unissued, authorized, or outstanding shares of capital
 stock and any other common stock, preferred stock, limited liability company interests, and any
 other equity, ownership, or profit interests of an Entity, including all options, warrants, rights,
 stock appreciation rights, phantom stock rights, restricted stock units, redemption rights,
 repurchase rights, convertible (provided, however, that for the avoidance of doubt, this definition
 does not include the Senior Notes), exercisable, or exchangeable securities, or other agreements,
 arrangements, or commitments of any character relating to, or whose value is related to, any such
 interest or other ownership interest in an Entity whether or not arising under or in connection with
 any employment agreement and whether or not certificated, transferable, preferred, common,
 voting, or denominated “stock” or a similar security.

          67.       “Lien” means a lien as defined in Section 101(37) of the Bankruptcy Code.

        68.    “Management Incentive Plan” or “MIP” means the CorEnergy Infrastructure Trust,
 Inc. 2024 Omnibus Incentive Plan, to be set forth in the Plan Supplement, for certain participating
 employees of the Reorganized Debtor and its Affiliates, to be established and implemented in
 accordance with Article 4.06 of the Plan, which shall provide for the terms and conditions under
 which the MIP Pool may be allowed and distributed.

          69.       “MIP Pool” has the meaning set forth in Article 4.06 hereof.

         70.     “New Board” means the new board of directors that will replace the board of
 directors at CorEnergy as of the Effective Date and the identities of such directors or managers, as
 applicable, shall be set forth in the Plan Supplement to the extent known as of the Plan Supplement
 Filing Date, and a process for selection of any remaining directors or managers shall be disclosed
 no later than the commencement of the Combined Hearing; provided, however, that the identities
 of any such remaining directors or managers shall be disclosed no later than the Effective Date.

          71.       “New Common Stock” means Common Stock in the Reorganized Debtor.

         72.     “New Governance Documents” means any document that may be included with the
 Plan Supplement with respect to the governance of the Reorganized Debtor following the
 consummation of the Restructuring Transactions, and any certificate of formation, charter,
 certificate or article of incorporation, bylaws, operating agreements, limited liability company
 agreements or other applicable organization documents or charter documents and other
 shareholder documents, in each case, in accordance with the Restructuring Support Agreement.

         73.    “Notice and Claims Agent” means Stretto, Inc., the noticing, claims, and solicitation
 agent retained by the Debtor in the Chapter 11 Case.




                                                    11
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55            Desc Main
                                   Document    Page 145 of 446



         74.    “Other Priority Claim” means any Claim other than an Administrative Claim or a
 Priority Tax Claim entitled to priority in right of payment under Section 507(a) of the Bankruptcy
 Code.

          75.       “Person” means a person as defined in Section 101(41) of the Bankruptcy Code.

         76.  “Petition Date” means the date on which the Debtor filed its voluntary petition for
 relief commencing its Chapter 11 Case.

        77.   “Plan” means this chapter 11 plan, including all appendices, exhibits, schedules
 and supplements hereto (including the Plan Supplement and all appendices, exhibits, schedules
 and supplements thereto), as it may be amended, modified, or supplemented from time to time in
 accordance with the terms hereof, the Confirmation Order and the Restructuring Support
 Agreement, and in each case, subject to the consent rights set forth in Article 1.08 hereof.

         78.    “Plan Supplement” means the compilation of documents and forms of documents,
 schedules, and exhibits to the Plan, to be filed no later than the Plan Supplement Filing Date, as
 amended, modified or supplemented from time to time in accordance with the terms hereof and in
 accordance with the Bankruptcy Code, the Bankruptcy Rules, the Confirmation Order and the
 Restructuring Support Agreement, including, but not limited to the following documents: the
 Takeback Debt Documents, the Revolving Credit Facility Documents, the MIP, the New Governance
 Documents, the Shareholder Agreement, the identification of the New Board, to the extent known as
 of the Plan Supplement Filing Date, the identification of the Effective Date Cash, the Schedule of
 Rejected Executory Contracts and Unexpired Leases. The Plan Supplement shall be in accordance
 with the Restructuring Support Agreement. Through the Effective Date, the Debtor shall have the
 right to amend the Plan Supplement and any schedules, exhibits, or amendments thereto, in
 accordance with the terms of (a) the Plan, (b) the Restructuring Support Agreement, and (c) the
 Confirmation Order, and consistent with the terms and conditions provided for in the the
 Restructuring Support Agreement.

        79.    “Plan Supplement Filing Date” means the date that is four (4) days before the
 Voting Deadline.

        80.    “Preferred Stock” means the 7.375% Series A Cumulative Redeemable Preferred
 Stock of CorEnergy.

         81.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in Section 507(a)(8) of the Bankruptcy Code.

        82.      “Pro Rata” means the proportion that an Allowed Claim or Interest in a particular
 Class bears to the aggregate amount of Allowed Claims or Interests in that respective Class.

        83.    “Professional Fee Claim” means all Administrative Claims for the compensation
 of Retained Professionals and the reimbursement of expenses incurred by such Retained
 Professionals through and including the Confirmation Date under Sections 328, 330, 331,
 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code to the extent such fees and
 expenses have not been paid pursuant to an order of the Bankruptcy Court.


                                                   12
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 146 of 446



          84.       “Professionals” means the Creditors’ Professionals and the Estate’s Professional.

          85.       “Proof of Claim” means a proof of Claim Filed against the Debtor in the Chapter 11
 Case.

        86.      “Reinstate,” “Reinstated,” or “Reinstatement” means, leaving a Claim Unimpaired
 under the Plan.

         87.     “Related Party” means, each of, and in each case in its capacity as such, current
 and former directors, managers, officers, investment committee members, special or other
 committee members, equity holders (regardless of whether such interests are held directly or
 indirectly), affiliated investment funds or investment vehicles, managed accounts or funds,
 predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited partners,
 general partners, principals, members, management companies, fund advisors or managers,
 employees, agents, trustees, advisory board members, financial advisors, attorneys (including any
 other attorneys or professionals retained by any current or former director or special committee
 member or manager in his or her capacity as director or manager of an Entity), accountants,
 investment bankers, consultants, representatives, and other professionals and advisors and any
 such Person’s or Entity’s respective heirs, executors, estates, and nominees and, solely with respect
 to the Debtor, the former directors, managers, officers of its Affiliates.

         88.     “Released Party” means collectively, and in each case in its capacity as such: (a)
 the Debtor; (b) the Reorganized Debtor; (c) the Ad Hoc Noteholder Group and its members; (d)
 the Trustee; and (e) each Related Party of each Entity in clause (a) through (d); provided, however,
 that notwithstanding the foregoing, any Holder of a Claim or Interest that is not a Releasing Party
 shall not be a “Released Party.”

         89.      “Releasing Party” means each of the following, solely in its capacity as such: (a) the
 Debtor; (b) the Reorganized Debtor; (c) the Affiliates; (d) the Estate; (e) the Ad Hoc Noteholder
 Group; (f) the Professionals; (g) all Holders of Claims or Interests; (h) each Related Party of each
 Entity in clause (a) through (g).

         90.    “Reorganized Debtor” means the Debtor as reorganized pursuant to and under the
 Plan, or any successor thereto, by merger, amalgamation, consolidation, or otherwise, on or after
 the Effective Date in accordance with the Restructuring Transactions.

         91.    “Restructuring Fees and Expenses” means all reasonable and documented fees,
 costs and expenses of each of the Creditors’ Professionals, in connection with the negotiation,
 formulation, preparation, execution, delivery, implementation, consummation and/or enforcement
 of the Restructuring Support Agreement and/or any of the other Definitive Documents, and/or the
 transactions contemplated hereby or thereby, and/or any amendments, waivers, consents,
 supplements or other modifications to any of the foregoing, including, but not limited to fees and
 expenses incurred in connection with the Chapter 11 Case, and, to the extent applicable, consistent
 with any engagement letters entered into with the Company.

         92.    “Restructuring Support Agreement” means that certain binding Restructuring
 Support Agreement dated as of February 25, 2024, and all exhibits, schedules and attachments
 thereto, by and among the Debtor and the Ad Hoc Noteholder Group and any subsequent Entity

                                                    13
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 147 of 446



 that becomes a party thereto pursuant to the terms thereof, attached as Exhibit B to the Disclosure
 Statement.

          93.       “Restructuring Transactions” has the meaning set forth in Article 4.02 of the Plan.

        94.     “Retained Professional” means an Entity: (a) employed in the Chapter 11 Case
 pursuant to a Final Order in accordance with Sections 327, 363, or 1103 of the Bankruptcy Code
 and to be compensated for services rendered prior to or on the Confirmation Date pursuant to (i)
 Sections 327, 328, 329, 330, or 331 of the Bankruptcy Code or (ii) an order entered by the
 Bankruptcy Court authorizing such retention, or (b) for which compensation and reimbursement
 has been Allowed by the Bankruptcy Court pursuant to Section 503(b)(4) of the Bankruptcy Code.

         95.     “Revolving Credit Facility” means the revolving loan with a maximum borrowing
 amount of $10 million made by certain Holders (identified in the Revolving Credit Facility
 Documents) of the Senior Notes to CorEnergy on the terms and conditions set forth in the term
 sheet attached hereto as Exhibit A. The Revolving Credit Facility shall be senior following the
 occurrence of one or more events of default, as more fully set forth in the governing documents
 thereto to the Takeback Debt (as defined below) and may be included as a part of the Takeback
 Debt Documents.

        96.    “Revolving Credit Facility Documents” means all agreements, documents, and
 instruments delivered or to be entered into in connection with the Revolving Credit Facility.

         97.        “Revolving Credit Facility Loans” means loans issued under the Revolving Credit
 Facility.

         98.     “Schedule of Rejected Executory Contracts and Unexpired Leases” means a
 schedule (including any amendments or modifications thereto) that will be Filed as part of the Plan
 Supplement and will include a list of all Executory Contracts and Unexpired Leases that the Debtor
 will reject pursuant to the Plan, as amended by the Debtor from time to time in accordance with
 the Plan, if any, subject to the consent rights set forth in Article 1.08 hereof.

          99.       “SEC” means the United States Securities and Exchange Commission.

         100. “Section 510(b) Claim” means any Claim against the Debtor: (a) arising from the
 rescission of a purchase or sale of a Security of the Debtor or an affiliate of the Debtor; (b) for
 damages arising from the purchase or sale of such a Security; (c) for reimbursement or contribution
 Allowed under Section 502 of the Bankruptcy Code on account of such a Claim; or (d) otherwise
 subordinated pursuant to Section 510(b) of the Bankruptcy Code.

         101. “Secured” means any Claim to the extent (a) secured by a lien on property in which
 the Debtor has an interest, which lien is valid, perfected, and enforceable pursuant to applicable
 law or by reason of a Final Order of the Bankruptcy Court, or that is subject to setoff pursuant to
 Section 553 of the Bankruptcy Code, to the extent of the value of the interest of the Holder of such
 Claim in the Debtor’s interest in such property or to the extent of the amount subject to setoff, as
 applicable, as determined pursuant to Section 506(a) and any other applicable provision of the
 Bankruptcy Code or (b) allowed, pursuant to the Plan or a Final Order of the Bankruptcy Court,
 as a secured Claim.

                                                    14
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                   Document    Page 148 of 446



        102. “Secured Tax Claim” means any Secured Claim that, absent its secured status,
 would be entitled to priority in right of payment under Section 507(a)(8) of the Bankruptcy Code
 (determined irrespective of time limitations), including any related Secured Claim for penalties.

        103. “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a-
 77aa, or any similar federal, state, or local law.

          104.      “Security” has the meaning set forth in Section 101(49)of the Bankruptcy Code.

        105. “Senior Note Payment” means $23.6 million minus (ii) the negative difference, if
 any between the Effective Date Cash less $12 million.

        106. “Senior Notes” means the 5.875% Convertible Senior Notes due 2025 issued by
 CorEnergy pursuant to the Bond Indenture.

          107.      “Senior Noteholder” means the Holder of one or more Senior Notes.

         108.       “Servicer” means an agent or other authorized representative of Holders of Claims
 or Interests.

        109. “Shareholder Agreement” means the agreement among certain Holders of New
 Common Stock consistent with the terms and conditions set forth in the term sheet attached hereto
 as Exhibit B.

        110. “Solicitation Materials” means all documents, ballots, forms, and other materials
 provided in connection with the solicitation of votes on the Plan pursuant to Sections 1125 and
 1126 of the Bankruptcy Code (other than the Disclosure Statement).

        111. “Statutory Committee” means any official committee of unsecured creditors, equity
 holders, or otherwise appointed in the Chapter 11 Case by the U.S. Trustee.

         112. “Subsidiary” means, with respect to any Person, any corporation, limited liability
 company, partnership, joint venture or other legal entity as to which such Person (either alone or
 through or together with any other Subsidiary), (a) owns, directly or indirectly, more than fifty
 percent (50%) of the stock or other equity interests, (b) has the power to elect a majority of the
 board of directors or similar governing body or (c) has the power to direct the business and policies.
 For the purposes of this definition, Crimson and its subsidiaries are subsidiaries of the Debtor.

         113. “Takeback Debt” means a loan made by the Holders of the Senior Notes to
 CorEnergy on the Effective Date on the terms and conditions set forth in the term sheet attached
 hereto as Exhibit A.

         114. “Takeback Debt Principal Amount” means the term loan facility, which comprises
 the exchange of the Senior Notes for: (a) an amount equal to $45 million; provided, however, that
 if the amount of the Senior Note Payment is less than 20% of the Senior Notes Claim, then the
 Takeback Debt Principal Amount shall be increased by the difference between 20% of the Senior
 Notes Claim less the Senior Note Payment.


                                                   15
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 149 of 446



        115. “Takeback Debt Debt Documents” means, collectively, the loan agreement by and
 among the Reorganized Debtor and the lender parties thereto and all other agreements, documents,
 and instruments delivered or entered into in connection therewith.

          116.      “Tax Code” means the Internal Revenue Code of 1986, as amended from time to
 time.

          117.      “Third-Party Release” means the releases set forth in Article 8.03 hereof.

        118. “Trustee” means U.S. Bank Trust Company, National Association, in its capacity as
 successor indenture trustee under the Bond Indenture.

          119.      “U.S. Trustee” means the Office of the United States Trustee for Region 13.

         120. “Unclaimed Distribution” means any distribution under the Plan on account of an
 Allowed Claim to a Holder that has not: (a) accepted a particular distribution; (b) given notice to
 the Reorganized Debtor of an intent to accept a particular distribution; (c) responded to the
 Debtor’s or Reorganized Debtor’s requests for information necessary to facilitate a particular
 distribution; or (d) taken any other action necessary to facilitate such distribution.

        121. “Unexpired Lease” means a lease of nonresidential real property to which the
 Debtor is a party that is subject to assumption or rejection under Section 365 of the Bankruptcy
 Code.

         122. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class
 consisting of Claims or Interests that are not impaired within the meaning of Section 1124 of the
 Bankruptcy Code.

        123. “Voting Deadline” means the date and time by which the Notice and Claims Agent
 must actually receive the Ballots, as set forth on the Ballots.

 1.02     Rules of Interpretation

         For purposes of the Plan: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the
 masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter gender;
 (b) unless otherwise specified, any reference herein to a contract, lease, instrument, release,
 indenture, or other agreement or document being in a particular form or on particular terms and
 conditions means that such document shall be substantially in such form or substantially on such
 terms and conditions; (c) unless otherwise specified, any reference herein to an existing document,
 schedule, or exhibit, shall mean such document, schedule, or exhibit, as it may have been or may
 be amended, modified, or supplemented; (d) unless otherwise specified, all references herein to
 “Articles” and “Sections” are references to Articles and Sections, respectively, hereof or hereto;
 (e) the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to any
 particular portion of the Plan; (f) captions and headings to Articles and Sections are inserted for
 convenience of reference only and are not intended to be a part of or to affect the interpretation of
 the Plan; (g) unless otherwise specified herein, the rules of construction set forth in Section 102 of
 the Bankruptcy Code shall apply; (h) any term used in capitalized form herein that is not otherwise

                                                    16
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 150 of 446



 defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning
 assigned to such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable; (i) references
 to docket numbers of documents Filed in the Chapter 11 Case are references to the docket numbers
 under the Bankruptcy Court’s CM/ECF system; (j) references to statutes, regulations, orders, rules
 of court and the like shall mean as amended from time to time, and as applicable to the Chapter 11
 Case, unless otherwise stated; (k) any immaterial effectuating provisions may be interpreted by the
 Debtor or the Reorganized Debtor in such a manner that is consistent with the overall purpose and
 intent of the Plan and without further notice to or action, order, or approval of the Bankruptcy Court
 or any other Entity; and (l) the words “include” and “including,” and variations thereof, shall not
 be deemed to be terms of limitation, and shall be deemed to be followed by the words “without
 limitation.”

 1.03     Computation of Time

         Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
 shall apply in computing any period of time prescribed or allowed herein. If the date on which a
 transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then such
 transaction shall instead occur on the next succeeding Business Day.

 1.04     Governing Law

         Except to the extent a rule of law or procedure is supplied by federal law (including the
 Bankruptcy Code or Bankruptcy Rules), and subject to the provisions of any contract, lease,
 instrument, release, indenture, or other agreement or document entered into expressly in
 connection herewith, the rights and obligations arising hereunder shall be governed by, and
 construed and enforced in accordance with, the laws of the State of New York, without giving
 effect to conflict of laws principles; provided that corporate governance matters relating to the
 Debtor shall be governed by the laws of the state of incorporation of the Debtor or Reorganized
 Debtor, as applicable.

 1.05     Reference to Monetary Figures

       All references in the Plan to monetary figures refer to currency of the United States of
 America, unless otherwise expressly provided.

 1.06     Reference to the Debtor or the Reorganized Debtor

        Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
 to the Debtor or to the Reorganized Debtor mean the Debtor and the Reorganized Debtor, as
 applicable, to the extent the context requires.

 1.07     Controlling Document

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms
 of the Plan shall control. In the event of an inconsistency between the Plan and any document
 included in the Plan Supplement, or any other Definitive Document, the terms of the applicable
 document included in the Plan Supplement or other Definitive Document shall control. In the event
 of an inconsistency between the Plan, any document included in the Plan Supplement, or other

                                                  17
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                  Document    Page 151 of 446



 Definitive Document, on the one hand, and the Confirmation Order, on the other hand, the
 Confirmation Order shall control, unless provided otherwise.

 1.08     Consent Rights

         Notwithstanding anything herein to the contrary, any and all consent rights of the parties to
 the Restructuring Support Agreement to the extent set forth in the Restructuring Support
 Agreement (without enhancement or expansion thereof) with respect to the form and substance of
 the Plan, all exhibits to the Plan, the Plan Supplement, the Disclosure Statement, and all other
 Definitive Documents, including any amendments, restatements, supplements, or other
 modifications to such agreements and documents, and any consents, waivers, or other deviations
 under or from any such documents, shall be incorporated herein by this reference (including to the
 applicable definitions in Article 1.01 hereof) and fully enforceable as if stated in full herein. In case
 of a conflict between the consent rights of the applicable parties that are set forth in the Restructuring
 Support Agreement and those parties’ consent rights that are set forth in the Plan or the Plan
 Supplement, unless otherwise set forth in this Plan, the consent rights in the Restructuring Support
 Agreement shall control. Any and all consent rights referenced in the Plan or the Restructuring
 Support Agreement, to the extent given, not given, or otherwise withheld, may be communicated by
 email transmission by counsel.

                                      ARTICLE II
                          ADMINISTRATIVE AND PRIORITY CLAIMS

 2.01     Administrative and Priority Claims

         In accordance with Section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
 (including Professional Fee Claims) and Priority Tax Claims have not been classified and thus are
 excluded from the Classes of Claims and Interests set forth in Article III of the Plan.

          (a)       Administrative Claims

         Except to the extent that a Holder of an Allowed Administrative Claim agrees to a less
 favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each Allowed Administrative Claim, each Holder of an Allowed Administrative
 Claim will receive an amount of Cash equal to the amount of such Allowed Administrative Claim in
 accordance with the following: (a) if an Administrative Claim is Allowed on or prior to the
 Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not then
 due, when such Allowed Administrative Claim is due or as soon as reasonably practicable
 thereafter); (b) if such Administrative Claim is not Allowed as of the Effective Date, no later than
 30 days after the date on which an order Allowing such Administrative Claim becomes a Final
 Order, or as soon as reasonably practicable thereafter; (c) if such Allowed Administrative Claim
 is based on liabilities incurred by the Debtor in the ordinary course of its business after the Petition
 Date in accordance with the terms and conditions of the particular transaction giving rise to such
 Allowed Administrative Claim without any further action by the Holders of such Allowed
 Administrative Claim; (d) at such time and upon such terms as may be agreed upon by such Holder
 and the Debtor or the Reorganized Debtor, as applicable; or (e) at such time and upon such terms
 as set forth in a Final Order of the Bankruptcy Court.


                                                    18
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                                  Document    Page 152 of 446



          (b)       Administrative Claims Bar Date

         All requests for payment of an Administrative Claim (other than Professional Fee Claims)
 that accrued on or before the Effective Date that were not otherwise accrued in the ordinary course
 of business must be filed with the Bankruptcy Court or Notice and Claims Agent, as applicable,
 and served on the Debtor and the Ad Hoc Noteholder Group no later than the Administrative
 Claims Bar Date. Holders of Administrative Claims (other than Professional Fee Claims) that are
 required to, but do not, file and serve a request for payment of such Administrative Claims by the
 Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from asserting
 such Administrative Claims against the Debtor or its property and such Administrative Claims
 shall be deemed discharged as of the Effective Date.

         The Reorganized Debtor, in its sole and absolute discretion, may settle Administrative
 Claims in the ordinary course of business without further Bankruptcy Court approval. The
 Reorganized Debtor may also choose to object to any Administrative Claim no later than 90 days
 after the Administrative Claims Bar Date, except as otherwise ordered by the Court, subject to
 extensions by the Bankruptcy Court upon motion of the Debtor or Reorganized Debtor, as
 applicable, or agreement in writing of the parties. Unless the Debtor or the Reorganized Debtor
 object to a timely filed and properly served Administrative Claim, such Administrative Claim will
 be deemed Allowed in the amount requested. In the event that the Debtor or the Reorganized
 Debtor object to an Administrative Claim, the parties may confer to try to reach a settlement and,
 failing that, the Bankruptcy Court will determine whether such Administrative Claim should be
 Allowed and, if so, in what amount.

 2.02     Professional Fee Claims

          (a)       Final Fee Applications

         All final requests for Professional Fee Claims incurred during the period from the Petition
 Date through the Confirmation Date shall be Filed no later than forty-five (45) calendar days after
 the Effective Date. After notice and the opportunity for a hearing in accordance with the procedures
 established by the Bankruptcy Code and prior Bankruptcy Court orders, the Allowed amounts of
 such Professional Fee Claims shall be determined by the Bankruptcy Court and paid in Cash in
 full. For the avoidance of doubt, the Restructuring Fees and Expenses shall not be considered
 Professional Fee Claims, and any such amounts shall be paid in accordance with Article 2.03
 hereof, the Restructuring Support Agreement, and the Plan, as applicable.

          (b)       Post-Confirmation Date Fees and Expenses

         Except as otherwise specifically provided in the Plan or the Confirmation Order, from on
 and after the Confirmation Date, the Reorganized Debtor shall pay in Cash the reasonable and
 documented legal fees and expenses incurred by the Debtor or the Reorganized Debtor in the
 ordinary course of business and without any further notice to or action, order or approval of the
 Bankruptcy Court. Upon the Confirmation Date, any requirement that Retained Professionals
 comply with Sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
 compensation for services rendered after such date shall terminate, and the Reorganized Debtor
 may employ and pay any Retained Professional in the ordinary course of business without any
 further notice to or action, order, or approval of the Bankruptcy Court.

                                                 19
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                  Document    Page 153 of 446



          (c)       Substantial Contribution Compensation and Expenses

        Except as otherwise specifically provided in the Plan, any Entity that requests
 compensation or expense reimbursement for making a substantial contribution in the Chapter 11
 Case pursuant to Sections 503(b)(3), (4), and (5) of the Bankruptcy Code must file an application
 and serve such application on counsel for the Debtor or Reorganized Debtor, as applicable, the
 Ad Hoc Noteholder Group, and as otherwise required by the Bankruptcy Court, the Bankruptcy
 Code, and the Bankruptcy Rules on or before the Administrative Claims Bar Date.

 2.03     Restructuring Fees and Expenses

          The reasonable Restructuring Fees and Expenses incurred, or estimated to be incurred, up
 to and including the Effective Date shall be paid in full in Cash on the Effective Date (to the extent
 not previously paid during the course of the Chapter 11 Case on the dates on which such amounts
 would be required to be paid under the Restructuring Support Agreement) without the requirement
 to file a fee application with the Bankruptcy Court, without the need for time detail, and without
 any requirement for review or approval by the Bankruptcy Court. All Restructuring Fees and
 Expenses to be paid on the Effective Date shall be estimated prior to and as of the Effective Date
 and such estimates shall be delivered to the Debtor at least two (2) Business Days before the
 anticipated Effective Date; provided, that, such estimates shall not be considered to be admissions
 or limitations with respect to such Restructuring Fees and Expenses.

 2.04     Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less
 favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim
 shall be treated in accordance with the terms set forth in Section 1129(a)(9)(C) of the
 Bankruptcy Code and, for the avoidance of doubt, Holders of Allowed Priority Tax Claims will
 receive interest on such Allowed Priority Tax Claims after the Effective Date in accordance with
 Sections 511 and 1129(a)(9)(C) of the Bankruptcy Code. To the extent any Allowed Priority Tax
 Claim is not due and owing on the Effective Date, such Claim shall be paid in accordance with the
 terms of any agreement between the Reorganized Debtor and the Holder of such Claim, or as may
 be due and payable under applicable non-bankruptcy law, or in the ordinary course of business.

 2.05     Statutory Fees

         All fees due and payable pursuant to Section 1930 of Title 28 of the U.S. Code prior to the
 Effective Date shall be paid by the Debtor in full on the Effective Date. After the Effective Date,
 the Reorganized Debtor shall pay any and all such fees when due and payable, and shall File with
 the Bankruptcy Court quarterly reports in a form reasonably acceptable to the U.S. Trustee. The
 Debtor shall remain obligated to file post-confirmation quarterly reports and pay quarterly fees to
 the U.S. Trustee until the earliest date upon which the Chapter 11 Case is closed, dismissed, or
 converted to a case under chapter 7 of the Bankruptcy Code.




                                                  20
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                  Document    Page 154 of 446



                             ARTICLE III
    CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

 3.01     Classification of Claims and Interests

         The Plan is being proposed by the Debtor within the meaning of Section 1121 of the
 Bankruptcy Code. Except for the Claims addressed in Article II of the Plan, all Claims and Interests
 are classified in the Classes set forth below in accordance with Section 1122 of the Bankruptcy
 Code. In accordance with Section 1123(a)(1) of the Bankruptcy Code, the Debtor has not classified
 Administrative Claims, Professional Fee Claims, and Priority Tax Claims, as described in Article
 II.

         A Claim or an Interest is classified in a particular Class only to the extent that the Claim or
 Interest qualifies within the description of that Class and is classified in other Classes to the extent
 that any portion of the Claim or Interest qualifies within the description of such other Classes. A
 Claim or Interest also is classified in a particular Class for the purpose of receiving distributions
 under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that
 Class and has not been paid, released, or otherwise satisfied or disallowed by Final Order prior to
 the Effective Date. Any Class that does not contain any Allowed Claims or Allowed Interests with
 respect to the Debtor will be treated in accordance with Article 3.05 below.

          Below is a chart assigning each Class a number for purposes of identifying each separate
 Class:

                  Summary of Classification and Treatment of Claims and Interests

   Class Description                                    Status                 Entitled to Vote

      1    Secured Claims                               Unimpaired             No (deemed to accept)

      2    Other Priority Claims                        Unimpaired             No (deemed to accept)

      3    General Unsecured Claims                     Unimpaired             No (deemed to accept)

      4    Grier Member Claims                          Impaired               Yes

      5    Senior Notes                                 Impaired               Yes

      6    Preferred Stock                              Impaired               Yes

      7    Common Stock                                 Impaired               No (deemed to reject)


 3.02     Treatment of Classes of Claims and Interests

          Except to the extent that the Debtor and a Holder of an Allowed Claim or Interest agrees
 to less favorable treatment, such Holder shall receive under the Plan the treatment described below
 in full and final satisfaction, compromise, settlement, release, and discharge of, and in exchange
                                                   21
 HB: 4866-7395-7801.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                    Document    Page 155 of 446



 for, such Holder’s Allowed Claim or Interest. Unless otherwise indicated, the Holder of an Allowed
 Claim or Interest, as applicable, shall receive such treatment on the Effective Date or as soon as
 reasonably practicable thereafter.

          (a)       Class 1: Secured Claims

                    (i)     Classification: Class 1 consists of Secured Claims.

                    (ii)    Treatment: On the Effective Date, or as soon as reasonably practicable
                            thereafter, in full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for, such Allowed Secured Claim, each
                            Holder thereof shall receive, at the election of the Debtor or Reorganized
                            Debtor, as applicable: (a) payment in full in Cash; (b) the collateral securing
                            its Allowed Secured Claim; (c) Reinstatement of its Allowed Secured
                            Claim; or (d) such other treatment rendering its Allowed Secured Claim
                            Unimpaired in accordance with Section 1124 of the Bankruptcy Code.

                    (iii)   Impairment and Voting: Class 1 is Unimpaired. Holders of Claims in Class
                            1 are conclusively presumed to have accepted the Plan pursuant to Section
                            1126(f) of the Bankruptcy Code, and accordingly, are not entitled to vote to
                            accept or reject the Plan.

          (b)       Class 2: Other Priority Claims

                    (i)     Classification: Class 2 consists of Other Priority Claims.

                    (ii)    Treatment: On the Effective Date, or as soon as reasonably practicable
                            thereafter, in full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for, such Allowed Other Priority Claim,
                            each Holder thereof shall receive, at the election of the Debtor or
                            Reorganized Debtor, as applicable, payment in full in Cash or otherwise
                            receive treatment consistent with the provisions of Section 1129(a)(9) of the
                            Bankruptcy Code, either (a) on the Effective Date or (b) on the date due in
                            the ordinary course of business in accordance with the terms and conditions
                            of the particular transaction giving rise to such Allowed Other Priority
                            Claim.

                    (iii)   Impairment and Voting: Class 2 is Unimpaired. Holders of Claims in Class
                            2 are conclusively presumed to have accepted the Plan pursuant to Section
                            1126(f) of the Bankruptcy Code, and accordingly, are not entitled to vote to
                            accept or reject the Plan.

          (c)       Class 3: General Unsecured Claims

                    (i)     Classification: Class 3 consists of General Unsecured Claims.

                    (ii)    Treatment: In full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for, such Allowed General Unsecured
                            Claim, each Holder thereof shall receive, at the election of the Debtor or
                                                      22
 HB: 4866-7395-7801.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                      Document    Page 156 of 446



                            Reorganized Debtor, as applicable, Payment in full in Cash on account of
                            such Allowed General Unsecured Claim either (a) on the Effective Date or
                            (b) on the date due in the ordinary course of business in accordance with the
                            terms and conditions of the particular transaction giving rise to such
                            Allowed General Unsecured Claim.

                    (iii)   Impairment and Voting: Class 3 is Unimpaired. Holders of Claims in Class
                            3 are conclusively presumed to have accepted the Plan pursuant to Section
                            1126(f) of the Bankruptcy Code, and accordingly, are not entitled to vote to
                            accept or reject the Plan.

          (d)       Class 4: Grier Member Claims

                    (i)     Classification: Class 4 consists of the Grier Member Claims.

                    (ii)    Allowance: Each Grier Member Claim shall be deemed Allowed in the
                            amount of $1.00 for purposes of voting and confirmation, representing any
                            Claim of the Grier Members against the Debtor, including but not limited
                            to any Claims or rights arising under the Crimson LLC Agreement. The
                            Grier Member Claims constitutes legal, valid, and binding obligation of the
                            Debtor, and no offsets, defenses, or counterclaims to, or claims or causes of
                            action that could reduce the amount or ranking of, the Grier Member Claims
                            exists. No portion of the Grier Member Claims is subject to set-off,
                            avoidance, impairment, disallowance, recharacterization, reduction,
                            subordination (whether equitable, contractual, or otherwise), counterclaims,
                            recoupment, cross-claims, defenses, or any other challenges under or
                            pursuant to the Bankruptcy Code or any other applicable domestic or
                            foreign law or regulation by any person or entity.

                    (iii)   Treatment: Because the equity units of the Grier Members in Crimson (the
                            Class A-1 Crimson Units, the Class A-2 Crimson Units, and the Class A-3
                            Crimson Units) track the dividend and liquidation rights of the Preferred
                            Stock and the Common Stock, the Grier Member Claims will be treated as
                            follows:

                            a)      With respect to the Class A-1 Crimson Units, the Grier Members’
                                    right to exchange their Class A-1 Crimson Units with Preferred
                                    Stock will be substituted with the Grier Member’s right to exchange
                                    their Class A-1 Crimson Units with 2.79% of the New Common
                                    Stock, subject to dilution by the Management Incentive Plan and any
                                    tracking dividend or liquidation distribution rights that tracked to the
                                    Preferred Stock shall be exchanged for tracking to the 2.79% of the
                                    New Common Stock; provided, however, that if the Senior Notes
                                    receive Excess Effective Date Cash, then the percentage shall
                                    increase based on a ratio of 7.59 basis points to every $1 million in
                                    Excess Effective Date Cash (for the avoidance of doubt the
                                    incremental increase to the percentage described herein when
                                    combined with the incremental increase to the holders of Preferred
                                                      23
 HB: 4866-7395-7801.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                      Document    Page 157 of 446



                                    Stock shall total in the aggregate 30 basis points for every $1 million
                                    in Excess Effective Date Cash); and

                            b)      With respect to the Class A-2 and Class A-3 Crimson Units, the
                                    Grier Member’s right to exchange their Class A-2 and A-3 Crimson
                                    Units with Common Stock will be cancelled because the Common
                                    Stock is being cancelled pursuant to Article 4.12 of the Plan. The
                                    Class A-2 and A-3 Crimson Units shall not be cancelled, but the
                                    Grier Members shall no longer receive any tracking dividend or
                                    liquidation distribution on account of the Class A-2 and A-3
                                    Crimson Units and shall not be entitled to exchange the Class A-2
                                    and Class A-3 Crimson Units into New Common Stock.

                            c)      Notwithstanding any provision of the Plan to the contrary, the
                                    Crimson LLC Agreement shall be assumed as of the Effective Date.

                    (iv)    Impairment and Voting: Class 4 is Impaired. Holders of Claims in Class 4
                            are entitled to vote to accept or reject the Plan. Pursuant to the Restructuring
                            Support Agreement, the Grier Members have agreed to support the Plan,
                            subject to the fiduciaries duty of John Grier, as a member of the Board of
                            Directors of the Debtor, to withdraw his support for the Plan in certain
                            circumstances.

          (e)       Class 5: Senior Notes

                    (i)     Classification: Class 5 consists of Senior Notes.

                    (ii)    Allowance: Senior Notes shall be deemed Allowed in the aggregate amount
                            of $118,242,651, representing the principal amount outstanding under the
                            Bond Indenture, accrued and unpaid interest, and make whole premiums,
                            plus all other accrued and unpaid fees and other expenses payable under the
                            Bond Indenture. The Senior Notes constitute legal, valid, and binding
                            obligations of the Debtor, and no offsets, defenses, or counterclaims to, or
                            claims or causes of action that could reduce the amount or ranking of, the
                            Senior Notes exist. No portion of the Senior Notes is subject to set-off,
                            avoidance, impairment, disallowance, recharacterization, reduction,
                            subordination (whether equitable, contractual, or otherwise), counterclaims,
                            recoupment, cross-claims, defenses, or any other challenges under or
                            pursuant to the Bankruptcy Code or any other applicable domestic or
                            foreign law or regulation by any person or entity.

                    (iii)   Treatment: Each Senior Noteholder (inclusive of accrued and unpaid
                            interest, accrued and unpaid fees and other expenses payable under the
                            Notes), on the Effective Date, or as soon as reasonably practicable
                            thereafter, in full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for their respective Senior Note, shall
                            receive:


                                                      24
 HB: 4866-7395-7801.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                     Document    Page 158 of 446



                           a)      Its Pro Rata share of the Senior Note Payment;

                           b)      Its Pro Rata share of the Takeback Debt Principal Amount;

                           c)      Its Pro Rata share of 88.96% of New Common Stock, subject to
                                   dilution by the Management Incentive Plan; provided, however, that
                                   if the Senior Notes receive Excess Effective Date Cash, then the
                                   percentage shall decrease based on a ratio of 30.0 basis points to
                                   every $1 million in Excess Effective Date Cash; and

                           d)      Its Pro Rata share of the Excess Effective Date Cash, if any.

                    (iv)   Impairment and Voting: Class 5 is Impaired. Holders of Senior Notes in
                           Class 5 are entitled to vote to accept or reject the Plan. If Class 5 votes to
                           reject the Plan, the Plan will be cancelled. Pursuant to the Restructuring
                           Support Agreement, Holders of 90% of the principal amount of the Senior
                           Notes have committed to support the Plan.

          (f)       Class 6: Preferred Stock

                    (i)    Classification: Class 6 consists of Preferred Stock.

                    (ii)   Treatment: On the Effective Date, or as soon as reasonably practicable
                           thereafter, in full and final satisfaction, compromise, settlement, release,
                           and discharge of, and in exchange for, such share of Preferred Stock, each
                           Holder of a Preferred Stock shall receive either:

                           a)      If Class 6 votes in favor of the Plan, such Holder’s Pro Rata share
                                   of 8.25% of New Common Stock, subject to dilution by the
                                   Management Incentive Plan; provided, however, that if the Senior
                                   Notes receive Excess Effective Date Cash, then the percentage shall
                                   increase based on a ratio of 22.41 basis points to every $1 million in
                                   Excess Effective Date Cash (for the avoidance of doubt the
                                   incremental increase to the percentage described herein when
                                   combined with the incremental increase to the holders of Grier
                                   Member Claims shall total in the aggregate 30 basis points for every
                                   $1 million in Excess Effective Date Cash); or

                           b)      If Class 6 rejects the Plan, on the Effective Date, or as soon as
                                   reasonably practicable thereafter, in full and final satisfaction,
                                   compromise, settlement, release, and discharge of, and in exchange
                                   for, such Allowed Preferred Stock, each Holder thereof shall receive
                                   Cash in the amount its Pro Rata share of the liquidation value of the
                                   Debtor as set forth on Exhibit D to the Disclosure Statement, which
                                   amount is estimated to be $0.00 and the Preferred Stock will be
                                   cancelled.



                                                     25
 HB: 4866-7395-7801.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                      Document    Page 159 of 446



                            c)      If Class 6 rejects the Plan, then the percentage of New Common
                                    Stock that would have been allocated to Preferred Stock will be split
                                    pro rata between Class 4 and Class 5. For the avoidance of doubt,
                                    with respect to Class 4, this allocation will only serve to increase the
                                    percentage allocation in the Class 4 treatment, it will not result in
                                    the issuance of any New Common Stock except to the extent
                                    provided in the Crimson LLC Agreement.

                    (iii)   Impairment and Voting: Class 6 is Impaired. Holders of Interests in Class
                            6 are entitled to vote to accept or reject the Plan.

          (g)       Class 7: Common Stock

                    (i)     Classification: Class 7 consists of Common Stock and, pursuant to § 510(b)
                            of the Bankruptcy Code, the Certain Crimson Employee Claims.

                    (ii)    Treatment: On the Effective Date, or as soon as reasonably practicable
                            thereafter, in full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for, such Allowed Common Stock or
                            Allowed Crimson Employee Claims, each Holder thereof shall receive Cash
                            in the amount its Pro Rata share of the liquidation value of the Debtor as set
                            forth on Exhibit D to the Disclosure Statement, which amount is estimated
                            to be $0.00 and the Common Stock shall be cancelled.

                    (iii)   Impairment and Voting: Class 7 is Impaired. Holders of Interests in Class 7
                            are conclusively presumed to have rejected the Plan pursuant to Section
                            1126(g) of the Bankruptcy Code, and accordingly, are not entitled to vote
                            to accept or reject the Plan.

 3.03     Special Provisions Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtor’s
 or the Reorganized Debtor’s rights regarding any Unimpaired Claim, including all rights regarding
 legal and equitable defenses to, or setoffs or recoupments against, any such Claim.

 3.04     Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class thereof, is
 Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on
 or before the Confirmation Date.

 3.05     Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or
 Allowed Interest, or a Claim or Interest temporarily Allowed by the Bankruptcy Court in an
 amount greater than zero as of the date of the Combined Hearing, shall be considered vacant and
 deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for
 purposes of determining acceptance or rejection of the Plan by such Class pursuant to Section
 1129(a)(8) of the Bankruptcy Code.
                                                      26
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                  Document    Page 160 of 446



 3.06     Voting Classes; Presumed Acceptance by Non-Voting Classes

         If a Class contains Claims or Interests eligible to vote and no Holder of Claims or Interests
 eligible to vote in such Class votes to accept or reject the Plan, the Plan shall be presumed accepted
 by the Holders of such Claims or Interests in such Class.

 3.07     Acceptance by Impaired Classes

        An Impaired Class of Claims shall have accepted the Plan if, not counting the vote of any
 Holder designated under Section 1126(e) of the Bankruptcy Code or any insider under Section
 101(31) of the Bankruptcy Code, (a) the Holders of at least two-thirds in amount of the Allowed
 Claims actually voting in the Class have voted to accept the Plan, and (b) the Holders of more than
 one-half in number of the Allowed Claims actually voting in the Class have voted to accept the
 Plan.

         An Impaired Class of Interests shall have accepted the Plan if, not counting the vote of any
 Holder designated under Section 1126(e) of the Bankruptcy Code or any insider under Section
 101(31) of the Bankruptcy Code, (a) the Holders of at least two-thirds in amount of the Allowed
 Interests actually voting in the Class have voted to accept the Plan.

 3.08     Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation
 by acceptance of this Plan by an Impaired Class. The Debtor shall seek Confirmation of the Plan
 pursuant to Section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims
 or Interests. The Debtor reserves the right to modify the Plan in accordance with Article X hereof
 (subject to the terms of the Restructuring Support Agreement) to the extent that Confirmation
 pursuant to Section 1129(b) of the Bankruptcy Code requires modification, including by (a)
 modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims
 or Interests Unimpaired, Impaired or otherwise to the extent permitted by the Bankruptcy Code and
 the Bankruptcy Rules and (b) withdrawing the Plan at any time before the Confirmation Date.

                                         ARTICLE IV
                        PROVISIONS FOR IMPLEMENTATION OF THE PLAN

 4.01     General Settlement of Claims and Interests

         Pursuant to Sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and
 in consideration for the classification, distributions, releases, and other benefits provided under the
 Plan and Confirmation Order, upon the Effective Date, the provisions of the Plan and Confirmation
 Order shall constitute an integrated and global good faith compromise and settlement of all Claims
 and Interests and controversies resolved pursuant to the Plan relating to the contractual, legal, and
 subordination rights of Holders with respect to such Allowed Claims and Interests or any
 distribution to be made on account of such Allowed Claim or Interest. The entry of the
 Confirmation Order shall constitute the Bankruptcy Court’s integrated and global approval of the
 compromise or settlement of all such Claims, Interests, and controversies, as well as a finding by the
 Bankruptcy Court that such compromise, settlement, and transactions are in the best interests of the
 Debtor, its Estate, and Holders of Claims and Interests and is fair, equitable, and is within the range

                                                   27
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                Document    Page 161 of 446



 of reasonableness. Subject to this Article IV, all distributions made to Holders of Allowed Claims
 and Allowed Interests in any Class are intended to be and shall be final.

 4.02     Restructuring Transactions

         On or about the Effective Date, the Debtor and/or the Reorganized Debtor, as the case may
 be, shall take all actions necessary or appropriate to effectuate the transactions described in,
 approved by, contemplated by, or necessary and/or appropriate to effectuate the Restructuring
 Support Agreement and the Plan (collectively, the “Restructuring Transactions”), including, but
 not limited to: (a) the execution and delivery of any appropriate agreements or other documents of
 merger, amalgamation, consolidation, restructuring, conversion, disposition, transfer, formation,
 organization, dissolution, or liquidation containing terms that are consistent with the terms of the
 Plan, and that satisfy the requirements of applicable law and any other terms to which the applicable
 Entities may agree, including the documents comprising the Plan Supplement; (b) the execution and
 delivery of appropriate instruments of transfer, assignment, assumption, contribution, or
 delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the
 terms of the Plan and having other terms for which the applicable Entities agree, including the
 documents comprising the Plan Supplement; (c) the filing of appropriate certificates or articles of
 incorporation, reincorporation, merger, amalgamation, consolidation, conversion, or dissolution
 pursuant to applicable law; (d) such other transactions that are required to effectuate the
 Restructuring Transactions in a tax efficient manner for the Debtor, including any mergers,
 consolidations, restructurings, conversions, dispositions, transfers, formations, organizations,
 dissolutions, or liquidations; and (e) all other actions that the applicable Entities determine to be
 necessary or appropriate, including making filings or recordings that may be required by applicable
 law and that are consistent with the Plan and the Restructuring Support Agreement.

         The Confirmation Order shall and shall be deemed to, pursuant to Sections 363 and 1123
 of the Bankruptcy Code, authorize the Restructuring Transactions, which shall and shall be deemed
 to occur in the sequence set forth therein.

        The Confirmation Order shall and shall be deemed to, pursuant to both Sections 363 and
 1123 of the Bankruptcy Code, authorize, among other things, all actions consistent with the
 Restructuring Support Agreement as may be necessary or appropriate to effect any transaction
 described in, approved by, contemplated by, or necessary to effectuate the Plan.

 4.03     Corporate Action

         Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized,
 approved, and, to the extent taken prior to the Effective Date, ratified without any requirement for
 further action by Holders of Claims or Interests, directors, managers, or officers of the Debtor, the
 Reorganized Debtor, or any other Entity, including: (a) rejection or assumption, as applicable, of
 Executory Contracts and Unexpired Leases; (b) the appointment of the New Board; (c) the adoption
 and/or filing of any other amended organizational documents required to implement the
 Restructuring Transactions; (d) the issuance and distribution, or other transfer, of the New
 Common Stock as provided herein; (e) the implementation of the Restructuring Transactions; (f)
 the Debtor’s entry into, delivery, and performance of the Takeback Debt Documents and
 Revolving Credit Facility Documents; and (g) all other acts or actions contemplated, or reasonably
 necessary or appropriate to promptly consummate the transactions contemplated by the Plan
                                                  28
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 162 of 446



 (whether proposed to occur before, on, or after the Effective Date). All matters provided for in the
 Plan involving corporate action required by the Debtor, shall be deemed to have occurred on, and
 shall be in effect as of, the Effective Date, without any requirement of further action by the security
 Holders, directors, managers, authorized persons, or officers of the Debtor. On or (as applicable)
 before the Effective Date, the appropriate officers of the Debtor or the Reorganized Debtor, as
 applicable shall be authorized and (as applicable) directed to issue, execute, and deliver the
 agreements, documents, securities, and instruments contemplated by the Plan (or necessary or
 desirable to effectuate the Restructuring Transactions consistent with the Plan and the
 Restructuring Support Agreement) in the name of and on behalf of the Debtor or the Reorganized
 Debtor, as applicable, including any and all other agreements, documents, Securities, and
 instruments relating to the foregoing, to the extent not previously authorized by the Bankruptcy
 Court. The authorizations and approvals contemplated by this Article 4.03 shall be effective
 notwithstanding any requirements under non-bankruptcy law.

 4.04     Takeback Debt

         On the Effective Date, the Reorganized Debtor shall issue the Takeback Debt in the amount
 of the Takeback Debt Principal Amount (in which, subject to the occurrence of the Effective Date,
 interest shall accrue as of April 4, 2024, regardless of the day on which the Takeback Debt becomes
 fully operative) to the Holders of the Senior Notes consistent with the terms attached hereto as
 Exhibit A, as may be supplemented through a Plan Supplement. For the avoidance of doubt, if
 the Effective Date does not occur, no interest shall be due under the Takeback Debt.

         All terms of the Takeback Debt, including without limitation, covenants and governance,
 shall be reasonably acceptable to the Debtor and the Ad Hoc Noteholder Group and otherwise
 consistent with the Restructuring Support Agreement. Any terms of the Takeback Debt may be
 modified subject to the consent of the Debtor and the Ad Hoc Noteholder Group.

          On the Effective Date, the Debtor shall execute and deliver the Takeback Debt Documents
 and such documents shall become effective in accordance with their terms. On and after the
 Effective Date, the Takeback Debt Documents shall constitute legal, valid, and binding obligations
 of the Debtor and shall be enforceable in accordance with their respective terms. The terms and
 conditions of the Takeback Debt Documents shall bind the Debtor and each other Entity that enters
 into such Takeback Debt Documents. Any Entity’s acceptance of Takeback Debt shall be deemed
 as its agreement to the terms of the Takeback Debt Documents, as amended, amended and restated,
 supplemented, or otherwise modified from time to time following the Effective Date in accordance
 with their terms.

         Confirmation of the Plan shall be deemed, without further notice to or order of the
 Bankruptcy Court, approval of the Takeback Debt and the Takeback Debt Documents and all
 transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
 obligations to be incurred by the Reorganized Debtor in connection therewith, including the
 payment of all fees, indemnities, expenses, and other payments provided for therein and
 authorization of the Reorganized Debtor to issue the Takeback Debt and such other documents as
 may be required to effectuate the treatment afforded by the Takeback Debt.




                                                   29
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 163 of 446



 4.05     The Revolving Credit Facility

         On the Effective Date, the Reorganized Debtor shall enter into the Revolving Credit
 Facility Documents with the holders of the Senior Notes who are subject to the terms of the
 Restructuring Support Agreement at the discretion of such eligible holders. Confirmation of the
 Plan shall be deemed approval of the Revolving Credit Facility and authorization for the Debtor
 and Reorganized Debtor, as applicable, to take any and all actions necessary or appropriate to
 consummate the Revolving Credit Facility, including executing and delivering the Revolving
 Credit Facility Documents without any further notice to or order of the Bankruptcy Court.

        The proceeds of the Revolving Credit Facility will be used exclusively for emergency
 purposes only, in accordance with the Revolving Credit Facility Documents.

 4.06     Management Incentive Plan

        On the Effective Date, the Reorganized Debtor shall enter into the Management Incentive
 Plan. All grants under the Management Incentive Plan shall ratably dilute all New Common Stock
 issued pursuant to the Plan.

         The Management Incentive Plan will reserve exclusively for participants a pool of stock-
 based awards in the Reorganized Debtor in the form of (a) warrants for 5.0% of New Common
 Stock and (b) 5.0% of the New Common Stock, both determined on a fully diluted and fully
 distributed basis (the “MIP Pool”), which shall be reserved for distribution in accordance with the
 Management Incentive Plan.

         On the Effective Date, the Reorganized Debtor shall allocate 25.0% of the MIP Pool to the
 current management. No later 90 days following the Effective Date, the Reorganized Debtor shall
 allocate 25.0% of the MIP Pool to management employees of the Reorganized Debtor as
 determined at the discretion of the New Board. The remaining 50.0% of the MIP Pool shall be
 allocated to management employees at the discretion of the New Board.

         Confirmation of the Plan shall be deemed, without further notice to or order of the
 Bankruptcy Court, approval of the Management Incentive Plan and all transactions contemplated
 thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred by the
 Reorganized Debtor in connection therewith, including the payment of all fees, indemnities,
 expenses, and other payments provided for therein and authorization of the Reorganized Debtor to
 enter into and execute the Management Incentive Plan and such other documents as may be
 required to effectuate the treatment afforded by the Management Incentive Plan.

 4.07     Employee Obligations

        CorEnergy is a party to Employment Agreements with all eleven (11) of its employees.
 The employees covered by the Employment Agreements provide accounting, finance, legal and
 leadership roles. Pursuant to the Plan, the Reorganized Debtor will assume all eleven of the
 Employment Agreements.




                                                 30
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 164 of 446



 4.08     Deregistration of Existing Common Stock and Preferred Stock and Issuance of New
          Common Stock

         Prior to or as soon as reasonably practicable following the Effective Date, in accordance
 with all applicable federal and state rules and regulations, including the Securities Exchange Act
 of 1934, as amended (the “Exchange Act”), the Debtor or the Reorganized Debtor, as applicable,
 intend to take steps to de-register the existing Common Stock and Preferred Stock and to terminate
 and/or suspend its reporting obligations under the Exchange Act, including filing a Form 15 with
 the SEC to deregister its existing Common Stock and Preferred Stock.

         The Confirmation Order shall authorize the issuance of New Common Stock in one or
 more issuances without the need for any further corporate action, and the Debtor or Reorganized
 Debtor, as applicable, is authorized to take any action necessary or appropriate in furtherance
 thereof. On or about the Effective Date or as soon as reasonably practicable thereafter, applicable
 Holders of Senior Notes and Preferred Stock shall receive shares of New Common Stock pursuant
 to Articles 3.02(e) and (f).

        All of the shares of the New Common Stock issued pursuant to the Plan shall be duly
 authorized, validly issued, fully paid, and non-assessed. Each distribution and issuance of the New
 Common Stock under the Plan shall be governed by the terms and conditions set forth in the Plan
 applicable to such distribution or issuance and the terms and conditions of the instruments
 evidencing or relating to such distribution or issuance.

        The Reorganized Debtor does not intend to obtain a stock exchange listing for the New
 Common Stock, and the Reorganized Debtor does not intend to be subject to any reporting
 requirements promulgated by the SEC following the de-registration actions described above. The
 Reorganized Debtor intends to apply for the New Common Stock to be quoted on the OTC market
 and to make available to stockholders financial and other information concerning the Reorganized
 Debtor in accordance with applicable OTC rules.

 4.09     Exemption from Registration Requirements

          The offering, issuance, and distribution of the New Common Stock pursuant to the Plan
 (other than Securities issuable under the Management Incentive Plan) will be exempt from the
 registration requirements of Section 5 of the Securities Act or any similar federal, state, or local
 law in reliance on Section 1145 of the Bankruptcy Code. Pursuant to Section 1145 of the
 Bankruptcy Code, such New Common Stock will be freely tradable in the United States without
 registration under the Securities Act by the recipients thereof, subject to the provisions of (1)
 Section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in Section
 2(a)(11) of the Securities Act and compliance with any applicable state or foreign securities laws,
 if any, and the rules and regulations of the SEC, if any, applicable at the time of any future transfer
 of such Securities or instruments, (2) any other applicable regulatory approvals, and (3) any
 restrictions in the New Governance Documents.

         All Persons shall be required to accept and conclusively rely upon the Plan and the
 Confirmation Order in lieu of a legal opinion whether the New Common Stock or other Securities
 issued under or otherwise acquired pursuant to the Plan are exempt from registration and/or
 eligible for DTC book-entry delivery, settlement and depository services. Notwithstanding

                                                   31
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 165 of 446



 anything to the contrary in the Plan or otherwise, no Person (including, for the avoidance of doubt,
 DTC) may require a legal opinion regarding the validity of any transaction contemplated by the
 Plan, including, for the avoidance of doubt, whether such New Common Stock or other Securities
 are validly issued, fully paid and non-assessable, exempt from registration and/or eligible for DTC
 book-entry delivery, settlement and depository services.

 4.10     Subordination

         The allowance, classification, and treatment of satisfying all Claims and Interests proposed
 under the Plan takes into consideration any and all subordination rights, whether arising by contract
 or under general principles of equitable subordination, Sections 510(b) or 510(c) of the Bankruptcy
 Code, or otherwise. Except as provided in the Plan, on the Effective Date, any and all subordination
 rights or obligations that a Holder of a Claim or Interest may have with respect to any distribution to
 be made under the Plan will be discharged and terminated, and all actions related to the
 enforcement of such subordination rights will be enjoined permanently. Accordingly, distributions
 under the Plan to Holders of Allowed Claims and Allowed Interests will not be subject to turnover
 or payment to a beneficiary of such terminated subordination rights, or to levy, garnishment,
 attachment or other legal process by a beneficiary of such terminated subordination rights;
 provided, that, any such subordination rights shall be preserved in the event the Confirmation
 Order is vacated, the Effective Date does not occur in accordance with the terms hereunder, or the
 Plan is revoked or withdrawn.

 4.11     Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided herein, or in any agreement, instrument, or other document
 incorporated in the Plan or the Plan Supplement, on the Effective Date, pursuant to Sections
 1141(b) and (c) of the Bankruptcy Code, all property in the Debtor’s Estate, all Causes of Action,
 and any property acquired by the Debtor under the Plan shall vest in the Reorganized Debtor, free
 and clear of all Liens, Claims, charges, or other encumbrances. On and after the Effective Date,
 except as otherwise provided herein, the Reorganized Debtor may operate its business and may
 use, acquire, or dispose of property and pursue, compromise or settle any Claims, Interests, or
 Causes of Action without supervision or approval by the Bankruptcy Court and free of any
 restrictions of the Bankruptcy Code or Bankruptcy Rules.

 4.12     Cancellation of Instruments, Certificates, and Other Documents

         On the Effective Date, except as otherwise specifically provided in the Plan, the
 Confirmation Order, the New Common Stock, the Plan Supplement, or any agreement instrument,
 or other document entered into in connection with our pursuant to the Plan or the Restructuring
 Transactions, the obligations of the Debtor under the Bond Indenture, and any certificate, share,
 note, bond, indenture, purchase right, option, warrant, or other instrument or document, directly or
 indirectly, evidencing or creating any indebtedness or obligation of, or ownership interest in, the
 Debtor giving rise to any Claim or Interest shall be cancelled, without any need for a Holder to
 take further action with respect thereto, and the Debtor and the Reorganized Debtor shall not have
 any continuing obligations thereunder; provided, that, notwithstanding Confirmation or the
 occurrence of the Effective Date, any such agreement that governs the rights of the Holder of an
 Allowed Claim or Interest shall continue in effect solely for (a) purposes of enabling such Holder
 to receive distributions under the Plan on account of such Allowed Claim or Interest as provided
                                                   32
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                Document    Page 166 of 446



 herein, and (b) permit the Trustee to make or assist in making, as applicable, distributions pursuant
 to the Plan and deduct therefrom such reasonable compensation, fees, and expenses (i) due to the
 Trustee, or (ii) incurred by the Trustee in making such distributions, to the extent not otherwise
 satisfied by the Debtor. Except as provided in this Plan, on the Effective Date, the Trustee and its
 respective agents, successors and assigns shall be automatically and fully discharged of all duties
 and obligations associated with the Bond Indenture; provided, further, that the preceding proviso
 shall not affect the discharge of Claims or Interests pursuant to the Bankruptcy Code, the
 Confirmation Order, or the Plan or result in any expense or liability to the Reorganized Debtor,
 except to the extent set forth in or provided for under the Plan. The commitments and obligations
 of the lenders or Holders under the Bond Indenture to extend any further or future credit or
 financial accommodations to the Debtor, its subsidiaries or any successors or assigns under the
 Bond Indenture, to the extent there were any remaining commitments or obligations, shall fully
 terminate and be of no further force or effect on the Effective Date.

        Notwithstanding Confirmation, the occurrence of the Effective Date or anything to the
 contrary herein, only such matters that, by their express terms, survive the termination of the Bond
 Indenture shall survive the occurrence of the Effective Date, including the rights of the Trustee, as
 applicable, to expense reimbursement, indemnification, and similar amounts.

 4.13     Sources for Plan Distributions

        The Debtor shall fund distributions under the Plan with Cash on hand, including Cash from
 operations. The Reorganized Debtor will pay or cause to be paid the Cash payments to be made
 pursuant to the Plan.

         From and after the Effective Date, the Reorganized Debtor, subject to any applicable
 limitations set forth in any post-Effective Date agreement, shall have the right and authority
 without further order of the Bankruptcy Court to raise additional capital and obtain additional
 financing as the Reorganized Debtor deems appropriate.

 4.14     Corporate Existence

         Except as otherwise provided in the Plan or any agreement, instrument, or other document
 incorporated in the Plan or the Plan Supplement (including, but not limited to the Restructuring
 Transactions), on the Effective Date, the Debtor shall continue to exist after the Effective Date as
 a separate corporation with all the powers of a corporation pursuant to applicable Law, except to
 the extent such formation documents are amended and restated, converted or otherwise modified
 by the Plan, the Plan Supplement, or otherwise, and to the extent any such document is amended,
 such document is deemed to be amended pursuant to the Plan and requires no further action or
 approval (other than any requisite filings required under applicable state or federal law).

 4.15     New Governance Documents

        On the Effective Date, or as soon thereafter as is reasonably practicable, the New
 Governance Documents, consistent with the terms attached hereto as Exhibit B, as may be
 supplemented through a Plan Supplement, shall be adopted and amended or amended and restated,
 as applicable, as may be required to be consistent with the provisions of the Plan, the New
 Governance Documents, and the Restructuring Support Agreement, as applicable, and the

                                                  33
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 167 of 446



 Bankruptcy Code. To the extent required under the Plan or applicable non-bankruptcy law, the
 Reorganized Debtor will file its Agreement or applicable New Governance Documents with the
 applicable Secretary of State and/or other applicable authorities in its state of formation in
 accordance with the applicable laws thereof. The New Governance Documents shall, among other
 things: (a) authorize the issuance of the New Common Stock and (b) pursuant to and only to the
 extent required by Section 1123(a)(6) of the Bankruptcy Code, include a provision prohibiting the
 issuance of non-voting equity Securities. Subject to this Article 4.15 of the Plan, the Reorganized
 Debtor may amend and restate its formation and constituent documents as permitted by applicable
 law and the terms of the New Governance Documents, the Restructuring Support Agreement, and
 the Plan.

          Certain Holders of the New Common Stock may enter into and be subject to the terms of
 a shareholder agreement (the “Shareholder Agreement”), which may restrict such Holder of New
 Common Stock for the purposes of preserving net operating losses. It is the intent that any
 restrictions on trading in any Shareholder Agreement will not apply to small holders holding less
 than 5% of the New Common Stock who are not qualified institutional buyers as defined in Rule
 144A of the Securities Act. The Reorganized Debtor intends to apply for the New Common Stock
 to be quoted in the OTC markets and to make available to stockholders financial and other
 information concerning the Reorganized Debtor in accordance with OTC rules.

 4.16     Indemnification Provisions in Organizational Documents

         As of the Effective Date and consistent with applicable law, the Reorganized Debtor’s
 formation documents shall, to the fullest extent permitted by applicable law, provide for the
 indemnification, defense, reimbursement, exculpation, and/or limitation of liability of, and
 advancement of fees and expenses to, current directors, officers, equity Holders, managers,
 members, employees, accountants, investment bankers, attorneys, other professionals, agents of
 the Debtor or Reorganized Debtor, and such current directors’, officers’, and managers’ respective
 Affiliates (each of the foregoing solely in their capacity as such) at least to the same extent as set
 forth in the Indemnification Provisions, against any claims or Causes of Action whether direct or
 derivative, liquidated or unliquidated, fixed, or contingent, disputed or undisputed, matured or
 unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted. The Reorganized
 Debtor shall not amend and/or restate its organizational documents after the Effective Date to
 terminate or materially adversely affect (a) any Indemnification Provision or (b) the rights of such
 directors, officers, equity Holders, managers, members, employees, accountants, investment
 bankers, attorneys, other professionals, agents of the Debtor, and such current directors’, officers’,
 and managers’ respective Affiliates (each of the foregoing solely in their capacity as such) referred
 to in the immediately preceding sentence. For the avoidance of doubt, as used in this Article 4.16,
 “current” refers to covered Entities that serve as of the Petition Date, regardless of whether such
 Entities cease serving in such capacities thereafter.

 4.17     Effectuating Documents; Further Transactions

         On and after the Effective Date, the Reorganized Debtor, and the officers, manager, and
 members of the board of managers (or other governing body) thereof, shall be authorized to and
 may issue, execute, deliver, file, or record such contracts, Securities, instruments, releases, and
 other agreements or documents and take such actions as may be necessary or appropriate to
 effectuate, implement, and further evidence the terms and conditions of the Plan, and the
                                                  34
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                   Desc Main
                                 Document    Page 168 of 446



 Restructuring Transactions, as applicable, and the Securities issued pursuant to the Plan in the
 name of and on behalf of the Reorganized Debtor, without the need for any approvals,
 authorizations, or consents except for those expressly required under the Plan.

 4.18     Management of the Reorganized Debtor

        On the Effective Date, the board of directors at CorEnergy shall be replaced with the New
 Board. The New Board shall initially include five (5) members appointed by the new equity
 holders, on arrangements to be agreed to by, and in the sole discretion of, the Ad Hoc Noteholder
 Group and as set forth in the Shareholder Agreement.

       Provisions regarding the removal, appointment, and replacement of members of the New
 Board will be set forth in the New Governance Documents or Shareholder Agreement.

 4.19     Section 1146(a) Exemption

          To the fullest extent permitted by Section 1146(a) of the Bankruptcy Code, any transfers
 (whether from the Debtor to the Reorganized Debtor or to any other Person) of property under the
 Plan (including the Restructuring Transactions) or pursuant to: (a) the issuance, distribution,
 transfer, or exchange of any debt, equity security, or other interest in the Debtor or the Reorganized
 Debtor; (b) the creation, modification, consolidation, termination, refinancing, and/or recording of
 any mortgage, deed of trust, or other security interest, or the securing of additional indebtedness
 by such or other means; (c) the making, assignment, or recording of any lease or sublease; (d) the
 grant of collateral as security for any or all of the Takeback Debt or the Revolving Credit Facility,
 as applicable; or (e) the making, delivery, or recording of any deed or other instrument of transfer
 under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
 assignments, or other instrument of transfer executed in connection with any transaction arising
 out of, contemplated by, or in any way related to the Plan (including the Restructuring
 Transactions), shall not be subject to any document recording tax, stamp tax, conveyance fee,
 intangibles or similar tax, mortgage tax, real estate transfer tax, personal property transfer tax,
 mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or
 recording fee, sales or use tax, or other similar tax or governmental assessment. All appropriate
 state or local governmental officials, agents, or filing or recording officers (or any other Person with
 authority over any of the foregoing), wherever located and by whomever appointed, shall comply
 with the requirements of Section 1146(a) of the Bankruptcy Code, shall forego the collection of
 any such tax or governmental assessment, and shall accept for filing and recordation any of the
 foregoing instruments or other documents without the payment of any such tax, recordation fee, or
 governmental assessment.

 4.20     Preservation of Causes of Action

         Unless any Causes of Action against an Entity are expressly waived, relinquished,
 exculpated, released, compromised, or settled in the Plan, including pursuant to Article VIII of the
 Plan or a Final Order, in accordance with Section 1123(b) of the Bankruptcy Code, the Reorganized
 Debtor shall retain and may enforce all rights to commence and pursue any and all Causes of
 Action, whether arising before or after the Petition Date, including any actions specifically
 enumerated in the Plan Supplement, and the Reorganized Debtor’s rights to commence,
 prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the

                                                   35
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 169 of 446



 Effective Date. No Entity may rely on the absence of a specific reference in the Plan, the Plan
 Supplement, or the Disclosure Statement to any Cause of Action, including Avoidance
 Actions, against them as any indication that the Debtor or the Reorganized Debtor will not
 pursue any and all available Causes of Action against them. The Debtor and the Reorganized
 Debtor expressly reserve all rights to commence, pursue, and prosecute any and all Causes
 of Action against any Entity, including Avoidance Actions, except as otherwise expressly
 provided herein. Unless any Causes of Action against an Entity are expressly waived,
 relinquished, exculpated, released, compromised, or settled in the Plan, including pursuant to
 Article VIII of the Plan or a Final Order, the Reorganized Debtor expressly reserve all Causes of
 Action, for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res
 judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or
 otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of the
 Confirmation or Consummation. For the avoidance of doubt, in no instance will any Cause of
 Action preserved pursuant to this Article 4.20 include any claim or Cause of Action with respect
 to, or against, a Released Party.

          In accordance with Section 1123(b)(3) of the Bankruptcy Code, any Causes of Action
 preserved pursuant to the first paragraph of this Article 4.20 that the Debtor may hold against any
 Entity shall vest in the Reorganized Debtor. The Reorganized Debtor, through its authorized agents
 or representatives, shall retain and may exclusively enforce any and all such Causes of Action.
 The Reorganized Debtor shall have the exclusive right, authority, and discretion to determine and
 to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
 judgment any such Causes of Action, or to decline to do any of the foregoing, without the consent
 or approval of any third party or any further notice to or action, order, or approval of the
 Bankruptcy Court.

                              ARTICLE V
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 5.01     Assumption and Rejection of Executory Contracts and Unexpired Leases

         Except as otherwise provided herein, each Executory Contract and Unexpired Lease shall
 be deemed assumed, including without the need for any further notice to or action, order, or
 approval of the Bankruptcy Court, as of the Effective Date, pursuant to Section 365 of the
 Bankruptcy Code, unless such Executory Contract or Unexpired Lease (a) was previously assumed
 or rejected; (b) was previously expired or terminated pursuant to its own terms; (c) is the subject
 of a motion to assume or assume and assign Filed on or before the Confirmation Date; or (d) is
 designated specifically, or by category, as an Executory Contract or Unexpired Lease on the
 Schedule of Rejected Executory Contracts and Unexpired Leases. The assumption of Executory
 Contracts and Unexpired Leases hereunder may include the assignment of certain of such contracts
 or leases to Affiliates. The Confirmation Order will constitute an order of the Bankruptcy Court
 approving the above-described assumptions and assignments, all pursuant to Sections 365(a) and
 1123 of the Bankruptcy Code and effective on the occurrence of the Effective Date.

         Except as otherwise provided herein or agreed to by the Debtor and the applicable
 counterparty, each assumed Executory Contract or Unexpired Lease shall include all
 modifications, amendments, supplements, restatements, or other agreements related thereto, and
 all rights related thereto, if any, including all easements, licenses, permits, rights, privileges,
                                                  36
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 170 of 446



 immunities, options, rights of first refusal, and any other interests. To the maximum extent
 permitted by law, to the extent any provision in any Executory Contract or Unexpired Lease
 assumed pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached
 or deemed breached by, the assumption of such Executory Contract or Unexpired Lease (including
 any “change of control” provision), then such provision shall be deemed modified such that the
 transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate
 such Executory Contract or Unexpired Lease or to exercise any other default-related rights with
 respect thereto. Notwithstanding anything to the contrary in the Plan, the Debtor or Reorganized
 Debtor, as applicable, reserves the right to alter, amend, modify, or supplement the Schedule of
 Rejected Executory Contracts and Unexpired Leases at any time through and including 45 days
 after the Effective Date. Modifications, amendments, supplements, and restatements to prepetition
 Executory Contracts and Unexpired Leases that have been executed by the Debtor during the
 Chapter 11 Case shall not be deemed to alter the prepetition nature of the Executory Contract or
 Unexpired Lease or the validity, priority, or amount of any Claims that may arise in connection
 therewith.

 5.02     Cure and Defaults for Assumed Executory Contracts and Unexpired Leases

         The Debtor or the Reorganized Debtor, as applicable, shall pay undisputed Cure Claims, if
 any, on (a) the Effective Date or as soon as reasonably practicable thereafter as dictated by the
 Debtor’s ordinary course of business, for Executory Contracts and Unexpired Leases assumed as
 of the Effective Date or (b) the assumption effective date, if different than the Effective Date. Any
 Cure Claim shall be deemed fully satisfied, released, and discharged upon payment by the Debtor
 or the Reorganized Debtor of the Cure Claim; provided, that nothing herein shall prevent the
 Reorganized Debtor from paying any Cure Claim despite the failure of the relevant counterparty
 to File such request for payment of such Cure Claim. The Reorganized Debtor also may settle any
 Cure Claim without any further notice to or action, order, or approval of the Bankruptcy Court.
 Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
 pursuant to the Plan shall be satisfied, pursuant to Section 365(b)(1) of the Bankruptcy Code, by
 payment of the Cure Claim amount in Cash on the Effective Date, subject to the limitation
 described below, or on such other terms as the parties to such Executory Contracts or Unexpired
 Leases may otherwise agree. In the event of a dispute regarding (a) the amount of any payments
 to cure such a default, (b) the ability of the Reorganized Debtor or any assignee to provide
 “adequate assurance of future performance” (within the meaning of Section 365 of the Bankruptcy
 Code) under the Executory Contract or Unexpired Lease to be assumed, or (c) any other matter
 pertaining to assumption, the Cure Claim payments required by Section 365(b)(1) of the
 Bankruptcy Code shall be made following the entry of a Final Order or orders resolving the dispute
 and approving the assumption; provided, that, the Reorganized Debtor may settle any such dispute
 without any further notice to, or action, order, or approval of the Bankruptcy Court or any other
 Entity.

         At least fourteen (14) days prior to the Combined Hearing, the Debtor shall provide for
 notices of proposed assumption or assumption and assignment and proposed Cure Claim amounts
 to be sent to applicable third parties (with such Cure Claim being $0.00 if no amount is listed in
 the notice), which notices will include procedures for objecting thereto and resolution of disputes
 by the Bankruptcy Court. Any objection by a counterparty to an Executory Contract or Unexpired
 Lease to a proposed assumption or assumption and assignment on any grounds or related amount
 of the Cure Claim must be Filed, served, and actually received by the Debtor no later than the date
                                                  37
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 171 of 446



 specified in the notice (which specified date shall be at least fourteen (14) days following service
 of the notice). Any counterparty to an Executory Contract or Unexpired Lease that failed to timely
 object to the proposed assumption will be deemed to have assented to such assumption or
 assumption and assignment and any objection shall be Disallowed and forever barred, estopped,
 and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor, without
 the need for any objection by the Reorganized Debtor or any other party in interest or any further
 notice to or action, Order, or approval of the Bankruptcy Court. The Debtor or Reorganized
 Debtor, as applicable, reserves the right to reject any Executory Contract or Unexpired Lease in
 resolution of any cure disputes. Notwithstanding anything to the contrary herein, if at any time the
 Bankruptcy Court determines that the Allowed Cure Claim with respect to any Executory Contract
 or Unexpired Lease is greater than the amount set forth in the applicable Cure Notice, the Debtor
 or Reorganized Debtor, as applicable, shall have the right, at such time, to add such Executory
 Contract or Unexpired Lease to the Schedule of Rejected Executory Contracts and Unexpired
 Leases, in which case such Executory Contract or Unexpired Lease shall be deemed rejected as
 the Effective Date. In the event of a timely Filed objection regarding (a) the amount of any Cure
 Claim; (b) the ability of the Reorganized Debtor or any assignee to provide “adequate assurance of
 future performance” (within the meaning of Section 365 of the Bankruptcy Code) under the
 Executory Contract or Unexpired Lease to be assumed; or (c) any other matter pertaining to
 assumption or the cure payments required by Section 365(b)(1) of the Bankruptcy Code, such
 dispute shall be resolved by a Final Order of the Bankruptcy Court (which may be the Confirmation
 Order) or as may be agreed upon by the Debtor or the Reorganized Debtor, as applicable, and the
 counterparty to the Executory Contract or Unexpired Lease.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise and full payment of any applicable Cure pursuant to this Article 5.02, in the amount and
 at the time dictated by the Debtor’s ordinary course of business, shall result in the full release and
 satisfaction of any Cures, Claims, or defaults, whether monetary or nonmonetary, including
 defaults of provisions restricting the change in control or ownership interest composition or other
 bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease at
 any time prior to the effective date of assumption. Any and all Proofs of Claim based upon
 Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Case,
 including pursuant to the Confirmation Order, and for which any Cure has been fully paid pursuant
 to this Article 5.02, in the amount and at the time dictated by the Debtor ordinary course of business,
 shall be deemed disallowed and expunged as of the Effective Date without the need for any
 objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

        The Confirmation Order will constitute an order of the Bankruptcy Court approving each
 proposed assumption, or proposed assumption and assignment, of Executory Contracts and
 Unexpired Leases pursuant to Sections 365 and 1123 of the Bankruptcy Code as of the Effective
 Date.

 5.03     Rejection Damages Claims

          In the event that the rejection of an Executory Contract or Unexpired Lease by the Debtor
 results in damages to the other party or parties to such contract or lease, a Claim for such damages
 shall be forever barred and shall not be enforceable against the Debtor or the Reorganized Debtor
 or their respective properties or interests in property as agents, successors, or assigns, unless a
 Proof of Claim is Filed with the Notices and Claims Agent and served upon counsel for the Debtor,
                                                   38
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                Document    Page 172 of 446



 the Reorganized Debtor, and counsel for the Ad Hoc Noteholder Group no later than fifteen (15)
 days after the date of entry of a Final Order of the Bankruptcy Court (including the Confirmation
 Order) approving such rejection of such Executory Contract or Unexpired Lease. Any such
 Claims, to the extent Allowed, shall be classified as General Unsecured Claims and shall be treated
 in accordance with Article III hereof.

 5.04     Insurance Policies

         To the extent the Debtor is a party thereto or a named insured, any D&O Liability Insurance
 Policy (including, without limitation, any “tail policy” and all agreements, documents, or
 instruments related thereto) shall be deemed assumed, without the need for any further notice to
 or action, order, or approval of the Bankruptcy Court, as of the Effective Date, pursuant to Section
 365 of the Bankruptcy Code.

         To the extent applicable, the Debtor or the Reorganized Debtor, as applicable, shall not
 terminate or otherwise reduce the coverage under any D&O Liability Insurance Policy (including,
 without limitation, any “tail policy” and all agreements, documents, or instruments related thereto)
 in effect as of the Petition Date. Any current and former directors, officers, managers, and
 employees of the Debtor who served in such capacity at any time before or after the Effective Date
 shall be entitled to the full benefits of any such policy for the full term of such policy regardless
 of whether such directors, officers, managers, and employees remain in such positions after the
 Effective Date subject to the terms of such policy. Notwithstanding anything to the contrary in the
 Plan, the Debtor or the Reorganized Debtor shall retain the ability to supplement (but not reduce)
 such D&O Liability Insurance Policy as the Debtor or Reorganized Debtor may deem necessary.

         The Debtor shall continue to satisfy any applicable insurance policies in full and continue
 such programs in the ordinary course of business. Each of the Debtor’s insurance policies, and
 any agreements, documents, or instruments relating thereto shall be treated as Executory Contracts
 under the Plan. Unless otherwise provided in the Plan, on the Effective Date, with respect to any
 policies where the Debtor is a named insured or a counterparty: (a) the Debtor shall be deemed to
 have assumed all such insurance policies and any agreements, documents, and instruments relating
 to coverage of all insured Claims; and (b) such insurance policies and any agreements, documents,
 or instruments relating thereto shall revest in the Reorganized Debtor.

        Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of the
 Reorganized Debtor’s assumption of all such insurance policies. Notwithstanding anything to the
 contrary contained in the Plan, Confirmation of the Plan shall not discharge, impair, or otherwise
 modify any indemnity obligations assumed by the foregoing assumption of insurance policies and
 each such indemnity obligation will be deemed and treated as an Executory Contract that has been
 assumed by the Reorganized Debtor under the Plan as to which no Proof of Claim need be filed,
 and shall survive the Effective Date.

 5.05     Contracts and Leases After the Petition Date

        Contracts and leases entered into after the Petition Date by the Debtor, including any
 Executory Contracts and Unexpired Leases assumed under Section 365 of the Bankruptcy Code,
 will be performed by the Debtor or Reorganized Debtor in the ordinary course of its business.


                                                  39
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                                  Document    Page 173 of 446



 Such contracts and leases that are not rejected under the Plan shall survive and remain unaffected
 by entry of the Confirmation Order.

 5.06     Reservation of Rights

         Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the
 Debtor or any other party that any contract or lease is in fact an Executory Contract or Unexpired
 Lease or that any Reorganized Debtor has any liability thereunder. If there is a dispute regarding
 whether a contract or lease is or was executory or unexpired at the time of assumption, the Debtor
 or the Reorganized Debtor, as applicable, shall have forty-five (45) days following entry of a Final
 Order resolving such dispute to alter its treatment of such contract or lease.

 5.07     Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
 jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
 Leases pursuant to Section 365(d)(4) of the Bankruptcy Code, unless such deadline(s) have
 expired.

                                      ARTICLE VI
                          PROVISIONS GOVERNING DISTRIBUTIONS

 6.01     Distributions on Account of Claims or Interests Allowed as of Effective Date

         Except as otherwise provided herein, a Final Order, or as otherwise agreed to by the Debtor
 or the Reorganized Debtor, as the case may be, and the Holder of the applicable Claim or Interest,
 on the first Distribution Date, which shall be the same day as the Effective Date, the distribution
 agent (the “Distribution Agent”) shall make initial distributions under the Plan on account of
 Claims or Interests Allowed on or before the Effective Date or as soon as reasonably practical
 thereafter; provided, however, that (1) Allowed Administrative Claims with respect to liabilities
 incurred by the Debtor in the ordinary course of business shall be paid or performed in the ordinary
 course of business in accordance with the terms and conditions of any controlling agreements,
 course of dealing, course of business, or industry practice, and (2) Allowed Priority Tax Claims
 shall be paid in accordance with Article 2.04 hereof. To the extent any Allowed Priority Tax Claim
 is not due and owing on the Effective Date, such Claim shall be paid in full in Cash in accordance
 with the terms of any agreement between the Debtor and the Holder of such Claim or as may be
 due and payable under applicable non-bankruptcy law or in the ordinary course of business.

         The Debtor and the Reorganized Debtor, as applicable, shall take such reasonable actions
 as may be required to cause the distributions to Holders of the Preferred Stock in accordance with
 and as contemplated under the Plan. Notwithstanding anything in the Plan to the contrary, to the
 extent a holder of Preferred Stock holds such interests through DTC, distributions attributable to
 such Holders shall be effectuated through the facilities of DTC, to the extent practicable. The
 distributions to Holders of Preferred Stock shall be deemed issued on the Effective Date regardless
 of when the distribution actually occurs.

          (a)       Powers of Distribution Agent


                                                   40
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                  Document    Page 174 of 446



          The Distribution Agent shall be empowered to: (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
 make all distributions contemplated hereby; (c) employ professionals to represent it with respect
 to its responsibilities; and (d) exercise such other powers as may be vested in the Distribution Agent
 by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Distribution Agent to
 be necessary and proper to implement the provisions hereof, provided, however, that such
 Distribution Agent shall waive any right or ability to setoff, deduct from or assert any lien or
 encumbrance against the distributions required under the Plan to be distributed by such
 Distribution Agent.

         Notwithstanding any provision in the Plan to the contrary, distributions to the Senior
 Noteholders may be made to or at the direction of the Trustee, who may act as Distribution Agent
 (or direct the Distribution Agent) for distributions to Senior Noteholders, in accordance with the
 Plan and the Bond Indenture. As applicable, the Trustee may transfer or direct the transfer of such
 distributions directly through the facilities of DTC (whether by means of book-entry exchange,
 free delivery, or otherwise) and will be entitled to recognize and deal for all purposes under the
 Plan with the respective Holders of such Claims to the extent consistent with customary practices
 of DTC.

          (b)       Expenses Incurred On or After the Effective Date

         The Debtor or the Reorganized Debtor, as applicable, shall pay to the Distribution Agent
 all reasonable and documented fees and expenses of such Distribution Agent without the need for
 any approvals, authorizations, actions, or consents, except as otherwise ordered by the Bankruptcy
 Court. The Distribution Agent shall submit invoices to the Debtor or the Reorganized Debtor, as
 applicable, for all fees and expenses for which the Distribution Agent seeks reimbursement, and
 the Debtor or the Reorganized Debtor, as applicable, shall pay those amounts that either deem
 reasonable, and shall object in writing to those fees and expenses, if any, that the Debtor or the
 Reorganized Debtor, as applicable, deem to be unreasonable. In the event that the Debtor or the
 Reorganized Debtor, as applicable, object to all or any portion of the amounts requested to be
 reimbursed in a Distribution Agent’s invoice, the Debtor or the Reorganized Debtor, as applicable,
 and such Distribution Agent shall endeavor, in good faith, to reach mutual agreement on the
 amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
 Debtor or the Reorganized Debtor, as applicable, and a Distribution Agent are unable to resolve
 any differences regarding disputed fees or expenses, either party shall be authorized to move to
 have such dispute heard by the Bankruptcy Court.

 6.02     Special Rules for Distributions to Holders of Disputed Claims

         Notwithstanding any provision otherwise in the Plan and except as otherwise agreed by the
 relevant parties, (a) no partial payments and no partial distributions shall be made with respect to
 a Disputed Claim until all such disputes in connection with such Disputed Claim have been
 resolved by settlement or Final Order; and (b) any Entity that holds both an Allowed Claim and a
 Disputed Claim shall not receive any distribution on the Allowed Claim unless and until all
 objections to the Disputed Claim have been resolved by settlement or Final Order or the Claims
 have been Allowed or expunged.



                                                  41
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                  Document    Page 175 of 446



 6.03     Delivery of Distributions

          (a)       Record Date for Distributions

         As of the Distribution Record Date, the various transfer registers for each Class of Claims
 or Interests entitled to distributions under the Plan as maintained by the Debtor or its respective
 agents shall be deemed closed as of the close of business on the Distribution Record Date, and
 there shall be no further changes in the record Holders of any Claims or Interests. The Distribution
 Agent shall have no obligation to recognize any transfer of Claims or Interests occurring on or
 after the Distribution Record Date. In addition, with respect to payment of any Cure amounts or
 disputes over any Cure amounts, neither the Debtor nor the Distribution Agent shall have any
 obligation to recognize or deal with any party other than the non-Debtor party to the applicable
 Executory Contract or Unexpired Lease as of the Effective Date, even if such non-Debtor party
 has sold, assigned, or otherwise transferred its Claim for a Cure amount. For the avoidance of
 doubt, the Distribution Record Date shall not apply to the Debtor’s publicly traded Preferred Stock
 or Common Stock, the distributions to which will be conducted in accordance with the DTC’s
 standard procedures and customary practices.

          (b)       Distribution Process

        Except as otherwise provided in the Plan, the Distribution Agent shall make distributions
 to Holders of Allowed Claims or Interests at the address for each such Holder as indicated on the
 applicable register or in the Debtor’s records as of the date of any such distribution (as applicable),
 including the address set forth in any Proof of Claim filed by that Holder; provided, that, the
 manner of such distributions shall be determined at the discretion of the Reorganized Debtor.

          (c)       Compliance Matters

         In connection with the Plan, to the extent applicable, the Reorganized Debtor and the
 Distribution Agent shall comply with all applicable withholding and reporting requirements
 imposed on them by any Governmental Unit, and all distributions pursuant to the Plan and all
 related agreements shall be subject to any such withholding or reporting requirements.
 Notwithstanding the foregoing, each Holder of an Allowed Claim or Interest or any other Person
 that receives a distribution pursuant to the Plan shall have responsibility for any taxes imposed by
 any Governmental Unit, including, without limitation, income, withholding, and other taxes, on
 account of such distribution. Notwithstanding any provision in the Plan, any document included
 in the Plan Supplement, or any other Definitive Document to the contrary, the Reorganized Debtor
 and the Distribution Agent shall have the right, but not the obligation, to take all actions necessary
 or appropriate to comply with such withholding and reporting requirements, including (a)
 withholding distributions pending receipt of information necessary to facilitate such distributions
 and (b) in the case of a non-Cash distribution that is subject to withholding, withhold an appropriate
 portion of such property and either liquidate such withheld property to generate sufficient funds to
 pay applicable withholding taxes (or reimburse the distributing party for any advance payment of
 the withholding tax) or pay the withholding tax using its own funds and retain such withheld
 property. The Reorganized Debtor reserves the right to allocate all distributions made under the
 Plan in compliance with all applicable wage garnishments, alimony, child support, and other spousal
 awards, liens, and encumbrances. Any amounts withheld or reallocated pursuant to this Article
 6.03(c) shall be treated as if distributed to the Holder of the Allowed Claim or Allowed Interest.
                                                    42
 HB: 4866-7395-7801.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                    Document    Page 176 of 446



         Any party entitled to receive any property as an issuance or distribution under the Plan
 shall, upon request, deliver to the Reorganized Debtor and the Distribution Agent, or such other
 Person designated by the Reorganized Debtor or the Distribution Agent, IRS Form W-9 or, if the
 payee is a foreign Person, an applicable IRS Form W-8, or any other forms or documents
 reasonably requested by the Reorganized Debtor or the Distribution Agent to reduce or eliminate
 any withholding required by Governmental Unit. If such request is made by the Reorganized
 Debtor or the Distribution Agent, or such other Person designated by the Reorganized Debtor or
 the Distribution Agent, and the Holder fails to comply within ninety (90) days after not less than
 two (2) requests have been made, the amount of such distribution shall irrevocably revert to the
 applicable Reorganized Debtor as applicable, and any Claim or Interest in respect of such
 distribution shall be forever barred from assertion against any Debtor, the Reorganized Debtor and
 their respective property.

          (d)       Foreign Currency Exchange Rate

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any
 Claim asserted in currency other than U.S. dollars shall be automatically deemed converted to the
 equivalent U.S. dollar value using the exchange rate for the applicable currency as published in
 The Wall Street Journal, National Edition, on the Effective Date.

          (e)       Fractional, Undeliverable, and Unclaimed Distributions

                    (i)     Fractional Distributions: No fractional New Common Stock shall be
                            distributed. Whenever any distribution of fractional units of New Common
                            Stock would otherwise be required pursuant to the Plan, the actual
                            distribution shall reflect a rounding down of such fraction to the nearest unit
                            of New Common Stock. Any Cash distributions shall reflect a rounding
                            down of such Cash to the nearest penny. No consideration shall be provided
                            in lieu of fractional shares or Cash amounts that are rounded down. None of
                            the Reorganized Debtor or the Distribution Agent shall have any obligation
                            to make a distribution that is less than one (1) share of New Common Stock.
                            DTC shall be considered a single holder for distribution purposes.

                    (ii)    Undeliverable Distributions: If any distribution to a Holder is returned as
                            undeliverable, no further distributions shall be made to such Holder unless
                            and until the Distribution Agent is notified in writing of such Holder’s then-
                            current address or other necessary information for delivery, at which time
                            all currently due missed distributions shall be made to such Holder within
                            thirty (30) days of receipt of the Holder’s then current address or other
                            necessary information. Undeliverable distributions shall remain in the
                            possession of the Reorganized Debtor as applicable, for one (1) year after
                            the Effective Date at which time such distribution reverts to the Reorganized
                            Debtor as applicable, or is cancelled pursuant to Article 6.03(e)(iv) of the
                            Plan, and shall not be supplemented with any interest, dividends, or other
                            accruals of any kind.

                    (iii)   Failure to Present Checks: Checks issued by the Reorganized Debtor (or its
                            Distribution Agent) on account of Allowed Claims shall be null and void if
                                                      43
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                   Document    Page 177 of 446



                           not negotiated within ninety (90) days after the issuance of such check.
                           Requests for reissuance of any check shall be made directly to the
                           Distribution Agent by the Holder of the relevant Allowed Claim with
                           respect to which such check originally was issued.

                    Any Holder of an Allowed Claim holding an un-negotiated check that does not
                    request reissuance of such un-negotiated check within 180 days of the Effective Date
                    shall have its Claim for such un-negotiated check discharged and be discharged and
                    forever barred, estopped, and enjoined from asserting any such Claim against the
                    Reorganized Debtor or its property.

                    Within ninety (90) days after the mailing or other delivery of any such distribution
                    checks, notwithstanding applicable escheatment laws, all such distributions shall
                    revert to the Reorganized Debtor. Nothing contained herein shall require the
                    Reorganized Debtor to attempt to locate any Holder of an Allowed Claim.

                    (iv)   Reversion: Any distribution under the Plan that is an Unclaimed
                           Distribution for a period of one (1) year after the Effective Date shall be
                           deemed unclaimed property under Section 347(b) of the Bankruptcy Code,
                           and such Unclaimed Distribution shall revest in the Reorganized Debtor
                           and, to the extent such Unclaimed Distribution is New Common Stock shall
                           be deemed cancelled. Upon such revesting, the Claim of the Holder or its
                           successors with respect to such property shall be cancelled, discharged, and
                           forever barred notwithstanding any applicable federal or state escheat,
                           abandoned, or unclaimed property laws, or any provisions in any document
                           governing the distribution that is an Unclaimed Distribution, to the contrary.

          (f)       Surrender of Cancelled Instruments or Securities

         On the Effective Date, each Holder of a certificate or instrument evidencing a Claim or
 Interest that has been cancelled shall be deemed to have surrendered such certificate or interest to
 the Debtor or a Servicer (to the extent the relevant Claim is governed by an agreement and
 administered by a Servicer). Such certificate or instrument shall be cancelled solely with respect
 to the Debtor, and such cancellation shall not alter the obligations or rights of any non-Debtor third
 parties vis-à-vis one another with respect to such certificate or instrument including with respect
 to any indenture or agreement that governs the rights of the Holder of a Claim or Interest, which
 shall continue in effect for purposes of allowing Holders to receive distributions under the Plan,
 charging liens, priority of payment, and indemnification rights. Notwithstanding the foregoing
 paragraph, this Article 6.03(f) shall not apply to any Claims and Interests Reinstated pursuant to
 the terms of the Plan.

 6.04     Claims Paid or Payable by Third Parties

          (a)       Claims Paid by Third Parties

         A Claim shall be correspondingly reduced, and the applicable portion of such Claim shall
 be disallowed without an objection to such Claim having to be Filed and without any further notice
 to or action, order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim

                                                     44
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 178 of 446



 receives a payment on account of such Claim from a party that is not the Debtor or the Reorganized
 Debtor. To the extent a Holder of a Claim receives a distribution on account of such Claim and
 receives payment from a party that is not the Debtor or the Reorganized Debtor on account of such
 Claim, such Holder shall, within fourteen (14) days of receipt thereof, repay or return the
 distribution to the Reorganized Debtor to the extent the Holder’s total recovery on account of such
 Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
 any such distribution under the Plan. The failure of such Holder to timely repay or return such
 distribution shall result in the Holder owing the Reorganized Debtor annualized interest at the
 Federal Judgment Rate on such amount owed for each Business Day after the fourteen-day grace
 period specified above until the amount is repaid.

          (b)       Claims Payable by Insurance Carriers

         No distributions under the Plan shall be made on account of an Allowed Claim that is
 payable pursuant to one of the Debtor’s insurance policies until the Holder of such Allowed Claim
 has exhausted all remedies with respect to such insurance policy. To the extent that one or more
 of the Debtor’s insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated
 by a court of competent jurisdiction), then immediately upon such insurers’ agreement, the
 applicable portion of such Claim may be expunged without a Claim objection having to be Filed
 and without any further notice to or action, order, or approval of the Bankruptcy Court.

          (c)       Applicability of Insurance Policies

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall
 be in accordance with the provisions of any applicable insurance policy. Notwithstanding anything
 to the contrary herein (including Article VIII), nothing contained in the Plan shall constitute or be
 deemed a release, settlement, satisfaction, compromise, or waiver of any Cause of Action that the
 Debtor or any other Entity may hold against any other Entity, including insurers, under any policies
 of insurance or applicable indemnity, nor shall anything contained herein constitute or be deemed
 a waiver by such insurers of any defenses, including coverage defenses, held by such insurers.

 6.05     No Postpetition or Default Interest on Claims

        Unless otherwise specifically provided for in the Plan or the Confirmation Order, and
 notwithstanding any documents that govern the Debtor’s prepetition funded indebtedness to the
 contrary, (a) postpetition and/or default interest shall not accrue or be paid on any Claims and (b)
 no Holder of a Claim shall be entitled to: (i) interest accruing on or after the Petition Date on any
 such Claim; or (ii) interest at the contract default rate, as applicable.

 6.06     Setoffs

         Except as otherwise expressly provided for herein and with respect to the Allowed Claim
 of the holders of the Senior Notes and/or the Trustee, the Reorganized Debtor, pursuant to the
 Bankruptcy Code (including Section 553 of the Bankruptcy Code), applicable non-bankruptcy law,
 or as may be agreed to by the Holder of a Claim, may set off against any Allowed Claim and the
 distributions to be made pursuant to the Plan on account of such Allowed Claim (before any
 distribution is made on account of such Allowed Claim), any claims, rights, and Causes of Action
 of any nature that the Debtor or the Reorganized Debtor, as applicable, may hold against the Holder

                                                   45
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 179 of 446



 of such Allowed Claim, to the extent such Claims, rights, or Causes of Action against such Holder
 have not been otherwise compromised or settled on or prior to the Effective Date (whether pursuant
 to the Plan or otherwise); provided, however, that neither the failure to effect such a setoff nor the
 allowance of any Claim pursuant to the Plan shall constitute a waiver or release by the Reorganized
 Debtor of any such Claims, rights, and Causes of Action that the Reorganized Debtor may possess
 against such Holder. In no event shall any Holder of a Claim be entitled to set off any such Claim
 against any Claim, right, or Cause of Action of the Debtor or the Reorganized Debtor (as
 applicable), unless such Holder has filed a motion with the Bankruptcy Court requesting the
 authority to perform such setoff on or before the Confirmation Date, and notwithstanding any
 indication in any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve
 any right of setoff pursuant to Section 553 of the Bankruptcy Code or otherwise.

 6.07     Allocation Between Principal and Accrued Interest

         Except as otherwise provided herein or as otherwise required by law (as reasonably
 determined by the Reorganized Debtor), the aggregate consideration paid to Holders with respect
 to their Allowed Claims shall be treated pursuant to the Plan as allocated first to the principal
 amount of such Allowed Claims (to the extent thereof as determined for federal income tax
 purposes) and, thereafter, to interest, if any, on such Allowed Claim accrued through the Effective
 Date.

 6.08     Delivery of New Common Stock

         On the Effective Date, the Reorganized Debtor is authorized to issue or cause to be issued
 and shall issue the New Common Stock for distribution in accordance with the terms of the Plan
 without the need for any further board, shareholder or other corporate action. All of the New
 Common Stock issuable under the Plan, when so issued, shall be duly authorized, validly issued,
 fully paid, and non-assessable. Each holder of New Common Stock shall be deemed, without
 further notice or action, to have agreed to be bound by the New Governance Documents, as the
 same may be amended from time to time following the Effective Date in accordance with their
 terms. The New Governance Documents shall be binding on all Entities receiving New Common
 Stock (and their respective successors and assigns), whether received pursuant to the Plan or
 otherwise and regardless of whether such Entity executes or delivers a signature page to the New
 Governance Document. Notwithstanding the foregoing, the Reorganized Debtor, may condition
 the distribution of any New Common Stock issued pursuant to the Plan upon the recipient thereof
 duly executing and delivering to the Debtor or the Reorganized Debtor, as applicable, counter-
 signatures to one or more New Governance Documents.

                              ARTICLE VII
         PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
                     DISPUTED CLAIMS AND INTERESTS

 7.01     Allowance of Claims

         Except as expressly provided in the Plan or in any Order entered in the Chapter 11 Case
 before the Effective Date (including the Confirmation Order), no Claim shall become an Allowed
 Claim unless and until such Claim is deemed Allowed under the Plan or the Bankruptcy Code, or
 the Bankruptcy Court has entered a Final Order, including the Confirmation Order (when it

                                                  46
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                Document    Page 180 of 446



 becomes a Final Order), in the Chapter 11 Case allowing such Claim. The Debtor or Reorganized
 Debtor may affirmatively determine to deem Unimpaired Claims Allowed to the same extent such
 Claims would be allowed under applicable non-bankruptcy law.

 7.02     Objections to Claims

         Except as otherwise specifically provided in this Plan or the Confirmation Order, the
 Debtor, and after the Effective Date, the Reorganized Debtor, shall have the sole authority to: (a)
 File, withdraw, or litigate to judgment objections to Claims or Interests; (b) settle or compromise
 any Disputed Claim or Interest without any further notice to or action, Order, or approval by the
 Bankruptcy Court; and (c) administer and adjust the Debtor’s Claims register to reflect any such
 settlements or compromises without any further notice to or action, Order, or approval by the
 Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and after
 the Effective Date, the Reorganized Debtor shall have and retain any and all rights and defenses
 the Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or
 Disputed Interest, including the Causes of Action retained pursuant to Article 4.20 of the Plan. A
 motion to extend the Claims Objection Deadline shall automatically extend the deadline until the
 Court enters an order on such motion.

 7.03     Estimation of Claims

         Before or after the Effective Date, the Debtor or Reorganized Debtor, as applicable, may
 (but are not required to) at any time request that the Bankruptcy Court estimate any Disputed Claim
 that is contingent or unliquidated pursuant to Section 502(c) of the Bankruptcy Code for any
 reason, regardless of whether any party previously has objected to such Claim or whether the
 Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain
 jurisdiction to estimate any such Claim, including during the litigation of any objection to any
 Claim or during the appeal relating to such objection. In the event that the Bankruptcy Court
 estimates any contingent, unliquidated or Disputed Claim, the amount so estimated shall constitute
 either the Allowed amount of such Claim or a maximum limitation on such Claim, as determined
 by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount
 of such Claim, the Debtor or the Reorganized Debtor may pursue supplementary proceedings to
 object to the allowance of such Claim. Notwithstanding Section 502(j) of the Bankruptcy Code,
 in no event shall any Holder of a Claim that has been estimated pursuant to Section 502(c) of the
 Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation unless such
 Holder has filed a motion requesting the right to seek such reconsideration on or before twenty-one
 (21) days after the date on which such Claim is estimated.

 7.04     No Distribution Pending Allowance

         If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
 distribution provided under the Plan shall be made on account of such Claim unless and until (and
 only to the extent that) such Claim becomes an Allowed Claim.

 7.05     Distribution After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
 (if any) shall be made to the Holder of such Allowed Claim in accordance with the provisions of

                                                 47
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 181 of 446



 the Plan. As soon as practicable after the date that the order or judgment of the Bankruptcy Court
 allowing any Disputed Claim becomes a Final Order, the Distribution Agent shall provide to the
 Holder of such Claim the distribution (if any) to which such Holder is entitled under the Plan as of
 the Effective Date, without any interest to be paid on account of such Claim unless required under
 applicable bankruptcy law.

 7.06     No Interest

         Unless otherwise specifically provided for herein or by order of the Bankruptcy Court,
 postpetition interest shall not accrue or be paid on Claims, and no Holder of a Claim shall be
 entitled to interest accruing on or after the Petition Date on any Claim or right. Additionally, and
 without limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim with
 respect to the period from the Effective Date to the date a final distribution is made on account of
 such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

 7.07     Adjustment to Claims Without Objection

         Any duplicate Claim or Interest, any Claim or Interest that has been paid or satisfied, or any
 Claim or Interest that has been amended or superseded, cancelled or otherwise expunged
 (including pursuant to the Plan or the Confirmation Order), may be adjusted or expunged
 (including on the Claims register, to the extent applicable) by the Reorganized Debtor without
 having to File an application, motion, complaint, objection, or any other legal proceeding seeking
 to object to such Claim or Interest and without any further notice to or action, Order, or approval
 of the Bankruptcy Court.

 7.08     Disallowance of Claims

         All Claims of any Entity from which property is sought by the Debtor under Sections 542,
 543, 550, or 553 of the Bankruptcy Code or that the Debtor or the Reorganized Debtor allege is a
 transferee of a transfer that is avoidable under Sections 522(f), 522(h), 544, 545, 547, 548, 549, or
 724(a) of the Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the
 Debtor or the Reorganized Debtor, as applicable, on the other hand, agree or the Bankruptcy Court
 has determined by Final Order that such Entity or transferee is liable to turn over any property or
 monies under any of the aforementioned Sections of the Bankruptcy Code; and (b) such Entity or
 transferee has failed to turn over such property by the date set forth in such agreement or Final
 Order. All Claims filed on account of an indemnification obligation to a director, officer, or
 employee shall be deemed satisfied and expunged from the Claims register as of the Effective Date
 to the extent such indemnification obligation is assumed (or honored or reaffirmed, as the case
 may be) pursuant to the Plan, without any further notice to or action, order or approval of the
 Bankruptcy Court. All Claims filed on account of an employee benefit shall be deemed satisfied
 and expunged from the Claims register as of the Effective Date to the extent the Reorganized
 Debtor elects to honor such employee benefit, without any further notice to or action, order or
 approval of the Bankruptcy Court.

         Except as provided herein or otherwise agreed to by the Debtor or the Reorganized
 Debtor, as applicable, any and all Proofs of Claim filed after the Claims Bar Date shall be
 deemed Disallowed and expunged as of the Effective Date without any further notice to or
 action, Order, or approval of the Bankruptcy Court, and Holders of such Claims may not

                                                  48
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 182 of 446



 receive any distributions on account of such Claims, unless on or before the Combined
 Hearing such late Filed Claim has been deemed timely Filed by a Final Order.

                                    ARTICLE VIII
                        EFFECT OF CONFIRMATION OF THE PLAN

 8.01     Discharge of Claims and Termination of Interests; Compromise and Settlement of
          Claims, Interests, and Controversies

         Except as otherwise specifically provided in the Plan or in any contract, instrument,
 or other agreement or document created pursuant to the Plan (including the Takeback Debt
 and the Revolving Credit Facility): (a) the distributions, rights, and treatment that are
 provided in the Plan shall be in complete satisfaction, discharge, and release, effective as of
 the Effective Date, of any and all Claims and Interests after the Effective Date by the
 Reorganized Debtor, and Causes of Action against the Debtor of any nature whatsoever
 including demands, liabilities, and Causes of Action that arose before the Effective Date, any
 liability (including withdrawal liability) to the extent such liability relates to services
 performed by employees of the Debtor prior to the Effective Date and that arises from a
 termination of employment, any contingent or non-contingent liability on account of
 representations or warranties issued on or before the Effective Date, all debts of the kind
 specified in Sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, any interest accrued
 on Claims or Interests from and after the Petition Date, and all other liabilities against, liens
 on, obligations of, rights against, and Interests in, the Debtor or any of its assets or properties;
 (b) the Plan shall bind all Holders of Claims and Interests; (c) all Claims and Interests shall
 be satisfied, discharged, and released in full, and the Debtor’s liability with respect thereto
 shall be extinguished completely, including any liability of the kind specified under Section
 502(g) of the Bankruptcy Code; and (d) all Entities shall be precluded from asserting against
 the Debtor, the Debtor’s Estate, the Reorganized Debtor, its successors and assigns, and its
 assets and properties any other Claims or Interests based upon any documents, instruments,
 or any act or omission, transaction, or other activity of any kind or nature that occurred
 prior to the Effective Date, in each case regardless of whether or not: (i) a Proof of Claim
 based upon such debt or right is filed or deemed filed pursuant to Section 501 of the
 Bankruptcy Code; (ii) a Claim or Interest based upon such debt, right, or Interest is Allowed
 pursuant to Section 502 of the Bankruptcy Code; (iii) the Holder of such a Claim or Interest
 has accepted, rejected or failed to vote to accept or reject the Plan; or (iv) any property shall
 have been distributed or retained pursuant to the Plan on account of such Claims and
 Interests. The Confirmation Order shall be a judicial determination of the discharge of all
 Claims and Interests subject to the occurrence of the Effective Date.

         Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and
 other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good
 faith compromise of all Claims, Interests, and controversies relating to the contractual, legal,
 and subordination rights that a Holder of a Claim or Interest may have with respect to any
 Allowed Claim or Allowed Interest, or any distribution to be made on account of such
 Allowed Claim or Allowed Interest. The entry of the Confirmation Order shall constitute
 the Bankruptcy Court’s approval of the compromise or settlement of all such Claims,
 Interests, and controversies, as well as a finding by the Bankruptcy Court that such
 compromise or settlement is in the best interests of the Debtor, its Estate, and Holders of
                                                 49
 HB: 4866-7395-7801.1
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55           Desc Main
                               Document    Page 183 of 446



 Claims and Interests and is fair, equitable, and reasonable. In accordance with the
 provisions of the Plan, pursuant to Bankruptcy Rule 9019, without any further notice to or
 action, order, or approval of the Bankruptcy Court, after the Effective Date, the Reorganized
 Debtor may compromise and settle Claims against the Debtor and its Estate and Causes of
 Action against other Entities.

 8.02     Release by the Debtor

      NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE
 CONTRARY, PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, FOR
 GOOD AND VALUABLE CONSIDERATION, ON AND AFTER THE EFFECTIVE
 DATE, EACH RELEASED PARTY IS DEEMED RELEASED AND DISCHARGED BY
 THE DEBTOR, THE REORGANIZED DEBTOR, AND ITS ESTATE FROM ANY AND
 ALL CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN,
 INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON BEHALF
 OF THE DEBTOR OR ITS ESTATE, THAT THE DEBTOR, THE REORGANIZED
 DEBTOR, OR ITS ESTATE WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT
 IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON
 BEHALF OF THE HOLDER OF ANY CLAIM AGAINST, OR INTEREST IN, THE
 DEBTOR OR OTHER ENTITY, BASED ON OR RELATING TO, OR IN ANY MANNER
 ARISING FROM, IN WHOLE OR IN PART, THE DEBTOR (INCLUDING THE
 MANAGEMENT, OWNERSHIP, OR OPERATION THEREOF), ANY SECURITIES
 ISSUED BY THE DEBTOR AND THE OWNERSHIP THEREOF, THE DEBTOR’S IN-
 OR OUT-OF-COURT RESTRUCTURING EFFORTS, ANY AVOIDANCE ACTIONS
 (BUT EXCLUDING AVOIDANCE ACTIONS BROUGHT AS COUNTERCLAIMS OR
 DEFENSES TO CLAIMS ASSERTED AGAINST THE DEBTOR), ANY
 INTERCOMPANY TRANSACTIONS, THE BOND INDENTURE, THE CHAPTER 11
 CASE, THE FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION,
 EXECUTION, OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT, THE
 DISCLOSURE STATEMENT, THE PLAN, THE PLAN SUPPLEMENTS, OR ANY
 RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
 OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN
 CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE
 TAKEBACK DEBT, THE REVOLVING CREDIT FACILITY, SOLICITATION OF
 VOTES ON THE PLAN, THE PREPETITION NEGOTIATION AND SETTLEMENT OF
 CLAIMS, THE PURSUIT OF CONFIRMATION OF THE PLAN, THE PURSUIT OF
 CONSUMMATION      OF   THE    PLAN,   THE   ADMINISTRATION    AND
 IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR
 DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW
 COMMON STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION
 THEREWITH) PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY
 UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY
 OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
 OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.
 NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
 RELEASES SET FORTH ABOVE DO NOT RELEASE (A) ANY POST-EFFECTIVE

                                              50
 HB: 4866-7395-7801.1
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                               Document    Page 184 of 446



 DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE RESTRUCTURING
 SUPPORT AGREEMENT, THE PLAN, ANY DEFINITIVE DOCUMENT EXECUTED IN
 CONNECTION WITH THE RESTRUCTURING TRANSACTIONS, OR ANY OTHER
 DOCUMENT, INSTRUMENT, OR AGREEMENT EXECUTED TO IMPLEMENT THE
 PLAN, (B) THE DEBTOR’S OR THE REORGANIZED DEBTOR’S ASSUMED
 INDEMNIFICATION PROVISIONS AS SET FORTH IN THE PLAN, OR (C) CLAIMS
 RELATED TO ANY ACT OR OMISSION THAT IS DETERMINED IN A FINAL ORDER
 BY A COURT OF COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL
 FRAUD, WILLFUL MISCONDUCT, OR GROSS NEGLIGENCE.

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019,
 OF THE DEBTOR RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE
 RELATED PROVISIONS AND DEFINITIONS CONTAINED IN THE PLAN, AND
 FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT
 THE DEBTOR RELEASE IS: (A) IN EXCHANGE FOR THE GOOD AND VALUABLE
 CONSIDERATION PROVIDED BY THE RELEASED PARTIES, INCLUDING,
 WITHOUT LIMITATION, THE RELEASED PARTIES’ CONTRIBUTIONS TO
 FACILITATING THE RESTRUCTURING AND IMPLEMENTING THE PLAN; (B) A
 GOOD FAITH SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY
 THE DEBTOR RELEASE; (C) IN THE BEST INTERESTS OF THE DEBTOR AND ALL
 HOLDERS OF CLAIMS AND INTERESTS; (D) FAIR, EQUITABLE, AND
 REASONABLE; (E) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
 FOR HEARING; AND (F) A BAR TO ANY OF THE DEBTOR, THE REORGANIZED
 DEBTOR, OR THE DEBTOR’S ESTATE ASSERTING ANY CLAIM OR CAUSE OF
 ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

 8.03     Releases by Holders of Claims and Interests

      NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE
 CONTRARY, AS OF THE EFFECTIVE DATE, AND TO THE FULLEST EXTENT
 ALLOWED BY APPLICABLE LAW, EACH RELEASING PARTY IS DEEMED TO
 HAVE RELEASED AND DISCHARGED THE DEBTOR, REORGANIZED DEBTOR,
 AND THE RELEASED PARTIES FROM ANY AND ALL CLAIMS AND CAUSES OF
 ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY DERIVATIVE
 CLAIMS ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTOR OR ITS
 ESTATE, THAT SUCH ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO
 ASSERT (WHETHER INDIVIDUALLY OR COLLECTIVELY), BASED ON OR
 RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE
 DEBTOR (INCLUDING THE MANAGEMENT, OWNERSHIP, OR OPERATION
 THEREOF), ANY SECURITIES ISSUED BY THE DEBTOR AND THE OWNERSHIP
 THEREOF, THE DEBTOR’S IN- OR OUT-OF-COURT RESTRUCTURING EFFORTS,
 ANY AVOIDANCE ACTIONS (BUT EXCLUDING AVOIDANCE ACTIONS BROUGHT
 AS COUNTERCLAIMS OR DEFENSES TO CLAIMS ASSERTED AGAINST THE
 DEBTOR), ANY INTERCOMPANY TRANSACTIONS, THE BOND INDENTURE, THE
 CHAPTER 11 CASE, THE FORMULATION, PREPARATION, DISSEMINATION,
 NEGOTIATION, EXECUTION, OR FILING OF THE RESTRUCTURING SUPPORT
 AGREEMENT, THE DISCLOSURE STATEMENT, THE PLAN, THE PLAN
                                 51
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 185 of 446



 SUPPLEMENTS, OR ANY RESTRUCTURING TRANSACTION, CONTRACT,
 INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR
 ENTERED INTO IN CONNECTION WITH THE RESTRUCTURING SUPPORT
 AGREEMENT, THE TAKEBACK DEBT, THE REVOLVING CREDIT FACILITY,
 SOLICITATION OF VOTES ON THE PLAN, THE PREPETITION NEGOTIATION AND
 SETTLEMENT OF CLAIMS, THE PURSUIT OF CONFIRMATION OF THE PLAN,
 THE PURSUIT OF CONSUMMATION OF THE PLAN, THE ADMINISTRATION AND
 IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR
 DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW
 COMMON STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION
 THEREWITH) PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY
 UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY
 OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
 OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.
 NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
 RELEASES SET FORTH ABOVE DO NOT RELEASE (A) ANY POST- EFFECTIVE
 DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE RESTRUCTURING
 SUPPORT AGREEMENT, THE PLAN, THE TAKEBACK DEBT OR THE REVOLVING
 CREDIT FACLIITY, ANY DEFINITIVE DOCUMENT EXECUTED IN CONNECTION
 WITH THE RESTRUCTURING TRANSACTIONS, OR ANY OTHER DOCUMENT,
 INSTRUMENT, OR AGREEMENT EXECUTED TO IMPLEMENT THE PLAN, (B)
 SHALL NOT RESULT IN A RELEASE, WAIVER, OR DISCHARGE OF THE
 DEBTOR’S OR THE REORGANIZED DEBTOR’S ASSUMED INDEMNIFICATION
 PROVISIONS AS SET FORTH IN THE PLAN, (C) OBLIGATIONS UNDER THE BOND
 INDENTURE, THAT, BY THEIR EXPRESS TERMS, SURVIVE THE TERMINATION
 THEREOF, INCLUDING THE RIGHTS OF THE TRUSTEE TO EXPENSE
 REIMBURSEMENT, INDEMNIFICATION AND SIMILAR AMOUNTS, OR (IV)
 CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS DETERMINED IN A
 FINAL ORDER BY A COURT OF COMPETENT JURISDICTION TO HAVE
 CONSTITUTED ACTUAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
 NEGLIGENCE.

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF
 THE THIRD-PARTY RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE
 RELATED PROVISIONS AND DEFINITIONS CONTAINED IN THE PLAN, AND,
 FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT
 THE THIRD-PARTY RELEASE IS: (A) CONSENSUAL; (B) ESSENTIAL TO THE
 CONFIRMATION OF THE PLAN; (C) GIVEN IN EXCHANGE FOR THE GOOD AND
 VALUABLE CONSIDERATION PROVIDED BY THE RELEASED PARTIES,
 INCLUDING,   WITHOUT     LIMITATION,    THE  RELEASED    PARTIES’
 CONTRIBUTIONS    TO   FACILITATING     THE  RESTRUCTURING    AND
 IMPLEMENTING THE PLAN; (D) A GOOD FAITH SETTLEMENT AND
 COMPROMISE OF THE CLAIMS RELEASED BY THE THIRD-PARTY RELEASE; (E)
 IN THE BEST INTERESTS OF THE DEBTOR AND ITS ESTATE; (F) FAIR,
 EQUITABLE, AND REASONABLE; (G) GIVEN AND MADE AFTER DUE NOTICE

                                         52
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 186 of 446



 AND OPPORTUNITY FOR HEARING; AND (H) A BAR TO ANY OF THE RELEASING
 PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED PURSUANT
 TO THE THIRD-PARTY RELEASE.

 8.04     Exculpation

      NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE
 CONTRARY AND TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
 NO EXCULPATED PARTY SHALL HAVE OR INCUR LIABILITY FOR, AND EACH
 EXCULPATED PARTY IS RELEASED AND EXCULPATED FROM, ANY CAUSE OF
 ACTION FOR ANY CLAIM RELATED TO ANY ACT OR OMISSION IN CONNECTION
 WITH, RELATING TO, OR ARISING OUT OF, THE DEBTOR (INCLUDING THE
 MANAGEMENT, OWNERSHIP, OR OPERATION THEREOF), ANY SECURITIES
 ISSUED BY THE DEBTOR AND THE OWNERSHIP THEREOF, THE DEBTOR’S IN-
 OR OUT-OF-COURT RESTRUCTURING EFFORTS, ANY AVOIDANCE ACTIONS
 (BUT EXCLUDING AVOIDANCE ACTIONS BROUGHT AS COUNTERCLAIMS OR
 DEFENSES TO CLAIMS ASSERTED AGAINST THE DEBTOR), ANY
 INTERCOMPANY TRANSACTIONS, THE BOND INDENTURE, THE CHAPTER 11
 CASE, THE FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION,
 EXECUTION, OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT, THE
 DISCLOSURE STATEMENT, THE PLAN, THE PLAN SUPPLEMENTS, OR ANY
 RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
 OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN
 CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE
 TAKEBACK DEBT, THE REVOLVING CREDIT FACILITY, SOLICITATION OF
 VOTES ON THE PLAN, THE PREPETITION NEGOTIATION AND SETTLEMENT OF
 CLAIMS, THE PURSUIT OF CONFIRMATION OF THE PLAN, THE PURSUIT OF
 CONSUMMATION      OF   THE    PLAN,   THE    ADMINISTRATION   AND
 IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR
 DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW
 COMMON STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION
 THEREWITH) PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY
 UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY
 OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
 OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE,
 EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS
 DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT JURISDICTION
 TO HAVE CONSTITUTED ACTUAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
 NEGLIGENCE, BUT IN ALL RESPECTS SUCH ENTITIES SHALL BE ENTITLED TO
 REASONABLY RELY UPON THE ADVICE OF COUNSEL WITH RESPECT TO THEIR
 DUTIES AND RESPONSIBILITIES PURSUANT TO THE PLAN.

      THE EXCULPATED PARTIES HAVE, AND UPON CONFIRMATION OF THE
 PLAN SHALL BE DEEMED TO HAVE, PARTICIPATED IN GOOD FAITH AND IN
 COMPLIANCE WITH THE APPLICABLE LAWS WITH REGARD TO THE
 SOLICITATION OF VOTES ON, AND DISTRIBUTION OF CONSIDERATION
 PURSUANT TO, THE PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF
                                53
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 187 of 446



 SUCH DISTRIBUTIONS SHALL NOT BE, LIABLE AT ANY TIME FOR THE
 VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION GOVERNING
 THE SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THE PLAN OR SUCH
 DISTRIBUTIONS MADE PURSUANT TO THE PLAN. NOTWITHSTANDING
 ANYTHING TO THE CONTRARY IN THE FOREGOING, THE EXCULPATION SET
 FORTH ABOVE DOES NOT RELEASE OR EXCULPATE ANY CLAIM RELATING TO
 ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER
 THE   RESTRUCTURING    SUPPORT   AGREEMENT,    THE    PLAN,   ANY
 RESTRUCTURING TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR
 AGREEMENT (INCLUDING ANY DOCUMENTS RELATED TO THE TAKEBACK
 DEBT, THE REVOLVING CREDIT FACILITY, AND OTHER DOCUMENTS,
 INSTRUMENTS AND AGREEMENTS SET FORTH IN THE PLAN SUPPLEMENT)
 EXECUTED TO IMPLEMENT THE PLAN.

 8.05     Injunction

      UPON ENTRY OF THE CONFIRMATION ORDER, ALL HOLDERS OF CLAIMS
 AND INTERESTS AND OTHER PARTIES IN INTEREST, ALONG WITH THEIR
 RESPECTIVE PRESENT OR FORMER EMPLOYEES, AGENTS, OFFICERS,
 DIRECTORS, PRINCIPALS, AND AFFILIATES, AND EACH OF THEIR SUCCESSORS
 AND ASSIGNS, SHALL BE ENJOINED FROM TAKING ANY ACTIONS TO
 INTERFERE WITH THE IMPLEMENTATION OR CONSUMMATION OF THE PLAN
 IN RELATION TO ANY CLAIM OR INTEREST THAT IS EXTINGUISHED,
 DISCHARGED, OR RELEASED PURSUANT TO THE PLAN.

       EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR THE
 CONFIRMATION ORDER, ALL ENTITIES WHO HAVE HELD, HOLD, OR MAY
 HOLD CLAIMS, INTERESTS, CAUSES OF ACTION, OR LIABILITIES THAT: (A) ARE
 SUBJECT TO COMPROMISE AND SETTLEMENT PURSUANT TO THE TERMS OF
 THE PLAN; (B) HAVE BEEN RELEASED PURSUANT TO ARTICLE 8.02 OF THE PLAN;
 (C) HAVE BEEN RELEASED PURSUANT TO ARTICLE 8.03 OF THE PLAN, (D) ARE
 SUBJECT TO EXCULPATION PURSUANT TO ARTICLE 8.04 OF THE PLAN, OR (E)
 ARE OTHERWISE DISCHARGED, SATISFIED, STAYED OR TERMINATED
 PURSUANT TO THE TERMS OF THE PLAN, ARE PERMANENTLY ENJOINED AND
 PRECLUDED, FROM AND AFTER THE EFFECTIVE DATE, FROM TAKING ANY OF
 THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE DEBTOR, THE
 REORGANIZED DEBTOR, THE RELEASED PARTIES, AND/OR THE EXCULPATED
 PARTIES: (1) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR
 OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH
 OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (2) ENFORCING,
 ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY
 JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
 ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
 CLAIMS OR INTERESTS; (3) CREATING, PERFECTING, OR ENFORCING ANY
 ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE PROPERTY OR
 ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR
 WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (4) ASSERTING ANY
 RIGHT OF SETOFF, SUBROGATION, OR RECOUPMENT OF ANY KIND AGAINST
                                   54
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 188 of 446



 ANY OBLIGATION DUE FROM SUCH ENTITIES OR AGAINST THE PROPERTY OF
 SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT
 TO ANY SUCH CLAIMS OR INTERESTS UNLESS SUCH ENTITY HAS TIMELY
 ASSERTED SUCH SETOFF RIGHT IN A DOCUMENT FILED WITH THE
 BANKRUPTCY COURT EXPLICITLY PRESERVING SUCH SETOFF, AND
 NOTWITHSTANDING AN INDICATION OF A CLAIM OR INTEREST OR
 OTHERWISE THAT SUCH ENTITY ASSERTS, HAS, OR INTENDS TO PRESERVE
 ANY RIGHT OF SETOFF PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND
 (5) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
 PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
 WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS DISCHARGED,
 RELEASED, EXCULPATED, SETTLED AND/OR TREATED, ENTITLED TO A
 DISTRIBUTION, OR CANCELLED PURSUANT TO THE PLAN.

      NO PERSON OR ENTITY MAY COMMENCE OR PURSUE A CLAIM OR
 CAUSE OF ACTION OF ANY KIND AGAINST THE DEBTOR, THE REORGANIZED
 DEBTOR, THE EXCULPATED PARTIES, OR THE RELEASED PARTIES THAT
 RELATES TO OR IS REASONABLY LIKELY TO RELATE TO ANY ACT OR
 OMISSION IN CONNECTION WITH, RELATING TO, OR ARISING OUT OF A CLAIM
 OR CAUSE OF ACTION RELATED TO THE CHAPTER 11 CASE, THE
 FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, OR FILING
 OF THE RESTRUCTURING SUPPORT AGREEMENT AND RELATED PREPETITION
 TRANSACTIONS, THE DISCLOSURE STATEMENT, THE PLAN, THE PLAN
 SUPPLEMENT, OR ANY RESTRUCTURING TRANSACTION, CONTRACT,
 INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR
 ENTERED INTO IN CONNECTION WITH THE RESTRUCTURING SUPPORT
 AGREEMENT, THE PREPETITON DOCUMENTS, THE DISCLOSURE STATEMENT,
 THE PLAN, THE PLAN SUPPLEMENT, THE CHAPTER 11 CASE, THE FILING OF
 THE CHAPTER 11 CASE, THE TAKEBACK DEBT, THE REVOLVING CREDIT
 FACILITY, ANY DOCUMENTS RELATED TO THE TAKEBACK DEBT,
 SOLICITATION OF VOTES ON THE PLAN, THE PREPETITION NEGOTIATION AND
 SETTLEMENT OF CLAIMS, THE PURSUIT OF CONFIRMATION OF THE PLAN,
 THE PURSUIT OF CONSUMMATION OF THE PLAN, THE ADMINISTRATION AND
 IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR
 DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW
 COMMON STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION
 THEREWITH) PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY
 UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY
 OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
 OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE
 RELATED OR RELATING TO ANY OF THE FOREGOING, WITHOUT REGARD TO
 WHETHER SUCH PERSON OR ENTITY IS A RELEASING PARTY, WITHOUT THE
 BANKRUPTCY COURT (1) FIRST DETERMINING, AFTER NOTICE AND A
 HEARING, THAT SUCH CLAIM OR CAUSE OF ACTION REPRESENTS A
 COLORABLE CLAIM OF ANY KIND AND (2) SPECIFICALLY AUTHORIZING SUCH
 PERSON OR ENTITY TO BRING SUCH CLAIM OR CAUSE OF ACTION AGAINST

                                         55
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                  Document    Page 189 of 446



 THE DEBTOR, REORGANIZED DEBTOR, OR ANY SUCH EXCULPATED PARTY OR
 RELEASED PARTY.

      THE BANKRUPTCY COURT WILL HAVE SOLE AND EXCLUSIVE
 JURISDICTION TO ADJUDICATE THE UNDERLYING COLORABLE CLAIM OR
 CAUSES OF ACTION.

      NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
 FOREGOING, THE INJUNCTION DOES NOT ENJOIN ANY PARTY UNDER THE
 PLAN, THE CONFIRMATION ORDER OR UNDER ANY OTHER DEFINITIVE
 DOCUMENT OR OTHER DOCUMENT, INSTRUMENT, OR AGREEMENT
 (INCLUDING THOSE ATTACHED TO THE DISCLOSURE STATEMENT OR
 INCLUDED IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN
 AND THE CONFIRMATION ORDER FROM BRINGING AN ACTION TO ENFORCE
 THE TERMS OF THE PLAN, THE CONFIRMATION ORDER OR SUCH DOCUMENT,
 INSTRUMENT, OR AGREEMENT (INCLUDING THOSE ATTACHED TO THE
 DISCLOSURE STATEMENT OR INCLUDED IN THE PLAN SUPPLEMENT)
 EXECUTED TO IMPLEMENT THE PLAN AND THE CONFIRMATION ORDER. THE
 INJUNCTION IN THE PLAN SHALL EXTEND TO ANY SUCCESSORS AND ASSIGNS
 OF THE DEBTOR AND THE REORGANIZED DEBTOR AND ITS RESPECTIVE
 PROPERTY AND INTERESTS IN PROPERTY.

 8.06     Protection Against Discriminatory Treatment

         In accordance with Section 525 of the Bankruptcy Code, and consistent with paragraph 2 of
 Article VI of the United States Constitution, no Governmental Unit shall discriminate against any
 Reorganized Debtor, or any Entity with which the Reorganized Debtor has been or is associated,
 solely because the Reorganized Debtor was a debtor under chapter 11, may have been insolvent
 before the commencement of the Chapter 11 Case (or during the Chapter 11 Case, but before the
 Debtor was granted or denied a discharge), or has not paid a debt that is dischargeable in the
 Chapter 11 Case.

 8.07     Release of Liens

          Except as otherwise specifically provided in the Plan, the Takeback Debt, the Revolving
 Credit Facility (including in connection with any express written amendment of any mortgage, deed
 of trust, Lien, pledge, or other security interest related to the Takeback Debt and/or the Revolving
 Credit Facility), or in any contract, instrument, release, or other agreement or document created
 pursuant to the Plan, on the Effective Date and concurrently with the applicable distributions made
 pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full of the portion of the
 Secured Claim that is Allowed as of the Effective Date, all mortgages, deeds of trust, Liens,
 pledges, or other security interests against any property of the Estate shall be fully released and
 discharged, and all of the right, title, and interest of any Holder of such mortgages, deeds of trust,
 Liens, pledges, or other security interests shall revert to the Reorganized Debtor and its successors
 and assigns, in each case, without any further approval or order of the Bankruptcy Court and
 without any action or Filing being required to be made by the Debtor, the Trustee or any other
 Holder of a Secured Claim. In addition, at the sole expense of the Debtor or the Reorganized
 Debtor, the Trustee shall execute and deliver all documents reasonably requested by the Debtor,
                                                  56
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                   Document    Page 190 of 446



 Reorganized Debtor or administrative agent(s) for the Takeback Debt and/or the Revolving Credit
 Facility to evidence the release of such mortgages, deeds of trust, Liens, pledges, and other security
 interests and shall authorize the Reorganized Debtor and its designees to file UCC-3 termination
 statements and other release documentation (to the extent applicable) with respect thereto.

 8.08     Reimbursement of Contribution

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
 pursuant to Section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
 contingent as of the Effective Date, such Claim shall be forever disallowed notwithstanding Section
 502(j) of the Bankruptcy Code, unless prior to the Effective Date (a) such Claim has been
 adjudicated as noncontingent, or (b) the relevant Holder of a Claim has filed a noncontingent Proof
 of Claim on account of such Claim and a Final Order has been entered determining such Claim as
 no longer contingent.

 8.09     Recoupment

         In no event shall any Holder of a Claim be entitled to recoup such Claim against any Claim,
 right, or Cause of Action of the Debtor or the Reorganized Debtor, as applicable, unless such
 Holder actually has performed such recoupment and provided notice thereof in writing to the
 Debtor on or before the Confirmation Date, notwithstanding any indication in any Proof of Claim
 or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

                                        ARTICLE IX
                        CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

 9.01     Conditions Precedent to the Effective Date

         It shall be a condition to the Effective Date that the following conditions shall have been
 satisfied or waived pursuant to Article 9.02 of the Plan:

        (a)         The Bankruptcy Court shall have entered the Confirmation Order, which shall be a
 Final Order;

         (b)    The Restructuring Support Agreement shall remain in full force and effect and shall
 not have been terminated and all conditions shall have been satisfied thereunder, and there shall
 be no breach that would give rise to a right to terminate the Restructuring Support Agreement by
 the Debtor or the Ad Hoc Noteholder Group for which notice has been given in accordance with
 the terms thereof (including by the requisite parties thereunder), or such notice could have been
 given to the extent such notice is not permitted due to the commencement of the Chapter 11 Case
 and the related automatic stay;

          (c)    The Grier Members’ consent to the Restructuring Support Agreement shall remain
 in full force and effect;

        (d)      The Plan, any other Definitive Documents, and all documents contained in the Plan
 Supplement, including any exhibits, schedules, annexes, amendments, modifications, or
 supplements thereto shall have been executed and/or filed with the Bankruptcy Court and shall be
 consistent in all respects with the Restructuring Support Agreement;
                                                   57
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 191 of 446



         (e)     No court of competent jurisdiction or other competent governmental or regulatory
 authority shall have issued an order making illegal or otherwise restricting, preventing or
 prohibiting, in a material respect, the consummation of the Plan, the Restructuring Transactions,
 the Restructuring Support Agreement or any of the Definitive Documents contemplated thereby;

         (f)    The conditions precedent to the effectiveness of the Takeback Debt, if any, (as
 determined in any Takeback Debt documentation) shall have been satisfied or duly waived in
 writing and any documents or instruments related to the Takeback Debt shall have closed or will
 close simultaneously with the effectiveness of the Plan;

         (g)    The conditions precedent to the effectiveness of the Revolving Credit Facility, if
 any, (as determined in the Revolving Credit Facility Documents) shall have been satisfied or duly
 waived in writing and any documents or instruments related to the Revolving Credit Facility shall
 have closed or will close simultaneously with the effectiveness of the Plan;

         (h)    The Debtor shall have obtained any and all requisite regulatory approvals, and any
 other authorizations, consents, rulings, or documents required to implement and effectuate the Plan
 and the Restructuring Transactions;

        (i)      The Debtor shall have implemented the Restructuring Transactions in a manner
 consistent in all respects with the Restructuring Support Agreement;

         (j)      All conditions precedent (other than any conditions related to the occurrence of the
 Effective Date) to the consummation of the New Governance Documents shall have been waived
 or satisfied in accordance with the terms thereof;

        (k)     To the extent required under applicable non-bankruptcy law, any amendments to
 the Debtor’s governance and organizational documents, shall have been duly filed with the
 applicable authorities in the relevant jurisdictions; and

         (l)   All Restructuring Fees and Expenses for which an invoice has been received by the
 Debtor on or before two (2) Business Days before the expected Effective Date and professional
 fees and expenses of Retained Professionals approved by the Bankruptcy Court shall have been
 paid in full.

 9.02     Waiver of Conditions Precedent

         The Debtor (with the express consent of the Ad Hoc Noteholder Group pursuant to the same
 percentages as required in the Restructuring Support Agreement, in writing), may waive any of the
 conditions to the Effective Date set forth in Article 9.01 of the Plan at any time, without any notice
 to any other parties in interest and without any further notice to or action, order, or approval of the
 Bankruptcy Court, and without any formal action other than a proceeding to confirm the Plan or
 consummate the Plan. The failure of the Debtor to exercise any of the foregoing rights shall not
 be deemed a waiver of such rights or any other rights, and each such right shall be deemed an
 ongoing right, which may be asserted at any time (subject to the consent of the Ad Hoc Noteholder
 Group).



                                                   58
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 192 of 446



 9.03     Effect of Non-Occurrence of Conditions to Consummation

         If the Effective Date does not occur on or before the termination of the Restructuring
 Support Agreement, or if, prior to the Effective Date, the Confirmation Order is vacated pursuant
 to a Final Order, then (except as provided in any such Final Order): (a) the Plan shall be null and
 void in all respects; (b) any settlement or compromise embodied in the Plan, assumption or rejection
 of Executory Contracts or Unexpired Leases effected under the Plan, and any document or
 agreement executed pursuant to the Plan, shall be deemed null and void; and (c) nothing contained
 in the Plan, the Confirmation Order, the Disclosure Statement, or the Restructuring Support
 Agreement shall: (i) constitute a waiver or release of any Claims, Interests, or Causes of Action;
 (ii) prejudice in any manner the rights of the Debtor or any other Entity; or (iii) constitute an
 admission, acknowledgement, offer, or undertaking of any sort by the Debtor or any other Entity.

 9.04     Substantial Consummation

       “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be
 deemed to occur on the Effective Date.

                                   ARTICLE X
                MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN

 10.01 Modification of Plan

        Effective as of the date hereof: (a) the Debtor reserves the right (subject to the terms of the
 Restructuring Support Agreement and the consents required therein) in accordance with the
 Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan before the entry of the
 Confirmation Order consistent with the terms set forth herein; and (b) after the entry of the
 Confirmation Order, the Debtor (subject to the terms of the Restructuring Support Agreement and
 the consents required therein) or the Reorganized Debtor, as applicable, may, upon order of the
 Bankruptcy Court, amend or modify the Plan, in accordance with Section 1127(b) of the
 Bankruptcy Code, remedy any defect or omission, or reconcile any inconsistency in the Plan in
 such manner as may be necessary to carry out the purpose and intent of the Plan consistent with
 the terms set forth herein. Notwithstanding anything to the contrary herein, the Debtor or the
 Reorganized Debtor, as applicable, shall not amend or modify the Plan in a manner inconsistent
 with the Restructuring Support Agreement.

 10.02 Effect of Confirmation on Modifications

         Entry of the Confirmation Order shall constitute (a) approval of all modifications to the
 Plan occurring after the solicitation of votes thereon pursuant to Section 1127(a) of the Bankruptcy
 Code; and (b) a finding that such modifications to the Plan do not require additional disclosure or
 re-solicitation under Bankruptcy Rule 3019.

 10.03 Revocation or Withdrawal of Plan

          The Debtor reserves the right (subject to the terms of the Restructuring Support Agreement
 and the consents required therein) to revoke or withdraw the Plan before the Confirmation Date and
 to file subsequent chapter 11 plans. If the Debtor revokes or withdraws the Plan, or if Confirmation

                                                  59
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 193 of 446



 or the Effective Date does not occur, then: (a) the Plan will be null and void in all respects; (b) the
 Restructuring Support Agreement will be null and void in all respects; (c) any settlement or
 compromise embodied in the Plan, assumption or rejection of Executory Contracts or Unexpired
 Leases effectuated by the Plan, and any document or agreement executed pursuant hereto will be
 null and void in all respects; and (d) nothing contained in the Plan shall (i) constitute a waiver or
 release of any Claims, Interests, or Causes of Action by any Entity, (ii) prejudice in any manner
 the rights of the Debtor or any other Entity, or (iii) constitute an admission, acknowledgement,
 offer, or undertaking of any sort by the Debtor or any other Entity.

                                       ARTICLE XI
                                RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
 Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or
 related to, the Chapter 11 Case and the Plan pursuant to Sections 105(a) and 1142 of the
 Bankruptcy Code, including jurisdiction to:

         1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
 secured or unsecured status, or amount of any Claim against the Debtor, including the resolution
 of any request for payment of any Claim and the resolution of any and all objections to the secured
 or unsecured status, priority, amount, or allowance of Claims;

         2.     decide and resolve all matters related to the granting and denying, in whole or in
 part, any applications for allowance of compensation or reimbursement of expenses to Retained
 Professionals authorized pursuant to the Bankruptcy Code or the Plan;

         3.     resolve any matters related to Executory Contracts or Unexpired Leases, including:
 (a) the assumption or assumption and assignment of any Executory Contract or Unexpired Lease to
 which the Debtor is party or with respect to which the Debtor may be liable and to hear, determine,
 and, if necessary, liquidate, any Cure or Claims arising therefrom, including pursuant to Section
 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract
 or Unexpired Lease that is assumed; and (c) any dispute regarding whether a contract or lease is
 or was executory or expired;

         4.      ensure that distributions to Holders of Allowed Claims are accomplished pursuant
 to the provisions of the Plan and adjudicate any and all disputes arising from or relating to
 distributions under the Plan;

         5.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or
 litigated matters, and any other matters, and grant or deny any applications involving the Debtor
 that may be pending on the Effective Date;

        6.     enter and implement such orders as may be necessary or appropriate to execute,
 implement, or consummate the provisions of (a) contracts, instruments, releases, indentures, and
 other agreements or documents approved by Final Order in the Chapter 11 Case and (b) the Plan,
 the Confirmation Order, contracts, instruments, releases, indentures, and other agreements or
 documents created in connection with the Plan;


                                                   60
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                   Document    Page 194 of 446



         7.    enforce any order for the sale of property pursuant to Sections 363, 1123, or 1146(a)
 of the Bankruptcy Code;

       8.     grant any consensual request to extend the deadline for assuming or rejecting
 Unexpired Leases pursuant to Section 365(d)(4) of the Bankruptcy Code;

        9.     issue injunctions, enter and implement other orders, or take such other actions as
 may be necessary or appropriate to restrain interference by any Entity with Consummation or
 enforcement of the Plan;

         10.     hear, determine, and resolve any cases, matters, controversies, suits, disputes, or
 Causes of Action in connection with or in any way related to the Chapter 11 Case, including: (a)
 with respect to the repayment or return of distributions and the recovery of additional amounts
 owed by the Holder of a Claim for amounts not timely repaid pursuant to Article 6.03 of the Plan;
 (b) with respect to the releases, injunctions, and other provisions contained in Article VIII of the
 Plan, including entry of such orders as may be necessary or appropriate to implement such releases,
 injunctions, and other provisions; (c) that may arise in connection with the Consummation,
 interpretation, implementation, or enforcement of the Plan, the Confirmation Order, contracts,
 instruments, releases, and other agreements or documents created in connection with the Plan; or
 (d) related to Section 1141 of the Bankruptcy Code;

        11.     enter and implement such orders as are necessary or appropriate if the Confirmation
 Order is for any reason modified, stayed, reversed, revoked, or vacated;

        12.     consider any modifications of the Plan, to cure any defect or omission, or to
 reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        13.   hear and determine matters concerning state, local, and federal taxes in
 accordance with Sections 346, 505, and 1146 of the Bankruptcy Code;

          14.       enter an order or Final Decree concluding or closing the Chapter 11 Case;

          15.       enforce all orders previously entered by the Bankruptcy Court; and

          16.       hear any other matter not inconsistent with the Bankruptcy Code;

         17.     provided that, on and after the Effective Date and after the consummation of the
 following agreements or documents, the Bankruptcy Court shall not retain jurisdiction over matters
 arising out of or related to the Takeback Debt, Revolving Credit Facility, and the New Governance
 Documents. The Takeback Debt, Revolving Credit Facility, and the New Governance Documents
 shall be governed by the respective jurisdictional provisions therein.

                                         ARTICLE XII
                                  MISCELLANEOUS PROVISIONS

 12.01 Immediate Binding Effect

        Subject to Article 9.01 hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or
 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan and the Plan
                                                    61
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                  Document    Page 195 of 446



 Supplement shall be immediately effective and enforceable and deemed binding upon the Debtor,
 the Reorganized Debtor, and any and all Holders of Claims or Interests (irrespective of whether
 such Claims or Interests are deemed to have accepted the Plan), all Entities that are parties to or are
 subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan,
 each Entity acquiring property under the Plan, and any and all non-Debtor parties to Executory
 Contracts and Unexpired Leases with the Debtor.

 12.02 Additional Documents

         On or before the Effective Date, the Debtor may file with the Bankruptcy Court such
 agreements and other documents as may be necessary or appropriate to effectuate and further
 evidence the terms and conditions of the Plan. The Debtor or the Reorganized Debtor, as
 applicable, and all Holders of Claims or Interests receiving distributions pursuant to the Plan and
 all other parties in interest shall, from time to time, prepare, execute, and deliver any agreements
 or documents and take any other actions as may be necessary or advisable to effectuate the
 provisions and intent of the Plan Reservation of Rights.

 12.03 Reservation of Rights

         The Plan shall have no force or effect unless the Bankruptcy Court shall enter the
 Confirmation Order. None of the filing of the Plan, any statement or provision contained in the
 Plan, or the taking of any action by the Debtor with respect to the Plan, the Disclosure Statement,
 or the Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of
 the Debtor with respect to the Holders of Claims or Interests prior to the Effective Date.

 12.04 Successor and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
 binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
 Affiliate, officer, director, agent, representative, attorney, beneficiaries, or guardian, if any, of each
 Entity.

 12.05 Service of Documents

        After the Effective Date, any pleading, notice, or other document required by the Plan to
 be served on or delivered to the Reorganized Debtor shall be served on:

                            Debtor                                     Counsel to the Debtor




                                                    62
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 196 of 446



  CorEnergy Infrastructure Trust, Inc.                 Husch Blackwell LLP
  Attn: Chris Reitz                                    4801 Main Street, Suite 1000
  1100 Walnut St., Kansas City, MO 64106               Kansas City, MO 64112-2551
  E-mail: creitz@corenergy.reit                        Attn:
                                                       Mark T. Benedict and
                                                       John J. Cruciani

                                                       Email:
                                                       mark.benedict@huschblackwell.com
                                                       john.cruciani@huschblackwell.com

             Office of United States Trustee               Counsel to the Ad Hoc Noteholder Group
  Office of United States Trustee for Region 13        Faegre Drinker Biddle & Reath LLP
                                                       1177 Avenue of the Americas, 41st Floor
                                                       New York, New York 10036, USA
                                                       Attn:
                                                       James H. Millar and
                                                       Laura E. Appleby

                                                       Email:
                                                       james.millar@faegredrinker.com
                                                       laura.appleby@faegredrinker.com

        After the Effective Date, the Reorganized Debtor has authority to send a notice to Entities
 informing them that, in order to continue to receive documents pursuant to Bankruptcy Rule 2002,
 they must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After
 the Effective Date, the Reorganized Debtor is authorized to limit the list of Entities receiving
 documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed such renewed
 requests.

 12.06 Term of Injunction or Stays

         Unless otherwise provided herein, in the Confirmation Order, all injunctions or stays in
 effect in the Chapter 11 Case (pursuant to Sections 105 or 362 of the Bankruptcy Code or any
 order of the Bankruptcy Court) and existing on the Confirmation Date (excluding any injunctions
 or stays contained in the Plan, the Confirmation Order) shall remain in full force and effect until
 the Effective Date. All injunctions or stays contained in the Plan, the Confirmation Order shall
 remain in full force and effect in accordance with their terms.

 12.07 Entire Agreement

         Except as otherwise indicated or as set forth in the Restructuring Support Agreement, the
 Plan supersedes all previous and contemporaneous negotiations, promises, covenants, agreements,
 understandings, and representations on such subjects, all of which have become merged and
 integrated into the Plan.



                                                  63
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 197 of 446



 12.08 Plan Supplement

         All exhibits and documents included in the Plan Supplement are incorporated into and are
 a part of the Plan as if set forth in full in the Plan. Except as otherwise provided in the Plan, such
 exhibits and documents included in the Plan Supplement shall be filed with the Bankruptcy Court
 on or before the Plan Supplement Filing Date, consistent with the Restructuring Support
 Agreement. After the exhibits and documents are filed, copies of such exhibits and documents
 shall have been available upon written request to the Debtor’s counsel at the address above or by
 downloading such exhibits and documents from the Notice and Claims Agent’s website at
 https://cases.stretto.com/corenergy         or     the     Bankruptcy      Court’s      website     at
 www.mow.uscourts.gov/bankruptcy.

 12.09 Non-Severability

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
 to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
 interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
 consistent with the original purpose of the term or provision held to be invalid, void, or
 unenforceable, and such term or provision shall then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
 provisions of the Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
 constitute a judicial determination and shall provide that each term and provision of the Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is: (a) valid and enforceable
 pursuant to its terms; (b) integral to the Plan and consistent with the terms set forth herein; and (c)
 nonseverable and mutually dependent.

 12.10 Votes Solicited in Good Faith

         Upon entry of the Confirmation Order, the Debtor will be deemed to have solicited votes
 on the Plan in good faith and in compliance with Section 1125(g) of the Bankruptcy Code, and
 pursuant to Section 1125(e) of the Bankruptcy Code, the Debtor, and its respective Affiliates,
 agents, representatives, members, principals, shareholders, officers, trustees, directors, employees,
 advisors, and attorneys will be deemed to have participated in good faith and in compliance with
 the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold under
 the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the
 Reorganized Debtor will have any liability for the violation of any applicable law, rule, or
 regulation governing the solicitation of votes on the Plan or the offer, issuance, sale, or purchase
 of the Securities offered and sold under the Plan and any previous plan.

 12.11 Dissolution of Statutory Committees and Cessation of Fee and Expense Payment

        On the Effective Date, any Statutory Committee appointed in the Chapter 11 Case shall
 dissolve automatically and the members thereof shall be released and discharged from all rights
 and duties arising from, or related to, the Chapter 11 Case, except with respect to final fee
 applications of the Retained Professionals and any consent or consultation rights of the Statutory
 Committee that remain applicable after the Effective Date. The Reorganized Debtor shall not be
 responsible for paying any fees or expenses incurred by the members or Retained Professionals of

                                                   64
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 198 of 446



 any Statutory Committee or any other statutory committee appointed in the Chapter 11 Case after
 the Effective Date except with respect to any consent or consultation rights of any Statutory
 Committee that remain applicable after the Effective Date.

 12.12 Closing of Chapter 11 Case

        The Reorganized Debtor shall, promptly after the full administration of the Chapter 11
 Case, File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any
 applicable order of the Bankruptcy Court to close the Chapter 11 Case.

 12.13 Waiver or Estoppel

        Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert
 any argument, including the right to argue that its Claim or Interest should be Allowed in a certain
 amount, in a certain priority, secured or not subordinated by virtue of an agreement made with the
 Debtor or its counsel, or any other Entity, if such agreement was not disclosed in the Plan, the
 Disclosure Statement, the Restructuring Support Agreement, or papers.

  Dated: February 25, 2024.               CORENERGY INFRASTRUCTURE TRUST, INC.

                                          By: /s/ Mark T. Benedict                    .
                                          Mark T. Benedict, Esq.
                                          John J. Cruciani, Esq.
                                          4801 Main Street, Suite 1000
                                          Kansas City, MO 64112
                                          Telephone      (816) 983-8000
                                          Facsimile      (816) 983-8080
                                          Email:       Mark.Benedict@huschblackwell.com
                                                       John.Cruciani@huschblackwell.com


                                          Proposed Counsel for Debtor and Debtor in Possession




                                                 65
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 199 of 446



                                      Exhibit A

                               Exit Facility Term Sheet




                                         66
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 200 of 446



                      CORENERGY INFRASTRUCTURE TRUST, INC.
                                     Exit Facility Term Sheet
 This term sheet (this “Term Sheet”) summarizes certain terms and conditions (and does not purport
 to summarize all of the terms and conditions) of the proposed term and revolving credit loans
 described below, to be entered into in connection with the voluntary case commenced by
 CorEnergy Infrastructure Trust, Inc. (the “Company”) under chapter 11 of title 11 of the United
 States Code in the United States Bankruptcy Court for the District of Delaware pursuant to a
 “prepackaged” chapter 11 plan of reorganization (the “Restructuring Transaction”). This Term
 Sheet and the undertakings contemplated herein are subject in all respects to the negotiation,
 execution and delivery of definitive documentation in form and substance consistent with this
 Term Sheet and otherwise reasonably acceptable to the Lenders (as hereinafter defined) as well as
 the satisfactory completion of reasonable due diligence.
 This Term Sheet and any associated documents that may be provided in furtherance of negotiations
 between the parties are provided as part of a settlement proposal in furtherance of settlement
 discussions and is entitled to protection from any use or disclosure to any party or person pursuant
 to Federal Rule of Evidence 408 and any other rule of similar import.
 THIS TERM SHEET DOES NOT CONSTITUTE (NOR SHALL IT BE CONSTRUED AS)
 AN OFFER TO SELL OR BUY, OR THE SOLICITATION OF AN OFFER TO SELL OR
 BUY ANY SECURITIES OR A SOLICITATION OR ACCEPTANCE OF A CHAPTER 11
 PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE (AS
 DEFINED BELOW), IT BEING UNDERSTOOD THAT ANY SUCH OFFER OR
 SOLICITATION WILL BE MADE ONLY IN COMPLIANCE WITH APPLICABLE
 LAW.

                                               Parties

  Borrower:                 The Company, CorEnergy Infrastructure Trust, Inc.

  Guarantors:               All present and future, direct and indirect subsidiaries of the Borrower
                            or Crimson Midstream Holdings, LLC, other than (a) any subsidiary
                            for which a guaranty would require CPUC authorization or consent
                            and such authorization or consent has not been obtained (as of the date
                            hereof, Crimson California Pipeline, L.P. and San Pablo Bay Pipeline
                            Company, LLC) and (b) any subsidiary identified as dormant that will
                            be liquidated and dissolved, or merged into another subsidiary, within
                            a reasonable period after closing.
                            A structure chart is attached hereto as Exhibit A.

  Lenders:                  Term Loan Facility Lenders: holders of Senior Notes (defined below)
                            Revolving Loan Facility Lenders: holders of Senior Notes that have
                            agreed to make revolving loans under the Revolving Credit Facility.



 US.362261085.08
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                             Document    Page 201 of 446



  Administrative        UMB Bank N.A.
  Agent:

                                 Summary of Exit Facility

  Term Loan Facility:   Exchange of the Company’s 5.875% Convertible Senior Notes due
                        2025 (“Senior Notes”) for:
                        (a)   $45,000,000 of term loan notes under the Term Loan Credit
                              Agreement;
                        (b)   cash in accordance with the terms of the Restructuring
                              Transaction; and
                        (c)   equity of the Company in accordance with the terms of the
                              Restructuring Transaction.

  Revolving Loan        Commitment for up to $10,000,000 of new money revolving loans
  Facility:             under the Revolving Loan Credit Agreement.

  Priority:             The Revolving Loan Facility and all guaranties and security interests
                        in connection therewith will be (i) senior to the Term Loan Facility and
                        the guaranties and security interests in connection therewith (together
                        with any subsequent refinancings thereof in an aggregate principal
                        amount not to exceed $10,000,000 at any time outstanding, and
                        whether with the same or different lenders) and (ii) junior to certain
                        existing intercompany debt. Absent an event of default, all scheduled
                        payments of principal and interest will be applied to the Revolving
                        Loan Facility and the Term Loan Facility in accordance with their
                        terms. All unscheduled prepayments and, after an event of default, all
                        scheduled payments of principal and interest will be applied first to
                        outstanding obligations under the Revolving Loan Facility and
                        thereafter to outstanding obligations under the Term Loan Facility.
                        The Term Loan Facility and all guaranties and security interests in
                        connection therewith will be senior to all other indebtedness and
                        obligations of the Company and its subsidiaries, consistent with the
                        Amended and Restated Credit Agreement, dated as of February 4,
                        2021 (as amended), among Crimson Midstream Operating, LLC and
                        the other Borrowers party thereto, the Guarantors party thereto, the
                        Lenders party thereto, and Wells Fargo Bank, National Association
                        (the “Wells Fargo Facility”), except that it will be junior to certain
                        existing intercompany debt.




                                              2
 US.362261085.08
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                           Document    Page 202 of 446



                                  Term Loan Facility

  Maturity:           The earlier of five (5) years from the deemed issuance date of April 4,
                      2024 (the “Deemed Issuance Date”) or the acceleration of the loans
                      upon the occurrence of an event of default.

  Interest:           12% per annum commencing on the Deemed Issuance Date.
                      Interest will PIK until the Confirmation Order.
                      After the Confirmation Order, interest will be paid quarterly; provided
                      that the Company may PIK interest at its option until the first
                      anniversary of the Confirmation Order.

  Repayments and      Amortization of $1,000,000 per quarter in arrears, commencing with
  Prepayment:         the first full calendar quarter after the first anniversary of the
                      Confirmation Order.
                      The Company may prepay all or any portion of the Term Loan Facility
                      on or after the first anniversary of the Confirmation Order.
                      Mandatory prepayment of not less than $9 million (the “CO2 Paydown
                      Amount”) in connection with the CO2 Joint Venture (as defined
                      below).
                      Other mandatory prepayments consistent with the Wells Fargo
                      Facility.
                      All prepayments will be subject to a prepayment premium equal to:
                         •   Prior to the second anniversary of the Effective Date, a 3.00%
                             premium of the aggregate principal amount repaid;
                         •   From the second anniversary through the third anniversary, a
                             2.00% premium of the aggregate principal amount repaid; and
                         •   From the third anniversary through the fourth anniversary,
                             1.00%.

                              Revolving Credit Facility

  Use of Proceeds:    To remedy emergencies and disasters with respect to regulated assets
                      as required by laws and regulations. In no event shall the proceeds of
                      any Revolving Advances be used to purchase or carry margin stock
                      (within the meaning of Regulation U issued by the Federal Reserve
                      Board) or to extend credit to others for the purpose of purchasing or
                      carrying margin stock (within the meaning of Regulation U issued by
                      the Federal Reserve Board).

  Conditions to       Consistent with the Wells Fargo Facility.
  Borrowing:


                                            3
 US.362261085.08
Case 24-40236-can11    Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                            Document    Page 203 of 446



  Maturity:            The earlier of one (1) year following the Deemed Issuance Date or the
                       acceleration of the loans upon the occurrence of an event of default.

  Interest:            One-month SOFR plus 3% per annum, paid on a quarterly basis.

  Repayments and       The Company may prepay all or any portion of the Revolving Loan
  Prepayment:          Facility at its option without premium or fees.
                       Mandatory prepayments consistent with the Wells Fargo Facility.
                       Mandatory repayment at maturity.

  Commitment Fee:      3% of the unused daily commitment amount, commencing on the date
                       of the Confirmation Order.

  Arrangement Fee:     $500,000

                                      General Terms

  Security:            Pledge of the totality of the (i) capital stock, (ii) equity interests, and
                       (iii) assets and properties of the Borrower and the Guarantors, subject
                       to customary exclusions (including exclusions related to governmental
                       authorizations that are not obtained prior to the Confirmation Order)
                       to the extent that such collateral is not of the type for which CPUC
                       authorization or consent would be required, consistent with the Wells
                       Fargo Facility. Additionally, the Borrower and its Subsidiaries will
                       agree to a negative pledge for all assets and properties for which CPUC
                       authorization or consent is required for a lender to receive a pledge of
                       such property, consistent with the Wells Fargo Facility.

  Representations,     Consistent with the Wells Fargo Facility; provided that (a) the Term
  Warranties,          Loan Facility and Revolving Loan Facility will not have financial
  Covenants and        maintenance covenants (i.e., §§6.13 and 6.14 of the Wells Fargo
  Events of Default:   Facility) and (b) the Company will be permitted to consummate the
                       CO2 Joint Venture (as defined below).

  Amendments,          Generally, amendments to and waivers and consents under (a) the
  Waivers and          Term Loan Facility will require the approval of Lenders holding
  Consents:            66.67% or more of the outstanding Term Loan Facility obligations,
                       (b) the Revolving Loan Facility will require the approval of Lenders
                       holding 66.67% or more of the funded and unfunded Revolving Loan
                       Facility obligations and commitments, and (c) both the Term Loan
                       Facility and Revolving Loan Facility will require the approval of
                       Lenders holding 66.67% or more of the outstanding Term Loan
                       Facility obligations and funded and unfunded Revolving Loan Facility
                       obligations and commitments (“Required Lenders”), except for



                                              4
 US.362261085.08
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                           Document    Page 204 of 446



                      matters that require a higher level of Lender approval consistent with
                      the Wells Fargo Facility or as set forth below.
                      Notwithstanding the foregoing, except as permitted by the negative
                      covenants consistent with the Wells Fargo Facility, (a) the distribution
                      or transfer of any material operating assets of the Borrower or any of
                      its direct or indirect subsidiaries or joint ventures (whether or not
                      wholly-owned) (the “Borrower Group”), or the distribution or transfer
                      of any capital stock or equity interests of any member of the Borrower
                      Group that owns material operating assets (each, an “Asset/Equity
                      Transfer”), (b) the incurrence of indebtedness or liens senior to the
                      Term Loan Facility and the Revolving Loan Facility, and (c) certain
                      other amendments, waivers and consents as set forth in the definitive
                      documentation will require the approval of Lenders holding 75% of
                      the outstanding Term Loan Facility obligations and funded and
                      unfunded Revolving Loan Facility obligations and commitments.
                      The Borrower and its Subsidiaries may consummate the transactions
                      contemplated in the CO2 Letter Agreement (the “CO2 Joint
                      Venture”); provided that (i) the Borrower pays down the Term Loan
                      Facility by the CO2 Paydown Amount in connection therewith and
                      (ii) the Borrower is not required to make and does not make any cash
                      investments in the CO2 Joint Venture in excess of (A) the cash
                      proceeds from any issuance of equity interests of the Borrower
                      designated for use in connection with the CO2 Joint Venture plus (B) a
                      cumulative builder basket as will be set forth in the Credit Agreement.
                      Any material variations from the terms of the CO2 Letter Agreement
                      will require the consent of the Required Lenders.

  Expenses:           The Company will pay all reasonable and documented out-of-pocket
                      costs and expenses of the Lenders associated with the preparation,
                      execution, delivery, and administration of the Term Loan Facility and
                      the Revolving Loan Facility.

  Governing Law:      New York




                                            5
 US.362261085.08
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 205 of 446



                                      Exhibit B

                           Corporate Governance Term Sheet




                                         67
 HB: 4866-7395-7801.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                               Desc Main
                                     Document    Page 206 of 446



                  RESTRUCTURING OF CORENERGY INFRASTRUCTURE TRUST INC.
               SUMMARY OF PRINCIPAL TERMS OF GOVERNANCE AND RELATED RIGHTS

                                                 FEBRUARY 25, 2024
         The following is a description of certain proposed terms for the corporate governance of
 reorganized CorEnergy Infrastructure Trust, Inc. (as reorganized pursuant to the Plan (as defined below),
 “CORR”). Capitalized terms used and not defined herein shall have the meanings ascribed to them in that
 certain Restructuring Support Agreement (the “Restructuring Support Agreement”) entered into by
 CORR and the Ad Hoc Noteholders Group (the “AHNG”).


 Board of Directors:                  The board of directors of CORR (the “Board”) shall initially be
                                      comprised of five (5) directors (each a “Director”). At all times, the
                                      Board shall be compromised as follows:

                                           •    One (1) Director shall be the CEO of CORR.

                                           •    One (1) Director shall be designated by Keyframe Capital
                                                Partners, L.P. and Cyrus Capital Partners, L.P. (the “Keyframe
                                                Director”).

                                           •    Two (2) Directors shall be independent directors unaffiliated
                                                with the AHNG or CORR or its Subsidiaries, who initially shall
                                                be designated by at least a two-thirds vote 1 of the AHNG, and
                                                thereafter designated upon two-thirds vote of holders of the
                                                outstanding common stock of CORR (the “Common Stock”)
                                                (each an “Independent Director”).        Following the death,
                                                resignation or removal of an independent director, a new
                                                independent director who is not affiliated with or employed by
                                                any member of the AHNG or CORR shall be nominated by the
                                                same vote.

                                           •    One (1) Director shall be initially designated by the holders of a
                                                majority of the AHNG, excluding Keyframe Capital Partners,
                                                L.P. and Cyrus Capital Partners, L.P.; and thereafter shall be
                                                appointed by holders of the majority of the outstanding
                                                Common Stock of CORR, excluding Keyframe Capital Partners,
                                                L.P. and Cyrus Capital Partners, L.P.; provided that if Keyframe
                                                Capital Partners, L.P. and Cyrus Capital Partners, L.P. no longer
                                                possesses the right to designate a director, it shall be permitted
                                                to vote on such Director (the “Minority Director”).

                                      The identity of the initial Directors shall be set forth in the Plan
                                      Supplement.

                                      All actions of the Board will require the approval by a vote or the

 1       All votes of the AHNG contained herein shall be based upon the amount of Senior Notes held by such member of the
         AHNG.



 US.362342050.05
Case 24-40236-can11               Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                       Desc Main
                                       Document    Page 207 of 446



                                         written consent of a majority of all of the Directors.

                                         A Director may only be removed by a vote of the shareholders of CORR
                                         (“Shareholders”) holding two-thirds of the Common Stock for cause. In
                                         addition, the Keyframe Director may be removed by those Shareholders
                                         appointing such Keyframe Director at any time, with or without cause.
                                         The Minority Director may be removed by a vote of two-thirds of the
                                         Common Stock of those shareholders eligible to vote in connection with
                                         the Minority Director.       Directors shall serve one-year terms
                                         commensurate with Maryland legal requirements.

                                         From time to time, the Board may appoint non-voting observers,
                                         including one which may be designated by John Grier. Mr. Grier’s
                                         option to appoint a non-voting observer shall terminate when Mr. Grier
                                         no longer holds equity in CORR.

                                         Keyframe Capital Partners, L.P. and Cyrus Capital Partners, L.P. will be
                                         entitled to their director designation rights so long as they holds 20% or
                                         more of the Common Stock.

                                         The Shareholders shall enter into a securityholders agreement (the
                                         “Securityholders Agreement”) which will require each Shareholder to
                                         vote its shares of Common Stock in support of each of the nominees
                                         described above and otherwise comply with the terms of this term sheet.
                                         The Securityholders Agreement shall terminate when the members of
                                         the AHNG no longer hold, collectively, at least twenty five percent
                                         (25%) of the Common Stock. Upon such termination and thereafter, the
                                         two independent directors and the Minority Director shall be elected by
                                         a majority vote of the holders of shares of Common Stock.

 Dividends                               All dividends shall be paid pro rata to the holders of Common Stock.

 Board Approvals:                        Neither CORR nor any subsidiaries of CORR (collectively, the
                                         “Subsidiaries”) shall take any of the following actions without the prior
                                         vote or consent of a majority of the Board:

                                              •    hiring or termination the CEO, the CFO or any other members
                                                   of senior management of CORR, or approving the compensation
                                                   arrangements of the CEO, CFO or any other member of senior
                                                   management of CORR;

                                              •    any authorization, creation (by way of reclassification, merger,
                                                   consolidation or otherwise) or issuance of any equity securities,
                                                   partnership interests or membership interests of any kind of
                                                   CORR or any Subsidiary 2 (other than those issued solely to

 2
         “Subsidiary” means, with respect to any Person, any corporation, limited liability company, partnership, association or
         other business entity of which (i) if a corporation, a majority of the total voting power of shares of stock entitled
         (without regard to the occurrence of any contingency) to vote in the election of directors, managers or trustees thereof
         is at the time owned or controlled, directly or indirectly, by that Person or one or more of the other Subsidiaries of that
         Person or a combination thereof, or (ii) if a limited liability company, partnership, association or other business entity, a
         majority of the partnership or other similar ownership interest thereof is at the time owned or controlled, directly or

                                                                 2
 US.362342050.05
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                          Desc Main
                                      Document    Page 208 of 446



                                                  CORR and its Subsidiaries);

                                             •    any redemption or repurchase of any Common Stock;

                                             •    any     acquisition    by     CORR      or    any    Subsidiary
                                                  of the stock or assets of any person, or the acquisition of any
                                                  business, properties, assets or persons or any dispositions of a
                                                  material amount of assets of CORR and its Subsidiaries (on a
                                                  consolidated basis);

                                             •    any voluntary election by CORR or any Subsidiary to liquidate
                                                  or dissolve or to commence bankruptcy or insolvency
                                                  proceedings or the adoption of a plan with respect to the
                                                  foregoing; and

                                             •    the commencement of an IPO by CORR or any Subsidiary.

 Shareholder Approvals:                 Neither CORR nor any Subsidiaries shall take any of the following
                                        actions without the prior vote or consent of Shareholders holding at least
                                        two-thirds of the outstanding Common Stock:

                                             •    any Change of Control, provided, however, that a Change of
                                                  Control to a party affiliated with any Shareholder shall require
                                                  the separate vote or consent of the non-conflicted Shareholders
                                                  holding at least a majority of the outstanding Common Stock of
                                                  CORR held by all non-conflicted Shareholders.

                                             •    any voluntary election by CORR to liquidate or dissolve or the
                                                  adoption of a plan with respect to the foregoing, if such
                                                  liquidation or dissolution is unrelated to the insolvency of
                                                  CORR.

                                             •    Any increase or decrease in the size of the Board.

                                             •    Any transaction between CORR or any of its Subsidiaries, on
                                                  the one hand, and any affiliate of CORR or any of its
                                                  Subsidiaries (other than CORR and its Subsidiaries), on the
                                                  other hand, except transactions with portfolio companies of
                                                  affiliates that are done on arms’-length basis and on terms no
                                                  less favorable to CORR or its applicable Subsidiary than are
                                                  available to other third parties;, provided, however, that a
                                                  transaction with a party affiliated with any Shareholder shall
                                                  require the separate vote or consent of the non-conflicted
                                                  Shareholders holding at least a majority of the outstanding
                                                  Common Stock of CORR held by all non-conflicted
                                                  Shareholders.

                                             •    Any amendment of the governing documents of CORR or the


         indirectly, by any Person or one or more Subsidiaries of that Person or a combination thereof.


                                                               3
 US.362342050.05
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 209 of 446



                                      Securityholders Agreement; provided, however, that (i) any
                                      amendment that disproportionately and adversely affects any
                                      Shareholder in any material respect shall also require the
                                      consent of such Shareholder, and (ii) if such amendment would
                                      alter a provision requiring more than majority approval, such
                                      amendment shall be consented to by the same percentage of
                                      Shareholders as required by the provision to be amended.

                                  •   Any increase in the number of equity interests to be issued by
                                      CORR.

                                  •   Any redemption or repurchase of any Common Stock.

 Additional Shareholder       Upon approval of a majority in Note holdings of the AHNG, additional
 Approval Rights:             shareholder approval rights may be provided in connection with any
                              authorization, creation (by way of reclassification, merger, consolidation
                              or otherwise) or issuance of any equity securities, partnership interests
                              or membership interests of any kind of CORR or any Subsidiary (other
                              than those issued solely to CORR and its Subsidiaries).

 Information and Access       CORR and the Subsidiaries will provide to each Specified Shareholder:
 Rights:                      (i) annual consolidated financial statements of the operations of CORR
                              and the Subsidiaries after the end of each fiscal year (audited, if
                              available); (ii) unaudited consolidated quarterly and year-to-date
                              financial statements of the operations of CORR and the Subsidiaries
                              after the end of each fiscal quarter; and (iii) monthly reports of the
                              consolidated operations of CORR and the Subsidiaries, to the extent
                              available and provided to the Board. A Specified Shareholder may
                              share such information with a potential purchaser of its interest upon
                              entry into a confidentiality agreement reasonably acceptable to CORR.

                              Each Shareholder (or group of affiliated Shareholders) that holds at least
                              5% of the outstanding shares of Common Stock or any Shareholder that
                              qualifies as a “qualified institutional buyer” (as such term is defined in
                              connection with Rule 144A of the Securities Act) shall be a “Specified
                              Shareholder.”

 General Restrictions on      The Certificate of Incorporation of CORR will include customary
 Transfers:                   transfer restrictions related to Section 382 of the Internal Revenue Code
                              and CORR’s status as a domestically controlled REIT.

                              Additionally, except as set forth under “Drag-Along Rights” below or
                              for transfers by a Shareholder to its affiliates, no Shareholder may
                              transfer any shares of Common Stock without the prior consent of the
                              Board (i) to a competitor of CORR and its Subsidiaries or (ii) if, as a
                              result of such transfer, CORR or any Subsidiary would be required to
                              file reports under the Exchange Act, if it or its Subsidiaries are not
                              otherwise subject to such requirements, or register as an investment
                              company or investment adviser.



                                                 4
 US.362342050.05
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                           Document    Page 210 of 446



 Tag-Along Rights:       Subject to “General Restrictions on Transfer” above, prior to a
                         Shareholder (or group of Shareholders acting in concert) transferring
                         any shares of Common Stock, each Shareholder must provide written
                         notice to each other Shareholder and CORR setting forth the terms of
                         such proposed transfer that exceeds two-thirds of the shares of Common
                         Stock of CORR. Each Shareholder may elect to sell up to their pro rata
                         portion of the shares of Common Stock being transferred.

 Drag-Along Rights:      If Shareholders holding two-thirds of the outstanding Common Stock
                         elect to consummate a Change of Control on an arms’ length basis with
                         an unaffiliated third party, each Shareholder will be required to: vote in
                         favor of and not oppose such Change of Control, waive any appraisal
                         rights in connection with the Change of Control, sell its pro rata portion
                         of the number of shares of Common Stock being sold in such transaction
                         to the prospective third party purchaser on the same terms as the
                         triggering Shareholders (if structured as a sale of share), and otherwise
                         enter into customary agreements in connection therewith and support
                         and comply with customary requests with respect to the Change of
                         Control.

                         A “Change of Control” shall be deemed to have occurred if any of the
                         following occurs with respect to CORR: (i) the direct or indirect sale or
                         exchange in a single or series of related transactions by the Shareholders
                         of more than fifty percent (50%) of the Common Stock (excluding any
                         sale or exchange of a Shareholder to an affiliate of such Shareholder for
                         the purpose of such Shareholder’s internal reallocation of such interest);
                         (ii) a merger or consolidation in which CORR is a party, other than any
                         merger or consolidation solely amongst CORR and its subsidiaries or
                         parent (if any) or any merger or consolidation following which holders
                         of at least fifty percent (50%) of the Common Stock own at least fifty
                         percent (50%) of the voting equity securities of the surviving entity; or
                         (iii) the sale, exchange, or transfer of all or substantially all of the assets
                         of CORR and its Subsidiaries (on a consolidated basis, including
                         through the sale or other disposition of equity securities of one or more
                         Subsidiaries) to any unaffiliated third party.
                         None of the Shareholders or their Affiliates shall be paid management or
 No Fees
                         similar fees, and no Director shall be paid a fee for their service on the
                         Board, unless such Director is an independent director.
                         On or by a date that is 18 months following the Effective Date of
 Strategic Review:
                         CORR’s Bankruptcy Plan, as will be set forth by the Bankruptcy Court,
                         the Board will commence a strategic review of CORR. The results of
                         the strategic review shall be non-binding, and the implementation of any
                         recommended actions following the strategic review shall meet the
                         voting thresholds as established herein.
 Preemptive Rights:      Each Shareholder shall have a pro rata preemptive right to acquire
                         equity securities issued by CORR or any Subsidiary (including any
                         partially owned Subsidiary) and debt securities issued by CORR or any
                         Subsidiary (including any partially owned Subsidiary) to any
                         Shareholder or its affiliates, subject to customary exceptions, such as

                                             5
 US.362342050.05
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                             Document    Page 211 of 446



                           issuances (i) pursuant to the exchange, conversion or exercise terms of
                           other equity securities, (ii) to employees, directors or consultants
                           pursuant to CORR’s or such Subsidiary’s incentive plans, (iii) as
                           consideration for any acquisition, business combination or joint venture,
                           (iv) in an IPO, (v) in connection with any pro rata stock split, dividend
                           or similar distribution, (vi) which take the form of “equity kickers” to
                           third party lenders in arms’ length debt financing transactions, or (vii) to
                           CORR or any wholly-owned Subsidiary of CORR. If any Shareholders
                           do not exercise their preemptive rights in full, each Shareholder that
                           does so exercise their preemptive rights in full will have a right to
                           subscribe for all or a portion of the unelected shares. Each Shareholder
                           shall have the right to assign its preemptive rights to any associate or
                           affiliate of such Shareholder, including any investment fund under
                           common management. For the avoidance of doubt, to the extent that
                           equity or debt interests are offered to any one Shareholder or its
                           affiliates, such rights shall apply to that certain joint venture or similar
                           arrangement pursuant to which CORR would contribute to an entity of
                           which CORR or any wholly-owned Subsidiary of CORR holds an
                           interest in (a) the northernmost 235 miles of the KLM pipeline.

 Registration Rights:      Following an IPO, each Shareholder will have customary piggy-back
                           registration rights.

 Amendment of the          The governing documents and the Securityholders Agreement may only
 Governing Documents:      be amended with the prior written approval of (i) shareholders holding
                           not less than two-thirds of the outstanding shares, and (ii) the Board;
                           provided, however, that (i) any amendment that disproportionately and
                           adversely affects any Shareholder in any material respect shall also
                           require the consent of such Shareholder, and (ii) if such amendment
                           would alter a provision requiring more than majority approval, such
                           amendment shall be consented to by the same percentage of
                           Shareholders as required by the provision to be amended.

 Governing Law             Maryland




                                              6
 US.362342050.05
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                           Document    Page 212 of 446

                                    Exhibit B

                              Restructuring Support
                                   Agreement
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                               Document    Page 213 of 446
                                                             EXECUTION VERSION




 THIS AGREEMENT IS NOT, AND SHALL NOT BE DEEMED, A SOLICITATION OF
 ACCEPTANCES OF ANY CHAPTER 11 PLAN OF REORGANIZATION PURSUANT
 TO SECTIONS 1125 AND 1126 OF THE BANKRUPTCY CODE OR A SOLICITATION
 TO TENDER OR EXCHANGE ANY OF THE COMPANY CLAIMS. ANY SUCH OFFER
 OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
 AND/OR PROVISIONS OF THE BANKRUPTCY CODE. EACH NOTEHOLDER’S
 VOTE ON THE PLAN SHALL NOT BE SOLICITED UNTIL THE NOTEHOLDERS
 HAVE RECEIVED THE DISCLOSURE STATEMENT AND RELATED BALLOT(S).
 NOTHING CONTAINED IN THIS AGREEMENT SHALL BE AN ADMISSION OF FACT
 OR LIABILITY OR, UNTIL THE OCCURRENCE OF THE AGREEMENT EFFECTIVE
 DATE ON THE TERMS DESCRIBED HEREIN, DEEMED BINDING ON ANY OF THE
 PARTIES HERETO.

 THIS AGREEMENT IS THE PRODUCT OF SETTLEMENT DISCUSSIONS AMONG
 THE PARTIES THERETO. ACCORDINGLY, THIS AGREEMENT IS PROTECTED BY
 RULE 408 OF THE FEDERAL RULES OF EVIDENCE AND ANY OTHER
 APPLICABLE STATUTES OR DOCTRINES PROTECTING THE USE OR
 DISCLOSURE OF CONFIDENTIAL SETTLEMENT DISCUSSIONS.

 THIS AGREEMENT DOES NOT PURPORT TO SUMMARIZE ALL OF THE TERMS,
 CONDITIONS, REPRESENTATIONS, WARRANTIES, AND OTHER PROVISIONS
 WITH RESPECT TO THE TRANSACTIONS DESCRIBED HEREIN, WHICH
 TRANSACTIONS ARE SUBJECT IN THEIR ENTIRETY TO THE NEGOTIATION AND
 COMPLETION OF DEFINITIVE DOCUMENTS AND THE CLOSING OF ANY
 TRANSACTION SHALL BE SUBJECT TO THE TERMS AND CONDITIONS SET
 FORTH IN SUCH DEFINITIVE DOCUMENTS AND THE APPROVAL RIGHTS OF THE
 PARTIES SET FORTH HEREIN AND IN SUCH DEFINITIVE DOCUMENTS.

                      CORENERGY INFRASTRUCTURE TRUST, INC.
                       RESTRUCTURING SUPPORT AGREEMENT

         This RESTRUCTURING SUPPORT AGREEMENT (together with the exhibits and
 schedules attached hereto, as each may be amended, restated, supplemented, or otherwise modified
 from time to time in accordance with the terms hereof, this “Agreement”), dated as of February 25,
 2024, is entered into by and among:

             i. CorEnergy Infrastructure Trust, Inc. (“CorEnergy” or the “Company”), a
                corporation duly organized under the laws of the State of Maryland, having its
                corporate headquarters at 1100 Walnut, Suite 3350, Kansas City, MO 64106; and

             ii. The undersigned Ad Hoc Noteholder Group (as defined below), holding, in the
                 aggregate, at least 66.7% in principal amount of all outstanding Senior Notes (as
                 defined below) that have executed and delivered counterpart signature pages to
                                                  1
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                               Document    Page 214 of 446
                                                             EXECUTION VERSION


                 this Agreement or a Joinder to counsel to the Company and to counsel to the Ad
                 Hoc Noteholder Group.

        This Agreement collectively refers to the Company and the Ad Hoc Noteholder Group (and
 to any subsequent Person that becomes a party by executing a Joinder (as such term is defined
 below) hereto in accordance with the terms hereof) as the “Parties” and, each individually, as a
 “Party.”

                                           RECITALS

        WHEREAS, reference is made to the 5.875% Convertible Senior Notes due 2025 (the
 “Senior Notes”) issued by the Company;

        WHEREAS, the Ad Hoc Noteholder Group (defined below) are the holders of certain of
 the Senior Notes;

         WHEREAS, the Parties have engaged in arm’s-length, good-faith negotiations regarding
 a comprehensive restructuring of the existing debt, equity, and other obligations of the Company
 on the terms and conditions set forth in this Agreement and as specified in the Plan attached as
 Exhibit A hereto (as may be amended, supplemented, or otherwise modified from time to time
 in accordance with the terms of this Agreement, the “Plan” and, such transactions as described
 in this Agreement and the Plan, the “Restructuring Transactions”);

         WHEREAS, the Restructuring Transactions shall be implemented through, among other
 things, a voluntary bankruptcy case to be commenced by the Company under chapter 11 of title
 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”) in
 the United States Bankruptcy Court for the Western District of Missouri (the “Bankruptcy Court”,
 such case, the “Chapter 11 Case”) to be filed on or by February 25, 2024;

        WHEREAS, the Parties consent to (as applicable) and have agreed to consummate and
 support the Restructuring Transactions, on the terms set forth in this Agreement and the Plan
 attached hereto, setting forth the terms and conditions of the Restructuring Transactions;

        WHEREAS, the Parties have agreed to refrain from taking certain actions so as to
 preserve value in a potential restructuring and to take certain actions in support of the
 Restructuring Transactions on the terms and conditions set forth in this Agreement; and

        WHEREAS, the Ad Hoc Noteholder Group have committed, as set forth in the Plan, to
 convert their Senior Notes to a combination of cash, new equity and debt in the Company.

         NOW, THEREFORE, in consideration of the covenants and agreements contained
 herein, and for other valuable consideration, the receipt and sufficiency of which each of the
 Parties hereby acknowledges, each Party, intending to be legally bound hereby, agrees as follows:




                                                 2
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 215 of 446
                                                              EXECUTION VERSION


                                          AGREEMENT

 Section 1      Definitions; Rules of Construction.

        1.1     Definitions.

       “Ad Hoc Noteholder Group” means that certain ad hoc group including certain
 Noteholders listed on the signature pages to this Agreement or a Joinder delivered to counsel to
 the Company and to counsel to the Ad Hoc Noteholder Group.

        “Ad Hoc Noteholder Group Professionals” means Faegre Drinker, Biddle & Reath, LLP
 (“FDBR”); Perella Weinberg Partners, Spencer Fane, LLP and any other professionals or
 professional firms retained by the Ad Hoc Noteholder Group to assist with Restructuring
 Transactions.

        “Affiliate” has the meaning set forth in Section 101(2) of the Bankruptcy Code.

         “Agent” means any administrative agent, collateral agent, indenture trustee or similar
 Entity, including any successors thereto, as applicable.

        “Agreement” has the meaning set forth in the preamble hereof, and includes, for the
 avoidance of doubt, all exhibits, annexes and schedules hereto and thereto.

       “Agreement Effective Date” means the date on which the conditions set forth in Section
 2 have been satisfied or waived by the appropriate Party or Parties in accordance with this
 Agreement.

         “Alternative Proposal” means any plan of reorganization or liquidation, transaction,
 inquiry, proposal, bid, term sheet, offer, or agreement with respect to a sale, disposition, new-
 money investment, restructuring, reorganization, merger, amalgamation, acquisition,
 consolidation, dissolution, winding-up, liquidation, sale of all or substantially all assets, share
 debt issuance, tender offer, recapitalization, share or debt exchange, business combination, joint
 venture, partnership, or similar transaction involving the Company, other than the Restructuring
 Transactions.

        “Bankruptcy Code” has the meaning set forth in the recitals hereof.

        “Bankruptcy Court” has the meaning set forth in the recitals hereof.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the local rules
 of the Bankruptcy Court, in each case as amended from time to time and as applicable to the
 Chapter 11 Case.

       “Business Day” means any day other than Saturday, Sunday, or any other day on which
 commercial banks are authorized to close under the laws of, or are in fact closed in, the state of
 Missouri or the state of New York.

        “Chapter 11 Case” has the meaning set forth in the recitals hereof.
                                                  3
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 216 of 446
                                                               EXECUTION VERSION


        “Claim” has the meaning set forth in Section 101(5) of the Bankruptcy Code.

         “Commercially Reasonable Best Efforts” means, with respect to a given object, the efforts
 that a reasonable person in the position of the promisor would use to achieve the goal in light of
 its capabilities and the standards in the applicable industry or commercial environment; provided,
 however, that for the avoidance of doubt, this definition is qualified in all respects by Section 6.3(a)
 of the Agreement, and this definition shall not be read to require the Company to take any actions
 in violation of its statutory duties as a board or duties as a debtor-in-possession under the
 Bankruptcy Code.

        “Company” has the meaning set forth in the preamble hereof.

        “Company Claims” means any Claim against the Company, including the Senior Notes.

        “Company Claims/Interests” means, collectively, the Company Interests or Company
 Claims, including the Senior Notes.

        “Company Interests” means any existing Interest in the Company.

         “Company Professionals” means Husch Blackwell LLP, Miller Buckfire & Co, LLC,
 Teneo Capital LLC, and any other professionals or professional firms retained by the Company to
 assist with Restructuring Transactions.

        “Company Termination Event” has the meaning set forth in Section 8.2 hereof.

         “Confidentiality Agreement” means an executed confidentiality agreement entered into
 in connection with or relating to the proposed Restructuring Transactions, including (a) with
 respect to the issuance of a “cleansing letter” or other public disclosure of material non-public
 information and (b) any confidentiality agreement executed by any Noteholder or Noteholder
 Professional in connection with or relating to the Restructuring Transactions.

        “Confirmation Order” means an order entered by the Bankruptcy Court confirming the
 Plan pursuant to Section 1129 of the Bankruptcy Code.

        “Definitive Documents” means the documents set forth in Section 3.1 hereof.

        “Determination Notice” has the meaning set forth in Section 6.3 hereof.

         “Disclosure Statement” means the related disclosure statement with respect to the Plan,
 including any exhibits, appendices, supplements, related documents, ballots, and procedures
 related to the solicitation of votes to accept or reject the Plan.

        “Disclosure Statement Approval Order” means the order of the Bankruptcy Court
 approving the Disclosure Statement and solicitation procedures in connection thereto.

         “Disclosure Statement Motion” means the motion to approve (conditionally or on a final
 basis) the Disclosure Statement and Solicitation Materials as containing, among other things,
 “adequate information” as required by Sections 1125 and 1126(b) of the Bankruptcy Code.
                                                    4
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 217 of 446
                                                               EXECUTION VERSION


        “Entity” shall have the meaning set forth in Section 101(15) of the Bankruptcy Code.

        “Execution Date” has the meaning set forth in the preamble to this Agreement.

        “First Day Pleadings” has the meaning set forth in Section 3.1 hereof.

        “Governance Documents” means such organizational and governance documents as may
 be necessary to deliver voting control of the Company to the Noteholders.

         “Governmental Entity” means any national, international, regional, federal, state,
 provincial, municipal or local governmental, judicial, administrative, legislative or regulatory
 authority, entity, instrumentality, agency, department, commission, court, or tribunal of
 competent jurisdiction (including any branch, department or official thereof).

         “Grier Members” means John D. Grier and M. Bridget Grier, individually, and John D.
 Grier, as Trustee of the Bridget Grier Spousal Support Trust dated December 18, 2012; Robert
 G. Lewis, as Trustee of the Hugh David Grier Trust dated October 15, 2012; and Robert G. Lewis,
 as Trustee of the Samuel Joseph Grier Trust dated October 15, 2012.

         “Interest” means, collectively, the shares (or any class thereof) of common stock,
 preferred stock, and any other equity, ownership, or profits interests of the Company, and options,
 warrants, rights, or other securities or agreements to acquire or subscribe for, or which are
 convertible into the shares (or any class thereof) of, common stock, preferred stock, or other
 equity, ownership, or profits interests of the Company (in each case whether or not arising under
 or in connection with any employment agreement) and claims under Section 510(b) of the
 Bankruptcy Code.

       “Joinder” means a joinder to this Agreement substantially in the form attached hereto as
 Exhibit B.

        “Law” means any federal, state, local, or foreign law (including common law), statute,
 code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly adopted,
 promulgated, issued, or entered by a governmental authority of competent jurisdiction (including
 the Bankruptcy Court).

        “Milestones” has the meaning set forth in Section 4 hereof.

        “Noteholder” means any party holding a Senior Note.

        “Outside Date” has the meaning set forth in Section 4 hereof.

        “Parties” has the meaning set forth in the preamble hereof.

        “Person” means an individual, a partnership, a joint venture, a limited liability company,
 a corporation, a trust, an unincorporated organization, a group or any legal Entity or association.




                                                   5
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 218 of 446
                                                              EXECUTION VERSION


        “Petition Date” means the date on which the Company commences a Chapter 11 Case
 through the filing of a voluntary petition with the Bankruptcy Court in accordance with this
 Agreement and the Definitive Documents.

        “Plan” means a chapter 11 plan of reorganization of the Company attached hereto.

         “Plan Effective Date” means the date upon which all conditions precedent to the
 effectiveness of the Plan have been satisfied or are expressly waived in accordance with the terms
 thereof, as the case may be, and on which the Restructuring Transactions become effective or are
 consummated.

         “Plan Supplement” means a supplemental appendix to the Plan containing, among other
 things, substantially final forms of (a) certain of the Definitive Documents, (b) to the extent
 known, information required to be disclosed in accordance with Section 1129(a)(5) of the
 Bankruptcy Code, and (c) if applicable, a schedule of rejected contracts; provided, that, through
 the Plan Effective Date, the Company shall have the right to amend the Plan Supplement and any
 schedules, exhibits, or amendments thereto, in accordance with the terms of the Plan, this
 Agreement, and the consent of the Requisite Consenting Ad Hoc Noteholder Group.

         “Requisite Consenting Ad Hoc Noteholder Group” means, as of the date of determination,
 consenting members of the Ad Hoc Noteholder Group holding in the aggregate over 66.67% in
 aggregate outstanding principal amount of the Senior Notes held or controlled by the members
 of the Ad Hoc Noteholder Group.

         “Restructuring Fees and Expenses” means all reasonable and documented fees, costs and
 expenses of each of the Company Professionals and the Ad Hoc Noteholder Group Professionals,
 in each case, in connection with the negotiation, formulation, preparation, execution, delivery,
 implementation, consummation and/or enforcement of this Agreement and/or any of the other
 Definitive Documents, and/or the transactions contemplated hereby or thereby, and/or any
 amendments, waivers, consents, supplements or other modifications to any of the foregoing and,
 to the extent applicable, consistent with any engagement letters (or similar documents with the
 same effect and purpose), if any, entered into with the Company. With respect to FDBR, this
 shall include all fees and expenses incurred on or after October 1, 2023.

         “Restructuring Support Period” means the period commencing on the Agreement
 Effective Date as set forth in Section 2 hereof (or, in the case of any party that becomes a party
 hereto after the Agreement Effective Date, the date as of which such party executes and delivers
 a Joinder to counsel for the Company and counsel to the Ad Hoc Noteholder Group) and ending
 on the earlier of (a) the date on which this Agreement is terminated with respect to that Party in
 accordance with Section 8, and (b) the Plan Effective Date.

        “Restructuring Transactions” has the meaning set forth in the recitals hereof.

        “Securities Act” means the Securities Act of 1933, as amended.

        “Senior Note” has the meaning set forth in the recitals hereof. Company has issued and
 outstanding $118,050,000 of unsecured convertible senior notes bearing interest at a rate of
 5.875%.
                                               6
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 219 of 446
                                                              EXECUTION VERSION


         “Solicitation Materials” means all materials provided in connection with the solicitation
 of acceptances of votes on the Plan pursuant to Sections 1125 and 1126 of the Bankruptcy Code
 together with the Disclosure Statement, Disclosure Statement Approval Order, and any cure
 notices to be sent to counterparties to executory contracts or unexpired leases in connection with
 the assumption, or assumption and assignment, of such contracts or leases, which shall be in
 accordance with this Agreement and the Definitive Documents.

         “Termination Date” means the date on which termination of this Agreement as to a Party
 is effective in accordance with Section 8 hereof.

       “Termination Event” means an Ad Hoc Noteholder Termination Event or a Company
 Termination Event, as applicable.

         “Transfer” means to sell, resell, reallocate, use, pledge, assign, transfer, hypothecate,
 participate, donate, or otherwise encumber or dispose of, directly or indirectly (including through
 derivatives, options, swaps, pledges, forward sales, or other transactions).

           1.2   Rules of Construction.

                 (a)      in the appropriate context, each term, whether stated in the singular or
 the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
 feminine, or neuter gender shall include the masculine, feminine, and neuter gender;

                (b)      unless otherwise specified, any reference herein to an existing document,
 schedule, or exhibit shall mean such document, schedule, or exhibit, as it may have been or may
 be amended, restated, supplemented, or otherwise modified or replaced from time to time in
 accordance with the terms of this Agreement; provided, however, that any capitalized terms
 herein which are defined with reference to another agreement, are defined with reference to such
 other agreement as of the Execution Date, without giving effect to any termination of such other
 agreement or amendments to such capitalized terms in any such other agreement following the
 Execution Date;

                 (c)     each reference in this Agreement to “this Agreement”, “hereunder”,
 “hereof”, “herein”, or words of like import shall mean and be a reference to this Agreement,
 including, for the avoidance of doubt, the Plan and all exhibits thereto;

               (d)       capitalized terms defined only in the plural or singular form shall
 nonetheless have their defined meanings when used in the opposite form;

                (e)      unless otherwise specified, all references herein to “Sections” are
 references to Sections of this Agreement;

                (f)       references to “shareholders,” “directors,” and/or “officers” shall also
 include “members” and/or “managers,” as applicable, as such terms are defined under the
 applicable limited liability company laws;

                 (g)     the use of “include” or “including” is without limitation, whether stated
 or not;
                                                  7
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 220 of 446
                                                               EXECUTION VERSION


                (h)      the provisions of Bankruptcy Rule 9006(a) shall apply in computing any
 period of time prescribed or allowed herein; and

                (i)      captions and headings to Sections are inserted for convenience of
 reference only and are not intended to be a part of or to affect the interpretation of this Agreement.

 Section 2      Agreement Effective Date. This Agreement shall become effective and binding
 upon each of the Parties at 12:01 a.m., prevailing Central Time, on the Agreement Effective Date,
 which is the date on which all of the following conditions have been satisfied (or waived, as the
 case may be) in accordance with this Agreement:

                (a)   the Company shall have executed and delivered counterpart signature
 pages of this Agreement;

                (b)     the Ad Hoc Noteholder Group that collectively represent or hold, in the
 aggregate, at least sixty six and two-thirds percent (66.67%) of the aggregate outstanding
 principal amount of the outstanding Senior Notes shall have executed and delivered counterpart
 signature pages of this Agreement;

                 (c)     John D. Grier, individually and on behalf of certain Grier Members, and
 Robert G. Lewis, on behalf of certain Grier Members, shall have executed the joinder and consent
 in identical terms of the form attached hereto as Exhibit C; and

                 (d)     the Company shall have paid all accrued and unpaid Restructuring Fees
 and Expenses as of the Agreement Effective Date for which an invoice has been received by the
 Company on or before 12:00 p.m., prevailing Central Time, on the date that is one (1) Business
 Day prior to the Agreement Effective Date; and counsel to the Company shall have given notice
 (in accordance with Section 13.9) to counsel to the Ad Hoc Noteholder Group and the other
 parties hereto that the other conditions to the Agreement Effective Date set forth in this Section
 2 have occurred.

 Section 3      Definitive Documents.

         3.1    The “Definitive Documents” governing, related to, otherwise entered into in
 connection with, or utilized to implement or effect the Restructuring Transactions shall consist
 of this Agreement and all other agreements, deeds, filings, notifications, letters, instruments,
 pleadings, orders, forms, questionnaires, and other documents (including all exhibits, schedules,
 supplements, appendices, annexes, instructions, and attachments thereto) that are utilized to
 implement or effectuate, or that otherwise relate to, the Restructuring Transactions, including,
 but not limited to:

                (a)     this Agreement;

                (b)     the Solicitation Materials;

                (c)     the Disclosure Statement;

                (d)     the Disclosure Statement Motion;
                                                    8
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 221 of 446
                                                              EXECUTION VERSION


                 (e)    the Plan;

                 (f)    the Confirmation Order;

                 (g)    the Plan Supplement and any document included in the Plan Supplement;

                 (h)    the Governance Documents;

                 (i)    documents evidencing any new debt as provided under the Plan;

                (j)      those motions and proposed court orders that the Company files on or after
 the Petition Date (as defined below) to have heard on an expedited basis at the “first day hearing”
 (the “First Day Pleadings”);

                 (k)    all regulatory filings necessary to implement the Restructuring
 Transactions;

               (l)   such other definitive documentation as is necessary or desirable to
 consummate the Restructuring Transactions, including any related notes, certificates,
 agreements, documents, and instruments (as applicable); and

               (m)    any amendments, modifications, and supplements to any of the above
 Definitive Documents.

         3.2    Consent Rights Regarding Definitive Documents. The Definitive Documents not
 executed or in a form attached to this Agreement as of the Execution Date remain subject to
 negotiation and completion, as applicable. Upon completion, the Definitive Documents and every
 other document, agreement, filing, notification, letter, or instrument related to the Restructuring
 Transactions shall (unless otherwise expressly provided for in this Agreement) contain terms,
 conditions, representations, warranties, and covenants consistent with the terms of this
 Agreement (including the applicable terms of the Plan) and otherwise be acceptable to the
 Company and the Requisite Consenting Ad Hoc Noteholder Group; provided, that (a) the
 Disclosure Statement and any Solicitation Materials, (b) the Disclosure Statement Order and the
 Disclosure Statement Motion, (c) the First Day Pleadings; and (d) any documents in the Plan
 Supplement that are not enumerated herein, in each case, need only be consistent with the terms
 of this Agreement and otherwise be reasonably acceptable to the Company and the Requisite
 Consenting Ad Hoc Noteholder Group.

 Section 4      Milestones. The Company shall comply with, and implement the Restructuring
 Transactions in accordance, with the following milestones (the “Milestones”) unless extended or
 waived, as the case may be, in writing jointly by the Company and the Requisite Consenting Ad
 Hoc Noteholder Group pursuant to the terms hereof (which extension or waiver may be an email
 by and between the counsel to the Company and counsel to the Ad Hoc Noteholder Group):

                (a)     By 11:59 p.m. (prevailing Central Time) on February 25, 2024, the
 Petition Date shall have occurred;


                                                  9
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 222 of 446
                                                               EXECUTION VERSION


               (b)     No later than one day after the Petition Date, the Company shall file the
 First Day Pleadings, motion to assume this Agreement, Plan, Disclosure Statement, Disclosure
 Statement Motion, and Solicitation Materials;

               (c)     No later than 60 calendar days after the Petition Date, the Bankruptcy
 Court shall have entered an order approving, on a conditional or final basis, the Disclosure
 Statement and Solicitation Materials;

                (d)    No later than 105 calendar days after the Petition Date, the Bankruptcy
 Court shall have entered the Confirmation Order (the “Confirmation Date”);

                (e)     No later than 30 calendar days after the Confirmation Date (the “Outside
 Date”), the Plan Effective Date shall have occurred.

 For the avoidance of doubt, any Milestone that falls on a day that is not a Business Day, shall be
 extended to the following Business Day, with exception to those Milestones contained in Sections
 4(a) and 4(b) in the foregoing.

 Section 5      Commitments of the Ad Hoc Noteholder Group.

          5.1    Affirmative Commitments. Subject to the terms and conditions hereof, for the
 duration of the Restructuring Support Period, the Ad Hoc Noteholder Group agrees, in respect of
 all its members, including any party that executes a Joinder, to:

                (a)     negotiate in good faith and use Commercially Reasonable Best Efforts to
 execute, deliver and implement the Definitive Documents to which it is required to be a party;

                 (b)     support and cooperate with the Company to take Commercially
 Reasonable Best Efforts necessary to consummate the Restructuring Transactions in accordance
 with the Plan and the terms and conditions of this Agreement and vote and exercise any powers
 or rights available to it (including in any board, shareholders’, or creditors’ meeting or in any
 process requiring voting or approval to which they are legally entitled to participate) in each case,
 if and when solicited to do so, in favor of any matter requiring approval to the extent necessary
 to implement the Restructuring Transactions;

                (c)     give any required notice, order, instruction, or direction to the applicable
 Agents necessary to give effect to the Restructuring Transactions if requested by the Company
 to do so, provided that no member of the Ad Hoc Noteholder Group shall be required hereunder
 to provide any Person (including but not limited to the Agents) with any indemnities or similar
 undertakings in connection with such notice, order, instruction, or direction or to incur any fees
 or expenses in connection therewith;

                 (d)    support the Restructuring Transactions within the timeframes outlined
 herein and in the Definitive Documents; and

                (e)     to the extent any legal, regulatory, or structural impediment arises that
 would prevent, hinder, or delay the consummation of the Restructuring, negotiate in good faith
 appropriate additional or alternative provisions to address any such impediment.
                                                  10
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 223 of 446
                                                              EXECUTION VERSION


         5.2      Negative Commitments. Subject to the terms and conditions hereof, for the
 duration of the Restructuring Support Period, each member of the Ad Hoc Noteholder Group
 severally, and not jointly or jointly and severally, agrees in respect of all its Company Claims not
 to, directly or indirectly:

                (a)     propose, file, support, vote for, or solicit an Alternative Proposal;

               (b)     seek to amend or modify or file a pleading seeking authority to amend or
 modify the Definitive Documents, in whole or in part, in a manner that is not consistent with this
 Agreement and the Plan;

               (c)   object to, delay, impede, or take any other action to interfere with the
 acceptance, implementation, or consummation of the Restructuring Transactions;

                (d)    take any action that is inconsistent with, or is intended to frustrate or
 impede approval, implementation and consummation of, the Restructuring Transactions
 described in this Agreement or the Plan;

                 (e)    exercise any right or remedy, or direct any other person, including any
 Agent (as applicable) to exercise any right or remedy, for the enforcement, collection, or recovery
 of any of its Company Claims, other than to enforce this Agreement or any Definitive Documents
 or as otherwise permitted under this Agreement;

                  (f)     file any motion, pleading, or Definitive Document with the Bankruptcy
 Court or any other court (including any modifications or amendments thereof) that, in whole or
 in part, is inconsistent with this Agreement, the Plan, or any Definitive Document; or

                (g)      object to, delay, impede, or take any other action to interfere with the
 Company’s ownership and possession of their assets, wherever located, or interfere with the
 automatic stay arising under Section 362 of the Bankruptcy Code; provided, however, that
 nothing in this Agreement shall limit the right of any Party to exercise any right or remedy
 provided under this Agreement, the Confirmation Order or any other Definitive Document, and
 provided, further, that nothing in this Agreement shall limit the right of any Party to object to or
 otherwise challenge any professional fee applications filed in the Chapter 11 Case.

         5.3    Commitments Regarding the Chapter 11 Case. During the Restructuring Support
 Period, each member of the Ad Hoc Noteholder Group that is entitled to vote to accept or reject
 the Plan pursuant to its terms agrees, severally and not jointly or jointly and severally, that it
 shall, subject to receipt by such member of the Disclosure Statement and the Solicitation
 Materials:

               (a)      vote, consistent with the Solicitation Materials, each of its Company
 Claims to accept the Plan by delivering its duly executed and completed ballot accepting the Plan
 on a timely basis following the commencement of the solicitation of votes with respect to the
 Plan;

               (b)    use Commercially Reasonable Best Efforts to support confirmation of the
 Plan, including the solicitation, confirmation, and consummation of the Plan, as may be
                                               11
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 224 of 446
                                                               EXECUTION VERSION


 applicable and not direct and/or instruct any of the Agents to take any actions inconsistent with
 this Agreement or the Plan;

                 (c)     to the extent it is permitted to elect whether to opt out of the releases set
 forth in the Plan, elect not to opt out of the releases set forth in the Plan by timely delivering its
 duly executed and completed ballot(s) designating that it does not opt out of the releases; and

                (d)    not change, withdraw, amend, or revoke (or cause to be changed,
 withdrawn, amended, or revoked) any vote or election referred to in clauses (a) and (b) above;
 provided, however, that nothing in this Agreement shall prevent any Party from withholding,
 amending, or revoking (or causing the same) its timely consent or vote with respect to the Plan
 if this Agreement has been terminated in accordance with its terms with respect to such Party.

        5.4      Notwithstanding anything contained in this Agreement, and notwithstanding any
 delivery of a consent or vote to accept the Plan by any member of the Ad Hoc Noteholder Group,
 or any acceptance of the Plan by any class of creditors, nothing in this Agreement shall:

                  (a)    be construed to prohibit any member of the Ad Hoc Noteholder Group
 from asserting or enforcing rights in any applicable bankruptcy, insolvency, foreclosure or
 similar proceeding, including the right to appear as a party in interest in any matter to be
 adjudicated in order to be heard concerning any matter arising in the Chapter 11 Case, in each
 case; provided, however, that so long as, while this Agreement is operative and has not been
 terminated, such appearance and the positions advocated are not inconsistent with this Agreement
 and (ii) either (A) are not for the purpose of hindering, delaying or preventing consummation of
 the Plan, or the Restructuring Transactions or (B) do not otherwise prevent the consummation of
 the Plan or the achievement of the Milestones;

                 (b)      impair or waive any rights of any member of the Ad Hoc Noteholder
 Group under any applicable credit agreement, indenture, other loan document, or any other
 contract, stipulation, or applicable law, and nothing herein shall constitute a waiver or amendment
 of any provision thereof; provided, however, that the exercise of such rights (i) is not inconsistent
 with the terms of this Agreement and (ii) either (A) are not for the purpose of hindering, delaying,
 or preventing consummation of the Plan or the Restructuring Transactions or (B) do not otherwise
 prevent the consummation of the Plan or the achievement of the Milestones;

                  (c)    be construed to impair or limit any rights of any member of the Ad Hoc
 Noteholder Group to acquire Senior Notes or to acquire or Transfer a Company Claim that does
 not arise from or relate to the Senior Notes and each member of the Ad Hoc Noteholder Group
 agrees that if it acquires additional Senior Notes, then such Senior Notes shall be subject to this
 Agreement and following such acquisition, the member shall notify Company’s Counsel of the
 acquisition.

                 (d)      be construed to impair or limit any rights of any member of the Ad Hoc
 Noteholder Group to consult with other members of the Ad Hoc Noteholder Group or any other
 party in interest in the Chapter 11 Case subject to applicable confidentiality obligations (if any);



                                                   12
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 225 of 446
                                                              EXECUTION VERSION


               (e)    be construed to impair or limit any rights of any member of the Ad Hoc
 Noteholder Group to enforce any right, remedy, condition, consent or approval requirement under
 this Agreement or any of the Definitive Documents;

               (f)    be construed to impair or waive the rights of any member of the Ad Hoc
 Noteholder Group to assert or raise any objection not prohibited under this Agreement or any
 Definitive Document in connection with the Restructuring Transaction;

               (g)     require any member of the Ad Hoc Noteholder Group to incur, assume, or
 become liable for any financial or other liability or obligation other than as expressly described
 in this Agreement or in any of the Definitive Documents;

                (h)      prevent any member of the Ad Hoc Noteholder Group from taking any
 customary perfection step or other action as is necessary to preserve or defend the validity,
 existence, and priority of its claims against or interests in the Company Party or any lien securing
 any such claims or interests (including the filing of proofs of claim);

               (i)    be construed to prohibit any member of the Ad Hoc Noteholder Group
 from contesting whether any matter, fact, or thing is a breach of, or is inconsistent with, this
 Agreement; or

                 (j)     prohibit any member of the Ad Hoc Noteholder Group from taking any
 action that is not inconsistent with this Agreement.

 Section 6      Commitments of the Company.

       6.1     Affirmative Commitments of the Company. For the duration of the Restructuring
 Support Period, the Company shall:

               (a)     to use Commercially Reasonable Best Efforts to cooperate with the Ad
 Hoc Noteholder Group to take actions necessary to consummate the Restructuring Transactions
 in accordance with the Plan and the terms and conditions of this Agreement;

                (b)    negotiate in good faith and use Commercially Reasonable Best Efforts to
 execute, deliver and implement the Definitive Documents and any other required agreements to
 effectuate and consummate the Restructuring Transactions;

               (c)    obtain any and all required governmental, regulatory, licensing,
 Bankruptcy Court, or other approvals (including any necessary third-party consents) necessary
 to implement and/or consummate the Restructuring Transactions;

               (d)    to the extent any legal or structural impediment arises that would prevent,
 hinder, or delay the consummation of the Restructuring Transactions contemplated in this
 Agreement, support and take Commercially Reasonable Best Efforts to address any such
 impediment;

                 (e)   notify counsel to the Ad Hoc Noteholder Group promptly upon becoming
 aware of: (i) a Termination Event or event that it knows will, or reasonably expects is likely, to
                                                  13
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 226 of 446
                                                               EXECUTION VERSION


 give rise to a Termination Event, (ii) any matter or circumstance which it knows, or reasonably
 expects is likely, to be a material impediment to the implementation or consummation of the
 Restructuring Transactions; (iii) receipt of written notice of any proceeding (including any
 insolvency proceeding) commenced against the Company, relating to or involving or otherwise
 affecting in any material respect the Restructuring Transactions; (iv) a breach of this Agreement
 (including a breach by the Company); (v) any representation or warranty made by the Company
 under this Agreement which is incorrect or untrue; and (vi) any notice from any third party
 alleging that the consent of such party is or may be required in connection with the Restructuring
 Transactions;

                (f)   cause the signature pages attached to this Agreement to be redacted to the
 extent this Agreement is filed on the docket maintained in the Chapter 11 Case, posted on the
 Company’s website, or otherwise made publicly available;

                 (g)    provide counsel to the Ad Hoc Noteholder Group the advance opportunity,
 absent exigent circumstances, at least two (2) calendar days in advance of when the Company
 intends to file such documents (and if not reasonably practicable, then as soon as reasonably
 practicable prior to filing), to review draft copies of the Definitive Documents, and, without
 limiting any consent rights set forth in this Agreement, consider in good faith any comments
 provided by such counsel to Ad Hoc Noteholder Group with respect to the form and substance
 of any such proposed filing;

                (h)    comply with the Milestones, unless extended or waived, as the case may
 be, in accordance with the terms hereof;

               (i)     timely file a formal objection to any motion filed with the Bankruptcy
 Court by any person seeking the entry of an order (i) directing the appointment of an unsecured
 creditors committee, an equity committee, an examiner or a trustee, (ii) converting the Chapter
 11 Case to a case under chapter 7 of the Bankruptcy Code, or (iii) dismissing the Chapter 11
 Case;

                (j)      timely file a formal objection to any motion filed with the Bankruptcy
 Court by a third party seeking the entry of an order modifying or terminating the Company’s’
 exclusive right to file and/or solicit acceptances of a plan of reorganization, as applicable;

                 (k)     oppose and object to the efforts of any person seeking to object to, delay,
 impede, or take any other action to interfere with the acceptance, implementation, or
 consummation of the Restructuring Transactions (including, if applicable, the filing of timely
 filed objections or written responses) or approval of any of the Definitive Documents;

                (l)     operate in the ordinary course of business and in accordance with past
 practices and this Agreement, taking into account the Restructuring Transactions and using
 Commercially Reasonable Best Efforts to preserve intact the Company’s business organization
 and relationships with third parties (including, without limitation, vendors, suppliers, distributors,
 customers, governmental and regulatory authorities and employees);



                                                   14
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 227 of 446
                                                              EXECUTION VERSION


                  (m)   from the Agreement Effective Date through and including the Plan
 Effective Date, pay within ten (10) calendar days in full and in cash all Restructuring Fees and
 Expenses when properly incurred and invoiced in accordance with the relevant engagement
 letters, if any, and continue to timely pay such amounts as they come due, and otherwise in
 accordance with the applicable engagement letters of the Ad Hoc Noteholder Group
 Professionals (and not terminate such engagement letters or seek to reject them in the Chapter 11
 Case); and, without further order of, or applicable to, the Bankruptcy Court; provided, that, (x)
 all accrued and unpaid Restructuring Fees and Expenses as of the Plan Effective Date including
 any reasonable estimate of such Restructuring Fees and Expenses shall be paid by the Company
 on the Plan Effective Date; and (y) in the event a Termination Date (as defined herein) occurs
 with respect to the Company, the Company shall remain obligated to pay all Restructuring Fees
 and Expenses accrued and unpaid as of and up to such Termination Date;

                (n)    submit, or cause to be submitted (including if submitted directly by John
 D. Grier, individually and on behalf of certain Grier Members), and use Commercially
 Reasonable Best Efforts (either the Company and/or John D. Grier, individually and on behalf of
 certain Grier Members, as the case may be) to pursue an application with the California Public
 Utilities Commission for change of control of the Crimson Pipeline, L.P. (PLC-26) and San Pablo
 Bay Pipeline Company, L.L.C (PLC-29) from John D. Grier to CorEnergy; and

               (o)     use Commercially Reasonable Best Efforts to maintain its good standing
 under the Laws of the state or other jurisdiction in which it is incorporated or organized.

         6.2     Negative Commitments of the Company. Subject to the terms and conditions
 hereof, for the duration of the Restructuring Support Period, the Company (except with the prior
 written consent of the Requisite Consenting Ad Hoc Noteholder Group) shall not, directly or
 indirectly:

               (a)   object to, delay, impede, or take any other action to interfere with the
 acceptance, implementation or consummation of the Restructuring Transactions;

                (b)      take any action that is inconsistent with, or is intended to frustrate,
 materially prejudice or impede approval, implementation and consummation of, the
 Restructuring Transactions described in this Agreement or the Plan, provided, however that if
 necessary to protect the net operating losses as determined for U.S. federal income tax purposes,
 the Company may take action seeking a court order to restrict trading of the Senior Notes; so
 long as such restriction applies equally to the holders of the Senior Notes and to other holders of
 claims and interests against the Company that would be converted to common equity in the
 Reorganized Company pursuant to the Plan

                (c)    except to the extent permitted herein, seek, solicit, support, encourage,
 propose, assist, consent to, vote for, enter into, or participate in any discussions, agreements,
 understandings, or other arrangements with any Person regarding any Alternative Proposal;

              (d)     other than as required by this Agreement, the Plan or the Plan Supplement,
 amend or propose to amend its current governance documents;


                                                 15
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 228 of 446
                                                              EXECUTION VERSION


                (e)     amend or modify the Plan, in whole or in part, in a manner that is not
 consistent with this Agreement in all respects;

                  (f)     file any motion, pleading, or Definitive Document with the Bankruptcy
 Court or any other court (including any modifications or amendments thereof) that, in whole or
 in part, is inconsistent with this Agreement, the Plan, or any Definitive Documents, except to the
 extent such filing is expressly permitted by Section 6 herein;

                (g)    incur any material indebtedness outside the ordinary course of business,
 including seeking bankruptcy court approval to incur indebtedness without the express written
 consent of the Requisite Consenting Ad Hoc Noteholder Group.

        6.3     Additional Provisions Regarding the Company’s Commitments.

                (a)     Notwithstanding anything to the contrary in this Agreement, and subject
 to Section 8.2(c), nothing in this Agreement shall require the Company or its board to take or
 refrain from taking any action pursuant to this Agreement (including terminating this Agreement
 pursuant to Section 8.2(c) hereof), to the extent the board determines in good faith, based on the
 advice of external counsel (including counsel to the Company), that taking, or refraining from
 taking, such action, as applicable, would be inconsistent with its fiduciary obligations or
 applicable Law, and any such action or inaction pursuant to such exercise of fiduciary duties shall
 not be deemed to constitute a breach of this Agreement. The Company shall promptly notify
 counsel to the Ad Hoc Noteholder Group of any such determination (and in any event, no later
 than one (1) Business Day following such determination (the “Determination Notice”).

                 (b)    Notwithstanding anything to the contrary in this Agreement, the Company
 and its respective directors, officers, employees, investment bankers, attorneys, accountants,
 consultants, and other advisors or representatives shall have the rights to: (a) provide access to
 non-public information concerning the Company to any Entity that provides an unsolicited
 Alternative Restructuring Proposal and executes and delivers a customary confidentiality or
 nondisclosure agreement with the Company, (b) receive, respond to, and maintain and continue
 discussions or negotiations with respect to such unsolicited Alternative Proposals if the board of
 the Company determines in good faith, upon advice of outside counsel, that failure to take such
 action would be inconsistent with the fiduciary duties of the board under applicable Law, and (c)
 enter into or continue discussions or negotiations with any official committee and/or the United
 States Trustee regarding the Restructuring Transactions or any unsolicited Alternative Proposal.
 The Company shall (i) provide to counsel to the Ad Hoc Noteholder Group, on a professional
 eyes only basis, (1) a copy of any written Alternative Proposal (and notice and a description of
 any oral Alternative Proposal), if not barred under any applicable confidentiality agreement
 between the Company and the submitting party or such submitting party otherwise consents or
 (2) a summary of the material terms thereof, if the Company is bound by a confidentiality
 agreement with, or other known contractual or legal obligation of confidentiality to, the
 submitting party that would prohibit the Company from providing counsel to the Ad Hoc
 Noteholder Group with a copy of any oral or written Alternative Proposal, in each case within
 one (1) Business Day of the Company or their advisors receipt of such Alternative Proposal, and
 (ii) promptly provide such information to counsel to the Ad Hoc Noteholder Group regarding
 such discussions or any actions or inaction pursuant to this Section 6.3(b) (including copies of
                                                 16
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                  Document    Page 229 of 446
                                                                EXECUTION VERSION


 any materials provided to, or provided by, the Company with respect to the applicable Alternative
 Proposal) as necessary to keep counsel to the Ad Hoc Noteholder Group contemporaneously
 informed as to the status and substance of the foregoing.

               (c)     Nothing in this Agreement shall: (a) impair or waive the rights of the
 Company to assert or raise any objection permitted under this Agreement in connection with the
 Restructuring Transactions; or (b) prevent the Company from enforcing this Agreement or
 contesting whether any matter, fact, or thing is a breach of, or is inconsistent with, this
 Agreement.

 Section 7       Mutual Representations, Warranties and Covenants.

        7.1     Each of the Parties, severally and not jointly nor jointly and severally, represents,
 warrants and covenants to each other Party that the following statements are true, correct, and
 complete as of the date hereof (or, if later, the date that such Party (or if such Party is a Transferee,
 such Transferee) first became or becomes a Party):

                 (a)    this Agreement is a legal, valid, and binding obligation of such Party,
 enforceable against it in accordance with its terms, except as enforcement may be limited by
 bankruptcy, insolvency, reorganization, moratorium, or other similar Laws relating to or limiting
 creditors’ rights generally or by equitable principles relating to enforceability;

                 (b)     except as expressly provided in this Agreement, the Plan, or in the
 Bankruptcy Code (if applicable) or as may be required for disclosure by the U.S. Securities and
 Exchange Commission or other securities regulatory authorities under applicable Laws, no
 material consent or approval of, or any registration or filing with, or notice to any other Person
 is required for it to carry out the Restructuring Transactions contemplated by, and perform its
 obligations under, this Agreement;

                (c)     except as expressly provided in this Agreement, it has (or will have, at the
 relevant time) all requisite corporate or other power and authority to enter into, execute, and
 deliver this Agreement and to effectuate the Restructuring Transactions contemplated by, and
 perform its obligations under, this Agreement; and

                (d)   the entry into, and performance by it of, this Agreement and the
 Restructuring Transactions contemplated by this Agreement do not, and will not, conflict in any
 material respect with any Law or regulation applicable to it or with any of its articles of
 association, memorandum of association or other constitutional documents.

 Section 8       Termination Events.

         8.1    Ad Hoc Noteholder Group Termination Events. This Agreement may be
 terminated as to the Ad Hoc Noteholder Group upon the delivery to the Company and the other
 Parties of a written notice from the Requisite Consenting Ad Hoc Noteholder Group in
 accordance with Section 13.9 hereof upon the occurrence and continuation of any of the
 following events (each, a “Ad Hoc Noteholder Group Termination Event”):


                                                    17
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 230 of 446
                                                              EXECUTION VERSION


                 (a)     the Company’s failure to meet, satisfy or achieve a Milestone (unless such
 Milestone has been waived or extended in a manner consistent with this Agreement); provided,
 however, that the right to terminate this Agreement under this Section 8.1(a) on account of a
 failure by the Company to meet, satisfy or achieve a Milestone may not be asserted by the Ad
 Hoc Noteholder Group if the Company’s failure to comply with such Milestone is caused by, or
 results from, the breach by the Ad Hoc Noteholder Group (or one of its members) of its covenants,
 agreements or obligations under this Agreement;

                (b)     the breach in any material respect by the Company of any of the
 representations, warranties, or covenants of the Company set forth in this Agreement that remains
 uncured (if susceptible to cure) for five (5) calendar days after the Requisite Consenting Ad Hoc
 Noteholder Group transmits a written notice in accordance with Section 13.9 hereof identifying
 any such breach;

                 (c)    subject to Section 6.3 hereof, the Company takes any action to propose or
 support an Alternative Proposal or announces its intention to pursue an Alternative Proposal,
 which proposal, support or announcement has not been withdrawn after two (2) Business Days’
 written notice from the Ad Hoc Noteholder Group;

                 (d)     the issuance by any Governmental Entity, including any regulatory
 authority or court of competent jurisdiction, of any ruling or order that would be immediately or
 within a ten (10) Business Days period from such issuance, expected to prevent the
 consummation of or materially alter the Restructuring Transactions; provided, that, this
 termination right may not be exercised by the Ad Hoc Noteholder Group in contravention of any
 obligation set out in this Agreement;

                (e)     the Bankruptcy Court enters an order denying confirmation of the Plan or
 disallowing any material provision thereof (without the consent of the Requisite Consenting Ad
 Hoc Noteholder Group), and such order remains in effect for five (5) Business Days after entry
 of such order; provided, however, that if the denial of confirmation of the Plan (i) is due to a
 technical infirmity that does not require re-solicitation of the Plan and Disclosure Statement to
 cure such infirmity and (ii) does not impact the economic recovery, rights of or terms provided
 to the members of the Ad Hoc Noteholder Group under the Plan, the Ad Hoc Noteholder Group
 and the Company shall use Commercially Reasonable Best Efforts to cure the technical infirmity
 causing the basis for the denial and, if the Requisite Consenting Ad Hoc Noteholder Group has
 agreed to such cure (evidenced in writing, which may be by email) within five (5) Business Days
 of such denial, then no Party may terminate this Agreement pursuant to this Section 8.1(e);
 provided, further, that nothing contained in this Section 8.1(e) shall be deemed to modify or
 extend any applicable Milestones;

                (f)    the entry of an order by the Bankruptcy Court, or the filing of a motion or
 application by the Company seeking an order (without the prior written consent of the Requisite
 Consenting Ad Hoc Noteholder Group), (i) dismissing the Chapter 11 Case, (ii) converting the
 Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code, (iii) appointing, in the Chapter
 11 Case, a trustee or examiner with expanded powers beyond those set forth in Sections
 1106(a)(3) and (4) of the Bankruptcy Code; provided, that, an examiner appointed solely to
 review fees and expenses of professionals retained in the Chapter 11 Case shall not constitute a
                                                 18
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 231 of 446
                                                               EXECUTION VERSION


 Termination Event under Section 10 hereof; (iv) terminating the Company’s exclusivity under
 Bankruptcy Code Section 1121; or (v) rejecting this Agreement, which order is not reversed,
 stayed, or vacated within three (3) Business Days after the Requisite Consenting Ad Hoc
 Noteholder Group provides written notice to the other Parties that such order is materially
 inconsistent with this Agreement;

                 (g)     the Bankruptcy Court grants relief terminating, annulling, or modifying
 the automatic stay (as set forth in Section 362 of the Bankruptcy Code) with regard to any material
 asset of the Company and such order materially and adversely affects the Company’s ability to
 operate its business in the ordinary course or to consummate the Restructuring Transactions;

                (h)     without the consent of the Requisite Consenting Ad Hoc Noteholder
 Group, the Company (i) proposes or supports an Alternative Proposal pursuant to a pleading filed
 in the Bankruptcy Court; (ii) publicly announces its intention not to pursue the Restructuring
 Transactions, (iii) takes any action in furtherance of its intention not to pursue or support the
 Restructuring Transactions, or (iii) files, publicly announces, or executes a definitive written
 agreement with respect to an Alternative Proposal;

               (i)    the Company withdraws the Plan or files any motion or pleading with the
 Bankruptcy Court that is inconsistent in any material respect with this Agreement and such
 withdrawal, motion, or pleading has not been revoked or withdrawn within three (3) Business
 Days of receipt by the Company of written notice from the Requisite Consenting Ad Hoc
 Noteholder Group that such withdrawal, motion or pleading is inconsistent with this Agreement;

                (j)     upon the delivery of a Determination Notice by the Company, or upon a
 failure to provide a Determination Notice when required, the Company provides notice to the
 other Parties hereto that it is exercising its rights pursuant to Section 6.3, without application of
 any grace period to cure in the event that the Company fails to timely deliver such notice
 contained herein;

               (k)     the Company loses the exclusive right to file a chapter 11 plan or to solicit
 acceptances thereof pursuant to Section 1121 of the Bankruptcy Code;

               (l)      failure of the Company to pay the Restructuring Fees and Expenses, as and
 when required; or

                 (m)     the Company fails to maintain its good standing under the Laws of any
 state or other jurisdiction in which it is incorporated or organized except to the extent that any
 failure to maintain such Company Party’s good standing arises solely from the filing of the
 Chapter 11 Case.

         8.2    Company Termination Events. The Company may terminate this Agreement as to
 all Parties upon prior written notice to all Parties in accordance with Section 13.9 upon the
 occurrence of any of the following events (each a “Company Termination Event”):

                (a)    if the Requisite Consenting Ad Hoc Noteholder Group gives notice of
 termination of this Agreement pursuant to this Section 8;

                                                  19
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 232 of 446
                                                               EXECUTION VERSION


                (b)     the breach in any material respect of any representations, warranties, or
 covenants by any of the Ad Hoc Noteholder Group that remains uncured for a period of ten (10)
 calendar days after the receipt by the Ad Hoc Noteholder Group of written notice of such breach;

                 (c)      pursuant to Section 6.3 hereof, the board of directors of the Company
 (which for the avoidance of doubt, expressly excludes the Ad Hoc Noteholder Group for purposes
 of this Section 8.2(c)) determines in good faith, after consulting with external counsel (including
 counsel to the Company), (i) that proceeding with the Restructuring Transactions would be
 inconsistent with the exercise of its fiduciary duties or applicable Law or (ii) in the exercise of
 its fiduciary duties, to pursue an Alternative Proposal;

                (d)      the Bankruptcy Court enters an order denying confirmation of the Plan,
 and such order remains in effect for five (5) Business Days after entry of such order; provided,
 however, that if the denial of confirmation of the Plan (i) is due to a technical infirmity that does
 not require re-solicitation of the Plan and Disclosure Statement to cure such infirmity and (ii)
 does not impact the economic recovery, rights of or terms provided to the Ad Hoc Noteholder
 Group under the Plan, the Ad Hoc Noteholder Group and the Company shall use Commercially
 Reasonable Best Efforts to cure the technical infirmity causing the basis for the denial and, if the
 Requisite Consenting Ad Hoc Noteholder Group has agreed to such cure (evidenced in writing,
 which may be by email) within five (5) Business Days of such denial, then no Party may terminate
 this Agreement pursuant to this Section 8.2(d)); provided, further, that nothing contained in this
 Section 8.2(d) shall be deemed to modify or extend any applicable Milestones;

                 (e)     the issuance by any Governmental Entity, including any regulatory
 authority or court of competent jurisdiction, of any ruling or order that (i) would be expected to
 prevent the consummation of or materially alter the Restructuring Transactions and (ii) remains
 in effect for ten (10) Business Days after the Company transmits a written notice in accordance
 with Section 13.9 identifying any such issuance; provided, that, this termination right may not be
 exercised by the Company if the Company sought or requested such ruling in contravention of
 any obligation set out in this Agreement;

                (f)     the Ad Hoc Noteholder Group files any motion or pleading with the
 Bankruptcy Court that is inconsistent in any material respect with this Agreement and such
 motion or pleading has not been withdrawn within two (2) Business Days of receipt by the Ad
 Hoc Noteholder Group of written notice from the Company that such motion or pleading is
 inconsistent with this Agreement; or

                (g)     the Ad Hoc Noteholder Group files or supports any Alternative Proposal,
 modification, motion, or pleading with the Bankruptcy Court that is materially inconsistent with
 this Agreement or the Plan and such Alternative Proposal, modification, motion, or pleading has
 not been revoked before the earlier of (i) three (3) Business Days after the filing or supporting
 party receives written notice from the Company that such Alternative Proposal, modification,
 motion, or pleading is inconsistent with this Agreement or the Plan, and (ii) entry of an order of
 the Bankruptcy Court approving such Alternative Proposal, modification, motion, or pleading.




                                                  20
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 233 of 446
                                                              EXECUTION VERSION


       8.3    Mutual Termination. This Agreement, and the obligations of all Parties hereunder,
 may be terminated by mutual written agreement between the Requisite Consenting Ad Hoc
 Noteholder Group and the Company.

        8.4     Automatic Termination. This Agreement shall terminate automatically without
 any further required action or notice immediately after the earlier of (a) the Plan Effective Date
 and (b) the Outside Date, except if otherwise agreed by the Parties (including the Requisite
 Consenting Ad Hoc Noteholder Group), in writing, that despite of the events described in this
 Section 8.4(a) and (b), this Agreement should be deemed valid.

          8.5    Effect of Termination. After the occurrence of a Termination Date as to a Party,
 this Agreement shall be of no further force and effect as to such Party and each Party subject to
 such termination shall be released from its commitments, undertakings, and agreements under or
 related to this Agreement and shall have the rights and remedies that it would have had, had it
 not entered into this Agreement, and shall be entitled to take all actions, whether with respect to
 the Restructuring Transactions or otherwise, that it would have been entitled to take had it not
 entered into this Agreement, including with respect to any and all Claims or causes of action.
 Upon the occurrence of a Termination Date prior to the Confirmation Order being entered by a
 Bankruptcy Court, any and all consents, agreements, undertakings, tenders, waivers,
 forbearances, ballots and votes delivered by a Party subject to such termination before a
 Termination Date shall be deemed, for all purposes, to be null and void from the first instance
 and shall not be considered or otherwise used in any manner by the Parties in connection with
 the Restructuring Transactions and this Agreement or otherwise. Notwithstanding anything to
 the contrary in this Agreement, the foregoing shall not be construed to prohibit the Company or
 the Ad Hoc Noteholder Group from contesting whether any such termination is in accordance
 with its terms or to seek enforcement of any rights under this Agreement that arose or existed
 before a Termination Date. Except as expressly provided in this Agreement, nothing herein is
 intended to, or does, in any manner waive, limit, impair, or restrict (a) any right of the Company
 or the ability of the Company to protect and preserve its rights (including rights under this
 Agreement), remedies, and interests, including its claims against the Ad Hoc Noteholder Group
 and its members, and (b) any right of the Ad Hoc Noteholder Group and its members, or the
 ability of the Ad Hoc Noteholder Group and its members, to protect and preserve its rights
 (including rights under this Agreement), remedies, and interests, including its claims against the
 Company. No purported termination of this Agreement shall be effective under this Section 8.5
 or otherwise if the Party seeking to terminate this Agreement is in material breach of this
 Agreement, except a termination pursuant to Section 8.2(c) Nothing in this Section 8.5 shall
 restrict the Company’s right to terminate this Agreement in accordance with Section 8.2(c). For
 the avoidance of doubt, each of the Parties waives any right to assert that the exercise of
 termination rights under this Agreement is subject to the automatic stay provisions of the
 Bankruptcy Code, and expressly stipulates and consents hereunder to the prospective
 modification of the automatic stay provisions of the Bankruptcy Code for purposes of exercising
 termination rights under this Agreement or to making any arguments about the propriety of the
 termination, to the extent the Bankruptcy Court determines that such relief is required.

 Section 9       Ownership of Notes. Each member of the Ad Hoc Noteholder Group, severally
 and not jointly nor jointly and severally, represents and warrants that, as of the date such members
 of the Ad Hoc Noteholder Group executes and delivers this Agreement or a Joinder, as applicable:
                                                   21
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 234 of 446
                                                               EXECUTION VERSION


                (a)      it is the beneficial or record owner (which shall be deemed to include any
 unsettled trades) of the face amount of the Senior Notes or is the nominee, investment manager,
 or advisor for beneficial holders of the Senior Notes reflected in, and it is not the beneficial or
 record owner of any Senior Notes other than those reflected in, such Noteholder’s signature page
 to this Agreement or Joinder, as applicable;

               (b)     it has the full power and authority to act on behalf of, vote and consent to
 matters concerning such Senior Notes;

                  (c)      other than pursuant to this Agreement, such Senior Notes are free and clear
 of any pledge, lien, security interest, charge, claim, equity, option, proxy, voting restriction, right
 of first refusal or other limitation on disposition, transfer, or encumbrance of any kind, that would
 adversely affect in any way such Noteholder’s performance of its obligations contained in this
 Agreement at the time such obligations are required to be performed;

             (d)    it has the full power to vote, approve changes to, and Transfer all of its
 Company Claims referable to it as contemplated by this Agreement subject to applicable Law;
 and

                 (e)     (i) it is either (A) a qualified institutional buyer as defined in Rule 144A
 of the Securities Act, (B) not a U.S. person (as defined in Regulation S of the Securities Act), or
 (C) an institutional accredited investor (as defined in the Rules), and (ii) any securities acquired
 by the members of the Ad Hoc Noteholder Group in connection with the Restructuring
 Transactions will have been acquired for investment and not with a view to distribution or resale
 in violation of the Securities Act.

 Section 10      Transfer of Company Claims / Interests.

         10.1 During the Restructuring Support Period, no member of the Ad Hoc Noteholder
 Group shall Transfer any ownership (including any beneficial ownership as defined in the Rule
 13d-3 under the Securities Exchange Act of 1934, as amended) in any Company Claims/Interests,
 including the Senior Notes, to any affiliated or unaffiliated party, including any party in which it
 may hold a direct or indirect beneficial interest, unless either: (i) the transferee executes and
 delivers to counsel to the Company, at or before the time of the proposed Transfer, a joinder to
 this Agreement in a form acceptable to the Company; or (ii) the transferee is a member of the Ad
 Hoc Noteholder Group and the transferee provides notice of such Transfer (including the amount
 and type of Company Claim/Interest Transferred) to counsel to the Company at or before the
 time of the proposed Transfer (in each case of (i) and (ii), a “Permitted Transferee”).

         10.2 Upon compliance with the requirements of Section 10.1, the transferor shall be
 deemed to relinquish its rights (and be released from its obligations) under this Agreement to the
 extent of the rights and obligations in respect of such transferred Company Claims/Interests. Any
 Transfer in violation of Section 10.1 shall be void ab initio.

        10.3 This Agreement shall in no way be construed to preclude members of the Ad Hoc
 Noteholder Group from acquiring additional Company Claims/Interests; provided, however, that
 (a) such additional Company Claims/Interests shall automatically and immediately upon

                                                   22
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 235 of 446
                                                              EXECUTION VERSION


 acquisition by a member of the Ad Hoc Noteholder Group be deemed subject to the terms of this
 Agreement (regardless of when or whether notice of such acquisition is given to counsel to the
 Company or counsel to the Ad Hoc Noteholder Group) and (b) such Noteholder must provide
 notice of such acquisition (including the amount and type of Company Claim/Interest acquired)
 to counsel to the Company within five (5) Business Days of such acquisition.

        10.4 This Section 10 shall not impose any obligation on the Company to issue any
 “cleansing letter” or otherwise publicly disclose information for the purpose of enabling a
 Noteholder to Transfer any of its Company Claims/Interests, unless otherwise agreed to by the
 Company. For the avoidance of doubt, any cleansing obligations in any Confidentiality
 Agreements shall continue to apply.

         10.5 Notwithstanding anything to the contrary in this Section 10, the restrictions on
 Transfers set forth in this Section 10 shall not apply to the grant of any liens or encumbrances on
 any claims and interests in favor of a bank or broker-dealer holding custody of such claims and
 interests in the ordinary course of business and which lien or encumbrance is released upon such
 claim or interest being released from the custody of such bank or broker-dealer previously
 holding custody of such lien or encumbrance.

          10.6 Notwithstanding anything to the contrary in this Agreement, any member of the
 Ad Hoc Noteholder Group may Transfer any of its Company Claims/Interests to an entity that is
 acting in its capacity as a Qualified Marketmaker (as defined below) without the requirement that
 the Qualified Marketmaker become a Permitted Transferee; provided that (i) any such Qualified
 Marketmaker may only subsequently Transfer the right, title or interest to such Claims or
 Interests to a transferee that is or becomes a Permitted Transferee at the time of such Transfer,
 (ii) such transferor shall be solely responsible for the Qualified Marketmaker’s failure to comply
 with the requirements of this Section 10.6, (iii) subject to Section 10.1, such Qualified
 Marketmaker must subsequently Transfer the right, title or interest to such Claims or Interest
 within five (5) Business Days of its acquisition to a transferee described in the foregoing clause
 (i) that is not an Affiliate, affiliated fund, or affiliated entity with a common investment advisor
 of such Qualified Marketmaker or sign a Qualified Marketmaker Joinder (as defined below) on
 or before the Qualified Marketmaker Joinder Date (as defined below), and (iv) the Transfer
 documentation between such member of the Ad Hoc Noteholder Group and such Qualified
 Marketmaker shall contain a covenant providing for the requirement in the preceding clause (i);
 provided, further, that if a member of the Ad Hoc Noteholder Group is acting in its capacity as a
 Qualified Marketmaker, it may Transfer any Claims or Interests that it acquires that are not
 Claims subject to this Agreement by virtue of such Qualified Marketmaker’s execution of this
 Agreement (i.e., received by such Qualified Marketmaker from a holder that is not a member of
 the Ad Hoc Noteholder Group) without such Transfer being subject to this Section 10.6.

        10.6.1 If at the time of a proposed Transfer of any Claims or Interests to a Qualified
 Marketmaker, such Claims or Interests: (i) may be voted or consent solicited with respect to the
 Restructuring, then the proposed transferor must first vote or consent such Claims or Interests in
 accordance with Section 10.6, or (ii) have not yet been and may yet be voted or consent solicited
 with respect to the Plan and/or the Restructuring and such Qualified Marketmaker does not
 Transfer such Claims or Interests to a Permitted Transferee before the third Business Day before
 the expiration of an applicable voting or consent deadline (such date, the “Qualified
                                                  23
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 236 of 446
                                                              EXECUTION VERSION


 Marketmaker Joinder Date”), such Qualified Marketmaker shall be required to (and the
 Transfer documentation to the Qualified Marketmaker shall have provided it shall), on the first
 Business Day immediately after the Qualified Marketmaker Joinder Date, become a consenting
 creditor with respect to such Claims or Interests in accordance with the terms hereof (such signed
 Joinder, the “Qualified Marketmaker Joinder”); provided, further, that the Qualified
 Marketmaker shall automatically, and without further notice or action, no longer be a member of
 the Ad Hoc Noteholder Group with respect to such Claim or Interest at such time as such Claim
 or Interest has been Transferred by such Qualified Marketmaker to a transferee that is a Permitted
 Transferee in accordance with this Agreement. For these purposes, “Qualified Marketmaker”
 means an entity that (i) holds itself out to the market as standing ready in the ordinary course of
 business to purchase from and sell to customers claims and interests held by members of the Ad
 Hoc Noteholder Group (including debt securities or other debt), or enter with customers into long
 and/or short positions in Claims or Interests held by the Ad Hoc Noteholder Group (including
 debt securities or other debt), in its capacity as a dealer or market maker in such Claims or
 Interests (including debt securities or other debt) and (ii) is in fact regularly in the business of
 making a market in claims, interest, or securities of issuers or borrowers.

 Section 11     Amendments and Waivers.

       11.1 This Agreement (including as to the required content of any Definitive Document)
 may not be modified, amended, or supplemented, and no condition or requirement of this
 Agreement may be waived, in any manner except in accordance with this Section 11.

         11.2 This Agreement may not be modified, amended, or supplemented, or a condition
 or requirement of this Agreement may not be waived (hereinafter, collectively an “Amendment
 or Waiver”), except in a writing signed by (a) the Company, (b) Requisite Consenting Ad Hoc
 Noteholder Group, and (c) to the extent any such Amendment or Waiver, including to any exhibit
 hereto, would materially and adversely affect any member of the Ad Hoc Noteholder Group, that
 member An Amendment or Waiver shall be deemed to materially and adversely affect such
 member of the Ad Hoc Noteholder Group only if (a) it materially and adversely modifies the
 treatment of any such member of the Ad Hoc Noteholder Group under the Plan or in connection
 with this Agreement (including, for the avoidance of doubt, by providing unequal treatment to
 the members of the Ad Hoc Noteholder Group), or (b) modifies the release of any such member
 of the Ad Hoc Noteholder Group under the Plan. The Company shall be permitted to
 conclusively rely on the representation of counsel of the Ad Hoc Noteholder Group that the Ad
 Hoc Noteholder Group has received the required consents with respect to an Amendment or
 Waiver. In addition, and expressly subject to the foregoing sentence, subject to the Company’s
 consent rights set forth in Section 3.2 hereof the language or provisions in the Disclosure
 Statement, the Plan, the Confirmation Order, and the Governance Documents shall be acceptable
 to Requisite Consenting Ad Hoc Noteholder Group. Without the consent of each member of the
 Ad Hoc Noteholder Group, (a) the definition of “Requisite Consenting Ad Hoc Noteholder
 Group” and any defined terms used therein, and (b) any other provision hereof specifying the
 number or percentage of members of the Ad Hoc Noteholder Group required to amend, waive,
 or otherwise modify any rights hereunder or make any determination or grant any consent
 hereunder, shall not be modified.


                                                  24
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                  Document    Page 237 of 446
                                                                EXECUTION VERSION


         11.3 The Ad Hoc Noteholder Group and the Company hereby acknowledge and agree
 that, notwithstanding Section 11.2 above, in the event the proposed Amended or Waiver causes
 the Confirmation Order and/or the Effective Date to be delayed and/or extended for more than
 eighteen (18) months counted as of the date hereof, an unanimous approval of the Ad Hoc
 Noteholder Group shall be required.

         11.4 The waiver by any Party of a breach of any provision of this Agreement shall not
 operate or be construed as a further or continuing waiver of such breach or as a waiver of any
 other or subsequent breach. No failure on the part of any Party to exercise, and no delay in
 exercising, any right, power or remedy under this Agreement shall operate as a waiver of any
 such right, power or remedy or any provision of this Agreement, nor shall any single or partial
 exercise of such right, power or remedy by such Party preclude any other or further exercise of
 such right, power or remedy or the exercise of any other right, power or remedy. All remedies
 under this Agreement are cumulative and are not exclusive of any other remedies provided by
 law.

        11.5 Where a written consent, acceptance, approval, or waiver is required pursuant to
 or contemplated by this Agreement, pursuant to this Section 11, or otherwise, including a written
 approval by the Company and the Requisite Consenting Ad Hoc Noteholder Group, such written
 consent, acceptance, approval, or waiver shall be deemed to have occurred if, by agreement
 between counsel to the Parties submitting and receiving such consent, acceptance, approval, or
 waiver, it is conveyed in writing (including electronic mail) between each such counsel without
 representations or warranties of any kind on behalf of such counsel.

         11.6 Any proposed Amendment or Waiver that does not comply with this Section 11
 shall be ineffective and void ab initio.

 Section 12       Miscellaneous. Notwithstanding any other provision herein, this Agreement is
 not and shall not be deemed to be an offer with respect to any securities, including to tender or
 exchange any securities, or solicitation of votes for the acceptance of a plan of reorganization for
 purposes of Sections 1125 and 1126 of the Bankruptcy Code or otherwise. Any such offer or
 solicitation will be made only in compliance with all applicable securities laws, provisions of the
 Bankruptcy Code, and/or other applicable law. The votes of the holders of claims and interests,
 if applicable, against the Company will not be solicited until such holders who are entitled to vote
 on the Plan have received the Plan, the Disclosure Statement, and related ballots, and other
 required solicitation materials. In addition, this Agreement does not constitute an offer to issue
 or sell securities to any person or entity, or the solicitation of an offer to acquire or buy securities,
 in any jurisdiction where such offer or solicitation would be unlawful.

 Section 13      Entire Agreement. This Agreement, and the attached exhibits, annexes, and
 schedules, constitutes the entire agreement of the Parties with respect to the subject matter of this
 Agreement, and supersedes all other prior negotiations, agreements and understandings, whether
 written or oral, among the Parties with respect to the subject matter of this Agreement and Parties
 in entering into this Agreement, are not relying on any other representation or warranties other
 than as set forth in this Agreement; provided, however, that any Confidentiality Agreement
 executed by any party shall survive this Agreement and shall continue to be in full force and
 effect in accordance with their terms.
                                                    25
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 238 of 446
                                                              EXECUTION VERSION


         13.1 Exhibits Incorporated by Reference; Conflicts. Each of the exhibits, annexes,
 signatures pages, and schedules attached hereto is expressly incorporated herein and made a part
 of this Agreement, and all references to this Agreement shall include such exhibits, annexes, and
 schedules. Subject to the foregoing, in the event of any inconsistency between this Agreement
 (without reference to the exhibits, annexes, and schedules hereto) and the exhibits, annexes, and
 schedules hereto, this Agreement (without reference to the exhibits, annexes, and schedules
 thereto) shall govern.

         13.2 Survival of Agreement. Notwithstanding (i) the Transfer of any Company
 Claims/Interests in accordance with this Agreement or (ii) the termination of this Agreement, the
 agreements and obligations of the Parties in Sections 6.1(f), 6.1(m), 8.2, 12, 13 (other than 13.4,
 13.13, 13.17, and 13.18), and any defined terms used in any of the forgoing Sections shall survive
 such termination and shall continue in full force and effect with respect to all Parties in
 accordance with the terms hereof survive such termination and shall continue in full force and
 effect in accordance with the terms hereof. Each of the Parties acknowledges and agrees that this
 Agreement is being executed in connection with negotiations concerning a possible restructuring
 of the Company, and in contemplation of the Chapter 11 Case, and (a) the exercise of the rights
 granted in this Agreement (including giving of notice of termination) shall not be a violation of
 the automatic stay provisions of Section 362 of the Bankruptcy Code and (b) the Company hereby
 waives its right to assert a contrary position in the Chapter 11 Case, if any, with respect to the
 foregoing.

        13.3 No Waiver of Participation and Preservation of Rights. If the transactions
 contemplated herein are not consummated or following the occurrence of the termination of this
 Agreement with respect to all Parties, if applicable, nothing herein shall be construed as a waiver
 by any Party of any or all of such Party’s rights, remedies, claims, and defenses and the Parties
 expressly reserve any and all of their respective rights, remedies, claims and defenses.

        13.4 Counterparts. This Agreement may be executed in one or more counterparts, each
 of which, when so executed, shall constitute the same instrument and the counterparts may be
 delivered by email in portable document format (.pdf).

         13.5 Relationship Among Parties. Notwithstanding anything herein to the contrary, the
 duties and obligations of the members of the Ad Hoc Noteholder Group under this Agreement
 shall be several, not joint nor joint and several. No member of the Ad Hoc Noteholder Group
 shall, as a result of its entering into and performing its obligations under this Agreement, be
 deemed to be part of a “group” (as that term is used in section 13(d) of the Securities Exchange
 Act of 1934, as amended, and the rules and regulations promulgated thereunder) with any of the
 other members of the Ad Hoc Noteholder Group. It is understood and agreed that no members of
 the Ad Hoc Noteholder Group have any fiduciary duty, any duty of trust or confidence in any
 kind or form, or any other duties or responsibilities with any of the other Noteholder or any other
 creditor, stakeholder, party in interest or other party or Entity, and, except as expressly provided
 in this Agreement, there are no commitments among or between them. In this regard, it is
 understood and agreed that any member of the Ad Hoc Noteholder Group may trade in any
 Company Claims without the consent of the Company or any other member of the Ad Hoc
 Noteholder Group, subject to applicable securities laws and Section 10 of this Agreement;
 provided, however, that no member of the Ad Hoc Noteholder Group shall have any
                                                  26
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 239 of 446
                                                              EXECUTION VERSION


 responsibility for any such trading to any other entity by virtue of this Agreement. For the
 avoidance of doubt, the members of the Ad Hoc Noteholder Group are not insiders of the
 Company or its subsidiaries.

         13.6 No Recourse. This Agreement may only be enforced against the named parties
 hereto (and then only to the extent of the specific obligations undertaken by such parties in this
 Agreement). All causes of action (whether in contract, tort, equity, or any other theory) that may
 be based upon, arise out of, or relate to this Agreement, or the negotiation, execution, or
 performance of this Agreement, may be made only against the Persons that are expressly
 identified as parties hereto (and then only to the extent of the specific obligations undertaken by
 such parties herein). No past, present, or future direct or indirect director, manager, officer,
 employee, incorporator, member, partner, stockholder, equity holder, trustee, affiliate,
 controlling person, agent, attorney, or other representative of any Party (including any person
 negotiating or executing this Agreement on behalf of a Party), nor any past, present, or future
 direct or indirect director, manager, officer, employee, incorporator, member, partner,
 stockholder, equity holder, trustee, affiliate, controlling person, agent, attorney, or other
 representative of any of the foregoing (other than any of the foregoing that is a Party) (any such
 Person, a “No Recourse Party”), shall have any liability with respect to this Agreement or with
 respect to any proceeding (whether in contract, tort, equity, or any other theory that seeks to
 “pierce the corporate veil” or impose liability of an entity against its owners or affiliates or
 otherwise) that may arise out of or relate to this Agreement, or the negotiation, execution, or
 performance of this Agreement.

         13.7 Specific Performance; Remedies Cumulative. It is understood and agreed by the
 Parties that, without limiting any other remedies available at law or equity, money damages
 would be an insufficient remedy for any breach of this Agreement by any Party and each non-
 breaching Party shall be entitled to seek specific performance and injunctive or other equitable
 relief as a remedy of any such breach, including an order of the Bankruptcy Court or other court
 of competent jurisdiction requiring any Party to comply promptly with any of its obligations
 hereunder, without the necessity of proving the inadequacy of money damages as a remedy. Each
 of the Parties hereby waives any defense that a remedy at law is adequate and any requirement
 to post bond or other security in connection with actions instituted for injunctive relief, specific
 performance, or other equitable remedies.

        13.8    JURY TRIAL, GOVERNING LAW AND DISPUTE RESOLUTION.

    (a) THIS AGREEMENT WILL BE GOVERNED BY AND CONSTRUED IN
        ACCORDANCE WITH THE INTERNAL LAWS OF THE STATE OF NEW YORK,
        WITHOUT REGARD TO ANY CONFLICTS OF LAW PROVISIONS WHICH
        WOULD REQUIRE THE APPLICATION OF THE LAW OF ANY OTHER
        JURISDICTION. BY ITS EXECUTION AND DELIVERY OF THIS AGREEMENT,
        EACH OF THE PARTIES HEREBY IRREVOCABLY AND UNCONDITIONALLY
        AGREES THAT ANY LEGAL ACTION, SUIT OR PROCEEDING AGAINST IT
        WITH RESPECT TO ANY MATTER UNDER OR ARISING OUT OF OR IN
        CONNECTION WITH THIS AGREEMENT, OR FOR RECOGNITION OR
        ENFORCEMENT OF ANY JUDGMENT RENDERED IN ANY SUCH ACTION, SUIT
        OR PROCEEDING, MAY BE BROUGHT IN ANY STATE COURT LOCATED IN
                                                  27
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 240 of 446
                                                               EXECUTION VERSION


        THE BOROUGH OF MANHATTAN IN THE CITY OF NEW YORK, AND BY
        EXECUTION AND DELIVERY OF THIS AGREEMENT, EACH OF THE PARTIES
        HEREBY IRREVOCABLY ACCEPTS AND SUBMITS ITSELF TO THE
        NONEXCLUSIVE JURISDICTION OF EACH SUCH COURT, GENERALLY AND
        UNCONDITIONALLY, WITH RESPECT TO ANY SUCH ACTION, SUIT OR
        PROCEEDING. EACH PARTY HERETO IRREVOCABLY WAIVES ANY AND ALL
        RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR
        RELATING    TO   THIS    AGREEMENT    OR   THE   RESTRUCTURING
        CONTEMPLATED HEREBY.

                 (b)     Notwithstanding any of the foregoing, if the Chapter 11 Case is
 commenced, nothing in this Section shall limit the authority of the Bankruptcy Court to hear any
 matter related to or arising out of this Agreement.

        13.9 Notice. All notices, requests, documents delivered, and other communications
 hereunder must be in writing and will be deemed to have been duly given only if delivered by
 email to the Parties at the below addresses, or e-mail addresses.

                If to the Company:

                        CorEnergy Infrastructure Trust, Inc.
                        Dan Schulte: dschulte@corenergy.reit
                        Chris Reitz: creitz@corenergy.reit

                        With a copy to:

                        Husch Blackwell
                        John Cruciani: john.cruciani@huschblackwell.com
                        Mark Benedict: mark.benedict@huschblackwell.com


                If to the Ad Hoc Noteholder Group:

                        Faegre Drinker Biddle & Reath LLP
                        James H. Millar: james.millar@faegredrinker.com
                        Laura Appleby: laura.appleby@faegredrinker.com



        13.10 Third-Party Beneficiaries; Successors and Assigns. The terms and provisions of
 this Agreement are intended solely for the benefit of the Parties hereto and their respective
 permitted successors and permitted assigns, as applicable, and it is not the intention of the Parties
 to confer third-party beneficiary rights upon any other Person. There are no third-party
 beneficiaries under this Agreement, and the rights or obligations of any Party under this
 Agreement may not be assigned, delegated, or transferred to any other person or entity.



                                                  28
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                 Document    Page 241 of 446
                                                               EXECUTION VERSION


         13.11 Conflicts Between the Plan and this Agreement. In the event of any conflict among
 the terms and provisions in the Plan and this Agreement, the terms and provisions of the Plan
 shall control. Nothing contained in this Section 13.11 shall affect, in any way, the requirements
 set forth herein for the amendment of this Agreement and the Plan as set forth in Section 11
 herein.

         13.12 Settlement Discussions. This Agreement is part of a proposed settlement of
 matters that could otherwise be the subject of litigation among the Parties hereto. Nothing herein
 shall be deemed an admission of any kind. Pursuant to Federal Rule of Evidence 408 and any
 applicable state rules of evidence, this Agreement and all negotiations relating thereto shall not
 be admissible into evidence in any proceeding other than to prove the existence of this Agreement
 or in a proceeding to enforce the terms of this Agreement.

          13.13 Good-Faith Cooperation; Further Assurances. The Parties shall cooperate with
 each other in good faith in respect of matters concerning the implementation and consummation
 of the Restructuring Transactions. Each Party hereby covenants and agrees to cooperate with
 each other in good faith in connection with, and will exercise Commercially Reasonable Best
 Efforts with respect to, the negotiation, drafting and execution and delivery of the Definitive
 Documents. Subject to the other terms of this Agreement, the Parties agree to execute and deliver
 such other instruments and perform such acts, in addition to the matters herein specified, as may
 be appropriate or necessary, or as may be required by order of the Bankruptcy Court, from time
 to time, to effectuate the Restructuring Transactions, as applicable; provided, however, that this
 Section 13.13 shall not limit the right of any party hereto to exercise any right or remedy provided
 for in this Agreement (including the approval rights set forth in Section 3.2).

         13.14 Severability. If any provision of this Agreement for any reason is held to be
 invalid, illegal or unenforceable in any respect, that provision shall not affect the validity, legality
 or enforceability of any other provision of this Agreement. If any provision of this Agreement is
 so broad as to be unenforceable, the provision shall be interpreted to be only as broad as
 enforceable.

        13.15 Damages. Notwithstanding anything to the contrary in this Agreement, none of
 the Parties shall claim or seek to recover from any other Party on the basis of anything in this
 Agreement any punitive, special, indirect or consequential damages or damages for lost profits.

         13.16 Disclosure; Publicity. The Company shall deliver drafts to Faegre Drinker Biddle
 & Reath LLP, Attn: James H. Millar and Laura Appleby as counsel to the Ad Hoc Noteholder
 Group of any press releases that constitute disclosure of the existence of the existence or terms
 of this Agreement or any amendment to the terms of this Agreement to the general public (each,
 a “Public Disclosure”) at least two (2) Business Days before making any such disclosure (if
 practicable, and if two (2) Business Days before is not practicable, then as soon as practicable),
 and the Ad Hoc Noteholder Group Professionals shall be authorized to share such Public
 Disclosure with their respective clients. Any such disclosure shall be acceptable to the Ad Hoc
 Noteholder Group. Except as required by law or otherwise permitted under the terms of any other
 agreement between the Company and the Ad Hoc Noteholder Group, no Party or its advisors will
 disclose to any person other than to the Company’s advisors, the principal amount or percentage
 of any Company Claims/Interests, or any other securities of the Company held by any member
                                                    29
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                Document    Page 242 of 446
                                                              EXECUTION VERSION


 of the Ad Hoc Noteholder Group without such Noteholder’s prior written consent; provided, that,
 (i) if such disclosure is required by law, subpoena, or other legal process or regulation, to the
 extent permitted by applicable law, the disclosing Party will afford the relevant Noteholder an
 opportunity to review and comment in advance of such disclosure and will take Commercially
 Reasonable Best Efforts to limit such disclosure and (ii) the foregoing will not prohibit the
 disclosure of the aggregate percentage or aggregate principal amount of Company Claims held
 by all the members of the Ad Hoc Noteholder Group collectively. Notwithstanding the provisions
 in this Section 13.16, if consented to in writing by a Noteholder, any Party hereto may disclose
 such Noteholder’s individual holdings.

        13.17 Professional Fees & Expenses. The Company shall pay or reimburse all
 reasonable and documented fees and out-of-pocket expenses of the Ad Hoc Noteholder Group.

         13.18 Email Consents. Where a written consent, acceptance, approval, or waiver is
 required pursuant to or contemplated by this Agreement, including a written approval by the
 Company and the Ad Hoc Noteholder Group, such written consent, acceptance, approval, or
 waiver shall be deemed to have occurred if, by agreement between counsel to the Parties
 submitting and receiving such consent, acceptance, approval, or waiver, it is conveyed in writing
 (including electronic mail) between each such counsel without representations or warranties of
 any kind on behalf of such counsel.

         13.19 Qualification on Noteholder Representations. The Parties acknowledge that all
 representations, warranties, covenants, and other agreements made by any Noteholder that is a
 separately managed account of an investment manager are being made only with respect to the
 Company Claims/Interests managed by such investment manager (in the amount identified on
 the signature pages hereto), and shall not apply to (or be deemed to be made in relation to) any
 Claims that may be beneficially owned by such Noteholder that are not held through accounts
 managed by such investment manager.

        13.20 Independent Due Diligence and Decision Making. Each member of the Ad Hoc
 Noteholder Group hereby confirms that its decision to execute this Agreement has been based
 upon its independent investigation of the operations, businesses, financial and other conditions,
 and prospects of the Company.

         13.21 Remedies Cumulative. All rights, powers, and remedies provided under this
 Agreement or otherwise available in respect hereof at law or in equity shall be cumulative and
 not alternative, and the exercise of any right, power, or remedy thereof by any Party shall not
 preclude the simultaneous or later exercise of any other such right, power, or remedy by such
 Party.

         13.22 Several, Not Joint and Several, Obligations. Except as otherwise expressly set
 forth herein, the agreements, representations, warranties, liabilities and obligations of the
 members of the Ad Hoc Noteholder Group under this Agreement are, in all respects, several and
 not joint nor joint and several.




                                                30
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                           Document    Page 243 of 446
                                                         EXECUTION VERSION


                           [Signature Pages to Follow]




                                       31
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55            Desc Main
                               Document    Page 244 of 446



              Company’s Signature Page to the Restructuring Support Agreement



        IN WITNESS WHEREOF, the Parties hereto have executed this Agreement on the day
 and year first written above.

 CORENERGY INFRASTRUCTURE TRUST, INC.


 By:__ ______________________________________
 Name: David J. Schulte
 Title: Chief Executive Officer and Chairman of the Board of CorEnergy Infrastructure Trust,
 Inc.
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55         Desc Main
                             Document    Page 245 of 446




     [Signature pages of the Ad Hoc Noteholder Group are omitted and on file with the
                                       Company]
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                           Document    Page 246 of 446




                                     Exhibit A

                                       Plan
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55            Desc Main
                               Document    Page 247 of 446



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI

     In re:                                                )     Case No. 24-40236-can11
                                                           )
     CORENERGY INFRASTRUCTURE TRUST, INC., 1               )     Chapter 11
                                                           )
     Debtor.                                               )

                            PLAN OF REORGANIZATION OF
                      CORENERGY INFRASTRUCTURE TRUST, INC.
                  PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

 HUSCH BLACKWELL LLP
 Mark T. Benedict, Esq.
 John J. Cruciani, Esq.
 4801 Main Street, Suite 1000
 Kansas City, MO 64112
 Telephone      (816) 983-8000
 Facsimile      (816) 983-8080
 Email:         mark.benedict@huschblackwell.com
                john.cruciani@huschblackwell.com

 Proposed Counsel for Debtor and Debtor in Possession




 1
  The Debtor’s address is 1100 Walnut, Ste. 3350 Kansas City, MO 64106. The last four digits of
 the Debtor’s taxpayer identification number are 1375.
                                                 i
 HB: 4866-7395-7801.1
Case 24-40236-can11                   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                            Desc Main
                                           Document    Page 248 of 446



                                                          Table of Contents


 Article I DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME,
 GOVERNING LAW, AND OTHER REFERENCES.................................................................... 4
    1.01         Defined Terms .............................................................................................................. 4
    1.02         Rules of Interpretation ................................................................................................ 16
    1.03         Computation of Time.................................................................................................. 17
    1.04         Governing Law ........................................................................................................... 17
    1.05         Reference to Monetary Figures .................................................................................. 17
    1.06         Reference to the Debtor or the Reorganized Debtor .................................................. 17
    1.07         Controlling Document ................................................................................................ 17
    1.08         Consent Rights............................................................................................................ 18
 Article II ADMINISTRATIVE AND PRIORITY CLAIMS ....................................................... 18
    2.01         Administrative and Priority Claims ............................................................................ 18
    2.02         Professional Fee Claims ............................................................................................. 19
    2.03         Restructuring Fees and Expenses ............................................................................... 20
    2.04         Priority Tax Claims .................................................................................................... 20
    2.05         Statutory Fees ............................................................................................................. 20
 Article III CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND
 INTERESTS ................................................................................................................................. 21
    3.01         Classification of Claims and Interests ........................................................................ 21
    3.02         Treatment of Classes of Claims and Interests ............................................................ 21
    3.03         Special Provisions Governing Unimpaired Claims .................................................... 26
    3.04         Controversy Concerning Impairment ......................................................................... 26
    3.05         Elimination of Vacant Classes.................................................................................... 26
    3.06         Voting Classes; Presumed Acceptance by Non-Voting Classes ................................ 27
    3.07         Acceptance by Impaired Classes ................................................................................ 27
    3.08         Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code
                 27
 Article IV PROVISIONS FOR IMPLEMENTATION OF THE PLAN ...................................... 27
    4.01         General Settlement of Claims and Interests ............................................................... 27
    4.02         Restructuring Transactions ......................................................................................... 28
    4.03         Corporate Action ........................................................................................................ 28
    4.04         Takeback Debt ............................................................................................................ 29
    4.05         The Revolving Credit Facility .................................................................................... 30

                                                                       ii
 HB: 4866-7395-7801.1
Case 24-40236-can11                  Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                Desc Main
                                          Document    Page 249 of 446



    4.06        Management Incentive Plan ....................................................................................... 30
    4.07        Employee Obligations ................................................................................................ 30
    4.08  Deregistration of Existing Common Stock and Preferred Stock and Issuance of New
    Common Stock.......................................................................................................................... 31
    4.09        Exemption from Registration Requirements .............................................................. 31
    4.10        Subordination.............................................................................................................. 32
    4.11        Vesting of Assets in the Reorganized Debtor............................................................. 32
    4.12        Cancellation of Instruments, Certificates, and Other Documents .............................. 32
    4.13        Sources for Plan Distributions .................................................................................... 33
    4.14        Corporate Existence.................................................................................................... 33
    4.15        New Governance Documents ..................................................................................... 33
    4.16        Indemnification Provisions in Organizational Documents......................................... 34
    4.17        Effectuating Documents; Further Transactions .......................................................... 34
    4.18        Management of the Reorganized Debtor .................................................................... 35
    4.19        Section 1146(a) Exemption ........................................................................................ 35
    4.20        Preservation of Causes of Action ............................................................................... 35
 Article V TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES ..... 36
    5.01        Assumption and Rejection of Executory Contracts and Unexpired Leases ............... 36
    5.02        Cure and Defaults for Assumed Executory Contracts and Unexpired Leases ........... 37
    5.03        Rejection Damages Claims......................................................................................... 38
    5.04        Insurance Policies ....................................................................................................... 39
    5.05        Contracts and Leases After the Petition Date ............................................................. 39
    5.06        Reservation of Rights ................................................................................................. 40
    5.07        Nonoccurrence of Effective Date ............................................................................... 40
 Article VI PROVISIONS GOVERNING DISTRIBUTIONS ...................................................... 40
    6.01        Distributions on Account of Claims or Interests Allowed as of Effective Date......... 40
    6.02        Special Rules for Distributions to Holders of Disputed Claims ................................. 41
    6.03        Delivery of Distributions ............................................................................................ 42
    6.04        Claims Paid or Payable by Third Parties .................................................................... 44
    6.05        No Postpetition or Default Interest on Claims............................................................ 45
    6.06        Setoffs ......................................................................................................................... 45
    6.07        Allocation Between Principal and Accrued Interest................................................... 46
    6.08        Delivery of New Common Stock ............................................................................... 46
 Article VII PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
 DISPUTED CLAIMS AND INTERESTS ................................................................................... 46

                                                                       iii
 HB: 4866-7395-7801.1
Case 24-40236-can11                  Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                              Desc Main
                                          Document    Page 250 of 446



    7.01        Allowance of Claims .................................................................................................. 46
    7.02        Objections to Claims .................................................................................................. 47
    7.03        Estimation of Claims .................................................................................................. 47
    7.04        No Distribution Pending Allowance........................................................................... 47
    7.05        Distribution After Allowance ..................................................................................... 47
    7.06        No Interest .................................................................................................................. 48
    7.07        Adjustment to Claims Without Objection .................................................................. 48
    7.08        Disallowance of Claims .............................................................................................. 48
 Article VIII EFFECT OF CONFIRMATION OF THE PLAN .................................................... 49
    8.01     Discharge of Claims and Termination of Interests; Compromise and Settlement of
    Claims, Interests, and Controversies......................................................................................... 49
    8.02        Release by the Debtor ................................................................................................. 50
    8.03        Releases by Holders of Claims and Interests.............................................................. 51
    8.04        Exculpation ................................................................................................................. 53
    8.05        Injunction .................................................................................................................... 54
    8.06        Protection Against Discriminatory Treatment ............................................................ 56
    8.07        Release of Liens.......................................................................................................... 56
    8.08        Reimbursement of Contribution ................................................................................. 57
    8.09        Recoupment ................................................................................................................ 57
 Article IX CONDITIONS PRECEDENT TO THE EFFECTIVE DATE .................................... 57
    9.01        Conditions Precedent to the Effective Date ................................................................ 57
    9.02        Waiver of Conditions Precedent ................................................................................. 58
    9.03        Effect of Non-Occurrence of Conditions to Consummation ...................................... 59
    9.04        Substantial Consummation ......................................................................................... 59
 Article X MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN ....................... 59
    10.01       Modification of Plan ................................................................................................... 59
    10.02       Effect of Confirmation on Modifications ................................................................... 59
    10.03       Revocation or Withdrawal of Plan ............................................................................. 59
 Article XI RETENTION OF JURISDICTION............................................................................. 60
 Article XII MISCELLANEOUS PROVISIONS .......................................................................... 61
    12.01       Immediate Binding Effect .......................................................................................... 61
    12.02       Additional Documents ................................................................................................ 62
    12.03       Reservation of Rights ................................................................................................. 62
    12.04       Successor and Assigns ................................................................................................ 62
    12.05       Service of Documents................................................................................................. 62

                                                                      iv
 HB: 4866-7395-7801.1
Case 24-40236-can11                Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                          Desc Main
                                        Document    Page 251 of 446



    12.06      Term of Injunction or Stays ........................................................................................ 63
    12.07      Entire Agreement........................................................................................................ 63
    12.08      Plan Supplement ......................................................................................................... 64
    12.09      Non-Severability......................................................................................................... 64
    12.10      Votes Solicited in Good Faith .................................................................................... 64
    12.11      Dissolution of Statutory Committees and Cessation of Fee and Expense Payment... 64
    12.12      Closing of Chapter 11 Case ........................................................................................ 65
    12.13      Waiver or Estoppel ..................................................................................................... 65




                                                                   v
 HB: 4866-7395-7801.1
Case 24-40236-can11      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                              Document    Page 252 of 446



 Exhibits

 Exhibit A - Exit Facility Term Sheet

 Exhibit B – Corporate Governance Term Sheet




                                               vi
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                                   Document    Page 253 of 446



                                              Introduction

         CorEnergy Infrastructure Trust, Inc., as debtor and debtor-in-possession in the above-
 captioned Chapter 11 Case, proposes this Plan (as defined below) pursuant to Section 1121(a) of
 the Bankruptcy Code for the resolution of outstanding Claims (as defined below) against, and
 Interests (as defined below) in, the Debtor. The Debtor is the proponent of the Plan within the
 meaning of Section 1129 of the Bankruptcy Code. Reference is made to the accompanying
 Disclosure Statement (as defined below) for a discussion of the Debtor’s history, businesses,
 properties, operations, projections, risk factors, a summary and analysis of the Plan and the
 transactions contemplated herein, and certain other related matters.

       The Plan contemplates certain transactions and differing treatment for different Classes of
 Claims and Interests, including, without limitation, the following treatment of these Holders of
 Claims and Interests (described in greater detail in Article III herein and in the Disclosure
 Statement):

          (a)       Secured Claims: On the Effective Date, or as soon as reasonably practicable
                    thereafter, in full and final satisfaction, compromise, settlement, release, and
                    discharge of, and in exchange for, such Allowed Secured Claim, each Holder
                    thereof shall receive, at the election of the Debtor or Reorganized Debtor, as
                    applicable: (a) payment in full in Cash; (b) the collateral securing its Allowed
                    Secured Claim; (c) Reinstatement of its Allowed Secured Claim; or (d) such other
                    treatment rendering its Allowed Secured Claim Unimpaired in accordance with
                    Section 1124 of the Bankruptcy Code.

          (b)       Other Priority Claims: On the Effective Date, or as soon as reasonably practicable
                    thereafter, in full and final satisfaction, compromise, settlement, release, and
                    discharge of, and in exchange for, such Allowed Other Priority Claim, each Holder
                    thereof shall receive, at the election of the Debtor or Reorganized Debtor, as
                    applicable, payment in full in Cash or otherwise receive treatment consistent with
                    the provisions of Section 1129(a)(9) of the Bankruptcy Code, either (a) on the
                    Effective Date or (b) on the date due in the ordinary course of business in
                    accordance with the terms and conditions of the particular transaction giving rise
                    to such Allowed Other Priority Claim.

          (c)       Grier Member Claims: Each Grier Member Claim shall be deemed Allowed in the
                    amount of $1.00 for purposes of voting and confirmation, representing any Claim
                    of the Grier Members against the Debtor, including but not limited to any Claims
                    or rights arising under the Crimson LLC Agreement. The Grier Member Claim
                    constitutes legal, valid, and binding obligation of the Debtor, and no offsets,
                    defenses, or counterclaims to, or claims or causes of action that could reduce the
                    amount or ranking of, the Grier Member Claims exists. No portion of the Grier
                    Member Claims is subject to set-off, avoidance, impairment, disallowance,
                    recharacterization, reduction, subordination (whether equitable, contractual, or
                    otherwise), counterclaims, recoupment, cross-claims, defenses, or any other
                    challenges under or pursuant to the Bankruptcy Code or any other applicable
                    domestic or foreign law or regulation by any person or entity.

                                                    1
 HB: 4866-7395-7801.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                    Document    Page 254 of 446



                    Because the equity units of the Grier Members in Crimson (the Class A-1 Crimson
                    Units, the Class A-2 Crimson Units, and the Class A-3 Crimson Units) track the
                    dividend and liquidation rights of the Preferred Stock and the Common Stock, the
                    Grier Member Claims will be treated as follows:

                           With respect to the Class A-1 Crimson Units, the Grier Members’ right to
                           exchange their Class A-1 Crimson Units with Preferred Stock will be
                           substituted with the Grier Member’s right to exchange their Class A-1
                           Crimson Units with 2.79% of the New Common Stock, subject to dilution
                           by the Management Incentive Plan and any tracking dividend or liquidation
                           distribution rights that tracked to the Preferred Stock shall be exchanged for
                           tracking to the 2.79% of the New Common Stock; provided, however, that
                           if the Senior Notes receive Excess Effective Date Cash, then the percentage
                           shall increase based on a ratio of 7.59 basis points to every $1 million in
                           Excess Effective Date Cash (for the avoidance of doubt the incremental
                           increase to the percentage described herein when combined with the
                           incremental increase to the holders of Preferred Stock shall total in the
                           aggregate 30 basis points for every $1 million in Excess Effective Date
                           Cash); and

                           With respect to the Class A-2 and Class A-3 Crimson Units, the Grier
                           Member’s right to exchange their Class A-2 and A-3 Crimson Units with
                           Common Stock will be cancelled because the Common Stock is being
                           cancelled pursuant to Article 4.12 of the Plan; provided, however, that for
                           the avoidance of doubt the Class A-2 and A-3 Crimson Units shall not be
                           cancelled, but the Grier Members shall no longer receive any tracking
                           dividend or liquidation distribution on account of the Class A-2 and A-3
                           Crimson Units and shall not be entitled to exchange the Class A-2 and Class
                           A-3 Crimson Units.

                           Notwithstanding any provision of the Plan to the contrary, the Crimson LLC
                           Agreement shall be assumed as of the Effective Date.

          (d)       General Unsecured Claims: In full and final satisfaction, compromise, settlement,
                    release, and discharge of, and in exchange for, such Allowed General Unsecured
                    Claim, each Holder thereof shall receive, at the election of the Debtor or
                    Reorganized Debtor, as applicable, Payment in full in Cash on account of such
                    Claim either (a) on the Effective Date or (b) on the date due in the ordinary course
                    of business in accordance with the terms and conditions of the particular transaction
                    giving rise to such Allowed General Unsecured Claim.

          (e)       Senior Notes: Senior Notes shall be deemed Allowed in the aggregate amount of
                    $118,242,651, representing the principal amount outstanding under the Bond
                    Indenture, accrued and unpaid interest, and make whole premiums, plus all other
                    accrued and unpaid fees and other expenses payable under the Bond Indenture
                    (including those costs and expenses to which the indenture trustee pursuant to the
                    Bond Indenture is contractually entitled). The Senior Notes constitute legal, valid,
                    and binding obligations of the Debtor, and no offsets, defenses, or counterclaims
                                                      2
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                   Document    Page 255 of 446



                    to, or claims or causes of action that could reduce the amount or ranking of, the
                    Senior Notes exist. No portion of the Senior Notes is subject to set-off, avoidance,
                    impairment, disallowance, recharacterization, reduction, subordination (whether
                    equitable, contractual, or otherwise), counterclaims, recoupment, cross-claims,
                    defenses, or any other challenges under or pursuant to the Bankruptcy Code or any
                    other applicable domestic or foreign law or regulation by any person or entity.

                    Each Senior Noteholder (inclusive of accrued and unpaid interest, accrued and
                    unpaid fees and other expenses payable under the Notes), on the Effective Date, or
                    as soon as reasonably practicable thereafter, in full and final satisfaction,
                    compromise, settlement, release, and discharge of, and in exchange for their
                    respective Senior Note, shall receive:

                           Its Pro Rata share of the Senior Note Payment;

                           Its Pro Rata share of the Takeback Debt Principal Amount; and

                           Its Pro Rata share of 88.96% of New Common Stock, subject to dilution by
                           the Management Incentive Plan; provided, however, that if the Senior Notes
                           receive Excess Effective Date Cash, then the percentage shall decrease
                           based on a ratio of 30.0 basis points to every $1 million in Excess Effective
                           Date Cash; and

                           Its Pro Rata share of the Excess Effective Date Cash, if any.

          (f)       Preferred Stock: On the Effective Date, or as soon as reasonably practicable
                    thereafter, in full and final satisfaction, compromise, settlement, release, and
                    discharge of, and in exchange for, such Preferred Stock, each Holder of a Preferred
                    Stock shall receive either:

                           If Class 6 votes in favor of the Plan, such Holder’s Pro Rata share of 8.25%
                           of New Common Stock, subject to dilution by the Management Incentive
                           Plan and; provided, however, that if the Senior Notes receive Excess
                           Effective Date Cash, then the percentage shall increase based on a ratio of
                           22.41 basis points to every $1 million in Excess Effective Date Cash (for
                           the avoidance of doubt the incremental increase to the percentage described
                           herein when combined with the incremental increase to the holders of Grier
                           Member Claims shall total in the aggregate 30 basis points for every $1
                           million in Excess Effective Date Cash); or

                           If Class 6 rejects the Plan, on the Effective Date, or as soon as reasonably
                           practicable thereafter, in full and final satisfaction, compromise, settlement,
                           release, and discharge of, and in exchange for, such Allowed Preferred
                           Stock, each Holder thereof shall receive Cash in the amount its Pro Rata
                           share of the liquidation value of the Debtor as set forth on Exhibit D to the
                           Disclosure Statement, which amount is estimated to be $0.00 and the
                           Preferred Stock will be cancelled.


                                                     3
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                   Document    Page 256 of 446



                           If Class 6 rejects the Plan, then the percentage of New Common Stock that
                           would have been allocated to Preferred Stock will be split pro rata between
                           Class 4 and Class 5. For the avoidance of doubt, with respect to Class 4, this
                           allocation will only serve to increase the percentage allocation in the Class
                           4 treatment, it will not result in the issuance of any New Common Stock
                           except to the extent provided in the Crimson LLC Agreement.

          (g)       Common Stock: On the Effective Date, or as soon as reasonably practicable
                    thereafter, in full and final satisfaction, compromise, settlement, release, and
                    discharge of, and in exchange for, such Allowed Common Stock, each Holder
                    thereof shall receive Cash in the amount its Pro Rata share of the liquidation value
                    of the Debtor as set forth on Exhibit D to the Disclosure Statement, which amount
                    is estimated to be $0.00 and the Common Stock will be cancelled.

 ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN ARE
 ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN
 THEIR ENTIRETY.

                                ARTICLE I
                DEFINED TERMS, RULES OF INTERPRETATION,
        COMPUTATION OF TIME, GOVERNING LAW, AND OTHER REFERENCES

 1.01     Defined Terms

         1.      “Ad Hoc Noteholder Group” means that certain ad hoc group comprising certain
 Senior Noteholders listed on the signature pages to the Restructuring Support Agreement, and any
 other future holders (if any) of Senior Notes that becomes bound to that Restructuring Support
 Agreement by means of a signature of that certain Joinder provided therein; provided, however,
 that whenever the reference refers to the consent rights of or with respect to the Ad Hoc Noteholder
 Group, it shall mean the consent of the percent or members of the Ad Hoc Noteholder Group as
 required by the Restructuring Support Agreement.

         2.     “Administrative Claim” means a Claim incurred by the Debtor on or after the
 Petition Date and before the Effective Date for a cost or expense of administration of the Chapter
 11 Case entitled to priority under Sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the
 Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred on or after
 the Petition Date until and including the Effective Date of preserving the Estate and operating the
 Debtor’s businesses; (b) Allowed Professional Fee Claims; and (c) all fees and charges assessed
 against the Estate pursuant to Section 1930 of Chapter 123 of title 28 of the United States Code.

        3.       “Administrative Claims Bar Date” means the deadline for Filing requests for
 payment of Administrative Claims (other than requests for payment of Professional Fee Claims and
 Administrative Claims arising under Section 503(b)(9) of the Bankruptcy Code), which shall be
 30 days after the Effective Date.

          4.        “Affiliate” has the meaning set forth in Section 101(2) of the Bankruptcy Code.



                                                     4
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                Document    Page 257 of 446



          5.     “Allowed” means, with respect to any Claim or Interest: (a) a Claim or Interest as
 to which no objection has been filed by the Claim Objection Deadline and that is evidenced by a
 Proof of Claim or Interest, as applicable, timely filed by the applicable Claims Bar Date, if any, or
 that is not required to be evidenced by a filed Proof of Claim or Interest, as applicable, under the
 Plan, the Bankruptcy Code, or a Final Order; (b) a Claim or Interest that is scheduled by the Debtor
 as neither disputed, contingent, nor unliquidated, and as for which no Proof of Claim or Interest,
 as applicable, has been timely filed; or (c) a Claim or Interest that is Allowed (i) pursuant to the
 Plan, (ii) in any stipulation that is approved, or Final Order that has been entered, by the
 Bankruptcy Court, or (iii) pursuant to any contract, instrument, indenture, or other agreement
 entered into or assumed in connection herewith. Notwithstanding the foregoing, (x) unless
 expressly waived by the Plan, the Allowed amount of Claims or Interest shall be subject to and
 shall not exceed the limitations under or maximum amounts permitted by the Bankruptcy Code,
 including Sections 502 or 503 of the Bankruptcy Code, to the extent applicable, and (y) the
 Reorganized Debtor shall retain all claims and defenses with respect to Allowed Claims that are
 Reinstated or otherwise Unimpaired pursuant to the Plan. Except as otherwise specified in the Plan
 or any Final Order, the amount of an Allowed Claim shall not include interest or other charges on
 such Claim from and after the Petition Date. No Claim of any Entity subject to Section 502(d) of
 the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the amount
 that it owes the Debtor or Reorganized Debtor, as applicable.

         6.     “Avoidance Actions” means any and all avoidance, recovery, subordination, or
 other Claims, actions, or remedies that may be brought by or on behalf of the Debtor or its Estate
 or other authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy
 law, including actions or remedies under Sections 502, 510, 542, 544, 545, 547 through and
 including 553, and 724(a) of the Bankruptcy Code or under similar or related state or federal
 statutes and common law, including fraudulent transfer laws.

         7.      “Ballot” means the ballots accompanying the Disclosure Statement upon which
 certain Holders of Impaired Claims entitled to vote shall, among other things, indicate their
 acceptance or rejection of the Plan in accordance with the Plan and the procedures governing the
 solicitation process.

        8.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-
 1532, as amended from time to time.

         9.     “Bankruptcy Court” means the United States Bankruptcy Court for the Western
 District of Missouri and, to the extent of the withdrawal of the reference under 28 U.S.C. § 157,
 the United States District Court for the Western District of Missouri.

         10.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
 promulgated by the United States Supreme Court under Section 2075 of title 28 of the United States
 Code, 28 U.S.C. § 2075, as applicable to the Chapter 11 Case and the general, local, and chambers
 rules of the Bankruptcy Court.

       11.    “Bond Indenture” means that certain Indenture, dated August 12, 2019, between
 the Company and U.S. Bank National Association, as Trustee for the Senior Notes.



                                                  5
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 258 of 446



       12.     “Business Day” means any day, other than a Saturday, Sunday, or a legal holiday
 in New York, as defined in Bankruptcy Rule 9006(a).

        13.     “Cash” or “$” means the legal tender of the United States of America or the
 equivalent thereof, including bank deposits, money market funds and other cash equivalents.

         14.     “Causes of Action” means any claims, interests, damages, remedies, causes of
 action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers,
 privileges, licenses, liens, indemnities, guaranties, contribution, and franchises of any kind or
 character whatsoever, whether known or unknown, choate or inchoate, foreseen or unforeseen,
 existing or hereinafter arising, contingent or non-contingent, liquidated or unliquidated, secured or
 unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected,
 in contract, tort, law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff,
 counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by law;
 (b) any claim based on or relating to, or in any manner arising from, in whole or in part, breach of
 fiduciary duty, violation of local, state, federal, or foreign law, or breach of any duty imposed by
 law or in equity, including securities laws, negligence, and gross negligence; (c) the right to object
 to or otherwise contest Claims or Interests; (d) claims pursuant to Sections 362, 510, 542, 543, 544
 through 550, or 553 of the Bankruptcy Code; and (e) such claims and defenses as fraud, mistake,
 duress, and usury, and any other defenses set forth in Section 558 of the Bankruptcy Code.

        15.    “Certain Crimson Employee Claims” means any and all Claims by Larry
 Alexander, Valerie Jackson, and Nester Taura against CorEnergy, including but not limited to the
 Claims asserted in the letter dated October 23, 2023 from Brook Barnes related to equity awards.

          16.       “Certificate” means any instrument evidencing a Claim or an Interest.

       17.    “Chapter 11 Case” means the case pending for the Debtor under chapter 11 of the
 Bankruptcy Code in the Bankruptcy Court.

         18.    “Claim” means any claim, as defined in Section 101(5) of the Bankruptcy Code,
 against the Debtor.

        19.      “Claims Bar Date” means the applicable deadline set by the Bankruptcy Court
 pursuant to the Plan, Claims Bar Date order, or other Final Order for filing Proofs of Claim in this
 Chapter 11 Case.

         20.    “Claim Objection Deadline” means the deadline for objecting to a Claim asserted
 against the Debtor, which shall be with respect to all Claims (other than Administrative Claims and
 Professional Fee Claims), the later of (a) the first Business Day that is at least 180 days after the
 Effective Date and (b) such other period of limitation as may be specifically fixed by the Debtor
 or the Reorganized Debtor, as applicable, or by an Order of the Bankruptcy Court for objecting to
 such Claims.

         21.     “Class” means a category of Holders of Claims or Interests classified as set forth in
 Article III hereof pursuant to Sections 1122(a) and 1123(a)(1) of the Bankruptcy Code.



                                                    6
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55          Desc Main
                                   Document    Page 259 of 446



        22.  “Class A-1 Crimson Units” means the Class A-1 Units (as such term is defined in
 the Crimson LLC Agreement) issued by Crimson in accordance with the Crimson LLC
 Agreement.

        23.  “Class A-2 Crimson Units” means the Class A-2 Units (as such term is defined in
 the Crimson LLC Agreement) issued by Crimson in accordance with the Crimson LLC
 Agreement.

        24.  “Class A-3 Crimson Units” means the Class A-3 Units (as such term is defined in
 the Crimson LLC Agreement) issued by Crimson in accordance with the Crimson LLC
 Agreement.

        25.    “Combined Hearing” means the hearing(s) before the Bankruptcy Court under
 Section 1128 of the Bankruptcy Code to consider confirmation of the Plan and final approval of
 the Disclosure Statement pursuant to Sections 1125 and 1129 of the Bankruptcy Code, as such
 hearing may be adjourned or continued from time to time.

          26.       “Common Stock” means the common stock of CorEnergy.

        27.     “Confirmation” means the entry of the Confirmation Order by the Bankruptcy
 Court on the docket of the Chapter 11 Case.

        28.    “Confirmation Date” means the date upon which the Bankruptcy Court enters the
 Confirmation Order on the docket of the Chapter 11 Case, within the meaning of Bankruptcy Rules
 5003 and 9021.

        29.     “Confirmation Order” means an order of the Bankruptcy Court confirming the Plan
 pursuant to Section 1129 of the Bankruptcy Code and approving the adequacy of the Disclosure
 Statement on a final basis, subject to the consent rights set forth in Article 1.8 hereof.

          30.       “Consummation” means the occurrence of the Effective Date.

         31.    “Creditors’ Professionals” means (a) Faegre Drinker Biddle & Reath LLP and
 Spencer Fane LLP as counsel to the Ad Hoc Noteholder Group and (b) Perella Weinberg Partners
 LP, as financial advisor to the Ad Hoc Noteholder Group, and (c) such other legal, consulting,
 financial, and/or other professional advisors as may be retained or may have been retained from
 time to time by the Ad Hoc Noteholder Group or any Statutory Committee.

       32.          “Crimson” means Crimson Midstream Holdings, LLC, a Delaware limited liability
 company.

        33.    “Crimson LLC Agreement” means that certain Revised Third Amended and
 Restated Limited Liability Company Agreement dated as of June 30, 2021, by and among the
 Debtor, Crimson, and the Grier Members.

         34.      “Cure” or “Cure Claim” means a Claim (unless waived or modified by the
 applicable counterparty) based upon the Debtor’s defaults under an Executory Contract or an
 Unexpired Lease assumed by the Debtor under Section 365 of the Bankruptcy Code, other than a
 default that is not required to be cured pursuant to Section 365(b)(2) of the Bankruptcy Code.
                                                   7
 HB: 4866-7395-7801.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                    Document    Page 260 of 446



         35.      “D&O Liability Insurance Policy” means all unexpired directors’, managers’, and
 officers’ liability insurance policy (including any “tail policy” and all agreements, documents, or
 instruments related thereto) that have been issued or provide coverage to current and former
 directors, managers, officers, and employees of the Debtor.

          36.       “Debtor” or “CorEnergy” means CorEnergy Infrastructure Trust, Inc.

          37.       “Debtor Release” means the releases set forth in Article 8.02 of the Plan.

       38.          “Definitive Documents” has the meaning set forth in the Restructuring Support
 Agreement.

         39.    “Disclosure Statement” means the Disclosure Statement for the Plan of
 Reorganization of CorEnergy Infrastructure Trust, Inc. Pursuant to Chapter 11 of the Bankruptcy
 Code, as the same may be amended, modified, or supplemented from time to time, including all
 exhibits, schedules, appendices, supplements, and related documents, and in each case, subject to
 the consent rights set forth in the Restructuring Support Agreement.

          40.    “Disputed” means, with respect to a Claim or Interest, any Claim or Interest that
 (a) is neither Allowed nor Disallowed under the Plan or a Final Order, nor deemed Allowed under
 Sections 502, 503, or 1111 of the Bankruptcy Code; (b) is listed in the Schedules, if any are filed,
 as unliquidated, contingent or disputed, and as to which no request for payment or Proof of Claim
 has been filed; (c) is otherwise disputed by either the Debtor or the Reorganized Debtor in
 accordance with applicable law or contract, which dispute has not been withdrawn, resolved or
 overruled by a Final Order; or (d) the Debtor or any party in interest has interposed a timely
 objection or request for estimation, and such objection or request for estimation has not been
 withdrawn or determined by a Final Order. If the Debtor disputes only a portion of a Claim, such
 Claim shall be deemed Allowed in any amount the Debtor does not dispute, and Disputed as to the
 balance of such Claim.

         41.    “Distribution Agent” means, as applicable, the Reorganized Debtor or any other
 Entity the Reorganized Debtor selects to make or to facilitate distributions in accordance with the
 Plan.

         42.    “Distribution Date” means, except as otherwise set forth herein, the date or dates
 determined by the Debtor or the Reorganized Debtor consistent with this Plan, on or after the
 Effective Date, upon which the Distribution Agent shall make distributions to Holders of Allowed
 Claims entitled to receive distributions under the Plan.

         43.    “Distribution Record Date” means the Effective Date of the Plan or such other time
 as agreed upon between the Debtor and the Ad Hoc Noteholder Group. For the avoidance of doubt,
 no distribution record date shall apply to the holders of public Securities, including the existing
 Preferred Stock, the Holders of which shall receive a distribution in accordance with Article III of
 this Plan.

          44.       “DTC” means Depository Trust Company.



                                                     8
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                                   Document    Page 261 of 446



        45.     “Effective Date” means the date that is the first Business Day after the Confirmation
 Date on which all conditions precedent to the occurrence of the Effective Date set forth in Article
 9.01 of the Plan have been (a) satisfied or (b) waived in accordance with Article 9.02 of the Plan,
 and on which the Restructuring Transactions become effective or are consummated. Any action to
 be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

        46.     “Effective Date Cash” means the amount of Cash of the Debtor and its Subsidiaries
 on the Effective Date as set forth in the Plan Supplement.

       47.    “Employment Agreements” means the employment agreements entered into
 between CorEnergy and its employees.

          48.       “Entity” means an entity as defined in Section 101(15) of the Bankruptcy Code.

       49.     “Estate” means the estate of the Debtor created under Section 541 of the Bankruptcy
 Code upon the commencement of the Debtor’s Chapter 11 Case.

         50.     “Estate’s Professionals” means (a) Husch Blackwell LLP and Stinson LLP, as
 counsel to the Debtor; (b) Stifel, Nicolaus & Co, Inc. 2, Teneo Capital LLC, and KPMG LLP as
 financial advisors; and (c) Ernst & Young LLP, as accountant to the Debtor; and (d) such other
 legal, consulting, financial, and/or other professional advisors as may be retained or may have been
 retained from time to time by the Debtor.

        51.    “Excess Effective Date Cash” means the amount equal to the positive difference, if
 any, between Effective Date Cash less $12 million, not to exceed $8.5 million.

          52.       “Exchange Act” means the Securities Exchange Act of 1934, as amended

        53.     “Exculpated Party” means each of the following, solely in its capacity as such: (a)
 the Debtor; (b) the Ad Hoc Noteholder Group and its members, (c) any Statutory Committee and
 its members; and the (d) Professionals; and (e) each Related Party of each Entity in clause (a)
 through (d).

         54.     “Executory Contract” means a contract or lease to which the Debtor is a party that
 is subject to assumption or rejection under Section 365 of the Bankruptcy Code.

        55.    “Federal Judgment Rate” means the federal judgment rate in effect pursuant to 28
 U.S.C. § 1961 as of the Petition Date, compounded annually.

        56.    “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Case with
 the Bankruptcy Court or, with respect to the filing of a Proof of Claim, the Notice and Claims
 Agent.



 2
  Stifel, Nicolaus & Co, Inc., is the primary investment banking and broker-deal subsidiary of
 Stifel Financaili Corp, which uses the trade name “Miller Buckfire for its restructuring-focused
 investment bankruptcy practice. References to “Miller Buckfire” are to the legal entity Stifel,
 Nicholaus & Co., Inc.
                                                  9
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                   Document    Page 262 of 446



          57.       “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

         58.     “Final Order” means an order or judgment of the Bankruptcy Court (or any other
 court of competent jurisdiction) entered by the Clerk of the Bankruptcy Court (or such other court)
 on the docket in the Chapter 11 Case (or the docket of such other court), which has not been
 modified, amended, reversed, vacated or stayed and as to which (a) the time to appeal, petition for
 certiorari, or move for a new trial, stay, reargument or rehearing has expired and as to which no
 appeal, petition for certiorari or motion for new trial, stay, reargument or rehearing shall then be
 pending or (b) if an appeal, writ of certiorari, new trial, stay, reargument or rehearing thereof has
 been sought, such order or judgment of the Bankruptcy Court (or other court of competent
 jurisdiction) shall have been affirmed by the highest court to which such order was appealed, or
 certiorari shall have been denied, or a new trial, stay, reargument or rehearing shall have been
 denied or resulted in no modification of such order, and the time to take any further appeal, petition
 for certiorari or move for a new trial, stay, reargument or rehearing shall have expired, as a result
 of which such order shall have become final in accordance with Rule 8002 of the Bankruptcy
 Rules; provided, that, the possibility that a motion under Rule 60 of the Federal Rules of Civil
 Procedure, or any analogous rule under the Bankruptcy Rules, may be filed relating to such order,
 shall not cause an order not to be a Final Order.

        59.    “General Unsecured Claim” means any Claim other than an Administrative Claim,
 a Secured Claim, a Priority Tax Claim, an Other Priority Claim, a Senior Note Claim, or a Section
 510(b) Claim against the Debtor.

       60.    “Governmental Unit” has the meaning set forth in Section 101(27) of the
 Bankruptcy Code.

        61.      “Grier Members” means John D. Grier and M. Bridget Grier, individually, and John
 D. Grier, as Trustee of the Bridget Grier Spousal Support Trust dated December 18, 2012; Robert
 G. Lewis, as Trustee of the Hugh David Grier Trust dated October 15, 2012; and Robert G. Lewis,
 as Trustee of the Samuel Joseph Grier Trust dated October 15, 2012.

        62.    “Grier Member Claims” means any Claim of the Grier Members against the
 Debtor, including but not limited to any Claims or rights arising under the Crimson LLC
 Agreement.

        63.     “Holder” means an Entity holding a Claim against or an Interest in the Debtor; for
 the avoidance of doubt when the term “Holder” is used with respect to an Interest in Debtor, it
 shall mean the record holder and not any potential beneficial holders.

        64.     “Impaired” means, with respect to any Class of Claims or Interests, a Class of
 Claims or Interests that is impaired within the meaning of Section 1124 of the Bankruptcy Code.

         65.      “Indemnification Provision” means the Debtor’s existing and future
 indemnification obligations pursuant to the Debtor’s bylaws, operating agreement, other formation
 documents, board resolutions, management or indemnification agreements, employment contracts,
 or otherwise providing a basis for any obligation of the Debtor to indemnify, defend, reimburse, or
 limit the liability of, or to advances fees and expenses to, any of the Debtor’s current directors,
 officers, equity holders, managers, members, employees, accountants, investment bankers,

                                                  10
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55             Desc Main
                                   Document    Page 263 of 446



 attorneys, other professionals, and professionals of the Debtor, and such current directors’,
 officers’, and managers’ respective Affiliates, each of the foregoing solely in their capacity as
 such. For the avoidance of doubt, “current” refers to covered Entities that serve as of the Petition
 Date, regardless of whether such Entities cease serving in such capacities thereafter.

         66.     “Interest” means any equity security as such term is defined in Section 101(16) of
 the Bankruptcy Code, including all issued, unissued, authorized, or outstanding shares of capital
 stock and any other common stock, preferred stock, limited liability company interests, and any
 other equity, ownership, or profit interests of an Entity, including all options, warrants, rights,
 stock appreciation rights, phantom stock rights, restricted stock units, redemption rights,
 repurchase rights, convertible (provided, however, that for the avoidance of doubt, this definition
 does not include the Senior Notes), exercisable, or exchangeable securities, or other agreements,
 arrangements, or commitments of any character relating to, or whose value is related to, any such
 interest or other ownership interest in an Entity whether or not arising under or in connection with
 any employment agreement and whether or not certificated, transferable, preferred, common,
 voting, or denominated “stock” or a similar security.

          67.       “Lien” means a lien as defined in Section 101(37) of the Bankruptcy Code.

        68.    “Management Incentive Plan” or “MIP” means the CorEnergy Infrastructure Trust,
 Inc. 2024 Omnibus Incentive Plan, to be set forth in the Plan Supplement, for certain participating
 employees of the Reorganized Debtor and its Affiliates, to be established and implemented in
 accordance with Article 4.06 of the Plan, which shall provide for the terms and conditions under
 which the MIP Pool may be allowed and distributed.

          69.       “MIP Pool” has the meaning set forth in Article 4.06 hereof.

         70.     “New Board” means the new board of directors that will replace the board of
 directors at CorEnergy as of the Effective Date and the identities of such directors or managers, as
 applicable, shall be set forth in the Plan Supplement to the extent known as of the Plan Supplement
 Filing Date, and a process for selection of any remaining directors or managers shall be disclosed
 no later than the commencement of the Combined Hearing; provided, however, that the identities
 of any such remaining directors or managers shall be disclosed no later than the Effective Date.

          71.       “New Common Stock” means Common Stock in the Reorganized Debtor.

         72.     “New Governance Documents” means any document that may be included with the
 Plan Supplement with respect to the governance of the Reorganized Debtor following the
 consummation of the Restructuring Transactions, and any certificate of formation, charter,
 certificate or article of incorporation, bylaws, operating agreements, limited liability company
 agreements or other applicable organization documents or charter documents and other
 shareholder documents, in each case, in accordance with the Restructuring Support Agreement.

         73.    “Notice and Claims Agent” means Stretto, Inc., the noticing, claims, and solicitation
 agent retained by the Debtor in the Chapter 11 Case.




                                                    11
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55            Desc Main
                                   Document    Page 264 of 446



         74.    “Other Priority Claim” means any Claim other than an Administrative Claim or a
 Priority Tax Claim entitled to priority in right of payment under Section 507(a) of the Bankruptcy
 Code.

          75.       “Person” means a person as defined in Section 101(41) of the Bankruptcy Code.

         76.  “Petition Date” means the date on which the Debtor filed its voluntary petition for
 relief commencing its Chapter 11 Case.

        77.   “Plan” means this chapter 11 plan, including all appendices, exhibits, schedules
 and supplements hereto (including the Plan Supplement and all appendices, exhibits, schedules
 and supplements thereto), as it may be amended, modified, or supplemented from time to time in
 accordance with the terms hereof, the Confirmation Order and the Restructuring Support
 Agreement, and in each case, subject to the consent rights set forth in Article 1.08 hereof.

         78.    “Plan Supplement” means the compilation of documents and forms of documents,
 schedules, and exhibits to the Plan, to be filed no later than the Plan Supplement Filing Date, as
 amended, modified or supplemented from time to time in accordance with the terms hereof and in
 accordance with the Bankruptcy Code, the Bankruptcy Rules, the Confirmation Order and the
 Restructuring Support Agreement, including, but not limited to the following documents: the
 Takeback Debt Documents, the Revolving Credit Facility Documents, the MIP, the New Governance
 Documents, the Shareholder Agreement, the identification of the New Board, to the extent known as
 of the Plan Supplement Filing Date, the identification of the Effective Date Cash, the Schedule of
 Rejected Executory Contracts and Unexpired Leases. The Plan Supplement shall be in accordance
 with the Restructuring Support Agreement. Through the Effective Date, the Debtor shall have the
 right to amend the Plan Supplement and any schedules, exhibits, or amendments thereto, in
 accordance with the terms of (a) the Plan, (b) the Restructuring Support Agreement, and (c) the
 Confirmation Order, and consistent with the terms and conditions provided for in the the
 Restructuring Support Agreement.

        79.    “Plan Supplement Filing Date” means the date that is four (4) days before the
 Voting Deadline.

        80.    “Preferred Stock” means the 7.375% Series A Cumulative Redeemable Preferred
 Stock of CorEnergy.

         81.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in Section 507(a)(8) of the Bankruptcy Code.

        82.      “Pro Rata” means the proportion that an Allowed Claim or Interest in a particular
 Class bears to the aggregate amount of Allowed Claims or Interests in that respective Class.

        83.    “Professional Fee Claim” means all Administrative Claims for the compensation
 of Retained Professionals and the reimbursement of expenses incurred by such Retained
 Professionals through and including the Confirmation Date under Sections 328, 330, 331,
 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code to the extent such fees and
 expenses have not been paid pursuant to an order of the Bankruptcy Court.


                                                   12
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 265 of 446



          84.       “Professionals” means the Creditors’ Professionals and the Estate’s Professional.

          85.       “Proof of Claim” means a proof of Claim Filed against the Debtor in the Chapter 11
 Case.

        86.      “Reinstate,” “Reinstated,” or “Reinstatement” means, leaving a Claim Unimpaired
 under the Plan.

         87.     “Related Party” means, each of, and in each case in its capacity as such, current
 and former directors, managers, officers, investment committee members, special or other
 committee members, equity holders (regardless of whether such interests are held directly or
 indirectly), affiliated investment funds or investment vehicles, managed accounts or funds,
 predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited partners,
 general partners, principals, members, management companies, fund advisors or managers,
 employees, agents, trustees, advisory board members, financial advisors, attorneys (including any
 other attorneys or professionals retained by any current or former director or special committee
 member or manager in his or her capacity as director or manager of an Entity), accountants,
 investment bankers, consultants, representatives, and other professionals and advisors and any
 such Person’s or Entity’s respective heirs, executors, estates, and nominees and, solely with respect
 to the Debtor, the former directors, managers, officers of its Affiliates.

         88.     “Released Party” means collectively, and in each case in its capacity as such: (a)
 the Debtor; (b) the Reorganized Debtor; (c) the Ad Hoc Noteholder Group and its members; (d)
 the Trustee; and (e) each Related Party of each Entity in clause (a) through (d); provided, however,
 that notwithstanding the foregoing, any Holder of a Claim or Interest that is not a Releasing Party
 shall not be a “Released Party.”

         89.      “Releasing Party” means each of the following, solely in its capacity as such: (a) the
 Debtor; (b) the Reorganized Debtor; (c) the Affiliates; (d) the Estate; (e) the Ad Hoc Noteholder
 Group; (f) the Professionals; (g) all Holders of Claims or Interests; (h) each Related Party of each
 Entity in clause (a) through (g).

         90.    “Reorganized Debtor” means the Debtor as reorganized pursuant to and under the
 Plan, or any successor thereto, by merger, amalgamation, consolidation, or otherwise, on or after
 the Effective Date in accordance with the Restructuring Transactions.

         91.    “Restructuring Fees and Expenses” means all reasonable and documented fees,
 costs and expenses of each of the Creditors’ Professionals, in connection with the negotiation,
 formulation, preparation, execution, delivery, implementation, consummation and/or enforcement
 of the Restructuring Support Agreement and/or any of the other Definitive Documents, and/or the
 transactions contemplated hereby or thereby, and/or any amendments, waivers, consents,
 supplements or other modifications to any of the foregoing, including, but not limited to fees and
 expenses incurred in connection with the Chapter 11 Case, and, to the extent applicable, consistent
 with any engagement letters entered into with the Company.

         92.    “Restructuring Support Agreement” means that certain binding Restructuring
 Support Agreement dated as of February 25, 2024, and all exhibits, schedules and attachments
 thereto, by and among the Debtor and the Ad Hoc Noteholder Group and any subsequent Entity

                                                    13
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 266 of 446



 that becomes a party thereto pursuant to the terms thereof, attached as Exhibit B to the Disclosure
 Statement.

          93.       “Restructuring Transactions” has the meaning set forth in Article 4.02 of the Plan.

        94.     “Retained Professional” means an Entity: (a) employed in the Chapter 11 Case
 pursuant to a Final Order in accordance with Sections 327, 363, or 1103 of the Bankruptcy Code
 and to be compensated for services rendered prior to or on the Confirmation Date pursuant to (i)
 Sections 327, 328, 329, 330, or 331 of the Bankruptcy Code or (ii) an order entered by the
 Bankruptcy Court authorizing such retention, or (b) for which compensation and reimbursement
 has been Allowed by the Bankruptcy Court pursuant to Section 503(b)(4) of the Bankruptcy Code.

         95.     “Revolving Credit Facility” means the revolving loan with a maximum borrowing
 amount of $10 million made by certain Holders (identified in the Revolving Credit Facility
 Documents) of the Senior Notes to CorEnergy on the terms and conditions set forth in the term
 sheet attached hereto as Exhibit A. The Revolving Credit Facility shall be senior following the
 occurrence of one or more events of default, as more fully set forth in the governing documents
 thereto to the Takeback Debt (as defined below) and may be included as a part of the Takeback
 Debt Documents.

        96.    “Revolving Credit Facility Documents” means all agreements, documents, and
 instruments delivered or to be entered into in connection with the Revolving Credit Facility.

         97.        “Revolving Credit Facility Loans” means loans issued under the Revolving Credit
 Facility.

         98.     “Schedule of Rejected Executory Contracts and Unexpired Leases” means a
 schedule (including any amendments or modifications thereto) that will be Filed as part of the Plan
 Supplement and will include a list of all Executory Contracts and Unexpired Leases that the Debtor
 will reject pursuant to the Plan, as amended by the Debtor from time to time in accordance with
 the Plan, if any, subject to the consent rights set forth in Article 1.08 hereof.

          99.       “SEC” means the United States Securities and Exchange Commission.

         100. “Section 510(b) Claim” means any Claim against the Debtor: (a) arising from the
 rescission of a purchase or sale of a Security of the Debtor or an affiliate of the Debtor; (b) for
 damages arising from the purchase or sale of such a Security; (c) for reimbursement or contribution
 Allowed under Section 502 of the Bankruptcy Code on account of such a Claim; or (d) otherwise
 subordinated pursuant to Section 510(b) of the Bankruptcy Code.

         101. “Secured” means any Claim to the extent (a) secured by a lien on property in which
 the Debtor has an interest, which lien is valid, perfected, and enforceable pursuant to applicable
 law or by reason of a Final Order of the Bankruptcy Court, or that is subject to setoff pursuant to
 Section 553 of the Bankruptcy Code, to the extent of the value of the interest of the Holder of such
 Claim in the Debtor’s interest in such property or to the extent of the amount subject to setoff, as
 applicable, as determined pursuant to Section 506(a) and any other applicable provision of the
 Bankruptcy Code or (b) allowed, pursuant to the Plan or a Final Order of the Bankruptcy Court,
 as a secured Claim.

                                                    14
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                   Document    Page 267 of 446



        102. “Secured Tax Claim” means any Secured Claim that, absent its secured status,
 would be entitled to priority in right of payment under Section 507(a)(8) of the Bankruptcy Code
 (determined irrespective of time limitations), including any related Secured Claim for penalties.

        103. “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a-
 77aa, or any similar federal, state, or local law.

          104.      “Security” has the meaning set forth in Section 101(49)of the Bankruptcy Code.

        105. “Senior Note Payment” means $23.6 million minus (ii) the negative difference, if
 any between the Effective Date Cash less $12 million.

        106. “Senior Notes” means the 5.875% Convertible Senior Notes due 2025 issued by
 CorEnergy pursuant to the Bond Indenture.

          107.      “Senior Noteholder” means the Holder of one or more Senior Notes.

         108.       “Servicer” means an agent or other authorized representative of Holders of Claims
 or Interests.

        109. “Shareholder Agreement” means the agreement among certain Holders of New
 Common Stock consistent with the terms and conditions set forth in the term sheet attached hereto
 as Exhibit B.

        110. “Solicitation Materials” means all documents, ballots, forms, and other materials
 provided in connection with the solicitation of votes on the Plan pursuant to Sections 1125 and
 1126 of the Bankruptcy Code (other than the Disclosure Statement).

        111. “Statutory Committee” means any official committee of unsecured creditors, equity
 holders, or otherwise appointed in the Chapter 11 Case by the U.S. Trustee.

         112. “Subsidiary” means, with respect to any Person, any corporation, limited liability
 company, partnership, joint venture or other legal entity as to which such Person (either alone or
 through or together with any other Subsidiary), (a) owns, directly or indirectly, more than fifty
 percent (50%) of the stock or other equity interests, (b) has the power to elect a majority of the
 board of directors or similar governing body or (c) has the power to direct the business and policies.
 For the purposes of this definition, Crimson and its subsidiaries are subsidiaries of the Debtor.

         113. “Takeback Debt” means a loan made by the Holders of the Senior Notes to
 CorEnergy on the Effective Date on the terms and conditions set forth in the term sheet attached
 hereto as Exhibit A.

         114. “Takeback Debt Principal Amount” means the term loan facility, which comprises
 the exchange of the Senior Notes for: (a) an amount equal to $45 million; provided, however, that
 if the amount of the Senior Note Payment is less than 20% of the Senior Notes Claim, then the
 Takeback Debt Principal Amount shall be increased by the difference between 20% of the Senior
 Notes Claim less the Senior Note Payment.


                                                   15
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 268 of 446



        115. “Takeback Debt Debt Documents” means, collectively, the loan agreement by and
 among the Reorganized Debtor and the lender parties thereto and all other agreements, documents,
 and instruments delivered or entered into in connection therewith.

          116.      “Tax Code” means the Internal Revenue Code of 1986, as amended from time to
 time.

          117.      “Third-Party Release” means the releases set forth in Article 8.03 hereof.

        118. “Trustee” means U.S. Bank Trust Company, National Association, in its capacity as
 successor indenture trustee under the Bond Indenture.

          119.      “U.S. Trustee” means the Office of the United States Trustee for Region 13.

         120. “Unclaimed Distribution” means any distribution under the Plan on account of an
 Allowed Claim to a Holder that has not: (a) accepted a particular distribution; (b) given notice to
 the Reorganized Debtor of an intent to accept a particular distribution; (c) responded to the
 Debtor’s or Reorganized Debtor’s requests for information necessary to facilitate a particular
 distribution; or (d) taken any other action necessary to facilitate such distribution.

        121. “Unexpired Lease” means a lease of nonresidential real property to which the
 Debtor is a party that is subject to assumption or rejection under Section 365 of the Bankruptcy
 Code.

         122. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class
 consisting of Claims or Interests that are not impaired within the meaning of Section 1124 of the
 Bankruptcy Code.

        123. “Voting Deadline” means the date and time by which the Notice and Claims Agent
 must actually receive the Ballots, as set forth on the Ballots.

 1.02     Rules of Interpretation

         For purposes of the Plan: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the
 masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter gender;
 (b) unless otherwise specified, any reference herein to a contract, lease, instrument, release,
 indenture, or other agreement or document being in a particular form or on particular terms and
 conditions means that such document shall be substantially in such form or substantially on such
 terms and conditions; (c) unless otherwise specified, any reference herein to an existing document,
 schedule, or exhibit, shall mean such document, schedule, or exhibit, as it may have been or may
 be amended, modified, or supplemented; (d) unless otherwise specified, all references herein to
 “Articles” and “Sections” are references to Articles and Sections, respectively, hereof or hereto;
 (e) the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to any
 particular portion of the Plan; (f) captions and headings to Articles and Sections are inserted for
 convenience of reference only and are not intended to be a part of or to affect the interpretation of
 the Plan; (g) unless otherwise specified herein, the rules of construction set forth in Section 102 of
 the Bankruptcy Code shall apply; (h) any term used in capitalized form herein that is not otherwise

                                                    16
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 269 of 446



 defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning
 assigned to such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable; (i) references
 to docket numbers of documents Filed in the Chapter 11 Case are references to the docket numbers
 under the Bankruptcy Court’s CM/ECF system; (j) references to statutes, regulations, orders, rules
 of court and the like shall mean as amended from time to time, and as applicable to the Chapter 11
 Case, unless otherwise stated; (k) any immaterial effectuating provisions may be interpreted by the
 Debtor or the Reorganized Debtor in such a manner that is consistent with the overall purpose and
 intent of the Plan and without further notice to or action, order, or approval of the Bankruptcy Court
 or any other Entity; and (l) the words “include” and “including,” and variations thereof, shall not
 be deemed to be terms of limitation, and shall be deemed to be followed by the words “without
 limitation.”

 1.03     Computation of Time

         Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
 shall apply in computing any period of time prescribed or allowed herein. If the date on which a
 transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then such
 transaction shall instead occur on the next succeeding Business Day.

 1.04     Governing Law

         Except to the extent a rule of law or procedure is supplied by federal law (including the
 Bankruptcy Code or Bankruptcy Rules), and subject to the provisions of any contract, lease,
 instrument, release, indenture, or other agreement or document entered into expressly in
 connection herewith, the rights and obligations arising hereunder shall be governed by, and
 construed and enforced in accordance with, the laws of the State of New York, without giving
 effect to conflict of laws principles; provided that corporate governance matters relating to the
 Debtor shall be governed by the laws of the state of incorporation of the Debtor or Reorganized
 Debtor, as applicable.

 1.05     Reference to Monetary Figures

       All references in the Plan to monetary figures refer to currency of the United States of
 America, unless otherwise expressly provided.

 1.06     Reference to the Debtor or the Reorganized Debtor

        Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
 to the Debtor or to the Reorganized Debtor mean the Debtor and the Reorganized Debtor, as
 applicable, to the extent the context requires.

 1.07     Controlling Document

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms
 of the Plan shall control. In the event of an inconsistency between the Plan and any document
 included in the Plan Supplement, or any other Definitive Document, the terms of the applicable
 document included in the Plan Supplement or other Definitive Document shall control. In the event
 of an inconsistency between the Plan, any document included in the Plan Supplement, or other

                                                  17
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                  Document    Page 270 of 446



 Definitive Document, on the one hand, and the Confirmation Order, on the other hand, the
 Confirmation Order shall control, unless provided otherwise.

 1.08     Consent Rights

         Notwithstanding anything herein to the contrary, any and all consent rights of the parties to
 the Restructuring Support Agreement to the extent set forth in the Restructuring Support
 Agreement (without enhancement or expansion thereof) with respect to the form and substance of
 the Plan, all exhibits to the Plan, the Plan Supplement, the Disclosure Statement, and all other
 Definitive Documents, including any amendments, restatements, supplements, or other
 modifications to such agreements and documents, and any consents, waivers, or other deviations
 under or from any such documents, shall be incorporated herein by this reference (including to the
 applicable definitions in Article 1.01 hereof) and fully enforceable as if stated in full herein. In case
 of a conflict between the consent rights of the applicable parties that are set forth in the Restructuring
 Support Agreement and those parties’ consent rights that are set forth in the Plan or the Plan
 Supplement, unless otherwise set forth in this Plan, the consent rights in the Restructuring Support
 Agreement shall control. Any and all consent rights referenced in the Plan or the Restructuring
 Support Agreement, to the extent given, not given, or otherwise withheld, may be communicated by
 email transmission by counsel.

                                      ARTICLE II
                          ADMINISTRATIVE AND PRIORITY CLAIMS

 2.01     Administrative and Priority Claims

         In accordance with Section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
 (including Professional Fee Claims) and Priority Tax Claims have not been classified and thus are
 excluded from the Classes of Claims and Interests set forth in Article III of the Plan.

          (a)       Administrative Claims

         Except to the extent that a Holder of an Allowed Administrative Claim agrees to a less
 favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each Allowed Administrative Claim, each Holder of an Allowed Administrative
 Claim will receive an amount of Cash equal to the amount of such Allowed Administrative Claim in
 accordance with the following: (a) if an Administrative Claim is Allowed on or prior to the
 Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not then
 due, when such Allowed Administrative Claim is due or as soon as reasonably practicable
 thereafter); (b) if such Administrative Claim is not Allowed as of the Effective Date, no later than
 30 days after the date on which an order Allowing such Administrative Claim becomes a Final
 Order, or as soon as reasonably practicable thereafter; (c) if such Allowed Administrative Claim
 is based on liabilities incurred by the Debtor in the ordinary course of its business after the Petition
 Date in accordance with the terms and conditions of the particular transaction giving rise to such
 Allowed Administrative Claim without any further action by the Holders of such Allowed
 Administrative Claim; (d) at such time and upon such terms as may be agreed upon by such Holder
 and the Debtor or the Reorganized Debtor, as applicable; or (e) at such time and upon such terms
 as set forth in a Final Order of the Bankruptcy Court.


                                                    18
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                                  Document    Page 271 of 446



          (b)       Administrative Claims Bar Date

         All requests for payment of an Administrative Claim (other than Professional Fee Claims)
 that accrued on or before the Effective Date that were not otherwise accrued in the ordinary course
 of business must be filed with the Bankruptcy Court or Notice and Claims Agent, as applicable,
 and served on the Debtor and the Ad Hoc Noteholder Group no later than the Administrative
 Claims Bar Date. Holders of Administrative Claims (other than Professional Fee Claims) that are
 required to, but do not, file and serve a request for payment of such Administrative Claims by the
 Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from asserting
 such Administrative Claims against the Debtor or its property and such Administrative Claims
 shall be deemed discharged as of the Effective Date.

         The Reorganized Debtor, in its sole and absolute discretion, may settle Administrative
 Claims in the ordinary course of business without further Bankruptcy Court approval. The
 Reorganized Debtor may also choose to object to any Administrative Claim no later than 90 days
 after the Administrative Claims Bar Date, except as otherwise ordered by the Court, subject to
 extensions by the Bankruptcy Court upon motion of the Debtor or Reorganized Debtor, as
 applicable, or agreement in writing of the parties. Unless the Debtor or the Reorganized Debtor
 object to a timely filed and properly served Administrative Claim, such Administrative Claim will
 be deemed Allowed in the amount requested. In the event that the Debtor or the Reorganized
 Debtor object to an Administrative Claim, the parties may confer to try to reach a settlement and,
 failing that, the Bankruptcy Court will determine whether such Administrative Claim should be
 Allowed and, if so, in what amount.

 2.02     Professional Fee Claims

          (a)       Final Fee Applications

         All final requests for Professional Fee Claims incurred during the period from the Petition
 Date through the Confirmation Date shall be Filed no later than forty-five (45) calendar days after
 the Effective Date. After notice and the opportunity for a hearing in accordance with the procedures
 established by the Bankruptcy Code and prior Bankruptcy Court orders, the Allowed amounts of
 such Professional Fee Claims shall be determined by the Bankruptcy Court and paid in Cash in
 full. For the avoidance of doubt, the Restructuring Fees and Expenses shall not be considered
 Professional Fee Claims, and any such amounts shall be paid in accordance with Article 2.03
 hereof, the Restructuring Support Agreement, and the Plan, as applicable.

          (b)       Post-Confirmation Date Fees and Expenses

         Except as otherwise specifically provided in the Plan or the Confirmation Order, from on
 and after the Confirmation Date, the Reorganized Debtor shall pay in Cash the reasonable and
 documented legal fees and expenses incurred by the Debtor or the Reorganized Debtor in the
 ordinary course of business and without any further notice to or action, order or approval of the
 Bankruptcy Court. Upon the Confirmation Date, any requirement that Retained Professionals
 comply with Sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
 compensation for services rendered after such date shall terminate, and the Reorganized Debtor
 may employ and pay any Retained Professional in the ordinary course of business without any
 further notice to or action, order, or approval of the Bankruptcy Court.

                                                 19
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                  Document    Page 272 of 446



          (c)       Substantial Contribution Compensation and Expenses

        Except as otherwise specifically provided in the Plan, any Entity that requests
 compensation or expense reimbursement for making a substantial contribution in the Chapter 11
 Case pursuant to Sections 503(b)(3), (4), and (5) of the Bankruptcy Code must file an application
 and serve such application on counsel for the Debtor or Reorganized Debtor, as applicable, the
 Ad Hoc Noteholder Group, and as otherwise required by the Bankruptcy Court, the Bankruptcy
 Code, and the Bankruptcy Rules on or before the Administrative Claims Bar Date.

 2.03     Restructuring Fees and Expenses

          The reasonable Restructuring Fees and Expenses incurred, or estimated to be incurred, up
 to and including the Effective Date shall be paid in full in Cash on the Effective Date (to the extent
 not previously paid during the course of the Chapter 11 Case on the dates on which such amounts
 would be required to be paid under the Restructuring Support Agreement) without the requirement
 to file a fee application with the Bankruptcy Court, without the need for time detail, and without
 any requirement for review or approval by the Bankruptcy Court. All Restructuring Fees and
 Expenses to be paid on the Effective Date shall be estimated prior to and as of the Effective Date
 and such estimates shall be delivered to the Debtor at least two (2) Business Days before the
 anticipated Effective Date; provided, that, such estimates shall not be considered to be admissions
 or limitations with respect to such Restructuring Fees and Expenses.

 2.04     Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less
 favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim
 shall be treated in accordance with the terms set forth in Section 1129(a)(9)(C) of the
 Bankruptcy Code and, for the avoidance of doubt, Holders of Allowed Priority Tax Claims will
 receive interest on such Allowed Priority Tax Claims after the Effective Date in accordance with
 Sections 511 and 1129(a)(9)(C) of the Bankruptcy Code. To the extent any Allowed Priority Tax
 Claim is not due and owing on the Effective Date, such Claim shall be paid in accordance with the
 terms of any agreement between the Reorganized Debtor and the Holder of such Claim, or as may
 be due and payable under applicable non-bankruptcy law, or in the ordinary course of business.

 2.05     Statutory Fees

         All fees due and payable pursuant to Section 1930 of Title 28 of the U.S. Code prior to the
 Effective Date shall be paid by the Debtor in full on the Effective Date. After the Effective Date,
 the Reorganized Debtor shall pay any and all such fees when due and payable, and shall File with
 the Bankruptcy Court quarterly reports in a form reasonably acceptable to the U.S. Trustee. The
 Debtor shall remain obligated to file post-confirmation quarterly reports and pay quarterly fees to
 the U.S. Trustee until the earliest date upon which the Chapter 11 Case is closed, dismissed, or
 converted to a case under chapter 7 of the Bankruptcy Code.




                                                  20
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                  Document    Page 273 of 446



                             ARTICLE III
    CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

 3.01     Classification of Claims and Interests

         The Plan is being proposed by the Debtor within the meaning of Section 1121 of the
 Bankruptcy Code. Except for the Claims addressed in Article II of the Plan, all Claims and Interests
 are classified in the Classes set forth below in accordance with Section 1122 of the Bankruptcy
 Code. In accordance with Section 1123(a)(1) of the Bankruptcy Code, the Debtor has not classified
 Administrative Claims, Professional Fee Claims, and Priority Tax Claims, as described in Article
 II.

         A Claim or an Interest is classified in a particular Class only to the extent that the Claim or
 Interest qualifies within the description of that Class and is classified in other Classes to the extent
 that any portion of the Claim or Interest qualifies within the description of such other Classes. A
 Claim or Interest also is classified in a particular Class for the purpose of receiving distributions
 under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that
 Class and has not been paid, released, or otherwise satisfied or disallowed by Final Order prior to
 the Effective Date. Any Class that does not contain any Allowed Claims or Allowed Interests with
 respect to the Debtor will be treated in accordance with Article 3.05 below.

          Below is a chart assigning each Class a number for purposes of identifying each separate
 Class:

                  Summary of Classification and Treatment of Claims and Interests

   Class Description                                    Status                 Entitled to Vote

      1    Secured Claims                               Unimpaired             No (deemed to accept)

      2    Other Priority Claims                        Unimpaired             No (deemed to accept)

      3    General Unsecured Claims                     Unimpaired             No (deemed to accept)

      4    Grier Member Claims                          Impaired               Yes

      5    Senior Notes                                 Impaired               Yes

      6    Preferred Stock                              Impaired               Yes

      7    Common Stock                                 Impaired               No (deemed to reject)


 3.02     Treatment of Classes of Claims and Interests

          Except to the extent that the Debtor and a Holder of an Allowed Claim or Interest agrees
 to less favorable treatment, such Holder shall receive under the Plan the treatment described below
 in full and final satisfaction, compromise, settlement, release, and discharge of, and in exchange
                                                   21
 HB: 4866-7395-7801.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                    Document    Page 274 of 446



 for, such Holder’s Allowed Claim or Interest. Unless otherwise indicated, the Holder of an Allowed
 Claim or Interest, as applicable, shall receive such treatment on the Effective Date or as soon as
 reasonably practicable thereafter.

          (a)       Class 1: Secured Claims

                    (i)     Classification: Class 1 consists of Secured Claims.

                    (ii)    Treatment: On the Effective Date, or as soon as reasonably practicable
                            thereafter, in full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for, such Allowed Secured Claim, each
                            Holder thereof shall receive, at the election of the Debtor or Reorganized
                            Debtor, as applicable: (a) payment in full in Cash; (b) the collateral securing
                            its Allowed Secured Claim; (c) Reinstatement of its Allowed Secured
                            Claim; or (d) such other treatment rendering its Allowed Secured Claim
                            Unimpaired in accordance with Section 1124 of the Bankruptcy Code.

                    (iii)   Impairment and Voting: Class 1 is Unimpaired. Holders of Claims in Class
                            1 are conclusively presumed to have accepted the Plan pursuant to Section
                            1126(f) of the Bankruptcy Code, and accordingly, are not entitled to vote to
                            accept or reject the Plan.

          (b)       Class 2: Other Priority Claims

                    (i)     Classification: Class 2 consists of Other Priority Claims.

                    (ii)    Treatment: On the Effective Date, or as soon as reasonably practicable
                            thereafter, in full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for, such Allowed Other Priority Claim,
                            each Holder thereof shall receive, at the election of the Debtor or
                            Reorganized Debtor, as applicable, payment in full in Cash or otherwise
                            receive treatment consistent with the provisions of Section 1129(a)(9) of the
                            Bankruptcy Code, either (a) on the Effective Date or (b) on the date due in
                            the ordinary course of business in accordance with the terms and conditions
                            of the particular transaction giving rise to such Allowed Other Priority
                            Claim.

                    (iii)   Impairment and Voting: Class 2 is Unimpaired. Holders of Claims in Class
                            2 are conclusively presumed to have accepted the Plan pursuant to Section
                            1126(f) of the Bankruptcy Code, and accordingly, are not entitled to vote to
                            accept or reject the Plan.

          (c)       Class 3: General Unsecured Claims

                    (i)     Classification: Class 3 consists of General Unsecured Claims.

                    (ii)    Treatment: In full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for, such Allowed General Unsecured
                            Claim, each Holder thereof shall receive, at the election of the Debtor or
                                                      22
 HB: 4866-7395-7801.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                      Document    Page 275 of 446



                            Reorganized Debtor, as applicable, Payment in full in Cash on account of
                            such Allowed General Unsecured Claim either (a) on the Effective Date or
                            (b) on the date due in the ordinary course of business in accordance with the
                            terms and conditions of the particular transaction giving rise to such
                            Allowed General Unsecured Claim.

                    (iii)   Impairment and Voting: Class 3 is Unimpaired. Holders of Claims in Class
                            3 are conclusively presumed to have accepted the Plan pursuant to Section
                            1126(f) of the Bankruptcy Code, and accordingly, are not entitled to vote to
                            accept or reject the Plan.

          (d)       Class 4: Grier Member Claims

                    (i)     Classification: Class 4 consists of the Grier Member Claims.

                    (ii)    Allowance: Each Grier Member Claim shall be deemed Allowed in the
                            amount of $1.00 for purposes of voting and confirmation, representing any
                            Claim of the Grier Members against the Debtor, including but not limited
                            to any Claims or rights arising under the Crimson LLC Agreement. The
                            Grier Member Claims constitutes legal, valid, and binding obligation of the
                            Debtor, and no offsets, defenses, or counterclaims to, or claims or causes of
                            action that could reduce the amount or ranking of, the Grier Member Claims
                            exists. No portion of the Grier Member Claims is subject to set-off,
                            avoidance, impairment, disallowance, recharacterization, reduction,
                            subordination (whether equitable, contractual, or otherwise), counterclaims,
                            recoupment, cross-claims, defenses, or any other challenges under or
                            pursuant to the Bankruptcy Code or any other applicable domestic or
                            foreign law or regulation by any person or entity.

                    (iii)   Treatment: Because the equity units of the Grier Members in Crimson (the
                            Class A-1 Crimson Units, the Class A-2 Crimson Units, and the Class A-3
                            Crimson Units) track the dividend and liquidation rights of the Preferred
                            Stock and the Common Stock, the Grier Member Claims will be treated as
                            follows:

                            a)      With respect to the Class A-1 Crimson Units, the Grier Members’
                                    right to exchange their Class A-1 Crimson Units with Preferred
                                    Stock will be substituted with the Grier Member’s right to exchange
                                    their Class A-1 Crimson Units with 2.79% of the New Common
                                    Stock, subject to dilution by the Management Incentive Plan and any
                                    tracking dividend or liquidation distribution rights that tracked to the
                                    Preferred Stock shall be exchanged for tracking to the 2.79% of the
                                    New Common Stock; provided, however, that if the Senior Notes
                                    receive Excess Effective Date Cash, then the percentage shall
                                    increase based on a ratio of 7.59 basis points to every $1 million in
                                    Excess Effective Date Cash (for the avoidance of doubt the
                                    incremental increase to the percentage described herein when
                                    combined with the incremental increase to the holders of Preferred
                                                      23
 HB: 4866-7395-7801.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                      Document    Page 276 of 446



                                    Stock shall total in the aggregate 30 basis points for every $1 million
                                    in Excess Effective Date Cash); and

                            b)      With respect to the Class A-2 and Class A-3 Crimson Units, the
                                    Grier Member’s right to exchange their Class A-2 and A-3 Crimson
                                    Units with Common Stock will be cancelled because the Common
                                    Stock is being cancelled pursuant to Article 4.12 of the Plan. The
                                    Class A-2 and A-3 Crimson Units shall not be cancelled, but the
                                    Grier Members shall no longer receive any tracking dividend or
                                    liquidation distribution on account of the Class A-2 and A-3
                                    Crimson Units and shall not be entitled to exchange the Class A-2
                                    and Class A-3 Crimson Units into New Common Stock.

                            c)      Notwithstanding any provision of the Plan to the contrary, the
                                    Crimson LLC Agreement shall be assumed as of the Effective Date.

                    (iv)    Impairment and Voting: Class 4 is Impaired. Holders of Claims in Class 4
                            are entitled to vote to accept or reject the Plan. Pursuant to the Restructuring
                            Support Agreement, the Grier Members have agreed to support the Plan,
                            subject to the fiduciaries duty of John Grier, as a member of the Board of
                            Directors of the Debtor, to withdraw his support for the Plan in certain
                            circumstances.

          (e)       Class 5: Senior Notes

                    (i)     Classification: Class 5 consists of Senior Notes.

                    (ii)    Allowance: Senior Notes shall be deemed Allowed in the aggregate amount
                            of $118,242,651, representing the principal amount outstanding under the
                            Bond Indenture, accrued and unpaid interest, and make whole premiums,
                            plus all other accrued and unpaid fees and other expenses payable under the
                            Bond Indenture. The Senior Notes constitute legal, valid, and binding
                            obligations of the Debtor, and no offsets, defenses, or counterclaims to, or
                            claims or causes of action that could reduce the amount or ranking of, the
                            Senior Notes exist. No portion of the Senior Notes is subject to set-off,
                            avoidance, impairment, disallowance, recharacterization, reduction,
                            subordination (whether equitable, contractual, or otherwise), counterclaims,
                            recoupment, cross-claims, defenses, or any other challenges under or
                            pursuant to the Bankruptcy Code or any other applicable domestic or
                            foreign law or regulation by any person or entity.

                    (iii)   Treatment: Each Senior Noteholder (inclusive of accrued and unpaid
                            interest, accrued and unpaid fees and other expenses payable under the
                            Notes), on the Effective Date, or as soon as reasonably practicable
                            thereafter, in full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for their respective Senior Note, shall
                            receive:


                                                      24
 HB: 4866-7395-7801.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                     Document    Page 277 of 446



                           a)      Its Pro Rata share of the Senior Note Payment;

                           b)      Its Pro Rata share of the Takeback Debt Principal Amount;

                           c)      Its Pro Rata share of 88.96% of New Common Stock, subject to
                                   dilution by the Management Incentive Plan; provided, however, that
                                   if the Senior Notes receive Excess Effective Date Cash, then the
                                   percentage shall decrease based on a ratio of 30.0 basis points to
                                   every $1 million in Excess Effective Date Cash; and

                           d)      Its Pro Rata share of the Excess Effective Date Cash, if any.

                    (iv)   Impairment and Voting: Class 5 is Impaired. Holders of Senior Notes in
                           Class 5 are entitled to vote to accept or reject the Plan. If Class 5 votes to
                           reject the Plan, the Plan will be cancelled. Pursuant to the Restructuring
                           Support Agreement, Holders of 90% of the principal amount of the Senior
                           Notes have committed to support the Plan.

          (f)       Class 6: Preferred Stock

                    (i)    Classification: Class 6 consists of Preferred Stock.

                    (ii)   Treatment: On the Effective Date, or as soon as reasonably practicable
                           thereafter, in full and final satisfaction, compromise, settlement, release,
                           and discharge of, and in exchange for, such share of Preferred Stock, each
                           Holder of a Preferred Stock shall receive either:

                           a)      If Class 6 votes in favor of the Plan, such Holder’s Pro Rata share
                                   of 8.25% of New Common Stock, subject to dilution by the
                                   Management Incentive Plan; provided, however, that if the Senior
                                   Notes receive Excess Effective Date Cash, then the percentage shall
                                   increase based on a ratio of 22.41 basis points to every $1 million in
                                   Excess Effective Date Cash (for the avoidance of doubt the
                                   incremental increase to the percentage described herein when
                                   combined with the incremental increase to the holders of Grier
                                   Member Claims shall total in the aggregate 30 basis points for every
                                   $1 million in Excess Effective Date Cash); or

                           b)      If Class 6 rejects the Plan, on the Effective Date, or as soon as
                                   reasonably practicable thereafter, in full and final satisfaction,
                                   compromise, settlement, release, and discharge of, and in exchange
                                   for, such Allowed Preferred Stock, each Holder thereof shall receive
                                   Cash in the amount its Pro Rata share of the liquidation value of the
                                   Debtor as set forth on Exhibit D to the Disclosure Statement, which
                                   amount is estimated to be $0.00 and the Preferred Stock will be
                                   cancelled.



                                                     25
 HB: 4866-7395-7801.1
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                      Document    Page 278 of 446



                            c)      If Class 6 rejects the Plan, then the percentage of New Common
                                    Stock that would have been allocated to Preferred Stock will be split
                                    pro rata between Class 4 and Class 5. For the avoidance of doubt,
                                    with respect to Class 4, this allocation will only serve to increase the
                                    percentage allocation in the Class 4 treatment, it will not result in
                                    the issuance of any New Common Stock except to the extent
                                    provided in the Crimson LLC Agreement.

                    (iii)   Impairment and Voting: Class 6 is Impaired. Holders of Interests in Class
                            6 are entitled to vote to accept or reject the Plan.

          (g)       Class 7: Common Stock

                    (i)     Classification: Class 7 consists of Common Stock and, pursuant to § 510(b)
                            of the Bankruptcy Code, the Certain Crimson Employee Claims.

                    (ii)    Treatment: On the Effective Date, or as soon as reasonably practicable
                            thereafter, in full and final satisfaction, compromise, settlement, release,
                            and discharge of, and in exchange for, such Allowed Common Stock or
                            Allowed Crimson Employee Claims, each Holder thereof shall receive Cash
                            in the amount its Pro Rata share of the liquidation value of the Debtor as set
                            forth on Exhibit D to the Disclosure Statement, which amount is estimated
                            to be $0.00 and the Common Stock shall be cancelled.

                    (iii)   Impairment and Voting: Class 7 is Impaired. Holders of Interests in Class 7
                            are conclusively presumed to have rejected the Plan pursuant to Section
                            1126(g) of the Bankruptcy Code, and accordingly, are not entitled to vote
                            to accept or reject the Plan.

 3.03     Special Provisions Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtor’s
 or the Reorganized Debtor’s rights regarding any Unimpaired Claim, including all rights regarding
 legal and equitable defenses to, or setoffs or recoupments against, any such Claim.

 3.04     Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class thereof, is
 Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on
 or before the Confirmation Date.

 3.05     Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or
 Allowed Interest, or a Claim or Interest temporarily Allowed by the Bankruptcy Court in an
 amount greater than zero as of the date of the Combined Hearing, shall be considered vacant and
 deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for
 purposes of determining acceptance or rejection of the Plan by such Class pursuant to Section
 1129(a)(8) of the Bankruptcy Code.
                                                      26
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                  Document    Page 279 of 446



 3.06     Voting Classes; Presumed Acceptance by Non-Voting Classes

         If a Class contains Claims or Interests eligible to vote and no Holder of Claims or Interests
 eligible to vote in such Class votes to accept or reject the Plan, the Plan shall be presumed accepted
 by the Holders of such Claims or Interests in such Class.

 3.07     Acceptance by Impaired Classes

        An Impaired Class of Claims shall have accepted the Plan if, not counting the vote of any
 Holder designated under Section 1126(e) of the Bankruptcy Code or any insider under Section
 101(31) of the Bankruptcy Code, (a) the Holders of at least two-thirds in amount of the Allowed
 Claims actually voting in the Class have voted to accept the Plan, and (b) the Holders of more than
 one-half in number of the Allowed Claims actually voting in the Class have voted to accept the
 Plan.

         An Impaired Class of Interests shall have accepted the Plan if, not counting the vote of any
 Holder designated under Section 1126(e) of the Bankruptcy Code or any insider under Section
 101(31) of the Bankruptcy Code, (a) the Holders of at least two-thirds in amount of the Allowed
 Interests actually voting in the Class have voted to accept the Plan.

 3.08     Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation
 by acceptance of this Plan by an Impaired Class. The Debtor shall seek Confirmation of the Plan
 pursuant to Section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims
 or Interests. The Debtor reserves the right to modify the Plan in accordance with Article X hereof
 (subject to the terms of the Restructuring Support Agreement) to the extent that Confirmation
 pursuant to Section 1129(b) of the Bankruptcy Code requires modification, including by (a)
 modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims
 or Interests Unimpaired, Impaired or otherwise to the extent permitted by the Bankruptcy Code and
 the Bankruptcy Rules and (b) withdrawing the Plan at any time before the Confirmation Date.

                                         ARTICLE IV
                        PROVISIONS FOR IMPLEMENTATION OF THE PLAN

 4.01     General Settlement of Claims and Interests

         Pursuant to Sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and
 in consideration for the classification, distributions, releases, and other benefits provided under the
 Plan and Confirmation Order, upon the Effective Date, the provisions of the Plan and Confirmation
 Order shall constitute an integrated and global good faith compromise and settlement of all Claims
 and Interests and controversies resolved pursuant to the Plan relating to the contractual, legal, and
 subordination rights of Holders with respect to such Allowed Claims and Interests or any
 distribution to be made on account of such Allowed Claim or Interest. The entry of the
 Confirmation Order shall constitute the Bankruptcy Court’s integrated and global approval of the
 compromise or settlement of all such Claims, Interests, and controversies, as well as a finding by the
 Bankruptcy Court that such compromise, settlement, and transactions are in the best interests of the
 Debtor, its Estate, and Holders of Claims and Interests and is fair, equitable, and is within the range

                                                   27
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                Document    Page 280 of 446



 of reasonableness. Subject to this Article IV, all distributions made to Holders of Allowed Claims
 and Allowed Interests in any Class are intended to be and shall be final.

 4.02     Restructuring Transactions

         On or about the Effective Date, the Debtor and/or the Reorganized Debtor, as the case may
 be, shall take all actions necessary or appropriate to effectuate the transactions described in,
 approved by, contemplated by, or necessary and/or appropriate to effectuate the Restructuring
 Support Agreement and the Plan (collectively, the “Restructuring Transactions”), including, but
 not limited to: (a) the execution and delivery of any appropriate agreements or other documents of
 merger, amalgamation, consolidation, restructuring, conversion, disposition, transfer, formation,
 organization, dissolution, or liquidation containing terms that are consistent with the terms of the
 Plan, and that satisfy the requirements of applicable law and any other terms to which the applicable
 Entities may agree, including the documents comprising the Plan Supplement; (b) the execution and
 delivery of appropriate instruments of transfer, assignment, assumption, contribution, or
 delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the
 terms of the Plan and having other terms for which the applicable Entities agree, including the
 documents comprising the Plan Supplement; (c) the filing of appropriate certificates or articles of
 incorporation, reincorporation, merger, amalgamation, consolidation, conversion, or dissolution
 pursuant to applicable law; (d) such other transactions that are required to effectuate the
 Restructuring Transactions in a tax efficient manner for the Debtor, including any mergers,
 consolidations, restructurings, conversions, dispositions, transfers, formations, organizations,
 dissolutions, or liquidations; and (e) all other actions that the applicable Entities determine to be
 necessary or appropriate, including making filings or recordings that may be required by applicable
 law and that are consistent with the Plan and the Restructuring Support Agreement.

         The Confirmation Order shall and shall be deemed to, pursuant to Sections 363 and 1123
 of the Bankruptcy Code, authorize the Restructuring Transactions, which shall and shall be deemed
 to occur in the sequence set forth therein.

        The Confirmation Order shall and shall be deemed to, pursuant to both Sections 363 and
 1123 of the Bankruptcy Code, authorize, among other things, all actions consistent with the
 Restructuring Support Agreement as may be necessary or appropriate to effect any transaction
 described in, approved by, contemplated by, or necessary to effectuate the Plan.

 4.03     Corporate Action

         Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized,
 approved, and, to the extent taken prior to the Effective Date, ratified without any requirement for
 further action by Holders of Claims or Interests, directors, managers, or officers of the Debtor, the
 Reorganized Debtor, or any other Entity, including: (a) rejection or assumption, as applicable, of
 Executory Contracts and Unexpired Leases; (b) the appointment of the New Board; (c) the adoption
 and/or filing of any other amended organizational documents required to implement the
 Restructuring Transactions; (d) the issuance and distribution, or other transfer, of the New
 Common Stock as provided herein; (e) the implementation of the Restructuring Transactions; (f)
 the Debtor’s entry into, delivery, and performance of the Takeback Debt Documents and
 Revolving Credit Facility Documents; and (g) all other acts or actions contemplated, or reasonably
 necessary or appropriate to promptly consummate the transactions contemplated by the Plan
                                                  28
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 281 of 446



 (whether proposed to occur before, on, or after the Effective Date). All matters provided for in the
 Plan involving corporate action required by the Debtor, shall be deemed to have occurred on, and
 shall be in effect as of, the Effective Date, without any requirement of further action by the security
 Holders, directors, managers, authorized persons, or officers of the Debtor. On or (as applicable)
 before the Effective Date, the appropriate officers of the Debtor or the Reorganized Debtor, as
 applicable shall be authorized and (as applicable) directed to issue, execute, and deliver the
 agreements, documents, securities, and instruments contemplated by the Plan (or necessary or
 desirable to effectuate the Restructuring Transactions consistent with the Plan and the
 Restructuring Support Agreement) in the name of and on behalf of the Debtor or the Reorganized
 Debtor, as applicable, including any and all other agreements, documents, Securities, and
 instruments relating to the foregoing, to the extent not previously authorized by the Bankruptcy
 Court. The authorizations and approvals contemplated by this Article 4.03 shall be effective
 notwithstanding any requirements under non-bankruptcy law.

 4.04     Takeback Debt

         On the Effective Date, the Reorganized Debtor shall issue the Takeback Debt in the amount
 of the Takeback Debt Principal Amount (in which, subject to the occurrence of the Effective Date,
 interest shall accrue as of April 4, 2024, regardless of the day on which the Takeback Debt becomes
 fully operative) to the Holders of the Senior Notes consistent with the terms attached hereto as
 Exhibit A, as may be supplemented through a Plan Supplement. For the avoidance of doubt, if
 the Effective Date does not occur, no interest shall be due under the Takeback Debt.

         All terms of the Takeback Debt, including without limitation, covenants and governance,
 shall be reasonably acceptable to the Debtor and the Ad Hoc Noteholder Group and otherwise
 consistent with the Restructuring Support Agreement. Any terms of the Takeback Debt may be
 modified subject to the consent of the Debtor and the Ad Hoc Noteholder Group.

          On the Effective Date, the Debtor shall execute and deliver the Takeback Debt Documents
 and such documents shall become effective in accordance with their terms. On and after the
 Effective Date, the Takeback Debt Documents shall constitute legal, valid, and binding obligations
 of the Debtor and shall be enforceable in accordance with their respective terms. The terms and
 conditions of the Takeback Debt Documents shall bind the Debtor and each other Entity that enters
 into such Takeback Debt Documents. Any Entity’s acceptance of Takeback Debt shall be deemed
 as its agreement to the terms of the Takeback Debt Documents, as amended, amended and restated,
 supplemented, or otherwise modified from time to time following the Effective Date in accordance
 with their terms.

         Confirmation of the Plan shall be deemed, without further notice to or order of the
 Bankruptcy Court, approval of the Takeback Debt and the Takeback Debt Documents and all
 transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
 obligations to be incurred by the Reorganized Debtor in connection therewith, including the
 payment of all fees, indemnities, expenses, and other payments provided for therein and
 authorization of the Reorganized Debtor to issue the Takeback Debt and such other documents as
 may be required to effectuate the treatment afforded by the Takeback Debt.




                                                   29
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 282 of 446



 4.05     The Revolving Credit Facility

         On the Effective Date, the Reorganized Debtor shall enter into the Revolving Credit
 Facility Documents with the holders of the Senior Notes who are subject to the terms of the
 Restructuring Support Agreement at the discretion of such eligible holders. Confirmation of the
 Plan shall be deemed approval of the Revolving Credit Facility and authorization for the Debtor
 and Reorganized Debtor, as applicable, to take any and all actions necessary or appropriate to
 consummate the Revolving Credit Facility, including executing and delivering the Revolving
 Credit Facility Documents without any further notice to or order of the Bankruptcy Court.

        The proceeds of the Revolving Credit Facility will be used exclusively for emergency
 purposes only, in accordance with the Revolving Credit Facility Documents.

 4.06     Management Incentive Plan

        On the Effective Date, the Reorganized Debtor shall enter into the Management Incentive
 Plan. All grants under the Management Incentive Plan shall ratably dilute all New Common Stock
 issued pursuant to the Plan.

         The Management Incentive Plan will reserve exclusively for participants a pool of stock-
 based awards in the Reorganized Debtor in the form of (a) warrants for 5.0% of New Common
 Stock and (b) 5.0% of the New Common Stock, both determined on a fully diluted and fully
 distributed basis (the “MIP Pool”), which shall be reserved for distribution in accordance with the
 Management Incentive Plan.

         On the Effective Date, the Reorganized Debtor shall allocate 25.0% of the MIP Pool to the
 current management. No later 90 days following the Effective Date, the Reorganized Debtor shall
 allocate 25.0% of the MIP Pool to management employees of the Reorganized Debtor as
 determined at the discretion of the New Board. The remaining 50.0% of the MIP Pool shall be
 allocated to management employees at the discretion of the New Board.

         Confirmation of the Plan shall be deemed, without further notice to or order of the
 Bankruptcy Court, approval of the Management Incentive Plan and all transactions contemplated
 thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred by the
 Reorganized Debtor in connection therewith, including the payment of all fees, indemnities,
 expenses, and other payments provided for therein and authorization of the Reorganized Debtor to
 enter into and execute the Management Incentive Plan and such other documents as may be
 required to effectuate the treatment afforded by the Management Incentive Plan.

 4.07     Employee Obligations

        CorEnergy is a party to Employment Agreements with all eleven (11) of its employees.
 The employees covered by the Employment Agreements provide accounting, finance, legal and
 leadership roles. Pursuant to the Plan, the Reorganized Debtor will assume all eleven of the
 Employment Agreements.




                                                 30
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 283 of 446



 4.08     Deregistration of Existing Common Stock and Preferred Stock and Issuance of New
          Common Stock

         Prior to or as soon as reasonably practicable following the Effective Date, in accordance
 with all applicable federal and state rules and regulations, including the Securities Exchange Act
 of 1934, as amended (the “Exchange Act”), the Debtor or the Reorganized Debtor, as applicable,
 intend to take steps to de-register the existing Common Stock and Preferred Stock and to terminate
 and/or suspend its reporting obligations under the Exchange Act, including filing a Form 15 with
 the SEC to deregister its existing Common Stock and Preferred Stock.

         The Confirmation Order shall authorize the issuance of New Common Stock in one or
 more issuances without the need for any further corporate action, and the Debtor or Reorganized
 Debtor, as applicable, is authorized to take any action necessary or appropriate in furtherance
 thereof. On or about the Effective Date or as soon as reasonably practicable thereafter, applicable
 Holders of Senior Notes and Preferred Stock shall receive shares of New Common Stock pursuant
 to Articles 3.02(e) and (f).

        All of the shares of the New Common Stock issued pursuant to the Plan shall be duly
 authorized, validly issued, fully paid, and non-assessed. Each distribution and issuance of the New
 Common Stock under the Plan shall be governed by the terms and conditions set forth in the Plan
 applicable to such distribution or issuance and the terms and conditions of the instruments
 evidencing or relating to such distribution or issuance.

        The Reorganized Debtor does not intend to obtain a stock exchange listing for the New
 Common Stock, and the Reorganized Debtor does not intend to be subject to any reporting
 requirements promulgated by the SEC following the de-registration actions described above. The
 Reorganized Debtor intends to apply for the New Common Stock to be quoted on the OTC market
 and to make available to stockholders financial and other information concerning the Reorganized
 Debtor in accordance with applicable OTC rules.

 4.09     Exemption from Registration Requirements

          The offering, issuance, and distribution of the New Common Stock pursuant to the Plan
 (other than Securities issuable under the Management Incentive Plan) will be exempt from the
 registration requirements of Section 5 of the Securities Act or any similar federal, state, or local
 law in reliance on Section 1145 of the Bankruptcy Code. Pursuant to Section 1145 of the
 Bankruptcy Code, such New Common Stock will be freely tradable in the United States without
 registration under the Securities Act by the recipients thereof, subject to the provisions of (1)
 Section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in Section
 2(a)(11) of the Securities Act and compliance with any applicable state or foreign securities laws,
 if any, and the rules and regulations of the SEC, if any, applicable at the time of any future transfer
 of such Securities or instruments, (2) any other applicable regulatory approvals, and (3) any
 restrictions in the New Governance Documents.

         All Persons shall be required to accept and conclusively rely upon the Plan and the
 Confirmation Order in lieu of a legal opinion whether the New Common Stock or other Securities
 issued under or otherwise acquired pursuant to the Plan are exempt from registration and/or
 eligible for DTC book-entry delivery, settlement and depository services. Notwithstanding

                                                   31
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 284 of 446



 anything to the contrary in the Plan or otherwise, no Person (including, for the avoidance of doubt,
 DTC) may require a legal opinion regarding the validity of any transaction contemplated by the
 Plan, including, for the avoidance of doubt, whether such New Common Stock or other Securities
 are validly issued, fully paid and non-assessable, exempt from registration and/or eligible for DTC
 book-entry delivery, settlement and depository services.

 4.10     Subordination

         The allowance, classification, and treatment of satisfying all Claims and Interests proposed
 under the Plan takes into consideration any and all subordination rights, whether arising by contract
 or under general principles of equitable subordination, Sections 510(b) or 510(c) of the Bankruptcy
 Code, or otherwise. Except as provided in the Plan, on the Effective Date, any and all subordination
 rights or obligations that a Holder of a Claim or Interest may have with respect to any distribution to
 be made under the Plan will be discharged and terminated, and all actions related to the
 enforcement of such subordination rights will be enjoined permanently. Accordingly, distributions
 under the Plan to Holders of Allowed Claims and Allowed Interests will not be subject to turnover
 or payment to a beneficiary of such terminated subordination rights, or to levy, garnishment,
 attachment or other legal process by a beneficiary of such terminated subordination rights;
 provided, that, any such subordination rights shall be preserved in the event the Confirmation
 Order is vacated, the Effective Date does not occur in accordance with the terms hereunder, or the
 Plan is revoked or withdrawn.

 4.11     Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided herein, or in any agreement, instrument, or other document
 incorporated in the Plan or the Plan Supplement, on the Effective Date, pursuant to Sections
 1141(b) and (c) of the Bankruptcy Code, all property in the Debtor’s Estate, all Causes of Action,
 and any property acquired by the Debtor under the Plan shall vest in the Reorganized Debtor, free
 and clear of all Liens, Claims, charges, or other encumbrances. On and after the Effective Date,
 except as otherwise provided herein, the Reorganized Debtor may operate its business and may
 use, acquire, or dispose of property and pursue, compromise or settle any Claims, Interests, or
 Causes of Action without supervision or approval by the Bankruptcy Court and free of any
 restrictions of the Bankruptcy Code or Bankruptcy Rules.

 4.12     Cancellation of Instruments, Certificates, and Other Documents

         On the Effective Date, except as otherwise specifically provided in the Plan, the
 Confirmation Order, the New Common Stock, the Plan Supplement, or any agreement instrument,
 or other document entered into in connection with our pursuant to the Plan or the Restructuring
 Transactions, the obligations of the Debtor under the Bond Indenture, and any certificate, share,
 note, bond, indenture, purchase right, option, warrant, or other instrument or document, directly or
 indirectly, evidencing or creating any indebtedness or obligation of, or ownership interest in, the
 Debtor giving rise to any Claim or Interest shall be cancelled, without any need for a Holder to
 take further action with respect thereto, and the Debtor and the Reorganized Debtor shall not have
 any continuing obligations thereunder; provided, that, notwithstanding Confirmation or the
 occurrence of the Effective Date, any such agreement that governs the rights of the Holder of an
 Allowed Claim or Interest shall continue in effect solely for (a) purposes of enabling such Holder
 to receive distributions under the Plan on account of such Allowed Claim or Interest as provided
                                                   32
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                Document    Page 285 of 446



 herein, and (b) permit the Trustee to make or assist in making, as applicable, distributions pursuant
 to the Plan and deduct therefrom such reasonable compensation, fees, and expenses (i) due to the
 Trustee, or (ii) incurred by the Trustee in making such distributions, to the extent not otherwise
 satisfied by the Debtor. Except as provided in this Plan, on the Effective Date, the Trustee and its
 respective agents, successors and assigns shall be automatically and fully discharged of all duties
 and obligations associated with the Bond Indenture; provided, further, that the preceding proviso
 shall not affect the discharge of Claims or Interests pursuant to the Bankruptcy Code, the
 Confirmation Order, or the Plan or result in any expense or liability to the Reorganized Debtor,
 except to the extent set forth in or provided for under the Plan. The commitments and obligations
 of the lenders or Holders under the Bond Indenture to extend any further or future credit or
 financial accommodations to the Debtor, its subsidiaries or any successors or assigns under the
 Bond Indenture, to the extent there were any remaining commitments or obligations, shall fully
 terminate and be of no further force or effect on the Effective Date.

        Notwithstanding Confirmation, the occurrence of the Effective Date or anything to the
 contrary herein, only such matters that, by their express terms, survive the termination of the Bond
 Indenture shall survive the occurrence of the Effective Date, including the rights of the Trustee, as
 applicable, to expense reimbursement, indemnification, and similar amounts.

 4.13     Sources for Plan Distributions

        The Debtor shall fund distributions under the Plan with Cash on hand, including Cash from
 operations. The Reorganized Debtor will pay or cause to be paid the Cash payments to be made
 pursuant to the Plan.

         From and after the Effective Date, the Reorganized Debtor, subject to any applicable
 limitations set forth in any post-Effective Date agreement, shall have the right and authority
 without further order of the Bankruptcy Court to raise additional capital and obtain additional
 financing as the Reorganized Debtor deems appropriate.

 4.14     Corporate Existence

         Except as otherwise provided in the Plan or any agreement, instrument, or other document
 incorporated in the Plan or the Plan Supplement (including, but not limited to the Restructuring
 Transactions), on the Effective Date, the Debtor shall continue to exist after the Effective Date as
 a separate corporation with all the powers of a corporation pursuant to applicable Law, except to
 the extent such formation documents are amended and restated, converted or otherwise modified
 by the Plan, the Plan Supplement, or otherwise, and to the extent any such document is amended,
 such document is deemed to be amended pursuant to the Plan and requires no further action or
 approval (other than any requisite filings required under applicable state or federal law).

 4.15     New Governance Documents

        On the Effective Date, or as soon thereafter as is reasonably practicable, the New
 Governance Documents, consistent with the terms attached hereto as Exhibit B, as may be
 supplemented through a Plan Supplement, shall be adopted and amended or amended and restated,
 as applicable, as may be required to be consistent with the provisions of the Plan, the New
 Governance Documents, and the Restructuring Support Agreement, as applicable, and the

                                                  33
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 286 of 446



 Bankruptcy Code. To the extent required under the Plan or applicable non-bankruptcy law, the
 Reorganized Debtor will file its Agreement or applicable New Governance Documents with the
 applicable Secretary of State and/or other applicable authorities in its state of formation in
 accordance with the applicable laws thereof. The New Governance Documents shall, among other
 things: (a) authorize the issuance of the New Common Stock and (b) pursuant to and only to the
 extent required by Section 1123(a)(6) of the Bankruptcy Code, include a provision prohibiting the
 issuance of non-voting equity Securities. Subject to this Article 4.15 of the Plan, the Reorganized
 Debtor may amend and restate its formation and constituent documents as permitted by applicable
 law and the terms of the New Governance Documents, the Restructuring Support Agreement, and
 the Plan.

          Certain Holders of the New Common Stock may enter into and be subject to the terms of
 a shareholder agreement (the “Shareholder Agreement”), which may restrict such Holder of New
 Common Stock for the purposes of preserving net operating losses. It is the intent that any
 restrictions on trading in any Shareholder Agreement will not apply to small holders holding less
 than 5% of the New Common Stock who are not qualified institutional buyers as defined in Rule
 144A of the Securities Act. The Reorganized Debtor intends to apply for the New Common Stock
 to be quoted in the OTC markets and to make available to stockholders financial and other
 information concerning the Reorganized Debtor in accordance with OTC rules.

 4.16     Indemnification Provisions in Organizational Documents

         As of the Effective Date and consistent with applicable law, the Reorganized Debtor’s
 formation documents shall, to the fullest extent permitted by applicable law, provide for the
 indemnification, defense, reimbursement, exculpation, and/or limitation of liability of, and
 advancement of fees and expenses to, current directors, officers, equity Holders, managers,
 members, employees, accountants, investment bankers, attorneys, other professionals, agents of
 the Debtor or Reorganized Debtor, and such current directors’, officers’, and managers’ respective
 Affiliates (each of the foregoing solely in their capacity as such) at least to the same extent as set
 forth in the Indemnification Provisions, against any claims or Causes of Action whether direct or
 derivative, liquidated or unliquidated, fixed, or contingent, disputed or undisputed, matured or
 unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted. The Reorganized
 Debtor shall not amend and/or restate its organizational documents after the Effective Date to
 terminate or materially adversely affect (a) any Indemnification Provision or (b) the rights of such
 directors, officers, equity Holders, managers, members, employees, accountants, investment
 bankers, attorneys, other professionals, agents of the Debtor, and such current directors’, officers’,
 and managers’ respective Affiliates (each of the foregoing solely in their capacity as such) referred
 to in the immediately preceding sentence. For the avoidance of doubt, as used in this Article 4.16,
 “current” refers to covered Entities that serve as of the Petition Date, regardless of whether such
 Entities cease serving in such capacities thereafter.

 4.17     Effectuating Documents; Further Transactions

         On and after the Effective Date, the Reorganized Debtor, and the officers, manager, and
 members of the board of managers (or other governing body) thereof, shall be authorized to and
 may issue, execute, deliver, file, or record such contracts, Securities, instruments, releases, and
 other agreements or documents and take such actions as may be necessary or appropriate to
 effectuate, implement, and further evidence the terms and conditions of the Plan, and the
                                                  34
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                   Desc Main
                                 Document    Page 287 of 446



 Restructuring Transactions, as applicable, and the Securities issued pursuant to the Plan in the
 name of and on behalf of the Reorganized Debtor, without the need for any approvals,
 authorizations, or consents except for those expressly required under the Plan.

 4.18     Management of the Reorganized Debtor

        On the Effective Date, the board of directors at CorEnergy shall be replaced with the New
 Board. The New Board shall initially include five (5) members appointed by the new equity
 holders, on arrangements to be agreed to by, and in the sole discretion of, the Ad Hoc Noteholder
 Group and as set forth in the Shareholder Agreement.

       Provisions regarding the removal, appointment, and replacement of members of the New
 Board will be set forth in the New Governance Documents or Shareholder Agreement.

 4.19     Section 1146(a) Exemption

          To the fullest extent permitted by Section 1146(a) of the Bankruptcy Code, any transfers
 (whether from the Debtor to the Reorganized Debtor or to any other Person) of property under the
 Plan (including the Restructuring Transactions) or pursuant to: (a) the issuance, distribution,
 transfer, or exchange of any debt, equity security, or other interest in the Debtor or the Reorganized
 Debtor; (b) the creation, modification, consolidation, termination, refinancing, and/or recording of
 any mortgage, deed of trust, or other security interest, or the securing of additional indebtedness
 by such or other means; (c) the making, assignment, or recording of any lease or sublease; (d) the
 grant of collateral as security for any or all of the Takeback Debt or the Revolving Credit Facility,
 as applicable; or (e) the making, delivery, or recording of any deed or other instrument of transfer
 under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
 assignments, or other instrument of transfer executed in connection with any transaction arising
 out of, contemplated by, or in any way related to the Plan (including the Restructuring
 Transactions), shall not be subject to any document recording tax, stamp tax, conveyance fee,
 intangibles or similar tax, mortgage tax, real estate transfer tax, personal property transfer tax,
 mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or
 recording fee, sales or use tax, or other similar tax or governmental assessment. All appropriate
 state or local governmental officials, agents, or filing or recording officers (or any other Person with
 authority over any of the foregoing), wherever located and by whomever appointed, shall comply
 with the requirements of Section 1146(a) of the Bankruptcy Code, shall forego the collection of
 any such tax or governmental assessment, and shall accept for filing and recordation any of the
 foregoing instruments or other documents without the payment of any such tax, recordation fee, or
 governmental assessment.

 4.20     Preservation of Causes of Action

         Unless any Causes of Action against an Entity are expressly waived, relinquished,
 exculpated, released, compromised, or settled in the Plan, including pursuant to Article VIII of the
 Plan or a Final Order, in accordance with Section 1123(b) of the Bankruptcy Code, the Reorganized
 Debtor shall retain and may enforce all rights to commence and pursue any and all Causes of
 Action, whether arising before or after the Petition Date, including any actions specifically
 enumerated in the Plan Supplement, and the Reorganized Debtor’s rights to commence,
 prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the

                                                   35
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 288 of 446



 Effective Date. No Entity may rely on the absence of a specific reference in the Plan, the Plan
 Supplement, or the Disclosure Statement to any Cause of Action, including Avoidance
 Actions, against them as any indication that the Debtor or the Reorganized Debtor will not
 pursue any and all available Causes of Action against them. The Debtor and the Reorganized
 Debtor expressly reserve all rights to commence, pursue, and prosecute any and all Causes
 of Action against any Entity, including Avoidance Actions, except as otherwise expressly
 provided herein. Unless any Causes of Action against an Entity are expressly waived,
 relinquished, exculpated, released, compromised, or settled in the Plan, including pursuant to
 Article VIII of the Plan or a Final Order, the Reorganized Debtor expressly reserve all Causes of
 Action, for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res
 judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or
 otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of the
 Confirmation or Consummation. For the avoidance of doubt, in no instance will any Cause of
 Action preserved pursuant to this Article 4.20 include any claim or Cause of Action with respect
 to, or against, a Released Party.

          In accordance with Section 1123(b)(3) of the Bankruptcy Code, any Causes of Action
 preserved pursuant to the first paragraph of this Article 4.20 that the Debtor may hold against any
 Entity shall vest in the Reorganized Debtor. The Reorganized Debtor, through its authorized agents
 or representatives, shall retain and may exclusively enforce any and all such Causes of Action.
 The Reorganized Debtor shall have the exclusive right, authority, and discretion to determine and
 to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
 judgment any such Causes of Action, or to decline to do any of the foregoing, without the consent
 or approval of any third party or any further notice to or action, order, or approval of the
 Bankruptcy Court.

                              ARTICLE V
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 5.01     Assumption and Rejection of Executory Contracts and Unexpired Leases

         Except as otherwise provided herein, each Executory Contract and Unexpired Lease shall
 be deemed assumed, including without the need for any further notice to or action, order, or
 approval of the Bankruptcy Court, as of the Effective Date, pursuant to Section 365 of the
 Bankruptcy Code, unless such Executory Contract or Unexpired Lease (a) was previously assumed
 or rejected; (b) was previously expired or terminated pursuant to its own terms; (c) is the subject
 of a motion to assume or assume and assign Filed on or before the Confirmation Date; or (d) is
 designated specifically, or by category, as an Executory Contract or Unexpired Lease on the
 Schedule of Rejected Executory Contracts and Unexpired Leases. The assumption of Executory
 Contracts and Unexpired Leases hereunder may include the assignment of certain of such contracts
 or leases to Affiliates. The Confirmation Order will constitute an order of the Bankruptcy Court
 approving the above-described assumptions and assignments, all pursuant to Sections 365(a) and
 1123 of the Bankruptcy Code and effective on the occurrence of the Effective Date.

         Except as otherwise provided herein or agreed to by the Debtor and the applicable
 counterparty, each assumed Executory Contract or Unexpired Lease shall include all
 modifications, amendments, supplements, restatements, or other agreements related thereto, and
 all rights related thereto, if any, including all easements, licenses, permits, rights, privileges,
                                                  36
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 289 of 446



 immunities, options, rights of first refusal, and any other interests. To the maximum extent
 permitted by law, to the extent any provision in any Executory Contract or Unexpired Lease
 assumed pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached
 or deemed breached by, the assumption of such Executory Contract or Unexpired Lease (including
 any “change of control” provision), then such provision shall be deemed modified such that the
 transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate
 such Executory Contract or Unexpired Lease or to exercise any other default-related rights with
 respect thereto. Notwithstanding anything to the contrary in the Plan, the Debtor or Reorganized
 Debtor, as applicable, reserves the right to alter, amend, modify, or supplement the Schedule of
 Rejected Executory Contracts and Unexpired Leases at any time through and including 45 days
 after the Effective Date. Modifications, amendments, supplements, and restatements to prepetition
 Executory Contracts and Unexpired Leases that have been executed by the Debtor during the
 Chapter 11 Case shall not be deemed to alter the prepetition nature of the Executory Contract or
 Unexpired Lease or the validity, priority, or amount of any Claims that may arise in connection
 therewith.

 5.02     Cure and Defaults for Assumed Executory Contracts and Unexpired Leases

         The Debtor or the Reorganized Debtor, as applicable, shall pay undisputed Cure Claims, if
 any, on (a) the Effective Date or as soon as reasonably practicable thereafter as dictated by the
 Debtor’s ordinary course of business, for Executory Contracts and Unexpired Leases assumed as
 of the Effective Date or (b) the assumption effective date, if different than the Effective Date. Any
 Cure Claim shall be deemed fully satisfied, released, and discharged upon payment by the Debtor
 or the Reorganized Debtor of the Cure Claim; provided, that nothing herein shall prevent the
 Reorganized Debtor from paying any Cure Claim despite the failure of the relevant counterparty
 to File such request for payment of such Cure Claim. The Reorganized Debtor also may settle any
 Cure Claim without any further notice to or action, order, or approval of the Bankruptcy Court.
 Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
 pursuant to the Plan shall be satisfied, pursuant to Section 365(b)(1) of the Bankruptcy Code, by
 payment of the Cure Claim amount in Cash on the Effective Date, subject to the limitation
 described below, or on such other terms as the parties to such Executory Contracts or Unexpired
 Leases may otherwise agree. In the event of a dispute regarding (a) the amount of any payments
 to cure such a default, (b) the ability of the Reorganized Debtor or any assignee to provide
 “adequate assurance of future performance” (within the meaning of Section 365 of the Bankruptcy
 Code) under the Executory Contract or Unexpired Lease to be assumed, or (c) any other matter
 pertaining to assumption, the Cure Claim payments required by Section 365(b)(1) of the
 Bankruptcy Code shall be made following the entry of a Final Order or orders resolving the dispute
 and approving the assumption; provided, that, the Reorganized Debtor may settle any such dispute
 without any further notice to, or action, order, or approval of the Bankruptcy Court or any other
 Entity.

         At least fourteen (14) days prior to the Combined Hearing, the Debtor shall provide for
 notices of proposed assumption or assumption and assignment and proposed Cure Claim amounts
 to be sent to applicable third parties (with such Cure Claim being $0.00 if no amount is listed in
 the notice), which notices will include procedures for objecting thereto and resolution of disputes
 by the Bankruptcy Court. Any objection by a counterparty to an Executory Contract or Unexpired
 Lease to a proposed assumption or assumption and assignment on any grounds or related amount
 of the Cure Claim must be Filed, served, and actually received by the Debtor no later than the date
                                                  37
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 290 of 446



 specified in the notice (which specified date shall be at least fourteen (14) days following service
 of the notice). Any counterparty to an Executory Contract or Unexpired Lease that failed to timely
 object to the proposed assumption will be deemed to have assented to such assumption or
 assumption and assignment and any objection shall be Disallowed and forever barred, estopped,
 and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor, without
 the need for any objection by the Reorganized Debtor or any other party in interest or any further
 notice to or action, Order, or approval of the Bankruptcy Court. The Debtor or Reorganized
 Debtor, as applicable, reserves the right to reject any Executory Contract or Unexpired Lease in
 resolution of any cure disputes. Notwithstanding anything to the contrary herein, if at any time the
 Bankruptcy Court determines that the Allowed Cure Claim with respect to any Executory Contract
 or Unexpired Lease is greater than the amount set forth in the applicable Cure Notice, the Debtor
 or Reorganized Debtor, as applicable, shall have the right, at such time, to add such Executory
 Contract or Unexpired Lease to the Schedule of Rejected Executory Contracts and Unexpired
 Leases, in which case such Executory Contract or Unexpired Lease shall be deemed rejected as
 the Effective Date. In the event of a timely Filed objection regarding (a) the amount of any Cure
 Claim; (b) the ability of the Reorganized Debtor or any assignee to provide “adequate assurance of
 future performance” (within the meaning of Section 365 of the Bankruptcy Code) under the
 Executory Contract or Unexpired Lease to be assumed; or (c) any other matter pertaining to
 assumption or the cure payments required by Section 365(b)(1) of the Bankruptcy Code, such
 dispute shall be resolved by a Final Order of the Bankruptcy Court (which may be the Confirmation
 Order) or as may be agreed upon by the Debtor or the Reorganized Debtor, as applicable, and the
 counterparty to the Executory Contract or Unexpired Lease.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise and full payment of any applicable Cure pursuant to this Article 5.02, in the amount and
 at the time dictated by the Debtor’s ordinary course of business, shall result in the full release and
 satisfaction of any Cures, Claims, or defaults, whether monetary or nonmonetary, including
 defaults of provisions restricting the change in control or ownership interest composition or other
 bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease at
 any time prior to the effective date of assumption. Any and all Proofs of Claim based upon
 Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Case,
 including pursuant to the Confirmation Order, and for which any Cure has been fully paid pursuant
 to this Article 5.02, in the amount and at the time dictated by the Debtor ordinary course of business,
 shall be deemed disallowed and expunged as of the Effective Date without the need for any
 objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

        The Confirmation Order will constitute an order of the Bankruptcy Court approving each
 proposed assumption, or proposed assumption and assignment, of Executory Contracts and
 Unexpired Leases pursuant to Sections 365 and 1123 of the Bankruptcy Code as of the Effective
 Date.

 5.03     Rejection Damages Claims

          In the event that the rejection of an Executory Contract or Unexpired Lease by the Debtor
 results in damages to the other party or parties to such contract or lease, a Claim for such damages
 shall be forever barred and shall not be enforceable against the Debtor or the Reorganized Debtor
 or their respective properties or interests in property as agents, successors, or assigns, unless a
 Proof of Claim is Filed with the Notices and Claims Agent and served upon counsel for the Debtor,
                                                   38
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                Document    Page 291 of 446



 the Reorganized Debtor, and counsel for the Ad Hoc Noteholder Group no later than fifteen (15)
 days after the date of entry of a Final Order of the Bankruptcy Court (including the Confirmation
 Order) approving such rejection of such Executory Contract or Unexpired Lease. Any such
 Claims, to the extent Allowed, shall be classified as General Unsecured Claims and shall be treated
 in accordance with Article III hereof.

 5.04     Insurance Policies

         To the extent the Debtor is a party thereto or a named insured, any D&O Liability Insurance
 Policy (including, without limitation, any “tail policy” and all agreements, documents, or
 instruments related thereto) shall be deemed assumed, without the need for any further notice to
 or action, order, or approval of the Bankruptcy Court, as of the Effective Date, pursuant to Section
 365 of the Bankruptcy Code.

         To the extent applicable, the Debtor or the Reorganized Debtor, as applicable, shall not
 terminate or otherwise reduce the coverage under any D&O Liability Insurance Policy (including,
 without limitation, any “tail policy” and all agreements, documents, or instruments related thereto)
 in effect as of the Petition Date. Any current and former directors, officers, managers, and
 employees of the Debtor who served in such capacity at any time before or after the Effective Date
 shall be entitled to the full benefits of any such policy for the full term of such policy regardless
 of whether such directors, officers, managers, and employees remain in such positions after the
 Effective Date subject to the terms of such policy. Notwithstanding anything to the contrary in the
 Plan, the Debtor or the Reorganized Debtor shall retain the ability to supplement (but not reduce)
 such D&O Liability Insurance Policy as the Debtor or Reorganized Debtor may deem necessary.

         The Debtor shall continue to satisfy any applicable insurance policies in full and continue
 such programs in the ordinary course of business. Each of the Debtor’s insurance policies, and
 any agreements, documents, or instruments relating thereto shall be treated as Executory Contracts
 under the Plan. Unless otherwise provided in the Plan, on the Effective Date, with respect to any
 policies where the Debtor is a named insured or a counterparty: (a) the Debtor shall be deemed to
 have assumed all such insurance policies and any agreements, documents, and instruments relating
 to coverage of all insured Claims; and (b) such insurance policies and any agreements, documents,
 or instruments relating thereto shall revest in the Reorganized Debtor.

        Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of the
 Reorganized Debtor’s assumption of all such insurance policies. Notwithstanding anything to the
 contrary contained in the Plan, Confirmation of the Plan shall not discharge, impair, or otherwise
 modify any indemnity obligations assumed by the foregoing assumption of insurance policies and
 each such indemnity obligation will be deemed and treated as an Executory Contract that has been
 assumed by the Reorganized Debtor under the Plan as to which no Proof of Claim need be filed,
 and shall survive the Effective Date.

 5.05     Contracts and Leases After the Petition Date

        Contracts and leases entered into after the Petition Date by the Debtor, including any
 Executory Contracts and Unexpired Leases assumed under Section 365 of the Bankruptcy Code,
 will be performed by the Debtor or Reorganized Debtor in the ordinary course of its business.


                                                  39
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                                  Document    Page 292 of 446



 Such contracts and leases that are not rejected under the Plan shall survive and remain unaffected
 by entry of the Confirmation Order.

 5.06     Reservation of Rights

         Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the
 Debtor or any other party that any contract or lease is in fact an Executory Contract or Unexpired
 Lease or that any Reorganized Debtor has any liability thereunder. If there is a dispute regarding
 whether a contract or lease is or was executory or unexpired at the time of assumption, the Debtor
 or the Reorganized Debtor, as applicable, shall have forty-five (45) days following entry of a Final
 Order resolving such dispute to alter its treatment of such contract or lease.

 5.07     Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
 jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
 Leases pursuant to Section 365(d)(4) of the Bankruptcy Code, unless such deadline(s) have
 expired.

                                      ARTICLE VI
                          PROVISIONS GOVERNING DISTRIBUTIONS

 6.01     Distributions on Account of Claims or Interests Allowed as of Effective Date

         Except as otherwise provided herein, a Final Order, or as otherwise agreed to by the Debtor
 or the Reorganized Debtor, as the case may be, and the Holder of the applicable Claim or Interest,
 on the first Distribution Date, which shall be the same day as the Effective Date, the distribution
 agent (the “Distribution Agent”) shall make initial distributions under the Plan on account of
 Claims or Interests Allowed on or before the Effective Date or as soon as reasonably practical
 thereafter; provided, however, that (1) Allowed Administrative Claims with respect to liabilities
 incurred by the Debtor in the ordinary course of business shall be paid or performed in the ordinary
 course of business in accordance with the terms and conditions of any controlling agreements,
 course of dealing, course of business, or industry practice, and (2) Allowed Priority Tax Claims
 shall be paid in accordance with Article 2.04 hereof. To the extent any Allowed Priority Tax Claim
 is not due and owing on the Effective Date, such Claim shall be paid in full in Cash in accordance
 with the terms of any agreement between the Debtor and the Holder of such Claim or as may be
 due and payable under applicable non-bankruptcy law or in the ordinary course of business.

         The Debtor and the Reorganized Debtor, as applicable, shall take such reasonable actions
 as may be required to cause the distributions to Holders of the Preferred Stock in accordance with
 and as contemplated under the Plan. Notwithstanding anything in the Plan to the contrary, to the
 extent a holder of Preferred Stock holds such interests through DTC, distributions attributable to
 such Holders shall be effectuated through the facilities of DTC, to the extent practicable. The
 distributions to Holders of Preferred Stock shall be deemed issued on the Effective Date regardless
 of when the distribution actually occurs.

          (a)       Powers of Distribution Agent


                                                   40
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                  Document    Page 293 of 446



          The Distribution Agent shall be empowered to: (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
 make all distributions contemplated hereby; (c) employ professionals to represent it with respect
 to its responsibilities; and (d) exercise such other powers as may be vested in the Distribution Agent
 by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Distribution Agent to
 be necessary and proper to implement the provisions hereof, provided, however, that such
 Distribution Agent shall waive any right or ability to setoff, deduct from or assert any lien or
 encumbrance against the distributions required under the Plan to be distributed by such
 Distribution Agent.

         Notwithstanding any provision in the Plan to the contrary, distributions to the Senior
 Noteholders may be made to or at the direction of the Trustee, who may act as Distribution Agent
 (or direct the Distribution Agent) for distributions to Senior Noteholders, in accordance with the
 Plan and the Bond Indenture. As applicable, the Trustee may transfer or direct the transfer of such
 distributions directly through the facilities of DTC (whether by means of book-entry exchange,
 free delivery, or otherwise) and will be entitled to recognize and deal for all purposes under the
 Plan with the respective Holders of such Claims to the extent consistent with customary practices
 of DTC.

          (b)       Expenses Incurred On or After the Effective Date

         The Debtor or the Reorganized Debtor, as applicable, shall pay to the Distribution Agent
 all reasonable and documented fees and expenses of such Distribution Agent without the need for
 any approvals, authorizations, actions, or consents, except as otherwise ordered by the Bankruptcy
 Court. The Distribution Agent shall submit invoices to the Debtor or the Reorganized Debtor, as
 applicable, for all fees and expenses for which the Distribution Agent seeks reimbursement, and
 the Debtor or the Reorganized Debtor, as applicable, shall pay those amounts that either deem
 reasonable, and shall object in writing to those fees and expenses, if any, that the Debtor or the
 Reorganized Debtor, as applicable, deem to be unreasonable. In the event that the Debtor or the
 Reorganized Debtor, as applicable, object to all or any portion of the amounts requested to be
 reimbursed in a Distribution Agent’s invoice, the Debtor or the Reorganized Debtor, as applicable,
 and such Distribution Agent shall endeavor, in good faith, to reach mutual agreement on the
 amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
 Debtor or the Reorganized Debtor, as applicable, and a Distribution Agent are unable to resolve
 any differences regarding disputed fees or expenses, either party shall be authorized to move to
 have such dispute heard by the Bankruptcy Court.

 6.02     Special Rules for Distributions to Holders of Disputed Claims

         Notwithstanding any provision otherwise in the Plan and except as otherwise agreed by the
 relevant parties, (a) no partial payments and no partial distributions shall be made with respect to
 a Disputed Claim until all such disputes in connection with such Disputed Claim have been
 resolved by settlement or Final Order; and (b) any Entity that holds both an Allowed Claim and a
 Disputed Claim shall not receive any distribution on the Allowed Claim unless and until all
 objections to the Disputed Claim have been resolved by settlement or Final Order or the Claims
 have been Allowed or expunged.



                                                  41
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                  Document    Page 294 of 446



 6.03     Delivery of Distributions

          (a)       Record Date for Distributions

         As of the Distribution Record Date, the various transfer registers for each Class of Claims
 or Interests entitled to distributions under the Plan as maintained by the Debtor or its respective
 agents shall be deemed closed as of the close of business on the Distribution Record Date, and
 there shall be no further changes in the record Holders of any Claims or Interests. The Distribution
 Agent shall have no obligation to recognize any transfer of Claims or Interests occurring on or
 after the Distribution Record Date. In addition, with respect to payment of any Cure amounts or
 disputes over any Cure amounts, neither the Debtor nor the Distribution Agent shall have any
 obligation to recognize or deal with any party other than the non-Debtor party to the applicable
 Executory Contract or Unexpired Lease as of the Effective Date, even if such non-Debtor party
 has sold, assigned, or otherwise transferred its Claim for a Cure amount. For the avoidance of
 doubt, the Distribution Record Date shall not apply to the Debtor’s publicly traded Preferred Stock
 or Common Stock, the distributions to which will be conducted in accordance with the DTC’s
 standard procedures and customary practices.

          (b)       Distribution Process

        Except as otherwise provided in the Plan, the Distribution Agent shall make distributions
 to Holders of Allowed Claims or Interests at the address for each such Holder as indicated on the
 applicable register or in the Debtor’s records as of the date of any such distribution (as applicable),
 including the address set forth in any Proof of Claim filed by that Holder; provided, that, the
 manner of such distributions shall be determined at the discretion of the Reorganized Debtor.

          (c)       Compliance Matters

         In connection with the Plan, to the extent applicable, the Reorganized Debtor and the
 Distribution Agent shall comply with all applicable withholding and reporting requirements
 imposed on them by any Governmental Unit, and all distributions pursuant to the Plan and all
 related agreements shall be subject to any such withholding or reporting requirements.
 Notwithstanding the foregoing, each Holder of an Allowed Claim or Interest or any other Person
 that receives a distribution pursuant to the Plan shall have responsibility for any taxes imposed by
 any Governmental Unit, including, without limitation, income, withholding, and other taxes, on
 account of such distribution. Notwithstanding any provision in the Plan, any document included
 in the Plan Supplement, or any other Definitive Document to the contrary, the Reorganized Debtor
 and the Distribution Agent shall have the right, but not the obligation, to take all actions necessary
 or appropriate to comply with such withholding and reporting requirements, including (a)
 withholding distributions pending receipt of information necessary to facilitate such distributions
 and (b) in the case of a non-Cash distribution that is subject to withholding, withhold an appropriate
 portion of such property and either liquidate such withheld property to generate sufficient funds to
 pay applicable withholding taxes (or reimburse the distributing party for any advance payment of
 the withholding tax) or pay the withholding tax using its own funds and retain such withheld
 property. The Reorganized Debtor reserves the right to allocate all distributions made under the
 Plan in compliance with all applicable wage garnishments, alimony, child support, and other spousal
 awards, liens, and encumbrances. Any amounts withheld or reallocated pursuant to this Article
 6.03(c) shall be treated as if distributed to the Holder of the Allowed Claim or Allowed Interest.
                                                    42
 HB: 4866-7395-7801.1
Case 24-40236-can11            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                    Document    Page 295 of 446



         Any party entitled to receive any property as an issuance or distribution under the Plan
 shall, upon request, deliver to the Reorganized Debtor and the Distribution Agent, or such other
 Person designated by the Reorganized Debtor or the Distribution Agent, IRS Form W-9 or, if the
 payee is a foreign Person, an applicable IRS Form W-8, or any other forms or documents
 reasonably requested by the Reorganized Debtor or the Distribution Agent to reduce or eliminate
 any withholding required by Governmental Unit. If such request is made by the Reorganized
 Debtor or the Distribution Agent, or such other Person designated by the Reorganized Debtor or
 the Distribution Agent, and the Holder fails to comply within ninety (90) days after not less than
 two (2) requests have been made, the amount of such distribution shall irrevocably revert to the
 applicable Reorganized Debtor as applicable, and any Claim or Interest in respect of such
 distribution shall be forever barred from assertion against any Debtor, the Reorganized Debtor and
 their respective property.

          (d)       Foreign Currency Exchange Rate

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any
 Claim asserted in currency other than U.S. dollars shall be automatically deemed converted to the
 equivalent U.S. dollar value using the exchange rate for the applicable currency as published in
 The Wall Street Journal, National Edition, on the Effective Date.

          (e)       Fractional, Undeliverable, and Unclaimed Distributions

                    (i)     Fractional Distributions: No fractional New Common Stock shall be
                            distributed. Whenever any distribution of fractional units of New Common
                            Stock would otherwise be required pursuant to the Plan, the actual
                            distribution shall reflect a rounding down of such fraction to the nearest unit
                            of New Common Stock. Any Cash distributions shall reflect a rounding
                            down of such Cash to the nearest penny. No consideration shall be provided
                            in lieu of fractional shares or Cash amounts that are rounded down. None of
                            the Reorganized Debtor or the Distribution Agent shall have any obligation
                            to make a distribution that is less than one (1) share of New Common Stock.
                            DTC shall be considered a single holder for distribution purposes.

                    (ii)    Undeliverable Distributions: If any distribution to a Holder is returned as
                            undeliverable, no further distributions shall be made to such Holder unless
                            and until the Distribution Agent is notified in writing of such Holder’s then-
                            current address or other necessary information for delivery, at which time
                            all currently due missed distributions shall be made to such Holder within
                            thirty (30) days of receipt of the Holder’s then current address or other
                            necessary information. Undeliverable distributions shall remain in the
                            possession of the Reorganized Debtor as applicable, for one (1) year after
                            the Effective Date at which time such distribution reverts to the Reorganized
                            Debtor as applicable, or is cancelled pursuant to Article 6.03(e)(iv) of the
                            Plan, and shall not be supplemented with any interest, dividends, or other
                            accruals of any kind.

                    (iii)   Failure to Present Checks: Checks issued by the Reorganized Debtor (or its
                            Distribution Agent) on account of Allowed Claims shall be null and void if
                                                      43
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                 Desc Main
                                   Document    Page 296 of 446



                           not negotiated within ninety (90) days after the issuance of such check.
                           Requests for reissuance of any check shall be made directly to the
                           Distribution Agent by the Holder of the relevant Allowed Claim with
                           respect to which such check originally was issued.

                    Any Holder of an Allowed Claim holding an un-negotiated check that does not
                    request reissuance of such un-negotiated check within 180 days of the Effective Date
                    shall have its Claim for such un-negotiated check discharged and be discharged and
                    forever barred, estopped, and enjoined from asserting any such Claim against the
                    Reorganized Debtor or its property.

                    Within ninety (90) days after the mailing or other delivery of any such distribution
                    checks, notwithstanding applicable escheatment laws, all such distributions shall
                    revert to the Reorganized Debtor. Nothing contained herein shall require the
                    Reorganized Debtor to attempt to locate any Holder of an Allowed Claim.

                    (iv)   Reversion: Any distribution under the Plan that is an Unclaimed
                           Distribution for a period of one (1) year after the Effective Date shall be
                           deemed unclaimed property under Section 347(b) of the Bankruptcy Code,
                           and such Unclaimed Distribution shall revest in the Reorganized Debtor
                           and, to the extent such Unclaimed Distribution is New Common Stock shall
                           be deemed cancelled. Upon such revesting, the Claim of the Holder or its
                           successors with respect to such property shall be cancelled, discharged, and
                           forever barred notwithstanding any applicable federal or state escheat,
                           abandoned, or unclaimed property laws, or any provisions in any document
                           governing the distribution that is an Unclaimed Distribution, to the contrary.

          (f)       Surrender of Cancelled Instruments or Securities

         On the Effective Date, each Holder of a certificate or instrument evidencing a Claim or
 Interest that has been cancelled shall be deemed to have surrendered such certificate or interest to
 the Debtor or a Servicer (to the extent the relevant Claim is governed by an agreement and
 administered by a Servicer). Such certificate or instrument shall be cancelled solely with respect
 to the Debtor, and such cancellation shall not alter the obligations or rights of any non-Debtor third
 parties vis-à-vis one another with respect to such certificate or instrument including with respect
 to any indenture or agreement that governs the rights of the Holder of a Claim or Interest, which
 shall continue in effect for purposes of allowing Holders to receive distributions under the Plan,
 charging liens, priority of payment, and indemnification rights. Notwithstanding the foregoing
 paragraph, this Article 6.03(f) shall not apply to any Claims and Interests Reinstated pursuant to
 the terms of the Plan.

 6.04     Claims Paid or Payable by Third Parties

          (a)       Claims Paid by Third Parties

         A Claim shall be correspondingly reduced, and the applicable portion of such Claim shall
 be disallowed without an objection to such Claim having to be Filed and without any further notice
 to or action, order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim

                                                     44
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                   Document    Page 297 of 446



 receives a payment on account of such Claim from a party that is not the Debtor or the Reorganized
 Debtor. To the extent a Holder of a Claim receives a distribution on account of such Claim and
 receives payment from a party that is not the Debtor or the Reorganized Debtor on account of such
 Claim, such Holder shall, within fourteen (14) days of receipt thereof, repay or return the
 distribution to the Reorganized Debtor to the extent the Holder’s total recovery on account of such
 Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
 any such distribution under the Plan. The failure of such Holder to timely repay or return such
 distribution shall result in the Holder owing the Reorganized Debtor annualized interest at the
 Federal Judgment Rate on such amount owed for each Business Day after the fourteen-day grace
 period specified above until the amount is repaid.

          (b)       Claims Payable by Insurance Carriers

         No distributions under the Plan shall be made on account of an Allowed Claim that is
 payable pursuant to one of the Debtor’s insurance policies until the Holder of such Allowed Claim
 has exhausted all remedies with respect to such insurance policy. To the extent that one or more
 of the Debtor’s insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated
 by a court of competent jurisdiction), then immediately upon such insurers’ agreement, the
 applicable portion of such Claim may be expunged without a Claim objection having to be Filed
 and without any further notice to or action, order, or approval of the Bankruptcy Court.

          (c)       Applicability of Insurance Policies

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall
 be in accordance with the provisions of any applicable insurance policy. Notwithstanding anything
 to the contrary herein (including Article VIII), nothing contained in the Plan shall constitute or be
 deemed a release, settlement, satisfaction, compromise, or waiver of any Cause of Action that the
 Debtor or any other Entity may hold against any other Entity, including insurers, under any policies
 of insurance or applicable indemnity, nor shall anything contained herein constitute or be deemed
 a waiver by such insurers of any defenses, including coverage defenses, held by such insurers.

 6.05     No Postpetition or Default Interest on Claims

        Unless otherwise specifically provided for in the Plan or the Confirmation Order, and
 notwithstanding any documents that govern the Debtor’s prepetition funded indebtedness to the
 contrary, (a) postpetition and/or default interest shall not accrue or be paid on any Claims and (b)
 no Holder of a Claim shall be entitled to: (i) interest accruing on or after the Petition Date on any
 such Claim; or (ii) interest at the contract default rate, as applicable.

 6.06     Setoffs

         Except as otherwise expressly provided for herein and with respect to the Allowed Claim
 of the holders of the Senior Notes and/or the Trustee, the Reorganized Debtor, pursuant to the
 Bankruptcy Code (including Section 553 of the Bankruptcy Code), applicable non-bankruptcy law,
 or as may be agreed to by the Holder of a Claim, may set off against any Allowed Claim and the
 distributions to be made pursuant to the Plan on account of such Allowed Claim (before any
 distribution is made on account of such Allowed Claim), any claims, rights, and Causes of Action
 of any nature that the Debtor or the Reorganized Debtor, as applicable, may hold against the Holder

                                                   45
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 298 of 446



 of such Allowed Claim, to the extent such Claims, rights, or Causes of Action against such Holder
 have not been otherwise compromised or settled on or prior to the Effective Date (whether pursuant
 to the Plan or otherwise); provided, however, that neither the failure to effect such a setoff nor the
 allowance of any Claim pursuant to the Plan shall constitute a waiver or release by the Reorganized
 Debtor of any such Claims, rights, and Causes of Action that the Reorganized Debtor may possess
 against such Holder. In no event shall any Holder of a Claim be entitled to set off any such Claim
 against any Claim, right, or Cause of Action of the Debtor or the Reorganized Debtor (as
 applicable), unless such Holder has filed a motion with the Bankruptcy Court requesting the
 authority to perform such setoff on or before the Confirmation Date, and notwithstanding any
 indication in any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve
 any right of setoff pursuant to Section 553 of the Bankruptcy Code or otherwise.

 6.07     Allocation Between Principal and Accrued Interest

         Except as otherwise provided herein or as otherwise required by law (as reasonably
 determined by the Reorganized Debtor), the aggregate consideration paid to Holders with respect
 to their Allowed Claims shall be treated pursuant to the Plan as allocated first to the principal
 amount of such Allowed Claims (to the extent thereof as determined for federal income tax
 purposes) and, thereafter, to interest, if any, on such Allowed Claim accrued through the Effective
 Date.

 6.08     Delivery of New Common Stock

         On the Effective Date, the Reorganized Debtor is authorized to issue or cause to be issued
 and shall issue the New Common Stock for distribution in accordance with the terms of the Plan
 without the need for any further board, shareholder or other corporate action. All of the New
 Common Stock issuable under the Plan, when so issued, shall be duly authorized, validly issued,
 fully paid, and non-assessable. Each holder of New Common Stock shall be deemed, without
 further notice or action, to have agreed to be bound by the New Governance Documents, as the
 same may be amended from time to time following the Effective Date in accordance with their
 terms. The New Governance Documents shall be binding on all Entities receiving New Common
 Stock (and their respective successors and assigns), whether received pursuant to the Plan or
 otherwise and regardless of whether such Entity executes or delivers a signature page to the New
 Governance Document. Notwithstanding the foregoing, the Reorganized Debtor, may condition
 the distribution of any New Common Stock issued pursuant to the Plan upon the recipient thereof
 duly executing and delivering to the Debtor or the Reorganized Debtor, as applicable, counter-
 signatures to one or more New Governance Documents.

                              ARTICLE VII
         PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
                     DISPUTED CLAIMS AND INTERESTS

 7.01     Allowance of Claims

         Except as expressly provided in the Plan or in any Order entered in the Chapter 11 Case
 before the Effective Date (including the Confirmation Order), no Claim shall become an Allowed
 Claim unless and until such Claim is deemed Allowed under the Plan or the Bankruptcy Code, or
 the Bankruptcy Court has entered a Final Order, including the Confirmation Order (when it

                                                  46
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                Document    Page 299 of 446



 becomes a Final Order), in the Chapter 11 Case allowing such Claim. The Debtor or Reorganized
 Debtor may affirmatively determine to deem Unimpaired Claims Allowed to the same extent such
 Claims would be allowed under applicable non-bankruptcy law.

 7.02     Objections to Claims

         Except as otherwise specifically provided in this Plan or the Confirmation Order, the
 Debtor, and after the Effective Date, the Reorganized Debtor, shall have the sole authority to: (a)
 File, withdraw, or litigate to judgment objections to Claims or Interests; (b) settle or compromise
 any Disputed Claim or Interest without any further notice to or action, Order, or approval by the
 Bankruptcy Court; and (c) administer and adjust the Debtor’s Claims register to reflect any such
 settlements or compromises without any further notice to or action, Order, or approval by the
 Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and after
 the Effective Date, the Reorganized Debtor shall have and retain any and all rights and defenses
 the Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or
 Disputed Interest, including the Causes of Action retained pursuant to Article 4.20 of the Plan. A
 motion to extend the Claims Objection Deadline shall automatically extend the deadline until the
 Court enters an order on such motion.

 7.03     Estimation of Claims

         Before or after the Effective Date, the Debtor or Reorganized Debtor, as applicable, may
 (but are not required to) at any time request that the Bankruptcy Court estimate any Disputed Claim
 that is contingent or unliquidated pursuant to Section 502(c) of the Bankruptcy Code for any
 reason, regardless of whether any party previously has objected to such Claim or whether the
 Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain
 jurisdiction to estimate any such Claim, including during the litigation of any objection to any
 Claim or during the appeal relating to such objection. In the event that the Bankruptcy Court
 estimates any contingent, unliquidated or Disputed Claim, the amount so estimated shall constitute
 either the Allowed amount of such Claim or a maximum limitation on such Claim, as determined
 by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount
 of such Claim, the Debtor or the Reorganized Debtor may pursue supplementary proceedings to
 object to the allowance of such Claim. Notwithstanding Section 502(j) of the Bankruptcy Code,
 in no event shall any Holder of a Claim that has been estimated pursuant to Section 502(c) of the
 Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation unless such
 Holder has filed a motion requesting the right to seek such reconsideration on or before twenty-one
 (21) days after the date on which such Claim is estimated.

 7.04     No Distribution Pending Allowance

         If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
 distribution provided under the Plan shall be made on account of such Claim unless and until (and
 only to the extent that) such Claim becomes an Allowed Claim.

 7.05     Distribution After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
 (if any) shall be made to the Holder of such Allowed Claim in accordance with the provisions of

                                                 47
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 300 of 446



 the Plan. As soon as practicable after the date that the order or judgment of the Bankruptcy Court
 allowing any Disputed Claim becomes a Final Order, the Distribution Agent shall provide to the
 Holder of such Claim the distribution (if any) to which such Holder is entitled under the Plan as of
 the Effective Date, without any interest to be paid on account of such Claim unless required under
 applicable bankruptcy law.

 7.06     No Interest

         Unless otherwise specifically provided for herein or by order of the Bankruptcy Court,
 postpetition interest shall not accrue or be paid on Claims, and no Holder of a Claim shall be
 entitled to interest accruing on or after the Petition Date on any Claim or right. Additionally, and
 without limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim with
 respect to the period from the Effective Date to the date a final distribution is made on account of
 such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

 7.07     Adjustment to Claims Without Objection

         Any duplicate Claim or Interest, any Claim or Interest that has been paid or satisfied, or any
 Claim or Interest that has been amended or superseded, cancelled or otherwise expunged
 (including pursuant to the Plan or the Confirmation Order), may be adjusted or expunged
 (including on the Claims register, to the extent applicable) by the Reorganized Debtor without
 having to File an application, motion, complaint, objection, or any other legal proceeding seeking
 to object to such Claim or Interest and without any further notice to or action, Order, or approval
 of the Bankruptcy Court.

 7.08     Disallowance of Claims

         All Claims of any Entity from which property is sought by the Debtor under Sections 542,
 543, 550, or 553 of the Bankruptcy Code or that the Debtor or the Reorganized Debtor allege is a
 transferee of a transfer that is avoidable under Sections 522(f), 522(h), 544, 545, 547, 548, 549, or
 724(a) of the Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the
 Debtor or the Reorganized Debtor, as applicable, on the other hand, agree or the Bankruptcy Court
 has determined by Final Order that such Entity or transferee is liable to turn over any property or
 monies under any of the aforementioned Sections of the Bankruptcy Code; and (b) such Entity or
 transferee has failed to turn over such property by the date set forth in such agreement or Final
 Order. All Claims filed on account of an indemnification obligation to a director, officer, or
 employee shall be deemed satisfied and expunged from the Claims register as of the Effective Date
 to the extent such indemnification obligation is assumed (or honored or reaffirmed, as the case
 may be) pursuant to the Plan, without any further notice to or action, order or approval of the
 Bankruptcy Court. All Claims filed on account of an employee benefit shall be deemed satisfied
 and expunged from the Claims register as of the Effective Date to the extent the Reorganized
 Debtor elects to honor such employee benefit, without any further notice to or action, order or
 approval of the Bankruptcy Court.

         Except as provided herein or otherwise agreed to by the Debtor or the Reorganized
 Debtor, as applicable, any and all Proofs of Claim filed after the Claims Bar Date shall be
 deemed Disallowed and expunged as of the Effective Date without any further notice to or
 action, Order, or approval of the Bankruptcy Court, and Holders of such Claims may not

                                                  48
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 301 of 446



 receive any distributions on account of such Claims, unless on or before the Combined
 Hearing such late Filed Claim has been deemed timely Filed by a Final Order.

                                    ARTICLE VIII
                        EFFECT OF CONFIRMATION OF THE PLAN

 8.01     Discharge of Claims and Termination of Interests; Compromise and Settlement of
          Claims, Interests, and Controversies

         Except as otherwise specifically provided in the Plan or in any contract, instrument,
 or other agreement or document created pursuant to the Plan (including the Takeback Debt
 and the Revolving Credit Facility): (a) the distributions, rights, and treatment that are
 provided in the Plan shall be in complete satisfaction, discharge, and release, effective as of
 the Effective Date, of any and all Claims and Interests after the Effective Date by the
 Reorganized Debtor, and Causes of Action against the Debtor of any nature whatsoever
 including demands, liabilities, and Causes of Action that arose before the Effective Date, any
 liability (including withdrawal liability) to the extent such liability relates to services
 performed by employees of the Debtor prior to the Effective Date and that arises from a
 termination of employment, any contingent or non-contingent liability on account of
 representations or warranties issued on or before the Effective Date, all debts of the kind
 specified in Sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, any interest accrued
 on Claims or Interests from and after the Petition Date, and all other liabilities against, liens
 on, obligations of, rights against, and Interests in, the Debtor or any of its assets or properties;
 (b) the Plan shall bind all Holders of Claims and Interests; (c) all Claims and Interests shall
 be satisfied, discharged, and released in full, and the Debtor’s liability with respect thereto
 shall be extinguished completely, including any liability of the kind specified under Section
 502(g) of the Bankruptcy Code; and (d) all Entities shall be precluded from asserting against
 the Debtor, the Debtor’s Estate, the Reorganized Debtor, its successors and assigns, and its
 assets and properties any other Claims or Interests based upon any documents, instruments,
 or any act or omission, transaction, or other activity of any kind or nature that occurred
 prior to the Effective Date, in each case regardless of whether or not: (i) a Proof of Claim
 based upon such debt or right is filed or deemed filed pursuant to Section 501 of the
 Bankruptcy Code; (ii) a Claim or Interest based upon such debt, right, or Interest is Allowed
 pursuant to Section 502 of the Bankruptcy Code; (iii) the Holder of such a Claim or Interest
 has accepted, rejected or failed to vote to accept or reject the Plan; or (iv) any property shall
 have been distributed or retained pursuant to the Plan on account of such Claims and
 Interests. The Confirmation Order shall be a judicial determination of the discharge of all
 Claims and Interests subject to the occurrence of the Effective Date.

         Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and
 other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good
 faith compromise of all Claims, Interests, and controversies relating to the contractual, legal,
 and subordination rights that a Holder of a Claim or Interest may have with respect to any
 Allowed Claim or Allowed Interest, or any distribution to be made on account of such
 Allowed Claim or Allowed Interest. The entry of the Confirmation Order shall constitute
 the Bankruptcy Court’s approval of the compromise or settlement of all such Claims,
 Interests, and controversies, as well as a finding by the Bankruptcy Court that such
 compromise or settlement is in the best interests of the Debtor, its Estate, and Holders of
                                                 49
 HB: 4866-7395-7801.1
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55           Desc Main
                               Document    Page 302 of 446



 Claims and Interests and is fair, equitable, and reasonable. In accordance with the
 provisions of the Plan, pursuant to Bankruptcy Rule 9019, without any further notice to or
 action, order, or approval of the Bankruptcy Court, after the Effective Date, the Reorganized
 Debtor may compromise and settle Claims against the Debtor and its Estate and Causes of
 Action against other Entities.

 8.02     Release by the Debtor

      NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE
 CONTRARY, PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, FOR
 GOOD AND VALUABLE CONSIDERATION, ON AND AFTER THE EFFECTIVE
 DATE, EACH RELEASED PARTY IS DEEMED RELEASED AND DISCHARGED BY
 THE DEBTOR, THE REORGANIZED DEBTOR, AND ITS ESTATE FROM ANY AND
 ALL CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN,
 INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE ON BEHALF
 OF THE DEBTOR OR ITS ESTATE, THAT THE DEBTOR, THE REORGANIZED
 DEBTOR, OR ITS ESTATE WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT
 IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON
 BEHALF OF THE HOLDER OF ANY CLAIM AGAINST, OR INTEREST IN, THE
 DEBTOR OR OTHER ENTITY, BASED ON OR RELATING TO, OR IN ANY MANNER
 ARISING FROM, IN WHOLE OR IN PART, THE DEBTOR (INCLUDING THE
 MANAGEMENT, OWNERSHIP, OR OPERATION THEREOF), ANY SECURITIES
 ISSUED BY THE DEBTOR AND THE OWNERSHIP THEREOF, THE DEBTOR’S IN-
 OR OUT-OF-COURT RESTRUCTURING EFFORTS, ANY AVOIDANCE ACTIONS
 (BUT EXCLUDING AVOIDANCE ACTIONS BROUGHT AS COUNTERCLAIMS OR
 DEFENSES TO CLAIMS ASSERTED AGAINST THE DEBTOR), ANY
 INTERCOMPANY TRANSACTIONS, THE BOND INDENTURE, THE CHAPTER 11
 CASE, THE FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION,
 EXECUTION, OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT, THE
 DISCLOSURE STATEMENT, THE PLAN, THE PLAN SUPPLEMENTS, OR ANY
 RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
 OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN
 CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE
 TAKEBACK DEBT, THE REVOLVING CREDIT FACILITY, SOLICITATION OF
 VOTES ON THE PLAN, THE PREPETITION NEGOTIATION AND SETTLEMENT OF
 CLAIMS, THE PURSUIT OF CONFIRMATION OF THE PLAN, THE PURSUIT OF
 CONSUMMATION      OF   THE    PLAN,   THE   ADMINISTRATION    AND
 IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR
 DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW
 COMMON STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION
 THEREWITH) PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY
 UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY
 OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
 OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.
 NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
 RELEASES SET FORTH ABOVE DO NOT RELEASE (A) ANY POST-EFFECTIVE

                                              50
 HB: 4866-7395-7801.1
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                               Document    Page 303 of 446



 DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE RESTRUCTURING
 SUPPORT AGREEMENT, THE PLAN, ANY DEFINITIVE DOCUMENT EXECUTED IN
 CONNECTION WITH THE RESTRUCTURING TRANSACTIONS, OR ANY OTHER
 DOCUMENT, INSTRUMENT, OR AGREEMENT EXECUTED TO IMPLEMENT THE
 PLAN, (B) THE DEBTOR’S OR THE REORGANIZED DEBTOR’S ASSUMED
 INDEMNIFICATION PROVISIONS AS SET FORTH IN THE PLAN, OR (C) CLAIMS
 RELATED TO ANY ACT OR OMISSION THAT IS DETERMINED IN A FINAL ORDER
 BY A COURT OF COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL
 FRAUD, WILLFUL MISCONDUCT, OR GROSS NEGLIGENCE.

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019,
 OF THE DEBTOR RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE
 RELATED PROVISIONS AND DEFINITIONS CONTAINED IN THE PLAN, AND
 FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT
 THE DEBTOR RELEASE IS: (A) IN EXCHANGE FOR THE GOOD AND VALUABLE
 CONSIDERATION PROVIDED BY THE RELEASED PARTIES, INCLUDING,
 WITHOUT LIMITATION, THE RELEASED PARTIES’ CONTRIBUTIONS TO
 FACILITATING THE RESTRUCTURING AND IMPLEMENTING THE PLAN; (B) A
 GOOD FAITH SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY
 THE DEBTOR RELEASE; (C) IN THE BEST INTERESTS OF THE DEBTOR AND ALL
 HOLDERS OF CLAIMS AND INTERESTS; (D) FAIR, EQUITABLE, AND
 REASONABLE; (E) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
 FOR HEARING; AND (F) A BAR TO ANY OF THE DEBTOR, THE REORGANIZED
 DEBTOR, OR THE DEBTOR’S ESTATE ASSERTING ANY CLAIM OR CAUSE OF
 ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

 8.03     Releases by Holders of Claims and Interests

      NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE
 CONTRARY, AS OF THE EFFECTIVE DATE, AND TO THE FULLEST EXTENT
 ALLOWED BY APPLICABLE LAW, EACH RELEASING PARTY IS DEEMED TO
 HAVE RELEASED AND DISCHARGED THE DEBTOR, REORGANIZED DEBTOR,
 AND THE RELEASED PARTIES FROM ANY AND ALL CLAIMS AND CAUSES OF
 ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY DERIVATIVE
 CLAIMS ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTOR OR ITS
 ESTATE, THAT SUCH ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO
 ASSERT (WHETHER INDIVIDUALLY OR COLLECTIVELY), BASED ON OR
 RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE
 DEBTOR (INCLUDING THE MANAGEMENT, OWNERSHIP, OR OPERATION
 THEREOF), ANY SECURITIES ISSUED BY THE DEBTOR AND THE OWNERSHIP
 THEREOF, THE DEBTOR’S IN- OR OUT-OF-COURT RESTRUCTURING EFFORTS,
 ANY AVOIDANCE ACTIONS (BUT EXCLUDING AVOIDANCE ACTIONS BROUGHT
 AS COUNTERCLAIMS OR DEFENSES TO CLAIMS ASSERTED AGAINST THE
 DEBTOR), ANY INTERCOMPANY TRANSACTIONS, THE BOND INDENTURE, THE
 CHAPTER 11 CASE, THE FORMULATION, PREPARATION, DISSEMINATION,
 NEGOTIATION, EXECUTION, OR FILING OF THE RESTRUCTURING SUPPORT
 AGREEMENT, THE DISCLOSURE STATEMENT, THE PLAN, THE PLAN
                                 51
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 304 of 446



 SUPPLEMENTS, OR ANY RESTRUCTURING TRANSACTION, CONTRACT,
 INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR
 ENTERED INTO IN CONNECTION WITH THE RESTRUCTURING SUPPORT
 AGREEMENT, THE TAKEBACK DEBT, THE REVOLVING CREDIT FACILITY,
 SOLICITATION OF VOTES ON THE PLAN, THE PREPETITION NEGOTIATION AND
 SETTLEMENT OF CLAIMS, THE PURSUIT OF CONFIRMATION OF THE PLAN,
 THE PURSUIT OF CONSUMMATION OF THE PLAN, THE ADMINISTRATION AND
 IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR
 DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW
 COMMON STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION
 THEREWITH) PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY
 UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY
 OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
 OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.
 NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE FOREGOING, THE
 RELEASES SET FORTH ABOVE DO NOT RELEASE (A) ANY POST- EFFECTIVE
 DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER THE RESTRUCTURING
 SUPPORT AGREEMENT, THE PLAN, THE TAKEBACK DEBT OR THE REVOLVING
 CREDIT FACLIITY, ANY DEFINITIVE DOCUMENT EXECUTED IN CONNECTION
 WITH THE RESTRUCTURING TRANSACTIONS, OR ANY OTHER DOCUMENT,
 INSTRUMENT, OR AGREEMENT EXECUTED TO IMPLEMENT THE PLAN, (B)
 SHALL NOT RESULT IN A RELEASE, WAIVER, OR DISCHARGE OF THE
 DEBTOR’S OR THE REORGANIZED DEBTOR’S ASSUMED INDEMNIFICATION
 PROVISIONS AS SET FORTH IN THE PLAN, (C) OBLIGATIONS UNDER THE BOND
 INDENTURE, THAT, BY THEIR EXPRESS TERMS, SURVIVE THE TERMINATION
 THEREOF, INCLUDING THE RIGHTS OF THE TRUSTEE TO EXPENSE
 REIMBURSEMENT, INDEMNIFICATION AND SIMILAR AMOUNTS, OR (IV)
 CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS DETERMINED IN A
 FINAL ORDER BY A COURT OF COMPETENT JURISDICTION TO HAVE
 CONSTITUTED ACTUAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
 NEGLIGENCE.

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
 BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019, OF
 THE THIRD-PARTY RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE
 RELATED PROVISIONS AND DEFINITIONS CONTAINED IN THE PLAN, AND,
 FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT
 THE THIRD-PARTY RELEASE IS: (A) CONSENSUAL; (B) ESSENTIAL TO THE
 CONFIRMATION OF THE PLAN; (C) GIVEN IN EXCHANGE FOR THE GOOD AND
 VALUABLE CONSIDERATION PROVIDED BY THE RELEASED PARTIES,
 INCLUDING,   WITHOUT     LIMITATION,    THE  RELEASED    PARTIES’
 CONTRIBUTIONS    TO   FACILITATING     THE  RESTRUCTURING    AND
 IMPLEMENTING THE PLAN; (D) A GOOD FAITH SETTLEMENT AND
 COMPROMISE OF THE CLAIMS RELEASED BY THE THIRD-PARTY RELEASE; (E)
 IN THE BEST INTERESTS OF THE DEBTOR AND ITS ESTATE; (F) FAIR,
 EQUITABLE, AND REASONABLE; (G) GIVEN AND MADE AFTER DUE NOTICE

                                         52
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 305 of 446



 AND OPPORTUNITY FOR HEARING; AND (H) A BAR TO ANY OF THE RELEASING
 PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED PURSUANT
 TO THE THIRD-PARTY RELEASE.

 8.04     Exculpation

      NOTWITHSTANDING ANYTHING CONTAINED IN THE PLAN TO THE
 CONTRARY AND TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
 NO EXCULPATED PARTY SHALL HAVE OR INCUR LIABILITY FOR, AND EACH
 EXCULPATED PARTY IS RELEASED AND EXCULPATED FROM, ANY CAUSE OF
 ACTION FOR ANY CLAIM RELATED TO ANY ACT OR OMISSION IN CONNECTION
 WITH, RELATING TO, OR ARISING OUT OF, THE DEBTOR (INCLUDING THE
 MANAGEMENT, OWNERSHIP, OR OPERATION THEREOF), ANY SECURITIES
 ISSUED BY THE DEBTOR AND THE OWNERSHIP THEREOF, THE DEBTOR’S IN-
 OR OUT-OF-COURT RESTRUCTURING EFFORTS, ANY AVOIDANCE ACTIONS
 (BUT EXCLUDING AVOIDANCE ACTIONS BROUGHT AS COUNTERCLAIMS OR
 DEFENSES TO CLAIMS ASSERTED AGAINST THE DEBTOR), ANY
 INTERCOMPANY TRANSACTIONS, THE BOND INDENTURE, THE CHAPTER 11
 CASE, THE FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION,
 EXECUTION, OR FILING OF THE RESTRUCTURING SUPPORT AGREEMENT, THE
 DISCLOSURE STATEMENT, THE PLAN, THE PLAN SUPPLEMENTS, OR ANY
 RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
 OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN
 CONNECTION WITH THE RESTRUCTURING SUPPORT AGREEMENT, THE
 TAKEBACK DEBT, THE REVOLVING CREDIT FACILITY, SOLICITATION OF
 VOTES ON THE PLAN, THE PREPETITION NEGOTIATION AND SETTLEMENT OF
 CLAIMS, THE PURSUIT OF CONFIRMATION OF THE PLAN, THE PURSUIT OF
 CONSUMMATION      OF   THE    PLAN,   THE    ADMINISTRATION   AND
 IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR
 DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW
 COMMON STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION
 THEREWITH) PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY
 UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY
 OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
 OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE,
 EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS
 DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT JURISDICTION
 TO HAVE CONSTITUTED ACTUAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
 NEGLIGENCE, BUT IN ALL RESPECTS SUCH ENTITIES SHALL BE ENTITLED TO
 REASONABLY RELY UPON THE ADVICE OF COUNSEL WITH RESPECT TO THEIR
 DUTIES AND RESPONSIBILITIES PURSUANT TO THE PLAN.

      THE EXCULPATED PARTIES HAVE, AND UPON CONFIRMATION OF THE
 PLAN SHALL BE DEEMED TO HAVE, PARTICIPATED IN GOOD FAITH AND IN
 COMPLIANCE WITH THE APPLICABLE LAWS WITH REGARD TO THE
 SOLICITATION OF VOTES ON, AND DISTRIBUTION OF CONSIDERATION
 PURSUANT TO, THE PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF
                                53
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 306 of 446



 SUCH DISTRIBUTIONS SHALL NOT BE, LIABLE AT ANY TIME FOR THE
 VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION GOVERNING
 THE SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THE PLAN OR SUCH
 DISTRIBUTIONS MADE PURSUANT TO THE PLAN. NOTWITHSTANDING
 ANYTHING TO THE CONTRARY IN THE FOREGOING, THE EXCULPATION SET
 FORTH ABOVE DOES NOT RELEASE OR EXCULPATE ANY CLAIM RELATING TO
 ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR ENTITY UNDER
 THE   RESTRUCTURING    SUPPORT   AGREEMENT,    THE    PLAN,   ANY
 RESTRUCTURING TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR
 AGREEMENT (INCLUDING ANY DOCUMENTS RELATED TO THE TAKEBACK
 DEBT, THE REVOLVING CREDIT FACILITY, AND OTHER DOCUMENTS,
 INSTRUMENTS AND AGREEMENTS SET FORTH IN THE PLAN SUPPLEMENT)
 EXECUTED TO IMPLEMENT THE PLAN.

 8.05     Injunction

      UPON ENTRY OF THE CONFIRMATION ORDER, ALL HOLDERS OF CLAIMS
 AND INTERESTS AND OTHER PARTIES IN INTEREST, ALONG WITH THEIR
 RESPECTIVE PRESENT OR FORMER EMPLOYEES, AGENTS, OFFICERS,
 DIRECTORS, PRINCIPALS, AND AFFILIATES, AND EACH OF THEIR SUCCESSORS
 AND ASSIGNS, SHALL BE ENJOINED FROM TAKING ANY ACTIONS TO
 INTERFERE WITH THE IMPLEMENTATION OR CONSUMMATION OF THE PLAN
 IN RELATION TO ANY CLAIM OR INTEREST THAT IS EXTINGUISHED,
 DISCHARGED, OR RELEASED PURSUANT TO THE PLAN.

       EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR THE
 CONFIRMATION ORDER, ALL ENTITIES WHO HAVE HELD, HOLD, OR MAY
 HOLD CLAIMS, INTERESTS, CAUSES OF ACTION, OR LIABILITIES THAT: (A) ARE
 SUBJECT TO COMPROMISE AND SETTLEMENT PURSUANT TO THE TERMS OF
 THE PLAN; (B) HAVE BEEN RELEASED PURSUANT TO ARTICLE 8.02 OF THE PLAN;
 (C) HAVE BEEN RELEASED PURSUANT TO ARTICLE 8.03 OF THE PLAN, (D) ARE
 SUBJECT TO EXCULPATION PURSUANT TO ARTICLE 8.04 OF THE PLAN, OR (E)
 ARE OTHERWISE DISCHARGED, SATISFIED, STAYED OR TERMINATED
 PURSUANT TO THE TERMS OF THE PLAN, ARE PERMANENTLY ENJOINED AND
 PRECLUDED, FROM AND AFTER THE EFFECTIVE DATE, FROM TAKING ANY OF
 THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE DEBTOR, THE
 REORGANIZED DEBTOR, THE RELEASED PARTIES, AND/OR THE EXCULPATED
 PARTIES: (1) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR
 OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH
 OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (2) ENFORCING,
 ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY
 JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
 ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
 CLAIMS OR INTERESTS; (3) CREATING, PERFECTING, OR ENFORCING ANY
 ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE PROPERTY OR
 ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR
 WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (4) ASSERTING ANY
 RIGHT OF SETOFF, SUBROGATION, OR RECOUPMENT OF ANY KIND AGAINST
                                   54
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 307 of 446



 ANY OBLIGATION DUE FROM SUCH ENTITIES OR AGAINST THE PROPERTY OF
 SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT
 TO ANY SUCH CLAIMS OR INTERESTS UNLESS SUCH ENTITY HAS TIMELY
 ASSERTED SUCH SETOFF RIGHT IN A DOCUMENT FILED WITH THE
 BANKRUPTCY COURT EXPLICITLY PRESERVING SUCH SETOFF, AND
 NOTWITHSTANDING AN INDICATION OF A CLAIM OR INTEREST OR
 OTHERWISE THAT SUCH ENTITY ASSERTS, HAS, OR INTENDS TO PRESERVE
 ANY RIGHT OF SETOFF PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND
 (5) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
 PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
 WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS DISCHARGED,
 RELEASED, EXCULPATED, SETTLED AND/OR TREATED, ENTITLED TO A
 DISTRIBUTION, OR CANCELLED PURSUANT TO THE PLAN.

      NO PERSON OR ENTITY MAY COMMENCE OR PURSUE A CLAIM OR
 CAUSE OF ACTION OF ANY KIND AGAINST THE DEBTOR, THE REORGANIZED
 DEBTOR, THE EXCULPATED PARTIES, OR THE RELEASED PARTIES THAT
 RELATES TO OR IS REASONABLY LIKELY TO RELATE TO ANY ACT OR
 OMISSION IN CONNECTION WITH, RELATING TO, OR ARISING OUT OF A CLAIM
 OR CAUSE OF ACTION RELATED TO THE CHAPTER 11 CASE, THE
 FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, OR FILING
 OF THE RESTRUCTURING SUPPORT AGREEMENT AND RELATED PREPETITION
 TRANSACTIONS, THE DISCLOSURE STATEMENT, THE PLAN, THE PLAN
 SUPPLEMENT, OR ANY RESTRUCTURING TRANSACTION, CONTRACT,
 INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR
 ENTERED INTO IN CONNECTION WITH THE RESTRUCTURING SUPPORT
 AGREEMENT, THE PREPETITON DOCUMENTS, THE DISCLOSURE STATEMENT,
 THE PLAN, THE PLAN SUPPLEMENT, THE CHAPTER 11 CASE, THE FILING OF
 THE CHAPTER 11 CASE, THE TAKEBACK DEBT, THE REVOLVING CREDIT
 FACILITY, ANY DOCUMENTS RELATED TO THE TAKEBACK DEBT,
 SOLICITATION OF VOTES ON THE PLAN, THE PREPETITION NEGOTIATION AND
 SETTLEMENT OF CLAIMS, THE PURSUIT OF CONFIRMATION OF THE PLAN,
 THE PURSUIT OF CONSUMMATION OF THE PLAN, THE ADMINISTRATION AND
 IMPLEMENTATION OF THE PLAN, INCLUDING THE ISSUANCE OR
 DISTRIBUTION OF ANY DEBT (INCLUDING THE TAKEBACK DEBT AND THE
 REVOLVING CREDIT FACILITY) AND/OR SECURITIES (INCLUDING THE NEW
 COMMON STOCK OR EQUITY OF CORENERGY ISSUED IN CONNECTION
 THEREWITH) PURSUANT TO THE PLAN, OR THE DISTRIBUTION OF PROPERTY
 UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY
 OTHER RELATED ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
 OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE
 RELATED OR RELATING TO ANY OF THE FOREGOING, WITHOUT REGARD TO
 WHETHER SUCH PERSON OR ENTITY IS A RELEASING PARTY, WITHOUT THE
 BANKRUPTCY COURT (1) FIRST DETERMINING, AFTER NOTICE AND A
 HEARING, THAT SUCH CLAIM OR CAUSE OF ACTION REPRESENTS A
 COLORABLE CLAIM OF ANY KIND AND (2) SPECIFICALLY AUTHORIZING SUCH
 PERSON OR ENTITY TO BRING SUCH CLAIM OR CAUSE OF ACTION AGAINST

                                         55
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                  Document    Page 308 of 446



 THE DEBTOR, REORGANIZED DEBTOR, OR ANY SUCH EXCULPATED PARTY OR
 RELEASED PARTY.

      THE BANKRUPTCY COURT WILL HAVE SOLE AND EXCLUSIVE
 JURISDICTION TO ADJUDICATE THE UNDERLYING COLORABLE CLAIM OR
 CAUSES OF ACTION.

      NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
 FOREGOING, THE INJUNCTION DOES NOT ENJOIN ANY PARTY UNDER THE
 PLAN, THE CONFIRMATION ORDER OR UNDER ANY OTHER DEFINITIVE
 DOCUMENT OR OTHER DOCUMENT, INSTRUMENT, OR AGREEMENT
 (INCLUDING THOSE ATTACHED TO THE DISCLOSURE STATEMENT OR
 INCLUDED IN THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN
 AND THE CONFIRMATION ORDER FROM BRINGING AN ACTION TO ENFORCE
 THE TERMS OF THE PLAN, THE CONFIRMATION ORDER OR SUCH DOCUMENT,
 INSTRUMENT, OR AGREEMENT (INCLUDING THOSE ATTACHED TO THE
 DISCLOSURE STATEMENT OR INCLUDED IN THE PLAN SUPPLEMENT)
 EXECUTED TO IMPLEMENT THE PLAN AND THE CONFIRMATION ORDER. THE
 INJUNCTION IN THE PLAN SHALL EXTEND TO ANY SUCCESSORS AND ASSIGNS
 OF THE DEBTOR AND THE REORGANIZED DEBTOR AND ITS RESPECTIVE
 PROPERTY AND INTERESTS IN PROPERTY.

 8.06     Protection Against Discriminatory Treatment

         In accordance with Section 525 of the Bankruptcy Code, and consistent with paragraph 2 of
 Article VI of the United States Constitution, no Governmental Unit shall discriminate against any
 Reorganized Debtor, or any Entity with which the Reorganized Debtor has been or is associated,
 solely because the Reorganized Debtor was a debtor under chapter 11, may have been insolvent
 before the commencement of the Chapter 11 Case (or during the Chapter 11 Case, but before the
 Debtor was granted or denied a discharge), or has not paid a debt that is dischargeable in the
 Chapter 11 Case.

 8.07     Release of Liens

          Except as otherwise specifically provided in the Plan, the Takeback Debt, the Revolving
 Credit Facility (including in connection with any express written amendment of any mortgage, deed
 of trust, Lien, pledge, or other security interest related to the Takeback Debt and/or the Revolving
 Credit Facility), or in any contract, instrument, release, or other agreement or document created
 pursuant to the Plan, on the Effective Date and concurrently with the applicable distributions made
 pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full of the portion of the
 Secured Claim that is Allowed as of the Effective Date, all mortgages, deeds of trust, Liens,
 pledges, or other security interests against any property of the Estate shall be fully released and
 discharged, and all of the right, title, and interest of any Holder of such mortgages, deeds of trust,
 Liens, pledges, or other security interests shall revert to the Reorganized Debtor and its successors
 and assigns, in each case, without any further approval or order of the Bankruptcy Court and
 without any action or Filing being required to be made by the Debtor, the Trustee or any other
 Holder of a Secured Claim. In addition, at the sole expense of the Debtor or the Reorganized
 Debtor, the Trustee shall execute and deliver all documents reasonably requested by the Debtor,
                                                  56
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                   Document    Page 309 of 446



 Reorganized Debtor or administrative agent(s) for the Takeback Debt and/or the Revolving Credit
 Facility to evidence the release of such mortgages, deeds of trust, Liens, pledges, and other security
 interests and shall authorize the Reorganized Debtor and its designees to file UCC-3 termination
 statements and other release documentation (to the extent applicable) with respect thereto.

 8.08     Reimbursement of Contribution

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
 pursuant to Section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
 contingent as of the Effective Date, such Claim shall be forever disallowed notwithstanding Section
 502(j) of the Bankruptcy Code, unless prior to the Effective Date (a) such Claim has been
 adjudicated as noncontingent, or (b) the relevant Holder of a Claim has filed a noncontingent Proof
 of Claim on account of such Claim and a Final Order has been entered determining such Claim as
 no longer contingent.

 8.09     Recoupment

         In no event shall any Holder of a Claim be entitled to recoup such Claim against any Claim,
 right, or Cause of Action of the Debtor or the Reorganized Debtor, as applicable, unless such
 Holder actually has performed such recoupment and provided notice thereof in writing to the
 Debtor on or before the Confirmation Date, notwithstanding any indication in any Proof of Claim
 or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

                                        ARTICLE IX
                        CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

 9.01     Conditions Precedent to the Effective Date

         It shall be a condition to the Effective Date that the following conditions shall have been
 satisfied or waived pursuant to Article 9.02 of the Plan:

        (a)         The Bankruptcy Court shall have entered the Confirmation Order, which shall be a
 Final Order;

         (b)    The Restructuring Support Agreement shall remain in full force and effect and shall
 not have been terminated and all conditions shall have been satisfied thereunder, and there shall
 be no breach that would give rise to a right to terminate the Restructuring Support Agreement by
 the Debtor or the Ad Hoc Noteholder Group for which notice has been given in accordance with
 the terms thereof (including by the requisite parties thereunder), or such notice could have been
 given to the extent such notice is not permitted due to the commencement of the Chapter 11 Case
 and the related automatic stay;

          (c)    The Grier Members’ consent to the Restructuring Support Agreement shall remain
 in full force and effect;

        (d)      The Plan, any other Definitive Documents, and all documents contained in the Plan
 Supplement, including any exhibits, schedules, annexes, amendments, modifications, or
 supplements thereto shall have been executed and/or filed with the Bankruptcy Court and shall be
 consistent in all respects with the Restructuring Support Agreement;
                                                   57
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 310 of 446



         (e)     No court of competent jurisdiction or other competent governmental or regulatory
 authority shall have issued an order making illegal or otherwise restricting, preventing or
 prohibiting, in a material respect, the consummation of the Plan, the Restructuring Transactions,
 the Restructuring Support Agreement or any of the Definitive Documents contemplated thereby;

         (f)    The conditions precedent to the effectiveness of the Takeback Debt, if any, (as
 determined in any Takeback Debt documentation) shall have been satisfied or duly waived in
 writing and any documents or instruments related to the Takeback Debt shall have closed or will
 close simultaneously with the effectiveness of the Plan;

         (g)    The conditions precedent to the effectiveness of the Revolving Credit Facility, if
 any, (as determined in the Revolving Credit Facility Documents) shall have been satisfied or duly
 waived in writing and any documents or instruments related to the Revolving Credit Facility shall
 have closed or will close simultaneously with the effectiveness of the Plan;

         (h)    The Debtor shall have obtained any and all requisite regulatory approvals, and any
 other authorizations, consents, rulings, or documents required to implement and effectuate the Plan
 and the Restructuring Transactions;

        (i)      The Debtor shall have implemented the Restructuring Transactions in a manner
 consistent in all respects with the Restructuring Support Agreement;

         (j)      All conditions precedent (other than any conditions related to the occurrence of the
 Effective Date) to the consummation of the New Governance Documents shall have been waived
 or satisfied in accordance with the terms thereof;

        (k)     To the extent required under applicable non-bankruptcy law, any amendments to
 the Debtor’s governance and organizational documents, shall have been duly filed with the
 applicable authorities in the relevant jurisdictions; and

         (l)   All Restructuring Fees and Expenses for which an invoice has been received by the
 Debtor on or before two (2) Business Days before the expected Effective Date and professional
 fees and expenses of Retained Professionals approved by the Bankruptcy Court shall have been
 paid in full.

 9.02     Waiver of Conditions Precedent

         The Debtor (with the express consent of the Ad Hoc Noteholder Group pursuant to the same
 percentages as required in the Restructuring Support Agreement, in writing), may waive any of the
 conditions to the Effective Date set forth in Article 9.01 of the Plan at any time, without any notice
 to any other parties in interest and without any further notice to or action, order, or approval of the
 Bankruptcy Court, and without any formal action other than a proceeding to confirm the Plan or
 consummate the Plan. The failure of the Debtor to exercise any of the foregoing rights shall not
 be deemed a waiver of such rights or any other rights, and each such right shall be deemed an
 ongoing right, which may be asserted at any time (subject to the consent of the Ad Hoc Noteholder
 Group).



                                                   58
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 311 of 446



 9.03     Effect of Non-Occurrence of Conditions to Consummation

         If the Effective Date does not occur on or before the termination of the Restructuring
 Support Agreement, or if, prior to the Effective Date, the Confirmation Order is vacated pursuant
 to a Final Order, then (except as provided in any such Final Order): (a) the Plan shall be null and
 void in all respects; (b) any settlement or compromise embodied in the Plan, assumption or rejection
 of Executory Contracts or Unexpired Leases effected under the Plan, and any document or
 agreement executed pursuant to the Plan, shall be deemed null and void; and (c) nothing contained
 in the Plan, the Confirmation Order, the Disclosure Statement, or the Restructuring Support
 Agreement shall: (i) constitute a waiver or release of any Claims, Interests, or Causes of Action;
 (ii) prejudice in any manner the rights of the Debtor or any other Entity; or (iii) constitute an
 admission, acknowledgement, offer, or undertaking of any sort by the Debtor or any other Entity.

 9.04     Substantial Consummation

       “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be
 deemed to occur on the Effective Date.

                                   ARTICLE X
                MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN

 10.01 Modification of Plan

        Effective as of the date hereof: (a) the Debtor reserves the right (subject to the terms of the
 Restructuring Support Agreement and the consents required therein) in accordance with the
 Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan before the entry of the
 Confirmation Order consistent with the terms set forth herein; and (b) after the entry of the
 Confirmation Order, the Debtor (subject to the terms of the Restructuring Support Agreement and
 the consents required therein) or the Reorganized Debtor, as applicable, may, upon order of the
 Bankruptcy Court, amend or modify the Plan, in accordance with Section 1127(b) of the
 Bankruptcy Code, remedy any defect or omission, or reconcile any inconsistency in the Plan in
 such manner as may be necessary to carry out the purpose and intent of the Plan consistent with
 the terms set forth herein. Notwithstanding anything to the contrary herein, the Debtor or the
 Reorganized Debtor, as applicable, shall not amend or modify the Plan in a manner inconsistent
 with the Restructuring Support Agreement.

 10.02 Effect of Confirmation on Modifications

         Entry of the Confirmation Order shall constitute (a) approval of all modifications to the
 Plan occurring after the solicitation of votes thereon pursuant to Section 1127(a) of the Bankruptcy
 Code; and (b) a finding that such modifications to the Plan do not require additional disclosure or
 re-solicitation under Bankruptcy Rule 3019.

 10.03 Revocation or Withdrawal of Plan

          The Debtor reserves the right (subject to the terms of the Restructuring Support Agreement
 and the consents required therein) to revoke or withdraw the Plan before the Confirmation Date and
 to file subsequent chapter 11 plans. If the Debtor revokes or withdraws the Plan, or if Confirmation

                                                  59
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 312 of 446



 or the Effective Date does not occur, then: (a) the Plan will be null and void in all respects; (b) the
 Restructuring Support Agreement will be null and void in all respects; (c) any settlement or
 compromise embodied in the Plan, assumption or rejection of Executory Contracts or Unexpired
 Leases effectuated by the Plan, and any document or agreement executed pursuant hereto will be
 null and void in all respects; and (d) nothing contained in the Plan shall (i) constitute a waiver or
 release of any Claims, Interests, or Causes of Action by any Entity, (ii) prejudice in any manner
 the rights of the Debtor or any other Entity, or (iii) constitute an admission, acknowledgement,
 offer, or undertaking of any sort by the Debtor or any other Entity.

                                       ARTICLE XI
                                RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
 Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or
 related to, the Chapter 11 Case and the Plan pursuant to Sections 105(a) and 1142 of the
 Bankruptcy Code, including jurisdiction to:

         1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
 secured or unsecured status, or amount of any Claim against the Debtor, including the resolution
 of any request for payment of any Claim and the resolution of any and all objections to the secured
 or unsecured status, priority, amount, or allowance of Claims;

         2.     decide and resolve all matters related to the granting and denying, in whole or in
 part, any applications for allowance of compensation or reimbursement of expenses to Retained
 Professionals authorized pursuant to the Bankruptcy Code or the Plan;

         3.     resolve any matters related to Executory Contracts or Unexpired Leases, including:
 (a) the assumption or assumption and assignment of any Executory Contract or Unexpired Lease to
 which the Debtor is party or with respect to which the Debtor may be liable and to hear, determine,
 and, if necessary, liquidate, any Cure or Claims arising therefrom, including pursuant to Section
 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract
 or Unexpired Lease that is assumed; and (c) any dispute regarding whether a contract or lease is
 or was executory or expired;

         4.      ensure that distributions to Holders of Allowed Claims are accomplished pursuant
 to the provisions of the Plan and adjudicate any and all disputes arising from or relating to
 distributions under the Plan;

         5.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or
 litigated matters, and any other matters, and grant or deny any applications involving the Debtor
 that may be pending on the Effective Date;

        6.     enter and implement such orders as may be necessary or appropriate to execute,
 implement, or consummate the provisions of (a) contracts, instruments, releases, indentures, and
 other agreements or documents approved by Final Order in the Chapter 11 Case and (b) the Plan,
 the Confirmation Order, contracts, instruments, releases, indentures, and other agreements or
 documents created in connection with the Plan;


                                                   60
 HB: 4866-7395-7801.1
Case 24-40236-can11           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                                   Document    Page 313 of 446



         7.    enforce any order for the sale of property pursuant to Sections 363, 1123, or 1146(a)
 of the Bankruptcy Code;

       8.     grant any consensual request to extend the deadline for assuming or rejecting
 Unexpired Leases pursuant to Section 365(d)(4) of the Bankruptcy Code;

        9.     issue injunctions, enter and implement other orders, or take such other actions as
 may be necessary or appropriate to restrain interference by any Entity with Consummation or
 enforcement of the Plan;

         10.     hear, determine, and resolve any cases, matters, controversies, suits, disputes, or
 Causes of Action in connection with or in any way related to the Chapter 11 Case, including: (a)
 with respect to the repayment or return of distributions and the recovery of additional amounts
 owed by the Holder of a Claim for amounts not timely repaid pursuant to Article 6.03 of the Plan;
 (b) with respect to the releases, injunctions, and other provisions contained in Article VIII of the
 Plan, including entry of such orders as may be necessary or appropriate to implement such releases,
 injunctions, and other provisions; (c) that may arise in connection with the Consummation,
 interpretation, implementation, or enforcement of the Plan, the Confirmation Order, contracts,
 instruments, releases, and other agreements or documents created in connection with the Plan; or
 (d) related to Section 1141 of the Bankruptcy Code;

        11.     enter and implement such orders as are necessary or appropriate if the Confirmation
 Order is for any reason modified, stayed, reversed, revoked, or vacated;

        12.     consider any modifications of the Plan, to cure any defect or omission, or to
 reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        13.   hear and determine matters concerning state, local, and federal taxes in
 accordance with Sections 346, 505, and 1146 of the Bankruptcy Code;

          14.       enter an order or Final Decree concluding or closing the Chapter 11 Case;

          15.       enforce all orders previously entered by the Bankruptcy Court; and

          16.       hear any other matter not inconsistent with the Bankruptcy Code;

         17.     provided that, on and after the Effective Date and after the consummation of the
 following agreements or documents, the Bankruptcy Court shall not retain jurisdiction over matters
 arising out of or related to the Takeback Debt, Revolving Credit Facility, and the New Governance
 Documents. The Takeback Debt, Revolving Credit Facility, and the New Governance Documents
 shall be governed by the respective jurisdictional provisions therein.

                                         ARTICLE XII
                                  MISCELLANEOUS PROVISIONS

 12.01 Immediate Binding Effect

        Subject to Article 9.01 hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or
 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan and the Plan
                                                    61
 HB: 4866-7395-7801.1
Case 24-40236-can11          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                                  Document    Page 314 of 446



 Supplement shall be immediately effective and enforceable and deemed binding upon the Debtor,
 the Reorganized Debtor, and any and all Holders of Claims or Interests (irrespective of whether
 such Claims or Interests are deemed to have accepted the Plan), all Entities that are parties to or are
 subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan,
 each Entity acquiring property under the Plan, and any and all non-Debtor parties to Executory
 Contracts and Unexpired Leases with the Debtor.

 12.02 Additional Documents

         On or before the Effective Date, the Debtor may file with the Bankruptcy Court such
 agreements and other documents as may be necessary or appropriate to effectuate and further
 evidence the terms and conditions of the Plan. The Debtor or the Reorganized Debtor, as
 applicable, and all Holders of Claims or Interests receiving distributions pursuant to the Plan and
 all other parties in interest shall, from time to time, prepare, execute, and deliver any agreements
 or documents and take any other actions as may be necessary or advisable to effectuate the
 provisions and intent of the Plan Reservation of Rights.

 12.03 Reservation of Rights

         The Plan shall have no force or effect unless the Bankruptcy Court shall enter the
 Confirmation Order. None of the filing of the Plan, any statement or provision contained in the
 Plan, or the taking of any action by the Debtor with respect to the Plan, the Disclosure Statement,
 or the Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of
 the Debtor with respect to the Holders of Claims or Interests prior to the Effective Date.

 12.04 Successor and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
 binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
 Affiliate, officer, director, agent, representative, attorney, beneficiaries, or guardian, if any, of each
 Entity.

 12.05 Service of Documents

        After the Effective Date, any pleading, notice, or other document required by the Plan to
 be served on or delivered to the Reorganized Debtor shall be served on:

                            Debtor                                     Counsel to the Debtor




                                                    62
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 315 of 446



  CorEnergy Infrastructure Trust, Inc.                 Husch Blackwell LLP
  Attn: Chris Reitz                                    4801 Main Street, Suite 1000
  1100 Walnut St., Kansas City, MO 64106               Kansas City, MO 64112-2551
  E-mail: creitz@corenergy.reit                        Attn:
                                                       Mark T. Benedict and
                                                       John J. Cruciani

                                                       Email:
                                                       mark.benedict@huschblackwell.com
                                                       john.cruciani@huschblackwell.com

             Office of United States Trustee               Counsel to the Ad Hoc Noteholder Group
  Office of United States Trustee for Region 13        Faegre Drinker Biddle & Reath LLP
                                                       1177 Avenue of the Americas, 41st Floor
                                                       New York, New York 10036, USA
                                                       Attn:
                                                       James H. Millar and
                                                       Laura E. Appleby

                                                       Email:
                                                       james.millar@faegredrinker.com
                                                       laura.appleby@faegredrinker.com

        After the Effective Date, the Reorganized Debtor has authority to send a notice to Entities
 informing them that, in order to continue to receive documents pursuant to Bankruptcy Rule 2002,
 they must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After
 the Effective Date, the Reorganized Debtor is authorized to limit the list of Entities receiving
 documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed such renewed
 requests.

 12.06 Term of Injunction or Stays

         Unless otherwise provided herein, in the Confirmation Order, all injunctions or stays in
 effect in the Chapter 11 Case (pursuant to Sections 105 or 362 of the Bankruptcy Code or any
 order of the Bankruptcy Court) and existing on the Confirmation Date (excluding any injunctions
 or stays contained in the Plan, the Confirmation Order) shall remain in full force and effect until
 the Effective Date. All injunctions or stays contained in the Plan, the Confirmation Order shall
 remain in full force and effect in accordance with their terms.

 12.07 Entire Agreement

         Except as otherwise indicated or as set forth in the Restructuring Support Agreement, the
 Plan supersedes all previous and contemporaneous negotiations, promises, covenants, agreements,
 understandings, and representations on such subjects, all of which have become merged and
 integrated into the Plan.



                                                  63
 HB: 4866-7395-7801.1
Case 24-40236-can11         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                 Document    Page 316 of 446



 12.08 Plan Supplement

         All exhibits and documents included in the Plan Supplement are incorporated into and are
 a part of the Plan as if set forth in full in the Plan. Except as otherwise provided in the Plan, such
 exhibits and documents included in the Plan Supplement shall be filed with the Bankruptcy Court
 on or before the Plan Supplement Filing Date, consistent with the Restructuring Support
 Agreement. After the exhibits and documents are filed, copies of such exhibits and documents
 shall have been available upon written request to the Debtor’s counsel at the address above or by
 downloading such exhibits and documents from the Notice and Claims Agent’s website at
 https://cases.stretto.com/corenergy         or     the     Bankruptcy      Court’s      website     at
 www.mow.uscourts.gov/bankruptcy.

 12.09 Non-Severability

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
 to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
 interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
 consistent with the original purpose of the term or provision held to be invalid, void, or
 unenforceable, and such term or provision shall then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
 provisions of the Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
 constitute a judicial determination and shall provide that each term and provision of the Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is: (a) valid and enforceable
 pursuant to its terms; (b) integral to the Plan and consistent with the terms set forth herein; and (c)
 nonseverable and mutually dependent.

 12.10 Votes Solicited in Good Faith

         Upon entry of the Confirmation Order, the Debtor will be deemed to have solicited votes
 on the Plan in good faith and in compliance with Section 1125(g) of the Bankruptcy Code, and
 pursuant to Section 1125(e) of the Bankruptcy Code, the Debtor, and its respective Affiliates,
 agents, representatives, members, principals, shareholders, officers, trustees, directors, employees,
 advisors, and attorneys will be deemed to have participated in good faith and in compliance with
 the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold under
 the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the
 Reorganized Debtor will have any liability for the violation of any applicable law, rule, or
 regulation governing the solicitation of votes on the Plan or the offer, issuance, sale, or purchase
 of the Securities offered and sold under the Plan and any previous plan.

 12.11 Dissolution of Statutory Committees and Cessation of Fee and Expense Payment

        On the Effective Date, any Statutory Committee appointed in the Chapter 11 Case shall
 dissolve automatically and the members thereof shall be released and discharged from all rights
 and duties arising from, or related to, the Chapter 11 Case, except with respect to final fee
 applications of the Retained Professionals and any consent or consultation rights of the Statutory
 Committee that remain applicable after the Effective Date. The Reorganized Debtor shall not be
 responsible for paying any fees or expenses incurred by the members or Retained Professionals of

                                                   64
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 317 of 446



 any Statutory Committee or any other statutory committee appointed in the Chapter 11 Case after
 the Effective Date except with respect to any consent or consultation rights of any Statutory
 Committee that remain applicable after the Effective Date.

 12.12 Closing of Chapter 11 Case

        The Reorganized Debtor shall, promptly after the full administration of the Chapter 11
 Case, File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any
 applicable order of the Bankruptcy Court to close the Chapter 11 Case.

 12.13 Waiver or Estoppel

        Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert
 any argument, including the right to argue that its Claim or Interest should be Allowed in a certain
 amount, in a certain priority, secured or not subordinated by virtue of an agreement made with the
 Debtor or its counsel, or any other Entity, if such agreement was not disclosed in the Plan, the
 Disclosure Statement, the Restructuring Support Agreement, or papers.

  Dated: February 25, 2024.               CORENERGY INFRASTRUCTURE TRUST, INC.

                                          By: /s/ Mark T. Benedict                    .
                                          Mark T. Benedict, Esq.
                                          John J. Cruciani, Esq.
                                          4801 Main Street, Suite 1000
                                          Kansas City, MO 64112
                                          Telephone      (816) 983-8000
                                          Facsimile      (816) 983-8080
                                          Email:       Mark.Benedict@huschblackwell.com
                                                       John.Cruciani@huschblackwell.com


                                          Proposed Counsel for Debtor and Debtor in Possession




                                                 65
 HB: 4866-7395-7801.1
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 318 of 446



                                      Exhibit A

                               Exit Facility Term Sheet




                                         66
 HB: 4866-7395-7801.1
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                Desc Main
                                Document    Page 319 of 446



                      CORENERGY INFRASTRUCTURE TRUST, INC.
                                     Exit Facility Term Sheet
 This term sheet (this “Term Sheet”) summarizes certain terms and conditions (and does not purport
 to summarize all of the terms and conditions) of the proposed term and revolving credit loans
 described below, to be entered into in connection with the voluntary case commenced by
 CorEnergy Infrastructure Trust, Inc. (the “Company”) under chapter 11 of title 11 of the United
 States Code in the United States Bankruptcy Court for the District of Delaware pursuant to a
 “prepackaged” chapter 11 plan of reorganization (the “Restructuring Transaction”). This Term
 Sheet and the undertakings contemplated herein are subject in all respects to the negotiation,
 execution and delivery of definitive documentation in form and substance consistent with this
 Term Sheet and otherwise reasonably acceptable to the Lenders (as hereinafter defined) as well as
 the satisfactory completion of reasonable due diligence.
 This Term Sheet and any associated documents that may be provided in furtherance of negotiations
 between the parties are provided as part of a settlement proposal in furtherance of settlement
 discussions and is entitled to protection from any use or disclosure to any party or person pursuant
 to Federal Rule of Evidence 408 and any other rule of similar import.
 THIS TERM SHEET DOES NOT CONSTITUTE (NOR SHALL IT BE CONSTRUED AS)
 AN OFFER TO SELL OR BUY, OR THE SOLICITATION OF AN OFFER TO SELL OR
 BUY ANY SECURITIES OR A SOLICITATION OR ACCEPTANCE OF A CHAPTER 11
 PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE (AS
 DEFINED BELOW), IT BEING UNDERSTOOD THAT ANY SUCH OFFER OR
 SOLICITATION WILL BE MADE ONLY IN COMPLIANCE WITH APPLICABLE
 LAW.

                                               Parties

  Borrower:                 The Company, CorEnergy Infrastructure Trust, Inc.

  Guarantors:               All present and future, direct and indirect subsidiaries of the Borrower
                            or Crimson Midstream Holdings, LLC, other than (a) any subsidiary
                            for which a guaranty would require CPUC authorization or consent
                            and such authorization or consent has not been obtained (as of the date
                            hereof, Crimson California Pipeline, L.P. and San Pablo Bay Pipeline
                            Company, LLC) and (b) any subsidiary identified as dormant that will
                            be liquidated and dissolved, or merged into another subsidiary, within
                            a reasonable period after closing.
                            A structure chart is attached hereto as Exhibit A.

  Lenders:                  Term Loan Facility Lenders: holders of Senior Notes (defined below)
                            Revolving Loan Facility Lenders: holders of Senior Notes that have
                            agreed to make revolving loans under the Revolving Credit Facility.



 US.362261085.08
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                             Document    Page 320 of 446



  Administrative        UMB Bank N.A.
  Agent:

                                 Summary of Exit Facility

  Term Loan Facility:   Exchange of the Company’s 5.875% Convertible Senior Notes due
                        2025 (“Senior Notes”) for:
                        (a)   $45,000,000 of term loan notes under the Term Loan Credit
                              Agreement;
                        (b)   cash in accordance with the terms of the Restructuring
                              Transaction; and
                        (c)   equity of the Company in accordance with the terms of the
                              Restructuring Transaction.

  Revolving Loan        Commitment for up to $10,000,000 of new money revolving loans
  Facility:             under the Revolving Loan Credit Agreement.

  Priority:             The Revolving Loan Facility and all guaranties and security interests
                        in connection therewith will be (i) senior to the Term Loan Facility and
                        the guaranties and security interests in connection therewith (together
                        with any subsequent refinancings thereof in an aggregate principal
                        amount not to exceed $10,000,000 at any time outstanding, and
                        whether with the same or different lenders) and (ii) junior to certain
                        existing intercompany debt. Absent an event of default, all scheduled
                        payments of principal and interest will be applied to the Revolving
                        Loan Facility and the Term Loan Facility in accordance with their
                        terms. All unscheduled prepayments and, after an event of default, all
                        scheduled payments of principal and interest will be applied first to
                        outstanding obligations under the Revolving Loan Facility and
                        thereafter to outstanding obligations under the Term Loan Facility.
                        The Term Loan Facility and all guaranties and security interests in
                        connection therewith will be senior to all other indebtedness and
                        obligations of the Company and its subsidiaries, consistent with the
                        Amended and Restated Credit Agreement, dated as of February 4,
                        2021 (as amended), among Crimson Midstream Operating, LLC and
                        the other Borrowers party thereto, the Guarantors party thereto, the
                        Lenders party thereto, and Wells Fargo Bank, National Association
                        (the “Wells Fargo Facility”), except that it will be junior to certain
                        existing intercompany debt.




                                              2
 US.362261085.08
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55              Desc Main
                           Document    Page 321 of 446



                                  Term Loan Facility

  Maturity:           The earlier of five (5) years from the deemed issuance date of April 4,
                      2024 (the “Deemed Issuance Date”) or the acceleration of the loans
                      upon the occurrence of an event of default.

  Interest:           12% per annum commencing on the Deemed Issuance Date.
                      Interest will PIK until the Confirmation Order.
                      After the Confirmation Order, interest will be paid quarterly; provided
                      that the Company may PIK interest at its option until the first
                      anniversary of the Confirmation Order.

  Repayments and      Amortization of $1,000,000 per quarter in arrears, commencing with
  Prepayment:         the first full calendar quarter after the first anniversary of the
                      Confirmation Order.
                      The Company may prepay all or any portion of the Term Loan Facility
                      on or after the first anniversary of the Confirmation Order.
                      Mandatory prepayment of not less than $9 million (the “CO2 Paydown
                      Amount”) in connection with the CO2 Joint Venture (as defined
                      below).
                      Other mandatory prepayments consistent with the Wells Fargo
                      Facility.
                      All prepayments will be subject to a prepayment premium equal to:
                         •   Prior to the second anniversary of the Effective Date, a 3.00%
                             premium of the aggregate principal amount repaid;
                         •   From the second anniversary through the third anniversary, a
                             2.00% premium of the aggregate principal amount repaid; and
                         •   From the third anniversary through the fourth anniversary,
                             1.00%.

                              Revolving Credit Facility

  Use of Proceeds:    To remedy emergencies and disasters with respect to regulated assets
                      as required by laws and regulations. In no event shall the proceeds of
                      any Revolving Advances be used to purchase or carry margin stock
                      (within the meaning of Regulation U issued by the Federal Reserve
                      Board) or to extend credit to others for the purpose of purchasing or
                      carrying margin stock (within the meaning of Regulation U issued by
                      the Federal Reserve Board).

  Conditions to       Consistent with the Wells Fargo Facility.
  Borrowing:


                                            3
 US.362261085.08
Case 24-40236-can11    Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                            Document    Page 322 of 446



  Maturity:            The earlier of one (1) year following the Deemed Issuance Date or the
                       acceleration of the loans upon the occurrence of an event of default.

  Interest:            One-month SOFR plus 3% per annum, paid on a quarterly basis.

  Repayments and       The Company may prepay all or any portion of the Revolving Loan
  Prepayment:          Facility at its option without premium or fees.
                       Mandatory prepayments consistent with the Wells Fargo Facility.
                       Mandatory repayment at maturity.

  Commitment Fee:      3% of the unused daily commitment amount, commencing on the date
                       of the Confirmation Order.

  Arrangement Fee:     $500,000

                                      General Terms

  Security:            Pledge of the totality of the (i) capital stock, (ii) equity interests, and
                       (iii) assets and properties of the Borrower and the Guarantors, subject
                       to customary exclusions (including exclusions related to governmental
                       authorizations that are not obtained prior to the Confirmation Order)
                       to the extent that such collateral is not of the type for which CPUC
                       authorization or consent would be required, consistent with the Wells
                       Fargo Facility. Additionally, the Borrower and its Subsidiaries will
                       agree to a negative pledge for all assets and properties for which CPUC
                       authorization or consent is required for a lender to receive a pledge of
                       such property, consistent with the Wells Fargo Facility.

  Representations,     Consistent with the Wells Fargo Facility; provided that (a) the Term
  Warranties,          Loan Facility and Revolving Loan Facility will not have financial
  Covenants and        maintenance covenants (i.e., §§6.13 and 6.14 of the Wells Fargo
  Events of Default:   Facility) and (b) the Company will be permitted to consummate the
                       CO2 Joint Venture (as defined below).

  Amendments,          Generally, amendments to and waivers and consents under (a) the
  Waivers and          Term Loan Facility will require the approval of Lenders holding
  Consents:            66.67% or more of the outstanding Term Loan Facility obligations,
                       (b) the Revolving Loan Facility will require the approval of Lenders
                       holding 66.67% or more of the funded and unfunded Revolving Loan
                       Facility obligations and commitments, and (c) both the Term Loan
                       Facility and Revolving Loan Facility will require the approval of
                       Lenders holding 66.67% or more of the outstanding Term Loan
                       Facility obligations and funded and unfunded Revolving Loan Facility
                       obligations and commitments (“Required Lenders”), except for



                                              4
 US.362261085.08
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55               Desc Main
                           Document    Page 323 of 446



                      matters that require a higher level of Lender approval consistent with
                      the Wells Fargo Facility or as set forth below.
                      Notwithstanding the foregoing, except as permitted by the negative
                      covenants consistent with the Wells Fargo Facility, (a) the distribution
                      or transfer of any material operating assets of the Borrower or any of
                      its direct or indirect subsidiaries or joint ventures (whether or not
                      wholly-owned) (the “Borrower Group”), or the distribution or transfer
                      of any capital stock or equity interests of any member of the Borrower
                      Group that owns material operating assets (each, an “Asset/Equity
                      Transfer”), (b) the incurrence of indebtedness or liens senior to the
                      Term Loan Facility and the Revolving Loan Facility, and (c) certain
                      other amendments, waivers and consents as set forth in the definitive
                      documentation will require the approval of Lenders holding 75% of
                      the outstanding Term Loan Facility obligations and funded and
                      unfunded Revolving Loan Facility obligations and commitments.
                      The Borrower and its Subsidiaries may consummate the transactions
                      contemplated in the CO2 Letter Agreement (the “CO2 Joint
                      Venture”); provided that (i) the Borrower pays down the Term Loan
                      Facility by the CO2 Paydown Amount in connection therewith and
                      (ii) the Borrower is not required to make and does not make any cash
                      investments in the CO2 Joint Venture in excess of (A) the cash
                      proceeds from any issuance of equity interests of the Borrower
                      designated for use in connection with the CO2 Joint Venture plus (B) a
                      cumulative builder basket as will be set forth in the Credit Agreement.
                      Any material variations from the terms of the CO2 Letter Agreement
                      will require the consent of the Required Lenders.

  Expenses:           The Company will pay all reasonable and documented out-of-pocket
                      costs and expenses of the Lenders associated with the preparation,
                      execution, delivery, and administration of the Term Loan Facility and
                      the Revolving Loan Facility.

  Governing Law:      New York




                                            5
 US.362261085.08
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                             Document    Page 324 of 446



                                      Exhibit B

                           Corporate Governance Term Sheet




                                         67
 HB: 4866-7395-7801.1
Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                               Desc Main
                                     Document    Page 325 of 446



                  RESTRUCTURING OF CORENERGY INFRASTRUCTURE TRUST INC.
               SUMMARY OF PRINCIPAL TERMS OF GOVERNANCE AND RELATED RIGHTS

                                                 FEBRUARY 25, 2024
         The following is a description of certain proposed terms for the corporate governance of
 reorganized CorEnergy Infrastructure Trust, Inc. (as reorganized pursuant to the Plan (as defined below),
 “CORR”). Capitalized terms used and not defined herein shall have the meanings ascribed to them in that
 certain Restructuring Support Agreement (the “Restructuring Support Agreement”) entered into by
 CORR and the Ad Hoc Noteholders Group (the “AHNG”).


 Board of Directors:                  The board of directors of CORR (the “Board”) shall initially be
                                      comprised of five (5) directors (each a “Director”). At all times, the
                                      Board shall be compromised as follows:

                                           •    One (1) Director shall be the CEO of CORR.

                                           •    One (1) Director shall be designated by Keyframe Capital
                                                Partners, L.P. and Cyrus Capital Partners, L.P. (the “Keyframe
                                                Director”).

                                           •    Two (2) Directors shall be independent directors unaffiliated
                                                with the AHNG or CORR or its Subsidiaries, who initially shall
                                                be designated by at least a two-thirds vote 1 of the AHNG, and
                                                thereafter designated upon two-thirds vote of holders of the
                                                outstanding common stock of CORR (the “Common Stock”)
                                                (each an “Independent Director”).        Following the death,
                                                resignation or removal of an independent director, a new
                                                independent director who is not affiliated with or employed by
                                                any member of the AHNG or CORR shall be nominated by the
                                                same vote.

                                           •    One (1) Director shall be initially designated by the holders of a
                                                majority of the AHNG, excluding Keyframe Capital Partners,
                                                L.P. and Cyrus Capital Partners, L.P.; and thereafter shall be
                                                appointed by holders of the majority of the outstanding
                                                Common Stock of CORR, excluding Keyframe Capital Partners,
                                                L.P. and Cyrus Capital Partners, L.P.; provided that if Keyframe
                                                Capital Partners, L.P. and Cyrus Capital Partners, L.P. no longer
                                                possesses the right to designate a director, it shall be permitted
                                                to vote on such Director (the “Minority Director”).

                                      The identity of the initial Directors shall be set forth in the Plan
                                      Supplement.

                                      All actions of the Board will require the approval by a vote or the

 1       All votes of the AHNG contained herein shall be based upon the amount of Senior Notes held by such member of the
         AHNG.



 US.362342050.05
Case 24-40236-can11               Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                       Desc Main
                                       Document    Page 326 of 446



                                         written consent of a majority of all of the Directors.

                                         A Director may only be removed by a vote of the shareholders of CORR
                                         (“Shareholders”) holding two-thirds of the Common Stock for cause. In
                                         addition, the Keyframe Director may be removed by those Shareholders
                                         appointing such Keyframe Director at any time, with or without cause.
                                         The Minority Director may be removed by a vote of two-thirds of the
                                         Common Stock of those shareholders eligible to vote in connection with
                                         the Minority Director.       Directors shall serve one-year terms
                                         commensurate with Maryland legal requirements.

                                         From time to time, the Board may appoint non-voting observers,
                                         including one which may be designated by John Grier. Mr. Grier’s
                                         option to appoint a non-voting observer shall terminate when Mr. Grier
                                         no longer holds equity in CORR.

                                         Keyframe Capital Partners, L.P. and Cyrus Capital Partners, L.P. will be
                                         entitled to their director designation rights so long as they holds 20% or
                                         more of the Common Stock.

                                         The Shareholders shall enter into a securityholders agreement (the
                                         “Securityholders Agreement”) which will require each Shareholder to
                                         vote its shares of Common Stock in support of each of the nominees
                                         described above and otherwise comply with the terms of this term sheet.
                                         The Securityholders Agreement shall terminate when the members of
                                         the AHNG no longer hold, collectively, at least twenty five percent
                                         (25%) of the Common Stock. Upon such termination and thereafter, the
                                         two independent directors and the Minority Director shall be elected by
                                         a majority vote of the holders of shares of Common Stock.

 Dividends                               All dividends shall be paid pro rata to the holders of Common Stock.

 Board Approvals:                        Neither CORR nor any subsidiaries of CORR (collectively, the
                                         “Subsidiaries”) shall take any of the following actions without the prior
                                         vote or consent of a majority of the Board:

                                              •    hiring or termination the CEO, the CFO or any other members
                                                   of senior management of CORR, or approving the compensation
                                                   arrangements of the CEO, CFO or any other member of senior
                                                   management of CORR;

                                              •    any authorization, creation (by way of reclassification, merger,
                                                   consolidation or otherwise) or issuance of any equity securities,
                                                   partnership interests or membership interests of any kind of
                                                   CORR or any Subsidiary 2 (other than those issued solely to

 2
         “Subsidiary” means, with respect to any Person, any corporation, limited liability company, partnership, association or
         other business entity of which (i) if a corporation, a majority of the total voting power of shares of stock entitled
         (without regard to the occurrence of any contingency) to vote in the election of directors, managers or trustees thereof
         is at the time owned or controlled, directly or indirectly, by that Person or one or more of the other Subsidiaries of that
         Person or a combination thereof, or (ii) if a limited liability company, partnership, association or other business entity, a
         majority of the partnership or other similar ownership interest thereof is at the time owned or controlled, directly or

                                                                 2
 US.362342050.05
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                          Desc Main
                                      Document    Page 327 of 446



                                                  CORR and its Subsidiaries);

                                             •    any redemption or repurchase of any Common Stock;

                                             •    any     acquisition    by     CORR      or    any    Subsidiary
                                                  of the stock or assets of any person, or the acquisition of any
                                                  business, properties, assets or persons or any dispositions of a
                                                  material amount of assets of CORR and its Subsidiaries (on a
                                                  consolidated basis);

                                             •    any voluntary election by CORR or any Subsidiary to liquidate
                                                  or dissolve or to commence bankruptcy or insolvency
                                                  proceedings or the adoption of a plan with respect to the
                                                  foregoing; and

                                             •    the commencement of an IPO by CORR or any Subsidiary.

 Shareholder Approvals:                 Neither CORR nor any Subsidiaries shall take any of the following
                                        actions without the prior vote or consent of Shareholders holding at least
                                        two-thirds of the outstanding Common Stock:

                                             •    any Change of Control, provided, however, that a Change of
                                                  Control to a party affiliated with any Shareholder shall require
                                                  the separate vote or consent of the non-conflicted Shareholders
                                                  holding at least a majority of the outstanding Common Stock of
                                                  CORR held by all non-conflicted Shareholders.

                                             •    any voluntary election by CORR to liquidate or dissolve or the
                                                  adoption of a plan with respect to the foregoing, if such
                                                  liquidation or dissolution is unrelated to the insolvency of
                                                  CORR.

                                             •    Any increase or decrease in the size of the Board.

                                             •    Any transaction between CORR or any of its Subsidiaries, on
                                                  the one hand, and any affiliate of CORR or any of its
                                                  Subsidiaries (other than CORR and its Subsidiaries), on the
                                                  other hand, except transactions with portfolio companies of
                                                  affiliates that are done on arms’-length basis and on terms no
                                                  less favorable to CORR or its applicable Subsidiary than are
                                                  available to other third parties;, provided, however, that a
                                                  transaction with a party affiliated with any Shareholder shall
                                                  require the separate vote or consent of the non-conflicted
                                                  Shareholders holding at least a majority of the outstanding
                                                  Common Stock of CORR held by all non-conflicted
                                                  Shareholders.

                                             •    Any amendment of the governing documents of CORR or the


         indirectly, by any Person or one or more Subsidiaries of that Person or a combination thereof.


                                                               3
 US.362342050.05
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                  Desc Main
                                Document    Page 328 of 446



                                      Securityholders Agreement; provided, however, that (i) any
                                      amendment that disproportionately and adversely affects any
                                      Shareholder in any material respect shall also require the
                                      consent of such Shareholder, and (ii) if such amendment would
                                      alter a provision requiring more than majority approval, such
                                      amendment shall be consented to by the same percentage of
                                      Shareholders as required by the provision to be amended.

                                  •   Any increase in the number of equity interests to be issued by
                                      CORR.

                                  •   Any redemption or repurchase of any Common Stock.

 Additional Shareholder       Upon approval of a majority in Note holdings of the AHNG, additional
 Approval Rights:             shareholder approval rights may be provided in connection with any
                              authorization, creation (by way of reclassification, merger, consolidation
                              or otherwise) or issuance of any equity securities, partnership interests
                              or membership interests of any kind of CORR or any Subsidiary (other
                              than those issued solely to CORR and its Subsidiaries).

 Information and Access       CORR and the Subsidiaries will provide to each Specified Shareholder:
 Rights:                      (i) annual consolidated financial statements of the operations of CORR
                              and the Subsidiaries after the end of each fiscal year (audited, if
                              available); (ii) unaudited consolidated quarterly and year-to-date
                              financial statements of the operations of CORR and the Subsidiaries
                              after the end of each fiscal quarter; and (iii) monthly reports of the
                              consolidated operations of CORR and the Subsidiaries, to the extent
                              available and provided to the Board. A Specified Shareholder may
                              share such information with a potential purchaser of its interest upon
                              entry into a confidentiality agreement reasonably acceptable to CORR.

                              Each Shareholder (or group of affiliated Shareholders) that holds at least
                              5% of the outstanding shares of Common Stock or any Shareholder that
                              qualifies as a “qualified institutional buyer” (as such term is defined in
                              connection with Rule 144A of the Securities Act) shall be a “Specified
                              Shareholder.”

 General Restrictions on      The Certificate of Incorporation of CORR will include customary
 Transfers:                   transfer restrictions related to Section 382 of the Internal Revenue Code
                              and CORR’s status as a domestically controlled REIT.

                              Additionally, except as set forth under “Drag-Along Rights” below or
                              for transfers by a Shareholder to its affiliates, no Shareholder may
                              transfer any shares of Common Stock without the prior consent of the
                              Board (i) to a competitor of CORR and its Subsidiaries or (ii) if, as a
                              result of such transfer, CORR or any Subsidiary would be required to
                              file reports under the Exchange Act, if it or its Subsidiaries are not
                              otherwise subject to such requirements, or register as an investment
                              company or investment adviser.



                                                 4
 US.362342050.05
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                       Desc Main
                           Document    Page 329 of 446



 Tag-Along Rights:       Subject to “General Restrictions on Transfer” above, prior to a
                         Shareholder (or group of Shareholders acting in concert) transferring
                         any shares of Common Stock, each Shareholder must provide written
                         notice to each other Shareholder and CORR setting forth the terms of
                         such proposed transfer that exceeds two-thirds of the shares of Common
                         Stock of CORR. Each Shareholder may elect to sell up to their pro rata
                         portion of the shares of Common Stock being transferred.

 Drag-Along Rights:      If Shareholders holding two-thirds of the outstanding Common Stock
                         elect to consummate a Change of Control on an arms’ length basis with
                         an unaffiliated third party, each Shareholder will be required to: vote in
                         favor of and not oppose such Change of Control, waive any appraisal
                         rights in connection with the Change of Control, sell its pro rata portion
                         of the number of shares of Common Stock being sold in such transaction
                         to the prospective third party purchaser on the same terms as the
                         triggering Shareholders (if structured as a sale of share), and otherwise
                         enter into customary agreements in connection therewith and support
                         and comply with customary requests with respect to the Change of
                         Control.

                         A “Change of Control” shall be deemed to have occurred if any of the
                         following occurs with respect to CORR: (i) the direct or indirect sale or
                         exchange in a single or series of related transactions by the Shareholders
                         of more than fifty percent (50%) of the Common Stock (excluding any
                         sale or exchange of a Shareholder to an affiliate of such Shareholder for
                         the purpose of such Shareholder’s internal reallocation of such interest);
                         (ii) a merger or consolidation in which CORR is a party, other than any
                         merger or consolidation solely amongst CORR and its subsidiaries or
                         parent (if any) or any merger or consolidation following which holders
                         of at least fifty percent (50%) of the Common Stock own at least fifty
                         percent (50%) of the voting equity securities of the surviving entity; or
                         (iii) the sale, exchange, or transfer of all or substantially all of the assets
                         of CORR and its Subsidiaries (on a consolidated basis, including
                         through the sale or other disposition of equity securities of one or more
                         Subsidiaries) to any unaffiliated third party.
                         None of the Shareholders or their Affiliates shall be paid management or
 No Fees
                         similar fees, and no Director shall be paid a fee for their service on the
                         Board, unless such Director is an independent director.
                         On or by a date that is 18 months following the Effective Date of
 Strategic Review:
                         CORR’s Bankruptcy Plan, as will be set forth by the Bankruptcy Court,
                         the Board will commence a strategic review of CORR. The results of
                         the strategic review shall be non-binding, and the implementation of any
                         recommended actions following the strategic review shall meet the
                         voting thresholds as established herein.
 Preemptive Rights:      Each Shareholder shall have a pro rata preemptive right to acquire
                         equity securities issued by CORR or any Subsidiary (including any
                         partially owned Subsidiary) and debt securities issued by CORR or any
                         Subsidiary (including any partially owned Subsidiary) to any
                         Shareholder or its affiliates, subject to customary exceptions, such as

                                             5
 US.362342050.05
Case 24-40236-can11     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                    Desc Main
                             Document    Page 330 of 446



                           issuances (i) pursuant to the exchange, conversion or exercise terms of
                           other equity securities, (ii) to employees, directors or consultants
                           pursuant to CORR’s or such Subsidiary’s incentive plans, (iii) as
                           consideration for any acquisition, business combination or joint venture,
                           (iv) in an IPO, (v) in connection with any pro rata stock split, dividend
                           or similar distribution, (vi) which take the form of “equity kickers” to
                           third party lenders in arms’ length debt financing transactions, or (vii) to
                           CORR or any wholly-owned Subsidiary of CORR. If any Shareholders
                           do not exercise their preemptive rights in full, each Shareholder that
                           does so exercise their preemptive rights in full will have a right to
                           subscribe for all or a portion of the unelected shares. Each Shareholder
                           shall have the right to assign its preemptive rights to any associate or
                           affiliate of such Shareholder, including any investment fund under
                           common management. For the avoidance of doubt, to the extent that
                           equity or debt interests are offered to any one Shareholder or its
                           affiliates, such rights shall apply to that certain joint venture or similar
                           arrangement pursuant to which CORR would contribute to an entity of
                           which CORR or any wholly-owned Subsidiary of CORR holds an
                           interest in (a) the northernmost 235 miles of the KLM pipeline.

 Registration Rights:      Following an IPO, each Shareholder will have customary piggy-back
                           registration rights.

 Amendment of the          The governing documents and the Securityholders Agreement may only
 Governing Documents:      be amended with the prior written approval of (i) shareholders holding
                           not less than two-thirds of the outstanding shares, and (ii) the Board;
                           provided, however, that (i) any amendment that disproportionately and
                           adversely affects any Shareholder in any material respect shall also
                           require the consent of such Shareholder, and (ii) if such amendment
                           would alter a provision requiring more than majority approval, such
                           amendment shall be consented to by the same percentage of
                           Shareholders as required by the provision to be amended.

 Governing Law             Maryland




                                              6
 US.362342050.05
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                      Document    Page 331 of 446



                                                        Exhibit B

                                                    Form of Joinder

         The undersigned (“Joinder Party”) hereby acknowledges that it has read and understands
 the Restructuring Support Agreement, dated as of February 25, 2024 (as amended, amended and
 restated, supplemented, or otherwise modified from time to time in accordance with the terms
 thereof, the “Agreement”),1 by and among the Company Parties and the Consenting Lenders party
 thereto. Capitalized terms used and not otherwise defined herein shall have the meanings set forth
 in the Agreement.

            (a) Agreement to be Bound. The Joinder Party hereby agrees to be bound by all of the
                terms of the Agreement, a copy of which is attached hereto as Annex I (as the same has
                been or may hereafter be amended, amended and restated, supplemented, or otherwise
                modified from time to time in accordance with the terms hereof). The Joinder Party
                shall hereafter be deemed to be a “Party” for all purposes under the Agreement and
                with respect to all Company Claims/Interests held by such Joinder Party.

            (b) Representations and Warranties. The Joinder Party hereby makes the representations
                and warranties of the Parties and Ad Hoc Noteholder Group set forth in the Agreement
                to each other Party.

            (c) Notice. The Joinder Party shall deliver an executed copy of this joinder agreement
                (the “Joinder”) to the counsel to the Parties identified in Section 13.9 of the Agreement.




 Date Executed:

 ___________________________________
 Name:
 Title:
 Address:
 E-mail address(es):




 1
     Capitalized terms not defined herein shall have the meaning ascribed to them in the Agreement.
Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                      Desc Main
                                      Document    Page 332 of 446



                                                        Exhibit C

                                              Joinder of Grier Members

         John D. Grier, individually and on behalf of certain Grier Members, and Robert G. Lewis,
 on behalf of certain Grier Members, hereby acknowledge that they have read and understand the
 Restructuring Support Agreement, dated as of February 25, 2024 (the “Agreement”),2 by and
 among CorEnergy Infrastructure Trust, Inc. and the Ad Hoc Noteholder Group, and hereby agree
 as follows:

            (a) John D. Grier acknowledges and accepts his obligations as a director and officer of the
                Company to cause the Company to perform consistent with the Agreement and the Plan
                and to implement the Restructuring Transactions;

            (b) The Grier Members agree to accept the treatment of any claims and/or interests that
                they may assert against the Company or an Affiliate of the Company as set forth in the
                Plan, and to cause any Affiliate that they control that may assert a Claim against and/or
                interest in the Company to accept the same;

            (c) The Grier Members agree to perform consistent with this Agreement and the Plan and
                to implement the Restructuring Transactions, and to cause any Affiliate of the
                Company that they control to perform consistent with this Agreement and the Plan
                and to implement the Restructuring Transactions;

            (d) John D. Grier agrees to submit or cause to be submitted and use Commercially
                Reasonable Best Efforts to pursue an application with the California Public Utilities
                Commission for change of control of the Crimson Pipeline, L.P. (PLC-26) and San
                Pablo Bay Pipeline Company, L.L.C (PLC-29) from John D. Grier to CorEnergy; and

            (e) John D. Grier agrees to operate and/or manage, as the case may be, any of the
                Company’s Affiliates in the ordinary course of business.

         Notwithstanding anything to the contrary herein or in the Agreement, and subject to
 Section 8.2(c) of the Agreement, nothing herein or in the Agreement shall require the Grier
 Members to take or refrain from taking any action pursuant to this Joinder or the Agreement
 (including terminating the Agreement pursuant to Section 8.2(c) of the Agreement), to the extent
 they determine in good faith, based on the advice of external counsel (including counsel to the
 Company), that taking, or refraining from taking, such action, as applicable, would be
 inconsistent with their fiduciary obligations or applicable Law, and any such action or inaction
 pursuant to such exercise of fiduciary duties shall not be deemed to constitute a breach of this
 Joinder or the Agreement. The Grier Members shall promptly cause counsel for the Company to




 2
     Capitalized terms not defined herein shall have the meaning ascribed to them in the Agreement.
Case 24-40236-can11       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                               Document    Page 333 of 446




               February 23, 2024




         370 17th Street, Suite #3100, Denver, CO 80202
                   jgrier@crimsonml.com
Case 24-40236-can11        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                                Document    Page 334 of 446




        370 17th Street, Suite #3100, Denver, CO 80202
                    jgrier@crimsonml.com



              February 23, 2024
       Case 24-40236-can11              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                             Document    Page 335 of 446

                                                           Exhibit C

                                                     Historical Financial
                                                         Information




Additional historical financial information is available at https://investors.corenergy.reit/financial-information.
           Case 24-40236-can11                    Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                                                   J /  1 
                                                       Document    Page 336 of 446

                                                             >     
                                                                                                                    " 
 $  $      B  0') G!44BC8 @B86A/N,(    0,
8 A        /   &%,,,,,%                                                         0
8     6$      /   &%,,,,,%,,                                 0
8     )#     /   &%,,,,,%,,                                      0:
8     8 0    /   &%,,,,,%,,                                  09
"  8 0                                                                                   0+
    %          AB                                                                       0+
    ,          B                                                                           0%%
    &        #                                                                                              0%:
            1$  /    .                                                                    0%+
            4  B$   4                                                                               0,%
    :        0"   .                                                                                  0,
    9         1*                                                                                              0,
    >        B$  )#$                                                                                      0,:
    +        J                                                                                                 0,:
    %       8                                                                                              0,9
    %%       @                                                                                            0,>
    %,       8   8                                                                               0,+
    %&       0M                                                                                                0,+
    %       /                                                                                                        0&
    %            6                                                                                  0&
    %:          5)#                                                                                       0&
    %9       )B                                                                                          0&>
    %>       M     )                                                                                     0
    %+         B 1                                                                                  0%
    ,            BB                                                                                0,
    ,%       F  0/ '7 (                                                                       0
    ,,         #  ).                                                                                          0+9




                                                                             0%
            Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                    * 0              J /  1 
                                                             Document           Page 337 of 446

                                                           &1"#$"'. &1&. &.$ &9()$&#& 20,(* **"2.$(.9(#/

1            A/  8)     1 

1(.(".".$%&(.+.*(+,$+$&/&.$)

P  .   $             8)     1  ' 8$ (/   &%,,,,,%   
     $  ? #         $   /   &%,,,    '  .      
   D     E( $      $      $   $  8$ 
/   &%,,,,,%    $           $   /   &%,,,  7 
    $  $$ 

 &)$+$&/&.$"'(.+.*(+,$+$&/&.$)

 " ,               ,,%      .                  

;+)()'"#1(.(".

1         $   8$ 5   6 $    *$ $ 8$ ;      
  P  $       B 8$  6.  A'7   ('B86A(  #    $   
 $    8$    7        $$         )*  8 B86A

P        B86A 1    #    $$          
                                    1 8$   #   .       $ 
    .  $  $     #       .  $    
$$  *$ $    .   8$ 5  .  $     *$  $

6  $ $                         $ $   
 $     $    *    .            6  
 .   $$             .  . $          P   .
    $.     $

 #($(*+, 2 ($+$$&#

1          $           #  
       N'%(               ',(..  $    
 -  . $ *-   1           $           
          $. $ $             




                                                                                      0,
           Case 24-40236-can11                     Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                               * 0              J /  1 
                                                        Document           Page 338 of 446

/1+(#/&.$"',".9,(=& +))&$)

   &      " ,        8$ $ $    $$   #$   
                               .         .       .   $    .  
                           1  .         .   $    1  . $$   #$  
                           /   &%,,,= %
                               ; . $  .  $ *       $  . 
                             $             $  .     #   
                              -   $   8$ ;         
                           .  $$   $   *$  $  *$   
> : %  &        6$        ;      .  8$ ;   .     
   0 %            .     $      $    . $   
                              $        0 *$  $   $    $  
                              $$.     P    8$ ;    .  $
                             5  .     P    $  .         $  
                                  .        P $    .    $  
                            .  $     $  8$ ;


II) G!44B

P  .  .  8$ 5  ,:
C8 @
@ ,+,,&



                                                                               0&
             Case 24-40236-can11                           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                       * 0              J /  1 
                                                                Document           Page 339 of 446




  "#.&#9-.'#+)$#2*$2#&#2)$.*5
  ;    
                                                                                                                                        &*&/0&#         &*&/0&#
                                                                                                                                                                    !   
 ))&$)
  "    =      (        *1>(C+6(,C, *0/(+>>(+01(  # %  9P(             
      K*0@+(>+1(+16 *006(@1>(0C>(  #                                                                            *           @@+(,@6(C4/ *            @@,(@0+(,C0
  8    (        *>CC(@40 *>16(>+/(  #                                                                 ,(>>4(141                ,(>4/(6>,
  H                      #' (   # *4++(+++ *4++(+++(  #                                         616(+/C                ,(+04(44+
  %   =# %  9K*,(6/@(0,C *>(6>1(C+>(  #                                                                    ,/(60+(@6>               ,,(1@+(1/4
  !            #' %  9K*,+(0@0(/4C *,,(>C,(/@C(  #                                                         ,@(,4@(1>1               ,1(04/(06C
  E       %  9K*,4/(/@0 *4/4(6>1(  #                                                                      ,4/(/@0                  4/4(6>1
  E     (        */>4(4,C *0@1(//1(  #                                                                   @,1(/>/                  /C4(1/>
   # %  9K*1(6+@(//4 *0(60C(641(  #                                                                                     1(C1+(+1,                0(C10(1>0
  "        %  9K*0(@,@(0/> *1(++@(144(  #                                                             C(@/6(,@4                C(+/1(+@0
      AA  %  9K*@(@1>(>,+ *1(4@/(40,(  #                                                                @(/>>(04,                4(+/1(C0C
  E     (                                                                                                                                    I                   >+4(>61
  F-                                                                                                                                               I                ,4(>,+(+>+
     "$+, ))&$)                                                                                                                   *           @C@(C4>(4@4 *            1+/(404(6@4
(+0(,($(&)+. D2($-
           (  '         *441(1@/ *,(>/1(>@@(  #                                      *           ,++(00@(@10 *             CC(/>@(/14
   M     #  '    (     '               *,(/>4(@/+ *>(06@(,/+(  #                       ,,4(0>0(10+              ,,1(441(60+
   !  '      '  %  9K*,4(66C(C6+ *,+(4CC(6+4(  #                                             >4(0,4(>,4               ,4(+6+(,4>
      ' %  9K*61(@0/                                                                                                          ,/@(6@C                       I
   E       %  9K*>+C(/1+ *4@6(0,4(  #                                                                       >+C(/1+                  4@6(0,4
        ' %  9K*@(@1@(,C4 *1(4@/(+04(  #                                                                  @(4C4(@,+                4(+@4(41/
   E    ' (                                                                                                                       ,(>C>(0++                       I
   M   #  %  9K*>+0(/>1 *,CC(@+1(  #                                                                                  1(C@6(4>,                1(60C(4+>
     "$+,(+0(,($(&)                                                                                                              *           >11(>C4(,>C *            >@@(++1(0>0
%           %           ,>
D2($-
     !%  #           ' "     )/ 0/12(*,>C(1>1(4/1=         *>(1++  (*+ ++,
   # (4C(04/(+++  51,(6,+       E         ' 0,(>+>> E       ' 0,(>+>,                  *           ,>C(1>1(4/1 *            ,>C(1>1(4/1
   %        )(  A  #  ' (*+ ++,# 5,1(>10(C16 ,@(6C0(,6@        E         ' 0,(
   >+>> E        ' 0,(>+>,(  # ,++(+++(+++                                                                           ,1(>1@                    ,@(6C0
   %?%         )(*+ ++,# 5460(/4,       
   E       ' 0,(>+>> E        ' 0,(>+>,,,(6C4(,++                                                                            46@                      46@
   !  A                                                                                                                       0>/(+,4(1/0              006(0+>(/01
                                                                                                                                       000(/61(+C/             0>,(+>6(16+
     "$+, "#.&#9-D2($-                                                                                                                      ,>>(//0(+6C              ,@4(6,1(@+/
    A                                                                                                                               ,,4(6C0(@>6              ,,4(6,4(,,4
     "$+,D2($-                                                                                                                                >0C(444(1,/              >40(40,(1>0
     "$+,(+0(,($(&)+. D2($-                                                                                                   *            @C@(C4>(4@4 *            1+/(404(6@4
P9'      9 ,6
       %  H                  




                                                                                          0
              Case 24-40236-can11                          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                       * 0              J /  1 
                                                                Document           Page 340 of 446



    "#.&#9-.'#+)$#2*$2#&#2)$.*5
                           
                                                                                                        "#$%&4&+#). & &*&/0&#
                                                                                                                                   
                                                                                                                  !   
  &=&.2&
   7      '                                                           *    ,>>(++6(/46 *        ,,4(104(4,> *         ,C(C/>(01,
   "  -       ' =                                                       ,+(/10(/0>            6(4+4(61+                   I
   8                                                                                              >,+(6++            ,(>@4(+C+           >,(01,(,>0
   E          #' - A                                                                    I                    I           0+(,+1(6>+
                                                                                                 4/@(0+/            ,(/@@(>@@              ,>+(@,/
        "$+, &=&.2&                                                                           ,00(4@/(4+/          ,>6(,00(/C4           ,,(006(+/,
:1&.)&)
   7      '                                                                 40(6>1(+60           16(,@4(++4            4(+1C(/+/
   "  -       ' =     #                                         C(0/+(6+>            6(,C@(+@+                   I
   F          #                                                                   >>(04/(C,>           >4(4@,(,4,           ,>(>0,(C>>
   E    (     !                                                        ,4(+/4(0>4           ,@(6+,(4/4           ,0(41@(@>C
   8         -                                                             ,4(>,+(+>+                   I                    I
   8                                                                           I                    I           ,@+(>46(0/C
   8                                                               I             1(6,,(//C          ,@4(10/(1@/
   8                                                                                   I               ,41(4@@              @16(>C/
        "$+,:1&.)&)                                                                          ,>/(61+(,@0          ,,0(/4+(0+4          0,C(>,+(>6,
1&#+$(.9.*"/&"))!                                                                    *      1(/C/(@4@ *         ,@(0/0(@C+ *       0+/(6/>(>,+
$%&#.*"/&:1&.)&!
                                                                                     *         >60(>,/ *           /4C(46> *            @/,(@@C
                                                                                          ,0(C>6(@0C         ,>(/@>(,1/          ,+(0+,(4@@
   F               '                                                              I             64,(6,@           ,,(1@C(C46
        "$+,$%&#.*"/&:1&.)&!                                                             ,0(4@1(>>>         ,>(60@(>6C            ,(/,C(//0
.*"/&"))!0&'"#&(.*"/&$+:&)                                                                 /(6@/(/16           ,(10C(>+,         0+4(,1>(@0/
+:&)
   %     '                                                                            ,/0(0>/              ,(10,             0C1(6@0
   E                                                                                    ,(@C6(16@           @(+/4(>C+              0,+(C61
        .*"/&$+:&:1&.)&0&.&'($!.&$                                                          ,(4/,(C,,           @(+/@(/1C              6@(616
&$"))                                                                                   *      C(1,C(44C *        >(101(116 *       0+4(+4/(1/C
   8 K    ' '    A                                                    0(>04(6@6           >(644(@4/                   I
&$"))+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                              *     ,>(/14(1,/ *        1(@+>(+>1 *       0+4(+4/(1/C
  "   #  =                                                                        C(11>(1,C           C(0C1(4+@            C(,6C(6+C
&$"))+$$#(02$+0,&$" "//".$"*<%", &#)                                               *     >>(0+C(+04 *       ,@(/C/(4>C *       0,1(>1/(066

%         )
     ? -  #                                                           ,1(+1+(>44           ,@(>@4(1>4           ,0(41+(/,6
     ?                                                                    *          , @, *              , +, *             >0 +C

     E -  #                                                          ,1(1,1(>>0           ,@(>@4(1>4           ,0(41+(/,6
     E                                                                   *          , @@ *              , +, *             >0 +C

%?%       )
   ?   -  #                                                     460(/4,             001(0>@                   O!
   ?                                                             *          , 4, *             , >,                   O!

      E#    %                                                        *           + >++ *             + >++ *              + C++
          %  H              




                                                                            0
               Case 24-40236-can11                                Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                                           1  8               * 0     J /  1 
                                                                       Document    Page   341 of 446



    "#.&#9-.'#+)$#2*$2#&#2)$.*5
      @4
                                                                                                                            #&'&##&
                                                                       "//".$"*<            ,+)); "//".$"*<             $"*<              ($(".+,                                ".
                                                                                                                                               +( (.             &$+(.&            *".$#",,(.9
                                                                    %+#&)          /"2.$     %+#&)            /"2.$         /"2.$             +1($+,             &'(*($            .$&#&)$          "$+,
;+,+.*&+$&*&/0&#                                        ,0(406(C,4   * ,0(40C            I   *       I    * ,>1(@C0(,/1    * 04+(6@@(@C/   *     C(4,,(6/>   *            I    * @/4(/0C(@0C
                                                                     I           I             I           I              I                 I        0+4(+4/(1/C                I     0+4(+4/(1/C
  !     )#                                           I           I             I           I              I         C(>@>(/C/                 I                 I       C(>@>(/C/
"     )   ,                                             I           I             I           I        >>>(6>1             /(C0>             1>(6C4                I         ,4,(CC/
%        )#                                                    I           I             I           I              I        ,>(>64(046                 I                 I      ,>(>64(046
%        )        #  '                  ,>(4+1          ,0            I           I              I            @,C(,,4                 I                 I          @,C(,>C
;+,+.*&+$&*&/0&#                                        ,0(41,(1>,   * ,0(41>            I   *       I    * ,>1(>/+(01+    * 00C(/@>(06+   * 0,1(4>4(111     *            I    * ,@C(0CC(6>/
                                                                 I          I           I             I               I                I          1(@+>(+>1         >(644(@4/      >(101(116
=  ' '    A                                       I          I           I             I               I                I                  I        ,,4(6,4(,,1     ,,4(6,4(,,1
  !     )#                                            I          I           I             I               I        C(0C1(4+@                 I                 I       C(0C1(4+@
%        )#                                                     I          I           I             I               I        >(61+(+>4                 I                 I       >(61+(+>4
  #        #         )                  6@(@,6         6@          I             I               I           @,+(@C4                 I                 I          @,+(16+
%        )    &                         0(0CC          0          I             I               I            >>(@C/                 I                 I           >>(1++
%   '   %!A,M                                       I          I           I             I               I                I                  I         >(>14(,,0      >(>14(,,0
%  %!A>M  #         )                          I          I           I             I               I                I                  I           4,+(010        4,+(010
  !     )                        I          I           I             I        @(>11(0>1          ,+(>,0                 I                 I        @(>@1(,,>
%        )                          ,(,10(6@4      ,(,1@          I             I               I         /(+C@(CCC                 I                 I        /(+C4(,10
%?%         )                        I          I      460(/4,           46@              I         0(>66(>+4                 I                 I        0(>66(6C+
;+,+.*&+$&*&/0&# ) &)$+$& !                          ,@(6C0(,6@   * ,@(6C0     460(/4,    *      46@   * ,>C(1>1(4/1    * 006(0+>(/01   * 0>,(+>6(16+     * ,,4(6,4(,,4     * >40(40,(1>0
                                                                I           I             I           I                 I              I         ,>(/14(1,/         0(>04(6@6      C(1,C(44C
  !     )#                                           I           I             I           I                 I      C(11>(1,C                 I                 I       C(11>(1,C
%       )#                                                     I           I             I           I                 I      0(++@(1/C                 I                 I       0(++@(1/C
  #        #       )                  >/C(C1/         >6+            I           I                 I         6+0(4@0                 I                 I          6+0(C>0
%       )(  #  =#                                     I           I             I           I                 I         4/(@0,                 I                 I          4/(@0,
%  #  %!A,                                          I           I             I           I                 I              I                  I         0(>04(6@6      0(>04(6@6
  )A'                                                      6+(6,/          6,            I           I                 I         10@(/>@                 I             //(0,>         4,>(,,/
;+,+.*&+$&*&/0&#                                        ,1(>10(C16   * ,1(>1@     460(/4,    *      46@   * ,>C(1>1(4/1    * 0>/(+,4(1/0   * 000(/61(+C/     * ,,4(6C0(@>6     * >0C(444(1,/


         %  H               




                                                                                                  0:
             Case 24-40236-can11                          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                      * 0              J /  1 
                                                               Document           Page 342 of 446



 "#.&#9-.'#+)$#2*$2#&#2)$.*5
                         
                                                                                                       "#$%&4&+#). & &*&/0&#
                                                                                                                                  
                                                                                                                 !   
1&#+$(.9 *$(=($(&)
                                                                                    *      C(1,C(44C   *      >(101(116   *     0+4(+4/(1/C
  !               # '    #  K
     E                                                                                 ,(@C6(16@            @(+/4(>C+             0,+(C61
     E    (     !                                                     ,4(+/4(0>4           ,@(6+,(4/4          ,0(41@(@>C
     !     '                                                               ,(4@6(>@>            ,(4+@(66,           ,(>/+(+01
     8          -                                                         ,4(>,+(+>+                   I                   I
     8                                                                        I                    I          ,@+(>46(0/C
     8                                                            I             1(6,,(//C         ,@4(10/(1@/
     8                                                                                I               ,41(4@@             @16(>C/
     E           #' - A(                                                          I                    I           0+(,+1(6>+
     F                '                                                         I               64,(6,@         ,,(1@C(C46
     F    =                                                                         0C(4/6              ,4(1+6             ,0(460
       )A'                                                                             4,>(,,/               >>(1++                  I
     %     '  K
       E            #'                                                                      I                    I              >@/(/,6
       !                #'                                                        /64(,@1            ,(,>,(041              @4/(>1/
       H                        #'                                                  I                6(/6+              ,6(+4C
        #                                                                                   ,(CC4(1>6           >(,60(C@4                   I
       "                                                                  4(0,@(41@           @(6@+(60,           ,(@>@(00>
       E       (                                                               /+(1,4              >6(1+C                   I
       ;           '                                                                         I              C/,(4>4             4C6(0>@
       !  '      '                                                ,>(,00(0/6             14>(6/+           ,(C+0(C04
          '                                                                             ,/@(6@C                   I                    I
       M   #                                                                                 ,+C(+,C             4+,(,>4             /44(+/+
            (                                                                               0(00, *                ,14                   I
    # '    #                                                   *     >C(6/C(/+6 *         ,4(/,4(01, *         ,+(060(+/+
.=&)$(.9 *$(=($(&)
     ! =  %  ;   D (   =                                        I          4C(++>(+1>                   I
     ! =  % 7 ;              (   =                            I              C1>(@6/                   I
     "      =            (                                              ,0(6C0(6,>         >+(>>6(@1@           >(,64(,11
     "        ''                                                            >(1>0(,C4           0(,0,(0C,                   I
     "           =                                                      11(+/1              C/(>,+               ,1(+++
     "               #                                                                I               4+(,10                   I
     "                        #'                                           ,/6(16,             ,11(++6               @0(000
     E                     #'                                                          I               >4(6@C                   I
       #    #                                                       *     ,,(,04(C4+ *       6@(6+/(@+6 *         >(,>/(6>>
(.+.*(.9 *$(=($(&)
     E '                                                                                      I            >(/01(C>>                   I
     %     #  '                                                            I                    I            ,(4/4(+++
     %     #  '                                                          I                    I            ,(0,4(>1+
     %            "    %  H                                       I                    I            0(+/@(1/>
          !     )                                                            I                    I              ,4,(CC/
     E#    !     )                                                  C(11>(1,C           C(0C1(4+@           C(>@>(/C/
     E#  %             )                                                      >(>++(414           >(@0C(@@4          ,>(>64(046
     E '     A                                                           0(>04(6@6           >(>14(,,0                   I
     !#        ##                                                          ,@(+++(+++           >@(+++(+++                   I




                                                                                 09
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                     * 0              J /  1 
                                                              Document           Page 343 of 446

                                                                                                                          "#$%&4&+#). & &*&/0&#
                                                                                                                                                     
    "       ##                                                                                 4(+++(+++          >>(+++(+++                 I
    "                                                                                  6(+++(+++           4(+++(+++         ,(/4@(+++
    "                                                                                            1(6,@(@01            0(66>(0C>                 I
    "                                                                                              0(>//(>1@           0(+>+(16,                 I
         #                                                                              *   ,>(@1>(6@> *        ,C(C41(>/@ *      >C(1>,(C6@
         =#                                                                            *     4(>6C(C+4 *        66(+14(00, *      >,(>44(/04
%   =#  '                                                                             ,,(1@+(1/4           CC(1C4(C+/        ,>+(640(4@0
%   =#                                                                              *    ,/(60+(@6> *         ,,(1@+(1/4 *       CC(1C4(C+/


211,&/&.$+,()*,")2#&"' +)%,"?.'"#/+$(".
                                                                                                       *    ,,(0@0(/+> *        ,,(>>@(16> *         C(>/>(@+C
                                                                                                             ,>(+11             401(/0+             @44(>04

". +)%.=&)$(.9 *$(=($(&)
 "          #                                               *            I *                I *          ,6(+++(+++
 "    (   =          '      '                           >(+CC(>6/            ,,0(6@/              1C,(@>,
  A)        F  F      #         % 
 ;   D  =                                                                                               I           @6(6/0(,4C                  I
 %                       -   %  ;   D  =                 I          ,+1(+++(+++                  I
 =       ' '    A                -   %  ;  
 D  =                                                                                                         I          ,,4(>+1(/4>                  I
   !     )                                                                       I            @(>@1(,,>                  I
 %        )                                                                                I            /(+C4(,10                  I
 %?%        )                                                                        I            0(>66(6C+                  I

". +)%(.+.*(.9 *$(=($(&)
 "                   "    %  H                      *            I *                 I *        ,6(+++(+++
   #       #          )                                                                6+0(C>0             @,+(16+                  I
 %       )         #    #  '                                                        I                   I              @,C(,>C
 %  %!A>M  #         A)                                                                         I              4,+(010                  I
 E#  =#    M                                                                                       4/(@0,                  I                   I
 !  =                                                                                       0(4/>(C,+           ,(4,/(6>1                  I
       %  H                 




                                                                                        0>
             Case 24-40236-can11                          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
 1  8                                                     * 0              J /  1 
                                                               Document           Page 344 of 446



                                                                 
                                                                                   &*&/0&#

5   ;   

.$#" 2*$(".

8)     1  '    38)  33 8$ 3(O @ $   $  /   >,
1  8$ 5    $ .  = % $     '38  3(      "  !   )*   '3"!)3(       3863   
 $     $    8$ 59 &9?  8 .     B    $. = %$   '  B    3( 
"!)    386B3 1 8$ 58A8 $. = %$   '38A8 3(   * 
1  8$    $                   $                1  8$    
    .    $  .$$         8@ $  .  1 $$    
              $      $         . $$     .       8$ 5   $.
        $$      B ,,% 8$  $      $  $ $   
    $  6.   ,  8$ 5 $        1 8$ .      
J J   '3JJ3(B  4#J   '3B  4J3(              

8)  5 B.  4   '3B43(     8$   .           .               .       '3)13(    
  $$            $          8)       .                    
 $         $         

1 $$ *  .       8$   %%P  &&C8 @:%:

;+)()"'#&)&.$+$(".+.  ".)",( +$(".

1 $       8)           .         '3M)53(
   8)     $     1          .               $ $      7        $    $$ 
'3JB3(         8  '383(  $     0    A '30A3(         
)*  8'3)83(   0%C  %  R 1 $         -    
  $      $     8$ 5$   $    $ $    1 
    -        $                     $       .          
  8$ 5   .      $              $$  B $ $ 
  .                   $       $ $                #        
$       $                             .   *$   $      
       

1 8$  M)   $       $      '( $      .       $  M)5
 $  '(       M)            .     M)  $      
   M)               .     M) 8$ $ #  .      5 $   
   .  M).      .  $  M)5 $  1 8$    M)   
  .   .      $      

0  ,,% 8$ # + ?.    8@  H448'383(          M)  
         " %>'3M     )  3( 8$     $    8   
  $    $ 85



                                                                                          0+
             Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                   Desc Main
                                                             Document    Page 345 of 446

 ?.       1    0  %,,%'    .   # (8  8$ 5 
              $      $    #  "     8               85
           88%,&7     " %:'3   5)# 3( 
       8 1           $   $   8$  $      
$          $   $   $      . $ $     .   
   " %>'3M     )  3(  8$ 5 M)

1 0A   7$ '373(,%,    !)# * %  &    %   '37,%,3(    
$ .           $      $     $   $          7      
$   $               M)      $       .       $ $     @       
8B  84B'3B  4B3(J 84B M)         $    $   $ 
   .   $ $        .  #  .   0A81$>%-  7,%, 
               $   $    8$ 5     81$>%% #  $    M)5
 .     M) 1 $          $    '( $      .   M)     $ 
   5 $  '(             $       M)     .       
   $       M) 1   #                        .     .      
  M)  A       $  5         $   $        *$              $   $    
  $            8)   $    8B  4BJ 84B A $ 
 .  8$ 5%?  $   B  4BJ 84B      $     
  $     $   $

8    ' 38A3(   $    8$  J @  '   (
   $       1 8A $  .    .    $ 85 $   
 .       $$.    #$ - $$.- $$.   $     8$    
$     Q  .   8$    J  @       $  $ .        $     1  8$  $    3
   3      8)         $ $      M) $      8$
      '(   .   *   8 $     8$ 5)1     B4
     .     $$  $  #    $$  Q'(  .   8$      
     .  8   8$  *  $      @JB$  448'3@J3(6 B$  8$ 
448'36 3(Q'(85  $      $  8$ 5   Q'.( J @  5   88%8,
8&7 8     8)  A/    $   .   B   8A8
  1   8)     $    8     8M) 1 J @  5  $   
8             

 &)$+$&/&.$"'#("#&#("

 " ,'3     6BB 3(@ &,,&  8  A/   8$    
8$ ;        8$ ;                    /    &% ,,%     8$ ;
 $ 0%C      )*  8' D)8E( 8$ ;      
$    @  &% ,,% <  & ,,%  $   & ,,% @  &% ,,, <  & ,,,   $   & ,,, '  .    D"   B E(
  8$ ;F   $ 0%F   )8 "  B      $



                                                                                      0%
             Case 24-40236-can11                          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
 1  8                                                     * 0              J /  1 
                                                               Document           Page 346 of 446

5            

 ?      U1 $ $         JB #         $     
 $                                             $    
 .   *$    $ $           

A ;  ,  ;  U0  ,%: 0A 7,%:,;  '37,%:,338>,3(                                  *   
    #     O               

A ,%+          $  8$     $   $    $  
   $  0        $$        8$     $   $  
  $     $     $          .       
  N'(  $  .          $  '(     $  '(   $  
 $    1 8$               *            
$$  $  #$  4         8>,       

1 8$ 5    $$     $         $$     $   8 A
                           *        $  <  % ,%+   $ O    O  .      
  #   < %,%+     8>,           .           
 $      *     .       A       8$ 5  $$   O   
  .           $   B $    O          .   $  $   
A $ $         .   8     6$     $     . .      . 
     8 A                 7   .   O    .    $  .         
$     .            .      8 A                      

7  8$ 5$ .   $        #  $ $$   *       $$   $ $.  8 
  8>, 8$ $        5  $      $    $       8 
    6$  

8 ,  6 U B$    #$                 $    / $    $          . 
       )*$    $       $       $.          *  $  
$   *   .  $ O  $  .          1 8$    . 
   $  $ $   #               #    *$  
           8$   $  $   #           
      . 

/ ;*;1 %   U1 8$ 5.   $  $$     .       # 
     @             .  $   $      .     
     . .  $  $  P    .        .. -    
 O     $-             .     .      $     .   5                
  .      $  1    .     .       O .
            $   $   O     . $  
    .  

@   5$-   .   $         *          $-  
     .   5   .      .           $        *     .      .    
. 1    .     $  .      .       $-  
 /   $      $-  $        5   



                                                                                         0%%
            Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                    * 0              J /  1 
                                                             Document           Page 347 of 446

0     /    &% ,,%  8$   O     $    $   JJ    = >           "  
'34  B$   4  3( 0    /   &%,, 8$  O $   JJ =% &
$  $ B  4J=%:  $  .      " '34  B$   4  3( 1  $  
.        /   &%,,,

) (  @ '1 U0   .   $     . $      .          
        )  #   8$   .         .              O          
         0     #     # $ $   $          1
8$  .           $$                 
      .    8$        $                         *       
8$                *$   $           
$             J       I$$$     $   8$  
   *$           .       8$ $     $    O
 .     $$    .                $ .   . 
        $        B     .   #            
$$ /    /   &%,,,,,% 8$   $. 1 8$ 5   .    
  " :'30"   .  3(

0 (  <    U0A8>,(  <       '38>,3(  .       . 
 *$   .      M$     .  8$ 5     1  $  O 
       .   N
    S    4 . %# $  .    .    
    S    4 . ,      .  $ '# $ .       $   (
    S    4 . &   .  $ '   8$ 5$          . .    (

 " %&'30M 3(        8$ 5.     

J  &   & 61  U1 8$               * 0/8   1 8$ 5
 #.   $    #     

H %  & 1  U   .   $     .          .  
           $            1 8$  .         $ 
     .          $     *$    0     /    &% ,,,  ,,%  8$       
      

    1  U4    .                    8$     4    .  
$  $             .          $  A $%,,  $     8$ 5JJ
    $        86M/%+$                   .  =& %
     /   &%,,    " '34  B$   4  3(  

< /UJ $     *   $ 81 @    '383(@J  .  .  
       #   1 $   8 &    * /  0&'38&3( 8$ $ $     
  #     .       .     /   &%  8$ 5      

< ,%9 0A 7,%9-  &    /    $      #    $  
   $  $    7,%9-  &    /       . $     < %,%9




                                                                                    0%,
             Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                    * 0              J /  1 
                                                             Document           Page 348 of 446

  8&$      $ #  .                  #   . $     #   $    
 $ #  .     #   . $     #               $  5.  
     $  $  #  .     #   . $        $%

 $ % $    .        $         .             $   $   1   $     .     $
  ..       /  .         $         5
     $ 

C            U8       $ O  O      *$  .       
                       O        
       .  $                89  '3893(
8$     >9?8.     "  ,,'3 >9?8.    " 3(    $$   1 8$  O
        .       >9?8.    "       *$   O    .          "  % '3/ 3( 
  

4 %  ' 0   U 1  8$   8 %,%  ' 0   %'0     #               '363(
       .    O    $              
     1 8$  O  * 6-   #  JJ< ,%

1 8$      6    $    $$               
$  1          O  *$   $    8     6$     
    6  *$  1 8$ $          $    6-  .
       8%,

1 .      #  $ O $       .    $  .   5
   1  .  $$      $  . .  $$     $     
   -     6                     $ O $ 
   

7$  6$    8$    .     O '(    6$  
  8     6$               

6 0    ,,%  8$  $         6 $ $.       JJ    $         8 1       "   '34  
B$   4  3(  

   " %'3     6  3(  

@ '1 ' U@ ,% 0A 7" ,%+'1    &   '37,%+338::3(       .
$     < %,%> 8::$   $ .  *  .                $
  '    ( 1   #      O  .           *$           $ 
 .    

$   $    8$ 5 .    N
    A            1U1 8$ 5      $      .   $ $ * 
          $$  $        $            $                 $.  
         1$   .    O  8@J    .    O  6 6 J@ 448
              V    7  8$ 5 $$  $     $            .  
                           .      .   1      $  $$  .      $ 
                          1   $    '( *$ $  $



                                                                                       0%&
            Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                   * 0              J /  1 
                                                            Document           Page 349 of 446

                   $$    '  .        *('(0  )     8'30)83(  
                               $        '(      '   8B  (       8$ 5
                         A              .           8$ 5      $$  $   
                     $        O       .     $              $        8$
                  *$      .         $    .   .   .         1  8$              $  
                 '3$ 3(    *  $    .  .        0  $        $                   . 
                    $        ,%>    $  8 ::  .          .    $  
                   $   . 
    S   ,      1 8$ 5  $   .      $$   '3B43( B4 .     
         $   .   $        O  .     .   .   8$ $$      
         $$   $      $  8$  $      .  $   
                .    1 8$    B4   $$    B4  .   8$
          $  *  $$      $        8$ 0B4.   .  8$    
        .  
             V   P  B4  $       .         $             .      O   
                    .        $   .  B4$         .      
                   8::   B4.        $   8$    .       
                 $  B4 .  B4  .  
             V   7     / $   /   '3/6/3(    $                            $     
                  .   1 8$    $         $$ 8::
    A   ,        6      1B4.   .   8$        .     #  
           $$     #      $                   
          B4.   *$  $$     #     .      .   .   . 
        .          O  .
    S   (  1UH     .   .     $         $   $ 
         $     0                      .            .        1      
                O     .     $ -       . 
        B $  .      $ $    .  
    A   ;  1 B   " '34  B$   4  3(          8$ 5   .    $

"         2  U     85 $     $$  @J5 $   
      6 5 $           1          *  1
        $$  $      *  6    $  $     
 $    1  *   $  .          

7   8$ 5            /6/   $     6     $$               $        $       
 .    $$ '@( .

6 0&  ' U $ $      8$ 5        N
    A   @     &  U             8$ 5               .    
        .     /   . .          *          $ 8 
              6$    /      .    8$ 5 .              O       $       
          . .        1 $   O  $ $ 



                                                                                      0%
            Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                   * 0              J /  1 
                                                            Document           Page 350 of 446

         8$ 5 .         $    1  8$     .       $          .   .   
                                     .                .      $    
             1       .   #     .      .         * $ $    
                         8$
    A    @           1  U                $    O 
                $            1  8$     .           $               
                  .                .     $  $           1        .
           #     .      .  $ $    * $ $         
                  8$ 5  

B %  %6  2  U8          $$  #         *$    
     #   $$  $   7$         #  $$   $ O 
  $$ '8( . /       #    8$         5-    $   *$  
$       8           *$   

F 0    U6          $         $$               

 -4*   1 .     $       #  $  8$ 5 $ 
    " %:'3   5)# 3( 1     O     .  $    $ 
 #  $.  .  *     .  $  0      $        .   
 8$   .  8   A/        *  .  

   ;  , -&  U   #         8 A 8    <   ,,%  8$  $$         
$     '( $      1                 $            
 .    $ $       $ $     7   N

               $   'D   E(          .               $            
            .         $ 

       1   'D    E(         $ $           *          
            $      

     1                        $ $          .                            . 
             $ $               $    $ $  

    . A   $     $      

$$            8$            # $     8 
   8A8           $ $   8A8   $ $ $$ 8      
  

1 (   -    2 U1 8$    )1    *$$  A        $ )1# 
         $$           *  )1  '313(    $      
 $ .   8$ # )1

)1 8$  $             1 1 8$ 5 1          
         $    )1 #   #                          .       
 #         



                                                                                     0%
             Case 24-40236-can11                          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
 1  8                                                     * 0              J /  1 
                                                               Document           Page 351 of 446

         8$         O           $      1       8$            #  )1
  

1 8$ 5 .       $   $   $        $   $      *$$  
 $   8$  $       *   $   *   1  *    1 15 * *$    
  8     6$     $         *$        /   
 *       *    $              $ $$    
 *$$  .   O      .   .           $       *
    O    *$        /   &%,,,  $      *              
  .   8$ 51

   8$    # )1       8$ 8$     $       *  *  

7 ' % ,  U  <   ,%:  0A   7 ,%:%&(     *  ;   '37 ,%:%&3(       
$$    *$             $     1           *$     '38)84
 3($$    -          O          *$  7,%:%&   . 
     /   %,%+ $      ".  ,%+ 0A 7,%+% (    
*  ;   C"D 1 1  >  !)$  ;   !E"  1            .       
     A     $ $     .  7,%:%&    8$   ,,& 8$  
      $   

   8$        $ 7,%:%&     .  $  $         
 $            8$      $      $     8)84       . $ $ 
$    

@ ,, 0A 7,,'  '  '   !E!'37,,3(  $           
     4  6   '34A63(   . -   .          
  .         .                 .       $     $   1  $. 7 ,,     .   $$   
      -             .                      4A6           *$   
           7,,  $. $  *$    * $  $   $$ JB
              $      O           $  7,,
   .          @  %, ,,   /    &% ,,,    $   ,,,    8$  $         0      85
     8       $ 4A6    6.  0 '3603( 1 8$ $      $  ,,,
  0     85     8     1      .  $  8$ 5 
  

5    @

60  ,,%'   . 0  %,,%( 8$ $  #    8'   + ?.     8
A%7 8   $      . % ?     85      $  '( 8%7 
   .        #  .    8$ ;  B    '( 8,&7    .    
    # .    8$ ;8A8 ' 381 3(     . = && > 
.      $ -    1 8$     #    ?.     -   $$.  8B 
7   8 '38B783(   .        $  -                     = 9 : 
           $    #  .    =%% &             JJ       .   => +  
=%    ..       1    -   $ -   88B78
   $$   $         $$    $$$*  , '$$* 
%% .  (    8  8 $       



                                                                                         0%:
             Case 24-40236-can11                            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                        * 0              J /  1 
                                                                 Document           Page 352 of 446

1     8 1   0    ,,%  8$           @   $     B      '  3@B3(   8J
8H4 4 8 '38  3(8< / J      J ' 3J @  3( B     @B 8$
#           8    8          $$*   =::      '      $ 
-   (    8   8$ 5   JJ'   " '34  B$   4  3(( 8@  6$  
448 '38 @   6$  3(      8  8 @J   '38 @J3(       8$        
=%      8      P 0'    " %'3/ 3((

    8  8$    J  @         1          4  4   8$      '31  448
   E(8 B     1 448    J @  5     $   8   *  %:%&,,
8%7 8 ,&:8,7 8,%,8&7 8    " %:'3   5)# 3(
 .     *       8$ 5$     1 8$   . %8A%7    $    8$ 5 
   8 1 8%7     -   $ -      +88%7 ' $   + ? . 
       1  448    (        8$   *       8 8 7  #   8     8 8% 7 
' $    ? .      1 448   (     J @   *   887    J @  
$  81 

< ,,%$ -     81         # =% >    8$
  &9&8%7   J @    ?  $   $ =+>     $   
8$ $   1            .     =>>&    J @  5  
8%7  %:,

1 #          8>F        #   $  $      
.     #     1  $  $      5-    .  .  
.    1     $  $ N

      #(/)".( )$#&+/ ", (.9)
      ))&$) *D2(#&
      %   =#                                                                                                                              *                        4(11@(C>,
      !              #'                                                                                                                                           ,,(0C@(@@,
       #                                                                                                                                                                       ,(46,(40/
      "                                                                                                                                                      4(,@@(C0>
      "    =        ,                                                                                                                                              000(/,1(,0C
          AA                                                                                                                                                    4(>46(+//
     7   = K                                                                                                                                *                      041(/1C(,@/
     (+0(,($(&) ))2/&
      !  '      '  ,                                                                                                      *                       ,0(1@+(,4@
           '                                                                                                                                                     4(>46(+//
      M   #                                                                                                                                                                    0,1(+++
     7 '   K                                                                                                                            *                       >+(,>0(>@,
        +(#>+,2&"'&$ ))&$) *D2(#& 3                                                                                                                *                      0@1(401(C+4


     ".*".$#",,(.9(.$&#&)$+$'+(#=+,2& !!                                                                                                            *                    ,,4(>+1(/4>
     ,!        =               (' (   (   #             (   (    =   E         
     < 0+(>+>,(  %    *, 6  -)                           #    E         E           ' 0,(>+>,(
       %                                 AA-   (-    */0@             
     E       ' 0,(>+>,           *>1+  (-                    *, 6  -)   
     >    A      F ; ' & =         %  %!A,(%!A>( %!A0M      0/(+@0 - %
     !A,M  -   # *,,4 >     JH9  A      J' -  ,4J  ) &= J   
     0       - %!A,M  (% *C+6      '   %  ;   D (88%




                                                                                             0%9
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
 1  8                                                    * 0              J /  1 
                                                              Document           Page 353 of 446

+(#>+,2&"' ))&$)+. (+0(,($(&) *D2(#&

1   .   $$    #$         *  .  $        $  $            1
$  .            $    .      $   4 . &      .
        1      .   $                     .      $      
$ $  1  8$   O      .       % ?    .   .    $$    #$   #   1     . 
           5       $     $ $    O      8$   O   .        $-     
   .      #    .  $ .   $$     1  .  
 #.      .  $ $ *$     $        $$* .       
   #  .   .   .   .   $  $$       # 
+(#>+,2&"'".*".$#",,(.9.$&#&)$

1 .         88%8,8&7    * . $   
   $ $    " %:'3   5)# 3(    8%8,8&7  .      . 
      8$ 5A/     $               '  (     8B      AB    
8A8  $  .      8%7      8$ 5  B    < &,,%   
 8,7      8A8 < 9,,%   " %:'3   5)# 3( 1   . 
    0  %,,%  $ . $   . $ @ 8        $    8)     
   88%8,8&7  1 .         .  $     8$ 58 
  B     $   .  .    1 .        $    .  
   $   4 . &     1    .  $    %% >>? 8%7 %% 9? 8&
7  1 .  8,7     $$.   .   *   8,7  8A8    A
B     1    .  $  O  8&7 

/    /   &%,,% 8$       $$*  =, =, > $  . 
1  8$                   =9>&   =,&   $  .       /    &% ,,%  1 
             =%          /    &% ,,   8 1     =9 & 
1                      .  *$     8        6$    0      $ O  
       8 A                   0 $ 0  %,,%'   .   # ( /   &%,,% .  
8  =%: &  =%9 >
#""#/+ &)2,$)"'1&#+$(".).+2 ($& !

1       $ .    $   .          /    &% ,,%      8 #     
  ,,%       $ $    1 $   .  $ $ $ . $$   $$  
     $       .                   1    .
         $$   8$ 5   $   1  8$   *  $           '(     $    
$.     8$        $ .      81    
#      .   8    # $#  $ 

                                                                                            #""#/+4&+#. &
                                                                                              &*&/0&#
                                                                    #                *               ,04(C>,(6,C


 "##( "#.'#+#2)$+.+9&/&.$

6< :,,% 8$    O ' 3 O 3(                  8$ ;   $ 8$             $ .  
8       0  ,,%' 8   



                                                                                        0%>
             Case 24-40236-can11
1  8  
                                                         Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                   * 0    
                                                                                                               Desc      Main
                                                                                                                     /  1 
                                                              Document           Page 354 of 446

   E(     8$         $    '  8   3(  B    8         $$. 
8$ ;      8$  #  8           8  $        $ .  $.    8$
   @       7$     O   8$          )1  B    O   8$  
8  $       @       @ >,%'   3@      3(      .     
/    % ,%% '     3  .     3(         $   8$     $  8      *$ 
      @         85   $ $      *$  

1  O  $  $ $$*  =% :$    # B   8       8$   
   8         8   5 $       $  8     N '( %%&>:     8   '(:>&9:%     8 A
8    '(%9,%&  $           B      '  .      8    8 A 8    3 O 
8  3(   @        .           .    

1 #          8>F        #   $  $      
.     #     1  $  $      5-    .  .  
.    1     $  $ N

 "##( "#.'#+#2)$+.+9&/&.$
 ))&$) *D2(#&
 %   =#                                                                                                                          *                          C1>(@6/
 !             #'                                                                                                                                           0@@(400
 "                                                                                                                                                     ,@(,6@
 "    =                                                                                                                                                          6/(,+,
     AA                                                                                                                                                  @10(0C4
 F-                                                                                                                                                                ,@(@C,(,1>
7   = K                                                                                                                            *                       ,4(0@>(C10
(+0(,($(&) ))2/&
 !  '      '                                                                                                       *                        ,(>1C(@+>
      '                                                                                                                                                   @10(0C4
7 '   K                                                                                                                        *                        ,(/,>(/C6
   +(#>+,2&"'&$ ))&$) *D2(#& 3                                                                                                            *                       ,@(40+(,11


+(#>+,2&"' ))&$)+. (+0(,($(&) *D2(#&

1    .        #.            .   $ $ *$             $              
$$* .          # 

5       ; >

1 8$ 5      $      .   $ $ *  $$   $  
    $            $                 $.        "  , '3  
B 3(   8$ 5 .    $  8::

 0  @   /              

7  8$ 5'(   $  '( $$ '(    $         
  .            .        .    1       $     $$   .         
$          8$   $    .      $      .  $  
1   $    '( *$ $  $   $$    '  .      
 *('(8B780)8          $     '(   ' 8B  (  
   8$ 5     




                                                                                       0%+
             Case 24-40236-can11
 1  8  
                                                                Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                          * 0    
                                                                                                                      Desc      Main
                                                                                                                            /  1 
                                                                     Document           Page 355 of 446

1  8$ 5    $    .           $$      '3B43(  B4  .        $    .  
 $        O  .     .   .   8$ $$        $$ 
 $      $  8$  $      .  $            
.    1 8$    B4   $$    B4  .   8$  $  *  $$   
   $        8$

P B4$    .     $       .    O     .  
      $   .  B4$         .        8::  
   B4.        $   8$       .       $  B4 .  B4
  .  

A         .      8$ 5 $$  $     $     O 
  .   $         $      8$  *$     .    $    . .  .   
     

-     G 1

       $.         $         5   .     .     .          $    
 .    $.    .     O    $              .         $          /   
       .    .    O     $                    8  A                 1       
$.   $-    O        8>,       O  
   8:: .     .

1     O           8$ 5           $      .    /   &%,,,,,%N

                                                                                                                                                 ".$#+*$(+0(,($-!
                                                                                                                                 &*&/0&#                &*&/0&#
?   ?   < ,                                                                                                  *                 1(00C(04@ *                      4(,+@(C/C
M    "      '                                                                                                            ,(,/1(6>@                          ,CC(@+1
   "      '                                                                                                               16/(0,1                         C41(+>+
  ?   E        ' 0,                                                                                              *                 1(C>/(6/0 *                      1(00C(04@
,7    ' '               #       %  ?           


1 8$ 5          /   &%,,,,,% 1 8$  O             
    $  $          O     .       /   &%,,,
     O         =9:  1              $ $ *$   
  8 A         

1             8$ 5 $      .              /   &%,,,,,%,,N

                                                                                                                "#$%&4&+#). & &*&/0&#
                                                                                                                                                            
%       #                               *            ,++(01,(4>/            6> >2       *            C@(C01(,4+     6, 12 *                     I            I2
                                                 ,1(@,1(6C,            ,> 42                    ,1(>>>(,@1     ,0 ,2               ,>(6@+(/C1         4@ 02
  '                                                @(6CC(/1+             @ +2                     @(/61(1@6       @ ,2               @(/6>(>6@         >0 C2
                                                                        ,(0@,(1++             , >2                     ,(1C0(/1C       , 02               >(0@C(>/>         ,, 62
7                                                        *            ,>>(++6(/46           ,++ +2       *           ,,4(104(4,>    ,++ +2 *             ,C(C/>(01,        ,++ +2




                                                                                               0,
             Case 24-40236-can11
 1  8  
                                                          Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                    * 0    
                                                                                                                Desc      Main
                                                                                                                      /  1 
                                                               Document           Page 356 of 446

5     

B ,,% 8$ $ #       7        $$           
            $    $     1 8$ 5  $$   $      
  $$   8 A           A       8$ 5  $$   O     .       
    $   B $    O          .   $  $    A $ $    
     .   8     6$   1 8$    .              .      
   1  .  $                 #    8$ 5        5 $         
   P              .      $      $    8$  O      
    .     .   8     6$  

1 8$ .         '(JJ0  ,,%                      '( B  4J< &,,
       7  P  448 '37  P 3( $             $$.                7   A$   8  .    $ 
$ 7 P  $  $ 7 B  8$'37B43(

+,&+. /1+(#/&.$"'$%&#+. ),&+$%&#(.9-)$&/

/,, $          JJ' 3)J81  3(            $ 
 JJ    8$  O = % &$    $$      JJ  8     
6$      /   &%,, 1 8$ $ .  O        .         J J 4 
' J 4     3(  $  $              .          $ .   
   J.  )J81  5$      8$ 5 *$             $        8$
 O           .  =& % 1    O    .   8     
6$      /   &%,,

 " &'3# 3(0  ,,% JJ  $    #  8$ 5   8  
 $  6'  .   3JJ/$J$3(        7$     < ,,%
    8$     $   JJ 1 JJ   . =:&  6  . => >
 . = 9 JJ/$J$ 1 JJ  . $$*  => +    $    
    O     $ $   *$  $    1 .       
$    .      $   4 . &     1    .  $    %% 9? 1    
JJ/$J$  $  $  $$  = > 8     6$    # ,,%

&#/(.+$("."'$%&#+. ),&&+)& 9#&&/&.$

  " %,'38   8   3(    JJ$  8$ J 8        
@       ' 3       3(  )J81    $      $ .  $        
J 4     1    J 4               = %::     
     8     6$      /   &%,,%

+,&+. /1+(#/&.$"'$%&(.& +,&(D2( )+$%&#(.9-)$&/

6$%,,7B4 $           $   8$ 5B  4J                                
 *                                          1     #   7B45
      ,%+ $ 0%C     7B45      7B4         
    $                 &  $      $            $  . 
  $                     $   7B4          
 $   $            #    $         7B4  $     
8 $ %% 7  A$  8



                                                                                        0,%
            Case 24-40236-can11
1  8  
                                                     Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                               * 0    
                                                                                                           Desc      Main
                                                                                                                 /  1 
                                                          Document           Page 357 of 446

6@ %,,7B4 .  $    O  8 $ %% 7  A$  8 1  7 P  $   B 
4J         B  4J' 3B  4     3(  8$ 5       B  84B
'3B  4B3( 1  $      7B4            B  4     1  $  
$   8)  5    *          7 P     -   B  4       # 
         . < &,, B     .    -    &: A$  8     # 7 P  $ 
      $. B  4      $   $.   8$   .    $      
$@ < ,,

B   4B     B     8$    '3B  3(            B   1  8   0     "  %
'3/ 3(   7B4    7B4$      $           B  4J 1   B  1 8  0 
    B  4J      8)      

6< ,,B  4B    7  A$  8  -   7 P 5   -   B  4         
    7B4 B  4B 8$  $$    7 P    B  4J= %>    
              7  A$  8 7B4;8 $ %%   $$.   < ,,,, $ 
   . $          

6< ,:,, 7  A$  8 7B4;8 $ %% $$.    B  4J 0 $$.< ,+,,B  4B   
  $      ' 3    3( 7 P  6< &,,B  4B    B  4J    7 
P      =%>  B  4        1  $ $        
$ . $$.    $     .        8$ B  4B        
    B  4J B  4      7B47 P     B  4B 7B47 
P   -     B  4    

-     B  4J   . B  4B 8$     $       ' 3      3(
 B        B  1 8  0        $$*  = &,  =%&,    
     B            =%>     $            $.   7  P       B    1
8$ $.    .   B  4B$$*  =& &'=%+>     ( B   *  
'(      B  4J   B  4B'(    8$ ;$   #       $  
B  4B'(        B  4B    B  1 8  0 '.(     
   B  4BI 8$   $  .     $   $      B  1 8  0

/        B  4J  7  P   8$       $     *     .  
  .       .   =%:          B  4J 8$  O 
$  $  $$   8     6$  $$*  =%:     /   &%,, 0 
        B   4J          B   4        8$   O            $$* 
=>     /   &%,, 1     $            B  1 8  0  B  '
  . " %'3/ 3(     *     =%%    /   &%,,

    

A   ,%+  8$      6 5         /6/  $.          0  4  P    6 
B$           8>, 6          $    1 8$   
  $   $  $       $      $      $    
 " ,'3  B 3( 8$       $       $     $   
      .    8::Q    8$      /6/     .   



                                                                                  0,,
            Case 24-40236-can11
1  8  
                                                      Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                * 0    
                                                                                                            Desc      Main
                                                                                                                  /  1 
                                                           Document           Page 358 of 446

  # ,%+ 8$     $.   $-  6 5$$           3    3  
 8>, 1   $.   $-   $   $   /6/       $.         $.
   8$       $.             .   8 
A         1    8$         $.    $-        $          .          "  ,
'3  B 3(  
   

1  8$ 5 $              $    $       $   #$   /     /    &% ,,%
8$ #              81   O  8$    
 / . $  8     $        $$  $$     $   
  ,,& "  $         "   $          /   &%,,, 1 8$ 5  
  $     $   $     $       8 A             1 8$  O 
   *$   8     6$      .       1 8$      
$        /   &%,,,,,%N

                                                                                                                                       "#$%&4&+#. &
                                                                                                                           &*&/0&#         &*&/0&#
8    K
                                                                                                          *               ,(/64(@+> *               ,(@4>(,04
                                                                                                                                 I                    >>C(,44
 7                                                                                                           *               ,(/64(@+> *               ,(4C,(0+>


1              .              8$   N

                                                                                                                      &*&/0&#               &*&/0&#
G  A#         A                                                                                 ,, +                           ,+ +
G  A#     A                                                                                             / @1 2                        / +@ 2




                                                                                  0,&
             Case 24-40236-can11                           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                       * 0              J /  1 
                                                                Document           Page 359 of 446

1     $    $$                8$   N

                                                                                                                                             "#$%&4&+#. &
                                                                                                                                 &*&/0&#         &*&/0&#
%                 '  K
      -                                                                                     *                ,(/60(6>> *                  ,(4C,(6C@


               #  K
     AA  '        -     '   ,                                                                44(061                      0/>(06+
,      


1              $       $                      8$ 5     
8 A     /   &%,,,N

"#$%&4&+#). (.9&*&/0&#                                                                                                                       1&#+$(.9&+)&)
>+>0                                                                                                                                                                  ,(>,1(,C0
>+>@                                                                                                                                                                    @/1(>+C
>+>1                                                                                                                                                                    @,C(+46
>+>4                                                                                                                                                                    @4@(6@C
>+>/                                                                                                                                                                    @4@(6@C
7                                                                                                                                                                0(C/>(/++
 7                                                                                                                                                                 /(+,,(646
8 K"  9 E                                                                                                                                               >(0,1(@16
    8  8'                                                                                                                      *                     @(4C4(@,+


75    > ;

0   .   $     . $      .             
)  #   8$   .         .              O                     
0         #       #  $  $    $                  1  8$  . 
         $$                    
 .   8$    $                 *    

1 1            7 %  

6 %,,%      0P8448   8$ 8$P/448' 38$)143(
      '(  *         ".   & ,,  <  &% ,,:  '(     $     =,  $          
   &%,,%      8$)14          %, ? /   &%,,,
/   &%,,% 8$)14     =>> =%  $  . 

6@ ,,,,   8$)14    '(  *     < &,,% ".  &,,'(   $    
      /   &%,,      8$)14          > ?  @ &%,,%
  #    @  &% ,,%              %, ?  @   $$ $     $$*   =%%      <  % ,,% 
    < &,,%     



                                                                                      0,
             Case 24-40236-can11
1  8  
                                                      Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                * 0    
                                                                                                            Desc      Main
                                                                                                                  /  1 
                                                           Document           Page 360 of 446

65        

/      *         *     $                        $   * $$ 
8$   8$ 5    *    /   &%,,,,,% N

                                                                     &'&##& +: ))&$)+. (+0(,($(&)
                                                                                                                            &*&/0&#               &*&/0&#
&'&##& +: ))&$)3
  E       #                                                                                                  *                  ,(>0+(C61 *                ,(000(1,+
       -                                                                                                          /(+>/(@0C                  4(C>C(6>,
  %  -                                                                                                                   C>(@,6                     C>(@,6
                                                                                                                                              006                        044
    'A                                                                                                             *                  6(01,(,6+ *                6(014(,,1
  9  -                                                                                                                        1(,46(,@6                 0(6C,(0@>
    'A                                                                                                             *                  0(,60(+0> *                @(@4@(//0
&'&##& +:(+0(,($(&)3
  %  #                                                                                              *                 @(064(/@@   *             @(,6/(4>,
                                                                                                                                          66(166                    /+(64/
    'A                                                                                                             *                 @(@/1(00>   *             @(>16(@66
"$+,.&$ &'&##& $+:,(+0(,($-!+))&$                                                                                *                 ,(>C>(0++   *                >+4(>61


1       *    $    .     8$ 51 1 8$  O   *      *$   
$ 3     3    $ *    *            *$  1 8$ 5$   
   $      *$ $  * *$  /   &%,,,,,% 8$    $  1*   #   
    /   &%,%> $   *       *   

/   &%,,,,,% 1  .  $   '3"643(=,+ ,=,> 9 $  .  " $   
=,:        /   &%,,,,,%,,,%+,%>       -      " $   
    $ /   &%,%>   ,    O   $   *$ N=&,> =%9: 
=&,>   =% +      /    &% ,& ,& ,&:  ,&9  $  .   1  8$     $     
= /   &%,,,,,% $  .      O  *$ /   &%,,

@      .   .               $     O $  *$  /  
    O     * .  =+,    #     *      /   &%
,,,  ,,%     8$                     $          O  $   *$   /  
    O      * .  = ,  /   &%,,,=& >/   &%,,% 
   8$     *     .       O        *  .   - 
  $  

6@ ,9,, 8.  )   ' 38) 3(   $   86M/%+$  1 8) 
  $  "64 .    % ? *    *      ,,%   8)  "64
 ,%>,%+,,        . $   *        $ . $  *  8   8$ ;
1 . "64  $$*  =% ,        8) 1              
  *   .         *  8  "64            $   * ,% ?   
    *      *  $ 1*8 <  ,%9  &? 1      .            *
$.    /   &%,,

1   * *$  '   (   $  $$          * ,%?                    /   &%,,,,,%
,,  $     *$    $   N




                                                                                   0,
             Case 24-40236-can11                              Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                          * 0              J /  1 
                                                                   Document           Page 361 of 446

                                                                                .*"/&+::1&.)&;&.&'($!
                                                                                                                                   "#$%&4&+#). & &*&/0&#
                                                                                                                                               ) &)$+$&
                                                                                                                                                                  
!                                                                                        *        >(0>/(/4@ *            >/6(/>4 *           4@(>C>(+,>
      (    '                                                                                           46(0>+               46,(0@>                  01(0/,
      #          7   '                                                                        >(44@(/4,               10>(C1>              4@(00,(,4+
    #  -                                                                                                  ,(>/4(6+4             0(,1C(0,0                      I
                                                                                                                            ,+(>,>                >+(,>>               ,1C(0//
 "$+,(.*"/&$+:&:1&.)&0&.&'($!                                                                                *         ,(4/,(C,, *           @(+/@(/1C *               6@(616


1   *  $  $$                      ,%?$       *

0    /   &%,,,,,%,,   * *$  '   ($    .                            .      8$ 51
1 $    * *$  '   (   $ $   N

                                                                         "/1".&.$)"'.*"/&+::1&.)&;&.&'($!
                                                                                                                                     "#$%&4&+#). & &*&/0&#
                                                                                                                                                                  
 2##&.$$+:&:1&.)&0&.&'($!
    H                                                                                                          *          ,@,(1@@ *                  /(,1@ *          @>+(+/@
          '                                                                                                0,(/60                     1(4>0              >@(>0,
 7       '                                                                                      *          ,/0(0>/ *                  ,(10, *          0C1(6@0
&'&##& $+:&:1&.)&
    H                                                                                                          *          C@/(+04 *              0(@++(1/, *            >CC(6@1
          '                                                                                               11,(1@6                  4/1(/,C               ,,(,@+
 7                                                                                                 *        ,(@C6(16@ *              @(+/4(>C+ *            0,+(C61
"$+,(.*"/&$+:&:1&.)&0&.&'($!.&$                                                                            *        ,(4/,(C,, *              @(+/@(/1C *            6@(616


1 8$       .  ,%& *      )1    *$$  1 8$ 5)1     $
  $$           #   *  1 8$        #         #  
   * )1,,,,,%,,

85  4 @

B$   #$            N

                                                                                  #"1&#$-+. D2(1/&.$
                                                                                                                                     &*&/0&#           &*&/0&#
8                                                                                                                              *            >@(C6C(/6@ *               >@(C6C(/6@
%                                                                                                                              ,61(+@/(044                ,6+(440(,@4
                                                                                                                             ,+1(0>>(C6/                ,+@(6@/(@+1
 AA-                                                                                                                             6/(>+4(0/@                 61(@1,(1/@
"                                                                                                                            @>(4@/(641                 0C(CC1(641
7 )                                                                                                                                         00(+C>(6>1                 0+(4/C(,C@
%    -)                                                                                                                    ,+(@C1(>44                  6(16,(14+
9          =                                                                                                          >(46@(CC0                  ,(6@+(4+C
  =                                                                                                                           ,(14C(4C6                  ,(@+0(+C+
#"))1#"1&#$-+. &D2(1/&.$                                                                                                     *           @C0(+1/(,16 *              @/6(@1>(>>/
  8 K                                                                                                                       1>(C+6(,C,                0/(+>>(+0@
&$1#"1&#$-+. &D2(1/&.$                                                                                                       *           @@+(,@6(C4/ *              @@,(@0+(,C0


/ $   *$  =%: =% 9=&              /   &%,,,,,%,, $  . 




                                                                                           0,:
             Case 24-40236-can11                           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                      Desc Main
                                                                Document    Page 362 of 446

5

J $     *  $  $ .  .       #    1  .   O 
    $     #    .             .   $  1
8$ $  $      . /   &%   

1  .    $     $           $-   .  $   
      8$ ; $  $ O          .  $ 

A            $                          $     $ %   #   .
$     $  &,,,$  $$     .  $   1    ..  
   .  $  $  .    .    $ $  1  .   $   *  
   .  $            $  ; .  *   .   *
         $    0 .     $       $        $   #           
  $ O   .  $   1   .    $   #  #  $ 
       $$$    $  $   #  .     $     .  
        $    =%: ,    /   &%,,,      
   8     6$   1 =%: ,$    $ =%    8 $  =% 9
   @J $  /   &%,,,          -    
 $ 

/   &%,,%         .   .       =%: ,

/   &%,,,          .        .      =          =%: ,$                
  /   &%,,,

1           .          /   &%,,,,,%N
                                                                                                                                                                    
 )"'A+.2+#-                                                                                                      *                     ,4(>,+(+>+ *                        ,(/,6(646
%    7 ! =                                                                                                              W                          ,@(@C,(,1>
8                                                                                                                                ,4(>,+(+>+                                I
 )"'&*&/0&#                                                                                                    *                              I *                       ,4(>,+(+>+


5           

1 8$          . -     .    $   .   8                          N

                                                                                                                                                                      
                                                                                                                     "     #          "     #         "     #     ,
  "44                                                                                                                     ,, 2                    ,> 2                           !
   7 M%                                                                                                          ,@ 2                    ,/ 2                           !
  % # " %                                                                                                           ,6 2                    >+ 2                           !
  "?HD %                                                                                                               ,1 2                    ,0 2                           !
  9                                                                                                                            / 2                     1 2                           !
                                                                                                                               4 2                     4 2                      ,4 2
  !                                                                                                                          @ 2                     @ 2                      ,, 2
  E        E                                                                                                              @ 2                     @ 2                      ,1 2
,7 >+>+              #                    #' - A      FF     E      ' 0,(>+>,




                                                                                          0,9
            Case 24-40236-can11                       Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                  * 0              J /  1 
                                                           Document           Page 363 of 446

5    

60  ,,% 8$     8        8   8 8$ 5  *   8 
  $  8          O 8  $$.     < ,+,,%

6 <  ,+ ,,%  8)       $$.    O   1   O     $   <  : ,,%  B        8   
    8$    8       8   5$      $8  O 8  

    O    8$ '(  8      '(   
 $    $ .     8  .    $    8$  A   @          .       
    $   O        O 1  8   $ 0>C
   )8< %,,,%

8 $      *     8         8$   8       0      '  30     3( 
@              0  %,,%'(       '($.   =% .  8 
  $       $          O   '( $. $     8    $  $        
 *$    0   0     $.    $ % ,,%  8$  $ 8       #.           
             $            O 8  $   8   
    '    $         #  $$*   =%9,  $  # (  1               
 O < :,,% 1 8$ $=&   .     

B  O    @      $. #        $ 8 # ,?'% ?O ( . 
   8$ 5@      #  3@  3      8$ '      .   $ 
$$   $$  $            ('(  .  .     'A( .    
 . .  '8( $ $ *$  '/(       '%(    * ',(      $$  .  0$$ 
   @   8$ 5   $  .      . 0$$    @   
$ $$   $$      $ $$      8$ .         #    
       $ $$  '#    #             (. 
            .  $   O $          .   $ .$.
    8$ 5      .    8.      8$       .  
8$ 5@ &%,%:              $$ $  .  8$ 5@    #     
    @        $  @   0                  O  .  
     *   .      #    @   0    

1 @      $. $   #    .  % ?      $.        # = :,
$   $ #  #          .  $  .   8$ 58  1   $   
@      #                   $       *      $

0       @             /    &% ,,, ,,%  ,,    = =&,,   = %   $  .   1
@         .     $     8        0    ,,%  1     8$  $        
     8 $ $      *$    0    0    /   &%,,%   
=%          8      =% :     8 $ $     
 *$    0    1 8$    8$$*  =         O 
$.    .=% +     *   8      0    $  J    .   
   8     6$  




                                                                                   0,>
            Case 24-40236-can11
1  8  
                                                       Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                 * 0    
                                                                                                             Desc      Main
                                                                                                                   /  1 
                                                            Document           Page 364 of 446

1 8$ $8 8$ 5  $    .      .   #   ? . 
   8$ 5@    =&  0      .        /   &%,,,,,%
,,  ==%& =,&  $  .    $  J    .    8     6$  
1   .       .    $   O 1 < :,,%



5    

  <     '      

< ,%:8.    M  $$   M  8 8     8       .    
     $$    . 1 $$  $$   $     . < ,%: 1       $      
       8 $    $   ".  ,%>8    8  P   A
0         .  8. 4        .    8 P  8          1   $    
    8 8  P A       #8 $ $       $$.
  8  =&& '    ($    /   &%,,% B       8
  $                  < ,,8     $ 
0<           M  8 8/ $   0 P 6 6$ $ $    8
  $ $   =+ $       .   .   H     $,,$  81 
     $       $  &,,%

1 8$  -   .  $ .              $
            ..     .  .      $   
$    8$

 +,('"#.(+;". ). &/.('(*+$(".

1 8$            .8      1   $ $                        
  $$*  =%%       .  *$ 
5  > 

1      .                 8$     .     $$   #  
      .    

 &   & 61   W 1    .                     $            $$*  
.

(  @ '1 W1  .    .  $$* . 1    .     .    $    
 .                  .   0   .      *$   
 .                       O   .  )     O   .            .   $ 
         .       1  .    .  $$* .

 1 W .   $     B4$   . .                          O 
.

-  (  W1 .     8$ 5 .                    $$*  .



                                                                                     0,+
              Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
    1  8                                                 * 0              J /  1 
                                                              Document           Page 365 of 446

?  1  - @ W1 .            .         #  $                   . '4 . %(  
 . '4 . ,( 

                                                                            +##-(.9+. +(#>+,2& /"2.$)
                                                                                               &*&/0&#                                      &*&/0&#
                                                       &=&,?($%(.+(#
                                                       >+,2& (&#+#*%-            +##-(.9 /"2.$!               +(#>+,2&             +##-(.9 /"2.$!                +(#>+,2&
(.+.*(+, ))&$)3
1 6/12M     #  '                          8 # >                          ,,4(0>0(10+              /C(+C0(1++                    ,,1(441(60+             ,,,(,@@(+/1
,7   #  ' '                       '         




5;

1             /   &%,,,,,%N

                                                            "$+,                                                           &*&/0&#                     &*&/0&#
                                                         "//($/&.$            @2+#$&#,-
                                                        "##(9(.+,          #(.*(1+,               +$2#($-              /"2.$          .$&#&)$              /"2.$            .$&#&)$
                                                          #(.*(1+,          +-/&.$)!               +$&              2$)$+. (.9          +$&             2$)$+. (.9            +$&
%    %  H  K
   %   ##                                   *   1+(+++(+++                                      1O0O>+>@ *        01(+++(+++        6 @,2 *          >/(+++(+++          @ ,,2
   %  7  8                                      6+(+++(+++               >(+++(+++             1O0O>+>@          44(+++(+++        6 >>2            /@(+++(+++          @ ,+2
   %  M                %  H       >1(+++(+++                                      1O0O>+>@                  I           I2                     I             I2
1 6/12M   % #  '                     ,>+(+++(+++                       I            6O,1O>+>1         ,,6(+1+(+++       1 6/12           ,,6(+1+(+++         1 6/12
"$+,&0$                                                                                                         *       >,C(+1+(+++               *         >,C(+1+(+++
8 K
  M             1 6/12% #  '                                                  *         >,6(16/                   *         0+,(61C
  M       1 6/12% #  '                                                                          ,(1+/(660                           >(+6>(0,,
  M             %  7  8 ,                                                                  441(1@/                           ,(>/1(>@@
    ".9$&#/ &0$.&$"' &'&##& '(.+.*(.9*")$)                                                                  *     >,4(41/(C60                   *     >,1(0C+(164
  &0$ 2&?($%(.".&-&+#                                                                                          *      ,+(+++(+++                *     6(+++(+++
,M                 %  & ##          E   %    !     %  ?                 
  JE   H   % J' -
>7  = =      -    *> +   *0 +  '   -              ' 0+(>+>0

    #(/)". #& ($+*(,($-

60  ,,%    81 8@  6$  8@J'  .   3A 3(                       8
@J /  H 448 @J 8)   B$   8$  448 7  B$      8 B$   448  8 B$   4 B  '  .  
3J 3(     88  0          $   P 0A"    .   
 $ $    1 88  0 $.  $ $ =%  N=  ..   '38
 .. 3(  =>     '38 1  43(               =,    7$    8 1 
  " &'3# 3( A   => 81 4=,  8 ..    #     
 @  , ,,% 8         #       8 @    .  448  8 @    8$   8 @  
6$     . @ ,,%    .    J $        J    $   
          '  8@  8$ (      B     6 $  %,,,
A  $                 8          $       4A6              6. 
0 '3603( 6@ :,,& 8$ $             8        *     
   88  0    0  ,, @ &,,   $$     .      # ,,&,  
, 9 A F&,,&    .    $ ,           # #   O   
  =,  =&    # ,,&



                                                                                         0&
             Case 24-40236-can11
1  8  
                                                        Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                  * 0    
                                                                                                              Desc      Main
                                                                                                                    /  1 
                                                             Document           Page 366 of 446

1   88  0   @ &,, 1 81 4 # #  $   =,       
@ <  $  /    < &,,%  =& $ #   $  &,,&  -      
   88  0    $  A        '(60$-      '3- 603($
$ &,  $ ' (  #     '( $          .   '(    $ ?'(
  - 60 $% ?$$ ,, & $  1 $$  $          1 4 .   '  
 88  0 ( 1    .      88  0 $$*  > &?/   &%,,,

6           J $        J         A 
J '  #  $  (        8B78    *  $       
B                B                8$ 5
6 JB$  4486 J@     $          $ $    
      $    ..        .     ..       =&  7 
     8 8   0       A              -        .        
#   < &,,%'(N    .         N'(&  %    #   < &,,%  
 #  /   &%,,%Q' (, 9 %    #  @ &%,,,   # 
 < &,,&Q'(,  %    #   $  &,,&  #    '(   . . 
      ,  % 

8      8$  A   -               .    $  
.  .  .     B                  $ 
  $ $     .     $     .   1 A        
 -       .   . .          $ 1 88  0     
$. '  $$           $ (         $  7$       .       $       
    88  0        $          # 4  '   88  0 (

 ".$#+*$2+,+-/&.$)

1    $$$   /   &%,,, N

4&+#                                              #(/)".&#/"+.                   #(/)". &=",=&#               586B ".=&#$(0,&"$&)                      "$+,
>+>0                                                          ,+(+++(+++                                 I                                 I                           ,+(+++(+++
>+>@                                                          14(+++(+++                         01(+++(+++                                I                           C,(+++(+++
>+>1                                                                  I                                  I                        ,,6(+1+(+++                         ,,6(+1+(+++
7      %  "           *                   44(+++(+++ *                       01(+++(+++ *                     ,,6(+1+(+++ *                       >,C(+1+(+++




                                                                                      0&%
             Case 24-40236-can11
1  8  
                                                            Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                      * 0    
                                                                                                                  Desc      Main
                                                                                                                        /  1 
                                                                 Document           Page 367 of 446

$   1           

      O  *$                 /   &%,,,,,%,,N
                                                                    &'&##& (.+.*(.9 ")$ /"#$(J+$(".:1&.)&!!
                                                                                                                                         "#$%&4&+#). & &*&/0&#
                                                                                                                                                                           
%  %  H                                                                                                    *            CC+(1@+ *            6CC(0+@ *                       I
% %  H                                                                                                                     I                @/(6/C                    1/@(1@,
!     "  7  %  H                                                                                                        I                    I                      >4(@,+
  "$+,&'&##& &0$ ")$ /"#$(J+$(".                                                                                    *          CC+(1@+ *            C@/(,60 *                  4++(C1,
,!        '                    %                    
> H            '                1 6/12 % #  '           %            (       % #  '  
      ' ' -


8)  8  0  

B  < ,>,%9           $ .  *         8)  8  0   $$* 
=% >      $$*   =% :             O                  8$   
$$*  =% &               O .      1       =, +
    O     .          8)  8  0 $    0  ,,%'
   . (        8$         $$*  =>:,  *    
  8     6$    # ,,%
     $ 

 >9?8.    " 

6 %,,%+ 8$ $ $. $    =%,   $$  >9?8.    "    $  
         * $ $.    '(',(     1  $      >9?8.    " 
  # %?   $$    #         %           
 * $ $.   % 1  >9?8.    "    %,,       >9?$ $      
0  % %    0  %,,

1  >9?8.    "      $  5 =&     O .      1 8$  
$$*  =>        >9?8.    "      O .     

H  .   $   >9?8.    "     8$ 58   $     $     
       $      1  .    >9?8.    " ,   8 $ =%$$
   >9?8.    "  #.    . $ = $    8$ 58   .    -   
-      .  $     

7$          '      .           8$ ;
   "!)"#(    #  8$   $    $   >9?8.    "     
 $  $  # % ? $$   >9?8.    "    $  $  $        *
     $   $      0           8$  .   
  $ '  ( 8$        $$  .          .      
             $ 

1  8$          >9? 8.     "  $   % ,,&  6     % ,,&  8$            $  
 >9?8.    "   $    $  $  8      %, ? . $        , 
 '       . ( &  .   $ '     $ ( 



                                                                                             0&,
            Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                    * 0              J /  1 
                                                             Document           Page 368 of 446

      $       8$ $.     $  1   $ $  #% ?            $$
  >9?8.    "      $ $       *   $ 

1        >9?8.    " $   .        8$       $        
                   .     * =,     8$ I 
            $   $     

1  >9?8.    "  # $               8$   $      
             8$           >9?8.    "  1  >9?8.    "       
    '  $   ( 8$ ;   1  >9?8.    "     .  -  8$ ; *     
    *   .     

6$,+,, 8$  $  $$*  =,     >9?8.    " $$*  =% &=, 
    1  $     *     =9:    8     6$      
/   &%,, /   &%,,, 8$  =%%> %  $$  >9?8.    "   

9 ?8.    " 

/  # ,,        .  =%: 9 ?8.    " $$*  %,:  8  6< %,
,, 8$ $=% 9  $$=+     $   9 ?8.    "   *    
  

1         $    8$ 5.         *$        /   &%,,,,,%,,N

                                                                         ".=&#$(0,&"$&.$&#&)$:1&.)&
                                                                                                                            "#$%&4&+#). & &*&/0&#
                                                                                                                                                        
586B ".=&#$(0,&"$&)3
                                                                                                     *         4(C01(@06 *         4(C01(@06 *          4(C/>(C66
E  !                                                                                                         1/@(@>6             1/@(@>6              1//(10C
E   E '   !                                                                                            60(>/>              60(>/>               60(/>0
"$+,586B ".=&#$(0,&"$&)                                                                               *         /(1C0(,06 *         /(1C0(,06 *          /(40@(>1+


65B ".=&#$(0,&"$&)3
                                                                                                     *                I *                 I *              11(00,
E  !                                                                                                              I                   I                 4(46>
E   E '   % !                                                                                           I                   I                 ,(,@+
"$+,65B ".=&#$(0,&"$&)                                                                                *                I *                 I *              40(,10
"$+, ".=&#$(0,&"$&)                                                                                      *         /(1C0(,06 *         /(1C0(,06 *          /(4C/(@+0


 $  .                             .       >9?8.    " $$*  : ?
    /   &%,,,,,%,,
7 '

0    /   &%,,,,,% 8$             $    /   &%
,,,       $   =&  1        9?   $      $  ,,& /   &%
,,%       $   =>:&  1        & :?   $      0  ,,,




                                                                                    0&&
            Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                                   Desc Main
                                                            Document    Page 369 of 446

5   ; 

6 0    ,,%  8$  $        6 $ $.     JJ    $         8 1       "   '34  
B$   4  3(  

$      *   $   JJ < ,% $    56     1 6 $   
         JJ$$      . $   J 4     1 8$  O 
   6     .   #   $6 $ O $       .   
 $  .   5  . 

1 8$ 5   )J81   6    $                       JJ$$   )J81            
  8$  .   #           . 

$   #         6 8$  O        '( $       *$ 
 ' (  .                        $   .   0   *$           
 -  .      $                           8$ 5    1   $   $    4 .  &
$  .    1 8$           $$         

,, 8$  .                                   6          JJ
 $   " '34  B$   4  3(

1         6/   &%,,,,,%N

                                                                           ))&$ &$(#&/&.$0,(9+$(".
                                                                                                                                         "#$%&4&+#). & &*&/0&#
                                                                                                                                                               
?          '                                                                                             *                        I *              6(/4>(1/C
    !                                                                                                                                      I                   @+(1@4
    !                                                                                                                                       I               6(6+0(,>1
        '                                                                                                *                        I *                     I




75   C@4

 ;   

6@ ,,,,     8$ $$.  8)     1  6 )#   . B' 36 B3('&  
8  O (   8$    #    $  $       $  . '
 $  .  $     (   . $  $$ $.   8$ 5   '(    $  
        '(     $    8$ 5    7  6 B 
  $          '373( $$   8    $    


6@ ,:,,, 8$  0>         )8$        &  8   
6  B   /    &% ,,,  8$    >>%9     8   :9&%, 7 '      (         
8$ ; $  $  .    6 B   .  ,,>9%  8   $



                                                                                    0&
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                     * 0              J /  1 
                                                              Document           Page 370 of 446

(#&*$"#$"*<;+)&  "/1&.)+$(".

/    /   &%,,,                 A/     >>%9 .    8                 . 
  . =, ,&$  

1 8$  O =%>  *$      .  *$               /   &%,,,              

 &)$#(*$& $"*<.($)

1 8$ ;A/  $$.          8$ ; $   6 B 1    
   $  .   $ 5   , .   .  $ 'MPB(8)  58    7
*    1 8$     $   *$        .   #  . $     
) 7 $        .    8     1 7.  .     %I&.  @ %     1  7
    & .   .  #.   # .    8$ 58 .  .  $   
   $         8$  8$ J.  8  A    8 
  . .  #    .  #.  $.     0    75.  #.    
        

1     $           .  7 .       /   &%,,,N

                                                                                                                                               &(9%$&  =&#+9&#+.$+$&
                                                                                                               &)$#(*$& $"*<.($)                    +(#>+,2&
2$)$+. (.9+$A+.2+#-                                                                                                         I    *                           I
 F                                                                                                                             46>(6C+                             > 16
 9                                                                                                                                   I                                I
 H                                                                                                                            6(1/6                             > 16
2$)$+. (.9+$&*&/0&#                                                                                                  4/@(0,>   *                         > 16
      #  E     ' 0,(>+>>                                                                                        4/@(0,>


/   &%,,,      O $         $     =% & 1                     . 
$ .     $   *$   *$     O , , 

1    $         8$ 5   $   *$  N

                                                                                                                                          "#$%&4&+#. &
                                                                                                                             &*&/0&#          &*&/0&#
F         #                                                                                           *               1@+(6C, *                       I
7      '                                                                                                          /,(>>4                        I
7                                                                                                                     *               4,>(,,/ *                       I


        

1 8$ 5 O $     :+&:9   $. = %$   6< ,9,% 8$   $ 
 ,, $       $   %I%     B     B     8$  ,,    
  B     6$%>,%9 8$    $   ,> $       $   %I%  
9 &9?  B     $ =, $  $    6@ %,%9 8$  % $     $  
$   =,  $   $               5 *     .     $   $         0   
8$    , $      ,    

1  $    $ . =% >&9$    #.   9 &9? =, # $    1  $         
 < ,9,,  8$ 5$   $   =, # $    $ $.       
  $  1  $     .        -        $   .       



                                                                                    0&
             Case 24-40236-can11
1  8  
                                                        Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                  * 0    
                                                                                                              Desc      Main
                                                                                                                    /  1 
                                                             Document           Page 371 of 446

    8$  * $          H   $        . .   * $  .  
 8$  $ . * # '        . (      1  $     $      
B       "!)    386B 3

1  8$ 5 A  /    O        $   $   8$     $         9 ? 8.     "  $ 
  < %,,$ =  8   B        @ ,%,, B       
$   *$  ,,, /,, 8$  $   >+%& $      B    $$*  =%:, 


/   &%,,, 8$    %>%,9 $      $$*  %>%       $. =% >%
 " ,,'3  #  ).  3(      $   .    B    

  

/   &%,,,       8$  %,&+>     

  ;  

6< ,+,,%    $$. '(  8A8 $.    AB      $    
81      .    88,7  *       8A8   $ 8B78$$.'(
    8A8 $      O  6< :,,% 8$  :>&9:%8A    8   
$     O    1 88&7   *       8A8   $ 8B78
$$.
   

 " &'3# 3($  81  8$  J @       1 448   8 B
                                                                                                                                                     
    1 448    J @   8$ 5   8 O      N

                                                                                                                                            )"'&*&/0&#
                                                                                                                                 #(&#&/0&#)                    "#.&#9-
                                                                                                                                             (     
*"."/(*"?.&#)%(1(.$&#&)$)(. #(/)".( )$#&+/ ", (.9)
%!A,M                                                                                                                              ,(41+(>@1                            I
%!A>M                                                                                                                              >(@4+(@,@                            I
%!A0M                                                                                                                              >(@1+(,@>                            I

%?A,M                                                                                                                                      I                        ,+(+++

>"$(.9"?.&#)%(1(.$&#&)$)(. #(/)".( )$#&+/ ", (.9)
%%A,M                                                                                                                                1+1(+++                       @C1(+++
9     %%A,M  2                                                                                                          1+ 1+2                        @C 1+2


 <  ,,%    $  -         8 1                 #   =% >  '  
   . " &'3# 3( 1   &9&8%7     J @   1         
    =>>& 

 $ -    .  J @  5       $     88%8,8&7 
  . =%%: , #  '   " &'3# 3((      8%8,8
&7   .     *     8$ 5$     -    $$. 8B78'38B78$$.3( 1 88
%8,8&7    J @   8A%7    8$  $       8   88%7 
 $   .    



                                                                                       0&:
              Case 24-40236-can11                             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
 1  8                                                         * 0              J /  1 
                                                                   Document           Page 372 of 446

7$8B78$$. $     0      448   8'30 448   3(    '(
.  8$ .  8      $      8$ 5   $   '($.
   J @       '   (    *         8    8$ N
     S    8% 7     *      $ %99+ '        &9&            $  -   ( 
          8$ 5  $         $    %I%         8$ 5    B      '$          .  <  & ,,%
          $      )*            8$ ; 8    $  0 >C   <  %, ,,%  8 % 7   .  
           *      8$ 5+ ?  8B    (Q
     S    8,    *    $ >9:,%>                    8A8             8$ 
     S    8&7    *    $ ,%,                  8A8 

8A8  .    .   8        N'(     .  
  81 '(              . .   8 

B  *   88%8,8&7   $8$    ' .         8$
       8%8,7    *     . ( J @    .      .       *   
   8$ 5A/    .  $                              B   ' 8%7 (  AB   '
8,7 $ < 9,,%(8A8 ' 8,7 ' < 9,,%(8&7 ( $  .                       
                 $  .         B       A B     8 A 8           8$ 5 A 
/                     .  8  08B78$$.   0 448  
$.               J  @       *    8 8% 8,  8& 7           
8$   8B78$$.  87    J @    *$         .   8
' 3@   @  3( 1    O     $     88%8,8&7  J @  
     $  .     8$       1  8 8 % 8 ,  8 & 7                               
 $8$     

                  .($)                                         ()$#(02$(". (9%$)"' "#.&#9-&*2#($(&)                                                ..2+,()$#(02$(".1&#%+#&
%!A,M                             / 0/12  !%  #           ' "     ),                                      *                                                  , 6@
%!A>M                             %?%       )0@                                                                                                                     9 >0
%!A0M                             %?%       )0@                                                                                                                     9 >0
, < >C(>+>,(  ?  %                                           #          #   %  NC ++2  %"     ) 
/ 0/12  !%  #           ' "     )
> </(>+>,(  %    #        %!A>M  -#            %  N@ ++2  ?"     )
             %  N%?%           )-     #  (#  (< 0+(>+>,
0!H   =   %    < 0+(>+>,(             ' 0+(>+>,(E         ' 0,(>+>, ; 0,(>+>>(  %            )? E# "  
  =*+ +1   = 5?   =   %    < 0+(>+>>(                 ' 0+(>+>>(E        ' 0,(>+>> ; 0,(>+>0(  %            )
? E# "   =*+ +11   = 5 %   =   %    < 0+(>+>0(                        ' 0+(>+>0(E      ' 0,(>+>0 
;  0,( >+>@(   %        ) ?  E#  "     = *+ +4       =   7  % ? %        ) #   '   '      ' 
   '    @' -
@H   =   < 0+(>+>,       =   ; 0,(>+>@(   %?%                      )-'         # # 
  J%?%         )E# J('  ?#( =   =             !%!E               =  ?, >1   ' 
%        )? E# (# ' %?%          )         ', >1


/     /    &% ,,%      =, &     $   J  @     8 % 7    $     ,%
 8,7 '=:% (        .  $      AB     "     $  8&
7         8A8 



                                                                                               0&9
            Case 24-40236-can11
1  8  
                                                        Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                  * 0    
                                                                                                              Desc      Main
                                                                                                                    /  1 
                                                             Document           Page 373 of 446

/    /   &%,,,     =& ,  $                  J @           8%7  "     $
  8,8&7         8A8 

          

66  &,%> 8$            )8$        %  8    
.  .    $ /   &%,,, 8$    &>:&9+  8   .  .    $$    
      .  ' -          (:%&:,%  8 

6 $  %:,,% 8$                 .   )8$               
      O     8   N%>&9:9  8 '  '(%%&>:  8  
        O     '( $ :>&9:%       8         #    8    $  .  
          8 A 8            O ( %9,%&  $         $    %I%   
       B         O   

6".  &,,% 8$              $  $ .             . ".  %9
,,%   )8 $       8$    $          #              $   $  =:    
/   &%,,, 8$                     .    =: 

65   !            

A  '($    $        /   &%,,,/   &%,,%     
.     8 8A8    $  1          8
   8 A 8                  $   8    8 A 8   .  #   
      0    /   &%,,    $$         

     "  , '3      6 B B 3(  8$  $ .   $   $        8    8 A 8    
     .    #    $  &,,%  8A8    8$   .  $  
$          $    8 8A8   .   $    $ 
  $                       " ,'3     6B
B 3(      $        #   @ &%,,%

1              $              $                       $    /    &% ,,, 
/   &%,,%

                                                                                            
                                                                                                                                             "#$%&4&+#). & &*&/0&#
                                                                                                                                                                    
                                                                                                                                                                    !   
2/&#+$"#'"#0+)(*+.  (,2$& ,"))&)1&# "//".$"*<+.  ,+)); "//".$"*<
&$"))                                                                                                                          *               C(1,C(44C *              >(101(116
 8 K    ' '    A                                                                                                      0(>04(6@6                 >(644(@4/
&$"))+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                                                                     *              ,>(/14(1,/ *              1(@+>(+>1
8 #   '  K
   "   #  =                                                                                                                       C(11>(1,C                 C(0C1(4+@
   %        )#                                                                                                                         0(++@(1/C                 >(61+(+>4
"$+,2. ()$#(02$& ,"))&)                                                                                                        *              >1(0,0(4,1 *             ,/(4@/(411




                                                                                       0&>
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                     * 0              J /  1 
                                                              Document           Page 374 of 446

%       )  '  A'                                                                                       *              >@(>,0(1@C   *             ,/(>@,(60+
%?%        )  '  A'                                                                                              ,(,++(+44                    @+1(6>1
"$+,2. ()$#(02$& ,"))&)0+)(*                                                                                              *              >1(0,0(4,1   *             ,/(4@/(411

%       )  '  A                                                                                      *              >1(0,0(4,1   *             ,/(>@,(60+
%?%        )  '  A                                                                                             ,(,++(+44                    @+1(6>1
"$+,2. ()$#(02$& ,"))&) (,2$&                                                                                             *              >4(@,0(46,   *             ,/(4@/(411

%     )#                                                                                                            *                0(++@(1/C *                 >(61+(+>4
%     )  '  A'                                                                                                        >@(>,0(1@C                 ,/(>@,(60+
2/&#+$"#'"#0+)(*.&$,"))1&# "//".$"*<)%+#&3                                                                            *              >,(>+6(C/+ *               ,@(0C,(6+@

%?%      )#                                                                                                   *                       I *                         I
%?%      )  '  A'                                                                                                ,(,++(+44                    @+1(6>1
2/&#+$"#'"#0+)(*.&$,"))1&# ,+)); "//".$"*<)%+#&3                                                                    *               ,(,++(+44 *                  @+1(6>1

%     )#                                                                                                            *                0(++@(1/C *                 >(61+(+>4
%     )  '  A                                                                                                       >1(0,0(4,1                 ,/(>@,(60+
2/&#+$"#'"# (,2$& .&$,"))1&# "//".$"*<)%+#&3                                                                          *              >>(0+C(+04 *               ,@(0C,(6+@

%?%       )#                                                                                                  *                       I *                         I
%?%       )  '  A                                                                                              ,(,++(+44                    @+1(6>1
2/&#+$"#'"# (,2$& .&$,"))1&# ,+)); "//".$"*<)%+#&3                                                                  *               ,(,++(+44 *                  @+1(6>1

&."/(.+$"#'"#0+)(*.&$,"))1&# "//".$"*<+.  ,+)); "//".$"*<)%+#&3
%       )-  #       A'                                                                                        ,1(+1+(>44                  ,@(>@4(1>4
%?%       )-  #       A'                                                                                   460(/4,                     001(0>@

&."/(.+$"#'"# (,2$& .&$,"))1&# "//".$"*<+.  ,+)); "//".$"*<)%+#&3
%       )-  #       A ,>                                                                                ,1(1,1(>>0                  ,@(>@4(1>4
%?%       )-  #       A 0                                                                              460(/4,                     001(0>@

;+)(*.&$,"))1&#)%+#&3
%       )                                                                                                                  *                    , @,   *                    , +,
%?%       )                                                                                                          *                    , 4,   *                    , >,

(,2$& .&$,"))1&#)%+#&3
%       )                                                                                                                  *                    , @@   *                    , +,
%?%        )                                                                                                         *                    , 4,   *                    , >,

777!?8
,H            %        )( %?%       )   '   #    ,%?%         )
   46%       ) 5    (,++2  '     %        )
>H     E      ' 0,(>+>>(>(04,(+++ %        )                '      -'   #
7         1 6/12% #  ' E ' H     E           ' 0,(>+>,(>(6>1(C1/ %       )             
  '      -'   # 7   @4@(C1/   #  %?%            ) >(04,(+++   #  1 6/12  #  '
 '
0H            %?%          )(-  #   %?%        )      #   %        
 )

"))&#%+#&"#$%&4&+#. & &*&/0&#

A$    $      .         $  / $    $ 
     .        $         / $     
  /   &%,, * 



                                                                                        0&+
             Case 24-40236-can11
 1  8  
                                                          Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                    * 0    
                                                                                                                Desc      Main
                                                                                                                      /  1 
                                                               Document           Page 375 of 446

  $          .  9 ?8.    "                        >9?8.    " $$    
$   . 1  9 ?8.    "   < %,,

7     .            >9?8.    "    ,&:%                 /   &%,,

                                                                                           
                                                                                                                                          "#$%&4&+#. & &*&/0&#
 8 ' '  %   )                                                                                        *                                  0+4(+4/(1/C
  8 K   #  =     ,                                                                                                                                 C(,6C(6+C
 8 ' '  %      )                                                                                         *                                  0,1(>1/(066
G  #   A'                                                                                                                                           ,0(41+(/,6
  ?                                                                                                                *                                         >0 +C

 8 ' '  %          )  '#                                                                        *                                      0,1(>1/(066
   !K!      #  '                                                                                                                                             I
8 ' '  #                                                                                                *                                      0,1(>1/(066
G  #   A                                                                                                                                              ,0(41+(/,6
  E                                                                                                               *                                            >0 +C
                             !" #$#$"        %       &'#"()*"   
                  +



85>     ; 4

 #(/)".( )$#&+/ ", (.9)

 0  %,,%8)    + ?.    8 J @      ?.    8M) 
              . .    '( $$     .          
     1 448   '(       $  8)  J  $$  8)  5A/  
8  6$  6 $ 81       $    $    85 .    .. 
  8)     $$    .  J   

8      8 A       $      8$    J  @        $         1
8A $  .    .    $ 85 $    .       
$$.       #  $ -  $$.  -  $$.      $      8$       $     Q  . 
8$    J  @       $  $ .        $     1  8$  $    3      3   
    8)         $ $      M) $      8$    
   '(   .   *   8 $     8$ 5)1     B4     . 
      $$  $  #    $$  Q'(  .   8$           .  8
 8$  *  $       @J6 Q'(85  $      $  8$ 5   Q
'.( J @  5   88%8,8&7      8)  A/    
$    .      B     8 A 8    1    8)     $         8 M)   J 
@  5 #    $     '    $  -     $ . (                  
  

1 8$    85       8)  5      * $ #         8A 1
#                   $-    $   #       .  $     .  $        "  %
'3/ 3(      8$      88  0   -              
 .    $  .  .  .     0  88  0     
  8@  6$  8@J



                                                                                       0
             Case 24-40236-can11                           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
 1  8                                                      * 0              J /  1 
                                                                Document           Page 376 of 446

 0    /   &%,,, 8$   . =%     8         8
8  0 0    /   &%,,% 8$   . =%     8        
88  0

1  8$ 5      8        $   $              85      # 
     8$  .  $  8$ 5$            .

(/($& +#$.&#)%(1)

7     $   $        M)   $      .   $ $ 
  @       B  4BJ 84B M)    $    $   $     .   
$ $   H .      $  5     $   $     *$        
$   $     $            8)   $      B  4BJ 84B
A $  .  8$ 5% ?  $  $   $     B  4BJ 84B  
    $       $     $   $


5          4           

$ .  < / J   8  6$  6  8$     J @   8%8,8&
 #   $   8   8$    #    $     @B  $ 8B78$$.
   858B78    1 J @    #    8   @  H448'D8   @  HE(
        $  81  8   4@  448'384@3(8    )  4 B 'D8)E(/  14 B
'D/  E(

/   &%,,, 8$  =%:>   $  84@8)/       $ 
8 A         1     $    $  $      .    1     84@    
     8   @    $ $1'   (   8$ 5      1     
O  /   &%,,, $ $1     8   @  = ,%      $  8 
A        0    /   &%,,,,,%8  1 .    '   (         $  
  =% %=+ + $  . 

1     .          1             $         8        6$          $   
    *$      .  *$ 

#+.)($(".&#=(*&) 9#&&/&.$)

1      8    @   H 448 '38    @   H3(        $   8 $   8 1     . 
.   . 8      )  . 0  ,,%8  85         
   .     .      '  .    31   .    3  313(   8    @   H         
$    $     )    1               .  0    ,,% 8                
  $      1 85     18@  8$ '38@  3( 8
I          $$*  =%: $   . $.   1,,%      
  ?  8    @   448 '38    @  3(           8    @   H  ?  84@ 9 ?  
    8    @    1   1        0   & ,,,  8        .             . 
$ . $.    

 -% * 88   @  H       .    ' 3)$ 13(         
8$. $  $        $    .  8   @  H    7  )$ 185
        .    8   @  H      $  $.  . $  8  
@  H    P   )$ 1   8   @  



                                                                                           0%
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
 1  8                                                    * 0              J /  1 
                                                              Document           Page 377 of 446

H   $       $ .          $  $.  .   8    @   H      
   85            8 @    .        )$         8 @     
.   $ $  .   )$ 1 8@   1 )$        .  0  %,,%
1  )$                           $         .    .    8 @       
)$ 1   85       1 )$ 1 )$       0  &,,,

  -% * 8 @   6$             8          .      '  38  8   13( 
8    @   H  $.              .       $$   .       $    $$       1  8 
8  1 8@  6$   8@      $      . 1      
0  &,,,

    1  -% * 8 @   6$    8    @   6$   448 '38    @   6$  3( '  .    3  1
B  3(       .    ' 3 8.  13(      .     $       
    8          ' 8 @   6$  ( 8    @   6$                 8    @  
6$   '  .    3 3(  7     8.   1    1 B                 $  
   $  $ $          $  $ 8   @  H5$8 A    
     8.  1  1B                    *     
 I         $         8.  1      1B
      $          .          $   $   $  
   I.         $         1  8.  1 *$ 
@ &%,,%    8$ 8      8$     .  .     .   6  &%
,,, /   &%,,,     $    .   8$    8   @  6$   
  

&#=(*&) 9#&&/&.$

)  . 0  ,,,8@  6$       .    ' 3 .    3( $.   .    .  8  
@  H  0  &,,&$  $ 8   @  H5        .    $ 0  &,,&
1         #    *    0   % ,,  7    .     8 I                   *    
$$*  = $ 


5     

A   #   @ &%,,% 8$ $ .  $                      
  8$    8;   $$   $                 $
     8     $$*   %?  1  8$         .    $      8     $$$     
8;          . $      *  1 8$         .    
8                    88%,&7 

   8$ $ .  $  $    8 8A8      .    # 
   $  &,,%  8A8      .  $  $          $ 
   8 8A8   .   $    $   $ 

    .   8$ $   8            $   
 8 8A8              /   &%,,%  
        $     /   &%,,,,,% 1      $       



                                                                                        0,
            Case 24-40236-can11                      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                 * 0              J /  1 
                                                          Document           Page 378 of 446

            /   &%,,%    " ,%'3F  0/ '7 (3(              .  
$ 

       .  8$          $     $ $       
    /   &%,,,N(     #.   $         8 A
          (  $     $        $-   $     .    
$ .   8     8 0(  $     .    8$ 5$   .  
   $         $                8        8  0  1   $ .
   -    $$     $      

&)*#(1$("."' ..2+, &)$+$&/&.$+0,&)

1    $    $       $ .  $      $               #     
     /   &%,,%   .    .  $ 0%C    /   &%,,% 
@ %,,, 8      $                       $ 



                                                                                0&
             Case 24-40236-can11                          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                      * 0              J /  1 
                                                               Document           Page 379 of 446



#           $   ;-9:9-

1                             /   &%,,% O             N

                                                                                                          )#&=("2),- &1"#$&       ''&*$"' &)$+$&/&.$         ) &)$+$&
 ))&$)
  "    =      (        *0/(+>>(+01%  9K
  *006(@1>(0C>                                                                                      *              @@,(@0+(,C0 *                      I     *       @@,(@0+(,C0
  8    (        *>16(>+/                                                             ,(>4/(6>,                        I               ,(>4/(6>,
  H                      #' (   # *4++(+++                                   ,(+04(44+                        I               ,(+04(44+
  %   =# %  9K*>(6>1(C+>                                                                  ,>(@C4(@/6                  C11(C+>             ,,(1@+(1/4
  !            #' %  9K*,,(>C,(/@C                                                        ,1(04/(06C                        I              ,1(04/(06C
  E       %  9K*4/4(6>1                                                                  4/4(6>1                        I                 4/4(6>1
  E     (        *0@1(//1                                                               /C4(1/>                        I                 /C4(1/>
   # %  9K*0(60C(641                                                                                  0(C10(1>0                        I               0(C10(1>0
  "        %  9K*1(++@(144                                                           C(+/1(+@0                        I               C(+/1(+@0
      AA  %  9K*1(4@/(40,                                                              4(+/1(C0C                        I               4(+/1(C0C
  E     (                                                                                                   >+4(>61                        I                 >+4(>61
  F-                                                                                                           ,4(>,+(+>+                        I              ,4(>,+(+>+
     "$+, ))&$)                                                                                     *             1+6(1C>(/@6 *                C11(C+>    *       1+/(404(6@4
(+0(,($(&)+. D2($-
           (  '        *,(>/1(>@@                                 *              CC(/>@(/14 *                      I     *        CC(/>@(/14
   M     #  '    (     '             *>(06@(,/+                       ,,1(441(60+                        I             ,,1(441(60+
   !  '      '  %  9K*,+(4CC(6+4                                           ,/(+04(+4@                  C11(C+>             ,4(+6+(,4>
   E       %  9K*4@6(0,4                                                                   4@6(0,4                        I                 4@6(0,4
        ' %  9K*1(4@/(+04                                                                4(+@4(41/                        I               4(+@4(41/
   M   #  %  9K*,CC(@+1                                                                              1(60C(4+>                        I               1(60C(4+>
     "$+,(+0(,($(&)                                                                                *             >@@(C4,(>>1 *                C11(C+>    *       >@@(++1(0>0
D2($-
     !%  #          ' "     )/ 0/12(*,>C(1>1(4/1=    
   *>(1++  (*+ ++,# (4C(04/(+++  51,(6,+      
   E       ' 0,(>+>,                                                                               *             ,>C(1>1(4/1 *                       I    *       ,>C(1>1(4/1
   %        )(  A  #  ' (*+ ++,# 5,@(6C0(,6@       
   E       ' 0,(>+>,,++(+++(+++                                                                     ,@(6C0                         I                    ,@(6C0
   %?%         )(*+ ++,# 5460(/4,       E       ' 0,(>+>,
   ,,(6C4(,++                                                                                              46@                         I                    46@
   !  A                                                                                          006(0+>(/01                         I            006(0+>(/01
                                                                                                          0>/(,1/(404                  4(,>C(+14          0>,(+>6(16+
     "$+, "#.&#9-D2($-                                                                                         ,@+(464(01,                  4(,>C(+14           ,@4(6,1(@+/
    A                                                                                                  ,>>(C@1(,/>                 4(,>C(+14           ,,4(6,4(,,4
     "$+,D2($-                                                                                                   >40(40,(1>0                         I            >40(40,(1>0
     "$+,(+0(,($(&)+. D2($-                                                                     *             1+6(1C>(/@6 *                 C11(C+>   *       1+/(404(6@4




                                                                                          0
              Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                     * 0              J /  1 
                                                              Document           Page 380 of 446

1                      $        /   &%,,% O          N
                                                                                                                    "#$%&4&+#. & &*&/0&#
                                                                                                     )#&=("2),-
                                                                                                       &1"#$&              ''&*$"' &)$+$&/&.$           ) &)$+$&
  &=&.2&
   7      '   #                                                          *      ,,4(104(4,> *                         I    *         ,,4(104(4,>
   "  -     ' =                                                                  6(4+4(61+                           I                6(4+4(61+
   8   #                                                                                             ,(>@4(+C+                           I                ,(>@4(+C+
      #                                                                                             ,(/@@(>@@                           I                ,(/@@(>@@
        "$+, &=&.2&                                                                                   ,>6(,00(/C4                           I              ,>6(,00(/C4
:1&.)&)
   7      '                                                                    16(,@4(++4                           I               16(,@4(++4
   "  -     ' =     #                                                   6(,C@(+@+                           I                6(,C@(+@+
   F          #                                                                           >4(4@,(,4,                           I               >4(4@,(,4,
   E    (     !                                                            ,@(6+,(4/4                           I               ,@(6+,(4/4
   8                                                                1(6,,(//C                           I                1(6,,(//C
   8                                                                                      ,41(4@@                           I                  ,41(4@@
        "$+,:1&.)&)                                                                                  ,,0(/4+(0+4                           I              ,,0(/4+(0+4
1&#+$(.9.*"/&                                                                                 *       ,@(0/0(@C+ *                         I    *          ,@(0/0(@C+
$%&#.*"/&:1&.)&!
                                                                                           *          /4C(46> *                         I    *             /4C(46>
                                                                                                 ,>(/@>(,1/                           I              ,>(/@>(,1/
   8            '                                                                        64,(6,@                           I                 64,(6,@
        "$+,$%&#.*"/&:1&.)&!                                                                    ,>(60@(>6C                           I              ,>(60@(>6C
.*"/&0&'"#&(.*"/&$+:&)                                                                                ,(10C(>+,                           I                ,(10C(>+,
+:&)
   %  '                                                                                             ,(10,                           I                   ,(10,
   E                                                                                           @(+/4(>C+                           I                @(+/4(>C+
        .*"/&$+:&:1&.)&.&$                                                                           @(+/@(/1C                           I                @(+/@(/1C
&$"))                                                                                         *       >(101(116 *                         I    *          >(101(116
   8 K    ' '    A                                                           6(CC1(1>0                   4(,>C(+14               >(644(@4/
&$"))+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                                    *      ,,(10,(+6,                    4(,>C(+14   *          1(@+>(+>1
  "   #  =                                                                               C(0C1(4+@                           I                C(0C1(4+@
&$"))+$$#(02$+0,&$" "//".$"*<%", &#)                                                     *      >+(C>4(461 *                  4(,>C(+14   *         ,@(/C/(4>C

%        )
     ? -  #                                                                   ,@(16,(61+                    001(0>@               ,@(>@4(1>4
     ?                                                                          *            , @@   *                     + @0   *               , +,

     E -  #                                                                  ,@(16,(61+                    001(0>@               ,@(>@4(1>4
     E                                                                         *            , @@ *                       + @0   *               , +,

%?%       )
   ?   -  #                                                                  I                      001(0>@                  001(0>@
   ?                                                                   *               I *                      , >,    *               , >,
   E#    %                                                                 *             + >+                          I     *                + >+




                                                                                  0
                Case 24-40236-can11       Doc 18 Filed 02/25/24 *Entered
                                 1  8  
                                                                                  02/25/24 23:50:55 J
                                                                      0    
                                                                                                      Desc      Main
                                                                                                            /  1 
                                                  Document Page 381 of 446

1                                #                  /   &%,,% O                                     N

                                                                                                     #&'&##&
                                             "//".$"*<             ,+)); "//".$"*<               $"*<                                                                       "$+,D2($-

                                                                                                                           ($(".+,                                ".
                                                                                                                         +( (.            &$+(.&             *".$#",,(.9
                                          %+#&)            /"2.$    %+#&)            /"2.$           /"2.$              +1($+,            &'(*($             .$&#&)$              "$+,
 )#&=("2),- &1"#$&
;+,+.*&+$&*&/0&#              ,0(41,(1>,   * ,0(41>             I   *       I    * ,>1(>/+(01+      * 00C(/@>(06+    * 0,1(4>4(111     *            I     *       ,@C(0CC(6>/
                                        I          I             I           I                   I               I        ,,(10,(+6,          6(CC1(1>0             >(101(116
=  ' '    A   
                                                I          I             I           I                   I               I                   I       ,,4(6,4(,,1            ,,4(6,4(,,1
  !     )#                   I          I             I           I                   I       C(0C1(4+@                  I                I              C(0C1(4+@
%         )#                           I          I             I           I                   I       >(61+(+>4                  I                I              >(61+(+>4
  #         #  
         )                        6@(@,6           6@            I           I                   I         @,+(@C4                   I                I                 @,+(16+
%         )    &
                                     0(0CC          0             I           I                   I          >>(@C/                   I                I                  >>(1++
%    '   !A,M              I           I             I           I                   I              I                    I        >(>14(,,0             >(>14(,,0
%  !A>M  # 
 )                                             I          I             I           I                   I               I                   I          4,+(010               4,+(010
  !     )   
                                   I          I             I           I         @(>11(0>1           ,+(>,0                   I                I               @(>@1(,,>
%         )   
                           ,(,10(6@4       ,(,1@            I           I                   I       /(+C@(CCC                   I                I               /(+C4(,10
%?%          )   
                                   I          I     460(/4,            46@                  I       0(>66(>+4                   I                I               0(>66(6C+
;+,+.*&+$&*&/0&#              ,@(6C0(,6@   * ,@(6C0     460(/4,     *      46@   * ,>C(1>1(4/1      * 006(0+>(/01    * 0>/(,1/(404     * ,>>(C@1(,/>      *       >40(40,(1>0


  &)$+$&/&.$/1+*$)
                                        I   *      I             I   *       I    *              I   *           I    *    4(,>C(+14     *    4(,>C(+14    *                  I
;+,+.*&+$&*&/0&#
#&)$+$&/&.$(/1+*$)!                              I   *      I             I   *       I    *              I   *           I    *    4(,>C(+14     *    4(,>C(+14    *                  I
  ) &)$+$&
;+,+.*&+$&*&/0&#              ,0(41,(1>,   * ,0(41>             I   *       I    * ,>1(>/+(01+      * 00C(/@>(06+    * 0,1(4>4(111 *                I     *       ,@C(0CC(6>/
                                       I          I              I           I               I                  I         1(@+>(+>1           >(644(@4/             >(101(116
=  ' '    A   
                                                I          I             I           I                   I               I                   I       ,,4(6,4(,,1            ,,4(6,4(,,1
  !     )#                   I          I             I           I                   I       C(0C1(4+@                  I                I              C(0C1(4+@
%         )#                           I          I             I           I                   I       >(61+(+>4                  I                I              >(61+(+>4
  #         #  
         )                        6@(@,6           6@            I           I                   I         @,+(@C4                   I                I                 @,+(16+
%         )    &
                                     0(0CC          0             I           I                   I          >>(@C/                   I                I                  >>(1++
%    '   !A,M              I           I             I           I                   I              I                    I        >(>14(,,0             >(>14(,,0
%  !A>M  # 
 )                                             I          I             I           I                   I               I                   I          4,+(010               4,+(010




                                                                                                         0:
                Case 24-40236-can11       Doc 18 Filed 02/25/24 *Entered
                                 1  8  
                                                                                  02/25/24 23:50:55 J
                                                                      0    
                                                                                                      Desc      Main
                                                                                                            /  1 
                                                  Document Page 382 of 446

  !     )   
                                 I          I         I     I        @(>11(0>1         ,+(>,0               I               I          @(>@1(,,>
%       )   
                          ,(,10(6@4      ,(,1@        I     I               I        /(+C@(CCC               I               I          /(+C4(,10
%?%        )   
                                 I          I    460(/4,   46@              I        0(>66(>+4               I               I          0(>66(6C+
;+,+.*&+$&*&/0&#             ,@(6C0(,6@   * ,@(6C0   460(/4,   46@   * ,>C(1>1(4/1   * 006(0+>(/01   * 0>,(+>6(16+   * ,,4(6,4(,,4   *   >40(40,(1>0




                                                                                           09
             Case 24-40236-can11
1  8  
                                                          Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                    * 0    
                                                                                                                Desc      Main
                                                                                                                      /  1 
                                                               Document           Page 383 of 446


1                            /   &%,,% O          N

                                                                                                                       "#$%&4&+#. & &*&/0&#
                                                                                                              )#&=("2),-            ''&*$"'
                                                                                                                &1"#$&               &)$+$&/&.$           ) &)$+$&
1&#+$(.9 *$(=($(&)
                                                                                                   *         >(101(116    *                  I   *    >(101(116
  !               # '    #  K
     E                                                                                                   @(+/4(>C+                       I         @(+/4(>C+
     E    (     !                                                                       ,4(@+4(11/               ,(4+@(66,       ,@(6+,(4/4
     !     '                                                                                        I                 ,(4+@(66,        ,(4+@(66,
     8                                                                       1(6,,(//C                       I         1(6,,(//C
     8                                                                                             ,41(4@@                       I           ,41(4@@
     8              '                                                                              64,(6,@                       I           64,(6,@
     F    =                                                                                           ,4(1+6                       I           ,4(1+6
       )A'                                                                                                    I                    >>(1++           >>(1++
     %     '  K
       !                #'                                                                           C>(+6C                ,(>,0(@1@        ,(,>,(041
       H                        #'                                                                6(/6+                       I            6(/6+
        #                                                                                                     >(,60(C@4                       I        >(,60(C@4
       "                                                                                      C16(>60               0(66>(1@6       @(6@+(60,
       E       (                                                                                >6(1+C                       I           >6(1+C
       ;            '                                                                                    C/,(4>4                       I          C/,(4>4
       !  '      '                                                                  >(4>/(1@C                >(+4@(4/C         14>(6/+
       M   #                                                                                                  4+,(,>4                       I          4+,(,>4
            (                                                                                                    I                       ,14              ,14
    # '    #                                                                  *        ,/(>C6(,,+ *               16,(/1C   *   ,4(/,4(01,
.=&)$(.9 *$(=($(&)
     ! =  %  ;   D (   =                                                 4C(++>(+1>                      I        4C(++>(+1>
     ! =  % 7 ;              (   =                                         C1>(@6/                      I            C1>(@6/
     "      =            (                                                                ,1(660(4+C              @(0@@(6@1       >+(>>6(@1@
     "        ''                                                                                     I                0(,0,(0C,         0(,0,(0C,
     "           =                                                                        C/(>,+                      I             C/(>,+
     "               #                                                                              4+(,10                      I             4+(,10
     "                        #'                                                             ,11(++6                      I            ,11(++6
     E                     #'                                                                        >4(6@C                      I             >4(6@C
       #    #                                                                      *        60(1C0(C1@ *            ,(>,0(@1@   *   6@(6+/(@+6
(.+.*(.9 *$(=($(&)
     E '                                                                                                 >(/01(C>>                      I         >(/01(C>>
     E#    !     )                                                                     C(0C1(4+@                      I         C(0C1(4+@
     E#  %             )                                                                         >(@0C(@@4                      I         >(@0C(@@4
     %        )      &                                                              >>(1++                 >>(1++                I
     E '     A                                                                              >(>14(,,0                      I         >(>14(,,0
     !#        ##                                                                             >@(+++(+++                      I         >@(+++(+++
     "         ##                                                                            >>(+++(+++                      I        >>(+++(+++
     "                                                                                4(+++(+++                      I         4(+++(+++
     "                                                                                                 I                0(66>(0C>         0(66>(0C>
     "                                                                                                    I               0(+>+(16,        0(+>+(16,
          #                                                                       *        >+(6+@(161 *               60C(0,,   *   ,C(C41(>/@
         =#                                                                      *        6/(,++(@>C *              C11(C+>   *   66(+14(00,
%   =#  '                                                                            CC(1C4(C+/                      I         CC(1C4(C+/
%   =#                                                                        *         ,>(@C4(@/6 *              C11(C+>   *    ,,(1@+(1/4




                                                                                  0>
             Case 24-40236-can11
1  8  
                                                         Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                   * 0    
                                                                                                               Desc      Main
                                                                                                                     /  1 
                                                              Document           Page 384 of 446

                                                                                                                             "#$%&4&+#. & &*&/0&#
                                                                                                                   )#&=("2),-
                                                                                                                     &1"#$&           ''&*$"' &)$+$&/&.$      ) &)$+$&
211,&/&.$+,()*,")2#&"' +)%,"?.'"#/+$(".
                                                                                                       *       ,,(>>@(16> *                  I    *       ,,(>>@(16>
                                                                                                               401(/0+                    I               401(/0+

". +)%.=&)$(.9 *$(=($(&)
 "    (   =          '      '                     *          ,,0(6@/ *                  I    *          ,,0(6@/
  A)        F  F      #         % 
 ;   D  =                                                                                          @6(6/0(,4C                    I            @6(6/0(,4C
 %                       -   %  ;   D  =           ,+1(+++(+++                    I           ,+1(+++(+++
 =       ' '    A                -   %  ;  
 D  =                                                                                                   ,,4(>+1(/4>                    I           ,,4(>+1(/4>
   !     )                                                                   @(>@1(,,>                    I             @(>@1(,,>
 %        )                                                                            /(+C4(,10                    I             /(+C4(,10
 %?%        )                                                                    0(>66(6C+                    I             0(>66(6C+

". +)%(.+.*(.9 *$(=($(&)
 %  %!A>M  #      A)                                                               *          4,+(010 *                  I    *          4,+(010
   #      #        )                                                                      @,+(16+                    I               @,+(16+
 !  =                                                                                                 I              ,(4,/(6>1            ,(4,/(6>1




                                                                                       0+
            Case 24-40236-can11
1  8  
                                                       Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                 * 0    
                                                                                                             Desc      Main
                                                                                                                   /  1 
                                                            Document           Page 385 of 446

5@     4     =?  >



                                                                                                                      "#$%&()*+,@2+#$&#). &
                                                                                                ) &)$+$& !           ) &)$+$& !         ) &)$+$& !
                                                                                                 +#*%                A2.&           &1$&/0&#            &*&/0&#
"$+, &=&.2&                                                                              *        0>(6/>(01,   *         0,(1>,(@04 *        0>(C4,(464   *       04(>C>(,0@
"$+,:1&.)&)                                                                                      >1(>16(+>@             >1(C/,(0@,          @1(+,@(640           0,(4+1(C,1
1&#+$(.9.*"/&"))!                                                                    *         /(4,@(0>/   *          1(11+(+C1 *       ,>(+10(,//   *        @(464(>,C
&$.*"/&"))!                                                                          *         @(04@(/1/   *          >(,/+(,>4 *       ,1(1+,(/+@   *         11>(6@C
   8 K    ' '    A                                                        6+C(>,>                6+C(>,>             6+C(>,>              6+C(>,>
&$.*"/&"))!+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                     *         0(111(1@1   *          ,(04+(C,@ *       ,4(0,+(C,4   *       ,(04>(+4,
 "   #  =                                                                 *         >(066(,0+   *          >(066(,0+ *         >(066(,0+   *        >(066(,0+
&$.*"/&,"))!+$$#(02$+0,&$" "//".$"*<%", &#)                                      *         ,(,4/(@,1   *         ,(+>/(>,4 *       ,6(4CC(+@4   *       0(/1+(,C,

;+)(*.&$&+#.(.9),"))!1&#)%+#&3
%       )                                                                             *              + +6 *               + +4   *            , ,6   *            + >0
%?%       )                                                                     *              + +0 *               + ,,   *            , >0   *            + >6

(,2$& .&$&+#.(.9),"))!1&#)%+#&3
%       )                                                                             *              + +6 *               + +/   *            , >+   *            + >@
%?%       )                                                                     *              + +0 *               + ,,   *            , >0   *            + >6




                                                                                                                "#$%&()*+,@2+#$&#). &
                                                                                              ) &)$+$& !       ) &)$+$& !         ) &)$+$& !        ) &)$+$& !
                                                                                               +#*%            A2.&           &1$&/0&#        &*&/0&#
"$+, &=&.2&                                                                              *      >0(+@+(@C6 *       0>(>C4(1/6 *        0/(+>6(66> *      01(/4/(606
"$+,:1&.)&)                                                                                    0+(++0(CCC         >4(/,/(,40          >/(41@(0C1        >C(06@(/@C
1&#+$(.9.*"/&"))!                                                                    *      4(C40(1+, *        1(1/C(@,1 *         C(0/@(@6/ *       4(060(+6C
&$.*"/&"))!                                                                                ,+(4C@(>40          >(@>/(@+C           1(C,C(C/,          ,66(4/1
   8 K    ' '    A                                                            I          ,(+,+(C1,           ,(+@4(0+@           6+C(>,>
&$.*"/&"))!+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                     *     ,+(4C@(>40 *        ,(@,4(@16 *         @(6/0(44/ *        CC/(66/
 "   #  =                                                                         >(0+C(4/>          >(0+C(4/>           >(066(,0+         >(066(,0+
&$.*"/&,"))!+$$#(02$+0,&$" "//".$"*<%", &#)                                            ,0(++0(C01           6C0(>,@           >(@61(10/        0(064(+,/

;+)(*.&$&+#.(.9),"))!1&#)%+#&3
%       )                                                                             *             + C1 *               + +/ *               + ,4 *              + >,
%?%       )                                                                                      !                     ! *                + ,, *              + >4

(,2$& .&$&+#.(.9),"))!1&#)%+#&3
%       )                                                                             *             + C1 *               + +/ *               + ,4 *              + >>
%?%       )                                                                                      !                     ! *                + ,, *              + >4


&)*#(1$("."'@2+#$&#,- &)$+$&/&.$+0,&)

        #    $   0 %F       $                        $ .
$ #     /   &%,,,,,% 1    $    $       $ .  $  
    $                  #         .    . F   $ 0%F
 $ ,,,,,% 8      $                    
   $  0           " ,'3     6BB 3(



                                                                                   0
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                     * 0              J /  1 
                                                              Document           Page 386 of 446



 )"'+. "#$%&%#&&".$%). & +#*%

1                            @ &%,,% O          N

                                                                                                                                    +#*%
                                                                                                    )#&=("2),- &1"#$&        ''&*$"' &)$+$&/&.$         ) &)$+$&
 ))&$)
  "    =      (        *>1(>4+(1@0%  9K
  *001(641(+>C                                                                                *              @@,(>,0(+C1 *                        I    *        @@,(>,0(+C1
  8    (        *>>/(>41                                                       ,(>C6(/40                          I               ,(>C6(/40
  H                      #' (   # *4++(+++                             ,(,60(C1+                          I               ,(,60(C1+
  %   =# %  9K*1@/(,+@                                                            ,6(60C(CC@                  ,(,/6(66+             ,/(44,(,,@
  !            #' %  9K*,+(6>6(6@@                                                  ,1(>/1(+04                          I              ,1(>/1(+04
  E       %  9K*6>/(>4@                                                            6>/(>4@                          I                 6>/(>4@
  E     (        *4+(,@>                                                        ,(+6>(>+1                          I               ,(+6>(>+1
   # %  9K*,(4C+(,16                                                                             ,(/C1(466                          I               ,(/C1(466
  "        %  9K*4(0,0(4/C                                                     6(@>@(@66                          I               6(@>@(@66
      AA  %  9K*4(+C/(0@@                                                        4(,/1(@,@                          I               4(,/1(@,@
  E     (                                                                                           @(0+6(C/4                          I               @(0+6(C/4
  F-                                                                                                      ,(/,6(646                          I               ,(/,6(646
     "$+, ))&$)                                                                               *             1+>(,@0(/@, *                ,(,/6(66+   *        1++(C4@(64,
(+0(,($(&)+. D2($-
           (  '        *,(/0>(1,1                           *             ,+0(>4/(@61 *                        I    *        ,+0(>4/(@61
   M     #  '    (     '              *>(6//(@@1                ,,1(,/>(111                          I             ,,1(,/>(111
   !  '      '  %  9K*,0(+@4(01>                                      ,/(C,+(/+6                  ,(,/6(66+             ,4(/0,(6>6
   ;            '                                                                                     4+6(>@4                          I                 4+6(>@4
   E       %  9K*,(40/(1@+                                                         >(+10(,/+                          I               >(+10(,/+
        ' %  9K*1(/1>(+@1                                                          1(6++(644                          I               1(6++(644
   M   #  %  9*0,1(+++                                                                         4(>C@(01C                          I               4(>C@(01C
     "$+,(+0(,($(&)                                                                          *             >1,(,+/(06C *                ,(,/6(66+   *        >@C(C>6(1+C
D2($-
     !%  #          ' "     )/ 0/12(*,>1(>/+(01+= 
           *>(1++  (*+ ++,# (4C(04/(+++  51+(,+6  
        ; 0,(>+>,                                                                *             ,>1(>/+(01+ *                        I    *        ,>1(>/+(01+
   %        )(  A  #  ' (*+ ++,# 5,0(41,(1>,       
    ; 0,(>+>,,++(+++(+++                                                                   ,0(41>                         I                  ,0(41>
   !  A                                                                                     004(/1+(,0>                                        004(/1+(,0>
                                                                                                     0>/(C>4(,>4                  ,(4+1(0+6           0>4(0>+(6,6
     "$+, "#.&#9-D2($-                                                                                    ,0@(,+6(++6                  ,(4+1(0+6            ,01(/,0(0,4
    A                                                                                             ,,4(C>6(0@@                 ,(4+1(0+6            ,,1(0>0(+04
     "$+,D2($-                                                                                              >1,(+04(01>                         I             >1,(+04(01>
     "$+,(+0(,($(&)+. D2($-                                                               *              1+>(,@0(/@, *               ,(,/6(66+   *        1++(C4@(64,




                                                                                        0%
               Case 24-40236-can11
1  8  
                                                        Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                  * 0    
                                                                                                              Desc      Main
                                                                                                                    /  1 
                                                             Document           Page 387 of 446


1                        $          @ &%,,% O          N
                                                                                                                "#$%&%#&&".$%). & +#*%
                                                                                               )#&=("2),- &1"#$&        ''&*$"' &)$+$&/&.$              ) &)$+$&
 &=&.2&
 7      '   #                                                      *              >,(>C1(,0C *                       I    *               >,(>C1(,0C
 "  -      ' =                                                                    ,(+/1(/>>                         I                     ,(+/1(/>>
 8   #                                                                                                  @/@(@/1                         I                       @/@(@/1
    #                                                                                                  ,C1(,4>                         I                       ,C1(,4>
        "$+, &=&.2&                                                                                     >0(+@+(@C6                         I                    >0(+@+(@C6
:1&.)&)                                                                                                                                                                    I
  7      '                                                                      ,+(0@>(1C/                         I                    ,+(0@>(1C/
  "  -       ' =     #                                                     C@6(614                         I                       C@6(614
  F           #                                                                             C(604(/C0                         I                     C(604(/C0
  E    (     !                                                               >(6C6(00+                         I                     >(6C6(00+
  8                                                                  1(6,,(//C                         I                     1(6,,(//C
  8                                                                                        ,41(4@@                         I                       ,41(4@@
        "$+,:1&.)&)                                                                                    0+(++0(CCC                         I                    0+(++0(CCC
1&#+$(.9"))                                                                             *              4(C40(1+, *                       I    *               4(C40(1+,
$%&#.*"/&:1&.)&!                                                                                                                                                      I
                                                                                     *                  40(1>4 *                       I    *                   40(1>4
                                                                                                   >(C0,(++/                         I                    >(C0,(++/
  8              '                                                                        64,(6,@                         I                      64,(6,@
        "$+,$%&#:1&.)&                                                                               0(/>C(>C1                         I                    0(/>C(>C1
"))0&'"#&(.*"/&$+:&)                                                                                 ,+(4C>(/C4                         I                   ,+(4C>(/C4
+:&)                                                                                                                                                                       I
  %                                                                                                 >/(64/                         I                        >/(64/
  E    '                                                                                           >4(@++                         I                       >4(@++
        .*"/&$+:&:1&.)&.&$                                                                                ,(@4/                         I                         ,(@4/
&$"))                                                                                   *             ,+(4C@(>40 *                       I    *              ,+(4C@(>40
  8 K    ' '    A                                                             ,(4+1(0+6                 ,(4+1(0+6                           I
&$"))+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                              *             ,>(>CC(1/, *                ,(4+1(0+6   *              ,+(4C@(>40
  "   #  =                                                                                >(0+C(4/>                         I                     >(0+C(4/>
&$"))+$$#(02$+0,&$" "//".$"*<%", &#)                                               *             ,@(4+C(>@0 *                ,(4+1(0+6   *              ,0(++0(C01

%         )
     ? -  #                                                                    ,0(41,(1>,                         I                    ,0(41,(1>,
     ?                                                                    *                   , +/ *                     + ,>   *                    + C1

     E -  #                                                                   ,0(41,(1>,                         I                    ,0(41,(1>,
     E                                                                   *                   , +/ *                     + ,>   *                    + C1

     E#        %                                                     *                   + +1+ *                       I    *                     + +1+




                                                                                    0,
              Case 24-40236-can11                                Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                                     1  8                    * 0     J /  1 
                                                                      Document    Page   388 of 446

1                          #                      @ &%,,% O                     N

                                                                      #&'&##&
                                          "//".$"*<                  $"*<                ($(".+,                            ".
                                                                                          +( (.            &$+(.&         *".$#",,(.9
                                       %+#&)            /"2.$          /"2.$              +1($+,            &'(*($         .$&#&)$           "$+,
 )#&=("2),- &1"#$&
;+,+.*&+$&*&/0&#           ,0(41,(1>,   * ,0(41>    * ,>1(>/+(01+      * 00C(/@>(06+ * 0,1(4>4(111 *               I    * ,@C(0CC(6>/
                                    I          I                I                  I     ,>(>CC(1/,          ,(4+1(0+6     ,+(4C@(>40
  !     )#               I          I                I          >(0+C(4/>             I                  I        >(0+C(4/>
%        )#                        I          I                I            46>(1/4             I                  I          46>(1/4
=  ' '    A   
                                             I          I                   I              I                    I   ,,1(0>0(+04      ,,1(0>0(+04
;+,+.*&+$+#*%
.+2 ($& !                            ,0(41,(1>,   * ,0(41>    * ,>1(>/+(01+      * 004(/1+(,0> * 0>/(C>4(,>4 * ,,4(C>6(0@@        * >1,(+04(01>


  &)$+$&/&.$/1+*$
                                     I   *      I    *              I   *          I *        ,(4+1(0+6 *     ,(4+1(0+6 *             I
  !     )#                I          I                   I              I                 I                I                I
%        )#                         I          I                   I              I                 I                I                I
=  ' '    A   
                                             I          I                   I              I                    I            I                 I
;+,+.*&+$+#*%
.+2 ($& !                                     I   *      I    *              I   *          I *        ,(4+1(0+6 *     ,(4+1(0+6 *             I

  ) &)$+$&
;+,+.*&+$&*&/0&#           ,0(41,(1>,   * ,0(41>    * ,>1(>/+(01+      * 00C(/@>(06+ * 0,1(4>4(111                 I       ,@C(0CC(6>/
                                         I          I                I                  I     ,+(4C@(>40                 I       ,+(4C@(>40
  !     )#               I          I                I          >(0+C(4/>             I                  I         >(0+C(4/>
%        )#                        I          I                I            46>(1/4             I                  I           46>(1/4
=  ' '    A   
                                             I          I                   I              I                    I   ,,1(0>0(+04      ,,1(0>0(+04
;+,+.*&+$+#*%
.+2 ($& !                            ,0(41,(1>,   * ,0(41>    * ,>1(>/+(01+      * 004(/1+(,0> * 0>4(0>+(6,6 * ,,1(0>0(+04        * >1,(+04(01>




                                                                                                      0&
            Case 24-40236-can11
1  8  
                                                         Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                   * 0    
                                                                                                               Desc      Main
                                                                                                                     /  1 
                                                              Document           Page 389 of 446

1                                   @ &%,,% O            N
                                                                                                                    "#$%&%#&&".$%). & +#*%
                                                                                                    )#&=("2),- &1"#$&       ''&*$"' &)$+$&/&.$             ) &)$+$&
1&#+$(.9 *$(=($(&)
                                                                                          *             ,+(4C@(>40   *                    I    *             ,+(4C@(>40
  !                 # '    #  K
     E                                                                                                  >4(@++                        I                      >4(@++
     E    (     !                                                                     0(>4/(+0@                  046(/+@                   >(6C6(00+
     !     '                                                                                     I                    046(/+@                     046(/+@
     8                                                                    1(6,,(//C                        I                    1(6,,(//C
     8                                                                                          ,41(4@@                        I                      ,41(4@@
     8             '                                                                            64,(6,@                        I                      64,(6,@
      A                                                                                              ,/6(1@>                  ,/6(1@>                          I
     %     '  K
      !                #'                                                                        0@@(0/,                        I                     0@@(0/,
      H                      #'                                                                4(/,@                        I                       4(/,@
       #                                                                                                      >4(,,,                        I                      >4(,,,
      "                                                                                    >@C(+6,                        I                     >@C(+6,
      E       (                                                                              ,(>>1(C+4                        I                    ,(>>1(C+4
      ;            '                                                                                  040(06+                        I                     040(06+
      !  '      '                                                                ,(4,,(10C                ,(,/6(66+                  >(/C+(@,C
           '                                                                                   1>0(41>                   1>0(41>                          I
      M   #                                                                                                ,@4(04C                        I                     ,@4(04C
           (                                                                                                  I                   0@1(,,+                    0@1(,,+
      # '    #                                               *              >(@6,(,4, *              ,(,/6(66+   *              0(44+(+@,
.=&)$(.9 *$(=($(&)
     ! =  %  ;   D (   =                                             46(+C@(0>@                        I                  46(+C@(0>@
     "      =         (                                                                @(4>1(1,,                        I                   @(4>1(1,,
     "          =                                                                     /C(4++                        I                       /C(4++
     "              #                                                                           4+(,10                        I                       4+(,10
     "                     #'                                                             0>(1++                        I                       0>(1++
      # ' #    #                                               *             />(1@/(16> *                      I    *             />(1@/(16>
(.+.*(.9 *$(=($(&)
     E '                                                                                             >(/01(C>>                        I                   >(/01(C>>
     E#    !     )                                                                 >(0+C(4/>                        I                   >(0+C(4/>
     E#              )                                                                         46>(1/4                        I                     46>(1/4
     !#        ##                                                                          0(+++(+++                        I                    0(+++(+++
     "         ##                                                                         0(+++(+++                        I                   0(+++(+++
          #                                                              *              1(/>6(,/+ *                      I    *              1(/>6(,/+
     % %=#                                                             *             6+(/14(C,0 *              ,(,/6(66+   *             6,(C01(/C0




                                                                                         0
             Case 24-40236-can11                           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                       * 0              J /  1 
                                                                Document           Page 390 of 446

                                                                                                                      "#$%&%#&&".$%). & +#*%
                                                                                                     )#&=("2),- &1"#$&        ''&*$"' &)$+$&/&.$            ) &)$+$&
% %=#      '                                                                    CC(1C4(C+/                          I                CC(1C4(C+/
% %=#                                                                *             ,6(60C(CC@ *                ,(,/6(66+ *             ,/(44,(,,@

211,&/&.$+,()*,")2#&"' +)%,"?.'"#/+$(".
                                                                                           *              @(>1@(+1+ *                      I   *               @(>1@(+1+
                                                                                               1(+>4                        I                       1(+>4

". +)%.=&)$(.9 *$(=($(&)
     A)        F  F      #      
      %  ;   D  =                                                   *             @6(6/0(,4C *                      I   *              @6(6/0(,4C
    %  %  H                    -   %  ;  
    D  =                                                                                          ,+1(+++(+++                        I                 ,+1(+++(+++
    =       ' '    A                -  
    %  ;   D  =                                                                        ,,1(0>0(+04                        I                 ,,1(0>0(+04
    "    (   =           '      
    '                                                                                                       646(,C+                        I                     646(,C+

". +)%(.+.*(.9 *$(=($(&)
    %     '                     '                  *               >01(,C6   *                    I   *                >01(,C6




                                                                                            0
             Case 24-40236-can11
1  8  
                                                         Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                   * 0    
                                                                                                               Desc      Main
                                                                                                                     /  1 
                                                              Document           Page 391 of 446



 )"'+. "#$%&%#&&+. (:".$%). & A2.&

1                           < &,,% O         N


                                                                                                                                      A2.&
                                                                                                   )#&=("2),- &1"#$&           ''&*$"' &)$+$&/&.$         ) &)$+$&
 ))&$)
  "    =      (        *>6(C/0(41@%  9K
  *006(C0+(/>@                                                                               *              @@0(@1/(06> *                           I    *        @@0(@1/(06>
  8    (        *>0/(1/C                                                      ,(>66(@@C                             I               ,(>66(@@C
  H                      #' (   # *4++(+++                            ,(,@C(>@1                             I               ,(,@C(>@1
  %   =# %  9K*>(C6C(0,C                                                           ,/(4C1(@16                       1@6(>04             ,/(,@/(>>>
  !            #' %  9K*,,(@0@(,,0                                                 ,@(06C(+61                             I              ,@(06C(+61
  E       %  9K*,(,40(400                                                       ,(,40(400                             I               ,(,40(400
  E     (        *,11(010                                                        C64(CC@                             I                 C64(CC@
   # %  9K*,(1,>(0C6                                                                            ,(4>1(@4@                             I               ,(4>1(@4@
  "        %  9K*@(+,6(@4/                                                   ,+(C0C(4>1                             I              ,+(C0C(4>1
      AA  %  9K*1(6@@(1C,                                                       1(C,@(/,+                             I               1(C,@(/,+
  E     (                                                                                          @(,/0(/1@                             I               @(,/0(/1@
  F-                                                                                                     ,(/,6(646                             I               ,(/,6(646
    "$+, ))&$)                                                                              *              1+@(1+>(44/ *                     1@6(>04   *        1+0(C1@(@0,
(+0(,($(&)+. D2($-
           (  '       *,(16+(+C,                          *              ,+@(@,C(C+C *                           I    *        ,+@(@,C(C+C
   M     #  '    (     '         *>(/,0(+>+                    ,,1(004(C/C                             I             ,,1(004(C/C
   !  '      '  %  9K*,,(@1@(160                                     >+(/6+(00,                       1@6(>04             >+(>0>(+C1
   ;          H "'                                                                                     0+@(//+                             I                 0+@(//+
   E       %  9K*C/C(4+0                                                            C/C(4+0                             I                 C/C(4+0
        ' %  9K*1(4+C(C@4                                                         1(41,(++>                             I               1(41,(++>
   M   #  %  9*0,1(+++                                                                        4(,@/(CC+                             I               4(,@/(CC+
    "$+,(+0(,($(&)                                                                         *              >10(4>+(16@ *                     1@6(>04   *        >10(+/>(0@6

D2($-
    !%  #         ' "     )/ 0/12(*,>1(>/+(01+= 
         *>(1++  (*+ ++,# (4C(04/(+++  51+(,+6  
       < 0+(>+>,                                                                  *             ,>1(>/+(01+ *                           I    *        ,>1(>/+(01+
  %        )(  A  #  ' (*+ ++,# 5,0(4/0(0>4       
   < 0+(>+>,,++(+++(+++                                                                     ,0(4/0                            I                  ,0(4/0
  !  A                                                                                     000(6C+(41/                            I             000(6C+(41/
                                                                                                    0>/(1,0(164                     >(4+C(>>/           0>@(C+@(01C
    "$+, "#.&#9-D2($-                                                                                    ,0,(44,(+C@                     >(4+C(>>/            ,0@(>/+(0>,
   A                                                                                             ,,C(>>+(C6C                    >(4+C(>>/            ,,4(4,,(/4>
    "$+,D2($-                                                                                              >1+(66>(+60                            I             >1+(66>(+60
    "$+,(+0(,($(&)+. D2($-                                                               *              1+@(1+>(44/ *                    1@6(>04   *        1+0(C1@(@0,




                                                                                       0:
            Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                   * 0              J /  1 
                                                            Document           Page 392 of 446

1                     $          < &,,% O       N


                                                                                                                 "#$%&%#&&".$%). & A2.&
                                                                                                          ) &1"#$&
                                                                                                          #&=("2),-       ''&*$"' &)$+$&/&.$        ) &)$+$&
  &=&.2&
  7      '   #                                                               *         >6(,++(0@0 *                  I *          >6(,++(0@0
  "  -     ' =                                                                         >(C,1(100                    I             >(C,1(100
  8   #                                                                                                      /+,(1>1                    I               /+,(1>1
     #                                                                                                      1/C(,//                    I               1/C(,//
        "$+, &=&.2&                                                                                          0>(>C4(1/6                    I            0>(>C4(1/6
:1&.)&)
   7      '                                                                          ,1(040(@,+                    I            ,1(040(@,+
   "  -      ' =     #                                                        >(>>0(4@4                    I             >(>>0(4@4
   F          #                                                                                  1(06,(41@                    I             1(06,(41@
   E    (     !                                                                   0(/@6(@10                    I             0(/@6(@10
        "$+,:1&.)&)                                                                                         >4(/,/(,40                    I            >4(/,/(,40
1&#+$(.9.*"/&                                                                                     *          1(1/C(@,1 *                  I *           1(1/C(@,1
$%&#.*"/&:1&.)&!
                                                                                               *            >CC(>C0                    I *             >CC(>C0
                                                                                                        0(>C1(/+0                    I            0(>C1(/+0
        "$+,$%&#:1&.)&                                                                                    >(CC4(@,+                    I            >(CC4(@,+
.*"/&0&'"#&(.*"/&$+:&)                                                                                      >(160(++1                    I             >(160(++1
+:&)
   %                                                                                                     >+(0/@                   I                 >+(0/@
   E                                                                                                   ,01(>>>                   I                ,01(>>>
        .*"/&$+:&:1&.)&.&$                                                                                   ,11(1C4                   I                ,11(1C4
&$.*"/&                                                                                           *          >(@>/(@+C *                 I *            >(@>/(@+C
   8 K    ' '    A                                                          >(+,@(6/+           ,(++0(C,C             ,(+,+(C1,
&$.*"/&+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                                      *            @,>(10C *          ,(++0(C,C *           ,(@,4(@16
   "   #  =                                                                                    >(0+C(4/>                   I              >(0+C(4/>
&$.*"/&"))!+$$#(02$+0,&$" "//".$"*<%", &#)                                                *         ,(6C/(,00 *          ,(++0(C,C *            6C0(>,@

  %        )
       ? -  #                                                                       ,0(41C(44/                    I            ,0(41C(44/
       ?                                                                            *              + ,@ *                + +/ *              + +/


       E -  #                                                                      ,0(41C(44/                    I            ,0(41C(44/
       E                                                                           *              + ,@ *                + +/ *              + +/

  E#        %                                                                  *              + +1+                    I *                  + +1+




                                                                                 09
              Case 24-40236-can11
1  8  
                                                       Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                 * 0    
                                                                                                             Desc      Main
                                                                                                                   /  1 
                                                            Document           Page 393 of 446

1                      $     *   < &,,% O       N
                                                                                                                     "#$%&(:".$%). & A2.&
                                                                                                            )#&=("2),-
                                                                                                              &1"#$&          ''&*$"' &)$+$&/&.$        ) &)$+$&
 &=&.2&
 7      '   #                                                                 *          @C(0C1(@6> *                   I     *      @C(0C1(@6>
 "  -      ' =                                                                           0(CC,(>11                     I             0(CC,(>11
 8   #                                                                                                       ,(,/4(+++                     I             ,(,/4(+++
    #                                                                                                         //@(00C                     I               //@(00C
        "$+, &=&.2&                                                                                            11(00/(+/4                     I            11(00/(+/4
:1&.)&)
  7      '                                                                             >1(/+4(++/                     I            >1(/+4(++/
  "  -       ' =     #                                                          0(,/>(1+>                     I             0(,/>(1+>
  F           #                                                                                   ,1(>,6(@@/                     I            ,1(>,6(@@/
  E    (     !                                                                      4(4@4(/60                     I             4(4@4(/60
  8                                                                         1(6,,(//C                     I             1(6,,(//C
  8                                                                                               ,41(4@@                     I               ,41(4@@
        "$+,:1&.)&)                                                                                           14(/>,(,4>                     I            14(/>,(,4>
1&#+$(.9"))                                                                                        *          ,(06@(+64 *                   I     *      ,(06@(+64
$%&#.*"/&:1&.)&!
                                                                                                *             04>(6,C *                   I     *         04>(6,C
                                                                                                          4(>>4(/,+                     I            4(>>4(/,+
  8              '                                                                               64,(6,@                     I              64,(6,@
        "$+,$%&#:1&.)&                                                                                      4(/>1(/+1                     I            4(/>1(/+1
"))0&'"#&(.*"/&$+:&)                                                                                         6(,+C(/C,                     I            6(,+C(/C,
+:&)
  %                                                                                                        @6(>@,                    I                 @6(>@,
  E                                                                                                      ,+6(6>>                    I                ,+6(6>>
        .*"/&$+:&:1&.)&.&$                                                                                     ,1/(+40                    I                ,1/(+40
&$"))                                                                                              *          6(>44(61@ *                  I      *      6(>44(61@
  8 K    ' '    A                                                             0(4>+(,/6            >(4+C(>>/             ,(+,+(C1,
&$.*"/&"))!+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                                *         ,,(66/(+0> *           >(4+C(>>/     *      C(>//(6+1
  "   #  =                                                                                       @(4,C(0@@                    I              @(4,C(0@@
&$.*"/&"))!+$$#(02$+0,&$" "//".$"*<%", &#)                                                 *         ,4(1+4(0/4 *           >(4+C(>>/     *     ,0(6C/(,@C

%         )
     ? -  #                                                                           ,0(411(4,/                     I            ,0(411(4,/
     ?                                                                               *               , >, *                 + ,C    *           , +>

     E -  #                                                                          ,0(411(4,/                     I            ,0(411(4,/
     E                                                                              *               , >, *                 + ,C    *           , +>

  E#         %                                                                  *               + +1+ *                   I     *              + +1+




                                                                                   0>
              Case 24-40236-can11       Doc 18 Filed 02/25/24 *Entered
                               1  8  
                                                                                02/25/24 23:50:55 J
                                                                    0    
                                                                                                    Desc      Main
                                                                                                          /  1 
                                                Document Page 394 of 446

1                          #                   *   < &,,% O              N



                                                                      #&'&##&
                                          "//".$"*<                  $"*<                ($(".+,                             ".
                                                                                          +( (.            &$+(.&          *".$#",,(.9
                                       %+#&)            /"2.$          /"2.$              +1($+,            &'(*($          .$&#&)$           "$+,
  )#&=("2),- &1"#$&
;+,+.*&+$&*&/0&#           ,0(41,(1>,   * ,0(41>    * ,>1(>/+(01+      * 00C(/@>(06+ * 0,1(4>4(111 *                I    * ,@C(0CC(6>/
                                    I          I                I                  I     ,>(>CC(1/,           ,(4+1(0+6     ,+(4C@(>40
  !     )#               I          I                I          >(0+C(4/>             I                   I        >(0+C(4/>
%        )#                        I          I                I            46>(1/4             I                   I          46>(1/4
=  ' '    A   
                                             I          I                   I               I                   I    ,,1(0>0(+04      ,,1(0>0(+04
;+,+.*&+$+#*%
.+2 ($& !                            ,0(41,(1>,   * ,0(41>    * ,>1(>/+(01+      * 004(/1+(,0> * 0>/(C>4(,>4 * ,,4(C>6(0@@         * >1,(+04(01>
                                            I          I                   I               I           @,>(10C        >(+,@(6/+        >(@>/(@+C
  !     )#                I          I                   I       >(0+C(4/>               I                I        >(0+C(4/>
%        )#                         I          I                   I         46>(1/4               I                I          46>(1/4
  #         #  
        )                      >,(6+1           >,                  I         ,0>(//@                   I             I          ,0>(/C1
%    '   !A,
M                                             I          I                   I               I                   I       4+@(C1,         4+@(C1,
%  !A>M  # 
       )                                I          I                   I               I                   I       @+4(+++         @+4(+++
=  ' '    A   
                                             I          I                   I               I                   I      ,(>66(/>4        ,(>66(/>4
;+,+.*&+$A2.&
.+2 ($& !                            ,0(4/0(0>4   * ,0(4/0    * ,>1(>/+(01+      * 000(6C+(41/ * 0>/(1,0(16/ * ,,C(>>+(C6C         * >1+(66>(+60


  &)$+$&/&.$/1+*$
                                     I   *      I    *              I   *           I *        ,(4+1(0+6 *     ,(4+1(0+6 *             I
;+,+.*&+$+#*%
.+2 ($& !                                     I   *      I    *              I   *           I *        ,(4+1(0+6 *     ,(4+1(0+6 *             I
                                     I          I                   I                           ,(++0(C,C       ,(++0(C,C               I
;+,+.*&+$A2.&
.+2 ($& !                                     I   *      I    *              I   *           I *        >(4+C(>>/ *     >(4+C(>>/ *             I

  ) &)$+$&
;+,+.*&+$&*&/0&#           ,0(41,(1>,   * ,0(41>    * ,>1(>/+(01+      * 00C(/@>(06+ * 0,1(4>4(111 *                I    * ,@C(0CC(6>/
                                         I          I                I                  I     ,+(4C@(>40                  I      ,+(4C@(>40
  !     )#               I          I                I          >(0+C(4/>             I                   I        >(0+C(4/>
%        )#                        I          I                I            46>(1/4             I                   I          46>(1/4
=  ' '    A   
                                             I          I                   I               I                   I    ,,1(0>0(+04      ,,1(0>0(+04
;+,+.*&+$+#*%
.+2 ($& !                            ,0(41,(1>,   * ,0(41>    * ,>1(>/+(01+      * 004(/1+(,0> * 0>4(0>+(6,6 * ,,1(0>0(+04         * >1,(+04(01>
                                            I          I                   I               I          ,(@,4(@16       ,(+,+(C1,        >(@>/(@+C
  !     )#                I          I                   I       >(0+C(4/>                I               I        >(0+C(4/>
%       )#                          I          I                   I         46>(1/4                I               I          46>(1/4




                                                                                                      0+
              Case 24-40236-can11                             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                                     1  8                 * 0     J /  1 
                                                                   Document    Page   395 of 446

  #        #  
        )                      >,(6+1           >,              I         ,0>(//@             I              I         ,0>(/C1
%    '   !A,
M                                            I           I               I              I              I        4+@(C1,        4+@(C1,
%  !A>M  # 
      )                                I           I               I              I              I        @+4(+++        @+4(+++
=  ' '    A   
                                            I           I               I              I              I       ,(>66(/>4       ,(>66(/>4
;+,+.*&+$A2.&
.+2 ($& !                            ,0(4/0(0>4    * ,0(4/0   * ,>1(>/+(01+   * 000(6C+(41/ * 0>@(C+@(01C * ,,4(4,,(/4>   * >1+(66>(+60




                                                                                               0:
            Case 24-40236-can11
1  8  
                                                        Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                  * 0    
                                                                                                              Desc      Main
                                                                                                                    /  1 
                                                             Document           Page 396 of 446

1                          *   < &,,% O       N


                                                                                                               "#$%&(:".$%). & A2.&
                                                                                             )#&=("2),- &1"#$&       ''&*$"' &)$+$&/&.$           ) &)$+$&
1&#+$(.9 *$(=($(&)
                                                                                   *              6(>44(61@   *                     I    *           6(>44(61@
  !               # '    #  K
     E                                                                                           ,+6(6>>                        I                    ,+6(6>>
     E    (     !                                                              /(@>/(1@@                  /6+(/4,                 4(4@4(/60
     !     '                                                                              I                    /6+(/4,                   /6+(/4,
     8                                                             1(6,,(//C                        I                  1(6,,(//C
     8                                                                                   ,41(4@@                        I                    ,41(4@@
     8              '                                                                    64,(6,@                        I                    64,(6,@
      A                                                                                       @0C(>@4                  @0C(>@4                        I
     %     '  K
      !                 #'                                                                 1@,(16+                    ,>>(C/4                  44@(114
      H                       #'                                                        C(C>4                         I                    C(C>4
       #                                                                                               ,@@(,,0                         I                   ,@@(,,0
      "                                                                           >(/66(1@1                 0(66>(0C>               4(4/+(C0/
      E       (                                                                      ,6@(+0+                         I                  ,6@(+0+
      ;             '                                                                          444(614                         I                  444(614
      !  '      '                                                          ,(/@+(>41                   ,,/(000                ,(4>>(C0>
           '                                                                            4/0(1,4                    4/0(1,4                       I
      M   #                                                                                         >C>(/06                         I                  >C>(/06
           (                                                                                           I                    >0@(>/+                 >0@(>/+
    # '    #                                                  *               @(016(0@> *               0(6/4(/@C   *              @6,(1C0
.=&)$(.9 *$(=($(&)
     ! =  %  ;   D (   =                                      4C(++>(+10                        I                4C(++>(+10
     "      =          (                                                        C(>/1(00@                  /+C(C00                C(C61(>4/
     "        ''                                                                          I                    164(C1/                   164(C1/
     "           =                                                             /C(4++                        I                     /C(4++
     "               #                                                                   4+(,10                        I                     4+(,10
     "                      #'                                                     /+(@,/                        I                     /+(@,/
       #    #                                                      *             /6(+4/(>,/ *                ,>>(C/4    *          /6(,C+(,C0
(.+.*(.9 *$(=($(&)
     E '                                                                                      >(/01(C>>                         I                >(/01(C>>
     E#    !     )                                                          @(4,C(0@@                         I                @(4,C(0@@
     E#  %             )                                                              ,(>0>(01/                         I                ,(>0>(01/
     E '     A                                                                     4+@(C1,                         I                  4+@(C1,
     !#        ##                                                                   6(+++(+++                         I                 6(+++(+++
     "         ##                                                                  /(+++(+++                         I                /(+++(+++
     "                                                                                      I                   0(66>(0C>                0(66>(0C>
     "                                                                                         I                    @0+(C+0                 @0+(C+0
          #                                                       *              6(,C>(1/@ *                0(@1,(@6C   *           @(/@,(+61
     % %=#                                                      *             6,(C+,(@@C *                 1@6(>04   *          6>(@@C(461
% %=#  '                                                               CC(1C4(C+/                         I                CC(1C4(C+/




                                                                                  0:%
             Case 24-40236-can11                          Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                      * 0              J /  1 
                                                               Document           Page 397 of 446

                                                                                                                       "#$%&(:".$%). & A2.&
                                                                                                    )#&=("2),- &1"#$&        ''&*$"' &)$+$&/&.$           ) &)$+$&
% %=#                                                               *             ,/(4C1(@16 *                  1@6(>04 *            ,/(,@/(>>>

211,&/&.$+,()*,")2#&"' +)%,"?.'"#/+$(".
                                                                                          *              1(/1+(6/4 *                       I    *            1(/1+(6/4
                                                                                             ,(>64                         I                    ,(>64

". +)%.=&)$(.9 *$(=($(&)
     A)        F  F      #      
      %  ;   D  =                                                  *             @6(6/0(,4C *                       I    *           @6(6/0(,4C
    %  %  H                    -   %  ;  
    D  =                                                                                         ,+1(+++(+++                         I               ,+1(+++(+++
    =       ' '    A                -  
    %  ;   D  =                                                                       ,,4(>+1(/4>                         I               ,,4(>+1(/4>
    "    (   =           '      
    '                                                                                                      064(++C                         I                   064(++C

". +)%(.+.*(.9 *$(=($(&)
    %     '                    '                  *                >01(,C6 *                       I    *              >01(,C6
    %  !A>M  #       )                                                                     @+4(+++                         I                   @+4(+++
    !  =                                                                                       I                   0(11@(C1>                0(11@(C1>




                                                                                           0:,
             Case 24-40236-can11
1  8  
                                                         Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                   * 0    
                                                                                                               Desc      Main
                                                                                                                     /  1 
                                                              Document           Page 398 of 446


 )"'+. "#$%&%#&&+. (.&".$%). & &1$&/0&#

1                             $  &,,% O           N
                                                                                                                                &1$&/0&#
                                                                                                   )#&=("2),- &1"#$&        ''&*$"' &)$+$&/&.$         ) &)$+$&
 ))&$)
  "    =      (        *0>(1C>(4@,%  9K
  *0@,(@>>(4CC                                                                                *             @@1(>1+(>0/ *                        I    *        @@1(>1+(>0/
  8    (        *>@/(6C0                                                      ,(>/6(,01                          I               ,(>/6(,01
  H                      #' (   # *4++(+++                            ,(+/6(+/>                          I               ,(+/6(+/>
  %   =# %  9K*0(/,/(6+C                                                           ,1(+C,(C1/                    @,,(6C+             ,@(46+(+4/
  !            #' %  9K*,,(@>4(,0/                                                 ,@(1/0(+@/                          I              ,@(1/0(+@/
  E       %  9K*C10(6+4                                                           C10(6+4                          I                 C10(6+4
  E     (        *>1+(14@                                                        6C,(/60                          I                 6C,(/60
   # %  9K*0(>>C(,4,                                                                            0(0@>(,,,                          I               0(0@>(,,,
  "        %  9K*1(,1C(060                                                   ,+(11+(/C>                          I              ,+(11+(/C>
      AA  %  9K*1(C1+(1+,                                                       4(@00(1+1                          I               4(@00(1+1
  E     (                                                                                          @(+4+(>0C                          I               @(+4+(>0C
  F-                                                                                                    ,4(>,+(+>+                          I              ,4(>,+(+>+
     "$+, ))&$)                                                                              *             1,C(/,0(/+@ *                  @,,(6C+   *        1,C(0+,(6,@
(+0(,($(&)+. D2($-
           (         *,(@>/(44/                        *             ,+>(1/>(000 *                        I    *        ,+>(1/>(000
   M     #  '    (     '            *>(1@6(1C1                 ,,1(1+,(@+@                          I             ,,1(1+,(@+@
   !  '      '  %  9K*,@(++1(+64                                     >+(C+,(016                    @,,(6C+             >+(@6C(@46
      '                                                                                              00(+>/                          I                  00(+>/
   E       %  9K*/41(>>6                                                            /41(>>6                          I                 /41(>>6
        ' %  9K*1(6>4(661                                                         4(>6,(+,@                          I               4(>6,(+,@
   M   #  %  9*0,1(+++                                                                        4(++,(4>>                          I               4(++,(4>>
    "$+,(+0(,($(&)                                                                          *             >1>(+11(C64 *                  @,,(6C+   *        >1,(4@@(+C4


D2($-
    !%  #          ' "     )/ 0/12(*,>C(1>1(4/1= 
         *>(1++  (*+ ++,# (4C(04/(+++  51,(6,+  
              ' 0+(>+>,                                                         *             ,>C(1>1(4/1 *                        I    *        ,>C(1>1(4/1
  %        )(  A  #  ' (*+ ++,# 5,@(644(/CC       
         ' 0+(>+>,,++(+++(+++                                                            ,@(644                          I                    ,@(644
  %?%         )(*+ ++,# 5460(/4,       
        ' 0+(>+>,,,(6C4(,++                                                                    46@                         I                     46@
  !  A                                                                                     0@,(00,(+/+                         I             0@,(00,(+/+
                                                                                                    0>@(/@C(0+,                  @(/,6(4+6           0>+(+0+(4C0
    "$+, "#.&#9-D2($-                                                                                    ,@4(,>>(CC@                  @(/,6(4+6            ,1+(6@,(4+>
   A                                                                                             ,>,(10@(/>@                 @(/,6(4+6            ,,4(6,4(,,4
    "$+,D2($-                                                                                              >4/(41/(/,6                         I             >4/(41/(/,6
    "$+,(+0(,($(&)+. D2($-                                                               *              1,C(/,0(/+@ *                 @,,(6C+   *        1,C(0+,(6,@




                                                                                        0:&
              Case 24-40236-can11                      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                   * 0              J /  1 
                                                            Document           Page 399 of 446


1                      $           $  &,,% O           N


                                                                                                             "#$%&%#&&".$%). & &1$&/0&#
                                                                                                )#&=("2),- &1"#$&      ''&*$"' &)$+$&/&.$          ) &)$+$&
  &=&.2&
  7      '   #                                                      *              0@(>64(0C@ *                    I *               0@(>64(0C@
  "  -     ' =                                                                     >(,>@(16,                      I                  >(,>@(16,
  8   #                                                                                                   0>(C,1                      I                     0>(C,1
     #                                                                                                  16@(CC>                      I                    16@(CC>
        "$+, &=&.2&                                                                                      0/(+>6(66>                      I                 0/(+>6(66>
:1&.)&)
   7      '                                                                      ,4(+6C(@,@                      I                 ,4(+6C(@,@
   "  -      ' =     #                                                    >(/,6(+06                      I                  >(/,6(+06
   F          #                                                                              1(,14(+6/                      I                  1(,14(+6/
   E    (     !                                                               0(4C+(614                      I                  0(4C+(614
        "$+,:1&.)&)                                                                                     >/(41@(0C1                      I                 >/(41@(0C1
1&#+$(.9.*"/&                                                                            *               C(0/@(@6/ *                    I *                C(0/@(@6/
$%&#.*"/&&:1&.)&!
                                                                                      *                   @(+@+ *                    I *                    @(+@+
                                                                                                    0(01,(C4/                      I                 0(01,(C4/
        "$+,$%&#:1&.)&                                                                                0(0@/(C>/                      I                 0(0@/(C>/
.*"/&0&'"#&(.*"/&$+:&)                                                                                  4(+>4(14+                      I                  4(+>4(14+
+:&)
   %  '                                                                                               4(C>/                       I                    4(C>/
   E                                                                                               ,,0(1,4                       I                   ,,0(1,4
        .*"/&$+:&:1&.)&.&$                                                                               ,+4(16C                       I                   ,+4(16C
&$.*"/&                                                                                  *               1(C,C(C/,                       I *               1(C,C(C/,
   8 K    ' '    A                                                             0(,11(461               >(,+C(06,                ,(+@4(0+@
&$(.*"/&+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                             *               >(/4@(>64 *              >(,+C(06, *              @(6/0(44/
   "   #  =                                                                                >(066(,0+                       I                 >(066(,0+
&$(.*"/&+$$#(02$+0,&$" "//".$"*<%", &#)                                              *                 0/4(,14 *              >(,+C(06, *              >(@61(10/

%         )
     ? -  #                                                                     ,1(@>4(>>4                4@4(4++                ,@(//C(4>1
     ?                                                                       *                    + +> *                   + ,@ *                   + ,4

     E -  #                                                                    ,1(@>4(>>4                 ,6,(4@@                ,1(>@@(16>
     E                                                                      *                    + +> *                  + ,@ *                    + ,4

%?%       )
   ?   -  #                                                                    I                  4@4(4++                  4@4(4++
   ?                                                                *                      I *                   + ,, *                   + ,,

  E#         %                                                        *                   + +1+ *                    I *                     + +1+




                                                                                  0:
              Case 24-40236-can11
1  8  
                                                       Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                 * 0    
                                                                                                             Desc      Main
                                                                                                                   /  1 
                                                            Document           Page 400 of 446

1                      $          $  &,,% O          N
                                                                                                              "#$%&(.&".$%). & &1$&/0&#
                                                                                                )#&=("2),- &1"#$&       ''&*$"' &)$+$&/&.$         ) &)$+$&
 &=&.2&
 7      '   #                                                       *              60(46,(6/4 *                     I    *           60(46,(6/4
 "  -      ' =                                                                     4(,,1(604                       I                 4(,,1(604
 8   #                                                                                                 ,(>+6(C,1                       I                 ,(>+6(C,1
    #                                                                                                 ,(01C(00,                       I                 ,(01C(00,
        "$+, &=&.2&                                                                                      C>(041(C16                       I                C>(041(C16
:1&.)&)
  7      '                                                                       @,(/C1(@>,                       I                @,(/C1(@>,
  "  -       ' =     #                                                    1(6C+(1@+                       I                 1(6C+(1@+
  F           #                                                                             >+(0/@(10@                       I                >+(0/@(10@
  E    (     !                                                               ,+(00/(40C                       I                ,+(00/(40C
  8                                                                   1(6,,(//C                       I                 1(6,,(//C
  8                                                                                         ,41(4@@                       I                   ,41(4@@
        "$+,:1&.)&)                                                                                     6@(0/1(11/                       I                6@(0/1(11/
1&#+$(.9.*"/&                                                                            *               /(CC+(@+, *                     I    *            /(CC+(@+,
$%&#.*"/&&:1&.)&!
                                                                                      *                 044(61C                       I    *               044(61C
                                                                                                    C(1/6(4//                       I                 C(1/6(4//
  8              '                                                                         64,(6,@                       I                   64,(6,@
        "$+,$%&#:1&.)&                                                                               ,+(+/0(40>                       I                ,+(+/0(40>
"))0&'"#&(.*"/&$+:&)                                                                                   >(+60(>0,                       I                 >(+60(>0,
+:&)
  %                                                                                                  @,(0,0                       I                     @,(0,0
  E                                                                                                >>>(00C                       I                    >>>(00C
        .*"/&$+:&:1&.)&.&$                                                                               >40(41>                       I                    >40(41>
&$"))                                                                                    *              >(0@4(660                       I    *            >(0@4(660
  8 K    ' '    A                                                              4(//1(640               @(/,6(4+6                 >(+1/(>11
&$"))+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                               *              C(,>>(/@4 *              @(/,6(4+6   *            @(@+@(,06
  "   #  =                                                                                 /(++/(@/@                       I                  /(++/(@/@
&$"))+$$#(02$+0,&$" "//".$"*<%", &#)                                                *             ,4(,0+(>>+ *              @(/,6(4+6   *           ,,(@,,(4,>

%         )
     ? -  #                                                                     ,@(>1>(0+1                >,/(C+>                ,@(+0@(@+0
     ?                                                                     *                   , ,0   *                 + 00   *                + 6+

     E -  #                                                                    ,@(>1>(0+1                >,/(C+>                ,@(+0@(@+0
     E                                                                    *                   , ,0 *                   + 00   *                + 6+

%?%       )
   ?   -  #                                                                    I                  >,/(C+>                   >,/(C+>
   ?                                                              *                      I *                  + C1    *                + C1

  E#         %                                                        *                   + ,1+ *                     I    *                 + ,1+




                                                                                  0:
              Case 24-40236-can11                               Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                                    1  8                    * 0     J /  1 
                                                                     Document    Page   401 of 446

1                          #                   $  &,,% O                            N

                                                                                                #&'&##&
                                        "//".$"*<               ,+)); "//".$"*<            $"*<               ($(".+,                          ".
                                                                                                                   +( (.         &$+(.&          *".$#",,(.9
                                      %+#&)          /"2.$       %+#&)            /"2.$         /"2.$             +1($+,         &'(*($          .$&#&)$          "$+,
  )#&=("2),- &1"#$&
;+,+.*&+$&*&/0&#          ,0(41,(1>,   * ,0(41>              I   *       I    * ,>1(>/+(01+    * 00C(/@>(06+ * 0,1(4>4(111 *            I    * ,@C(0CC(6>/
                                   I          I               I           I               I                I     ,>(>CC(1/,       ,(4+1(0+6     ,+(4C@(>40
  !     )#              I          I               I           I               I        >(0+C(4/>             I               I        >(0+C(4/>
%        )#                       I          I               I           I               I          46>(1/4             I               I          46>(1/4
=  ' '    A
                                    I         I               I           I                 I              I                I    ,,1(0>0(+04     ,,1(0>0(+04
;+,+.*&+$+#*%
.+2 ($& !                           ,0(41,(1>,   * ,0(41>              I   *       I    * ,>1(>/+(01+    * 004(/1+(,0> * 0>/(C>4(,>4 * ,,4(C>6(0@@     * >1,(+04(01>
                                          I          I               I           I               I                I         @,>(10C     >(+,@(6/+         >(@>/(@+C
  !     )#              I          I               I           I               I        >(0+C(4/>             I             I         >(0+C(4/>
%        )#                       I          I               I           I               I          46>(1/4             I             I           46>(1/4
  #         #  
        )                     >,(6+1          >,              I           I                 I        ,0>(//@                I             I          ,0>(/C1
%    '   !A,
M                                            I         I               I           I                 I              I                I       4+@(C1,        4+@(C1,
%  !A>M  # 
       )                               I         I               I           I                 I              I                I       @+4(+++        @+4(+++
=  ' '    A
                                    I         I               I           I                 I              I                I      ,(>66(/>4       ,(>66(/>4
;+,+.*&+$A2.&
.+2 ($& !                           ,0(4/0(0>4   * ,0(4/0              I   *       I    * ,>1(>/+(01+    * 000(6C+(41/ * 0>/(1,0(16/ * ,,C(>>+(C6C     * >1+(66>(+60
                                           I         I               I           I                 I              I      >(/4@(>64        0(,11(461       1(C,C(C/,
  !     )#               I         I               I           I                 I      >(066(,0+            I                I       >(066(,0+
%        )#                        I         I               I           I                 I        /@,(10+            I                I         /@,(10+
  #         #  
        )                     04(>>6          04              I           I                 I        ,/@(160                I             I          ,/@(4,C
%        )   
 &                        0(0CC          0              I           I                 I         >>(@C/                I             I           >>(1++
%    '   !A,
M                                            I         I               I           I                 I              I                I       6@,(C1+        6@,(C1+
%  !A>M  # 
       )                               I         I               I           I                 I              I                I       >+@(010        >+@(010
=  ' '    A
                                    I         I               I           I                 I              I                I        >+@(010         >+@(010
  !     ) 
                          I         I               I           I       @(>11(0>1          ,+(>,0                I             I        @(>@1(,,>
%        )   
                       ,(,10(6@4      ,(,1@              I           I                 I      /(+C@(CCC                I             I        /(+C4(,10
%?%          ) 
                          I         I       460(/4,            46@                I      0(>66(>+4                I             I        0(>66(6C+
;+,+.*&+$&1$&/0&#
.+2 ($& !                           ,@(644(/CC   * ,@(644      460(/4,     *      46@   * ,>C(1>1(4/1    * 0@,(00,(+/+ * 0>@(/@C(0+> * ,>,(10@(/>@     * >4/(41/(/,6




                                                                                              0::
              Case 24-40236-can11       Doc 18 Filed 02/25/24 *Entered
                               1  8  
                                                                                02/25/24 23:50:55 J
                                                                    0    
                                                                                                    Desc      Main
                                                                                                          /  1 
                                                Document Page 402 of 446

  &)$+$&/&.$/1+*$
                                    ,     &     ,     ,    &   ,    &           ,     &           ,     *   ,(4+1(0+6 *    ,(4+1(0+6 &             ,
;+,+.*&+$+#*%
.+2 ($& !                                    ,     &     ,     ,    &   ,    &           ,     &           ,     *   ,(4+1(0+6 *    ,(4+1(0+6 &             ,
                                    ,           ,     ,        ,                ,                 ,         ,(++0(C,C      ,(++0(C,C               ,
;+,+.*&+$A2.&
.+2 ($& !                                    ,     &     ,     ,    &   ,    &           ,     &           ,     *   >(4+C(>>/ *    >(4+C(>>/ &             ,
                                    ,           ,     ,        ,                ,                 ,         >(,+C(06,      >(,+C(06,               ,
;+,+.*&+$&1$&/0&#
.+2 ($& !                                    ,     &     ,     ,    &   ,    &           ,     &           ,     *   @(/,6(4+6 *    @(/,6(4+6 &             ,
                                                                                                                                                                 ,
  ) &)$+$&                                                                                                                                                      ,
;+,+.*&+$&*&/0&#           ,0(41,(1>,   * ,0(41>   I   *   I   * ,>1(>/+(01+    * 00C(/@>(06+ * 0,1(4>4(111 *              I    * ,@C(0CC(6>/
                                         I          I    I       I              I                I     ,+(4C@(>40                I      ,+(4C@(>40
  !     )#               I          I    I       I              I        >(0+C(4/>             I                 I        >(0+C(4/>
%        )#                        I          I    I       I              I          46>(1/4             I                 I          46>(1/4
=  ' '    A   
                                            I          I    I       I               I                I               I      ,,1(0>0(+04     ,,1(0>0(+04
;+,+.*&+$+#*%
.+2 ($& !                            ,0(41,(1>,   * ,0(41>   I   *   I   * ,>1(>/+(01+    * 004(/1+(,0> * 0>4(0>+(6,6 * ,,1(0>0(+04       * >1,(+04(01>
                                           I          I    I       I               I                I        ,(@,4(@16       ,(+,+(C1,       >(@>/(@+C
  !     )#               I          I    I       I               I        >(0+C(4/>              I               I       >(0+C(4/>
%        )#                        I          I    I       I               I          46>(1/4              I               I         46>(1/4
  #         #  
        )                      >,(6+1          >,   I       I               I          ,0>(//@               I               I          ,0>(/C1
%    '   !A,
M                                            I          I    I       I               I                I               I         4+@(C1,        4+@(C1,
%  !A>M  # 
       )                               I          I    I       I               I                I               I         @+4(+++        @+4(+++
=  ' '    A   
                                            I          I    I       I               I                I               I        ,(>66(/>4       ,(>66(/>4
;+,+.*&+$A2.&
.+2 ($& !                            ,0(4/0(0>4   * ,0(4/0   I   *   I   * ,>1(>/+(01+    * 000(6C+(41/ * 0>@(C+@(01C * ,,4(4,,(/4>       * >1+(66>(+60
                                           I          I    I       I              I                I       @(6/0(44/     ,(+@4(0+@           1(C,C(C/,
  !     )#               I          I    I       I              I        >(066(,0+             I             I           >(066(,0+
%        )#                        I          I    I       I              I          /@,(10+             I             I             /@,(10+
  #         #  
        )                      04(>>6          04   I       I               I          ,/@(160               I               I          ,/@(4,C
%        )   
 &                         0(0CC          0   I       I               I           >>(@C/               I               I           >>(1++
%    '   !A,
M                                            I          I    I       I               I                I               I         6@,(C1+        6@,(C1+
%  !A>M  # 
       )                               I          I    I       I               I                I               I         >+@(010        >+@(010
=  ' '    A   
                                            I          I    I       I               I                I               I         >+@(010          >+@(010
  !     ) 
                             I          I    I       I        @(>11(0>1         ,+(>,0               I               I        @(>@1(,,>




                                                                                   0:9
             Case 24-40236-can11                           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                               1  8                    * 0     J /  1 
                                                                Document    Page   403 of 446

%        )   
                  ,(,10(6@4      ,(,1@            I         I               I       /(+C@(CCC             I              I        /(+C4(,10
%?%        ) 
                    I          I        460(/4,       46@              I       0(>66(>+4             I              I        0(>66(6C+
;+,+.*&+$&1$&/0&#
.+2 ($& !                      ,@(644(/CC   * ,@(644       460(/4,   *   46@   * ,>C(1>1(4/1   * 0@,(00,(+/+ * 0>+(+0+(4C0 * ,,4(6,4(,,4   * >4/(41/(/,6




                                                                                      0:>
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                     * 0              J /  1 
                                                              Document           Page 404 of 446

1                                $  &,,% O          N


                                                                                                             "#$%&(.&".$%). & &1$&/0&#
                                                                                              )#&=("2),- &1"#$&        ''&*$"' &)$+$&/&.$           ) &)$+$&
1&#+$(.9 *$(=($(&)
                                                                                    *               >(0@4(660   *                    I    *            >(0@4(660
  !               # '    #  K
     E                                                                                            >>>(00/                         I                    >>>(00/
     E    (     !                                                              ,,(10+(@4+                 ,(,C>(6>,                ,+(00/(40C
     !     '                                                                               I                   ,(,C>(6>,                 ,(,C>(6>,
     8                                                              1(6,,(//C                         I                  1(6,,(//C
     8                                                                                    ,41(4@@                         I                    ,41(4@@
     8             '                                                                      64,(6,@                         I                    64,(6,@
      A                                                                                        0/0(6@/                   0/0(6@/                        I
     F    =                                                                                  ,4(1+6                         I                    ,4(1+6
       )A'                                                                                           I                      >>(1++                    >>(1++
     %     '  K
       !               #'                                                                   /+>(>1,                   164(C1/                   ,,1(>C@
       H                       #'                                                        6(/6+                         I                     6(/6+
       #                                                                                             ,(1/>(10@                         I                 ,(1/>(10@
       "                                                                           >(@+C(61/                 0(66>(0C>                4(>C>(>@C
       E       (                                                                      ,66(1/6                         I                   ,66(1/6
       ;           '                                                                            C/,(4>4                         I                   C/,(4>4
       !  '      '                                                            C6/(6CC                    66,(/44                 ,(64C(441
          '                                                                                     00(+>/                         I                     00(+>/
            '                                                                            @C4(C++                    @C4(C++                        I
       M   #                                                                                         @0C(,+4                         I                   @0C(,+4
            (                                                                                           I                    ,>0(+10                  ,>0(+10
    # '    #                                                   *              ,>(>06(>64 *               0(141(+60   *             6(4/0(>+0
.=&)$(.9 *$(=($(&)
     ! =  %  ;   D (   =                                       4C(++>(+10                         I                4C(++>(+10
     ! =  % 7 ;             (   =                                C1>(@6/                         I                    C1>(@6/
     "      =           (                                                       ,1(+>@(@,>                   /+C(C00               ,1(/0@(0@1
     "        ''                                                                           I                   ,(>C4(6C+                 ,(>C4(6C+
     "           =                                                              C/(>,+                         I                     C/(>,+
     "              #                                                                     4+(,10                         I                     4+(,10
     "                       #'                                                    ,,0(1C1                         I                    ,,0(1C1
     E                    #'                                                               >4(6@C                         I                     >4(6@C
       #    #                                                       *             6>(//4(,/, *                  164(C1/   *           6>(,6C(>,@
(.+.*(.9 *$(=($(&)
     E '                                                                                       >(/01(C>>                        I                  >(/01(C>>
     E#    !     )                                                           /(++/(@/@                        I                  /(++/(@/@
     E#  %            )                                                                ,(/CC(>46                        I                  ,(/CC(>46
     %        )    &                                                        >>(1++                   >>(1++                         I
     E '     A                                                                    ,(@@4(C+,                        I                  ,(@@4(C+,
     !#        ##                                                                   ,C(+++(+++                        I                  ,C(+++(+++
     "         ##                                                                  ,4(+++(+++                        I                 ,4(+++(+++




                                                                                   0:+
             Case 24-40236-can11                            Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                        * 0              J /  1 
                                                                 Document           Page 405 of 446

                                                                                                                     "#$%&(.&".$%). & &1$&/0&#
                                                                                                     )#&=("2),- &1"#$&         ''&*$"' &)$+$&/&.$           ) &)$+$&
    "        %                                                                  @(+++(+++                          I                @(+++(+++
    "                                                                                                  I                   0(66>(0C>                0(66>(0C>
    "                                                                                                     I                  ,(>C0(414               ,(>C0(414
         #                                                                  *            ,0(C4/(+41 *                  >(144(>04 *           ,,(@++(6>C
     % %=#                                                                *            6@(1+@(C1+ *                   @,,(6C+ *           6@(C,4(6@+
% %=#  '                                                                        CC(1C4(C+/                           I               CC(1C4(C+/
% %=#                                                                *             ,1(+C,(C1/ *                   @,,(6C+ *            ,@(46+(+4/

211,&/&.$+,()*,")2#&"' +)%,"?.'"#/+$(".
                                                                                           *              ,+(>+4(>6+                        I    *             ,+(>+4(>6+
                                                                                             401(/0+                        I                    401(/0+

". +)%.=&)$(.9 *$(=($(&)
     A)        F  F     #      
      %  ;   D  =                                                   *              @6(6/0(,4C                        I    *             @6(6/0(,4C
    %  %  H                   -   %  ;  
    D  =                                                                                           ,+1(+++(+++                        I                 ,+1(+++(+++
    =       ' '    A               -  
    %  ;   D  =                                                                         ,,4(>+1(/4>                        I                 ,,4(>+1(/4>
      !     )                                                           @(>@1(,,>                        W                   @(>@1(,,>
    %        )                                                                    /(+C4(,10                        W                   /(+C4(,10
    %?%        )                                                            0(>66(6C+                        W                   0(>66(6C+

". +)%(.+.*(.9 *$(=($(&)
    %     '                     '                  *                >01(,C6                         I    *                >01(,C6
    %  !A>M  #       )                                                                      4,+(010                         I                     4,+(010
    !  =                                                                                        I                   >(166(1>+                  >(166(1>+




                                                                                            09
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                     * 0              J /  1 
                                                              Document           Page 406 of 446


 )"'+. "#$%&%#&&".$%). & +#*%

1                            @ &%,,, O         N
                                                                                                                                  +#*%
                                                                                                   )#&=("2),- &1"#$&        ''&*$"' &)$+$&/&.$       ) &)$+$&
 ))&$)
  "    =      (        *@+(C4@(+1/%  9K
  *004(0@>(4@,                                                                                *              @06(1C0(+14 *                       I *         @06(1C0(+14
  8    (        *>46(1>>                                                       ,(>1/(1+1                         I             ,(>1/(1+1
  H                      #' (   # *4++(+++                               CC0(CC@                         I               CC0(CC@
  %   =# %  9K*0(>4@(/06                                                            ,0(>64(+6,                 >(+@0(C1/           ,,(>@>(,>@
  !            #' %  9K*6(6/,(C04                                                   ,>(C1@(4@+                         I            ,>(C1@(4@+
  E       %  9K*,4C(C46                                                            ,4C(C46                         I               ,4C(C46
  E     (        *@@+(C64                                                         /+,(04,                         I               /+,(04,
   # %  9K*0(6>C(10>                                                                             0(C46(>01                         I             0(C46(>01
  "        %  9K*1(,/4(+,>                                                     /(/C1(>@,                         I             /(/C1(>@,
      AA  %  9K*1(01/(0@0                                                        1(/0+(>4@                         I             1(/0+(>4@
  E     (                                                                                             ,0@(+/>                         I               ,0@(+/>
  F-                                                                                                     ,4(>,+(+>+                         I            ,4(>,+(+>+
     "$+, ))&$)                                                                              *              1+,(/C@(@0/ *               >(+@0(C1/ *        @CC(/1+(@6+
(+0(,($(&)+. D2($-
           (         *,(,>>(6>+                        *               C4(6//(,6, *                       I *          C4(6//(,6,
   M     #  '    (     '            *>(>,C(/@1                  ,,1(60+(>11                         I           ,,1(60+(>11
   !  '      '  %  9K*/(464(>16                                       ,>(C64(@+C                 >(+@0(C1/           ,+(C@>(@1>
      '                                                                                              ,@,(>>4                         I               ,@,(>>4
   E       %  9K*@>0(@C,                                                            @>0(@C,                         I               @>0(@C,
        ' %  9K*1(+@@(1+,                                                          1(066(C>>                         I             1(066(C>>
   M   #  %  9*>+1(/C+                                                                         1(661(4>,                         I             1(661(4>,
    "$+,(+0(,($(&)                                                                          *              >0/(100(,+1 *               >(+@0(C1/ *        >01(@6C(,@6

D2($-
    !%  #         ' "     )/ 0/12(*,>C(1>1(4/1= 
         *>(1++  (*+ ++,# (4C(04/(+++  51,(6,+  
       ; 0,(>+>>                                                                *              ,>C(1>1(4/1                         I *         ,>C(1>1(4/1
  %        )(  A  #  ' (*+ ++,# 5,@(C4+(4>6       
   ; 0,(>+>>,++(+++(+++                                                                   ,@(C4+                         I                  ,@(C4+
  %?%         )(*+ ++,# 5460(/4,       
  ; 0,(>+>>,,(6C4(,++                                                                          46@                         I                   46@
  !  A                                                                                     001(0/4(C0>                         I           001(0/4(C0>
                                                                                                    0>@(610(,/0                  /(06+(,06         0,/(@/0(+01
    "$+, "#.&#9-D2($-                                                                                    ,@+(+41(+/6                  /(06+(,06          ,@/(@@1(>,4
   A                                                                                             ,>@(,C4(>1@                 /(06+(,06          ,,4(6,4(,,4
    "$+,D2($-                                                                                              >4@(>4,(00>                         I           >4@(>4,(00>
    "$+,(+0(,($(&)+. D2($-                                                               *              1+,(/C@(@0/ *               >(+@0(C1/ *        @CC(/1+(@6+




                                                                                        09%
              Case 24-40236-can11                      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                   * 0              J /  1 
                                                            Document           Page 407 of 446

1                      $          @ &%,,, O          N
                                                                                                                "#$%&%#&&".$%). & +#*%
                                                                                                 )#&=("2),- &1"#$&      ''&*$"' &)$+$&/&.$          ) &)$+$&
  &=&.2&
  7      '                                                              *              >C(/4,(01@ *                     I *             >C(/4,(01@
  "  -     ' =                                                                      >(/0,(/40                       I                >(/0,(/40
  8                                                                                                           0@(>>1                       I                   0@(>>1
                                                                                                            0@1(++C                       I                  0@1(++C
        "$+, &=&.2&                                                                                       0>(6/>(01,                       I               0>(6/>(01,
:1&.)&)
   7      '                                                                            ,0(C@1(6@0                       I               ,0(C@1(6@0
   "  -      ' =     #                                                     >(,C>(4@C                       I                >(,C>(4@C
   F          #                                                                               1(,@>(641                       I                1(,@>(641
   E    (     !                                                                    0(C/4(44/                       I                0(C/4(44/
        "$+,:1&.)&)                                                                                      >1(>16(+>@                       I               >1(>16(+>@
1&#+$(.9.*"/&                                                                             *               /(4,@(0>/ *                     I *              /(4,@(0>/
$%&#.*"/&&:1&.)&!
                                                                                       *                 ,>+(1@> *                     I *                 ,>+(1@>
                                                                                                     0(,@4(611                       I                0(,@4(611
        "$+,$%&#:1&.)&                                                                                 0(+>4(0,0                       I                0(+>4(0,0
.*"/&0&'"#&(.*"/&$+:&)                                                                                   @(166(+,@                       I                 @(166(+,@
+:&)
   %                                                                                                 ,1,(+@@                       I                  ,1,(+@@
   E                                                                                                 />(>,0                       I                   />(>,0
        .*"/&$+:&:1&.)&.&$                                                                                >>0(>1/                       I                  >>0(>1/
&$.*"/&                                                                                   *               @(04@(/1/ *                     I *              @(04@(/1/
   8 K    ' '    A                                                              >(+4+(>C@               ,(>1,(+6>                 6+C(>,>
&$(.*"/&+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                              *               >(0+@(@40 *              ,(>1,(+6> *             0(111(1@1
   "   #  =                                                                                 >(066(,0+                       I                >(066(,0+
&$(.*"/&,"))!+$$#(02$+0,&$" "//".$"*<%", &#)                                        *                 60(44/ *              ,(>1,(+6> *             ,(,4/(@,1

%         )
     ? -  #                                                                      ,1(4++(C>4                460(/4,               ,@(C,/(,41
     ?                                                                 *                   + +, *                   + +C *                  + +6

     E -  #                                                                     ,1(4++(C>4                >,6(6+@               ,1(06>(,>>
     E                                                                *                   + +, *                   + +C *                  + +6

%?%       )
   ?   -  #                                                                     I                  460(/4,                  460(/4,
   ?                                                                 *                      I *                   + +0 *                   + +0

  E#         %                                                         *                   + +1+                            *                  + +1+




                                                                                  09,
              Case 24-40236-can11                             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                                    1  8                  * 0     J /  1 
                                                                   Document    Page   408 of 446

1                            #           @ &%,,, O                      N

                                      &#(&)
                                      2/2,+$(=&
                                      & &&/+0,&
                                      #&'&##&
                                        $"*<           "//".$"*<             ,+)); "//".$"*<               ($(".+,                        ".
                                                                                                                +( (.        &$+(.&         *".$#",,(.9
                                       /"2.$         %+#&)            /"2.$    %+#&)            /"2.$          +1($+,        &'(*($         .$&#&)$          "$+,
  )#&=("2),- &1"#$&
;+,+.*&+$&*&/0&# * ,>C(1>1(4/1          ,@(6C0(,6@   * ,@(6C0     460(/4,     *      46@   * 006(0+>(/01 * 0>/(,1/(404 * ,>>(C@1(,/>    * >40(40,(1>0
                                          I             I          I           I              I               I       >(0+@(@40     >(+4+(>C@        @(04@(/1/
  !     )#              I             I          I           I              I       >(066(,0+             I             I        >(066(,0+
%        )#                       I             I          I           I              I         /@@(41C             I             I          /@@(41C
  #        #  
        )                          I        4/(@@@           4/            I           I          >+4(C64               I            I         >+/(+10
%   #  !A,
                                           I              I          I             I           I               I                I      6+C(>,>        6+C(>,>
;+,+.*&+$+#*%
.+2 ($& !                        * ,>C(1>1(4/1    ,@(C4+(4>6   * ,@(C4+     460(/4,     *      46@   * 001(0/4(C0> * 0>@(610(,/0 * ,>@(,C4(>1@    * >4@(>4,(00>


  &)$+$&/&.$/1+*$
!      >+>,          *            I             I   *      I             I   *       I    *          I *    4(,>C(+14 *    4(,>C(+14 *             I
                                    I             I          I             I           I               I      ,(>1,(+6>      ,(>1,(+6>               I
;+,+.*&+$+#*%
.+2 ($& !                       *            I             I   *      I             I   *       I    *          I *    /(06+(,06 *    /(06+(,06 *             I


  ) &)$+$&
?     E      ' 0,(>+>,    * ,>C(1>1(4/1    ,@(6C0(,6@   * ,@(6C0     460(/4,     *      46@   * 006(0+>(/01 * 0>,(+>6(16+ * ,,4(6,4(,,4    * >40(40,(1>0
                                          I             I          I           I              I               I       0(111(1@1       6+C(>,>        @(04@(/1/
  !     )#              I             I          I           I              I       >(066(,0+             I             I        >(066(,0+
%       )#                        I             I          I           I              I         /@@(41C             I             I          /@@(41C
  #        #  
        )                          I        4/(@@@           4/            I           I          >+4(C64               I            I         >+/(+10
%   #  !A,
                                           I              I          I             I           I               I                I      6+C(>,>        6+C(>,>
;+,+.*&+$+#*%
.+2 ($& !                        * ,>C(1>1(4/1    ,@(C4+(4>6   * ,@(C4+     460(/4,     *      46@   * 001(0/4(C0> * 0,/(@/0(+01 * ,,4(6,4(,,4    * >4@(>4,(00>




                                                                                              09&
            Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                   * 0              J /  1 
                                                            Document           Page 409 of 446


1                                @ &%,,, O           N
                                                                                                                "#$%&%#&&".$%). & +#*%
                                                                                                )#&=("2),- &1"#$&       ''&*$"' &)$+$&/&.$             ) &)$+$&
1&#+$(.9 *$(=($(&)
                                                                                        *               @(04@(/1/ *                      I    *               @(04@(/1/
  !                 # '      #  K
     E                                                                                               />(>,0                        I                       />(>,0
     E    (     !                                                                 @(066(C>/                  @,>(>4+                   0(C/4(44/
     !     '                                                                                 I                    @,>(>4+                     @,>(>4+
     %     '  K                                                                                                                                     I
      !               #'                                                                    >(@,>(/@6                ,(0C,(/40                   ,(+>+(C61
       #                                                                                                  ,@(/,>                        I                      ,@(/,>
      "                                                                               ,(4+,(,1+                  0@1(4/1                   ,(>11(@/1
      E       (                                                                          >6>(+0>                        I                      >6>(+0>
      !  '      '                                                            @(+14(+@,                  >,6(C,1                  @(>/@(C14
         '                                                                                       ,@,(>>4                        I                      ,@,(>>4
           '                                                                               41/(/01                   41/(/01                          I
      M   #                                                                                              @4(+,C                        I                       @4(+,C
           (                                                                                              I                   0,>(+4+                    0,>(+4+
    # '      #                                           *               6(16+(16@ *              ,(4,+(4/6   *               4(C4C(C+4
.=&)$(.9 *$(=($(&)
     "      =        (                                                             ,(+C6(4C6                   C>(444                  ,(,C,(04@
     "        ''                                                                             I                  ,(@/6(+@>                   ,(@/6(+@>
     "                   #'                                                           @>(444                        I                       @>(444
    # '   #    #                                           *              ,(+14(+0> *               ,(061(0/4   *                 0>C(0@@
(.+.*(.9 *$(=($(&)
     E#    !     )                                                             >(066(,0+                        I                   >(066(,0+
     E#  %            )                                                                    /@@(41C                        I                     /@@(41C
       #         E# " %        )                                                >+/(+10                        I                      >+/(+10
     E '     A                                                                        6+C(>,>                        I                     6+C(>,>
     !#        ##                                                                      >(+++(+++                        I                    >(+++(+++
     "         ##                                                                     0(+++(+++                        I                   0(+++(+++
     "          %                                                        >(+++(+++                        I                   >(+++(+++
     "                                                                                            I                   64>(/1@                    64>(/1@
          #                                                          *              4(/0@(C@6 *                64>(/1@   *              /(1C/(/+>
     % %=#                                                         *                 /6C(4+@ *              ,(+66(+14   *                >C6(@1>
% %=#  '                                                                  ,>(@C4(@/6                  C11(C+>                  ,,(1@+(1/4
% %=#                                                         *              ,0(>64(+6> *              >(+@0(C16   *              ,,(>@>(,>@

211,&/&.$+,()*,")2#&"' +)%,"?.'"#/+$(".
                                                                                    *               @(1++(000 *                      I    *               @(1++(000
                                                                                          /,4                        I                         /,4

". +)%.=&)$(.9 *$(=($(&)
    "    (   =         '      
    '                                                                               *               ,(,/6(>/, *                      I    *               ,(,/6(>/,

". +)%(.+.*(.9 *$(=($(&)
    !  =                                                           *                      I *                  4@/(,0+   *                    4@/(,0+




                                                                                     09
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                     * 0              J /  1 
                                                              Document           Page 410 of 446



 )"'+. "#$%&%#&&+. (:".$%). & A2.&

1                           < &,,, O         N


                                                                                                                                      A2.&
                                                                                                   )#&=("2),- &1"#$&           ''&*$"' &)$+$&/&.$         ) &)$+$&
 ))&$)
  "    =      (        *@@(6/+(,>/%  9PK
  *001(/41(@>0                                                                               *              @0/(0>6(C+6 *                           I    *        @0/(0>6(C+6
  8    (        *>/6(606                                                      ,(>@/(,6C                             I               ,(>@/(,6C
  H                      #' (   # *4++(+++                              C1+(+0@                             I                 C1+(+0@
  %   =# %  9K*,(/1C(+/+                                                           ,/(/1+(>11                     ,(@,6(161             ,4(00,(4/+
  !            #' %  9K*6(1//(/C,                                                  ,>(1/,(,0+                             I              ,>(1/,(,0+
  E       %  9K*>0,(,+1                                                           >0,(,+1                             I                 >0,(,+1
  E     (        *104(,C/                                                        4+4(,1+                             I                 4+4(,1+
   # %  9K*@(06/(>,4                                                                            @(1@+(6,6                             I               @(1@+(6,6
  "        %  9K*0(C0,(,+1                                                    /(>@+(6,1                             I               /(>@+(6,1
      AA  %  9K*1(+1/(0,@                                                       1(0/@(,@6                             I               1(0/@(,@6
  E     (                                                                                            ,,0(4>1                             I                 ,,0(4>1
  F-                                                                                                    ,4(>,+(+>+                             I              ,4(>,+(+>+
     "$+, ))&$)                                                                             *              1+@(,4@(,C/ *                   ,(@,6(161   *        1+>(/@1(4,>
(+0(,($(&)+. D2($-
           (         *C/+(0C1                         *               C4(+>C(4+1 *                           I    *         C4(+>C(4+1
   M     #  '    (     '          *>(+11(0>+                   ,,1(CC@(46+                             I             ,,1(CC@(46+
   !  '      '  %  9K*C(61@(C1,                                      ,/(0CC(>+,                     ,(@,6(161             ,1(C6+(4,4
      '                                                                                               0+1(>+1                             I                 0+1(>+1
   E       %  9K*0@0(,+1                                                            0@0(,+1                             I                 0@0(,+1
        ' %  9K*@(6@C(66/                                                         1(,06(@+C                             I               1(,06(@+C
   M   #  %  9*>+1(/C+                                                                        4(,>+(0C/                             I               4(,>+(0C/
     "$+,(+0(,($(&)                                                                        *              >@,(00+(4+> *                   ,(@,6(161   *        >0C(C,>(+,/

D2($-
    !%  #         ' "     )/ 0/12(*,>C(1>1(4/1= 
         *>(1++  (*+ ++,# (4C(04/(+++  51,(6,+  
       < 0+(>+>>                                                                  *             ,>C(1>1(4/1 *                           I    *        ,>C(1>1(4/1
  %        )(  A  #  ' (*+ ++,# 5,1(+4+(61/       
   < 0+(>+>>,++(+++(+++                                                                     ,1(+4+                            I                    ,1(+4+
  %?%         )(*+ ++,# 5460(/4,       
  < 0+(>+>>,,(6C4(,++                                                                            46@                            I                     46@
  !  A                                                                                     00>(166(,6,                            I             00>(166(,6,
                                                                                                    0>0(4@C(/,6                     /(10/(1C/           0,4(,,>(,>,
    "$+, "#.&#9-D2($-                                                                                    ,06(@/C(66>                     /(10/(1C/            ,@4(+,/(@/C
    A                                                                                            ,>@(010(/,0                    /(10/(1C/            ,,4(6,4(,,4
    "$+,D2($-                                                                                             >4>(600(1C1                             I             >4>(600(1C1
    "$+,(+0(,($(&)+. D2($-                                                              *              1+@(,4@(,C/ *                   ,(@,6(161   *        1+>(/@1(4,>




                                                                                       09
              Case 24-40236-can11                      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                   * 0              J /  1 
                                                            Document           Page 411 of 446

1                      $          < &,,, O         N
                                                                                                                 "#$%&%#&&".$%). & A2.&
                                                                                                 )#&=("2),- &1"#$&      ''&*$"' &)$+$&/&.$          ) &)$+$&
  &=&.2&
  7      '                                                              *              >6(,,>(60@ *                     I    *          >6(,,>(60@
  "  -     ' =                                                                      0(+/@(@04                       I                0(+/@(@04
  8                                                                                                           0+(6>1                       I                   0+(6>1
                                                                                                            0+0(0@,                       I                  0+0(0@,
        "$+, &=&.2&                                                                                       0,(1>,(@04                       I               0,(1>,(@04
:1&.)&)
   7      '                                                                            ,@(>40(4//                       I               ,@(>40(4//
   "  -      ' =     #                                                     >(@06(C6/                       I                >(@06(C6/
   F          #                                                                               1(>/4(040                       I                1(>/4(040
   E    (     !                                                                    0(CC>(0,@                       I                0(CC>(0,@
        "$+,:1&.)&)                                                                                      >1(C/,(0@,                       I               >1(C/,(0@,
1&#+$(.9.*"/&                                                                             *               1(11+(+C1 *                     I    *           1(11+(+C1
$%&#.*"/&&:1&.)&!
                                                                                       *                 ,04(+>0 *                     I    *              ,04(+>0
                                                                                                     0(0@>(C+4                       I                0(0@>(C+4
        "$+,$%&#:1&.)&                                                                                 0(>+4(660                       I                0(>+4(660
.*"/&0&'"#&(.*"/&$+:&)                                                                                   >(0@0(>,>                       I                 >(0@0(>,>
+:&)
   %                                                                                                 ,14(6//                      I                    ,14(6//
   E                                                                                                 ,4(>+C                      I                     ,4(>+C
        .*"/&$+:&:1&.)&.&$                                                                                ,/0(+64                      I                    ,/0(+64
&$.*"/&                                                                                   *               >(,/+(,>4 *                    I     *            >(,/+(,>4
   8 K    ' '    A                                                                C44(4/,                ,1/(@1C                   6+C(>,>
&$(.*"/&+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                              *               ,(>+0(@11 *               ,1/(@1C    *            ,(04+(C,@
   "   #  =                                                                                 >(066(,0+                      I                  >(066(,0+
&$.*"/&,"))!+$$#(02$+0,&$" "//".$"*<%", &#)                                        *              ,(,6@(4/1 *               ,1/(@1C    *           ,(+>/(>,4

%         )
     ? -  #                                                                      ,1(4/0(/+0                460(/4,               ,@(C6C(C@>
     ?                                                                      *                   + +6 *                   + +>   *               + +4

     E -  #                                                                     ,1(4/0(/+0                >,6(6+@               ,1(@1@(6CC
     E                                                                     *                   + +6 *                   + +,   *               + +/

%?%       )
   ?   -  #                                                                     I                  460(/4,                  460(/4,
   ?                                                               *                      I *                  + ,,    *               + ,,

  E#         %                                                         *                   + +1+ *                     I    *                 + +1+




                                                                                  09:
              Case 24-40236-can11                      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                   * 0              J /  1 
                                                            Document           Page 412 of 446

1                      $     *   < &,,, O        N
                                                                                                                  "#$%&(:".$%). & A2.&
                                                                                                 )#&=("2),- &1"#$&      ''&*$"' &)$+$&/&.$           ) &)$+$&
  &=&.2&
  7      '                                                              *              1/(6/@(,66 *                      I    *          1/(6/@(,66
  "  -     ' =                                                                      1(6+4(,CC                        I                1(6+4(,CC
  8                                                                                                           41(+1+                        I                   41(+1+
                                                                                                            4@6(01+                        I                  4@6(01+
        "$+, &=&.2&                                                                                       4@(0C0(/6/                        I               4@(0C0(/6/
:1&.)&)
   7      '                                                                            >6(>+C(1>+                        I               >6(>+C(1>+
   "  -      ' =     #                                                     @(40,(404                        I                @(40,(404
   F          #                                                                              ,+(@,C(>>6                        I               ,+(@,C(>>6
   E    (     !                                                                    /(C46(C6,                        I                /(C46(C6,
        "$+,:1&.)&)                                                                                      1,(>>C(041                        I    *          1,(>>C(041
1&#+$(.9.*"/&                                                                             *              ,0(,4@(@>> *                      I               ,0(,4@(@>>
$%&#.*"/&&:1&.)&!
                                                                                       *                 >14(141 *                      I    *             >14(141
                                                                                                     4(@6C(/4,                        I               4(@6C(/4,
        "$+,$%&#:1&.)&                                                                                 4(>00(,C4                        I               4(>00(,C4
.*"/&0&'"#&(.*"/&$+:&)                                                                                   4(C0,(>>4                        I                4(C0,(>>4
+:&)
   %                                                                                                 0+/(C>,                       I                   0+/(C>,
   E                                                                                                 66(@>>                       I                    66(@>>
        .*"/&$+:&:1&.)&.&$                                                                                0C4(0@0                       I                   0C4(0@0
&$.*"/&                                                                                   *               4(10@(660 *                     I     *           4(10@(660
   8 K    ' '    A                                                              0(+>4(C41               ,(@+6(1@,                ,(4,6(@>@
&$(.*"/&+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                              *               0(1+/(C,6 *              ,(@+6(1@,    *           @(C,4(@1C
   "   #  =                                                                                 @(//4(>4+                       I                 @(//4(>4+
&$.*"/&,"))!+$$#(02$+0,&$" "//".$"*<%", &#)                                        *              ,(>46(0@> *              ,(@+6(1@,    *             ,@+(,CC

%         )
     ? -  #                                                                      ,1(40/(1,1                 460(/4,               ,@(C10(/1@
     ?                                                                 *                   + +6   *                  + +C   *                + +,

     E -  #                                                                     ,1(40/(1,1                 ,//(@46               ,1(@4+(+@/
     E                                                                *                   + +6 *                    + +C   *                + +,

%?%       )
   ?   -  #                                                                     I                   460(/4,                  460(/4,
   ?                                                                                      I *                   + +C    *               + +C

  E#         %                                                         *                   + ,++ *                      I    *                 + ,++




                                                                                   099
              Case 24-40236-can11                               Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
                                                       1  8                 * 0     J /  1 
                                                                     Document    Page   413 of 446

1                                #           *   < &,,, O                  N



                                                            &#(&)
                                                            2/2,+$(=&
                                                            & &&/+0,&
                                                            #&'&##&
                                                              $"*<         "//".$"*<                ,+)); "//".$"*<               ($(".+,                         ".
                                                                                                                                       +( (.        &$+(.&          *".$#",,(.9
                                                             /"2.$        %+#&)              /"2.$    %+#&)            /"2.$          +1($+,        &'(*($          .$&#&)$          "$+,
  )#&=("2),- &1"#$&
;+,+.*&+$&*&/0&#                            * ,>C(1>1(4/1    ,@(6C0(,6@     * ,@(6C0      460(/4,    *      46@   * 006(0+>(/01 * 0>/(,1/(404 * ,>>(C@1(,/>     * >40(40,(1>0
                                                               I             I            I            I             I               I       >(0+@(@40     >(+4+(>C@         @(04@(/1/
  !     )#                                   I             I            I            I             I       >(066(,0+             I             I         >(066(,0+
%        )#                                            I             I            I            I             I         /@@(41C             I             I           /@@(41C
  #        #    
  )                                                        I         4/(@@@           4/           I             I          >+4(C64             I             I        >+/(+10
%   #  !A,                                   I             I            I            I             I               I              I       6+C(>,>      6+C(>,>
;+,+.*&+$+#*%.+2 ($& !                   * ,>C(1>1(4/1    ,@(C4+(4>6     * ,@(C4+      460(/4,    *      46@   * 001(0/4(C0> * 0>@(610(,/0 * ,>@(,C4(>1@ * >4@(>4,(00>
                                                                 I             I           I             I           I                I     ,(>+0(@11          C44(4/,       >(,/+(,>4
  !     )#                                     I             I           I             I           I        >(066(,0+           I                I       >(066(,0+
%       )#                                               I             I           I             I           I          /@6(+0,           I                I         /@6(+0,
  #        #        
  )                                                          I      4C(0,>             4C            I           I          ,C4(+6>               I             I          ,C4(,1,
%    '   !A,M                                 I          I              I             I           I               I                I       6+C(>,>        6+C(>,>
  )A'                                                    I      0+(C,/             0,            I           I          ,1,(0>6               I             I          ,1,(01C
;+,+.*&+$A2.&.+2 ($& !                    * ,>C(1>1(4/1    ,1(+4+(61/     * ,1(+4+      460(/4,    *      46@   * 00>(166(,6, * 0>0(4@C(/,6 * ,>@(010(/,0     * >4>(600(1C1


 &)$+$&/&.$/1+*$
!     >+>,                          *            I             I    *      I             I   *       I    *           I *   4(,>C(+14 *      4(,>C(+14 *            I
                                                          I             I           I             I           I                I     ,(>1,(+6>        ,(>1,(+6>              I
;+,+.*&+$+#*%.+2 ($& !                   *            I             I    *      I             I   *       I    *           I *   /(06+(,06 *      /(06+(,06 *            I
                                                                 I             I           I             I           I                I       ,1/(@1C          ,1/(@1C              I
;+,+.*&+$A2.&.+2 ($& !                    *            I             I    *      I             I   *       I    *           I *   /(10/(1C/ *      /(10/(1C/ *            I


 ) &)$+$&
;+,+.*&+$&*&/0&#                            * ,>C(1>1(4/1    ,@(6C0(,6@     * ,@(6C0      460(/4,    *      46@   * 006(0+>(/01 * 0>,(+>6(16+ * ,,4(6,4(,,4     * >40(40,(1>0
                                                               I             I            I            I             I               I       0(111(1@1       6+C(>,>         @(04@(/1/
  !     )#                                   I             I            I            I             I       >(066(,0+             I             I         >(066(,0+
%       )#                                             I             I            I            I             I         /@@(41C             I             I           /@@(41C
  #        #        
  )                                                          I      4/(@@@             4/            I           I          >+4(C64               I             I          >+/(+10
%   #  !A,                                     I          I              I             I           I               I                I       6+C(>,>        6+C(>,>
;+,+.*&+$+#*%.+2 ($& !                   * ,>C(1>1(4/1    ,@(C4+(4>6     * ,@(C4+      460(/4,    *      46@   * 001(0/4(C0> * 0,/(@/0(+01 * ,,4(6,4(,,4     * >4@(>4,(00>
                                                               I             I            I            I             I               I       ,(04+(C,@       6+C(>,>         >(,/+(,>4
  !     )#                                   I             I            I            I             I       >(066(,0+             I             I         >(066(,0+
%       )#                                             I             I            I            I             I         /@6(+0,             I             I           /@6(+0,




                                                                                                09>
              Case 24-40236-can11       Doc 18 Filed 02/25/24 *Entered
                               1  8  
                                                                                02/25/24 23:50:55 J
                                                                    0    
                                                                                                    Desc      Main
                                                                                                          /  1 
                                                Document Page 414 of 446

  #       #        
  )                                               I       4C(0,>          4C             I           I          ,C4(+6>               I            I           ,C4(,1,
%    '   !A,M                      I           I           I              I           I               I                I      6+C(>,>         6+C(>,>
  )A'                                         I       0+(C,/          0,             I           I          ,1,(0>6               I            I           ,1,(01C
;+,+.*&+$A2.&.+2 ($& !         * ,>C(1>1(4/1    ,1(+4+(61/   * ,1(+4+       460(/4,    *      46@   * 00>(166(,6, * 0,4(,,>(,>, * ,,4(6,4(,,4     * >4>(600(1C1




                                                 &#(&)
                                                 2/2,+$(=&
                                                 & &&/+0,&
                                                 #&'&##&
                                                   $"*<         "//".$"*<               ,+)); "//".$"*<               ($(".+,                        ".
                                                                                                                           +( (.        &$+(.&         *".$#",,(.9
                                                  /"2.$        %+#&)            /"2.$     %+#&)            /"2.$          +1($+,        &'(*($         .$&#&)$           "$+,
  )#&=("2),- &1"#$&
;+,+.*&+$&*&/0&#                 * ,>C(1>1(4/1    ,@(6C0(,6@   * ,@(6C0      460(/4,     *      46@   * 006(0+>(/01 * 0>/(,1/(404 * ,>>(C@1(,/>     * >40(40,(1>0
                                                    I             I          I            I              I               I       0(1+/(C,6     0(+>4(C41         4(10@(660
  !     )#                        I             I          I            I              I       @(//4(>4+             I             I         @(//4(>4+
%        )#                                 I             I          I            I              I       ,(@C>(4C+             I             I         ,(@C>(4C+
  #        #       
  )                                               I     ,04(/14          ,04             I           I          @+0(+46               I             I          @+0(>+@
%   #  !A,                          I          I            I              I           I               I                I     ,(4,6(@>@      ,(4,6(@>@
  )A' %                                       I      0+(C,/           0,             I           I          ,1,(0>6               I             I          ,1,(01C
;+,+.*&+$A2.&.+2 ($& !         * ,>C(1>1(4/1    ,1(+4+(61/   * ,1(+4+      460(/4,     *      46@   * 00>(166(,6, * 0>0(4@C(/,6 * ,>@(010(/,0     * >4>(600(1C1


 &)$+$&/&.$/1+*$
!     >+>,                      *            I            I   *      I              I   *       I    *          I *    4(,>C(+14 *     4(,>C(+14 *             I
                                               I            I          I              I           I               I      ,(@+6(1@,       ,(@+6(1@,               I
;+,+.*&+$A2.&.+2 ($& !         *            I            I   *      I              I   *       I    *          I *    /(10/(1C/ *     /(10/(1C/ *             I


 ) &)$+$&
;+,+.*&+$&*&/0&#                 * ,>C(1>1(4/1    ,@(6C0(,6@   * ,@(6C0      460(/4,     *      46@   * 006(0+>(/01 * 0>,(+>6(16+ * ,,4(6,4(,,4     * >40(40,(1>0
                                                    I             I          I            I              I               I       @(C,4(@1C     ,(4,6(@>@         4(10@(660
  !     )#                        I             I          I            I              I       @(//4(>4+             I             I         @(//4(>4+
%       )#                                  I             I          I            I              I       ,(@C>(4C+             I             I         ,(@C>(4C+
  #        #       
  )                                               I     ,04(/14          ,04             I           I          @+0(+46               I             I          @+0(>+@
%   #  !A,                          I          I            I              I           I               I                I     ,(4,6(@>@      ,(4,6(@>@
  )A' %                                       I      0+(C,/           0,             I           I          ,1,(0>6               I             I          ,1,(01C
;+,+.*&+$A2.&.+2 ($& !         * ,>C(1>1(4/1    ,1(+4+(61/   * ,1(+4+      460(/4,     *      46@   * 00>(166(,6, * 0,4(,,>(,>, * ,,4(6,4(,,4     * >4>(600(1C1




                                                                                    09+
            Case 24-40236-can11
1  8  
                                                       Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                 * 0    
                                                                                                             Desc      Main
                                                                                                                   /  1 
                                                            Document           Page 415 of 446


1                           *   < &,,, O          N
                                                                                                                   "#$%&(:".$%). & A2.&
                                                                                                )#&=("2),- &1"#$&        ''&*$"' &)$+$&/&.$           ) &)$+$&
1&#+$(.9 *$(=($(&)
                                                                                        *                4(10@(660 *                       I   *             4(10@(660
  !                 # '      #  K
     E                                                                                                66(@>>                        I                     66(@>>
     E    (     !                                                                  6(/C0(,+,                  6>@(,>+                 /(C46(C6,
     !     '                                                                                  I                    6>@(,>+                   6>@(,>+
     F    =                                                                                     >>(4/6                        I                    >>(4/6
       )A'                                                                                         ,1,(01C                        I                    ,1,(01C
     %     '  K
       !              #'                                                                     ,(+>@(401                        I                  ,(+>@(401
       #                                                                                                  16/(>C1                        I                   16/(>C1
       "                                                                               >(@6/(04>                  /+,(/C,                 ,(/61(1/,
       E       (                                                                          ,@+(1+C                        I                    ,@+(1+C
       !  '      '                                                               040(,0/                   /+/(C10                 ,(+/,(+6C
          '                                                                                       0+1(>+1                        I                    0+1(>+1
            '                                                                               C+6(>@6                   C+6(>@6                        I
       M   #                                                                                             >6+(/C1                        I                    >6+(/C1
            (                                                                                              I                   >+4(@1/                  >+4(@1/
    # '    #                                                     *               ,6(41,(,6/ *                 /+/(C10   *            ,C(01C(,0C
.=&)$(.9 *$(=($(&)
     "      =                                                                        @(,@,(@61                         I                @(,@,(@61
     "        ''                                                                       >(,+0(1@@                         I                 >(,+0(1@@
     "           =                                                                 06(+/1                         I                    06(+/1
     "                  #'                                                             64(4>4                         I                    64(4>4
       #    #                                                         *               ,(C,0(>@+ *                       I   *            ,(C,0(>@+
(.+.*(.9 *$(=($(&)
     E#    !     )                                                              @(//4(>4+                        I                 @(//4(>4+
     E#  %            )                                                                   ,(@C>(4C+                        I                 ,(@C>(4C+
       #         E# " %        )                                                 @+0(>+@                        I                    @+0(>+@
     E '     A                                                                       ,(4,6(@>@                        I                 ,(4,6(@>@
     !#        ##                                                                       @(+++(+++                        I                  @(+++(+++
     "         ##                                                                      @(+++(+++                        I                 @(+++(+++
     "          %                                                         @(+++(+++                        I                 @(+++(+++
     "                                                                                             I                 ,(,/+(401                ,(,/+(401
          #                                                          *              ,,(@6@(,/+ *              ,(,/+(401   *           ,>(41@(6+1
     % %=#                                                         *                1(>10(/// *                @4>(46>   *             @(/C,(+C@
% %=#  '                                                                   ,>(@C4(@/6                  C11(C+>                ,,(1@+(1/4
% %=#                                                         *               ,/(/1+(>11 *              ,(@,6(16@   *            ,4(00,(4/+

211,&/&.$+,()*,")2#&"' +)%,"?.'"#/+$(".
                                                                                    *                @(CCC(6@1 *                       I   *             @(CCC(6@1
                                                                                        ,>(+11                         I                   ,>(+11

". +)%.=&)$(.9 *$(=($(&)
    "    (   =         '      
    '                                                                               *                 //,(,6+ *                        I   *                  //,(,6+

". +)%(.+.*(.9 *$(=($(&)
    !  =                                                           *                       I *                ,(>>4(@+>   *             ,(>>4(@+>




                                                                                     0>
             Case 24-40236-can11
1  8  
                                                         Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                   * 0    
                                                                                                               Desc      Main
                                                                                                                     /  1 
                                                              Document           Page 416 of 446


 )"'+. "#$%&%#&&+. (.&".$%). & &1$&/0&#

1                            $  &,,, O            N


                                                                                                                                &1$&/0&#
                                                                                                   )#&=("2),- &1"#$&        ''&*$"' &)$+$&/&.$         ) &)$+$&
 ))&$)
  "    =      (        *@6(64@(>60%  9PK
  *00/(@/+(+//                                                                               *              @06(>@C(400 *                        I    *        @06(>@C(400
  8    (        *>6C(,1@                                                      ,(>04(6/0                          I               ,(>04(6/0
  H                      #' (   # *4++(+++                              C+@(/@0                          I                 C+@(/@0
  %   =# %  9K*>(++C(/6/                                                           >,(//4(>40                  ,(,>/(4>,             >+(4@6(4@>
  !            #' %  9K*/(41@(/1/                                                  ,+(4+C(/@@                          I              ,+(4+C(/@@
  E       %  9K*C@(CC@                                                             C@(CC@                          I                  C@(CC@
  E     (        *40,(@+6                                                        1,+(C0C                          I                 1,+(C0C
   # %  9K*1(61C(>4>                                                                            4(++@(+0/                          I               4(++@(+0/
  "        %  9K*0(C@4(06C                                                    1(4CC(+/C                          I               1(4CC(+/C
      AA  %  9K*@(/11(4+4                                                       1(+6>(+>6                          I               1(+6>(+>6
  E     (                                                                                            ,,,(46,                          I                 ,,,(46,
  F-                                                                                                            I                           I                      I
     "$+, ))&$)                                                                             *              @C+(>6+(+,@ *                ,(,>/(4>,   *        @6C(,1>(0C0
(+0(,($(&)+. D2($-
           (         *6,/(C/>                         *               CC(,6>(+>6 *                        I    *         CC(,6>(+>6
   M     #  '    (     '          *,(6C+(6C1                   ,,4(,1C(,+1                          I             ,,4(,1C(,+1
   !  '      '  %  9K*,0(6,C(/+6                                     ,C(1C4(4/+                  ,(,>/(4>,             ,6(@4C(+@C
      '                                                                                               0@@(40+                          I                 0@@(40+
   E       %  9K*>/4(@>6                                                            >/4(@>6                          I                 >/4(@>6
        ' %  9K*@(410(1C@                                                         @(C1,(6C,                          I               @(C1,(6C,
   M   #  %  9K*>+1(/C+                                                                       1(CC+(6C/                          I               1(CC+(6C/
    "$+,(+0(,($(&)                                                                         *              >@4(1+,(4@C *                ,(,>/(4>,   *        >@1(0/@(+>6

D2($-
    !%  #          ' "     )/ 0/12(*,>C(1>1(4/1= 
         *>(1++  (*+ ++,# 54C(04/(+++  51,(6,+  
              ' 0+(>+>>                                                         *             ,>C(1>1(4/1 *                        I    *        ,>C(1>1(4/1
  %        )(  A  #  ' (*+ ++,# 5,1(,/4(C,,       
         ' 0+(>+>>,++(+++(+++                                                            ,1(,//                          I                    ,1(,//
  %?%         )(*+ ++,# 5460(/4,       
        ' 0+(>+>>,,(6C4(,++                                                                    46@                         I                     46@
  !  A                                                                                     0>C(/C4(+@C                         I             0>C(/C4(+@C
                                                                                                    00C(/1>(@/+                  /(0>C(@00           00>(@>0(+0/
    "$+, "#.&#9-D2($-                                                                                    ,,C(161(,,1                  /(0>C(@00            ,>4(C,@(1@6
   A                                                                                             ,>@(,C0(>1+                 /(0>C(@00            ,,4(640(6,/
    "$+,D2($-                                                                                              >@0(//6(041                         I             >@0(//6(041
    "$+,(+0(,($(&)+. D2($-                                                               *              @C+(>6+(+,@ *               ,(,>/(4>,   *        @6C(,1>(0C0




                                                                                       0>%
              Case 24-40236-can11
1  8  
                                                       Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                 * 0    
                                                                                                             Desc      Main
                                                                                                                   /  1 
                                                            Document           Page 417 of 446

1                      $           $  &,,, O           N



                                                                                                             "#$%&%#&&".$%). & &1$&/0&#
                                                                                                )#&=("2),- &1"#$&      ''&*$"' &)$+$&/&.$          ) &)$+$&
 &=&.2&
 7      '                                                              *              0,(0+1(1@4 *                    I *               0,(0+1(1@4
 "  -      ' =                                                                     ,(@//(>1,                      I                  ,(@//(>1,
 8                                                                                                          ,,,(/>1                      I                    ,,,(/>1
                                                                                                            4/(,4@                      I                     4/(,4@
        "$+, &=&.2&                                                                                      0>(C4,(464                      I                 0>(C4,(464
:1&.)&)
  7      '                                                                            ,/(4@/(4/0                      I                  ,/(4@/(4/0
  "  -       ' =     #                                                    ,(061(+>6                      I                   ,(061(+>6
  F           #                                                                              1(/@0(0@>                      I                   1(/@0(0@>
  E    (     !                                                                    @(+>6(6++                      I                   @(+>6(6++
  8         -                                                                        ,4(>,+(+>+                      I                  ,4(>,+(+>+
        "$+,:1&.)&)                                                                                     @1(+,@(640                      I                  @1(+,@(640
1&#+$(.9"))                                                                              *             ,>(+10(,// *                    I *               ,>(+10(,//
$%&#.*"/&&:1&.)&!
                                                                                      *                  /4(+1+ *                    I *                    /4(+1+
                                                                                                    0(@60(>+6                      I                  0(@60(>+6
        "$+,$%&#:1&.)&                                                                                0(@+/(,16                      I                  0(@+/(,16
"))0&'"#&(.*"/&$+:&)                                                                                  ,1(@4+(001                      I                 ,1(@4+(001
+:&)
  %                                                                                                  01(,6/                      I                      01(,6/
  E                                                                                                  4(,6>                      I                       4(,6>
        .*"/&$+:&:1&.)&.&$                                                                                @,(04C                      I                      @,(04C
&$"))                                                                                    *             ,1(1+,(/+@ *                    I *               ,1(1+,(/+@
  8 K    ' '    A                                                                4+,(+@6                 >+6(,4@                    6+C(>,>
&$"))+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                               *             ,4(,+>(/1> *              >+6(,4@ *              ,4(0,+(C,4
  "   #  =                                                                                 >(066(,0+                      I                   >(066(,0+
&$"))+$$#(02$+0,&$" "//".$"*<%", &#)                                                *             ,6(@C+(66> *              >+6(,4@ *              ,6(4CC(+@4

%         )
     ? -  #                                                                     ,1(//0(@4C                460(/4,                ,1(+6C(/+6
     ?                                                                     *                   , ,/ *                 + +,   *                 , ,6

     E -  #                                                                    ,1(//0(@4C                >,6(6+@                ,1(11@(441
     E                                                                    *                   , ,/ *                 + +0   *                 , >+

%?%       )
   ?   -  #                                                                    I                  460(/4,                   460(/4,
   ?                                                              *                      I *                  , >0 *                   , >0

  E#         %                                                        *                   + +1+ *                    I *                     + +1+




                                                                                  0>,
              Case 24-40236-can11
1  8  
                                                        Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                  * 0    
                                                                                                              Desc      Main
                                                                                                                    /  1 
                                                             Document           Page 418 of 446



1                      $          $  &,,, O          N
                                                                                                              "#$%&(.&".$%). & &1$&/0&#
                                                                                                )#&=("2),- &1"#$&       ''&*$"' &)$+$&/&.$          ) &)$+$&
 &=&.2&
 7      '                                                              *              6C(,/C(/0@ *                      I    *          6C(,/C(/0@
 "  -      ' =                                                                     /(>60(@1+                        I                /(>60(@1+
 8                                                                                                          ,/4(//1                        I                  ,/4(//1
                                                                                                           /,1(1,@                        I                  /,1(1,@
        "$+, &=&.2&                                                                                      C/(011(@/0                        I               C/(011(@/0
:1&.)&)
  7      '                                                                            @1(61/(,C0                        I               @1(61/(,C0
  "  -       ' =     #                                                    4(+,4(44@                        I                4(+,4(44@
  F           #                                                                             ,4(,4>(1/+                        I               ,4(,4>(1/+
  E    (     !                                                                   ,,(CC/(/6,                        I               ,,(CC/(/6,
  8         -                                                                        ,4(>,+(+>+                        I               ,4(>,+(+>+
        "$+,:1&.)&)                                                                                     C4(>@@(>>6                        I               C4(>@@(>>6
1&#+$(.9.*"/&                                                                            *               ,(,,,(>@1 *                      I    *           ,(,,,(>@1
$%&#.*"/&&:1&.)&!
                                                                                      *                 00>(4,1 *                      I    *              00>(4,1
                                                                                                    C(C/>(C4C                        I    *           C(C/>(C4C
        "$+,$%&#:1&.)&                                                                                C(4@+(01@                        I                C(4@+(01@
"))0&'"#&(.*"/&$+:&)                                                                                   6(1>C(,+C                        I                6(1>C(,+C
+:&)
  %                                                                                                 0@0(,+6                       I                    0@0(,+6
  E                                                                                                 C@(4+@                       I                     C@(4+@
        .*"/&$+:&:1&.)&.&$                                                                               @0/(/,>                       I                    @0/(/,>
&$"))                                                                                    *              6(C44(6>, *                     I     *           6(C44(6>,
  8 K    ' '    A                                                              0(4>6(+,0               ,(>++(0//                 >(@>/(404
&$"))+$$#(02$+0,&$" "#.&#9-                                                          *             ,>(1C@(60@ *              ,(>++(0//    *          ,,(0C@(@1/
  "   #  =                                                                                 /(,4@(0C+                       I                  /(,4@(0C+
&$"))+$$#(02$+0,&$" "//".$"*<%", &#)                                                *             ,C(/1C(>>@ *              ,(>++(0//    *          ,6(116(6@/

%         )
     ? -  #                                                                     ,1(460(00,                 460(/4,               ,@(CCC(1/+
     ?                                                                     *                   , >4   *                  + +6   *               , ,6

     E -  #                                                                    ,1(460(00,                 >,6(6+@               ,1(@4@(1>/
     E                                                                    *                   , >4 *                    + +4   *               , >+

%?%       )
   ?   -  #                                                                    I                   460(/4,                  460(/4,
   ?                                                              *                      I *                   , 00    *               , 00

  E#         %                                                        *                   + ,1+ *                      I    *                 + ,1+




                                                                                  0>&
              Case 24-40236-can11       Doc 18 Filed 02/25/24 *Entered
                               1  8  
                                                                                02/25/24 23:50:55 J
                                                                    0    
                                                                                                    Desc      Main
                                                                                                          /  1 
                                                Document Page 419 of 446

1                           #            $  &,,, O                       N


                                                        &#(&)
                                                        2/2,+$(=&
                                                        & &&/+0,&
                                                        #&'&##&
                                                          $"*<         "//".$"*<              ,+)); "//".$"*<               ($(".+,                         ".
                                                                                                                                 +( (.         &$+(.&         *".$#",,(.9
                                                         /"2.$        %+#&)            /"2.$    %+#&)            /"2.$          +1($+,         &'(*($         .$&#&)$           "$+,
   )#&=("2),- &1"#$&
 ;+,+.*&+$A2.&.+2 ($& !               * ,>C(1>1(4/1    ,1(+4+(61/   * ,1(+4+     460(/4,     *      46@   * 00>(166(,6, * 0>0(4@C(/,6 * ,>@(010(/,0      * >4>(600(1C1
                                                    I             I          I           I              I               I     ,4(,+>(/1>       4+,(+@6        ,1(1+,(/+@
   !     )#                              I             I          I           I              I       >(066(,0+             I             I           >(066(,0+
 %        )#                                       I             I          I           I              I         /10(+@0             I             I             /10(+@0
   #        #      
   )                                                     I      6@(4+4           61            I           I          ,C/(6C1                I            I           ,C/(C6+
 %        )(  #  =#                         I          I            I             I           I          0@(,@1                I            I           0@(,@1
 %    '   %!A,M                      I          I            I             I           I               I                 I      6+C(>,>         6+C(>,>
   )A'                                               I      0,(@@6           0>            I           I          ,61(>C,                I        @/(/+,          >00(+>@
 ;+,+.*&+$&1$&/0&#.+2 ($& !          * ,>C(1>1(4/1    ,1(,/4(C,,   * ,1(,//     460(/4,     *      46@   * 0>C(/C4(+@C * 00C(/1>(@/+ * ,>@(,C0(>1+      * >@0(//6(041


  &)$+$&/&.$/1+*$
 !     >+>,                     *            I            I   *      I             I   *       I    *           I *    4(,>C(+14 *     4(,>C(+14               I
 !     L,AL>>+>>                          I            I          I             I           I                I      ,(@+6(1@,       ,(@+6(1@,               I
                                                      I            I          I             I           I                I       >+6(,4@          >+6(,4@               I
 ;+,+.*&+$&1$&/0&#.+2 ($& !          *            I            I   *      I             I   *       I    *           I *    /(0>C(@00 *     /(0>C(@00 *             I


  ) &)$+$&
 ;+,+.*&+$A2.&.+2 ($& !               * ,>C(1>1(4/1    ,1(+4+(61/   * ,1(+4+     460(/4,     *      46@   * 00>(166(,6, * 0,4(,,>(,>, * ,,4(6,4(,,4      * >4>(600(1C1
                                                      I            I          I             I           I                I     ,4(0,+(C,4        6+C(>,>      ,1(1+,(/+@
   !     )#                                I            I          I             I           I        >(066(,0+             I              I         >(066(,0+
 %       )#                                          I            I          I             I           I          /10(+@0             I              I           /10(+@0
   #        #      
   )                                                   I         6@(4+4         61          I              I          ,C/(6C1             I             I        ,C/(C6+
 %       )(  #  =#                        I             I          I           I              I          0@(,@1             I             I        0@(,@1
 %    '   %!A,M                    I             I          I           I              I               I              I       6+C(>,>      6+C(>,>
   )A'                                             I         0,(@@6         0>          I              I          ,61(>C,             I         @/(/+,       >00(+>@
 ;+,+.*&+$&1$&/0&#.+2 ($& !          * ,>C(1>1(4/1    ,1(,/4(C,,   * ,1(,//     460(/4,     *      46@   * 0>C(/C4(+@C * 00>(@>0(+0/ * ,,4(640(6,/ * >@0(//6(041




                                                                                          0>
              Case 24-40236-can11       Doc 18 Filed 02/25/24 *Entered
                               1  8  
                                                                                02/25/24 23:50:55 J
                                                                    0    
                                                                                                    Desc      Main
                                                                                                          /  1 
                                                Document Page 420 of 446


                                                   &#(&)
                                                   2/2,+$(=&
                                                   & &&/+0,&
                                                   #&'&##&
                                                     $"*<         "//".$"*<               ,+)); "//".$"*<               ($(".+,                        ".
                                                                                                                             +( (.        &$+(.&         *".$#",,(.9
                                                    /"2.$        %+#&)            /"2.$     %+#&)            /"2.$          +1($+,        &'(*($         .$&#&)$           "$+,
  )#&=("2),- &1"#$&
;+,+.*&+$&*&/0&#                   * ,>C(1>1(4/1    ,@(6C0(,6@   * ,@(6C0      460(/4,     *      46@   * 006(0+>(/01 * 0>/(,1/(404 * ,>>(C@1(,/>     * >40(40,(1>0
                                               I             I          I            I              I               I     ,>(1C@(60@     0(4>6(+,0        6(C44(6>,
  !     )#                          I             I          I            I              I       /(,4@(0C+             I             I         /(,4@(0C+
%        )#                                   I             I          I            I              I       >(>@1(/00             I             I         >(>@1(/00
  #        #    
  )                                                 I     >>,(04>          >>,             I           I          4++(C40               I             I          4+,(,6@
%        )(  #  =#                     I          I            I              I           I          0@(,@1               I             I          0@(,@1
%   #  %!A,                      I          I            I              I           I               I                I     >(@>/(404      >(@>/(404
  )A' %                                         I      4>(041           40             I           I          004(4,C               I         @/(/+,         06@(060
;+,+.*&+$&1$&/0&#.+2 ($& !      * ,>C(1>1(4/1    ,1(,/4(C,,   * ,1(,//      460(/4,     *      46@   * 0>C(/C4(+@C * 00C(/1>(@/+ * ,>@(,C0(>1+     * >@0(//6(041


 &)$+$&/&.$/1+*$
!     >+>,                 *            I            I   *      I              I   *       I    *          I *    4(,>C(+14 *     4(,>C(+14 *             I
                                                 I            I          I              I           I               I      ,(>++(0//       ,(>++(0//               I
;+,+.*&+$&1$&/0&#.+2 ($& !      *            I            I   *      I              I   *       I    *          I *    /(0>C(@00 *     /(0>C(@00 *             I


 ) &)$+$&
;+,+.*&+$&*&/0&#                   * ,>C(1>1(4/1    ,@(6C0(,6@   * ,@(6C0      460(/4,     *      46@   * 006(0+>(/01 * 0>,(+>6(16+ * ,,4(6,4(,,4     * >40(40,(1>0
                                               I             I          I            I              I               I     ,,(0C@(@1/     >(@>/(404        6(C44(6>,
  !     )#                          I             I          I            I              I       /(,4@(0C+             I             I         /(,4@(0C+
%       )#                                    I             I          I            I              I       >(>@1(/00             I             I         >(>@1(/00
  #        #      
  )                                                 I     >>,(04>          >>,             I           I          4++(C40               I             I          4+,(,6@
%       )(  #  =#                      I          I            I              I           I          0@(,@1               I             I          0@(,@1
%    '   %!A,M                  I          I            I              I           I               I                I     >(@>/(404      >(@>/(404
  )A'                                           I      4>(041           40             I           I          004(4,C               I         @/(/+,         06@(060
;+,+.*&+$&1$&/0&#.+2 ($& !      * ,>C(1>1(4/1    ,1(,/4(C,,   * ,1(,//      460(/4,     *      46@   * 0>C(/C4(+@C * 00>(@>0(+0/ * ,,4(640(6,/     * >@0(//6(041




                                                                                      0>
            Case 24-40236-can11
1  8  
                                                       Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                 * 0    
                                                                                                             Desc      Main
                                                                                                                   /  1 
                                                            Document           Page 421 of 446

1                                              $   & ,,,   O          N
                                                                                                                          "#$%&(.&".$%). & 
                                                                                                                              &1$&/0&#
                                                                                                )#&=("2),- &1"#$&         ''&*$"' &)$+$&/&.$         ) &)$+$&
1&#+$(.9 *$(=($(&)
                                                                                      *               6(C44(6>,   *                      I    *         6(C44(6>,
  !              # '    #  K
     E                                                                                               C@(4+@                           I                  C@(4+@
     E    (     !                                                                ,,(CC/(/6,                           I              ,,(CC/(/6,
     !     '                                                                          ,(>04(,/6                           I               ,(>04(,/6
     8        -                                                                      ,4(>,+(+>+                           I              ,4(>,+(+>+
     F    =                                                                                    0C(4/6                           I                 0C(4/6
       )A'                                                                                        06@(060                           I                 06@(060
     %     '  K
       !              #'                                                                    >(/,1(>+/                           I               >(/,1(>+/
       #                                                                                               >(+1+(1,@                           I              >(+1+(1,@
       "                                                                              @(>C4(6C+                   >(1,@(@>C              ,(/6>(@4+
       E       (                                                                         >+C(C@0                           I                 >+C(C@0
       !  '      '                                                            ,(>,0(C4,                    ,(6,1(44@              0(+>C(4>1
          '                                                                                      0@@(40+                           I                 0@@(40+
            '                                                                            ,(+C@(/44                    ,(+C@(/44                     I
       M   #                                                                                            ,1,(>C1                           I                 ,1,(>C1
            (                                                                                             I                      ,++(611               ,++(611
    # '    #                                                     *              >4(/+0(,,0 *                    >C1(,@4   *         >4(CC6(>16
.=&)$(.9 *$(=($(&)
     "      =                                                                        /(/1C(4+0                          I              /(/1C(4+0
     "       ''                                                                        >(061(616                          I               >(061(616
     "          =                                                                  11(+/1                          I                  11(+/1
     "                 #'                                                             ,0,(C,/                          I                 ,0,(C,/
       #    #                                                         *               1(,64(/10 *                        I    *         1(,64(/10
(.+.*(.9 *$(=($(&)
     E#    !     )                                                              /(,4@(0C+                          I              /(,4@(0C+
     E#  %            )                                                                   ,(4@@(1@C                          I              ,(4@@(1@C




                                                                                    0>:
             Case 24-40236-can11                             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                         * 0              J /  1 
                                                                  Document           Page 422 of 446

                                                                                                                              "#$%&(.&".$%). & 
                                                                                                                                  &1$&/0&#
                                                                                                   )#&=("2),- &1"#$&          ''&*$"' &)$+$&/&.$              ) &)$+$&
    E '     A                                                                            >(@>/(404                           I                   >(@>/(404
    !#        ##                                                                            C(+++(+++                           I                    C(+++(+++
    "         ##                                                                           @(+++(+++                           I                   @(+++(+++
    "         %                                                               4(+++(+++                           I                   4(+++(+++
    "                                                                                               I                     ,(1>+(1,/                   ,(1>+(1,/
    "                                                                                                  I                    ,(C6/(06>                  ,(C6/(06>
         #                                                                *            ,>(>04(1/1    *                 @44(641 *              ,>(/+0(@@+
     % %=#                                                                              C(>/C(/61                     ,/,(/,C                   C(,+6(+41
% %=#  '                                                                      ,>(@C4(@/6                      C11(C+>                 ,,(1@+(1/4
% %=#                                                              *             >,(//4(>40    *               ,(,>/(4>, *               >+(4@6(4@,

211,&/&.$+,()*,")2#&"' +)%,"?.'"#/+$(".
                                                                                         *               6(6+>(4C/ *                         I   *                6(6+>(4C/
                                                                                            ,>(+11                           I                      ,>(+11

". +)%.=&)$(.9 *$(=($(&)
    "    (   =              '      
    '                                                                                    *               >(>@C(161 *                         I   *                >(>@C(161

". +)%(.+.*(.9 *$(=($(&)
      #      E# " %              )                                 *                 4+,(,6@ *                        I    *                 4+,(,6@
    E#  =#    M                                                                                0@(,@1                          I                       0@(,@1
    !  =                                                                                       I                      0+/(0,>                     0+/(0,>




     "  , '3      6 B B 3(  8$  $ .   $   $        8    8 A 8    
     .    #    $  &,,%  8A8      .  $  $  
       $    8 8A8   .   $    $ 
    $                       " ,'3     6BB 3(
        $        #   @ &%,,% 1     $         
 '($    $  $   ,,,,,%

                                            

                                                                                             
                                                                                                                                                    "#$%&%#&&".$%). &
                                                                                                                                                           +#*%
 8                                                                                                                                                                  ,+(4C@(>40
  8 K"   #  =     ,                                                                                                                                  >(0+C(4/>
 8 ' '  %      )                                                                                                     *                         ,0(++0(C01

     '        %        )                                                                            *                          ,0(++0(C01

G  #   A'                                                                                                                                    ,0(41,(1>,

  ?                                                                                                                     *                              + C1
 -      .  !" #$#" #"!*"$$$                  /0           0           0 
0 1     0   '(2'3   0  




                                                                                          0>9
            Case 24-40236-can11
1  8  
                                                           Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                     * 0    
                                                                                                                 Desc      Main
                                                                                                                       /  1 
                                                                Document           Page 423 of 446

                             A

                                                                                     
                                                                                                      "#$%&%#&&".$%). &                "#$%&(:".$%). &
                                                                                                              A2.&                          A2.&
   8                                                                                                              >(@>/(@+C                              6(>44(61@
  8 K    ' '    A                                                                              ,(+,+(C1,                               ,(+,+(C1,
  8 K"   #  =     ,                                                                                   >(0+C(4/>                               @(4,C(0@@
 8 ' '  %      )                                                     *                             6C0(>,@ *                           ,0(6C/(,@C

    '       %      )                                *                             6C0(>,@   *                         ,0(6C/(,@C

G  #   A'                                                                                     ,0(41C(44/                             ,0(411(4,/

  ?   8                                                                  *                                 + +/ *                              , +>
 -     /   4 !$" #$#" #"!*"$$$           /0          0           0
  0 1     0   '(2'3   0  




                                                                                  0>>
             Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                     * 0              J /  1 
                                                              Document           Page 424 of 446



          !                       ; 


                                                                            !      
                                                                                                  "#$%&%#&&".$%). &             "#$%&(.&".$%). &
                                                                                                       &1$&/0&#                   &1$&/0&#
2/&#+$"#'"#0+)(*+.  (,2$& &+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<
)%+#&3
&$.*"/&"))!                                                                           *                          1(C,C(C/, *                         >(0@4(660
 8 K    ' '    A                                                                         ,(+@4(0+@                            >(+1/(>11
&$.*"/&"))!+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                                                 @(6/0(44/                           @(@+@(,06
8 # O '  K
   "   #  =                                                                                           >(066(,0+                            /(++/(@/@
   %        )#                                                                                               /@,(10+                            >(,+4(46,
"$+,2. ()$#(02$& &+#.(.9),"))&)!                                                       *                          ,(/@@(++/ *                        ,0(1,6(>C0

%       )  '     A'                                        *                          ,(4/+(C+/ *                        ,0(0,,(4,0
%?%       )  '     A'                                                              /0(,++                             >+4(46+
"$+,2. ()$#(02$& &+#.(.9),"))&)!0+)(*                                               *                          ,(/@@(++/ *                        ,0(1,6(>C0

%       )  '     A                                       *                          ,(/@@(++/ *                        ,0(0,,(4,0
%?%       )  '     A                                                             /0(,++                             >+4(46+
"$+,2. ()$#(02$& &+#.(.9),"))&)! (,2$&                                              *                          ,(6,/(,+/ *                        ,0(1,6(>C0

%       )#                                                                      *                            /@,(10+ *                          >(,+4(46,
%       )  '    A'                                                                     ,(4/+(C+/                          ,0(0,,(4,0
2/&#+$"#'"#0+)(*.&$&+#.(.9),"))!1&# "//".$"*<)%+#&                              *                          >(@,>(@0/ *                        ,,(>+@(C0>

%?%       )#                                                              *                                 I *                                 I
%?%       )  '    A'                                                                /0(,++                            >+4(46+
2/&#+$"#'"#0+)(*.&$&+#.(.9),"))!1&# ,+)); "//".$"*<)%+#&                      *                             /0(,++ *                          >+4(46+


%       )#                                                                      *                            /@,(10+ *                          >(,+4(46,
%       )  '    A                                                                    ,(/@@(++/                          ,0(0,,(4,0
2/&#+$"#'"# (,2$& .&$&+#.(.9),"))!1&# "//".$"*<)%+#&                            *                          >(@61(10/ *                        ,,(>+@(C0>


%?%       )#                                                              *                                 I *                                 I
%?%       )  '    A                                                                      /0(,++                            >+4(46+
2/&#+$"#'"# (,2$& .&$&+#.(.9),"))!1&# ,+)); "//".$"*<)%+#&                    *                             /0(,++ *                          >+4(46+

&."/(.+$"#'"#0+)(*.&$&+#.(.9),"))!1&# "//".$"*<+.  ,+)); "//".$"*<
)%+#&3
%       )-  #       A'                                                              ,@(//C(4>1                          ,@(+0@(@+0
%?%       )-  #       A'                                                         4@4(4++                             >,/(C+>

&."/(.+$"#'"# (,2$& .&$&+#.(.9),"))!1&# "//".$"*<+.  ,+)); "//".$"*<
)%+#&3
%       )-  #       A ,>                                                      ,1(>@@(16>                          ,@(+0@(@+0
%?%       )-  #       A 0                                                    4@4(4++                             >,/(C+>

;+)(*.&$&+#.(.9),"))!1&#)%+#&3
%       )                                                                              *                                 + ,4 *                              + 6+
%?%       )                                                                      *                                 + ,, *                              + C1




                                                                                    0>+
            Case 24-40236-can11
1  8  
                                                        Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                  * 0    
                                                                                                              Desc      Main
                                                                                                                    /  1 
                                                             Document           Page 425 of 446


(,2$& .&$&+#.(.9),"))!1&#)%+#&3
%       )                                                                                 *                                   + ,4 *                                  + 6+
%?%       )                                                                         *                                   + ,, *                                  + C1

777!?8
,H            %         )( %?%       )   '   #    ,%?%    
  )   46%        ) 5    (,++2  '        %       )
>H                 ' 0+(>+>,(>(04,(+++ %        )                   '      -
'   # 7         1 6/12% #  ' E ' H                     ' 0+(>+>,(>(6>1(C1/ %       )      
         '      -'   # 7   @4@(C1/   #  %?%             ) >(04,(+++ 
    #  1 6/12  #  '  '
0H               %?%          )(-  #   %?%        )      #   
%        )




                                                                                      0+
             Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                    * 0              J /  1 
                                                             Document           Page 426 of 446


                                     


                                                                                 
                                                                                                              "#$%&%#&&".$%). &
                                                                                                                     +#*%
2/&#+$"#'"#0+)(*+.  (,2$& &+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<)%+#&3
&$.*"/&                                                                                                *                        @(04@(/1/
 8 K    ' '    A                                                                                       6+C(>,>
&$(.*"/&+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                                                                    0(111(1@1
8 # O '  K
   "   #  =                                                                                                       >(066(,0+
   %        )#                                                                                                           /@@(41C
"$+,2. ()$#(02$& &+#.(.9)                                                                              *                          @>>(/14

%       )  '    A'                                                               *                          @+@(>>/
%?%       )  '    A'                                                                                   ,6(1>C
"$+,2. ()$#(02$& &+#.(.9)0+)(*                                                                      *                          @>>(/14

%       )  '    A                                                              *                          @>>(/14
%?%       )  '    A                                                                                  ,6(1>C
"$+,2. ()$#(02$& &+#.(.9) (,2$&                                                                     *                          @@,(>61

%       )#                                                                                    *                          /@@(41C
%       )  '    A'                                                                                          @+@(>>/
2/&#+$"#'"#0+)(*.&$&+#.(.9)1&# "//".$"*<)%+#&                                                   *                        ,(,@6(664

%?%       )#                                                                            *                               I
%?%       )  '    A'                                                                                   ,6(1>C
2/&#+$"#'"#0+)(*.&$&+#.(.9)1&# ,+)); "//".$"*<)%+#&                                           *                           ,6(1>C

%       )#                                                                                    *                          /@@(41C
%       )  '    A                                                                                         @>>(/14
2/&#+$"#'"# (,2$& .&$&+#.(.9)1&# "//".$"*<)%+#&                                                 *                        ,(,4/(@,1

%?%      )#                                                                             *                               I
%?%      )  '    A                                                                                   ,6(1>C
2/&#+$"#'"# (,2$& .&$&+#.(.9)1&# ,+)); "//".$"*<)%+#&                                         *                           ,6(1>C


&."/(.+$"#'"#0+)(*.&$&+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<)%+#&3
%       )-  #       A'                                                                          ,@(C,/(,41
%?%       )-  #       A'                                                                     460(/4,

&."/(.+$"#'"# (,2$& .&$&+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<)%+#&3
%       )-  #       A ,>                                                                  ,1(06>(,>>
%?%       )-  #       A 0                                                                460(/4,



;+)(*.&$&+#.(.9)1&#)%+#&3
%       )                                                                                            *                               + +6




                                                                              0+%
             Case 24-40236-can11
1  8  
                                                        Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                  * 0    
                                                                                                              Desc      Main
                                                                                                                    /  1 
                                                             Document           Page 427 of 446

%?%       )                                                                                                                      *                                   + +0

(,2$& .&$&+#.(.9)1&#)%+#&3
%       )                                                                                                                              *                                   + +6
%?%       )                                                                                                                      *                                   + +0

777!?8
,H               %         )( %?%       )   '   #    ,%?% 
  )   46%        ) 5    (,++2  '       %        )
>H        ; 0,(>+>>(>(04,(+++ %            )                   '      -'
  # 7         1 6/12% #  ' E '
0H               %?%          )(-  #   %?%       )      #   %     
 )




                                                                                      0+,
             Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                    * 0              J /  1 
                                                             Document           Page 428 of 446


          !                         A


                                                                          !     
                                                                                                "#$%&%#&&".$%). &                "#$%&(:".$%). &
                                                                                                        A2.&                          A2.&
2/&#+$"#'"#0+)(*+.  (,2$& &+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<
)%+#&3
&$.*"/&                                                                                 *                         >(,/+(,>4 *                            4(10@(660
 8 K    ' '    A                                                                         6+C(>,>                              ,(4,6(@>@
&$(.*"/&+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                                                      ,(04+(C,@                              @(C,4(@1C
8 # O '  K
   "   #  =                                                                                         >(066(,0+                              @(//4(>4+
   %        )#                                                                                             /@6(+0,                              ,(@C>(4C+
"$+,2. ()$#(02$& &+#.(.9)                                                               *                        ,(//1(>@/ *                           ,(01>(@C,

%       )  '    A'                                                *                        ,(4C/(6+>      *                      ,(>C0(01>
%?%       )  '    A'                                                                    //(@@1                                1C(,0C
"$+,2. ()$#(02$& &+#.(.9)0+)(*                                                       *                        ,(//1(>@/      *                      ,(01>(@C,

%       )  '    A                                               *                        ,(//1(>@/      *                      ,(01>(@C,
%?%       )  '    A                                                                   //(@@1                                1C(,0C
"$+,2. ()$#(02$& &+#.(.9) (,2$&                                                      *                        ,(61>(4C>      *                      ,(@,,(40+

%       )#                                                                     *                           /@6(+0, *                            ,(@C>(4C+
%       )  '    A'                                                                         ,(4C/(6+>                             ,(>C0(01>
2/&#+$"#'"#0+)(*.&$&+#.(.9)1&# "//".$"*<)%+#&                                    *                          C@C(//, *                              ,CC(006

%?%       )#                                                             *                                I *                                    I
%?%       )  '    A'                                                                    //(@@1                                1C(,0C
2/&#+$"#'"#0+)(*.&$&+#.(.9)1&# ,+)); "//".$"*<)%+#&                            *                           //(@@1 *                              1C(,0C

%       )#                                                                     *                           /@6(+0, *                            ,(@C>(4C+
%       )  '    A                                                                        ,(//1(>@/                             ,(01>(@C,
2/&#+$"#'"# (,2$& .&$&+#.(.9)1&# "//".$"*<)%+#&                                  *                        ,(+>/(>,4 *                              ,@+(,CC

%?%       )#                                                             *                                I *                                    I
%?%       )  '    A                                                                   //(@@1                                1C(,0C
2/&#+$"#'"# (,2$& .&$&+#.(.9)1&# ,+)); "//".$"*<)%+#&                          *                           //(@@1 *                              1C(,0C

&."/(.+$"#'"#0+)(*.&$&+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<)%+#&3
%       )-  #       A'                                                            ,@(C6C(C@>                             ,@(C10(/1@
%?%       )-  #       A'                                                       460(/4,                                460(/4,

&."/(.+$"#'"# (,2$& .&$&+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<)%+#&3
%       )-  #       A ,>                                                    ,1(@1@(6CC                             ,1(@4+(+@/
%?%       )-  #       A 0                                                  460(/4,                                460(/4,

;+)(*.&$&+#.(.9),"))!1&#)%+#&3
%       )                                                                             *                                + +4   *                              + +,
%?%       )                                                                     *                                + ,,   *                             + +C




                                                                                  0+&
            Case 24-40236-can11
1  8  
                                                       Doc 18 Filed     02/25/24 Entered 02/25/24 23:50:55 J
                                                                 * 0    
                                                                                                             Desc      Main
                                                                                                                   /  1 
                                                            Document           Page 429 of 446

(,2$& .&$&+#.(.9),"))!1&#)%+#&3
%       )                                                                                 *                                 + +/   *                                 + +,
%?%       )                                                                         *                                 + ,,   *                                + +C

777!?8
,H               %       )( %?%      )   '   #    ,%?
%        )   46%      ) 5    (,++2  '        %      )
>H          < 0+(>+>>(>(04,(+++ %           )                '      -
'   # 7         1 6/12% #  ' E '
0H            %?%        )(-  #   %?%         )      #   %      
 )




                                                                                     0+
             Case 24-40236-can11                        Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                    * 0              J /  1 
                                                             Document           Page 430 of 446


                           ; 


                                                                               
                                                                                            "#$%&%#&&".$%). &                "#$%&(.&".$%). &
                                                                                                      ' 0+(>+>>                          ' 0+(>+>>
2/&#+$"#'"#0+)(*+.  (,2$& &+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<
)%+#&3
&$"))                                                                                *                      ,1(1+,(/+@ *                            6(C44(6>,
 8 K    ' '    A                                                                     6+C(>,>                               >(@>/(404
&$"))+$$#(02$+0,&$" "#.&#9-.'#+)$#2*$2#&#2)$.*5                                                  ,4(0,+(C,4                             ,,(0C@(@1/
8 # O '  K
   "   #  =                                                                                     >(066(,0+                               /(,4@(0C+
   %        )#                                                                                         /10(+@0                               >(>@1(/00
"$+,2. ()$#(02$& &+#.(.9)                                                            *                      ,C(@1>(+6C *                           >+(6+@(16+


%       )  '    A'                                             *                      ,6(4+6(64@      *                      ,C(6C/(1@0
%?%       )  '    A'                                                               6@0(>>1                                C+/(+0/
"$+,2. ()$#(02$& &+#.(.9)0+)(*                                                    *                      ,C(@1>(+6C      *                      >+(6+@(16+

%       )  '    A                                            *                      ,C(@1>(+6C      *                      >+(6+@(16+
%?%       )  '    A                                                              6@0(>>1                                C+/(+0/
"$+,2. ()$#(02$& &+#.(.9) (,2$&                                                   *                      >+(>C1(0,@      *                      >,(/,,(4,/

%       )#                                                                  *                          /10(+@0 *                             >(>@1(/00
%       )  '    A'                                                                    ,6(4+6(64@                             ,C(6C/(1@0
2/&#+$"#'"#0+)(*.&$&+#.(.9)1&# "//".$"*<)%+#&                                 *                      ,/(611(6>, *                           ,/(41,(6,+

%?%       )#                                                          *                               I *                                    I
%?%       )  '    A'                                                               6@0(>>1                               C+/(+0/
2/&#+$"#'"#0+)(*.&$&+#.(.9)1&# ,+)); "//".$"*<)%+#&                         *                         6@0(>>1 *                             C+/(+0/

%       )#                                                                  *                          /10(+@0 *                             >(>@1(/00
%       )  '    A                                                                   ,C(@1>(+6C                             >+(6+@(16+
2/&#+$"#'"# (,2$& .&$&+#.(.9)1&# "//".$"*<)%+#&                               *                      ,6(4CC(+@4 *                           ,6(116(6@/

%?%       )#                                                          *                               I *                                    I
%?%       )  '    A                                                              6@0(>>1                               C+/(+0/
2/&#+$"#'"# (,2$& .&$&+#.(.9)1&# ,+)); "//".$"*<)%+#&                       *                         6@0(>>1 *                             C+/(+0/

&."/(.+$"#'"#0+)(*.&$&+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<)%+#&3
%       )-  #       A'                                                        ,1(+6C(/+6                             ,@(CCC(1/+
%?%       )-  #       A'                                                   460(/4,                                460(/4,

&."/(.+$"#'"# (,2$& .&$&+#.(.9)1&# "//".$"*<+.  ,+)); "//".$"*<)%+#&3
%       )-  #       A ,>                                                ,1(11@(441                             ,1(@4@(1>/
%?%       )-  #       A 0                                              460(/4,                                460(/4,

;+)(*.&$,"))1&#)%+#&3
%       )                                                                          *                               , ,6   *                              , ,6
%?%       )                                                                  *                               , >0   *                              , 00




                                                                             0+
            Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                    * 0              J /  1 
                                                             Document           Page 431 of 446

(,2$& .&$,"))1&#)%+#&3
%       )                                                                                 *                                  , >+   *                                 , >+
%?%        )                                                                        *                                  , >0   *                                 , 00

777!?8
,H            %         )( %?%       )   '   #    ,%?%   
  )   46%        ) 5    (,++2  '        %       )
>H                      ' 0+(>+>>(>(04,(+++ %        )                '     
-'   # 7         1 6/12% #  ' E '
0H               %?%          )(-  #   %?%        )      #   
%        )




                                                                                      0+:
            Case 24-40236-can11                      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                 * 0              J /  1 
                                                          Document           Page 432 of 446

5;@>

1  8$  $    .     #   .                                            #
    * $  N

60  &,,& 8$ $  . .  8   B     88%7  1   
B    88%7  . $         $    A/  

/0  ,,& 8$      $              .                .  1
 $   =% % .     *$        @ &%,,&

/@ ,,& 8$   $   @J6  $ 1 $$.    $     .
$         A $         $  *$    *   .   $
   1 8$  *$        # ,,&       .     #   /   &%
,,,  $    ,,,     




                                                                                     0+9
            Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55 Desc Main
1  8                                                    * 0              J /  1 
                                                             Document           Page 433 of 446

75           4

"
                                                                    4                5

                                                                                    

B    #     %&%'(         )*   %+&               $           
         O 
   4                5
         '   (

A N      II  4P
              5,!(
           "( ,( /0 ,%,! 00% 1 %',! ,%,! 00%3

B    #             )*   %+&  $               $               $  
   
J"17)                                          114)                                                                                             /1)
II/.<                                   8 8  )*  . 6 'B$)*  . 6 (                                               @ ,+,,&
/.<  

II  4P                                B   8  06 'B$06 (                                              @ ,+,,&
  4P

II8  $ @ H                          8   6 'B$ 6 (                                                          @ ,+,,&
8  $ @ H

II1A                                     /                                                                                                           @ ,+,,&
1A

II8 8                             /                                                                                                           @ ,+,,&
8 8 

II< / J                                   /                                                                                                           @ ,+,,&
< / J 

II8   4                                /                                                                                                           @ ,+,,&
8   4 

IIH                                     /                                                                                                           @ ,+,,&
H




                                                                                     0+>
  Case 24-40236-can11                  Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                            Desc Main
                                            Document    Page 434 of 446                                                :%(0($5


                                      20)( (+#(&)"' "#.&#9-.'#+)$#2*$2#&#2)$.*5
                                                     )"'&*&/0&#


20)( (+#-                                                                  $+$&"'.*"#1"#+$("."#"#/+$(".

% "  (8 "                                                                    % 
% ??G(                                                                         E -
% "  %  (88%                                                            E -
%? (88%                                                                      E -
% 7 ;        (                                                      E -
%8 " G  (                                                               E -
%;F(                                                                        E -
%"# D (                                                              E -
%"' D (                                                              E -
%  % "  (8 "                                                          E -
%  ;   D  88%                                                          E -
%  ;   %                                                            E -
%  ;      (88%                                                         E -
%  ;    # (88%                                                           E -
%  "  (88%                                                                     % 
HG%(88%                                                                  E -
F  %(8"                                                                  E -
F  F"(                                                                         E -
F  8"(                                                                         E -
8%"  D (88%                                                                 E -
;FE ' D 88%                                                                    E -
;F"  88%                                                                        E -
;-(88%                                                                              E -
 F;)  (88%                                                                   E -
 "  %  (88%                                                                E -
"  %(8"                                                                     E -
"  F"(                                                                            E -
"  8"(88%                                                                        E -
 "'?"  %  (88%                                                       E -
M  "        (88%                                                           E -
         Case 24-40236-can11                Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                             Desc Main
                                                 Document    Page 435 of 446                                                     &/  @A7




                                         " 0 ('( -"( * !% %%*- +

P        $                N
       '%(       '0&" &&&,:9&&(8)     1  
       ',(       '0&" &&&,+&%+(8)     1  
       '&(       '0>" &&&%+>9++($        8)     1  /  8$  
          B
       '(       '0&" &&&,,>:($        8)     1  /.  .   
          B
       '(       '0>" &&&,:,&%($        8)     1  6 )#   .
          B

 $  @ ,+,,&  $            8)     1   
  $ '0%C(8)     1         /   &%,,,

II) G!44B
C8 @
@ ,+,,&
            Case 24-40236-can11                      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                              Desc Main
                                                          Document    Page 436 of 446

                                                                                                                                                               &/  A77
                                                                               
/.<        N

%  .  .    $ 0%C8)     1  Q
, A      $                               
                         $    $ .     $ Q
& A              $  $     $      
     $        $ $     $ Q
 1    ;     '(  $         $  '  )*    %&
     %' (%%' ((  .  $ '  )*    %&%'(%%'((     . N
          '( /     $      $       $ .      
                                     $   $ 
                  $  $ $ Q
          ' ( /     .  $     .  $      $ . $.
                        $  $ $      * $$     
               $  $$ Q
          '( ).     .      ;  $  $     $       .  
                $     $ .     $     . Q
          '( /   $        ;  .  $        ;    # '
                 ; #    $ (                     ; 
               .  $ Q
 1    ;     '( .         .   .  $      ; 
            ;   '$ $   #.   (N
          '(           $    .  $          .  
                    ;    $ O  $  Q
          ' (              ..      $   .       ;  . 
               $ 

/ N@ ,+,,&                                                                     II/.<  
                                                                                        /.<  
                                                                                        8  )*  . 6 'B$)*  . 6 (
            Case 24-40236-can11                      Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                              Desc Main
                                                          Document    Page 437 of 446

                                                                                                                                                               &/  A7@
                                                                               
  4P     N

%  .  .    $ 0%C8)     1  Q
, A      $                               
                         $    $ .     $ Q
& A              $  $     $      
     $        $ $     $ Q
 1    ;     '(  $         $  '  )*    %&
     %' (%%' ((  .  $ '  )*    %&%'(%%'((     . N
          '( /     $      $       $ .      
                                     $   $ 
                  $  $ $ Q
          ' ( /     .  $     .  $      $ . $.
                        $  $ $      * $$     
               $  $$ Q
          '( ).     .      ;  $  $     $       .  
                $     $ .     $     . Q
          '( /   $        ;  .  $        ;    # '
                 ; #    $ (                     ; 
               .  $ Q
 1    ;     '( .         .   .  $      ; 
            ;   '$ $   #.   (N
          '(           $    .  $          .  
                    ;    $ O  $  Q
          ' (              ..      $   .       ;  . 
               $ 

/ N@ ,+,,&                                                                     II  4P
                                                                                          4P
                                                                                          B   8  06 
                                                                                        'B$06 (
            Case 24-40236-can11                         Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                            Desc Main
                                                             Document    Page 438 of 446

                                                                                                                                                                &/  A@7
                                                                        8$B                                              


B  7  8   %&$ $    +:   6*  ,%    8)     1  '
D8$ E(         $ 0%C $   /   &%,,,      )*  8 
   ' D $ E( $    #     %&'(%'($$      )*   %+&    
     $  $     $      $   8$

II/.<  
/.<  
8  )*  . 6 'B$)*  . 6 (
/ N@ ,+,,&
  II  4P
    4P
  B   8  06 'B$06 (
 / N@ ,+,,&

1         $  %>7  8   %&   $   $  "-( -,! 0 /" : ",+
<*( . % 8$B /,"  '((  / +',. ,( :!!  ,( . / +',. ,( 0*"/(  / %*" ,( &%/,- ++""  "
",00 *' <*"
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                           Document    Page 439 of 446


                                   Exhibit D

                              Liquidation Analysis
   Case 24-40236-can11                  Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                        Desc Main
                                             Document    Page 440 of 446


CorEnergy Infrastructure Trust, Inc. and Crimson Midstream Holdings, LLC
Liquidation Analysis

Crimson Midstream Holdings, LLC                          Est. Value /Book   Percent Recovery              Est. Recovery
$ in Millions                                                  Value         Low       High         Low             High

I. Crimson Assets
    Cash and cash equivalents                            $          19.02   100%      100%             19.02           19.02
    Property and Equipment                                         337.63   18%       18%              60.44           60.44
    Accounts and other receivables                                   8.83   94%       100%              8.30            8.83
    Inventory                                                        2.28   80%       90%               1.82            2.05
   Total Assets/Gross Liquidation Proceeds               $         367.75    73%       77%      $      89.58    $      90.33

II. Crimson Administrative Claims & Liquidation Costs
     Accrued Payroll and Benefits                                                               $      (4.25) $        (4.25)
     Pipeline Remediation                                                                             (11.77)         (11.77)
     Tank Remediation                                                                                 (13.00)          (6.50)
     Land Remediation                                                                                  (5.50)          (3.30)
     Wind Down Expenses                                                                               (32.04)         (32.04)
     Chapter 7 Trustee Fee                                                                             (2.71)          (2.69)
   Total Administrative Claims and Liquidation Costs                                            $     (69.27) $       (60.55)

 Proceeds after Admin Claims available for Creditors                                            $      20.30    $      29.78

III. Distribution Scenarios
     Employee Agreements                                             3.87     100%       100%   $       3.87    $       3.87
     Contract Rejection Damages                                      0.60     100%       100%           0.60            0.60
     Trade Payables                                                  1.58     100%       100%           1.58            1.58
   Remaining Distributable Value                                                                $      14.25    $      23.73




CorEnergy Infrastructure Trust, Inc.                     Est. Value /Book   Percent Recovery          Est. Recovery
$ in Millions                                                  Value         Low       High         Low           High

IV. CorEnergy Assets
    Cash and cash equivalents                                       53.91   100%      100%      $      53.91    $      53.91
    Proceeds from Crimson Liquidation                                                                  14.25           23.73
  Proceeds available for CorEnergy                                                              $      68.15    $      77.63

V. CorEnergy Administrative Claims & Liquidation Costs
   Accrued Payroll and Benefits                                                                 $        -    $          -
   Wind Down Expenses                                                                                  (3.28)          (3.28)
   Chapter 7 Trustee Fees                                                                              (2.33)          (2.04)
 Total Administrative Claims and Liquidation Costs                                              $      (5.61) $        (5.32)

 Proceeds after Admin Claims available for Creditors                                            $      62.55    $      72.31

VI. Distribution Scenarios
    Employee Agreements                                  $           4.24      51%        59%   $       2.15    $       2.49
    Contract Rejection Damages                                       0.18      51%        59%           0.09            0.11
    Trade Payables                                                   0.89      51%        59%           0.45            0.52
    Noteholders (Convertible Notes)                                118.20      51%        59%          59.86           69.20
 Remaining Distributable Value                           $         123.51      51%        59%   $        -      $        -

  Preferred Stock                                        $         129.53       0%         0%              -               -
 Remaining Distributable Value                                                                  $          -    $          -

  Common Stock                                           $           0.02       0%         0%              -               -
 Remaining Distributable Value                                                                  $          -    $          -
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                           Document    Page 441 of 446

                                    Exhibit E

                         Estimated Total Enterprise Value
                             and Implied Equity Value
       Case 24-40236-can11             Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                         Desc Main
                                            Document    Page 442 of 446


                        Estimated Total Enterprise Value and Implied Equity Value

         The Debtor estimated the Total Enterprise Value of the Reorganized Debtors to be in the range of
         approximately $67.5 million - $75.0 million, with a mid-point of approximately $70.0 million.
         Based on assumed pro forma net debt of approximately $34 million1, the Total Enterprise Value
         implies an Equity Value range of approximately $33 million – $41 million, with a mid-point of
         approximately $36 million.

            ($ in mm)                               Low                        Mid                        High
            Total Enterprise Value                   $67                        $70                        $75
            Less: Net Debt1                          (34)                      (34)                        (34)
            Total Equity Value                       $33                        $36                        $41




1
 Net debt based on total drawn debt of $46 million upon emergence, inclusive of approximately $1MM of PIK interest, less
estimated cash on the balance sheet of approximately $12 million.
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                           Document    Page 443 of 446


                                   Exhibit F

                              Financial Projections
                                 Case 24-40236-can11                  Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                     Desc Main
                                                                           Document    Page 444 of 446

CorEnergy / Crimson Long-Term Financial Projections ($MM)
                                                                        2024                        2025                         2026                         2027                         2028
 Total Revenue                                                              $107.6                       $113.9                       $117.9                       $129.4                      $126.2

(-) Labor & Benefits                                                          (15.1)                       (15.7)                       (16.4)                       (17.1)                      (17.8)
(-) Power & Utilities                                                         (18.6)                       (18.3)                       (18.2)                       (18.1)                      (18.1)
(-) Asset Maintenance(1)                                                      (21.7)                       (21.6)                       (15.3)                       (19.3)                      (15.9)
(-) Other Operating Expense                                                   (26.8)                       (27.6)                       (28.4)                       (29.3)                      (30.2)
  Operating Income                                                            $25.5                        $30.7                        $39.5                        $45.5                       $44.2

(-) Total SG&A                                                                 (25.7)                      (16.0)                       (16.5)                       (17.1)                      (17.7)
(+) Adjustments(2)                                                               3.6                         0.0                          0.0                          0.0                         0.0
  Adjusted EBITDA                                                               $3.4                       $14.7                        $23.0                        $28.5                       $26.6

(+ / -) Change in Net Working Capital                                           (0.0)                       (0.5)                        (0.8)                        (1.1)                        0.3
(-) Maintenance CapEx(1)                                                        (1.8)                       (1.8)                        (1.5)                        (1.8)                       (1.8)
(-) Commercial Projects CapEx                                                   (2.0)                       (0.6)                        (2.8)                            -                           -
(-) Adjustments(3)                                                              (3.6)                           -                            -                            -                           -
  Unlevered Free Cash Flow                                                     ($4.0)                      $11.8                        $17.9                        $25.6                       $25.2
Memo: AB-864 CapEx (4)                                                         ($1.5)                      ($0.2)                       ($2.3)                              -                           -




 (1)   Beginning in 2024, majority of maintenance capital expenditures will be reclassified to asset maintenance operating expense to reflect the reduced economic life of assets driven by the current
       regulatory environment.
 (2)   Represents one-time expenses and non-cash compensation expense.
 (3)   Represents one-time expenses.
 (4)   Budget does not include any maintenance capital expenditures related to AB-864 expenses. Assumes AB-864 expenses are reimbursed through a tariff surcharge during the forecast period resulting in
       a net neutral financial impact.
Case 24-40236-can11   Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55   Desc Main
                           Document    Page 445 of 446


                                   Exhibit G

                              Organizational Chart
                                              Case 24-40236-can11                           Doc 18 Filed 02/25/24 Entered 02/25/24 23:50:55                                             Desc Main
                                                                                                 Document    Page 446 of 446




               CorEnergy Infrastructure Trust, Inc
                                                                                                                                            $118M $5.875% Convertible Senior Notes
                                                                                                                                     $130M Par Value Preferred Stock + accumulated dividends
                                                                                                                                                         Common Stock
                                                                           Bridget Grier
                                 John Grier          M. Bridget Grier     Spousal Support    Hugh Grier Trust      Sam Grier Trust
                                                                               Trust
                                                                                                                                                   CorEnergy Infrastructure
                                        36.69%               11.18%               0.69%                                                                  Trust, Inc.
                                                                                                       0.97%               0.97%
                                        Voting               Voting               Voting               Voting)             Voting



                                                   49.5% voting                              100%           100%                             100%            100%                           100%                         100%           100%   99%       100%
                                                                              100%                                           100%                                             100%                          100%
                                                   100% economic
                                                                                                                                       Corridor                      LCP Oregon                                                   Pinedale
        Crimson          100%        Crimson                          Corridor Leeds                     MoGas                                          Corridor                     Grand Isle    Grand Isle      Pinedale                          CorEnergy
                                                                                        Four Wood                       Corridor      Infratrust                      Holdings,                                                   LP I, LLC
       Midstream I                  Midstream                          Path West,                         Debt                                         Bison, LLC                     LP, Inc.*    GP, Inc.*       GP, Inc.*                          GP, LLC*
                                                                                       Corridor, LLC                   MoGas, LLC    Management,                         LLC
       Corporation                 Holdings, LLC                            Inc.                        Holdco LLC
0.1%                                                                                                                                     LLC
         Crimson               99.9%                                                                                         100%                                                                                                                          1%
                                              100%                                                                                                                                           99%            1%           81.05%    18.95%
        Midstream
                                                                                                                      CorEnergy
       Services, LLC                                                                                                                                                                          Grand Isle                                         CorEnergy
                                         Crimson                                                                       Pipeline
                                                                                                                                                                                             Corridor, LP                 Pinedale               Operating
                                        Midstream                                                                    Company, LLC
                                                                                                                                                                                                                         Corridor, LP           Partnership,
                                       Operating, LLC
                                              100%
                                                                                                                                                                                                                                                     LP
             98.86% LP                                           98.30% LP
                                         Crimson
                                       Pipeline, LLC
                     1.14% GP                              1.70% GP                                                                                                                                          Regulated
                                              100%                                                                                                      Active         Dormant          Employees
                                                                                                                                                                                                               Utility
                Crimson                San Pablo Bay
                                                               Cardinal
                California               Pipeline
                                                             Pipeline, L.P.
              Pipeline, L.P.           Company LLC

                                                                                                                                                                                                   Updated January 25, 2024




1
